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                APPENDIX OF UNPUBLISHED OPINIONS

A.    Bognet v. Secretary Commonwealth of Pennsylvania,
           --- F.3d ----, 2020 WL 6686120 (3d Cir. Nov. 13, 2020)
B.    Donald J. Trump for President, Inc. v. Boockvar,
           2020 WL 5407748 (W.D. Pa. Sept. 8, 2020)
C.    Donald J. Trump for President, Inc. v. Boockvar,
           --- F. Supp. 3d ----, 2020 WL 5997680 (W.D. Pa. Oct. 10, 2020)

D.    Donald J. Trump for President, Inc. v. Bullock,
           --- F. Supp. 3d ----, 2020 WL 5810556 (D. Mont. Sept. 30, 2020)

E.    Donald J. Trump for President, Inc. v. Cegavske,
           --- F. Supp. 3d ----, 2020 WL 5626974 (D. Nev. Sept. 18, 2020)
F.    Golden v. Government of the Virgin Islands,
           2005 WL 6106401 (D.V.I. Mar. 1, 2005)
G.    Hotze v. Hollins,
            2020 WL 6437668 (S.D. Tex. Nov. 2, 2020)
H.    Kovarik v. South Annville Township,
           2018 WL 1428293 (M.D. Pa. Mar. 22, 2018)

I.    Martel v. Condos,
           --- F. Supp. 3d ----, 2020 WL 5755289 (D. Vt. Sept. 16, 2020)
J.    Moore v. Circosta,
           --- F. Supp. 3d ----, 2020 WL 6063332 (M.D.N.C. Oct. 14, 2020)
K.    Paher v. Cergavske,
           2020 WL 2748301 (D. Nev. May 27, 2020)
L.    Pennsylvania Democratic Party v. Republican Party of Pennsylvania,
           2016 WL 6582659 (E.D. Pa. Nov. 7, 2016)

M.    Pennsylvania Voters Alliance v. Centre County,
           --- F. Supp. 3d ----, 2020 WL 6158309 (M.D. Pa. Oct. 21, 2020)

N.    Peterson v. Ivins,
            1990 WL 39831 (E.D. Pa. Apr. 2, 1990)
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O.    Samuel v. Virgin Islands Joint Board of Elections,
           2013 WL 842946 (D.V.I. Mar. 7, 2013)
P.    Texas League of United Latin American Citizens v. Hughs,
            --- F.3d ----, 2020 WL 6023310 (5th Cir. Oct. 12, 2020)




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                            A
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                                                                   of Elections; Indiana County Board
                 2020 WL 6686120                                  of Elections; Jefferson County Board
   Only the Westlaw citation is currently available.
                                                                 of Elections; Juniata County Board of
    United States Court of Appeals, Third Circuit.
                                                                 Elections; Lackawanna County Board
        Jim BOGNET, Donald K. Miller,                            of Elections; Lancaster County Board
           Debra Miller, Alan Clark,                             of Elections; Lawrence County Board
           Jennifer Clark, Appellants                             of Elections; Lebanon County Board
                       v.                                        of Elections; Lehigh County Board of
   SECRETARY COMMONWEALTH OF                                      Elections; Luzerne County Board of
  PENNSYLVANIA; Adams County Board                                 Elections; Lycoming County Board
    of Elections; Allegheny County Board                          of Elections; Mckean County Board
   of Elections; Armstrong County Board                            of Elections; Mercer County Board
      of Elections; Beaver County Board                          of Elections; Mifflin County Board of
     of Elections; Bedford County Board                           Elections; Monroe County Board of
     of Elections; Berks County Board of                         Elections; Montgomery County Board
 Elections; Blair County Board of Elections;                      of Elections; Montour County Board
    Bradford County Board of Elections;                            of Elections; Northampton County
  Bucks County Board of Elections; Butler                        Board of Elections; Northumberland
     County Board of Elections; Cambria                        County Board of Elections; Perry County
    County Board of Elections; Cameron                         Board of Elections; Philadelphia County
 County Board of Elections; Carbon County                       Board of Elections; Pike County Board
  Board of Elections; Centre County Board                         of Elections; Potter County Board of
     of Elections; Chester County Board                            Elections; Schuylkill County Board
    of Elections; Clarion County Board of                        of Elections; Snyder County Board of
    Elections; Clearfield County Board of                        Elections; Somerset County Board of
     Elections; Clinton County Board of                           Elections; Sullivan County Board of
    Elections; Columbia County Board of                        Elections; Susquehanna County Board of
    Elections; Crawford County Board of                       Elections; Tioga County Board of Elections;
    Elections; Cumberland County Board                        Union County Board of Elections; Venango
   of Elections; Dauphin County Board of                      County Board of Elections; Warren County
    Elections; Delaware County Board of                        Board of Elections; Washington County
  Elections; Elk County Board of Elections;                    Board of Elections; Wayne County Board
   Erie County Board of Elections; Fayette                    of Elections; Westmoreland County Board
  County Board of Elections; Forest County                     of Elections; Wyoming County Board of
    Board of Elections; Franklin County                       Elections; York County Board of Elections
  Board of Elections; Fulton County Board                                Democratic National
    of Elections; Greene County Board of                                Committee, Intervenor
    Elections; Huntingdon County Board


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                      No. 20-3214
                            |                                  Marc E. Elias, Uzoma Nkwonta, Courtney A. Elgart,
           Submitted Pursuant to Third Circuit                 Perkins Coie, 700 13th Street, N.W. Suite 800, Washington,
            L.A.R. 34.1(a) November 9, 2020                    D.C. 20005, Counsel for Intervenor Democratic National
                            |                                  Committee
              (Filed: November 13, 2020)
                                                               Before: SMITH, Chief Judge, SHWARTZ and SCIRICA,
On Appeal from the United States District Court for the        Circuit Judges
Western District of Pennsylvania, District Court No. 3-20-
cv-00215, District Judge: Honorable Kim. R. Gibson
                                                               OPINION OF THE COURT
Attorneys and Law Firms
                                                               SMITH, Chief Judge.
Brian W. Barnes, Peter A. Patterson, David H. Thompson,
Cooper & Kirk, 1523 New Hampshire Avenue, N.W.,                     *1 A share in the sovereignty of the state, which is
Washington, D.C. 20036, Counsel for Appellants                     exercised by the citizens at large, in voting at elections is
                                                                   one of the most important rights of the subject, and in a
Mark A. Aronchick, Michele D. Hangley, Robert A. Wiygul,           republic ought to stand foremost in the estimation of the
Hangley Aronchick Segal Pudlin & Schiller, One Logan
                                                                   law.—Alexander Hamilton1
Square, 18th & Cherry Streets, 27th Floor, Philadelphia, PA
                                                               1        Second Letter from Phocion (April 1784), reprinted in 3
19103, J. Bart DeLone, Sean A. Kirkpatrick, Keli M. Neary,
                                                                        The Papers of Alexander Hamilton, 1782–1786, 530–58
Office of Attorney General of Pennsylvania, Strawberry
                                                                        (Harold C. Syrett ed., 1962).
Square, Harrisburg, PA 17120, Dimitrios Mavroudis, Jessica
Rickabaugh, Joe H. Tucker, Jr., Tucker Law Group, Ten Penn     The year 2020 has brought the country unprecedented
Center, 1801 Market Street, Suite 2500, Philadelphia, PA       challenges. The COVID-19 pandemic, which began early
19103, Counsel Secretary Commonwealth of Pennsylvania          this year and continues today, has caused immense loss and
                                                               vast disruption. As this is a presidential election year, the
Elizabeth A. Dupuis, Molly E. Meachem, Babst Calland, 330      pandemic has also presented unique challenges regarding
Innovation Boulevard, Suite 302, State College, PA 16803,      where and how citizens shall vote, as well as when and how
Counsel for Armstrong, Bedford, Blair, Centre Columbia,        their ballots shall be tabulated. The appeal on which we now
Dauphin, Fayette, Huntingdon, Indiana, Lackawanna,             rule stems from the disruption COVID-19 has wrought on
Lawrence, Northumberland, Venango, and York County             the national elections. We reach our decision, detailed below,
Boards of Elections                                            having carefully considered the full breadth of statutory
                                                               law and constitutional authority applicable to this unique
Christine D. Steere, Deasey Mahoney & Valentini, 103
                                                               dispute over Pennsylvania election law. And we do so with
Chesley Drive, Lafayette Building, Suite 101, Media, PA
                                                               commitment to a proposition indisputable in our democratic
19063, Counsel for Berks County Board of Elections
                                                               process: that the lawfully cast vote of every citizen must
Edward D. Rogers, Elizabeth V. Wingfield, Ballard Spahr,       count.
1735 Market Street, 51st Floor, Philadelphia, PA 19103,
Counsel for Delaware County Board of Elections
                                                               I. Background & Procedural History
Stephen B. Edwards, Frank J. Lavery, Jr., Andrew W.
Norfleet, Lavery Law, 225 Market Street, Suite 304, P.O. Box      A. The Elections and Presidential Electors Clause
1245, Harrisburg, PA 17108, Counsel for Franklin and Perry     The U.S. Constitution delegates to state “Legislature[s]”
County Boards of Elections                                     the authority to regulate the “Times, Places and Manner of
                                                               holding Elections for Senators and Representatives,” subject
Thomas R. Shaffer, Glassmire & Shaffer Law Offices, 5 East
                                                               to Congress's ability to “make or alter such Regulations.”
Third Street, P.O. Box 509, Coudersport, PA 16915, Counsel
                                                               U.S. Const. art. I, § 4, cl. 1. This provision is known as the
for Potter County Board of Elections
                                                               “Elections Clause.” The Elections Clause effectively gives
                                                               state governments the “default” authority to regulate the



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mechanics of federal elections, Foster v. Love, 522 U.S. 67,         o'clock P.M. on the day of the primary or election” for that
69, 118 S.Ct. 464, 139 L.Ed.2d 369 (1997), with Congress             vote to count. Id. §§ 3146.6(c), 3150.16(c).
retaining “exclusive control” to “make or alter” any state's
regulations, Colegrove v. Green, 328 U.S. 549, 554, 66 S.Ct.         2      Throughout this opinion, we refer to absentee voting and
1198, 90 L.Ed. 1432 (1946). Congress has not often wielded                  mail-in voting interchangeably.
this power but, “[w]hen exercised, the action of Congress, so
far as it extends and conflicts with the regulations of the State,      C. The Pennsylvania Supreme Court Decision
necessarily supersedes them.” Ex Parte Siebold, 100 U.S.             Soon after Act 77's passage, Donald J. Trump for President,
371, 384, 399, 25 L.Ed. 717 (1879) (“[T]he Constitution and          Inc., the Republican National Committee (“RNC”), and
constitutional laws of the [United States] are ... the supreme       several Republican congressional candidates and voters
law of the land; and, when they conflict with the laws of the        brought suit against Kathy Boockvar, Secretary of the
States, they are of paramount authority and obligation.”). By        Commonwealth of Pennsylvania, and all of Pennsylvania's
statute, Congress has set “[t]he Tuesday next after the 1st          county boards of elections. That suit, filed in the Western
Monday in November, in every even numbered year,” as the             District of Pennsylvania, alleged that Act 77's “no-excuse”
day for the election. 2 U.S.C. § 7.                                  mail-in voting regime violated both the federal and
                                                                     Pennsylvania constitutions. Donald J. Trump for Pres., Inc. v.
Much like the Elections Clause, the “Electors Clause” of the         Boockvar, No. 2:20-cv-966, ––– F.Supp.3d ––––, ––––, 2020
U.S. Constitution provides that “[e]ach State shall appoint,         WL 4920952, at *1 (W.D. Pa. Aug. 23, 2020). Meanwhile,
in such Manner as the Legislature thereof may direct, a              the Pennsylvania Democratic Party and several Democratic
Number of [Presidential] Electors.” U.S. Const. art. II, §           elected officials and congressional candidates filed suit in
1, cl. 2. Congress can “determine the Time of chusing the            Pennsylvania's Commonwealth Court, seeking declaratory
Electors, and the Day on which they shall give their Votes;          and injunctive relief related to statutory-interpretation issues
which Day shall be the same throughout the United States.”           involving Act 77 and the Pennsylvania Election Code. See
U.S. Const. art. II, § 1, cl. 4. Congress has set the time           Pa. Democratic Party v. Boockvar, ––– Pa. ––––, 238 A.3d
for appointing electors as “the Tuesday next after the first         345, 352 (2020). Secretary Boockvar asked the Pennsylvania
Monday in November, in every fourth year succeeding every            Supreme Court to exercise extraordinary jurisdiction to allow
election of a President and Vice President.” 3 U.S.C. § 1.           it to immediately consider the case, and her petition was
                                                                     granted without objection. Id. at 354–55.
 *2 This year, both federal statutes dictate that the day for
the election was to fall on Tuesday, November 3 (“Election           Pending resolution of the Pennsylvania Supreme Court case,
Day”).                                                               Secretary Boockvar requested that the Western District of
                                                                     Pennsylvania stay the federal case. Trump for Pres. v.
                                                                     Boockvar, ––– F.Supp.3d at ––––, 2020 WL 4920952, at *1.
   B. Pennsylvania's Election Code
                                                                     The District Court obliged and concluded that it would abstain
In keeping with the Constitution's otherwise broad delegation
                                                                     under Railroad Commission of Texas v. Pullman Co., 312 U.S.
of authority to states to regulate the times, places, and manner
                                                                     496, 61 S.Ct. 643, 85 L.Ed. 971 (1941). See Trump for Pres.
of holding federal elections, the Pennsylvania General
                                                                     v. Boockvar, ––– F.Supp.3d at ––––, 2020 WL 4920952, at
Assembly has enacted a comprehensive elections code. In
                                                                     *21. The RNC then filed a motion for limited preliminary
2019, the General Assembly passed Act 77, which (among
                                                                     injunctive relief asking that all mailed ballots be segregated,
other things) established “no-excuse” absentee voting in
                                                                     but the District Court denied the motion, finding that the
Pennsylvania2: all eligible voters in Pennsylvania may vote          plaintiffs’ harm had “not yet materialized in any actualized or
by mail without the need to show their absence from their            imminent way.” Donald J. Trump for Pres., Inc. v. Boockvar,
voting district on the day of the election. 25 Pa. Stat. and Cons.   No. 2:20-cv-966, 2020 WL 5407748, at *1 (W.D. Pa. Sept.
Stat. §§ 3150.11–3150.17. Under Act 77, “[a]pplications for          8, 2020).
mail-in ballots shall be processed if received not later than
five o'clock P.M. of the first Tuesday prior to the day of            *3 With the federal case stayed, the state court matter
any primary or election.” Id. § 3150.12a(a). After Act 77, “a        proceeded. The Pennsylvania Democratic Party argued that
completed absentee [or mail-in] ballot must be received in           a combination of the COVID-19 pandemic and U.S. Postal
the office of the county board of elections no later than eight      Service (“USPS”) mail-delivery delays made it difficult for



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absentee voters to timely return their ballots in the June 2020
Pennsylvania primary election. Pa. Democratic Party, 238                 D. Appeal to the U.S. Supreme Court, and This
A.3d at 362. The Pennsylvania Democratic Party claimed                   Litigation
that this voter disenfranchisement violated the Pennsylvania          The Republican Party of Pennsylvania and several
                                                                      intervenors, including the President pro tempore of the
Constitution's Free and Equal Elections Clause, art I., § 5,3
                                                                      Pennsylvania Senate, sought to challenge in the Supreme
and sought, among other things, a weeklong extension of the
                                                                      Court of the United States the constitutionality of the
deadline for receipt of ballots cast by Election Day in the
                                                                      Pennsylvania Supreme Court's ruling. Because the November
upcoming general election—the same deadline for the receipt
                                                                      election date was fast approaching, they filed an emergency
of ballots cast by servicemembers residing overseas. Id. at
                                                                      application for a stay of the Pennsylvania Supreme Court's
353–54. Secretary Boockvar originally opposed the extension
                                                                      order pending review on the merits. The U.S. Supreme
deadline; she changed her position after receiving a letter
                                                                      Court denied the emergency stay request in a 4-4 decision.
from USPS General Counsel which stated that Pennsylvania's
                                                                      Republican Party of Pa. v. Boockvar, No. 20A54, 592
ballot deadlines were “incongruous with the Postal Service's
                                                                      U.S. ––––, ––– S.Ct. ––––, ––– L.Ed.2d ––––, 2020 WL
delivery standards,” and that to ensure that a ballot in
                                                                      6128193 (Oct. 19, 2020); Scarnati v. Boockvar, No. 20A53,
Pennsylvania would be received by 8:00 P.M. on Election
                                                                      592 U.S. ––––, ––– S.Ct. ––––, ––– L.Ed.2d ––––, 2020
Day, the voter would need to mail it a full week in advance,
                                                                      WL 6128194 (Oct. 19, 2020). After denial of the stay, the
by October 27, which was also the deadline to apply for a
                                                                      petitioners moved for expedited consideration of their petition
mail-in ballot. Id. at 365–66; 25 Pa. Stat. and Cons. Stat. §
                                                                      for certiorari. In denying that motion, Justice Alito noted that,
3150.12a(a). Secretary Boockvar accordingly recommended
                                                                      per the Pennsylvania Attorney General, all county boards
a three-day extension to the received-by deadline. Pa.
                                                                      of elections would segregate ballots received during the
Democratic Party, 238 A.3d at 364–65.
                                                                      Deadline Extension period from those received by 8:00 P.M.
                                                                      on Election Day. Republican Party of Pa. v. Boockvar, No.
3      The Free and Equal Elections Clause of the Pennsylvania        20-542, 592 U.S. ––––, ––– S.Ct. ––––, ––––, ––– L.Ed.2d
       Constitution provides: “Elections shall be free and equal;     ––––, 2020 WL 6304626, at *2 (Oct. 28, 2020) (Alito, J.,
       and no power, civil or military, shall at any time interfere
                                                                      statement). Justice Alito later issued an order requiring that all
       to prevent the free exercise of the right of suffrage.” Pa.
                                                                      county boards of elections segregate such ballots and count
       Const. art. 1, § 5.
                                                                      them separately. Republican Party of Pa. v. Boockvar, No.
In a September 17, 2020 decision, the Pennsylvania Supreme            20A84, ––– U.S. ––––, ––– S.Ct. ––––, ––– L.Ed.2d ––––,
Court concluded that USPS's existing delivery standards               2020 WL 6536912 (Mem.) (U.S. Nov. 6, 2020) (Alito, J.).
could not meet the timeline built into the Election Code and
that circumstances beyond voters’ control should not lead to           *4 In the meantime, on October 22, 2020, three days after
their disenfranchisement. Pa. Democratic Party, 238 A.3d              the U.S. Supreme Court declined to stay the Pennsylvania
at 371. The Court accordingly held that the Pennsylvania              Supreme Court's order, Plaintiffs herein filed this suit in
Constitution's Free and Equal Elections Clause required a             the Western District of Pennsylvania. Plaintiffs are four
three-day extension of the ballot-receipt deadline for the            registered voters from Somerset County, Pennsylvania, who
November 3 general election. Id. at 371, 386–87. All ballots          planned to vote in person on Election Day (“Voter Plaintiffs”)
postmarked by 8:00 P.M. on Election Day and received                  and Pennsylvania congressional candidate Jim Bognet.
by 5:00 P.M. on the Friday after Election Day, November               Defendants are Secretary Boockvar and each Pennsylvania
6, would be considered timely and counted (“Deadline                  county's board of elections.
Extension”). Id. at 386–87. Ballots postmarked or signed
after Election Day, November 3, would be rejected. Id. If the         Bognet, the congressional candidate, claimed that the
postmark on a ballot received before the November 6 deadline          Deadline Extension and Presumption of Timeliness “allow[ ]
was missing or illegible, the ballot would be presumed to be          County Boards of Elections to accept votes ... that would
timely unless “a preponderance of the evidence demonstrates           otherwise be unlawful” and “undermine[ ] his right to run in
that it was mailed after Election Day” (“Presumption of               an election where Congress has paramount authority to set
Timeliness”). Id. Shortly after the ruling, Pennsylvania voters       the ‘times, places, and manner’ ” of Election Day. Bognet
were notified of the Deadline Extension and Presumption of            v. Boockvar, No. 3:20-cv-215, 2020 WL 6323121, at *2
Timeliness.                                                           (W.D. Pa. Oct. 28, 2020). The Voter Plaintiffs alleged that by
                                                                      voting in person, they had to comply with the single, uniform


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federal Election Day deadline, whereas mail-in voters could          that with “less than two weeks before the election. ...
submit votes any time before 5:00 P.M. on November 6.                [g]ranting the relief Plaintiffs seek would result in significant
Id. Thus, they alleged, the Pennsylvania Supreme Court               voter confusion; precisely the kind of confusion that Purcell
treated them in an arbitrary and disparate way by elevating          seeks to avoid.” Id.
mail-in voters to a “preferred class of voters” in violation
of the U.S. Constitution's Equal Protection Clause and the            *5 Plaintiffs appealed the denial of their motion for a TRO
single, uniform, federal Election Day set by Congress. Id. The       and preliminary injunction to this Court on October 29, less
Voter Plaintiffs also asserted that counting ballots received        than a week before Election Day. Plaintiffs requested an
after Election Day during the Deadline Extension period              expedited briefing schedule: specifically, their opening brief
would unlawfully dilute their votes in violation of the Equal        would be due on October 30 and the response briefs on
Protection Clause. Id.                                               November 2. Notably, Plaintiffs sought to file a reply brief
                                                                     on November 3—Election Day. Appellants’ Emergency Mot.
All Plaintiffs sought to enjoin Defendants from counting             for Expedited Briefing, Dkt. No. 17. Defendants opposed
ballots received during the Deadline Extension period. Id.           the expedited briefing schedule, arguing that Plaintiffs’ own
They also sought a declaration that the Deadline Extension           delay had caused the case to reach this Court mere days
and Presumption of Timeliness are unconstitutional under             before the election. Sec'y Boockvar's Opp. to Appellants’
the Elections Clause and the Electors Clause as well as the          Emergency Mot. for Expedited Briefing, Dkt. No. 33.
Equal Protection Clause. Id. Because Plaintiffs filed their suit     Defendants also contended that Plaintiffs sought to punish
less than two weeks before Election Day, they moved for a            voters by invalidating the very rules mail-in voters had relied
temporary restraining order (“TRO”), expedited hearing, and          on when they cast their ballots. Defendants asked us to deny
preliminary injunction. Id.                                          the motion for expedited briefing and offered to supply us
                                                                     with the actual numbers of mail-in ballots received during
The District Court commendably accommodated Plaintiffs’              the Deadline Extension period together with an approximate
request for an expedited hearing, then expeditiously issued          count of how many of those mail-in ballots lacked legible
a thoughtful memorandum order on October 28, denying                 postmarks. Id.
the motion for a TRO and preliminary injunction. Id. at *7.
The District Court held that Bognet lacked standing because          Even had we granted Plaintiffs’ motion for expedited briefing,
his claims were too speculative and not redressable. Id. at          the schedule they proposed would have effectively foreclosed
*3. Similarly, the District Court concluded that the Voter           us from ruling on this appeal before Election Day. So
Plaintiffs lacked standing to bring their Equal Protection           we denied Plaintiffs’ motion and instead ordered that their
voter dilution claim because they alleged only a generalized         opening brief be filed by November 6. Order, No. 20-3214,
grievance. Id. at *5.                                                Oct. 30, 2020, Dkt. No. 37. We directed Defendants to file
                                                                     response briefs by November 9, forgoing receipt of a reply
At the same time, the District Court held that the Voter             brief.4 Id. With the matter now fully briefed, we consider
Plaintiffs had standing to pursue their Equal Protection             Plaintiffs’ appeal of the District Court's denial of a TRO and
arbitrary-and-disparate-treatment claim. But it found that the       preliminary injunction.
Deadline Extension did not engender arbitrary and disparate
treatment because that provision did not extend the period           4       Because we have received comprehensive briefing, and
for mail-in voters to actually cast their ballots; rather, the
                                                                             given the weighty public interest in a prompt ruling
extension only directed that the timely cast ballots of mail-in
                                                                             on the matter before us, we have elected to forgo oral
voters be counted. Id. As to the Presumption of Timeliness,                  argument.
the District Court held that the Voter Plaintiffs were likely
to succeed on the merits of their arbitrary-and-disparate-
treatment challenge. Id. at *6. Still, the District Court declined   II. Standard of Review
to grant a TRO because the U.S. Supreme Court “has
repeatedly emphasized that ... federal courts should ordinarily      The District Court exercised jurisdiction under 28 U.S.C. §
not alter the election rules on the eve of an election.” Id. at      1331. We exercise jurisdiction under § 1292(a)(1).
*7 (citing Purcell v. Gonzalez, 549 U.S. 1, 127 S.Ct. 5, 166
L.Ed.2d 1 (2006) (per curiam)). The District Court concluded



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Ordinarily, an order denying a TRO is not immediately                Inc. v. Robins, ––– U.S. ––––, 136 S. Ct. 1540, 1547, 194
appealable. Hope v. Warden York Cnty. Prison, 956 F.3d 156,          L.Ed.2d 635 (2016). To ensure that judges avoid rendering
159 (3d Cir. 2020). Here, although Bognet and the Voter              impermissible advisory opinions, parties seeking to invoke
Plaintiffs styled their motion as an Emergency Motion for            federal judicial power must first establish their standing to do
a TRO and Preliminary Injunction, see Bognet v. Boockvar,            so. Spokeo, 136 S. Ct. at 1547.
No. 3:20-cv-00215, Dkt. No. 5 (W.D. Pa. Oct. 22, 2020), the
District Court's order plainly went beyond simply ruling on           *6 Article III standing doctrine speaks in jargon, but the
the TRO request.                                                     gist of its meaning is plain enough. To bring suit, you—and
                                                                     you personally—must be injured, and you must be injured
Plaintiffs filed their motion for a TRO and a preliminary            in a way that concretely impacts your own protected legal
injunction on October 22, along with a supporting brief.             interests. If you are complaining about something that does
Defendants then filed briefs opposing the motion, with               not harm you—and does not harm you in a way that is
Plaintiffs filing a reply in support of their motion. The District   concrete—then you lack standing. And if the injury that you
Court heard argument from the parties, remotely, during a            claim is an injury that does no specific harm to you, or if it
90-minute hearing. The next day, the District Court ruled on         depends on a harm that may never happen, then you lack an
the merits of the request for injunctive relief. Bognet, 2020        injury for which you may seek relief from a federal court.
WL 6323121, at *7. The District Court's Memorandum Order             As we will explain below, Plaintiffs here have not suffered a
denied both Bognet and the Voter Plaintiffs the affirmative          concrete, particularized, and non-speculative injury necessary
relief they sought to obtain prior to Election Day, confirming       under the U.S. Constitution for them to bring this federal
that the Commonwealth was to count mailed ballots received           lawsuit.
after the close of the polls on Election Day but before 5:00
P.M. on November 6.                                                  The familiar elements of Article III standing require a plaintiff
                                                                     to have “(1) suffered an injury in fact, (2) that is fairly
In determining whether Bognet and the Voter Plaintiffs had           traceable to the challenged conduct of the defendant, and (3)
standing to sue, we resolve a legal issue that does not require      that is likely to be redressed by a favorable judicial decision.”
resolution of any factual dispute. Our review is de novo.            Id. (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–
Blunt v. Lower Merion Sch. Dist., 767 F.3d 247, 266 (3d              61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992); Friends of the
Cir. 2014). “When reviewing a district court's denial of a           Earth, Inc. v. Laidlaw Env't Servs. (TOC), Inc., 528 U.S. 167,
preliminary injunction, we review the court's findings of fact       180–81, 120 S.Ct. 693, 145 L.Ed.2d 610 (2000)). To plead
for clear error, its conclusions of law de novo, and the ultimate    an injury in fact, the party invoking federal jurisdiction must
decision ... for an abuse of discretion.” Reilly v. City of          establish three sub-elements: first, the “invasion of a legally
Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017) (quoting Bimbo          protected interest”; second, that the injury is both “concrete
Bakeries USA, Inc. v. Botticella, 613 F.3d 102, 109 (3d Cir.         and particularized”; and third, that the injury is “actual or
2010)) (cleaned up).                                                 imminent, not conjectural or hypothetical.” Spokeo, 136 S.
                                                                     Ct. at 1548 (quoting Lujan, 504 U.S. at 560, 112 S.Ct. 2130);
                                                                     see also Mielo v. Steak ’n Shake Operations, 897 F.3d 467,
                                                                     479 n.11 (3d Cir. 2018). The second sub-element requires that
III. Analysis
                                                                     the injury “affect the plaintiff in a personal and individual
   A. Standing                                                       way.” Lujan, 504 U.S. at 560 n.1, 112 S.Ct. 2130. As for the
Derived from separation-of-powers principles, the law of             third, when a plaintiff alleges future injury, such injury must
standing “serves to prevent the judicial process from being          be “certainly impending.” Clapper, 568 U.S. at 409, 133 S.Ct.
used to usurp the powers of the political branches.” Clapper         1138 (quoting Lujan, 504 U.S. at 565 n.2, 112 S.Ct. 2130).
v. Amnesty Int'l USA, 568 U.S. 398, 408, 133 S.Ct. 1138, 185         Allegations of “possible” future injury simply aren't enough.
L.Ed.2d 264 (2013) (citations omitted). Article III of the U.S.      Id. (quoting Whitmore v. Arkansas, 495 U.S. 149, 158, 110
Constitution vests “[t]he judicial Power of the United States”       S.Ct. 1717, 109 L.Ed.2d 135 (1990)). All elements of standing
in both the Supreme Court and “such inferior Courts as the           must exist at the time the complaint is filed. See Lujan, 504
Congress may from time to time ordain and establish.” U.S.           U.S. at 569 n.4, 112 S.Ct. 2130.
Const. art. III, § 1. But this “judicial Power” extends only to
“Cases” and “Controversies.” Id. art. III, § 2; see also Spokeo,



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With these guideposts in mind, we turn to whether Plaintiffs       been followed.”). Their relief would have no more directly
have pleaded an Article III injury. They bring several             benefitted them than the public at large. Id. The same is
claims under 42 U.S.C. § 1983, asserting deprivation of            true here. If anything, Plaintiffs’ “interest in the State's
their constitutional rights. They allege that Defendants’          ability to ‘enforce its duly enacted laws’ ” is even less
implementation of the Pennsylvania Supreme Court's                 compelling because Pennsylvania's “election officials support
Deadline Extension and Presumption of Timeliness violates          the challenged decree.” Republican Nat'l Comm. v. Common
the Elections Clause of Article I, the Electors Clause of          Cause R.I., No. 20A28, 591 U.S. ––––, ––– S.Ct. ––––, ––––,
Article II, and the Equal Protection Clause of the Fourteenth      ––– L.Ed.2d ––––, 2020 WL 4680151 (Mem.), at *1 (Aug.
Amendment. Because Plaintiffs lack standing to assert these        13, 2020) (quoting Abbott v. Perez, ––– U.S. ––––, 138 S. Ct.
claims, we will affirm the District Court's denial of injunctive   2305, 2324 n.17, 201 L.Ed.2d 714 (2018)).
relief.
                                                                    *7 Because the Elections Clause and the Electors Clause
                                                                   have “considerable similarity,” Ariz. State Legislature v.
                                                                   Ariz. Indep. Redistricting Comm'n, 576 U.S. 787, 839,
1. Plaintiffs lack standing under the Elections Clause and
                                                                   135 S.Ct. 2652, 192 L.Ed.2d 704 (2015) (Roberts, C.J.,
Electors Clause.
                                                                   dissenting) (discussing how Electors Clause similarly vests
Federal courts are not venues for plaintiffs to assert a bare      power to determine manner of appointing electors in “the
right “to have the Government act in accordance with law.”         Legislature” of each State), the same logic applies to
Allen v. Wright, 468 U.S. 737, 754, 104 S.Ct. 3315, 82 L.Ed.2d     Plaintiffs’ alleged injury stemming from the claimed violation
556 (1984), abrogated on other grounds by Lexmark Int'l, Inc.      of the Electors Clause. See also Foster, 522 U.S. at 69,
v. Static Control Components, Inc., 572 U.S. 118, 126–27,          118 S.Ct. 464 (characterizing Electors Clause as Elections
134 S.Ct. 1377, 188 L.Ed.2d 392 (2014). When the alleged           Clause's “counterpart for the Executive Branch”); U.S. Term
injury is undifferentiated and common to all members of the        Limits, Inc. v. Thornton, 514 U.S. 779, 804–05, 115 S.Ct.
public, courts routinely dismiss such cases as “generalized        1842, 131 L.Ed.2d 881 (1995) (noting that state's “duty”
grievances” that cannot support standing. United States v.         under Elections Clause “parallels the duty” described by
Richardson, 418 U.S. 166, 173–75, 94 S.Ct. 2940, 41 L.Ed.2d        Electors Clause).
678 (1974). Such is the case here insofar as Plaintiffs, and
specifically candidate Bognet, theorize their harm as the right    Even a party that meets Article III standing requirements must
to have government administered in compliance with the             ordinarily rest its claim for relief on violation of its own rights,
Elections Clause and Electors Clause.                              not those of a third party. Pitt News v. Fisher, 215 F.3d 354,
                                                                   361–62 (3d Cir. 2000). Plaintiffs assert that the Pennsylvania
To begin with, private plaintiffs lack standing to sue for         Supreme Court's Deadline Extension and Presumption of
alleged injuries attributable to a state government's violations   Timeliness usurped the General Assembly's prerogative under
of the Elections Clause. For example, in Lance v. Coffman,         the Elections Clause to prescribe “[t]he Times, Places and
549 U.S. 437, 127 S.Ct. 1194, 167 L.Ed.2d 29 (2007) (per           Manner of holding Elections.” U.S. Const. art. I, § 4, cl. 1. The
curiam), four private citizens challenged in federal district      Elections Clause grants that right to “the Legislature” of “each
court a Colorado Supreme Court decision invalidating a             State.” Id. Plaintiffs’ Elections Clause claims thus “belong,
redistricting plan passed by the state legislature and requiring   if they belong to anyone, only to the Pennsylvania General
use of a redistricting plan created by Colorado state courts.      Assembly.” Corman v. Torres, 287 F. Supp. 3d 558, 573
Id. at 438, 127 S.Ct. 1194. The plaintiffs alleged that the        (M.D. Pa. 2018) (three-judge panel) (per curiam). Plaintiffs
Colorado Supreme Court's interpretation of the Colorado            here are four individual voters and a candidate for federal
Constitution violated the Elections Clause “by depriving the       office; they in no way constitute the General Assembly, nor
state legislature of its responsibility to draw congressional      can they be said to comprise any part of the law-making
districts.” Id. at 441, 127 S.Ct. 1194. The U.S. Supreme Court     processes of Pennsylvania. Ariz. State Legislature, 576 U.S.
held that the plaintiffs lacked Article III standing because       at 824, 135 S.Ct. 2652.5 Because Plaintiffs are not the General
they claimed harm only to their interest, and that of every        Assembly, nor do they bear any conceivable relationship to
citizen, in proper application of the Elections Clause. Id.        state lawmaking processes, they lack standing to sue over the
at 442, 127 S.Ct. 1194 (“The only injury plaintiffs allege         alleged usurpation of the General Assembly's rights under the
is that the law—specifically the Elections Clause—has not



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Elections and Electors Clauses. No member of the General            “punishment” she might not have faced “if the matter were
Assembly is a party to this lawsuit.                                left for the Commonwealth of Pennsylvania to decide”). She
                                                                    argued that her conduct was “local in nature” such that §
5      Bognet seeks to represent Pennsylvania in Congress,          229 usurped the Commonwealth's reserved police powers.
       but even if he somehow had a relationship to state           Id. Rejecting the Government's contention that Bond was
       lawmaking processes, he would lack personal standing         barred as a third party from asserting the rights of the
       to sue for redress of the alleged “institutional injury      Commonwealth, id. at 225, 131 S.Ct. 2355, the Court held
       (the diminution of legislative power), which necessarily     that “[t]he structural principles secured by the separation of
       damage[d] all Members of [the legislature] ... equally.”     powers protect the individual as well” as the State. Id. at 222,
       Raines v. Byrd, 521 U.S. 811, 821, 117 S.Ct. 2312,           131 S.Ct. 2355 (“Federalism also protects the liberty of all
       138 L.Ed.2d 849 (1997) (plaintiffs were six out of 535       persons within a State by ensuring that laws enacted in excess
       members of Congress); see also Corman, 287 F. Supp.          of delegated governmental power cannot direct or control
       3d at 568–69 (concluding that “two of 253 members
                                                                    their actions. ... When government acts in excess of its lawful
       of the Pennsylvania General Assembly” lacked standing
                                                                    powers, that [personal] liberty is at stake.”).
       to sue under Elections Clause for alleged “deprivation
       of ‘their legislative authority to apportion congressional
       districts’ ”); accord Va. House of Delegates v. Bethune-
                                                                    But the nub of Plaintiffs’ argument here is that the
       Hill, ––– U.S. ––––, 139 S. Ct. 1945, 1953, 204 L.Ed.2d      Pennsylvania Supreme Court intruded on the authority
       305 (2019).                                                  delegated to the Pennsylvania General Assembly under
                                                                    Articles I and II of the U.S. Constitution to regulate federal
That said, prudential standing can suspend Article III's
                                                                    elections. They do not allege any violation of the Tenth
general prohibition on a litigant's raising another person's
                                                                    Amendment, which provides that “[t]he powers not delegated
legal rights. Yet Plaintiffs don't fit the bill. A plaintiff may
                                                                    to the United States by the Constitution, nor prohibited by
assert the rights of another if he or she “has a ‘close’
                                                                    it to the States, are reserved to the States respectively, or to
relationship with the person who possesses the right” and
                                                                    the people.” U.S. Const. amend. X. Nor could they. After
“there is a ‘hindrance’ to the possessor's ability to protect
                                                                    all, states have no inherent or reserved power over federal
his own interests.” Kowalski v. Tesmer, 543 U.S. 125, 130,
                                                                    elections. U.S. Term Limits, 514 U.S. at 804–05, 115 S.Ct.
125 S.Ct. 564, 160 L.Ed.2d 519 (2004) (citation omitted).
                                                                    1842. When “deciding issues raised under the Elections
Plaintiffs cannot invoke this exception to the rule against
                                                                    Clause,” courts “need not be concerned with preserving a
raising the rights of third parties because they enjoy no close
                                                                    ‘delicate balance’ between competing sovereigns.” Gonzalez
relationship with the General Assembly, nor have they alleged
                                                                    v. Arizona, 677 F.3d 383, 392 (9th Cir. 2012). Either federal
any hindrance to the General Assembly's ability to protect its
                                                                    and state election law “operate harmoniously in a single
own interests. See, e.g., Corman, 287 F. Supp. 3d at 573. Nor
                                                                    procedural scheme,” or they don't—and the federal law
does Plaintiffs’ other theory of prudential standing, drawn
                                                                    preempts (“alter[s]”) state election law under the Elections
from Bond v. United States, 564 U.S. 211, 131 S.Ct. 2355, 180
                                                                    Clause. Id. at 394. An assessment that the Pennsylvania
L.Ed.2d 269 (2011), advance the ball.
                                                                    Supreme Court lacked the legislative authority under the
                                                                    state's constitution necessary to comply with the Elections
 *8 In Bond, the Supreme Court held that a litigant has
                                                                    Clause (Appellants’ Br. 24–27) does not implicate Bond,
prudential standing to challenge a federal law that allegedly
                                                                    the Tenth Amendment, or even Article VI's Supremacy
impinges on the state's police powers, “in contravention of
constitutional principles of federalism” enshrined in the Tenth     Clause.6 See Gonzalez, 677 F.3d at 390–92 (contrasting
Amendment. Id. at 223–24, 131 S.Ct. 2355. The defendant             Elections Clause with Supremacy Clause and describing
in Bond challenged her conviction under 18 U.S.C. § 229,            former as “unique,” containing “[an] unusual delegation of
which Congress enacted to comply with a chemical weapons            power,” and “unlike virtually all other provisions of the
treaty that the United States had entered. Id. at 214–15,           Constitution”). And, of course, third-party standing under
131 S.Ct. 2355. Convicted under the statute she sought to           Bond still presumes that the plaintiff otherwise meets the
challenge, Bond satisfied Article III's standing requirements.      requirements of Article III; as discussed above, Plaintiffs do
Id. at 217, 131 S.Ct. 2355 (characterizing Bond's sentence          not.
and incarceration as concrete, and redressable by invalidation
of her conviction); id. at 224–25, 131 S.Ct. 2355 (noting           6      Our conclusion departs from the recent decision of an
that Bond was subject to “[a] law,” “prosecution,” and                     Eighth Circuit panel which, over a dissent, concluded



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       that candidates for the position of presidential elector     expenditures based on hypothetical future harm that is not
       had standing under Bond to challenge a Minnesota state-
                                                                    certainly impending”).7
       court consent decree that effectively extended the receipt
       deadline for mailed ballots. See Carson v. Simon, No.
                                                                    7       The alleged injury specific to Bognet does not implicate
       20-3139, ––– F.3d ––––, ––––, 2020 WL 6335967, at
       *5 (8th Cir. Oct. 29, 2020). The Carson court appears                the Qualifications Clause or exclusion from Congress,
       to have cited language from Bond without considering                 Powell v. McCormack, 395 U.S. 486, 550, 89 S.Ct. 1944,
       the context—specifically, the Tenth Amendment and the                23 L.Ed.2d 491 (1969), nor the standing of members of
       reserved police powers—in which the U.S. Supreme                     Congress to bring actions alleging separation-of-powers
       Court employed that language. There is no precedent for              violations. Moore v. U.S. House of Reps., 733 F.2d 946,
       expanding Bond beyond this context, and the Carson                   959 (D.C. Cir. 1984) (Scalia, J., concurring).
       court cited none.                                             *9 Plaintiffs therefore lack Article III standing to challenge
Plaintiff Bognet, a candidate for Congress who is currently a       Defendants’ implementation of the Pennsylvania Supreme
private citizen, does not plead a cognizable injury by alleging     Court's Deadline Extension and Presumption of Timeliness
a “right to run in an election where Congress has paramount         under the Elections Clause and Electors Clause.
authority,” Compl. ¶ 69, or by pointing to a “threatened”
reduction in the competitiveness of his election from counting
absentee ballots received within three days after Election Day.
                                                                    2. The Voter Plaintiffs lack standing under the Equal
Appellants’ Br. 21. Bognet does not explain how that “right
                                                                    Protection Clause.
to run” affects him in a particularized way when, in fact,
all candidates in Pennsylvania, including Bognet's opponent,        Stressing the “personal” nature of the right to vote, the
are subject to the same rules. And Bognet does not explain          Voter Plaintiffs assert two claims under the Equal Protection
how counting more timely cast votes would lead to a less            Clause.8 First, they contend that the influence of their votes,
competitive race, nor does he offer any evidence tending to         cast in person on Election Day, is “diluted” both by (a)
show that a greater proportion of mailed ballots received after     mailed ballots cast on or before Election Day but received
Election Day than on or before Election Day would be cast for       between Election Day and the Deadline Extension date,
Bognet's opponent. What's more, for Bognet to have standing         ballots which Plaintiffs assert cannot be lawfully counted; and
to enjoin the counting of ballots arriving after Election Day,      (b) mailed ballots that were unlawfully cast (i.e., placed in
such votes would have to be sufficient in number to change the      the mail) after Election Day but are still counted because of
outcome of the election to Bognet's detriment. See, e.g., Sibley    the Presumption of Timeliness. Second, the Voter Plaintiffs
v. Alexander, 916 F. Supp. 2d 58, 62 (D.D.C. 2013) (“[E]ven         allege that the Deadline Extension and the Presumption
if the Court granted the requested relief, [plaintiff] would        of Timeliness create a preferred class of voters based on
still fail to satisfy the redressability element [of standing]      “arbitrary and disparate treatment” that values “one person's
because enjoining defendants from casting the ... votes would       vote over that of another.” Bush v. Gore, 531 U.S. 98, 104–05,
not change the outcome of the election.” (citing Newdow             121 S.Ct. 525, 148 L.Ed.2d 388 (2000). The Voter Plaintiffs
v. Roberts, 603 F.3d 1002, 1011 (D.C. Cir. 2010) (citations         lack Article III standing to assert either injury.
omitted)). Bognet does not allege as much, and such a
prediction was inherently speculative when the complaint was        8       Only the Voter Plaintiffs bring the Equal Protection count
filed. The same can be said for Bognet's alleged wrongfully
                                                                            in the Complaint; Bognet did not join that count.
incurred expenditures and future expenditures. Any harm
Bognet sought to avoid in making those expenditures was
not “certainly impending”—he spent the money to avoid               a. Vote Dilution
a speculative harm. See Donald J. Trump for Pres., Inc.
v. Boockvar, No. 2:20-cv-966, ––– F.Supp.3d ––––, ––––,             As discussed above, the foremost element of standing is injury
2020 WL 5997680, at *36 (W.D. Pa. Oct. 10, 2020). Nor               in fact, which requires the plaintiff to show a harm that is both
are those expenditures “fairly traceable” under Article III to      “concrete and particularized” and “actual or imminent, not
the actions that Bognet challenges. See, e.g., Clapper, 568         conjectural or hypothetical.” Spokeo, 136 S. Ct. at 1547–48
U.S. at 402, 416, 133 S.Ct. 1138 (rejecting argument that           (citation omitted). The Voter Plaintiffs lack standing to redress
plaintiff can “manufacture standing by choosing to make             their alleged vote dilution because that alleged injury is not
                                                                    concrete as to votes counted under the Deadline Extension,


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nor is it particularized for Article III purposes as to votes       lawmaking processes all authority to prescribe “procedure
counted under the Deadline Extension or the Presumption of          and safeguards” for “counting of votes”). Instead, the
Timeliness.                                                         Elections Clause delegates to each state's lawmaking function
                                                                    the authority to prescribe such procedural regulations
                                                                    applicable to federal elections. U.S. Term Limits, 514 U.S.
                                                                    at 832–35, 115 S.Ct. 1842 (“The Framers intended the
i. No concrete injury from vote dilution attributable to the
                                                                    Elections Clause to grant States authority to create procedural
Deadline Extension.
                                                                    regulations .... [including] ‘whether the electors should vote
The Voter Plaintiffs claim that Defendants’ implementation of       by ballot or vivâ voce ....’ ” (quoting James Madison, 2
the Deadline Extension violates the Equal Protection Clause         Records of the Federal Convention of 1787, at 240 (M.
because “unlawfully” counting ballots received within three         Farrand ed. 1911) (cleaned up)); Smiley, 285 U.S. at 366, 52
days of Election Day dilutes their votes. But the source of this    S.Ct. 397 (describing state authority under Elections Clause
purported illegality is necessarily a matter of state law, which    “to provide a complete code for congressional elections ...
makes any alleged harm abstract for purposes of the Equal           in relation to notices, registration, supervision of voting,
Protection Clause. And the purported vote dilution is also not      protection of voters, prevention of fraud and corrupt practices,
concrete because it would occur in equal proportion without         counting of votes, duties of inspectors and canvassers, and
the alleged procedural illegality—that is, had the General          making and publication of election returns”). That delegation
Assembly enacted the Deadline Extension, which the Voter            of authority embraces all procedures “which experience
                                                                    shows are necessary in order to enforce the fundamental right
Plaintiffs do not challenge substantively.9
                                                                    involved.” Smiley, 285 U.S. at 366, 52 S.Ct. 397. Congress
                                                                    exercises its power to “alter” state election regulations only if
9      We exclude the Presumption of Timeliness from our            the state regime cannot “operate harmoniously” with federal
       concreteness analysis. Plaintiffs allege that the federal
                                                                    election laws “in a single procedural scheme.” Gonzalez, 677
       statutes providing for a uniform election day, 3 U.S.C.
                                                                    F.3d at 394.
       § 1 and 2 U.S.C. § 7, conflict with, and thus
       displace, any state law that would authorize voting
       after Election Day. They claim that the Presumption
                                                                    The Deadline Extension and federal laws setting the date for
       permits, theoretically at least, some voters whose ballots   federal elections can, and indeed do, operate harmoniously.
       lack a legible postmark to vote after Election Day,          At least 19 other States and the District of Columbia have
       in violation of these federal statutes. So unlike the        post-Election Day absentee ballot receipt deadlines.10 And
       Deadline Extension, Plaintiffs contend that the General      many States also accept absentee ballots mailed by overseas
       Assembly could not enact the Presumption consistent          uniformed servicemembers that are received after Election
       with the Constitution. This conceptualization of injury
                                                                    Day, in accordance with the federal Uniformed and Overseas
       is thus more properly characterized as “concrete” than
                                                                    Citizens Absentee Voting Act, 52 U.S.C. §§ 20301–20311.
       is the purported Deadline Extension injury attributable
                                                                    So the Voter Plaintiffs’ only cognizable basis for alleging
       to voters having their timely voted ballots received and
                                                                    dilution from the “unlawful” counting of invalid ballots
       counted after Election Day. That said, we express no
       opinion about whether the Voter Plaintiffs have, in fact,    is state law defining lawful and unlawful ballot counting
       alleged such a concrete injury for standing purposes.        practices. Cf. Wise v. Circosta, 978 F.3d 93, 100–01 (4th
                                                                    Cir. 2020) (“Whether ballots are illegally counted if they are
 *10 The concreteness of the Voter Plaintiffs’ alleged vote
                                                                    received more than three days after Election Day depends on
dilution stemming from the Deadline Extension turns on the
                                                                    an issue of state law from which we must abstain.” (emphasis
federal and state laws applicable to voting procedures. Federal
                                                                    in original)), application for injunctive relief denied sub
law does not provide for when or how ballot counting occurs.
                                                                    nom. Moore v. Circosta, No. 20A72, 592 U.S. ––––, –––
See, e.g., Trump for Pres., Inc. v. Way, No. 20-cv-01753, –––
                                                                    S.Ct. ––––, ––– L.Ed.2d ––––, 2020 WL 6305036 (Oct.
F.Supp.3d ––––, ––––, 2020 WL 5912561, at *12 (D.N.J.
                                                                    28, 2020). The Voter Plaintiffs seem to admit as much,
Oct. 6, 2020) (“Plaintiffs direct the Court to no federal law
                                                                    arguing “that counting votes that are unlawful under the
regulating methods of determining the timeliness of mail-in
                                                                    General Assembly's enactments will unconstitutionally dilute
ballots or requiring that mail-in ballots be postmarked.”); see
                                                                    the lawful votes” cast by the Voter Plaintiffs. Appellants’
also Smiley v. Holm, 285 U.S. 355, 366, 52 S.Ct. 397, 76 L.Ed.
                                                                    Br. 38; see also id. at 31. In other words, the Voter
795 (1932) (noting that Elections Clause delegates to state
                                                                    Plaintiffs say that the Election Day ballot receipt deadline



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in Pennsylvania's codified election law renders the ballots           *11 This conceptualization of vote dilution—state actors
untimely and therefore unlawful to count. Defendants, for            counting ballots in violation of state election law—is not
their part, contend that the Pennsylvania Supreme Court's            a concrete harm under the Equal Protection Clause of the
extension of that deadline under the Free and Equal Elections        Fourteenth Amendment. Violation of state election laws by
Clause of the state constitution renders them timely, and            state officials or other unidentified third parties is not always
therefore lawful to count.                                           amenable to a federal constitutional claim. See Shipley v.
                                                                     Chicago Bd. of Election Comm'rs, 947 F.3d 1056, 1062 (7th
10     See AS § 15.20.081(e) & (h) (Alaska – 10 days after           Cir. 2020) (“A deliberate violation of state election laws
       Election Day if postmarked on or before Election Day);        by state election officials does not transgress against the
       West's Ann. Cal. Elec. Code § 3020(b) (California –           Constitution.”) (cleaned up); Powell v. Power, 436 F.2d 84,
       three days after Election Day if postmarked on or before      88 (2d Cir. 1970) (rejecting Equal Protection Clause claim
       Election Day); DC ST § 1-1001.05(a)(10A) (District of         arising from state's erroneous counting of votes cast by voters
       Columbia – seven days after the election if postmarked        unqualified to participate in closed primary). “It was not
       on or before Election Day); 10 ILCS 5/19-8, 5/18A-15          intended by the Fourteenth Amendment ... that all matters
       (Illinois – 14 days after the election if postmarked on or    formerly within the exclusive cognizance of the states should
       before Election Day); K.S.A. 25-1132 (Kansas – three          become matters of national concern.” Snowden v. Hughes,
       days after the election if postmarked before the close of
                                                                     321 U.S. 1, 11, 64 S.Ct. 397, 88 L.Ed. 497 (1944).
       polls on Election Day); MD Code, Elec. Law, § 9-505
       (Maryland – the second Friday after Election Day if
                                                                     Contrary to the Voter Plaintiffs’ conceptualization, vote
       postmarked on or before Election Day); Miss. Code
       Ann. § 23-15-637 (Mississippi – five business days after      dilution under the Equal Protection Clause is concerned
       Election Day if postmarked on or before Election Day);        with votes being weighed differently. See Rucho v. Common
       NV Rev Stat § 293.317 (Nevada – by 5:00 P.M. on               Cause, ––– U.S. ––––, 139 S. Ct. 2484, 2501, 204 L.Ed.2d
       the seventh day after Election Day if postmarked by           931 (2019) (“ ‘[V]ote dilution’ in the one-person, one-
       Election Day, and ballots with unclear postmarks must         vote cases refers to the idea that each vote must carry
       be received by 5:00 P.M. on the third day after Election      equal weight.” (emphasis added)); cf. Baten v. McMaster,
       Day); N.J.S.A. 19:63-22 (New Jersey – 48 hours after          967 F.3d 345, 355 (4th Cir. 2020), as amended (July 27,
       polls close if postmarked on or before Election Day);         2020) (“[N]o vote in the South Carolina system is diluted.
       McKinney's Elec. Law § 8-412 (New York – seven                Every qualified person gets one vote and each vote is
       days after the election for mailed ballots postmarked
                                                                     counted equally in determining the final tally.”). As explained
       on Election Day); N.C. Gen. Stat. § 163-231(b)(2) and
                                                                     below, the Voter Plaintiffs cannot analogize their Equal
       Wise v. Circosta, 978 F.3d 93, 96 (4th Cir. 2020) (North
                                                                     Protection claim to gerrymandering cases in which votes were
       Carolina – recognizing extension from three to nine days
                                                                     weighted differently. Instead, Plaintiffs advance an Equal
       after the election the deadline for mail ballots postmarked
       on or before Election Day); Texas Elec. Code § 86.007         Protection Clause argument based solely on state officials’
       (the day after the election by 5:00 P.M. if postmarked on     alleged violation of state law that does not cause unequal
       or before Election Day); Va. Code 24.2-709 (Virginia –        treatment. And if dilution of lawfully cast ballots by the
       by noon on the third day after the election if postmarked     “unlawful” counting of invalidly cast ballots “were a true
       on or before Election Day); West's RCWA 29A.40.091            equal-protection problem, then it would transform every
       (Washington – no receipt deadline for ballots postmarked      violation of state election law (and, actually, every violation
       on or before Election Day); W. Va. Code, §§ 3-3-5,            of every law) into a potential federal equal-protection claim
       3-5-17 (West Virginia – five days after the election if       requiring scrutiny of the government's ‘interest’ in failing
       postmarked on or before Election Day); see also Iowa          to do more to stop the illegal activity.” Trump for Pres. v.
       Code § 53.17(2) (by noon the Monday following the
                                                                     Boockvar, ––– F.Supp.3d at –––– – ––––, 2020 WL 5997680,
       election if postmarked by the day before Election Day);
                                                                     at *45–46. That is not how the Equal Protection Clause
       NDCC 16.1-07-09 (North Dakota – before the canvass if
       postmarked the day before Election Day); R.C. § 3509.05       works.11
       (Ohio – 10 days after the election if postmarked by the
       day before Election Day); Utah Code Ann. § 20A-3a-204         11      Bush v. Gore does not require us to perform an Equal
       (seven to 14 days after the election if postmarked the day            Protection Clause analysis of Pennsylvania election law
       before the election).                                                 as interpreted by the Pennsylvania Supreme Court. See
                                                                             531 U.S. at 109, 121 S.Ct. 525 (“Our consideration is



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       limited to the present circumstances ....”); id. at 139–     *12 The Voter Plaintiffs thus lack a concrete Equal
       40, 121 S.Ct. 525 (Ginsburg, J., dissenting) (discussing    Protection Clause injury for their alleged harm of vote
       “[r]are[ ]” occasions when Supreme Court rejected state     dilution attributable to the Deadline Extension.
       supreme court's interpretation of state law, one of which
       was in 1813 and others occurred during Civil Rights
       Movement—and none decided federal equal protection
       issues).                                                    ii. No particularized injury from votes counted under the
Even if we were to entertain an end-run around the Voter           Deadline Extension or the Presumption of Timeliness.
Plaintiffs’ lack of Elections Clause standing—by viewing the
                                                                   The opposite of a “particularized” injury is a “generalized
federal Elections Clause as the source of “unlawfulness” of
                                                                   grievance,” where “the impact on plaintiff is plainly
Defendants’ vote counting—the alleged vote dilution would
                                                                   undifferentiated and common to all members of the public.”
not be a concrete injury. Consider, as we've noted, that the
                                                                   Id. at 575, 112 S.Ct. 2130 (cleaned up); see also Lance, 549
Voter Plaintiffs take no issue with the content of the Deadline
                                                                   U.S. at 439, 127 S.Ct. 1194. The District Court correctly held
Extension; they concede that the General Assembly, as other
                                                                   that the Voter Plaintiffs’ “dilution” claim is a “paradigmatic
state legislatures have done, could have enacted exactly the
                                                                   generalized grievance that cannot support standing.” Bognet,
same Deadline Extension as a valid “time[ ], place[ ], and
                                                                   2020 WL 6323121, at *4 (quoting Carson v. Simon, No. 20-
manner” regulation consistent with the Elections Clause.
                                                                   cv-02030, ––– F.Supp.3d ––––, ––––, 2020 WL 6018957,
Cf. Snowden, 321 U.S. at 8, 64 S.Ct. 397 (concluding that
                                                                   at *7 (D. Minn. Oct. 12, 2020), rev'd on other grounds,
alleged “unlawful administration by state officers of a state
                                                                   No. 20-3139, ––– F.3d ––––, 2020 WL 6335967 (8th Cir.
statute fair on its face, resulting in its unequal application
                                                                   Oct. 29, 2020)). The Deadline Extension and Presumption
to those who are entitled to be treated alike, is not a denial
                                                                   of Timeliness, assuming they operate to allow the illegal
of equal protection” (emphasis added)); Powell, 436 F.2d
                                                                   counting of unlawful votes, “dilute” the influence of all voters
at 88 (“Uneven or erroneous application of an otherwise
                                                                   in Pennsylvania equally and in an “undifferentiated” manner
valid statute constitutes a denial of equal protection only
                                                                   and do not dilute a certain group of voters particularly.12
if it represents ‘intentional or purposeful discrimination.’
” (emphasis added) (quoting Snowden, 321 U.S. at 8, 64
                                                                   12     In their complaint, the Voter Plaintiffs alleged that
S.Ct. 397)). Reduced to its essence, the Voter Plaintiffs’
claimed vote dilution would rest on their allegation that                 they are all “residents of Somerset County, a county
federal law required a different state organ to issue the                 where voters are requesting absentee ballots at a rate
                                                                          far less than the state average” and thus, somehow,
Deadline Extension. The Voter Plaintiffs have not alleged,
                                                                          the Voter Plaintiffs’ votes “will be diluted to a greater
for example, that they were prevented from casting their
                                                                          degree than other voters.” Compl. ¶ 71 (emphasis in
votes, Guinn v. United States, 238 U.S. 347, 35 S.Ct. 926,
                                                                          original). Plaintiffs continue to advance this argument
59 L.Ed. 1340 (1915), nor that their votes were not counted,
                                                                          on appeal in support of standing, and it additionally
United States v. Mosley, 238 U.S. 383, 35 S.Ct. 904, 59                   suffers from being a conjectural or hypothetical injury
L.Ed. 1355 (1915). Any alleged harm of vote dilution that                 under the framework discussed infra Section III.A.2.b.ii.
turns not on the proportional influence of votes, but solely              It is purely hypothetical that counties where a greater
on the federal illegality of the Deadline Extension, strikes              percentage of voters request absentee ballots will more
us as quintessentially abstract in the election law context               frequently have those ballots received after Election Day.
and “divorced from any concrete harm.” Spokeo, 136 S.              Put another way, “[a] vote cast by fraud or mailed in by
Ct. at 1549 (citing Summers v. Earth Island Inst., 555 U.S.        the wrong person through mistake,” or otherwise counted
488, 496, 129 S.Ct. 1142, 173 L.Ed.2d 1 (2009)). That              illegally, “has a mathematical impact on the final tally
the alleged violation here relates to election law and the         and thus on the proportional effect of every vote, but no
U.S. Constitution, rather than the mine-run federal consumer       single voter is specifically disadvantaged.” Martel v. Condos,
privacy statute, does not abrogate the requirement that a          No. 5:20-cv-00131, ––– F.Supp.3d ––––, ––––, 2020 WL
concrete harm must flow from the procedural illegality. See,       5755289, at *4 (D. Vt. Sept. 16, 2020). Such an alleged
e.g., Lujan, 504 U.S. at 576, 112 S.Ct. 2130 (“[T]here is          “dilution” is suffered equally by all voters and is not
absolutely no basis for making the Article III inquiry turn on     “particularized” for standing purposes. The courts to consider
the source of the asserted right.”).                               this issue are in accord. See id.; Carson, ––– F.Supp.3d at
                                                                   –––– – ––––, 2020 WL 6018957, at *7–8; Moore v. Circosta,



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Nos. 1:20-cv-00911, 1:20-cv-00912, ––– F.Supp.3d ––––,              both the right to cast that vote and the right to have that vote
––––, 2020 WL 6063332, at *14 (M.D.N.C. Oct. 14, 2020),             counted without “debasement or dilution”:
emergency injunction pending appeal denied sub nom. Wise
v. Circosta, 978 F.3d 93 (4th Cir. 2020), application for             The right to vote can neither be denied outright, Guinn
injunctive relief denied sub nom. Moore v. Circosta, No.              v. United States, 238 U.S. 347 [35 S.Ct. 926, 59 L.Ed.
20A72, 592 U.S. ––––, ––– S.Ct. ––––, ––– L.Ed.2d ––––,               1340 (1915) ], Lane v. Wilson, 307 U.S. 268 [59 S.Ct.
2020 WL 6305036 (U.S. Oct. 28, 2020); Paher v. Cegavske,              872, 83 L.Ed. 1281 (1939) ], nor destroyed by alteration
457 F. Supp. 3d 919, 926–27 (D. Nev. Apr. 30, 2020).                  of ballots, see United States v. Classic, 313 U.S. 299, 315
                                                                      [61 S.Ct. 1031, 85 L.Ed. 1368 (1941) ], nor diluted by
But the Voter Plaintiffs argue that their purported “vote             ballot-box stuffing, Ex parte Siebold, 100 U.S. 371 [25
dilution” is an injury in fact sufficient to confer standing, and     L.Ed. 717 (1880) ], United States v. Saylor, 322 U.S. 385
not a generalized grievance belonging to all voters, because          [64 S.Ct. 1101, 88 L.Ed. 1341 (1944) ]. As the Court
the Supreme Court has “long recognized that a person's                stated in Classic, “Obviously included within the right to
right to vote is ‘individual and personal in nature.’ ” Gill v.       choose, secured by the Constitution, is the right of qualified
Whitford, ––– U.S. ––––, 138 S. Ct. 1916, 1929, 201 L.Ed.2d           voters within a state to cast their ballots and have them
313 (2018) (quoting Reynolds v. Sims, 377 U.S. 533, 561, 84           counted ....” 313 U.S. at 315 [61 S.Ct. 1031].
S.Ct. 1362, 12 L.Ed.2d 506 (1964)). “Thus, ‘voters who allege
                                                                      ...
facts showing disadvantage to themselves as individuals have
standing to sue’ to remedy that disadvantage.” Id. (quoting            “The right to vote includes the right to have the ballot
Baker v. Carr, 369 U.S. 186, 206, 82 S.Ct. 691, 7 L.Ed.2d 663          counted. ... It also includes the right to have the vote
(1962)).                                                               counted at full value without dilution or discount. ... That
                                                                       federally protected right suffers substantial dilution ...
 *13 The Voter Plaintiffs’ reliance on this language                   [where a] favored group has full voting strength ... [and]
from Baker and Reynolds is misplaced. In Baker, the                    [t]he groups not in favor have their votes discounted.”
plaintiffs challenged Tennessee's apportionment of seats in its     Reynolds, 377 U.S. at 555 & n.29, 84 S.Ct. 1362 (alterations
legislature as violative of the Equal Protection Clause of the      in last paragraph in original) (quoting South v. Peters, 339
Fourteenth Amendment. 369 U.S. at 193, 82 S.Ct. 691. The            U.S. 276, 279, 70 S.Ct. 641, 94 L.Ed. 834 (1950) (Douglas,
Supreme Court held that the plaintiffs did have standing under      J., dissenting)).
Article III because “[t]he injury which appellants assert is that
this classification disfavors the voters in the counties in which   Still, it does not follow from the labeling of the right to vote as
they reside, placing them in a position of constitutionally         “personal” in Baker and Reynolds that any alleged illegality
unjustifiable inequality vis-à-vis voters in irrationally favored   affecting voting rights rises to the level of an injury in fact.
counties.” Id. at 207–08, 82 S.Ct. 691.                             After all, the Court has observed that the harms underlying
                                                                    a racial gerrymandering claim under the Equal Protection
Although the Baker Court did not decide the merits of the           Clause “are personal” in part because they include the harm of
Equal Protection claim, the Court in a series of cases—             a voter “being personally subjected to a racial classification.”
including Gray v. Sanders, 372 U.S. 368, 83 S.Ct. 801,              Ala. Legis. Black Caucus v. Alabama, 575 U.S. 254, 263,
9 L.Ed.2d 821 (1963), and Reynolds—made clear that the              135 S.Ct. 1257, 191 L.Ed.2d 314 (2015) (cleaned up). Yet a
Equal Protection Clause prohibits a state from “diluti[ng] ...      voter “who complains of gerrymandering, but who does not
the weight of the votes of certain ... voters merely because        live in a gerrymandered district, ‘assert[s] only a generalized
of where they reside[ ],” just as it prevents a state from          grievance against governmental conduct of which he or she
discriminating on the basis of the voter's race or sex.             does not approve.’ ” Gill, 138 S. Ct. at 1930 (quoting United
Reynolds, 377 U.S. at 557, 84 S.Ct. 1362 (emphasis added).          States v. Hays, 515 U.S. 737, 745, 115 S.Ct. 2431, 132
The Voter Plaintiffs consider it significant that the Court in      L.Ed.2d 635 (1995)) (alteration in original). The key inquiry
Reynolds noted—though not in the context of standing—that           for standing is whether the alleged violation of the right to
“the right to vote” is “individual and personal in nature.”         vote arises from an invidious classification—including those
Id. at 561, 84 S.Ct. 1362 (quoting United States v. Bathgate,       based on “race, sex, economic status, or place of residence
246 U.S. 220, 227, 38 S.Ct. 269, 62 L.Ed. 676 (1918)). The          within a State,” Reynolds, 377 U.S. at 561, 84 S.Ct. 1362—
Court then explained that a voter's right to vote encompasses       to which the plaintiff is subject and in which “the favored



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group has full voting strength and the groups not in favor              a voter's personal characteristics at all, let alone a person's
have their votes discounted,” id. at 555 n.29, 84 S.Ct. 1362            race, sex, economic status, or place of residence. Two voters
(cleaned up). In other words, “voters who allege facts showing          could each have cast a mail-in ballot before Election Day at
disadvantage to themselves” have standing to bring suit to              the same time, yet perhaps only one of their ballots arrived
remedy that disadvantage, Baker, 369 U.S. at 206, 82 S.Ct.              by 8:00 P.M. on Election Day, given USPS's mail delivery
691 (emphasis added), but a disadvantage to the plaintiff               process. It is passing strange to assume that one of these voters
exists only when the plaintiff is part of a group of voters whose       would be denied “equal protection of the laws” were both
votes will be weighed differently compared to another group.            votes counted. U.S. Const. amend. XIV, § 1.
Here, no Pennsylvania voter's vote will count for less than that
of any other voter as a result of the Deadline Extension and            The Voter Plaintiffs also emphasize language from Reynolds
Presumption of Timeliness.      13                                      that “[t]he right to vote can neither be denied outright ... nor
                                                                        diluted by ballot-box stuffing.” 377 U.S. at 555, 84 S.Ct. 1362
13                                                                      (citing Ex parte Siebold, 100 U.S. 371, 25 L.Ed. 717 (1879);
        Plaintiffs also rely on FEC v. Akins, 524 U.S. 11, 118
                                                                        United States v. Saylor, 322 U.S. 385, 64 S.Ct. 1101, 88 L.Ed.
        S.Ct. 1777, 141 L.Ed.2d 10 (1998), for the proposition
                                                                        1341 (1944)). In the first place, casting a vote in accordance
        that a widespread injury—such as a mass tort injury or an
        injury “where large numbers of voters suffer interference       with a procedure approved by a state's highest court—even
        with voting rights conferred by law”—does not become            assuming that approval violates the Elections Clause—is not
        a “generalized grievance” just because many share it. Id.       equivalent to “ballot-box stuffing.” The Supreme Court has
        at 24–25, 118 S.Ct. 1777. That's true as far as it goes.        only addressed this “false”-tally type of dilution where the
        But the Voter Plaintiffs have not alleged an injury like        tally was false as a result of a scheme to cast falsified or
        that at issue in Akins. There, the plaintiffs’ claimed injury   fraudulent votes. See Saylor, 322 U.S. at 386, 64 S.Ct. 1101.
        was their inability to obtain information they alleged          We are in uncharted territory when we are asked to declare
        was required to be disclosed under the Federal Election         that a tally that includes false or fraudulent votes is equivalent
        Campaign Act. Id. at 21, 118 S.Ct. 1777. The plaintiffs         to a tally that includes votes that are or may be unlawful
        alleged a statutory right to obtain information and that
                                                                        for non-fraudulent reasons, and so is more aptly described as
        the same information was being withheld. Here, the Voter
                                                                        “incorrect.” Cf. Gray, 372 U.S. at 386, 83 S.Ct. 801 (Harlan,
        Plaintiffs’ alleged injury is to their right under the Equal
                                                                        J., dissenting) (“[I]t is hard to take seriously the argument
        Protection Clause not to have their votes “diluted,” but
        the Voter Plaintiffs have not alleged that their votes are
                                                                        that ‘dilution’ of a vote in consequence of a legislatively
        less influential than any other vote.                           sanctioned electoral system can, without more, be analogized
                                                                        to an impairment of the political franchise by ballot box
 *14 This conclusion cannot be avoided by describing
                                                                        stuffing or other criminal activity.”).
one group of voters as “those ... who lawfully vote in
person and submit their ballots on time” and the other
                                                                        Yet even were this analogy less imperfect, it still would not
group of voters as those whose (mail-in) ballots arrive
                                                                        follow that every such “false” or incorrect tally is an injury
after Election Day and are counted because of the Deadline
                                                                        in fact for purposes of an Equal Protection Clause claim. The
Extension and/or the Presumption of Timeliness. Appellants’
                                                                        Court's cases that describe ballot-box stuffing as an injury
Br. 33 (emphasis in original). Although the former group,
                                                                        to the right to vote have arisen from criminal prosecutions
under Plaintiffs’ theory, should make up 100% of the total
                                                                        under statutes making it unlawful for anyone to injure the
votes counted and the latter group 0%, there is simply no
                                                                        exercise of another's constitutional right. See, e.g., Ex parte
differential weighing of the votes. See Wise, 978 F.3d at
                                                                        Siebold, 100 U.S. at 373–74 (application for writ of habeas
104 (Motz, J., concurring) (“But if the extension went into
                                                                        corpus); Saylor, 322 U.S. at 385–86, 64 S.Ct. 1101 (criminal
effect, plaintiffs’ votes would not count for less relative to
                                                                        appeal regarding whether statute prohibiting “conspir[ing]
other North Carolina voters. This is the core of an Equal
                                                                        to injure ... any citizen in the free exercise ... of any right
Protection Clause challenge.” (emphasis in original)). Unlike
                                                                        or privilege secured to him by the Constitution” applied to
the malapportionment or racial gerrymandering cases, a vote
                                                                        conspiracy to stuff ballot boxes); Anderson v. United States,
cast by a voter in the so-called “favored” group counts not one
                                                                        417 U.S. 211, 226, 94 S.Ct. 2253, 41 L.Ed.2d 20 (1974)
bit more than the same vote cast by the “disfavored” group—
                                                                        (criminal prosecution for conspiracy to stuff ballot boxes
no matter what set of scales one might choose to employ. Cf.
                                                                        under successor to statute in Saylor). Standing was, of course,
Reynolds, 377 U.S. at 555 n.29, 84 S.Ct. 1362. And, however
                                                                        never an issue in those cases because the Government was
one tries to draw a contrast, this division is not based on


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enforcing its criminal laws. Here, the Voter Plaintiffs, who        Id. The District Court cited no case law in support of its
bear the burden to show standing, have presented no instance        conclusion that the injury it identified gives rise to Article III
in which an individual voter had Article III standing to claim      standing.
an equal protection harm to his or her vote from the existence
of an allegedly illegal vote cast by someone else in the same       14      The District Court did not find that the Deadline
election.                                                                   Extension created such a preferred class.
                                                                    The District Court's analysis suffers from several flaws. First,
Indeed, the logical conclusion of the Voter Plaintiffs’ theory
                                                                    the Deadline Extension and Presumption of Timeliness apply
is that whenever an elections board counts any ballot that
                                                                    to all voters, not just a subset of “preferred” voters. It is an
deviates in some way from the requirements of a state's
                                                                    individual voter's choice whether to vote by mail or in person,
legislatively enacted election code, there is a particularized
                                                                    and thus whether to become a part of the so-called “preferred
injury in fact sufficient to confer Article III standing on every
                                                                    class” that the District Court identified. Whether to join the
other voter—provided the remainder of the standing analysis
                                                                    “preferred class” of mail-in voters was entirely up to the Voter
is satisfied. Allowing standing for such an injury strikes us
                                                                    Plaintiffs.
as indistinguishable from the proposition that a plaintiff has
Article III standing to assert a general interest in seeing
                                                                    Second, it is not clear that the mere creation of so-called
the “proper application of the Constitution and laws”—a
                                                                    “classes” of voters constitutes an injury in fact. An injury in
proposition that the Supreme Court has firmly rejected. Lujan,
                                                                    fact requires the “invasion of a legally protected interest.”
504 U.S. at 573–74, 112 S.Ct. 2130. The Voter Plaintiffs thus
                                                                    Lujan, 504 U.S. at 560, 112 S.Ct. 2130. We doubt that
lack standing to bring their Equal Protection vote dilution
                                                                    the mere existence of groupings of voters qualifies as an
claim.
                                                                    injury per se. “An equal protection claim will not lie by
                                                                    ‘conflating all persons not injured into a preferred class
                                                                    receiving better treatment’ than the plaintiff.” Thornton v. City
b. Arbitrary and Disparate Treatment                                of St. Helens, 425 F.3d 1158, 1167 (9th Cir. 2005) (quoting
                                                                    Joyce v. Mavromatis, 783 F.2d 56, 57 (6th Cir. 1986)); see
 *15 The Voter Plaintiffs also lack standing to allege an           also, e.g., Batra v. Bd. of Regents of Univ. of Neb., 79 F.3d 717,
injury in the form of “arbitrary and disparate treatment”           721 (8th Cir. 1996) (“[T]he relevant prerequisite is unlawful
of a preferred class of voters because the Voter Plaintiffs         discrimination, not whether plaintiff is part of a victimized
have not alleged a legally cognizable “preferred class” for         class.”). More importantly, the Voter Plaintiffs have shown
equal protection purposes, and because the alleged harm from        no disadvantage to themselves that arises simply by being
votes counted solely due to the Presumption of Timeliness is        separated into groupings. For instance, there is no argument
hypothetical or conjectural.                                        that it is inappropriate that some voters will vote in person and
                                                                    others will vote by mail. The existence of these two groups of
                                                                    voters, without more, simply does not constitute an injury in
i. No legally protected “preferred class.”                          fact to in-person voters.

The District Court held that the Presumption of Timeliness          Plaintiffs may believe that injury arises because of a
creates a “preferred class of voters” who are “able to cast         preference shown for one class over another. But what,
their ballots after the congressionally established Election        precisely, is the preference of which Plaintiffs complain? In
Day” because it “extends the date of the election by multiple       Bush v. Gore, the Supreme Court held that a State may not
days for a select group of mail-in voters whose ballots will        engage in arbitrary and disparate treatment that results in
be presumed to be timely in the absence of a verifiable             the valuation of one person's vote over that of another. 531
postmark.”14 Bognet, 2020 WL 6323121, at *6. The District           U.S. at 104–05, 121 S.Ct. 525. Thus, “the right of suffrage
Court reasoned, then, that the differential treatment between       can be denied by a debasement or dilution of the weight of
groups of voters is by itself an injury for standing purposes.      a citizen's vote just as effectively as by wholly prohibiting
To the District Court, this supposed “unequal treatment of          the free exercise of the franchise.” Id. at 105, 121 S.Ct. 525
voters ... harms the [Voter] Plaintiffs because, as in-person       (quoting Reynolds, 377 U.S. at 555, 84 S.Ct. 1362) (emphasis
voters, they must vote by the end of the congressionally            added). As we have already discussed, vote dilution is not an
established Election Day in order to have their votes counted.”     injury in fact here.


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                                                                     S.Ct. 1717, 109 L.Ed.2d 135 (1990)). When determining
 *16 What about the risk that some ballots placed in the             Article III standing, our Court accepts allegations based
mail after Election Day may still be counted? Recall that            on well-pleaded facts; but we do not credit bald assertions
no voter—whether in person or by mail—is permitted to                that rest on mere supposition. Finkelman v. NFL, 810 F.3d
vote after Election Day. Under Plaintiffs’ argument, it might        187, 201–02 (3d Cir. 2016). The Supreme Court has also
theoretically be easier for one group of voters—mail-in voters       emphasized its “reluctance to endorse standing theories that
—to illegally cast late votes than it is for another group of        rest on speculation about the decisions of independent actors.”
voters—in-person voters. But even if that is the case, no            Clapper, 568 U.S. at 414, 133 S.Ct. 1138. A standing
group of voters has the right to vote after the deadline.15 We       theory becomes even more speculative when it requires that
remember that “a private citizen lacks a judicially cognizable       independent actors make decisions to act unlawfully. See City
interest in the prosecution or nonprosecution of another.”           of L.A. v. Lyons, 461 U.S. 95, 105–06 & 106 n.7, 103 S.Ct.
Linda R.S. v. Richard D., 410 U.S. 614, 619, 93 S.Ct. 1146, 35       1660, 75 L.Ed.2d 675 (1983) (rejecting Article III standing
L.Ed.2d 536 (1973) (citations omitted). And “a plaintiff lacks       to seek injunction where party invoking federal jurisdiction
standing to complain about his inability to commit crimes            would have to establish that he would unlawfully resist arrest
because no one has a right to commit a crime.” Citizen Ctr.          or police officers would violate department orders in future).
v. Gessler, 770 F.3d 900, 910 (10th Cir. 2014). Without a
showing of discrimination or other intentionally unlawful            Here, the Presumption of Timeliness could inflict injury on
conduct, or at least some burden on Plaintiffs’ own voting           the Voter Plaintiffs only if: (1) another voter violates the
rights, we discern no basis on which they have standing to           law by casting an absentee ballot after Election Day; (2)
challenge the slim opportunity the Presumption of Timeliness         the illegally cast ballot does not bear a legible postmark,
conceivably affords wrongdoers to violate election law. Cf.          which is against USPS policy;16 (3) that same ballot still
Minn. Voters Alliance v. Ritchie, 720 F.3d 1029, 1033 (8th Cir.      arrives within three days of Election Day, which is faster
2013) (affirming dismissal of claims “premised on potential          than USPS anticipates mail delivery will occur;17 (4) the
harm in the form of vote dilution caused by insufficient             ballot lacks sufficient indicia of its untimeliness to overcome
pre-election verification of [election day registrants’] voting      the Presumption of Timeliness; and (5) that same ballot is
eligibility and the absence of post-election ballot rescission       ultimately counted. See Donald J. Trump for Pres., Inc. v.
procedures”).                                                        Way, No. 20-cv-10753, 2020 WL 6204477, at *7 (D.N.J.
                                                                     Oct. 22, 2020) (laying out similar “unlikely chain of events”
15     Moreover, we cannot overlook that the mail-in voters          required for vote dilution harm from postmark rule under
       potentially suffer a disadvantage relative to the in-person   New Jersey election law); see also Reilly v. Ceridian Corp.,
       voters. Whereas in-person ballots that are timely cast will   664 F.3d 38, 43 (3d Cir. 2011) (holding purported injury
       count, timely cast mail-in ballots may not count because,     in fact was too conjectural where “we cannot now describe
       given mail delivery rates, they may not be received by        how Appellants will be injured in this case without beginning
       5:00 P.M. on November 6.
                                                                     our explanation with the word ‘if’ ”). This parade of
                                                                     horribles “may never come to pass,” Trump for Pres. v.
                                                                     Boockvar, 2020 WL 5997680, at *33, and we are especially
ii. Speculative injury from ballots counted under the
                                                                     reluctant to endorse such a speculative theory of injury
Presumption of Timeliness.
                                                                     given Pennsylvania's “own mechanisms for deterring and
Plaintiffs’ theory as to the Presumption of Timeliness focuses       prosecuting voter fraud,” Donald J. Trump for Pres., Inc. v.
on the potential for some voters to vote after Election Day          Cegavske, No. 20-1445, ––– F.Supp.3d ––––, ––––, 2020 WL
and still have their votes counted. This argument reveals that       5626974, at *6 (D. Nev. Sept. 18, 2020).18
their alleged injury in fact attributable to the Presumption is
“conjectural or hypothetical” instead of “actual or imminent.”       16     See Defendant-Appellee's Br. 30 (citing 39 C.F.R. §
Spokeo, 136 S. Ct. at 1547–48 (quoting Lujan, 504 U.S. at                   211.2(a)(2); Postal Operations Manual at 443.3).
560, 112 S.Ct. 2130). The Supreme Court has emphasized
                                                                     17     See Pa. Democratic Party, 238 A.3d at 364 (noting
that a threatened injury must be “certainly impending” and
not merely “possible” for it to constitute an injury in fact.               “current two to five day delivery expectation of the
Clapper, 568 U.S. at 409, 133 S.Ct. 1138 (emphasis in                       USPS”).
original) (quoting Whitmore v. Ark., 495 U.S. 149, 158, 110


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18      Indeed, the conduct required of a voter to effectuate         request for injunctive relief, the electoral calendar was such
        such a scheme may be punishable as a crime under              that following it “one last time” was the better of the choices
        Pennsylvania statutes that criminalize forging or “falsely    available. Perez, 138 S. Ct. at 2324 (“And if a [redistricting]
        mak[ing] the official endorsement on any ballot,” 25 Pa.      plan is found to be unlawful very close to the election date, the
        Stat. & Cons. Stat. § 3517 (punishable by up to two           only reasonable option may be to use the plan one last time.”).
        years’ imprisonment); “willfully disobey[ing] any lawful
        instruction or order of any county board of elections,” id.   Here, less than two weeks before Election Day, Plaintiffs
        § 3501 (punishable by up to one year's imprisonment);         asked the District Court to enjoin a deadline established by
        or voting twice in one election, id. § 3535 (punishable by    the Pennsylvania Supreme Court on September 17, a deadline
        up to seven years’ imprisonment).
                                                                      that may have informed voters’ decisions about whether and
 *17 To date, the Secretary has reported that at least 655            when to request mail-in ballots as well as when and how
ballots without a legible postmark have been collected within         they cast or intended to cast them. In such circumstances,
the Deadline Extension period.19 But it is mere speculation           the District Court was well within its discretion to give heed
to say that any one of those ballots was cast after Election          to Supreme Court decisions instructing that “federal courts
Day. We are reluctant to conclude that an independent actor           should ordinarily not alter the election rules on the eve of
—here, one of 655 voters—decided to mail his or her ballot            an election.” Republican Nat'l Comm. v. Democratic Nat'l
after Election Day contrary to law. The Voter Plaintiffs have         Comm., ––– U.S. ––––, 140 S. Ct. 1205, 1207, 206 L.Ed.2d
not provided any empirical evidence on the frequency of voter         452 (2020) (per curiam) (citing Purcell, 549 U.S. at 1, 127
fraud or the speed of mail delivery that would establish a            S.Ct. 5).
statistical likelihood or even the plausibility that any of the
655 ballots was cast after Election Day. Any injury to the            In Purcell, an appeal from a federal court order enjoining
Voter Plaintiffs attributable to the Presumption of Timeliness        the State of Arizona from enforcing its voter identification
is merely “possible,” not “actual or imminent,” and thus              law, the Supreme Court acknowledged that “[c]onfidence
cannot constitute an injury in fact.                                  in the integrity of our electoral processes is essential to
                                                                      the functioning of our participatory democracy.” 549 U.S.
19                                                                    at 4, 127 S.Ct. 5. In other words, “[c]ourt orders affecting
        As of the morning of November 12, Secretary Boockvar
                                                                      elections, especially conflicting orders, can themselves result
        estimates that 655 of the 9383 ballots received between
        8:00 P.M. on Election Day and 5:00 P.M. on November           in voter confusion and consequent incentive to remain away
        6 lack a legible postmark. See Dkt. No. 59. That estimate     from the polls. As an election draws closer, that risk will
        of 655 ballots does not include totals from five of           increase.” Id. at 4–5, 127 S.Ct. 5. Mindful of “the necessity for
        Pennsylvania's 67 counties: Lehigh, Northumberland,           clear guidance to the State of Arizona” and “the imminence
        Tioga, Warren, and Wayne. Id. The 9383 ballots received,      of the election,” the Court vacated the injunction. Id. at 5, 127
        however, account for all of Pennsylvania's counties. Id.      S.Ct. 5.

   B. Purcell                                                         The principle announced in Purcell has very recently been
Even were we to conclude that Plaintiffs have standing, we            reiterated. First, in Republican National Committee, the
could not say that the District Court abused its discretion in        Supreme Court stayed on the eve of the April 7 Wisconsin
concluding on this record that the Supreme Court's election-          primary a district court order that altered the State's voting
law jurisprudence counseled against injunctive relief. Unique         rules by extending certain deadlines applicable to absentee
and important equitable considerations, including voters’             ballots. 140 S. Ct. at 1206. The Court noted that it was
reliance on the rules in place when they made their plans             adhering to Purcell and had “repeatedly emphasized that
to vote and chose how to cast their ballots, support that             lower federal courts should ordinarily not alter the election
disposition. Plaintiffs’ requested relief would have upended          rules on the eve of an election.” Id. at 1207 (citing Purcell,
this status quo, which is generally disfavored under the “voter       549 U.S. at 1, 127 S.Ct. 5). And just over two weeks
confusion” and election confidence rationales of Purcell v.           ago, the Court denied an application to vacate a stay of a
Gonzalez, 549 U.S. 1, 4–5, 127 S.Ct. 5, 166 L.Ed.2d 1 (2006).         district court order that made similar changes to Wisconsin's
One can assume for the sake of argument that aspects of               election rules six weeks before Election Day. Democratic
the now-prevailing regime in Pennsylvania are unlawful as             Nat'l Comm. v. Wis. State Legislature, No. 20A66, 592 U.S.
alleged and still recognize that, given the timing of Plaintiffs’     ––––, ––– S.Ct. ––––, ––– L.Ed.2d ––––, 2020 WL 6275871



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                                                                     purposes today is that Plaintiffs’ challenge to it was not filed
(Oct. 26, 2020) (denying application to vacate stay). Justice
                                                                     until sufficiently close to the election to raise a reasonable
Kavanaugh explained that the injunction was improper for
                                                                     concern in the District Court that more harm than good would
the “independent reason[ ]” that “the District Court changed
                                                                     come from an injunction changing the rule. In sum, the
Wisconsin's election rules too close to the election, in
                                                                     District Court's justifiable reliance on Purcell constitutes an
contravention of this Court's precedents.” Id. at ––––, 2020
                                                                     “alternative and independent reason[ ]” for concluding that
WL 6275871 at *3 (Kavanaugh, J., concurring). Purcell and
                                                                     an “injunction was unwarranted” here. Wis. State Legislature,
a string20 of Supreme Court election-law decisions in 2020
                                                                     ––– S.Ct. at ––––, 2020 WL 6275871, at *3 (Kavanaugh, J.,
“recognize a basic tenet of election law: When an election is
                                                                     concurring).
close at hand, the rules of the road should be clear and settled.”
Id.

20                                                                   IV. Conclusion
        See, e.g., Andino v. Middleton, No. 20A55, 592 U.S.
        ––––, ––– S.Ct. ––––, ––––, ––– L.Ed.2d ––––, 2020
                                                                     We do not decide today whether the Deadline Extension
        WL 5887393, at *1 (Oct. 5, 2020) (Kavanaugh, J.,
                                                                     or the Presumption of Timeliness are proper exercises of
        concurring) (“By enjoining South Carolina's witness
                                                                     the Commonwealth of Pennsylvania's lawmaking authority,
        requirement shortly before the election, the District
        Court defied [the Purcell] principle and this Court's
                                                                     delegated by the U.S. Constitution, to regulate federal
        precedents.” (citations omitted)); Merrill v. People First   elections. Nor do we evaluate the policy wisdom of those
        of Ala., No. 19A1063, 591 U.S. ––––, ––– S.Ct. ––––,         two features of the Pennsylvania Supreme Court's ruling.
        ––––, ––– L.Ed.2d ––––, 2020 WL 3604049 (Mem.), at           We hold only that when voters cast their ballots under a
        *1 (July 2, 2020); Republican Nat'l Comm., 140 S. Ct. at     state's facially lawful election rule and in accordance with
        1207; see also Democratic Nat'l Comm. v. Bostelmann,         instructions from the state's election officials, private citizens
        977 F.3d 639, 641 (7th Cir. 2020) (per curiam) (holding      lack Article III standing to enjoin the counting of those ballots
        that injunction issued six weeks before election violated    on the grounds that the source of the rule was the wrong
        Purcell); New Ga. Project v. Raffensperger, 976 F.3d         state organ or that doing so dilutes their votes or constitutes
        1278, 1283 (11th Cir. Oct. 2, 2020) (“[W]e are not on        differential treatment of voters in violation of the Equal
        the eve of the election—we are in the middle of it,
                                                                     Protection Clause. Further, and independent of our holding
        with absentee ballots already printed and mailed. An
                                                                     on standing, we hold that the District Court did not err in
        injunction here would thus violate Purcell’s well-known
                                                                     denying Plaintiffs’ motion for injunctive relief out of concern
        caution against federal courts mandating new election
        rules—especially at the last minute.” (citing Purcell, 549   for the settled expectations of voters and election officials. We
        U.S. at 4–5, 127 S.Ct. 5)).                                  will affirm the District Court's denial of Plaintiffs’ emergency
                                                                     motion for a TRO or preliminary injunction.
 *18 The prevailing state election rule in Pennsylvania
permitted voters to mail ballots up through 8:00 P.M. on
Election Day so long as their ballots arrived by 5:00 P.M.           All Citations
on November 6. Whether that rule was wisely or properly
put in place is not before us now. What matters for our              --- F.3d ----, 2020 WL 6686120


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                                                                    other questions of importance to the voters and candidates in
                                                                    this Commonwealth, in short order. And that court still has
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                                                                    sufficient time to reach these issues before any ballots are cast,
   Only the Westlaw citation is currently available.
                                                                    collected, or canvassed.
   United States District Court, W.D. Pennsylvania.

                                                                    In sum, because the harm Plaintiffs fear has not yet
          DONALD J. TRUMP FOR
                                                                    materialized in any actualized or imminent way, the Court
       PRESIDENT, INC., et al., Plaintiffs                          will deny Plaintiffs’ motion for injunctive relief, but will do
                    v.                                              so without prejudice to Plaintiffs’ (or any other party's) right
                                                                    to seek injunctive relief if a more imminent and irreparable
       Kathy BOOCKVAR, in her capacity
                                                                    harm materializes.
       as Secretary of the Commonwealth
       of Pennsylvania, et al., Defendants
                                                                    BACKGROUND
                       No. 2:20-cv-966
                              |                                     I. The Court's August 23, 2020, opinion.
                     Signed 09/08/2020                              In its prior opinion, the Court found that most of Plaintiffs’
                                                                    federal-constitutional claims turn on unsettled questions of
                                                                    state law under the recently enacted Act 77. Thus, to
OPINION                                                             allow the state courts to offer a potentially case-dispositive
                                                                    construction of the unsettled state-law questions, the Court
J. Nicholas Ranjan, United States District Judge                    abstained under the Pullman doctrine. See, e.g., Planned
                                                                    Parenthood of Cent. N.J. v. Farmer, 220 F.3d 127, 149 (3d
 *1 On August 23, 2020, this Court abstained from ruling
                                                                    Cir. 2000) (“[A]bstention under Pullman is appropriate where
on the merits of Plaintiffs’ claims and stayed this case. Since
                                                                    an unconstrued state statute is susceptible of a construction
then, the Pennsylvania Supreme Court has accepted a similar
                                                                    by the state judiciary which might avoid in whole or in part
case for review, and appears poised to rule on unsettled state-
                                                                    the necessity for federal constitutional adjudication, or at least
law questions that are critical to Plaintiffs’ claims here—
                                                                    materially change the nature of the problem.” (cleaned up)).
specifically, the validity of mail-in ballot “drop boxes” and
the permissibility of counting mail-in ballots that suffer from
                                                                    The Court acknowledged in its opinion that, while most of
certain procedural defects.
                                                                    Plaintiffs’ claims were subject to Pullman abstention, a few
                                                                    were not. [ECF 409, pp. 34-37]. But in exercising its inherent
But before the Pennsylvania Supreme Court decided to tackle
                                                                    authority, the Court found it better to stay the entire case rather
these issues, Plaintiffs filed a motion for “limited preliminary
                                                                    than proceed on a small subset of claims, only to have to
injunctive relief,” primarily asking this Court to order that all
                                                                    do most of the proceedings over again once the state courts
ballots delivered to drop boxes be segregated, so that they
                                                                    interpreted the relevant election code provisions. [Id.]. The
won't be commingled with other ballots. Plaintiffs fear that
                                                                    Court did, however, give the parties the option to move to
without such an injunction, they won't be able to challenge
                                                                    lift the stay on October 5, 2020, concerning this subset of
the ballots delivered to drop boxes in the event that the
                                                                    claims if the state courts had not yet resolved the state-law
Pennsylvania Supreme Court doesn't act in time.
                                                                    issues arising from the unsettled election-code provisions.
                                                                    [ECF 410].
Some of Plaintiffs’ concerns are valid. For example, if the
Pennsylvania Supreme Court doesn't timely decide whether
drop boxes are authorized by the election code, votes could         II. The Pennsylvania Supreme Court's exercise of
be cast through those locations and, if the ballots are not         extraordinary jurisdiction.
otherwise traceable, it might then be too late to un-ring            *2 On September 1, 2020, the Pennsylvania Supreme Court
the bell in the event that the Supreme Court later finds            granted Secretary Boockvar's “Application for the Court to
that drop boxes are not allowed. That said, while these             Exercise Extraordinary Jurisdiction over the Commonwealth
concerns are valid, they're also premature. The Pennsylvania        Court Case Docketed at 407 MD 2020.” [ECF 418;
Supreme Court appears to be on track to decide this, and


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ECF 418-3]. The Pennsylvania Supreme Court ordered all                 sets of guidance on August 19, 2020—four days before the
supplemental briefing to be filed by today, September 8,               Court's abstention opinion, but after all briefing on the then-
2020. [ECF 418-3]. The issues before the Pennsylvania                  pending motions had been completed.
Supreme Court include whether “Act 77 ... permit[s] county
election boards to designate drop-off locations other than             One set of guidance relates to the collection of absentee
their official office address for receipt of mail-in ballots”          and mail-in ballots, including the use and implementation
and whether “mail-in ballots delivered to the county election          of ballot return sites like drop boxes. [ECF 415-19].
boards without the inner envelope (i.e., ‘naked ballots’) [may]        Specifically, the guidance states that “[c]ounty boards of
be counted.” [ECF 388-1, p. 5; ECF 418-3].                             elections may establish multiple ballot return locations where
                                                                       voters may return their own voted ballot,” which may
                                                                       include establishing a “secure ballot return receptacle.” [Id.
III. Plaintiffs’ motion to modify the stay and for limited             at § 1.1]. The guidance also instructs that any “secure
preliminary injunctive relief.                                         ballot return receptable”—i.e., drop boxes—should comply
On August 28, 2020, Plaintiffs moved to modify this                    with certain design requirements, and the county boards of
Court's abstention order, and to request “limited preliminary          elections must ensure the drop boxes comply with enumerated
injunctive relief.” [ECF 414, p. 1]. This is the first time            security features, including anti-tampering features, locks,
Plaintiffs have moved for a preliminary injunction in this             video monitoring, and removal when the site is closed or the
case, though they had reserved their right to do so and their          drop box cannot be monitored. [Id. at §§ 2.2-2.5].
amended complaint seeks injunctive relief. See [ECF 409, p.
33] (discussing Plaintiffs’ request for preliminary-injunctive          *3 Additionally, this guidance directs the counties to
relief and decision to forgo filing a motion for preliminary           implement certain, specific procedures for collecting ballots
injunction).                                                           from drop boxes and transporting them to the county
                                                                       election office. [Id. at §§ 3.1-3.3]. That is, in relevant part,
In their motion, Plaintiffs request that the Court grant four          that all ballots retrieved from drop boxes (or other ballot
types of preliminary-injunctive relief: (1) order Defendants to        collection sites) should be placed into a “secure ballot transfer
“segregate and maintain intact all cast absentee and mail-in           container,” and “[t]he designated election officials should
ballots that” are returned in drop boxes; lack an inner secrecy        note on Ballot Return Site Collection Forms the site and
envelope or contain marks, text, or symbols thereon; or are a          unique identification number of the ballot return site and the
non-disabled voter's ballot that was delivered by a third party;       date and time of retrieval.” [Id. at § 3.1]. The guidance further
(2) enjoin Defendants “from pre-canvassing or canvassing”              specifies that this collection form should be “maintained in a
the same;1 (3) order Defendants to “retain and make available          manner prescribed by the board of elections to ensure that the
for periodic review all digital images and video” (to the extent       form is traceable to its respective secure ballot container.” [Id.
they exist) that are captured by a camera “used to monitor             at § 3.2].
drop-boxes or other sites and locations ... used for the return
and collection of cast absentee and mail-in ballots;” and (4)          The second set of new guidance relates to the counting of
modify the stay so that it is lifted on September 14, 2020,            “naked” ballots, and instructs that “naked” ballots should be
rather than October 5, 2020. [ECF 414, pp. 1-2; ECF 414-1].            counted notwithstanding the lack of a “secrecy” envelope.
                                                                       [ECF 415-20]. It also instructs counties to develop a
1      Related to this, Plaintiffs also request that the Court order   consistent process for counting such “naked” ballots. [Id. at p.
       Defendants to resolve the ballot challenges pursuant to         2]. In providing this guidance, the Secretary notes that “[t]he
       25 P.S. §§ 3146.8(f) and (g)(5), and that Defendants            failure to include the inner [‘secrecy’] envelope ... does not
       produce “a list of all electors, by precinct, whose ballots     undermine the integrity of the voting process” and thus, “no
       have been segregated and are being challenged under this        voter should be disenfranchised for failing to place their ballot
       [Proposed] Order.” [ECF 414-1, ¶¶ 2-3].                         in the official election ballot envelope.” [Id.].
In seeking a preliminary injunction, Plaintiffs emphasize
that Pennsylvania's Secretary of the Commonwealth, Kathy               Plaintiffs argue that Defendants’ inconsistent use of drop
Boockvar, recently issued new guidance particularly for the            boxes and counting of “naked” ballots are unconstitutional,
November 3, 2020, general election. See, e.g., [ECF 414, ¶¶            and that Secretary Boockvar's new guidance does not remedy
14-16, 33]. Specifically, Secretary Boockvar issued two new            the constitutional defects. E.g., [ECF 414, ¶¶ 19-20, 41].



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Further, Plaintiffs point out that the Secretary's new guidance    Briefing is complete. No party has requested an evidentiary
is inconsistent with Defendants’ prior positions, in that the      hearing, and the Court, based on the nature of the motion,
guidance now says all “naked” ballots should be counted            finds that one is not required. See Bradley v. Pittsburgh
regardless of the elector's reason for not placing the ballot      Bd. of Educ., 910 F.2d 1172, 1175-76 (3d Cir. 1990)
in the secrecy envelope. E.g., [id. at ¶ 16]. Plaintiffs           (“The applicable Federal Rule does not make a hearing a
say that this guidance violates the election code and is           prerequisite for ruling on a preliminary injunction.”). Thus,
likely to be implemented in a non-uniform and potentially          the motion is ready for disposition.
unconstitutional manner (i.e., by some counties but not
others). E.g., [id. at ¶¶ 18, 20].
                                                                   LEGAL STANDARD
Plaintiffs argue that, without an injunction, this unlawful
guidance will irreparably harm them. That's because,               “A plaintiff seeking a preliminary injunction must establish
according to Plaintiffs, nothing in the Secretary's new            that he is likely to succeed on the merits, that he is likely to
guidance instructs counties to segregate ballots that were         suffer irreparable harm in the absence of preliminary relief,
received at drop boxes or that are “naked.” [Id. at ¶ 23]. Thus,   that the balance of equities tips in his favor, and that an
Plaintiffs suggest that unless this Court orders Defendants        injunction is in the public interest.” Winter v. NRDC, Inc., 555
to not commingle the challenged ballots with other “proper”        U.S. 7, 20, 129 S.Ct. 365, 172 L.Ed.2d 249 (2008). Because
ballots, Plaintiffs will not be able to obtain the relief they     a preliminary injunction is an “extraordinary remedy,” the
seek even if they win their legal challenges. E.g., [id. at ¶¶     plaintiff must make “a clear showing that the plaintiff is
33, 43-44]. They argue that, once the ballots are commingled,      entitled to such relief.” Id. at 22, 24, 129 S.Ct. 365; see
it will be impossible to “un-commingle” them. As such,             also Holland v. Rosen, 895 F.3d 272, 285 (3d Cir. 2018)
preventing this commingling will, according to Plaintiffs,         (“A preliminary injunction is an extraordinary remedy which
protect the public interest. E.g., [id. at ¶¶ 45-46].              should be granted only in limited circumstances. We do not
                                                                   issue that relief unless the movant, by a clear showing, carries
Defendants and Intervenors have a different take. They argue       the burden of persuasion.” (cleaned up) (citations omitted)).
that Plaintiffs’ motion, despite its label, is really a motion
for reconsideration of this Court's abstention order. And they     The first two factors that a plaintiff must show—“(1) a
contend that Plaintiffs cannot meet the heavy burden of            reasonable likelihood of success on the merits ... [and]
justifying such reconsideration. Defendants and Intervenors        (2) irreparable harm”—are “prerequisites” to obtain a
also argue that the Court cannot award Plaintiffs a preliminary    preliminary injunction. Holland, 895 F.3d at 286. Each of
injunction as Plaintiffs’ claims are not justiciable because       these two factors is also a prerequisite to the other. See, e.g.,
Plaintiffs lack standing, their claims aren't ripe, and their      id. (opining that because the plaintiff did not sufficiently
claims are barred by the Eleventh Amendment of the U.S.            “demonstrate that [he] can win on the merits ... we do not
Constitution. Defendants and Intervenors further argue that        delve deeply into the second factor” (cleaned up)); In re
the Pennsylvania Supreme Court's exercise of extraordinary         Arthur Treacher's Franchisee Litig., 689 F.2d 1137, 1143 (3d
jurisdiction renders any preliminary injunction unnecessary        Cir. 1982) (“[A] failure by the moving party to satisfy these
and improper because the Supreme Court will quickly decide         prerequisites: that is, a failure to show a likelihood of success
certain state-law questions, mooting Plaintiffs’ alleged need      or a failure to demonstrate irreparable injury, must necessarily
for injunctive relief.                                             result in the denial of a preliminary injunction.”).

 *4 Additionally, Defendants and Intervenors argue that            Thus, if a plaintiff fails to show that it is likely to suffer
granting a preliminary injunction would be inconsistent with       irreparable harm, the Court may deny the preliminary
this Court's abstention order because to award a preliminary       injunction, and need not address the remaining factors. See
injunction, the Court would need to assess the merits of           Reilly v. City of Harrisburg, 858 F.3d 173, 176 (3d Cir.
Plaintiffs’ claims, something the Court declined to do in its      2017) (“[W]e have repeated that a district court—in its sound
abstention opinion. And finally, they argue that Plaintiffs do     discretion—should balance those four factors so long as the
not meet their burden to show a preliminary injunction is          party seeking the injunction meets the threshold on the first
warranted.                                                         two.”); see, e.g., In re Arthur Treacher's Franchisee Litig.,
                                                                   689 F.2d at 1143; Doe v. U. of Sciences, No. 19-358, 2020



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WL 5211028, at *4, n.7 (E.D. Pa. Sept. 1, 2020) (“Because                     state law. See id.; see also Pennzoil Co. v. Texaco,
the Court finds [Plaintiff] failed to establish irreparable harm,             Inc., 481 U.S. 1, 11, 107 S.Ct. 1519, 95 L.Ed.2d 1
it need not address the parties’ arguments with respect to the                (1987) (“When federal courts interpret state statutes
possibility of harm to others from granting the injunction, or                in a way that raises federal constitutional questions, a
                                                                              constitutional determination is predicated on a reading
the public interest in granting injunctive relief.”).
                                                                              of the statute that is not binding on state courts and may
                                                                              be discredited at any time—thus essentially rendering
                                                                              the federal-court decision advisory and the litigation
DISCUSSION & ANALYSIS                                                         underlying it meaningless.” (cleaned up)).
                                                                              In New Jersey-Philadelphia, the Third Circuit seemed
I. The Court will consider Plaintiffs’ motion.                                to recognize this tension, but found that it was of little
As an initial matter, the parties dispute whether the Court                   consequence under the specific circumstances of that
can entertain Plaintiffs’ motion at all, given that it was filed              case. 654 F.2d at 885-86. That's because, in the Third
after this Court stayed the case based on Pullman abstention.                 Circuit's view, “the district court [did] not construe[ ]
The Third Circuit has said that district judges have the                      the state statute or regulations at all,” and regardless,
authority to consider (and even that they must consider)                      a preliminary injunction is just that—preliminary—
                                                                              and the state courts could always decide the state-law
a preliminary-injunction motion at the same time they are
                                                                              questions and issue narrowing constructions before entry
deciding whether to abstain based on Pullman. See, e.g.,
                                                                              of a final permanent injunction. Id.
Chez Sez III Corp. v. Township of Union, 945 F. 2d 628,
634 n.4 (3d Cir. 1991); New Jersey-Phila. Presbytery of the            *5 It strikes the Court as inconsistent with the core principles
Bible Presbyterian Church v. N.J. State Board of Higher               of Pullman for a plaintiff to be able to seemingly circumvent a
                                                                      Pullman-based stay by, at any later point in time, coming back
Education, 654 F.2d 868, 886 (3d Cir. 1981).2 But there is
                                                                      to federal court, claiming an emergency has arisen, and asking
no authority specifically mandating or authorizing a district
                                                                      the federal court to basically reconsider and take immediate
court to consider a preliminary-injunction motion filed after
                                                                      jurisdiction over the case. “Indeed, abstention could not serve
it stays the entire case under Pullman. See Fuente v. Cortes,
                                                                      its proper function if the parties could, by their own decisions,
207 F. Supp. 3d 441, 453 (M.D. Pa. 2016) (“[T]hough courts
                                                                      force us to confront an otherwise avoidable constitutional
in the past have entertained parties’ requests for emergency
                                                                      question.” Nicholson v. Scoppetta, 344 F.3d 154, 168 (2d
relief contemporaneously with a decision to abstain on the
                                                                      Cir. 2003). In that scenario, the Court would be inviting, not
merits of the case, this scenario is distinguishable from such
                                                                      avoiding, the “needless friction” that abstention is designed
instances[.]” (cleaned up)).
                                                                      to prevent. See Moore v. Tangipahoa Parish School Bd.,
                                                                      507 F. App'x 389, 396 (5th Cir. 2013) (“This [preliminary-
2       The two cases that stand for this proposition create          injunction motion] presents the very conflict that Pullman
        a puzzling tension. On one hand, district courts are          abstention seeks to avoid—i.e., needless friction between
        instructed by Pullman not to delve into the merits of any
                                                                      a federal pronouncement and state policies—as it involves
        unsettled state-law issues to avoid offering “a forecast
                                                                      a federal court enjoining a state's legislatively-determined
        rather than a determination” that would cause “needless
                                                                      funding decisions prior to allowing the state to consider
        friction with state policies.” Railroad Comm'n of Texas v.
        Pullman Co., 312 U.S. 496, 500, 61 S.Ct. 643, 85 L.Ed.        whether such decisions comport with its own constitution.”).3
        971 (1941); see also id. (“The reign of law is hardly
        promoted if an unnecessary ruling of a federal court is       3       In other Circuits, courts have specifically abstained from
        thus supplanted by a controlling decision of a state court.
                                                                              deciding motions for a preliminary injunction based on
        The resources of equity are equal to an adjustment that
                                                                              Pullman. See, e.g., Caldera v. City of Boulder, 341
        will avoid the waste of a tentative decision as well as the
                                                                              F. Supp. 3d 1241, 1243 (D. Colo. 2018) (abstaining
        friction of a premature constitutional adjudication.”).
                                                                              from deciding “preliminary injunction (# 4) against
        On the other hand, to decide a preliminary-injunction
                                                                              enforcement of [an] Ordinance”), aff'd Caldara v. City
        motion, the district court must do that very thing—
                                                                              of Boulder, 955 F.3d 1175 (10th Cir. 2020); Moore,
        determine reasonable probability of success on the
                                                                              507 F. App'x at 396 (holding that district court erred in
        merits, essentially deciding, or at least predicting, the
                                                                              granting preliminary injunction “in light of the Pullman
        state-law issues in the process. This seems at odds with
                                                                              abstention doctrine.”); Jayaraj v. Scappini, 66 F.3d 36,
        Pullman’s concern for avoiding advisory opinions that
                                                                              38 (2d Cir. 1995) (holding that the district court “erred in
        might later be voided by a state-court decision under
                                                                              granting the preliminary injunction” because “abstention


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       under [Pullman] is warranted.”); Chun v. State of N.Y.,        *6 At least at the current stage of proceedings and on
       807 F. Supp. 288, 289 (S.D.N.Y. 1992) (abstaining from        the record presently before this Court, Plaintiffs have not
       deciding “preliminary injunction to enjoin the State of       established that they are entitled to the “extraordinary
       New York from prosecuting [plaintiff] for violating New       remedy” of a preliminary injunction. Greater Phila. Chamber
       York's anti-gambling laws.”).
                                                                     of Commerce v. City of Phila., 949 F.3d 116, 133 (3d Cir.
That said, this Court is bound by Third Circuit precedent,           2020). That is chiefly because Plaintiffs have not shown that
and the Third Circuit appears to have ordered district               they will suffer “irreparable harm” if the Court denies the
courts to consider and decide preliminary-injunction motions         injunction.5
even while abstaining under Pullman. The Court could
draw a distinction between this case on the one hand                 5      Defendants and Intervenors raise a number of other
(preliminary-injunction motion filed after the Pullman stay),
                                                                            procedural and substantive challenges to Plaintiffs’
and New Jersey-Philadelphia and Chez Sez on the other
                                                                            motion. Because Plaintiffs’ failure to establish
(preliminary-injunction motion filed contemporaneously                      irreparable harm is dispositive to the present motion,
with the complaint and before Pullman stay). But that                       the Court need not address these other arguments. See,
distinction doesn't seem to necessarily flow from the                       e.g., Exec. Home Care Franchising LLC v. Marshall
reasoning of the Third Circuit's decisions. Thus, based on                  Health Corp., 642 F. App'x 181, 183 (3d Cir. 2016)
this binding precedent, the Court finds that it is obligated to             (“We conclude that the District Court properly disposed
consider Plaintiffs’ motion.                                                of Executive Care's motion for a preliminary injunction
                                                                            on the basis of the ‘irreparable harm’ requirement.’ ”);
However, as will be discussed, the Court also finds that                    B.P.C. v. Temple Univ., No. 13-7595, 2014 WL 4632462,
Plaintiffs’ motion must, at this stage, be denied due to                    at *5 (E.D. Pa. Sept. 16, 2014) (“Because of the failure to
the absence of any irreparable harm. Because that issue is                  establish irreparable harm, the other factors (likelihood
                                                                            of success, balance of harms and public interest) need
dispositive, this Court need not delve into a merits-based
                                                                            not be addressed.” (citing AT&T v. Winback & Conserve
determination that could cause tension with the principles of
                                                                            Program, 42 F.3d 1421, 1427 n.8 (3d Cir. 1994))).
Pullman.4
                                                                     A party seeking preliminary injunctive relief must
                                                                     “demonstrate that irreparable injury is likely in the absence
4      In discussing this issue, Plaintiffs rely heavily on Pierce   of an injunction.” Winter, 555 U.S. at 22, 129 S.Ct. 365
       v. Allegheny County Bd. of Elections, 324 F. Supp. 2d
                                                                     (emphasis in original). An injury is “irreparable” only if
       684 (W.D. Pa. 2013) (Conti, J.). See [ECF 414, ¶¶ 33,
                                                                     it “cannot be redressed by a legal or an equitable remedy
       37-47]. In Pierce, the court abstained under Pullman,
                                                                     following a trial.” Campbell Soup Co. v. ConAgra, Inc., 977
       but granted a limited injunction, ordering the segregation
                                                                     F.2d 86, 91 (3d Cir. 1992) (citation omitted). Further, “[t]he
       of 937 ballots. 324 F. Supp. 2d at 707-09. A review of
       Pierce demonstrates the difficult position in which the       preliminary injunction must be the only way of protecting
       Third Circuit's decisions placed the district court, and      the plaintiff from harm.” Id. (emphasis in original). As well,
       how those decisions limited the court's merits review.        preliminary relief that is “mandatory,” rather than prohibitive,
       There, the district court recognized that “the likelihood     and “will alter the status quo” must “meet a higher standard
       of plaintiffs’ success, while a close question, appear[ed]    of showing irreparable harm in the absence of an injunction.”
       to turn on an issue, which [was] more appropriate for the     Bennington Foods LLC v. St. Croix Renaissance, Grp.,
       Pennsylvania courts to determine[.]” Id. at 705. But, in      LLP, 528 F.3d 176, 179 (3d Cir. 2008); see also Christie-
       light of its abstention decision, the district court found    Spencer Corp. v. Hausman Realty Co., 118 F. Supp. 2d
       it “inappropriate, based upon the doctrines of comity         408, 418 (S.D.N.Y. 2000) (“Such relief is granted sparingly,
       and federalism, to speculate as to how the Pennsylvania
                                                                     because mandatory injunctions are more burdensome than
       courts would interpret” the relevant state-law issue. Id.
                                                                     prohibitory injunctions, and disturb the status quo prior to
       The district court eventually reached its merits decision
                                                                     final adjudication.”). In such circumstances, Plaintiffs’ right
       on the injunction by qualifying it and finding that it
       turned on “how the state court interpret[ed] the provision
                                                                     to relief must be “indisputably clear.” Hope v. Warden York
       of the election code at issue,” without engaging in such      County Prison, ––– F.3d ––––, 2020 WL 5001785, at *3 (3d
       an interpretation. Id.                                        Cir. Aug. 25, 2020).


II. Plaintiffs cannot establish irreparable harm.                    Plaintiffs argue that they will suffer irreparable harm
                                                                     without an injunction because Defendants may commingle all


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absentee and mail-in ballots after they are cast and collected.     Initially, Plaintiffs have not shown that the harm they fear is
Once that happens, Plaintiffs say, there will be “no way            “likely,” or that an injunction is the “only” way to prevent it,
to discern which, or how many, of those ballots were cast           because the Pennsylvania Supreme Court is poised to resolve
in the manner being challenged by Plaintiffs.” [ECF 414,            Plaintiffs’ claims on state-law grounds in short order, before
p. 17, ¶ 43]. To avoid this harm, they ask that the Court           such harm occurs. See Winter, 555 U.S. at 22, 129 S.Ct. 365;
order Defendants to (1) segregate, account for, and “deem           Campbell Soup Co., 977 F.2d at 91.
challenged” all ballots within the categories Plaintiffs wish to
contest (e.g., all absentee and mail-in ballots returned to “drop   Per that court's recent order exercising extraordinary
boxes”); and (2) retain, and allow Plaintiffs to “periodically      jurisdiction over the parallel state-court litigation, the
review,” video surveillance footage used to monitor “drop           question of whether the election code permits counties to
boxes” or other absentee and mail-in ballot return sites. [ECF      use “drop boxes” is now teed up for decision, as is the
414-1, ¶¶ 1-3].                                                     question of whether ballots submitted without an “inner
                                                                    secrecy envelope” (or with “marks” on that envelope) may be
After careful consideration, the Court does not believe either      counted. [ECF 388-1, p. 5; ECF 418-3]. Those issues will be
category of preliminary relief is warranted at this time.           fully briefed by today, September 8, 2020, and presumably
                                                                    decided promptly after that. [ECF 418-3]. While Plaintiffs
                                                                    argue that there is no guarantee the Pennsylvania Supreme
   A. Plaintiffs’ request for ballot segregation.                   Court will quickly and conclusively decide these issues [ECF
 *7 First, Plaintiffs ask the Court to preliminarily enjoin         437, pp. 2-3], this Court trusts that it will, considering the
Defendants from “commingling and counting (either during            importance and urgency of the parties’ disputes. Once the
a pre-canvass or canvass) cast absentee and mail-in ballots”        Pennsylvania Supreme Court has weighed in, its decision
that are either: (1) “returned or collected through drop boxes”;    will likely moot Plaintiffs’ federal claims here by either (1)
(2) “lack an inner secrecy envelope or contain marks, texts,        invalidating the use of drop boxes and counting of “naked
or symbols thereon”; or (3) “have been delivered in-person          ballots” on state-law grounds; or (2) determining that the
by someone other than the non-disabled voters.” [ECF 414-1,
                                                                    Secretary's guidance on those points is lawful.6 That's why
p. 2]. Plaintiffs further ask that this Court “deem” all such
                                                                    this Court abstained under Pullman in the first place.
ballots to be “challenged” under the election code and direct
Defendants to “segregat[e] and set aside [the challenged
                                                                    6      As it pertains to these claims, Plaintiffs do not assert
ballots] in a secure location at the offices of each of the
Defendant County Elections Boards.” [Id.]                                  a facial constitutional challenge to the election code
                                                                           or to the constitutionality of drop-boxes and mail-in
                                                                           voting generally. Instead, as this Court explained in its
In practice, this means that all the challenged ballots would be
                                                                           prior opinion, Plaintiffs’ federal claims depend on the
excluded from counting in the ordinary course and subjected
                                                                           Secretary having issued unlawful guidance that will be
to a hearing procedure used for adjudicating challenges                    implemented inconsistently across the counties. [ECF
to absentee ballots or ballot applications under 25 P.S. §                 409, pp. 2, 26, n.6]. Thus, if the Secretary's guidance is
3146.8(f) and (g)(5). Presumably, Plaintiffs intend to ask that            declared either lawful or unlawful by the Pennsylvania
these ballots be disqualified, after the votes are cast, if they           Supreme Court, and the correct interpretation of the
prevail on their claims challenging the use of drop boxes                  election code is then implemented uniformly across the
(either in state court or in this Court).                                  counties, nothing remains of Plaintiffs’ related federal
                                                                           claims in this case.
For several reasons, Plaintiffs have not shown that they will       As for the timing of the commingling Plaintiffs seek to
suffer irreparable harm if the Court declines to order this         preempt, the earliest possible harm referenced by Plaintiffs’
relief.                                                             motion is that one county (Delaware County) plans to install
                                                                    drop boxes to collect mailed ballots on October 1, 2020. [ECF
                                                                    414, p. 12, ¶ 22]. Assuming that is true,7 it would mean that
1. Plaintiffs can obtain relief by operation of the                 ballots could be cast, collected, and then possibly mixed-in
Pennsylvania Supreme Court's decision.                              with others at some point after that—nearly a month or more
                                                                    from now.




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7      The Secretary's new guidance suggests that all ballot
       return sites should be accessible “not less than 30 days    Under the election code, the outer envelopes of mail-in and
       before the day of the election, and on the day of           absentee ballots cannot be opened until after 7:00 a.m. on
       the election.” [ECF 415-19, § 2.1]. This suggests that      election day, November 3, 2020. See 25 P.S. §§ 2602(q.1);
       Plaintiffs are correct to believe that at least some drop   3146.8(g)(1.1). Until that happens, election officials have no
       boxes will be made accessible starting October 1, 2020.     way of knowing if a ballot lacks an inner secrecy envelope
 *8 Even then, however, Plaintiffs have not shown that             or contains “marks, texts, or symbols thereon,” nor are they
Defendants intend to commingle ballots cast in drop boxes          able to “commingle” such ballots with others. The Secretary's
in an untraceable way. In fact, the Secretary's new guidance       briefing confirms that this is her understanding of the election
instructs that ballots collected from drop boxes (and other        code, [ECF 424, pp. 11-12], and Plaintiffs make no contrary
ballot collection sites) shall be placed in a “secure ballot       showing.
transfer container,” and that county officials shall then “note
on Ballot Return Site Collection Forms the site and unique         Assuming that there is a decision on whether such ballots may
identification number of the ballot return site and the date       be counted before election day, Plaintiffs have not established
and time of retrieval.” [ECF 415-19, § 3.1]. What's more,          that they are “likely” to suffer any harm. So-called “naked
the guidance specifies that these collection forms should          ballots” can simply be counted, or not, consistent with any
be maintained by the counties “to ensure that the form is          decision by the Pennsylvania Supreme Court (or this Court)
traceable to its respective secure ballot container.” [Id. at §    that issues before election day.
3.2]. This suggests that cast ballots will be traceable back to
the site where they were deposited. Plaintiffs have not shown      To be clear, the Court's analysis here is predicated on the
that any Defendant plans to disregard this guidance, let alone     Pennsylvania Supreme Court deciding these issues in a timely
do so at a time that would result in commingling of ballots        and expeditious manner, and the fact that sufficient time
before the Pennsylvania Supreme Court weighs in.                   remains before Plaintiffs’ commingling concerns materialize.
                                                                   Plaintiffs’ concern that the Pennsylvania Supreme Court may
For these reasons, Plaintiffs have not carried their burden to     not timely act are well-taken, and thus there could be a
show that votes will “likely” be cast in drop boxes—let alone      point in the run-up to the election where Plaintiffs’ assertions
collected and irreversibly commingled with other ballots—          of irreparable harm become likely and imminent enough
before the Pennsylvania Supreme Court decides the correct          to warrant some type of injunctive relief—provided, of
interpretation of the election code. To the contrary, all signs    course, that the other elements required to obtain preliminary
suggest that the Supreme Court understands the urgency and         injunctive relief are satisfied.
will issue a decision before ballot collection is substantially
underway, hopefully in the next several weeks. So long as
that happens, Plaintiffs will not suffer irreparable harm. See     2. State law and the Secretary's guidance protect Plaintiffs
ARRM v. Piper, 319 F. Supp. 3d 1156, 1163 (D. Minn. 2018)          from harm due to third-party ballot delivery.
(“When an adequate remedy exists under state law, injunctive
relief is not appropriate.”) (citations omitted); cf. Little v.     *9 For a different reason, Plaintiffs have also failed to show
Tube City Renaissance, No. 19-172, 2020 WL 436616, at              that they will suffer irreparable harm if the Court does not
*2 (W.D. Pa. Jan. 28, 2020) (Horan, J.) (“In addition, Mr.         order Defendants to segregate all absentee and mail-in ballots
Little has not demonstrated that he could not have received        that are cast for non-disabled voters but “delivered in-person
adequate protections through the state appellate process ... Mr.   by someone other than the non-disabled voters” themselves.
Little abandoned an adequate state law remedy to challenge         [ECF 414-1, ¶ 2].
the constitutionality of the Conservatorship Act. Accordingly,
injunctive relief is not available[.]”).                           This request stems from Plaintiffs’ claim that a few counties
                                                                   accepted delivery of such ballots by third parties (such as
As for Plaintiffs’ challenge to the Secretary's guidance on        voters’ spouses) during the recent primary election. But
the counting of ballots submitted without an inner secrecy         everyone now agrees that the election code forbids third-party
envelope (or with “marks” on that envelope), the harm              ballot delivery, and Secretary Boockvar has issued updated
Plaintiffs argue they will suffer without injunctive relief is     guidance clarifying that counties should only permit voters to
even more attenuated.



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return “their own voted absentee and mail-in ballots.” [ECF          Plaintiffs, however, have not shown that an injunction is “the
424-1, § 1.1] (emphasis added).                                      only way of protecting [them] from harm” in this instance.
                                                                     Campbell Soup Co., 977 F.2d at 91 (emphasis in original).
Given this, it appears that state law will afford Plaintiffs         The Secretary's latest guidance already suggests that video
full protection from the “harm” of counties accepting in-            surveillance footage related to drop box and other ballot-
person delivery of mail-in or absentee ballots by individuals        collection sites “should be retained by the county election
other than the voter. Plaintiffs have not presented evidence         office through 60 days following the deadline to certify the
that any Pennsylvania county is “likely” to disobey the              election.” [ECF 424-1, § 2.5]. And if this guidance on its own
unambiguous election code or the Secretary's clarifying              lacks teeth, Defendants’ evidence preservation obligations in
guidance forbidding third-party delivery. And without such           this (and any other) litigation do not. To be clear, at least in
evidence, the mere possibility that individual county officials      this case, Defendants are under an ongoing duty to preserve
might disobey unambiguous state election code requirements           all such evidence in their possession, custody, and control
does not rise to the level of federal constitutional concern.8       until the conclusion of this litigation. See Romero v. Allstate
See Shipley v. Chicago Bd. of Election Commissioners, 947            Ins. Co., 271 F.R.D. 96, 110 (E.D. Pa. 2010) (“It is well-
F.3d 1056, 1062 (7th Cir. 2020) (explaining that even “a             settled that a party which reasonably anticipates litigation has
deliberate violation of state election laws by state election        an affirmative duty to preserve relevant evidence.” (cleaned
officials does not transgress against the Constitution”)             up)); see also Archer v. York City Sch. Dist., 227 F. Supp. 3d
(cleaned up); Lecky v. Virginia State Bd. of Elections, 285 F.       361, 380 (M.D. Pa. 2016).
Supp. 3d 908, 919 (E.D. Va. 2018) (“[E]ven assuming the
Fredericksburg officials’ failure to provide provisional ballots      *10 The Court has seen no evidence that any Defendant
amounted to a violation of state law, it would not rise to the       has spoliated, or plans to spoliate, relevant video footage in
level of an equal protection violation.”).                           the imminent future.9 Thus, Plaintiffs have not shown that
                                                                     harm is “likely” or that injunctive relief is necessary to force
8      If, despite the unambiguous statute and guidance from         Defendants to “retain” such footage.10
       the Secretary, instances of non-compliance arise in
       specific counties, Plaintiffs would of course still be able   9      Plaintiffs suggest that some Defendants did not retain
       to seek emergency relief in state court, where claims
                                                                            video surveillance footage taken during the primary
       for election-law violations are typically adjudicated. See,
                                                                            election. [ECF 414, p. 11 n.7]. But this litigation was
       e.g. Shipley, 947 F.3d at 1062 (“[T]hat is a state law
                                                                            not pending or anticipated at that time (indeed, Plaintiffs’
       claim for a violation of state law, not a federal claim
                                                                            claims here are based in large part on events that
       for a violation of constitutional rights ... Plaintiffs may
                                                                            allegedly occurred during the primary election), and so
       have other avenues available to raise their complaints,
                                                                            Defendants did not then have any obligation to suspend
       but federal court is not one of them.”).
                                                                            retention policies that might result in the loss of such
In sum, absent any arguably unlawful guidance from the                      evidence.
Secretary or demonstrated intent by other Defendants to              10     Even if limited injunctive relief directing Defendants to
disobey the election code, Plaintiffs cannot satisfy the high
                                                                            “retain” existing surveillance footage were appropriate,
bar for preliminary-injunctive relief.
                                                                            Plaintiffs’ further request that Defendants be compelled
                                                                            to authorize “periodic review” of such footage by
                                                                            campaigns does not appear warranted in light of
   B. Plaintiffs’ request for video surveillance footage.
                                                                            the significant burdens associated with mandating
In addition to requesting the segregation of ballots they intend
                                                                            that Defendants oversee ongoing, statewide video
to challenge, Plaintiffs ask that the Court order Defendants                surveillance by private parties in the lead up to the
to “make available for periodic review upon request by                      election. Additionally, any need for review of such
Plaintiffs” any video surveillance footage “used to monitor                 footage is likely to be eliminated or diminished by
any drop-boxes and/or other sites or locations, including                   the Pennsylvania Supreme Court's impending decision
a county election office, for the return and collection of                  resolving the legality of drop boxes. While video footage
absentee and mail-ballots.” [ECF 414-1, ¶ 2].                               could, in theory, provide some “color” evidence to
                                                                            support Plaintiffs’ allegations with respect to the perils
                                                                            of using drop boxes, that really is ancillary to the legal




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        question of whether drop boxes are authorized by the
        election code.                                               11       The one exception is, perhaps, the third-party ballot
                                                                              delivery claim. But as discussed above, that no longer
III. The Court will not move up the date on which it will                     seems to be a “live” issue after the Secretary's latest
consider motions to lift the stay.                                            guidance. The rest of these claims relate to issues that
The Court previously ordered that either party could lift the                 just need to be decided soon enough to allow proper
                                                                              implementation by election day—e.g., whether out-of-
stay as to “the claims that are not based on unsettled issues
                                                                              county residents may serve as poll-watchers and what
of state law” starting October 5, 2020, due to “a prolonged
                                                                              the correct procedure is for handling voters who show
delay by the state courts[.]” [ECF 410, p. 2]. Plaintiffs ask the
                                                                              up to vote in-person on election day after requesting an
Court to modify that order and allow the stay to be “lifted on                absentee or mail-in ballot beforehand.
September 14, 2020, rather than October 5, 2020, with respect
to all settled state-law claims.” [ECF 414, p. 2]. Plaintiffs         *11 As the Court outlined above, the state-law issues at the
argue that maintaining the October 5 date will “result in            heart of Plaintiffs’ central claims are on track to be resolved
substantial prejudice to Plaintiffs and their claims.” [Id. at ¶     in an expeditious manner in state court, and this Court can
34]. The Court disagrees.                                            resolve any constitutional issues that have not been mooted or
                                                                     that have otherwise been refined shortly thereafter. It remains
The most urgent apparent basis for Plaintiffs’ request is that       likely that the Pennsylvania Supreme Court will act this
September 14, 2020, is the date when county election boards          month, before the current October 5, 2020, deadline arrives.
may begin mailing ballots to voters. [Id. at p. 12, ¶, 129           Thus, the Court sees no reason to modify its prior order at this
S.Ct. 365 21]. But Plaintiffs do not explain, and the Court          time.
cannot discern, the connection between September 14 and the
claims that the Court said it would consider deciding after
October 5—those not based on unsettled or ambiguous issues           CONCLUSION
of state law. Those claims include: (1) Plaintiffs’ third-party
ballot-delivery claims that are set forth in parts of Counts I,      For the reasons discussed, the Court will deny Plaintiffs’
II, and III; (2) Plaintiffs’ facial challenge to Pennsylvania's      motion to modify the Court's stay order and for
poll-watching residency restriction set forth in Counts IV and       limited preliminary-injunctive relief. A corresponding order
V; and (3) Plaintiffs’ claims related to improper provisional        consistent with this Opinion will follow.
voting as set forth in Counts VIII and IX. [ECF 410, p. 2].

                                                                     All Citations
The connection between these claims and either the mailing
of ballots to voters or the installation of drop boxes is tenuous,   Slip Copy, 2020 WL 5407748
at best.11

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                                                                 state law did not impose signature comparison requirement
                                                                 for applications for mail-in and absentee ballots;
                 2020 WL 5997680
   Only the Westlaw citation is currently available.
                                                                 fact that some county boards of elections intended to verify
   United States District Court, W.D. Pennsylvania.
                                                                 signatures on mail-in and absentee ballots and applications,
                                                                 while others did not, did not violate Equal Protection Clause;
          DONALD J. TRUMP FOR
       PRESIDENT, INC., et al., Plaintiffs                       fact that state did not require signature comparison for mail-
                    v.                                           in and absentee ballots, but did for in-person ballots, did not
                                                                 violate Equal Protection Clause; and
       Kathy BOOCKVAR, in her capacity
       as Secretary of the Commonwealth                          county residency requirement on being poll watcher did not
       of Pennsylvania, et al., Defendants.                      violate plaintiffs' constitutional rights.

                      No. 2:20-cv-966
                              |                                  Defendants' motion granted.
                     Signed 10/10/2020

Synopsis                                                         Attorneys and Law Firms
Background: President's reelection campaign, Republican
                                                                 Ronald L. Hicks, Jr., Carolyn Batz McGee, Jeremy A. Mercer,
National Committee, and Republican congressional
                                                                 Russell D. Giancola, Devin A. Winklosky, Porter Wright
candidates and electors filed suit against state and county
                                                                 Morris & Arthur LLP, Pittsburgh, PA, Justin R. Clark, Pro Hac
election officials alleging federal and state constitutional
                                                                 Vice, Matthew Earl Morgan, Pro Hac Vice, Elections LLC,
violations stemming from Pennsylvania's implementation
                                                                 Washington, DC, for Plaintiffs.
of mail-in voting plan for upcoming general election and
its poll watcher residency requirement. State Democratic         Daniel T. Donovan, Pro Hac Vice, Caroline Darmody, Pro
Party, advocacy organizations, and their members intervened.     Hac Vice, Kristen Leigh Bokhan, Michael Glick, Pro Hac
Parties filed cross-motions for summary judgment.                Vice, Susan Marie Davies, Pro Hac Vice, Kirkland & Ellis
                                                                 LLP, Washington, DC, Howard G. Hopkirk, Karen Mascio
                                                                 Romano, Keli Marie Neary, Pro Hac Vice, Nicole Boland, Pro
Holdings: The District Court, J. Nicholas Ranjan, J., held       Hac Vice, Stephen Moniak, Pennsylvania Office of Attorney
that:                                                            General, Kathleen M. Kotula, Kenneth L. Joel, M. Abbegael
                                                                 Giunta, Governor's Office of General Counsel, Timothy
plaintiffs' claims were ripe for adjudication;                   Gates, Pennsylvania Department of State Office of Chief
                                                                 Counsel, Harrisburg, PA, Daniel T. Brier, Donna A. Walsh,
any injury that plaintiffs would suffer was too speculative to   John B. Dempsey, Nicholas F. Kravitz, Pro Hac Vice, Myers,
establish Article III standing;                                  Brier & Kelly, LLP, Scranton, PA, Jaywin Singh Malhi, Pro
                                                                 Hac Vice, Madelyn Morris, Sara S. Tatum, Kirkland & Ellis
use of unmanned drop boxes for mail-in ballots by some           LLP, New York, NY, for Defendant Kathy Boockvar.
counties, but not others, did not violate Equal Protection
                                                                 Molly R. Mudd, Pro Hac Vice, County of Adams, Gettysburg,
Clause;
                                                                 PA, for Defendant Adams County Board of Elections.

use of unmanned drop boxes for mail-in ballots did not violate   Andrew F. Szefi, Allan J. Opsitnick, George M. Janocsko,
substantive due process principles;                              Allegheny County Law Department, Pittsburgh, PA, for
                                                                 Defendant Allegheny County Board of Elections.
state law did not impose signature comparison requirement
for mail-in and absentee ballots;                                Steven B. Silverman, Molly E. Meacham, Sean R. Keegan,
                                                                 Andrew Degory, Babst, Calland, Clements and Zomnir,
                                                                 P.C., Pittsburgh, PA, Elizabeth A. Dupuis, Babst Calland,



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State College, PA, for Defendants Armstrong County Board
of Elections, Bedford County Board of Elections, Centre        Keith O. Brenneman, Law Office of Keith O. Brenneman,
County Board of Elections, Columbia County Board of            P.C., Mechanicsburg, PA, for Defendant Cumberland County
Elections, Fayette County Board of Elections, Indiana County   Board of Elections.
Board of Elections, Lackawanna County Board of Elections,
                                                               Steven B. Silverman, Molly E. Meacham, Sean R. Keegan,
Lebanon County Board of Elections, Montour County Board
                                                               Andrew Degory, Babst Calland Clements and Zomnir, PC,
of Elections, Northumberland County Board of Elections,
                                                               Pittsburgh, PA, Elizabeth A. Dupuis, Babst Calland, State
Venango County Board of Elections.
                                                               College, PA, Joseph A. Curcillo, III, Dauphin County,
Nathan A. Morgan, Beaver, PA, for Defendant Beaver County      Harrisburg, PA, for Defendant Dauphin County Board of
Board of Elections.                                            Elections.

Christine D. Steere, Deasey, Mahoney & Valentini, Ltd.,        Edward D. Rogers, Pro Hac Vice, Elizabeth Wingfield, Pro
Media, PA, for Defendant Berks County Board of Elections.      Hac Vice, Kahlil Williams, Pro Hac Vice, David S. Fryman,
                                                               Ballard, Spahr, Andrews & Ingersoll, Terence Grugan, Pro
Steven B. Silverman, Molly E. Meacham, Sean R. Keegan,         Hac Vice, Ballard Spahr, Philadelphia, PA, for Defendant
Andrew Degory, Babst Calland Clements and Zomnir, PC,          Delaware County Board of Elections.
Pittsburgh, PA, Elizabeth A. Dupuis, Babst Calland, State
College, PA, Nathan W. Karn, Evey Black Attorneys LLC,         Thomas S. Talarico, Talarico & Niebauer, Erie, PA, for
Hollidaysburg, PA, for Defendant Blair County Board of         Defendant Erie County Board of Elections.
Elections.
                                                               Andrew W. Norfleet, Frank J. Lavery, Jr., Stephen B.
Mark A. Aronchick, Christina Matthias, Pro Hac Vice, John      Edwards, Lavery Law, Harrisburg, PA, for Defendants
B. Hill, Pro Hac Vice, Michele D. Hangley, Pro Hac Vice,       Franklin County Board of Elections, Perry County Board of
Peter V. Keays, Robert Wiygul, Pro Hac Vice, Hangley           Elections.
Aronchick Segal Pudlin & Schiller, Philadelphia, PA, Joseph
                                                               Robert Eugene Grimm, Robert Eugene Grimm Attorney,
J. Khan, County of Bucks, Doylestown, PA, for Defendant
                                                               Smithfield, PA, for Defendant Greene County Board of
Bucks County Board of Elections.
                                                               Elections.
William Gleason Barbin, Cambria County Solicitor's Office,
                                                               Peter M. McManamon, Pro Hac Vice, Gill, McManamon
Ebensburg, PA, for Defendant Cambria County Board of
                                                               & Ghaner, Huntingdon, PA, Steven B. Silverman, Molly E.
Elections.
                                                               Meacham, Sean R. Keegan, Andrew Degory, Babst Calland
Gerard Joseph Geiger, Pro Hac Vice, Newman Williams,           Clements and Zomnir, PC, Pittsburgh, PA, Elizabeth A.
Stroudsburg, PA, for Defendant Carbon County Board of          Dupuis, Babst Calland, State College, PA, for Defendant
Elections.                                                     Huntingdon County Board of Elections.

Mark A. Aronchick, Christina Matthias, Pro Hac Vice, John      C.J. Zwick, Zwick & Zwick LLP, DuBois, PA, Gregory D.
B. Hill, Pro Hac Vice, Michele D. Hangley, Pro Hac Vice,       Sobol, Brookville, PA, for Defendant Jefferson County Board
Robert Wiygul, Pro Hac Vice, Hangley Aronchick Segal           of Elections.
Pudlin & Schiller, Philadelphia, PA, for Defendant Chester
                                                               Donald Zagurskie, Pro Hac Vice, Johnston & Zagurskie, PC,
County Board of Elections.
                                                               Mifflin, PA, for Defendant Juniata County Board of Elections.
Christopher P. Gabriel, Carfardi Ferguson Wyrick Weis +
                                                               Christina L. Hausner, Pro Hac Vice, County of Lancaster,
Gabriel, Sewickley, PA, for Defendant Clarion County Board
                                                               Lancaster, PA, for Defendant Lancaster County Board of
of Elections.
                                                               Elections.
Frank A. Blum, III, Jefferson Hills, PA, for Defendant
                                                               Steven B. Silverman, Molly E. Meacham, Sean R. Keegan,
Clearfield County Board of Elections.
                                                               Andrew Degory, Babst Calland Clements and Zomnir, PC,
Keith A. Button, Shafer Law Firm, Meadville, PA, for           Pittsburgh, PA, Thomas W. Leslie, New Castle, PA, Elizabeth
Defendant Crawford County Board of Elections.



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A. Dupuis, Babst Calland, State College, PA, for Defendant
Lawrence County Board of Elections.                            Thomas R. Shaffer, Glassmire & Shaffer Law Offices,
                                                               Coudersport, PA, for Defendant Potter County Board of
Thomas M. Caffrey, Pro Hac Vice, PO BOX A, Coplay,             Elections.
PA, Sarah Mae Murray, Pro Hac Vice, County of Lehigh,
Allentown, PA, for Defendant Lehigh County Board of            Michael P. Barbera, Barbera, Melvin, Svonavec & Sperlazza
Elections.                                                     LLP, Somerset, PA, for Defendant Somerset County Board of
                                                               Elections.
Lawrence J. Moran, Jr., Matthew J. Carmody, Joyce,
Carmody & Moran, P.C., Regina M. Blewitt, Joyce Carmody        Kenneth R. Levitzky, Kenneth R. Levitzky, Esquire,
Moran, Pittston, PA, for Defendant Luzerne County Board of     Dushore, PA, for Defendants Sullivan County Board of
Elections.                                                     Elections, Wyoming County Board of Elections.

Joseph D. Smith, McCormick Law Firm, Williamsport, PA,         Robert Gawlas, Robert Schaub, Rosenn Jenkins & Greenwald
for Defendant Lycoming County Board of Elections.              LLP, Wilkes-Barre, PA, for Defendant Susquehanna County
                                                               Board of Elections.
Anthony V. Clarke, The Clarke Firm, Bradford, PA, for
Defendant Mckean County Board of Elections.                    Christopher P. Gabriel, Carfardi Ferguson Wyrick Weis +
                                                               Gabriel, Sewickley, PA, Raymond E. Ginn, Jr., Pro Hac Vice,
Steven B. Silverman, Molly E. Meacham, Sean R. Keegan,         Ginn & Vickery, P.C., Wellsboro, PA, for Defendant Tioga
Babst, Calland, Clements and Zomnir, P.C., Pittsburgh, PA,     County Board of Elections.
William J. Madden, Solicitor, Mercer County, Sharon, PA,
Elizabeth A. Dupuis, Babst Calland, State College, PA, for     Steven B. Silverman, Sean R. Keegan, Babst, Calland,
Defendant Mercer County Board of Elections.                    Clements and Zomnir, P.C., Pittsburgh, PA, Allen P. Page,
                                                               McNerney, Page, Vanderlin & Hall, Williamsport, PA, for
Gerard Joseph Geiger, Newman Williams, Stroudsburg, PA,        Defendant Union County Board of Elections.
for Defendants Monroe County Board of Elections, Pike
County Board of Elections, Schuylkill County Board of          Nathaniel Justus Schmidt, Schmidt Law Firm, Warren, PA,
Elections, Snyder County Board of Elections, Wayne County      for Defendant Warren County Board of Elections.
Board of Elections.
                                                               Robert J. Grimm, Swartz Campbell, Ryan Michael Joyce,
Mark A. Aronchick, Christina Matthias, Pro Hac Vice, John      Swartz Campbell, LLC, Pittsburgh, PA, for Defendant
B. Hill, Pro Hac Vice, Michele D. Hangley, Pro Hac Vice,       Washington County Board of Elections.
Robert Wiygul, Pro Hac Vice, Hangley Aronchick Segal
                                                               David A. Regoli, New Kensington, PA, for Defendant
Pudlin & Schiller, Philadelphia, PA, Maureen Calder, Pro Hac
                                                               Westmoreland County Board of Elections.
Vice, Montgomery County Solicitor's Office, Norristown, PA,
for Defendant Montgomery County Board of Elections.            Michelle Pokrifka, Pro Hac Vice, York County Solicitor's
                                                               Office, York, PA, Steven B. Silverman, Molly E. Meacham,
Brian Taylor, Pro Hac Vice, Richard E. Santee, Pro Hac Vice,
                                                               Sean R. Keegan, Andrew Degory, Babst Calland Clements
County of Northampton, Easton, PA, Timothy P. Brennan, Pro
                                                               and Zomnir, PC, Pittsburgh, PA, Elizabeth A. Dupuis, Babst
Hac Vice, County of Northampton, PA, PA, for Defendant
                                                               Calland, State College, PA, for Defendant York County Board
Northampton County Board of Elections.
                                                               of Elections.
Mark A. Aronchick, Christina Matthias, Pro Hac Vice, John
                                                               Adriel I. Cepeda Derieux, Pro Hac Vice, Dale E. Ho, Pro
B. Hill, Pro Hac Vice, Michele D. Hangley, Robert Wiygul,
                                                               Hac Vice, Sophia Lin Lakin, Pro Hac Vice, American Civil
Pro Hac Vice, Hangley Aronchick Segal Pudlin & Schiller,
                                                               Liberties Union Foundation, Christopher R. Noyes, Pro Hac
Zachary Strassburger, City of Philadelphia Law Department,
                                                               Vice, Eleanor Davis, Pro Hac Vice, Jared Vasconcellos
Philadelphia, PA, for Defendant Philadelphia County Board
                                                               Grubow, Pro Hac Vice, Lori A. Martin, Wilmer Cutler
of Elections.
                                                               Pickering Hale and Dorr LLP, New York, NY, Benjamin
                                                               David Geffen, Mary McKenzie, Public Interest Law Center,
                                                               Philadelphia, PA, David P. Yin, Pro Hac Vice, Sarah E.



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Brannon, Pro Hac Vice, American Civil Liberties Union          implementation of a mail-in voting plan for the upcoming
Foundation, John Michael Powers, Pro Hac Vice, Lawyers'        general election.
Committee for Civil Rights Under Law, Washington, DC,
Jason H. Liss, Pro Hac Vice, Boston, MA, Samantha Picans,      Since then, the Pennsylvania Supreme Court issued a decision
Pro Hac Vice, Wilmer Cutler Pickering Hale and Dorr LLP,       involving similar claims, which substantially narrowed the
Denver, CO, Witold J. Walczak, Aclf of PA, Pittsburgh, PA,     focus of this case. And Secretary of the Commonwealth,
for Defendant NAACP Pennsylvania State Conference.             Kathy Boockvar, issued additional election “guidance,”
                                                               which further narrowed certain of the claims.
Adriel I. Cepeda Derieux, Pro Hac Vice, Dale E. Ho, Pro
Hac Vice, Sophia Lin Lakin, Pro Hac Vice, American Civil       Therefore, as this case presently stands, only three claims
Liberties Union Foundation, Christopher R. Noyes, Pro Hac
                                                               remain. First, whether the use of so-called “drop boxes”1 for
Vice, Eleanor Davis, Jared Vasconcellos Grubow, Pro Hac
                                                               mail-in ballots is unconstitutional, given the lack of guidance
Vice, Lori A. Martin, Wilmer Cutler Pickering Hale and
                                                               or mandates that those drop boxes have security guards to man
Dorr LLP, New York, NY, Benjamin David Geffen, Mary
                                                               them. Second, whether the Secretary's guidance as to mail-
McKenzie, Public Interest Law Center, Philadelphia, PA,
                                                               in ballots—specifically, her guidance that county election
David P. Yin, Pro Hac Vice, Sarah E. Brannon, Pro Hac Vice,
                                                               boards should not reject mail-in ballots where the voter's
American Civil Liberties Union Foundation, John Michael
                                                               signature does not match the one on file—is unconstitutional.
Powers, Pro Hac Vice, Lawyers' Committee for Civil Rights
                                                               Third, whether Pennsylvania's restriction that poll watchers
Under Law, Washington, DC, Jason H. Liss, Pro Hac Vice,
                                                               be residents in the county for which they are assigned, as
Boston, MA, Samantha Picans, Pro Hac Vice, Wilmer Cutler
                                                               applied to the facts of this case, is unconstitutional.
Pickering Hale and Dorr LLP, Denver, CO, Witold J. Walczak,
Aclf of PA, Pittsburgh, PA, for Defendant Common Cause
                                                               1       “Drop boxes” are receptacles similar to U.S. Postal
Pennsylvania.
                                                                       Service mailboxes. They are made of metal, and have a
Adriel I. Cepeda Derieux, Dale E. Ho, Sophia Lin Lakin,                locking mechanism, storage compartment, and an insert
American Civil Liberties Union Foundation, Christopher R.              or slot into which a voter can insert a ballot. See generally
Noyes, Eleanor Davis, Jared Vasconcellos Grubow, Lori A.               [ECF 549-9].
Martin, Wilmer Cutler Pickering Hale and Dorr LLP, New         In order to present these claims to the Court on a
York, NY, Benjamin David Geffen, Mary McKenzie, Public         complete record, the parties engaged in extensive fact and
Interest Law Center, Philadelphia, PA, David P. Yin, Pro       expert discovery, and have filed cross-motions for summary
Hac Vice, Sarah E. Brannon, American Civil Liberties Union     judgment. No party has raised a genuine dispute of material
Foundation, John Michael Powers, Pro Hac Vice, Lawyers'        fact that would require a trial, and the Court has found none.
Committee for Civil Rights Under Law, Washington, DC,          As such, the parties’ cross-motions for summary judgment are
Jason H. Liss, Boston, MA, Samantha Picans, Wilmer Cutler      ready for disposition.
Pickering Hale and Dorr LLP, Denver, CO, Witold J. Walczak,
Aclf of PA, Pittsburgh, PA, for Defendants League of Women     After a careful review of the parties’ submissions and the
Voters of Pennsylvania, Patricia Demarco, Danielle Graham      extensive evidentiary record, the Court will enter judgment in
Robinson, Kathleen Wise.                                       favor of Defendants on all of Plaintiffs’ federal-constitutional
                                                               claims, decline to exercise supplemental jurisdiction over the
                                                               state-constitutional claims, and dismiss this case. This is so
OPINION                                                        for two main reasons.

J. Nicholas Ranjan, United States District Judge               First, the Court concludes that Plaintiffs lack Article III
                                                               standing to pursue their claims. Standing, of course, is a
 *1 Plaintiffs in this case are President Trump's reelection
                                                               necessary requirement to cross the threshold into federal
campaign, the Republican National Committee, and several
                                                               court. Federal courts adjudicate cases and controversies,
other Republican congressional candidates and electors.
                                                               where a plaintiff's injury is concrete and particularized. Here,
They originally filed this suit, alleging federal and state
                                                               however, Plaintiffs have not presented a concrete injury to
constitutional violations stemming from Pennsylvania's
                                                               warrant federal-court review. All of Plaintiffs’ remaining
                                                               claims have the same theory of injury—one of “vote dilution.”


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Plaintiffs fear that absent implementation of the security
measures that they seek (guards by drop boxes, signature          Put differently, “[f]ederal judges can have a lot of power—
comparison of mail-in ballots, and poll watchers), there is a     especially when issuing injunctions. And sometimes we may
risk of voter fraud by other voters. If another person engages    even have a good idea or two. But the Constitution sets out our
in voter fraud, Plaintiffs assert that their own lawfully cast    sphere of decision-making, and that sphere does not extend
vote will, by comparison, count for less, or be diluted.          to second-guessing and interfering with a State's reasonable,
                                                                  nondiscriminatory election rules.” New Georgia Project v.
 *2 The problem with this theory of harm is that it is            Raffensperger, ––– F.3d ––––, ––––, 2020 WL 5877588, at
speculative, and thus Plaintiffs’ injury is not “concrete”—       *4 (11th Cir. Oct. 2, 2020).
a critical element to have standing in federal court. While
Plaintiffs may not need to prove actual voter fraud, they must    As discussed below, the Court finds that the election
at least prove that such fraud is “certainly impending.” They     regulations put in place by the General Assembly and
haven't met that burden. At most, they have pieced together a     implemented by Defendants do not significantly burden any
sequence of uncertain assumptions: (1) they assume potential      right to vote. They are rational. They further important state
fraudsters may attempt to commit election fraud through the       interests. They align with the Commonwealth's elaborate
use of drop boxes or forged ballots, or due to a potential        election-security measures. They do not run afoul of the
shortage of poll watchers; (2) they assume the numerous           United States Constitution. They will not otherwise be
election-security measures used by county election officials      second-guessed by this Court.
may not work; and (3) they assume their own security
measures may have prevented that fraud.

                                                                  BACKGROUND
All of these assumptions could end up being true, and these
events could theoretically happen. But so could many things.      I. Procedural Background
The relevant question here is: are they “certainly impending”?
At least based on the evidence presented, the answer to that is      A. Plaintiffs’ original claims.
“no.” And that is the legal standard that Plaintiffs must meet.   On June 29, 2020, Plaintiffs filed their original complaint
As the Supreme Court has held, this Court cannot “endorse         in this case against Defendants, who are the Secretary of
standing theories that rest on speculation about the decisions    the Commonwealth and the 67 county boards of elections.
of independent actors.” See Clapper v. Amnesty Int'l USA, 568     [ECF 4]. With their lawsuit, Plaintiffs challenged a number
U.S. 398, 414, 133 S.Ct. 1138, 185 L.Ed.2d 264 (2013).            of Pennsylvania's procedures with respect to mail-in voting
                                                                  —in particular, the use of drop boxes and the counting of
Second, even if Plaintiffs had standing, their claims fail on     mail-in ballots that contained certain procedural defects. See
the merits. Plaintiffs essentially ask this Court to second-      [id.]. Shortly after filing their original complaint, Plaintiffs
guess the judgment of the Pennsylvania General Assembly           moved for expedited discovery and an expedited declaratory-
and election officials, who are experts in creating and           judgment hearing. [ECF 6]. Defendants opposed the motion.
implementing an election plan. Perhaps Plaintiffs are right       The Court partially granted the motion, scheduled a speedy
that guards should be placed near drop boxes, signature-          hearing, and ordered expedited discovery before that hearing.
analysis experts should examine every mail-in ballot, poll        [ECF 123; ECF 124].
watchers should be able to man any poll regardless of
location, and other security improvements should be made.          *3 After Plaintiffs filed the original complaint, many non-
But the job of an unelected federal judge isn't to suggest        parties sought to intervene in the action, including several
election improvements, especially when those improvements         organizations.2 The Court granted all intervention motions.
contradict the reasoned judgment of democratically elected        [ECF 309].
officials. See Andino v. Middleton, ––– U.S. ––––, ––– S.Ct.
––––, ––––, ––– L.Ed.2d ––––, 2020 WL 5887393, at *1 (Oct.        2      Intervenors include the Pennsylvania State Democratic
5, 2020) (Kavanaugh, J. concurring) (state legislatures should           Party, the League of Women Voters, the NAACP
not be subject to “second-guessing by an unelected federal               Pennsylvania State Conference, Common Cause
judiciary,” which is “not accountable to the people”) (cleaned           Pennsylvania, Citizens for Pennsylvania's Future, the
up).                                                                     Sierra Club, the Pennsylvania Alliance for Retired



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       Americans, and several affiliated individuals of these      violations of the 1st and 14th Amendments to the U.S.
       organizations.                                              Constitution. [Id. at ¶¶ 202-03].
Defendants and Intervenors moved to dismiss the original
complaint. In response, Plaintiffs filed an amended complaint.     In Count II, Plaintiffs alleged a violation of the Equal-
[ECF 234]. The amended complaint maintained the gist of            Protection Clause under the 14th Amendment. [Id. at ¶¶
the original, but added two new counts and made a variety          206-15]. Plaintiffs asserted that the implementation of the
of other drafting changes. See [ECF 242]. Defendants and           foregoing (i.e., mail-in ballot drop boxes, the verification of
Intervenors moved to dismiss the first amended complaint,          mail-in ballot applications, and the counting of non-compliant
too, primarily asking the Court to abstain and stay the case.      ballots) was different in different counties, thereby treating
                                                                   voters across the state in an unequal fashion. [Id. at ¶¶
Plaintiffs’ first amended complaint asserted nine separate         211-13].
counts, but they could be sorted into three overarching
categories.                                                         *4 In Count III, Plaintiffs asserted a violation of the
                                                                   Pennsylvania State Constitution. [Id. at ¶¶ 216-22]. Plaintiffs
                                                                   alleged that the same actions and conduct that comprised
                                                                   Counts I and II also violated similar provisions of the
1. Claims alleging vote dilution due to unlawful ballot
                                                                   Pennsylvania Constitution. [Id. at ¶ 220].
collection and counting procedures.

The first category covered claims related to allegedly             Finally, in Counts VI and VII, Plaintiffs alleged that
unlawful procedures implemented by some Defendants for             Defendants violated provisions of the federal and state
the collection and counting of mail-in and absentee ballots.       constitutions by disregarding the Election Code's notice and
Those included claims related to (1) Defendants’ uneven use        selection requirements applicable to “polling places.” [Id. at
of drop boxes and other satellite ballot-collection sites, (2)     ¶¶ 237-52]. Plaintiffs alleged that drop boxes are “polling
procedures for verifying the qualifications of voters applying     places,” and thus subject to certain criteria for site selection
in person for mail-in or absentee ballots, and (3) rules for       and the requirement that county election boards provide 20
counting non-compliant ballots (such as ballots submitted          days’ public notice. [Id. at ¶¶ 239-42]. Plaintiffs asserted that
without a secrecy envelope, without an elector declaration, or     Defendants’ failure to provide this notice or select appropriate
that contained stray marks on the envelope).                       “polling places” in the primary election, if repeated in the
                                                                   general election, would create the risk of voter fraud and vote
In Count I, Plaintiffs alleged violations of the Elections         dilution. [Id. at ¶¶ 243-246].
Clause and the related Presidential Electors Clause of the
U.S. Constitution. [ECF 234, ¶¶ 193-205]. Plaintiffs asserted
that, under these provisions, only the state legislature may set   2. Poll-watcher claims.
the time, place, and manner of congressional elections and
determine how the state chooses electors for the presidency.       The second category of claims in the first amended complaint
[Id. at ¶ 196].                                                    consisted of challenges to the constitutionality of Election-
                                                                   Code provisions related to poll watchers.
In support of this claim, Plaintiffs alleged that Secretary
Boockvar's guidance concerning the use of mail-in ballot           In Count IV, Plaintiffs alleged violations of the 1st and 14th
drop boxes, whether county boards of elections must                Amendments. These claims had both a facial and an as-
independently verify mail-in ballot applications, and the          applied component. [ECF 234, ¶ 230 (“On its face and as
counting of non-compliant mail-in ballots, was an executive        applied to the 2020 General Election ...”) ].
overreach—in that the Secretary's guidance allegedly violated
certain provisions of the Election Code enacted by the             First, Plaintiffs alleged that 25 P.S. § 2687 was facially
Pennsylvania General Assembly. [Id. at ¶ 201]. Plaintiffs also     unconstitutional because it “arbitrarily and unreasonably”
claimed that the Secretary's “unlawful guidance” increased         limits poll watchers to serving only in their county of
the risk of fraudulent or unlawful voting and infringed on         residence and to monitoring only in-person voting at the
the right to vote, which, they said, amounted to additional        polling place on election day. [Id. at ¶ 226]. Second, Plaintiffs
                                                                   alleged that the same provision was unconstitutional as



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applied in the context of Pennsylvania's new vote-by-mail          of state law’; (2) permitting resolution of the unsettled state-
system, because these poll-watcher restrictions, combined          law questions by state courts would ‘obviate the need for,
with insecure voting procedures, create unacceptable risks of      or substantially narrow the scope of adjudication of the
fraud and vote dilution. [Id. at ¶ 228]. Plaintiffs contended      constitutional claims’; and (3) an ‘erroneous construction of
that these limitations make it “functionally impracticable”        state law would be disruptive of important state policies[.]’
for candidates to ensure that they have poll watchers              ” (citing Chez Sez III Corp. v. Township of Union, 945
present where ballots are deposited and collected, given the       F.2d 628, 631 (3d Cir. 1991))); id. at p. 30 (explaining
widespread use of remote drop boxes and other satellite            that after the three prongs of Pullman abstention are met,
collection sites. [Id.].                                           the court must “make a discretionary determination of
                                                                   whether abstention is appropriate given the particular facts
Count V was the same as Count IV, but alleged that the             of this case,” which requires weighing “such factors as the
same poll-watching restrictions violated the Pennsylvania          availability of an adequate state remedy, the length of time the
Constitution, too. [Id. at ¶ 234].                                 litigation has been pending, and the impact of delay on the
                                                                   litigants.” (cleaned up)) ].

                                                                   The Court found that abstaining under Pullman was
3. In-person voting claims.
                                                                   appropriate because of several unresolved ambiguities in
The third category of claims consisted of challenges to the        Pennsylvania's Election Code. Specifically, the Court found
procedures for allowing electors to vote in person after           that there were significant ambiguities as to whether the
requesting a mail-in ballot.                                       Election Code (1) permitted delivery of ballots to locations
                                                                   other than the county election board's headquarters, such
That is, in Counts VIII and IX, Plaintiffs asserted that the       as drop boxes, (2) permitted counties to count ballots
Election Code permits an elector that has requested a mail-in      that were not placed within the “secrecy envelope” (i.e.,
ballot to still vote in person so long as he remits his spoiled    “naked ballots”), (3) considered drop boxes and other ballot-
ballot. [ECF 234, ¶¶ 253-267]. Plaintiffs asserted that during     collection sites as “polling places,” as defined in the Election
the primary, some counties allowed such electors to vote in        Code, and (4) required counties to automatically verify ballot
person, while others did not, and they fear the same will          applications for mail-in ballots (where the person applied
happen in the general election. [Id. at ¶¶ 255, 259]. Plaintiffs   for the ballot in person), even if there was no “bona fide
also asserted that some counties allowed electors who had          objection” to the application. [ECF 409, pp. 17-23].
voted by mail to vote in person, in violation of the Election
Code. [Id. at ¶¶ 257-58]. Plaintiffs alleged that this conduct     The Court explained that each of these ambiguities, if
also violates the federal and state constitutional provisions      settled, would significantly narrow—or even resolve—some
concerning the right to vote and equal protection. [Id. at ¶¶      of Plaintiffs’ claims. As the Court explained, for example,
261, 265].                                                         if a state court interpreted the Election Code to disallow
                                                                   drop boxes, Plaintiffs would obtain their requested relief (i.e.,
                                                                   no drop boxes); alternatively, if drop boxes were authorized
  B. The Court's decision to abstain.                              by the Election Code, then Plaintiffs’ allegations that drop
 *5 Upon consideration of Defendants’ and Intervenors’             boxes were illegal would be eliminated, which would, in turn,
motions to dismiss the first amended complaint, on August          significantly affect the constitutional analysis of Plaintiffs’
23, 2020, the Court issued an opinion abstaining under R.R.        claims. [Id. at pp. 25-28]. The same held true for “naked
Comm'n of Tex. v. Pullman Co., 312 U.S. 496, 61 S.Ct. 643,         ballots,” the breadth of coverage of “polling places,” and the
85 L.Ed. 971 (1941) and temporarily staying the case. [ECF         requisite verification for personal ballot applications.
409, 410].
                                                                   The Court then explained that it was appropriate for it to
In doing so, the Court determined that the three requisite         abstain until a state court could interpret the ambiguous
prongs for Pullman abstention were met, and that the               state law. [Id. at pp. 28-30]. The Court concluded that if it
discretionary considerations weighed in favor of abstention.       interpreted the ambiguous state law, there was a sufficient
[ECF 409, p. 3 (“[Under Pullman, federal courts abstain] if        chance that a state court could disagree with the interpretation,
(1) doing so requires interpretation of ‘unsettled questions       which would render this Court's interpretation not only



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advisory, but disruptive to state policies. The Court noted that    the general election. [Id. at p. 1]. Since that case appeared
especially in the election context, states have considerable        to be on track, the Court denied Plaintiffs’ motion without
discretion to implement their own policies without federal          prejudice, and the Court's abstention opinion and order
intervention. Accordingly, because these were questions of          remained in effect.
uninterpreted state law that were sufficiently ambiguous,
federalism and comity demanded that a state court, not this
Court, be the first interpreter.                                       C. The Pennsylvania Supreme Court's decision.
                                                                    On September 17, 2020, the Pennsylvania Supreme Court
 *6 Finally, the Court explained that, despite the imminence        issued its decision in Pennsylvania Democratic Party v.
of the election, abstention was still proper. [Id. at pp.           Boockvar, ––– Pa. ––––, ––– A.3d ––––, 2020 WL 5554644
30-33]. The Court noted that state-court litigation was already     (Sept. 17, 2020). The court clarified three issues of state
pending that would resolve some of the statutory ambiguities        election law that are directly relevant to this case.
at issue. [Id. at p. 31]. Further, the Court highlighted three
courses Plaintiffs could immediately take to resolve the
statutory ambiguities: intervene in the pending state-court         1. Counties are permitted under the Election Code to
litigation; file their own state-court case; or appeal this         establish alternate ballot-collection sites beyond just their
Court's abstention decision to the Third Circuit, and then          main county office locations.
seek certification of the unsettled state-law issues in the
Pennsylvania Supreme Court. [Id. at pp. 31-33].                     The Pennsylvania Supreme Court first considered whether the
                                                                    Election Code allowed a Pennsylvania voter to deliver his
Additionally, the Court explained that it would stay the entire     or her mail-in ballot in person to a location other than the
case, despite several of Plaintiffs’ claims not being subject       established office address of the county's board of election.
to Pullman abstention as they were not based on ambiguous           Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *8. The
state law. [Id. at pp. 34-37]. That's because, in its discretion,   court further considered the means by which county boards
the Court determined it would be more efficient for this case       of election could accept hand-delivered mail-in ballots. Id.
to progress as a single proceeding, rather than in piecemeal
fashion. [Id.]. However, the Court allowed any party to move        Consistent with this Court's abstention opinion, the court
to lift the stay as to the few claims not subject to Pullman        found that “the parties’ competing interpretations of the
abstention, if no state-court decision had been issued by           Election Code on [these questions] are reasonable, rendering
October 5, 2020. [Id.].                                             the Code ambiguous” on these questions. Id. After applying
                                                                    traditional principles of statutory interpretation, the court held
On August 28, 2020, five days after the Court abstained,            that “the Election Code should be interpreted to allow county
Plaintiffs moved to modify the Court's stay, and moved for          boards of election to accept hand-delivered mail-in ballots
a preliminary injunction. [ECF 414]. Plaintiffs requested,          at locations other than their office addresses including drop-
among other things, that the Court order Defendants to              boxes.” Id. at.––––, 2020 WL 5554644, at *9. The court
segregate, and not pre-canvass or canvass, all ballots that         reached this conclusion due to “the clear legislative intent
were returned in drop boxes, lacked a secrecy envelope, or          underlying Act 77 ... to provide electors with options to vote
were delivered by a third party. [Id.]. Plaintiffs also requested   outside of traditional polling places.” Id.
that the Court lift the stay by September 14, 2020, instead of
October 5, 2020. [Id.].                                              *7 The respondents in that case further argued that this
                                                                    interpretation would cause county boards of election to
The Court denied Plaintiffs’ motion for preliminary injunctive      “employ myriad systems to accept hand-delivered mail-in
relief, finding that Plaintiffs failed to show they would           ballots,” which would “be unconstitutionally disparate from
be irreparably harmed. [ECF 444; ECF 445]. The Court                one another in so much as some systems will offer more legal
also declined to move up the date when the stay would               protections to voters than others will provide” and violate the
be lifted. [Id.]. The Court noted that, at the request of           Equal-Protection Clause Id. The court rejected this argument.
Secretary Boockvar, the Pennsylvania Supreme Court had              It found that “the exact manner in which each county board
already exercised its extraordinary jurisdiction to consider        of election will accept these votes is entirely unknown at this
five discrete issues and clarify Pennsylvania law in time for       point; thus, we have no metric by which to measure whether



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any one system offers more legal protection than another,
making an equal protection analysis impossible at this time.”      First, “there is no individual constitutional right to serve as
Id.                                                                a poll watcher; rather, the right to do so is conferred by
                                                                   statute.” Id. (citation omitted). Second, “poll watching is not
                                                                   incidental to the right of free association and, thus, has no
                                                                   distinct First Amendment protection.” Id. (cleaned up). Third,
2. Ballots lacking inner secrecy envelopes should not be
                                                                   “poll watching does not implicate core political speech.” Id.
counted.
                                                                   (citation omitted).
The court next considered whether the boards of elections
“must ‘clothe and count naked ballots,’ i.e., place ballots        The court went on to find that there was a “clear rational
that were returned without the secrecy envelope into a             basis for the county poll watcher residency requirement[.]” Id.
proper envelope and count them, rather than invalidate them.”      That is, given “Pennsylvania has envisioned a county-based
Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *21. The           scheme for managing elections within the Commonwealth,”
court concluded that they should not.                              it is “reasonable that the Legislature would require poll
                                                                   watchers, who serve within the various counties of the state,
The court held that “the Legislature intended for the secrecy      to be residents of the counties in which they serve.” Id.
envelope provision [in the Election Code] to be mandatory.”
Id. at ––––, 2020 WL 5554644, at *24. In other words,              In upholding the constitutionality of the “county poll watcher
the relevant provisions “make clear the General Assembly's         residency requirement,” the court rejected the claim that “poll
intention that, during the collection and canvassing processes,    watchers are vital to protect against voter fraud and that
when the outer envelope in which the ballot arrived is             because of the distribution of voters throughout Pennsylvania,
unsealed and the sealed ballot removed, it should not be           the residency requirement makes it difficult to identify poll
readily apparent who the elector is, with what party he or         watchers in all precincts.” Id. The court concluded that
she affiliates, or for whom the elector has voted.” Id. The        the claims of “heightened election fraud involving mail-
secrecy envelope “properly unmarked and sealed ensures that        in voting” were “unsubstantiated” and “specifically belied
result,” and “[w]hatever the wisdom of the requirement, the        by the Act 35 report issued by [Secretary Boockvar] on
command that the mail-in elector utilize the secrecy envelope      August 1, 2020.” Id. Moreover, the court held that the
and leave it unblemished by identifying information is neither     “speculative claim that it is ‘difficult’ for both parties to
ambiguous nor unreasonable.” Id.                                   fill poll watcher positions in every precinct, even if true, is
                                                                   insufficient to transform the Commonwealth's uniform and
As a result, the court ultimately concluded, “a mail-ballot that   reasonable regulation requiring that poll watchers be residents
is not enclosed in the statutorily-mandated secrecy envelope       of the counties they serve into a non-rational policy choice.”
must be disqualified.” Id. at ––––, 2020 WL 5554644, at *26        Id.

                                                                    *8 Based on the foregoing, the court declared “that the poll-
                                                                   watcher residency requirement does not violate the state or
3. Pennsylvania's county-residency requirement for poll
                                                                   federal constitutions.” Id. at ––––, 2020 WL 5554644, at *31.
watchers is constitutional.

The final relevant issue the court considered was whether
                                                                     D. Plaintiffs’ notice of remaining claims.
the poll-watcher residency requirement found in 25 P.S.
                                                                   Following the Pennsylvania Supreme Court's decision, this
§ 2687(b) violates state or federal constitutional rights.
                                                                   Court lifted the stay it had imposed pursuant to the Pullman
Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *26.
                                                                   abstention doctrine and ordered the parties to identify the
Relying on Republican Party of Pennsylvania v. Cortés, 218
                                                                   remaining viable claims and defenses in the case. [ECF 447].
F. Supp. 3d 396 (E.D. Pa. 2016), the court concluded that
the poll-watcher residency provision “impose[d] no burden
                                                                   In their notice, Plaintiffs took the position that nearly all
on one's constitutional right to vote and, accordingly, requires
                                                                   their claims remained viable, with a few discrete exceptions.
only a showing that a rational basis exists to be upheld.” Id.     Plaintiffs conceded that their “federal and state constitutional
at ––––, 2020 WL 5554644, at *30. The court found rational-        claims of voter dilution solely on the basis that drop boxes
basis review was appropriate for three reasons.                    and other collection sites are not statutorily authorized by the


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Pennsylvania Election Code [were] no longer viable.” [ECF           The Court found that “no Article III ‘case or controversy’
448, p. 4]. They also stated that their “facial challenge to        remain[ed] with respect to the claims on which the
the county residency requirement under 25 P.S. § 2687 is no         Pennsylvania Supreme Court effectively ruled in Plaintiffs’
longer a viable claim.” [Id. at p. 10]. Plaintiffs also moved       favor on state-law grounds (e.g., illegality of third-party ballot
for leave to amend their complaint a second time to add new         delivery; excluding ‘naked ballots’ submitted without inner-
allegations and a new claim relating to Secretary Boockvar's        secrecy envelopes).” [ECF 459, p. 6]. Because there was
recent signature-comparison guidance. [ECF 451].                    “no reason to believe Defendants plan to violate what they
                                                                    themselves now agree the law requires,” the Court held that
Defendants and Intervenors, for their part, suggested that          Plaintiffs’ claims were premature and speculative. [Id. at p. 7].
Plaintiffs’ claims had been substantially narrowed, if not          The Court therefore dismissed those claims as falling outside
outright mooted, by the Pennsylvania Supreme Court's                of its Article III power to adjudicate. [Id. (citations omitted) ].
decision, and reminded the Court that their arguments for
dismissal remained outstanding.                                      *9 To resolve the remaining claims, the Court directed
                                                                    the parties to file cross-motions for summary judgment
                                                                    presenting all arguments for dismissal or judgment under
   E. The Court's September 23, 2020, memorandum                    Federal Rule of Civil Procedure 56. [Id. at pp. 8-10]. Before
   orders.                                                          briefing on those motions, the Court authorized additional
In response to the notices filed by the parties and Plaintiffs’     expedited discovery. [Id. at pp. 4-5]. The parties completed
motion for leave to amend the first amended complaint, the          discovery and timely filed their motions; they identified no
Court issued an order granting Plaintiffs’ motion, narrowing        material disputes of fact; and therefore, the motions are now
the scope of the lawsuit, and establishing the procedure for        fully briefed and ready for disposition.
resolving the remaining claims. [ECF 459].

As to Plaintiffs’ proposed amendment to their complaint, the           F. The claims now at issue.
Court found that the new claim and allegations were relatively      Based on the Pennsylvania Supreme Court's prior ruling,
narrow, and thus amendment wouldn't prejudice Defendants            this Court's prior decisions, Plaintiffs’ nine-count Second
and Intervenors. [Id. at pp. 3-4]. As a result, the Court granted   Amended Complaint, and recent guidance issued by Secretary
the motion. [Id. at p. 4].                                          Boockvar, the claims remaining in this case are narrow and
                                                                    substantially different than those asserted at the outset of the
The Court, however, did inform the parties that it would            case.
“continue to abstain under Pullman as to Plaintiffs’ claim
pertaining to the notice of drop box locations and, more            Drop Boxes (Counts I-III). Plaintiffs still advance a claim
generally, whether the “polling place” requirements under           that drop boxes are unconstitutional, but in a different way.
the Election Code apply to drop-box locations.” [Id. at p.          Now that the Pennsylvania Supreme Court has expressly
5]. This was so because those claims involve still-unsettled        held that drop boxes are authorized under the Election Code,
issues of state law. The Court explained that the “fact that        Plaintiffs now assert that the use of “unmanned” drop boxes
the Pennsylvania Supreme Court did not address this issue           is unconstitutional under the federal and state constitutions,
in its recent decision is immaterial” because the “propriety        for reasons discussed in more detail below.
of Pullman abstention does not depend on the existence of
parallel state-court proceedings.” [Id. (citing Stoe v. Flaherty,   Signature Comparison (Counts I-III). Plaintiffs’ newly
436 F.3d 209, 213 (3d Cir. 2006)) ]. Moreover, Plaintiffs had       added claim relates to signature comparison. Secretary
several other avenues to pursue prompt interpretation of state      Boockvar's September 2020 guidance informs the county
law after this Court abstained. [Id. at p. 6].                      boards that they are not to engage in a signature analysis of
                                                                    mail-in ballots and applications, and they must count those
The Court also informed the parties, for similar reasons,           ballots, even if the signature on the ballot does not match the
that it would continue to abstain with respect to Plaintiffs’       voter's signature on file. Plaintiffs assert that this guidance is
claims regarding Secretary Boockvar's guidance that personal        unconstitutional under the federal and state constitutions.
applications for mail-in ballots shall be accepted absent a
“bona fide objection.” [ECF 460].                                   Poll Watching (Counts IV, V). The Pennsylvania Supreme
                                                                    Court already declared that Pennsylvania's county-residency


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requirement for poll watchers is facially constitutional.            *10 On October 31, 2019, the Pennsylvania General
Plaintiffs now only assert that the requirement, as applied, is     Assembly passed “Act 77,” a bipartisan reform of
unconstitutional under the federal and state constitutions.         Pennsylvania's Election Code. See [ECF 461, ¶¶ 91]; 2019 Pa.
                                                                    Legis. Serv. Act 2019-77 (S.B. 421).
The counts that remain in the Second Amended Complaint,
but which are not at issue, are the counts related to where         Among other things, by passing Act 77, Pennsylvania joined
poll watchers can be located. That is implicated mostly by          34 other states in authorizing “no excuse” mail-in voting
Counts VI and VII, and by certain allegations in Counts IV          by all qualified electors. See [ECF 461, ¶¶ 92]; 25 P.S. §§
and V. The Court continues to abstain from reaching that            3150.11-3150.17; [ECF 549-11, p. 5 (“The largest number
issue. Plaintiffs have filed a separate state lawsuit that would    of states (34), practice no-excuse mail-in voting, allowing
appear to address many of those issues, in any event. [ECF          any persons to vote by mail regardless of whether they have
549-22; ECF 573-1]. Counts VIII and IX concern challenges           a reason or whether they will be out of their jurisdiction
related to voters that have requested mail-in ballots, but that     on Election Day.”) ]. Previously, a voter could only cast an
instead seek to vote in person. The Secretary issued recent         “absentee” ballot if certain criteria were met, such as that the
guidance, effectively mooting those claims, and, based on           voter would be away from the election district on election day.
Plaintiffs’ positions taken in the course of this litigation, the   See 1998 Pa. Legis. Serv. Act. 1998-18 (H.B. 1760), § 14.
Court deems Plaintiffs to have withdrawn Counts VIII and IX.
[ECF 509, p. 15 n.4 (“[I]n the September 28 guidance memo,          Like the previous absentee voting system, Pennsylvania's
the Secretary corrected [her] earlier guidance to conform           mail-in voting system requires voters to “opt-in” by
to the Election Code and states that any mail-in voter who          requesting a ballot from either the Secretary or the voter's
spoils his/her ballot and the accompanying envelopes and            county board of elections. See 25 P.S. §§ 3146.2(a),
signs a declaration that they did not vote by mail-in ballot        3150.12(a). When requesting a ballot, the voter must provide,
will be allowed to vote a regular ballot. Therefore, Plaintiffs     among other things, his or her name, date of birth, voting
agree to withdraw this claim from those that still are being        district, length of time residing in the voting district, and
pursued.”) ].                                                       party choice for primary elections. See 25 P.S. §§ 3146.2(b),
                                                                    3150.12(b). A voter must also provide proof of identification;
                                                                    namely, either a driver's license number or, in the case of
II. Factual Background                                              a voter who does not have a driver's license, the last four
                                                                    digits of the voter's Social Security number, or, in the case
  A. Pennsylvania's Election Code, and the adoption of
                                                                    of a voter who has neither a driver's license nor a Social
  Act 77.
                                                                    Security number, another form of approved identification. 25
                                                                    P.S. § 2602(z.5)(3). In this respect, Pennsylvania differs from
1. The county-based election system.                                states that automatically mail each registered voter a ballot—
                                                                    a practice known as “universal mail-in voting.” [ECF 549-11,
Pennsylvania's Election Code, first enacted in 1937,
                                                                    p. 6] (“[N]ine states conduct universal vote-by-mail elections
established a county-based system for administering
                                                                    in which the state (or a local entity, such [as] a county or
elections. See 25 P.S. § 2641(a) (“There shall be a
                                                                    municipality) mails all registered voters a ballot before each
county board of elections in and for each county of this
                                                                    election without voters’ [sic] having to request them.”).
Commonwealth, which shall have jurisdiction over the
conduct of primaries and elections in such county, in
accordance with the provisions of [the Election Code].”).
The Election Code vests county boards of elections with             3. The COVID-19 pandemic.
discretion to conduct elections and implement procedures
                                                                    Since early 2020, the United States, and Pennsylvania,
intended to ensure the honesty, efficiency, and uniformity of
                                                                    have been engulfed in a viral pandemic of unprecedented
Pennsylvania's elections. Id. §§ 2641(a), 2642(g).
                                                                    scope and scale. [ECF 549-8, ¶ 31]. In that time,
                                                                    COVID-19 has spread to every corner of the globe,
                                                                    including Pennsylvania, and jeopardized the safety and
2. The adoption of Act 77.                                          health of many people. [Id. at ¶¶ 31, 38-39, 54-55, 66].
                                                                    As of this date, more than 200,000 Americans have died,



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including more than 8,000 Pennsylvanians. See Covid in the         (75%) and Washington (56.9%). [ECF 547, p. 18 (citing ECF
U.S.: Latest Map and Case Count, The New York Times,               549-16) ].
available at https://www.nytimes.com/interactive/2020/us/
coronavirus-us-cases.html (last visited Oct. 10, 2020);
COVID-19 Data for Pennsylvania, Pennsylvania Department
                                                                   1. Secretary Boockvar's guidance with respect to drop
of Health, available at https://www.health.pa.gov/topics/
                                                                   boxes.
disease/coronavirus/Pages/Cases.aspx (last visited Oct. 10,
2020).                                                             Since the passage of Act 77, Secretary Boockvar has
                                                                   issued several guidance documents to the counties regarding
There have been many safety precautions that Pennsylvanians        the counties’ implementation of mail-in voting, including
have been either required or urged to take, such as limiting       guidance with respect to the use of drop boxes. [ECF 504-21;
participation in large gatherings, maintaining social distance,    504-22; 504-23; 504-24; 504-25; 571-1, Ex. E]. In general
and wearing face coverings. [ECF 549-8, ¶¶ 58, 63-65]. The         terms, the Secretary's guidance as to drop boxes informed
threat of COVID-19 is likely to persist through the November       the counties that the use of drop boxes was authorized
general election. [Id. at ¶¶ 53-56, 66-68].                        by the Election Code and recommended “best practices”
                                                                   for their use. Her latest guidance offered standards for
                                                                   (1) where drop boxes should be located, [ECF 504-23, §
   B. Facts relevant to drop boxes.
                                                                   1.2], (2) how drop boxes should be designed and what
 *11 Pennsylvania's county-based election system vests
                                                                   signage should accompany them, [id. at §§ 2.2-2.3], (3) what
county boards of elections with “jurisdiction over the conduct
                                                                   security measures should be employed, [id. at § 2.5], and
of primaries and elections in such county, in accordance with
                                                                   (4) what procedures should be implemented for collecting
the provisions” of the Election Code. 25 P.S. § 2641(a).
                                                                   and returning ballots to the county election office, [id. at §§
The Election Code further empowers the county boards to
                                                                   3.1-3.3, 4].
“make and issue such rules, regulations and instructions, not
inconsistent with law, as they may deem necessary for the
                                                                   As to the location of drop boxes, the Secretary recommended
guidance of voting machine custodians, elections officers and
                                                                   that counties consider the following criteria, [id. at § 1.2]:
electors.” Id. at § 2642(f). The counties are also charged with
the responsibility to “purchase, preserve, store and maintain        • Locations that serve heavily populated urban/suburban
primary and election equipment of all kinds, including voting          areas, as well as rural areas;
booths, ballot boxes and voting machines.” Id. at § 2642(c).
                                                                     • Locations near heavy traffic areas such as commercial
As noted above, in Pennsylvania Democratic Party v.                    corridors, large residential areas, major employers and
Boockvar, the Pennsylvania Supreme Court interpreted the               public transportation routes;
Election Code, which allows for mail-in and absentee ballots
                                                                     • Locations that are easily recognizable and accessible
to be returned to the “county board of election,” to “permit[ ]
                                                                       within the community;
county boards of election to accept hand-delivered mail-in
ballots at locations other than their office addresses including     • Locations in areas in which there have historically been
drop-boxes.” ––– A.3d at ––––, 2020 WL 5554644, at *10.                 delays at existing polling locations, and areas with
                                                                        historically low turnout;
Thus, it is now settled that the Election Code permits (but
does not require) counties to authorize drop boxes and other         • Proximity to communities with historically low vote by
satellite-collection locations for mailed ballots. 25 P.S. §            mail usage;
3150.16(a). Pennsylvania is not alone in this regard—as many
as 34 other states and the District of Columbia authorize            • Proximity to language minority communities;
the use of drop boxes or satellite ballot collection sites to
                                                                     • Proximity to voters with disabilities;
one degree or another. [ECF 549-11, p. 8, fig. 4]. Indeed,
Secretary Boockvar stated that as many as 16% of voters              • Proximity to communities with low rates of household
nationwide had cast their ballots using drop boxes in the 2016          vehicle ownership;
general election, including the majority of voters in Colorado
                                                                     • Proximity to low-income communities;


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                                                                        declaration signed by the voter and the person rendering
  • Access to accessible and free parking; and                          assistance; and

  • The distance and time a voter must travel by car or public       • Signage should provide a statement requesting that the
     transportation.                                                    designated county elections official should be notified
                                                                        immediately in the event the receptacle is full, not
With respect to drop-box design criteria, the Secretary                 functioning, or is damaged in any fashion, and should
recommended to counties, [id. at § 2.2]:                                provide a phone number and email address for such
                                                                        purpose.
   *12 • Hardware should be operable without any tight
    grasping, pinching, or twisting of the wrist;
                                                                   With respect to ballot security, the Secretary stated that county
  • Hardware should require no more than 5 lbs. of pressure        boards should implement the following security measures,
     for the voter to operate;                                     [id. at § 2.5]:

  • Receptacle should be operable within reach-range of 15 to        • Only personnel authorized by the county board of
     48 inches from the floor or ground for a person utilizing         elections should have access to the ballots inside of a
     a wheelchair;                                                     drop-box;

  • The drop-box should provide specific points identifying          • Drop-boxes should be secured in a manner to prevent their
     the slot where ballots are inserted;                               unauthorized removal;

  • The drop-box may have more than one ballot slot (e.g. one        • All drop-boxes should be secured by a lock and sealed
     for drive-by ballot return and one for walk-up returns);          with a tamper-evident seal. Only authorized election
                                                                       officials designated by the county board of elections may
  • To ensure that only ballot material can be deposited               access the keys and/or combination of the lock;
    and not be removed by anyone but designated county
    board of election officials, the opening slot of a drop-         • Drop-boxes should be securely fastened in a manner as
    box should be too small to allow tampering or removal              to prevent moving or tampering, such as fastening the
    of ballots; and                                                    drop-box to concrete or an immovable object;

  • The opening slot should also minimize the ability for            • During the hours when the staffed return site is closed
    liquid to be poured into the drop-box or rainwater to seep         or staff is unavailable, the drop-box should be placed
    in.                                                                in a secure area that is inaccessible to the public and/or
                                                                       otherwise safeguarded;
The Secretary's guidance as to signage recommended, [id. at
                                                                     • The county boards of election should ensure adequate
§ 2.3]:
                                                                       lighting is provided at all ballot return sites when the site
  • Signage should be in all languages required under the              is in use;
    federal Voting Rights Act of 1965 (52 U.S.C. Sec.
                                                                     • When feasible, ballot return sites should be monitored
    10503);
                                                                       by a video security surveillance system, or an internal
  •    Signage should display language stating that                    camera that can capture digital images and/or video. A
      counterfeiting, forging, tampering with, or destroying           video security surveillance system can include existing
      ballots is a second-degree misdemeanor pursuant to               systems on county, city, municipal, or private buildings.
      sections 1816 and 1817 of the Pennsylvania Election              Video surveillance should be retained by the county
      Code (25 P.S. §§ 3516 and 3517);                                 election office through 60 days following the deadline to
                                                                       certify the election; and
  • Signage should also provide a statement that third-party
     return of ballots is prohibited unless the person returning      *13 • To prevent physical damage and unauthorized
     the ballot is rendering assistance to a disabled voter or         entry, the drop-box at a ballot return site located
     an emergency absentee voter. Such assistance requires a           outdoors should be constructed of durable material able
                                                                       to withstand vandalism, removal, and inclement weather.


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With respect to ballot collection and “chain of custody”              • The completed collection form should be maintained in
procedures, the Secretary stated that counties should adhere             a manner proscribed by the board of elections to ensure
to the following standards, [id. at §§ 3.1-3.2]:                         that the form is traceable to its respective secure ballot
                                                                         container; and
  • Ballots should be collected from ballot return sites only
     by personnel authorized by the county board of elections         • The county elections official at the county election office
     and at times determined by the board of elections, at least         or central count location should note the number of
     every 24 hours, excluding Saturdays and Sundays;                    ballots delivered on the retrieval form.

  • The county board of elections should designate at least         And finally, as to election day and post-election day
     two election officials to collect voted ballots from           procedures with respect to drop boxes, the Secretary provided
     a ballot return site. Each designated election official        as follows, [id. at §§ 3.3, 4]:
     should carry identification or an official designation
     that identifies them as an election official authorized to       • The county board of elections should arrange for
     collect voted ballots;                                             authorized personnel to retrieve ballots on election night
                                                                        and transport them to the county board of elections for
  • Election officials designated to collect voted ballots by           canvassing of the ballots;
    the board of elections should sign a declaration declaring
    that he or she will timely and securely collect and return        • Authorized personnel should be present at ballot return
    voted ballots, will not permit any person to tamper with            sites immediately prior to 8:00 p.m. or at the time the
    a ballot return site or its contents, and that he or she will       polls should otherwise be closed;
    faithfully and securely perform his or her duties;
                                                                      • At 8:00 p.m. on election night, or later if the polling
  • The designated election officials should retrieve the voted         place hours have been extended, all ballot return sites
     ballots from the ballot return site and place the voted            and drop-boxes must be closed and locked;
     ballots in a secure ballot transfer container;
                                                                       *14 • Staff must ensure that no ballots are returned to the
  • The designated election officials should note on Ballot             ballot return site after the close of polls;
    Return Site Collection Forms the site and unique
                                                                      • After the final retrieval after the closing of the polls, the
    identification number of the ballot return site and the
                                                                         drop-box must be removed or locked and/or covered to
    date and time of retrieval;
                                                                         prevent any further ballots from being deposited, and a
  • Ballots collected from any ballot return site should                 sign shall be posted indicating that polling is closed for
    be immediately transported to the county board of                    the election; and
    elections;
                                                                      • Any ballots collected from a return site should be
  • Upon arrival at the office of the county board of elections,        processed in the same manner as mail-in ballots
     the county board of elections, or their designee(s),               personally delivered to the central office of the county
     should note the time of arrival on the same form, as               board of elections official by the voter and ballots
     described above;                                                   received via the United States Postal Service or any other
                                                                        delivery service.
  • The seal number should be verified by a county election
     official or a designated representative;                       The Secretary and her staff developed this guidance
                                                                    in consultation with subject-matter experts within her
  • The county board of elections, or their designee(s),            Department and after review of the policies, practices, and
    should inspect the drop-box or secure ballot transfer           laws in other states where drop boxes have been used. [ECF
    container for evidence of tampering and should receive          549-6, pp. 23:14-22]. The evidence reflects at least one
    the retrieved ballots by signing the retrieval form and         instance in which the Secretary's deputies reiterated that these
    including the date and time of receipt. In the event            “best practices” should be followed in response to inquiries
    tampering is evident, that fact must be noted on the            from county officials considering whether to use drop boxes.
    retrieval form;


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[ECF 549-32 (“Per our conversation, the list of items are            In particular, she cites a recent news article, and a letter sent
things the county must keep in mind if you are going to              by the General Counsel of the U.S. Postal Service regarding
provide a box for voters to return their ballots in person.”) ].     Pennsylvania's absentee and mail-in ballot deadline, which
                                                                     have raised concerns over the timeliness and reliability of the
Approximately 24 counties plan to use drop boxes during the          U.S. Postal Service. [Id. at ¶¶ 60-61 (citing ECF 549-13; ECF
November general election, to varying degrees. [ECF 549-28;          549-14); ECF 549-17; ECF 549-2 ¶¶ 42-43]. Voters’ fears that
ECF 504-1]. Of these, about nine counties intend to staff the        votes returned by mail will not be timely counted could, the
drop boxes with county officials, while about 17 counties            Secretary worries, “justifiably dissuade voters from wanting
intend to use video surveillance in lieu of having staff present.    to rely upon the Postal Service for return of their mail-in or
[ECF 549-28].                                                        absentee ballot.” [ECF 547, ¶ 61]. Drop boxes, she says, can
                                                                     address this concern by allowing voters to safely return mail-
                                                                     in ballots to an in-person location.
2. Defendants’ and Intervenors’ evidence of the benefits
                                                                     In exchange for these benefits, the Secretary insists that any
and low risks associated with drop boxes.
                                                                     potential security risk associated with drop boxes is low. She
Secretary Boockvar advocates for the use of drop boxes               notes that the federal Department of Homeland Security has
as a “direct and convenient way” for voters to deliver               released guidance affirming that a “ballot drop box provides
cast ballots to their county boards of elections, “thereby           a secure and convenient means for voters to return their mail
increasing turnout.” [ECF 547, p. 22 ¶ 54 (citing 549-11 at          ballot,” and recommending that states deploy one drop box
pp. 10-11) ]. The Secretary also touts the special benefits          for every 15,000 to 20,000 registered voters. [Id. at ¶¶ 63-65
of expanding drop-box use in the ongoing COVID-19                    (citing ECF 549-24, p. 1) ]. She also points to a purported lack
pandemic. Specifically, she asserts that drop boxes reduce           of evidence of systemic ballot harvesting or any attempts to
health risks and inspire voter confidence because “many              tamper with, destroy, or otherwise commit voter fraud using
voters understandably do not wish to cast their votes in person      drop boxes, either in Pennsylvania's recent primary election,
at their polling place on Election Day” due to COVID-19.             or in other states that have used drop boxes for many years.
[Id. at ¶¶ 55, 57 (citing ECF 549-2 ¶ 39; ECF 549-11 at              [Id. at ¶¶ 68-74 (citations omitted) ]. And she asserts that “[i]n
p. 10; 549-8, ¶ 95) ]. Drop boxes, she says, allow voters            the last 20 years in the entire state of Pennsylvania, there have
to vote in person without coming into “close proximity to            been fewer than a dozen confirmed cases of fraud involving
other members of the public, compared to in-person voting            a handful of absentee ballots” among the many millions of
or personally delivering a mail-in ballot to a public office         votes cast during that time period. [Id. at ¶ 70 (citing ECF
building.” [Id. at ¶ 57].                                            549-10, pp. 3-4) ].

Secretary Boockvar also states that drop boxes are highly            Finally, the Secretary, and other Defendants and Intervenors,
convenient, and cost-saving, for both counties and voters. For       argue that Pennsylvania already has robust measures in
counties, she notes that “24-hour secure ballot drop boxes” are      place to prevent fraud, including its criminal laws, voter
“cost-effective measures ... as they do not have to be staffed by    registration system, mail-in ballot application requirement,
election judges.” [Id. at p. 24 ¶ 62 (citing ECF 549-11 at p. 11);   and canvassing procedures. [Id. at ¶¶ 66-67 (citing 25 P.S.
ECF 549-9 at ¶ 34]. As for voters, the Secretary explains that,      §§ 3516 - 3518) ]; [ECF 549-9, p. 15, ¶¶ 46-47 (“These
in a state where “ten counties ... cover more than 1,000 square      allegations are not consistent with my experience with drop
miles” and “two-thirds” of counties “cover more than 500             box security, particularly given the strong voter verification
square miles,” many Pennsylvania voters “could be required           procedures that are followed by elections officials throughout
to drive dozens of miles (and perhaps in excess of 100 miles)        the country and in Pennsylvania. Specifically, the eligibility
if he or she wished to deposit his or her mail-in ballot in person   and identity of the voter to cast a ballot is examined by an
at the main county board of elections office.” [Id. at ¶ 58          election judge who reviews and confirms all the personal
(citing ECF 549-29) ].                                               identity information provided on the outside envelope. Once
                                                                     voter eligibility is confirmed, the ballot is extracted and
 *15 In addition to any tangible benefit drop boxes may have         separated from the outside envelope to ensure the ballot
for voter access and turnout, Secretary Boockvar also states         remains secret. During this step, election judges confirm
that drop boxes have a positive impact on voter confidence.          that there is only one ballot in the envelope and checks for



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potential defects, such as tears in the ballot.... Regardless        best practices and advice that NVAHI has provided across
of the receptacle used for acceptance of the ballot (drop            jurisdictions.” [Id. at ¶ 35]. But she also notes that “[b]est
box versus USPS mailbox), ballot validation occurs when              practices will vary by county based on the county's available
the ballot is received by the county board of elections. The         resources, population, needs, and assessment of risk.” [Id. at
validation is the same regardless of how the ballots are             ¶ 52].
collected or who delivers the ballot, even where that delivery
contravenes state law.”) ].                                          More generally, Ms. McReynolds argues that “[d]rop-boxes
                                                                     do not create an increased opportunity for fraud” as compared
Defendants and Intervenors also point to several expert              to postal boxes. [Id. at ¶ 44]. She also suggests that
reports expressing the view that drop boxes are both low risk        Pennsylvania guards against such fraud through other “strong
and beneficial. These experts include:                               voter verification procedures,” including “ballot validation
                                                                     [that] occurs when the ballot is received by the county
Professor Matthew A. Barreto, a Professor of Political               board of elections” and “[r]econciliation procedures adopted
Science and Chicana/o Studies at UCLA. [ECF 549-7].                  by election officials ... [to] protect against the potential
Professor Barreto offers the opinion that ballot drop boxes are      risk of double voting.” [Id. at ¶¶ 46-48]. She notes that
an important tool in facilitating voting in Black and Latino         “Pennsylvania's balloting system requires that those who
communities. Specifically, he discusses research showing that        request a mail-in vote and do not return the ballot (or spoil
Black and Latino voters are “particularly concerned about            the mail-in ballot at their polling place), can only vote a
the USPS delivering their ballots.” [Id. at ¶ 22]. And he            provisional ballot” and “[i]f a mail-in or absentee ballot was
opines that ballot drop boxes help to reassure these voters that     submitted by an individual, their provisional ballot is not
their vote will count, because “there is no intermediary step        counted.” [Id. at ¶ 48].
between the voters and the county officials who collect the
ballot.” [Id. at ¶ 24].                                              Professor Lorraine C. Minnite, an Associate Professor and
                                                                     Chair of the Department of Public Policy and Administration
 *16 Professor Donald S. Burke, a medical doctor and                 at Rutgers University-Camden. [ECF 549-10]. Professor
Distinguished University Professor of Health Science and             Minnite opines that “the incidence of voter fraud in
Policy, Jonas Salk Chair in Population Health, and Professor         contemporary U.S. elections is exceedingly rare, including
of Epidemiology at the University of Pittsburgh. [ECF 549-8].        the incidence of voter impersonation fraud committed
Professor Burke details the “significant risk of exposure” to        through the use of mail-in absentee ballots.” [Id. at p. 3].
COVID-19 in “enclosed areas like polling places.” [Id. at ¶          In Pennsylvania specifically, she notes that “[i]n the last 20
69]. He opines that “depositing a ballot in a mailbox and            years ... there have been fewer than a dozen confirmed cases
depositing a ballot in a drop-box are potential methods of           of fraud involving a handful of absentee ballots, and most
voting that impart the least health risk to individual voters, and   of them were perpetrated by insiders rather than ordinary
the least public health risk to the community.” [Id. at ¶ 95].       voters.” [Id. at pp. 3-4]. As a “point of reference,” she notes
                                                                     that 1,459,555 mail-in and absentee ballots were cast in
Amber McReynolds, the CEO of the National Vote at Home               Pennsylvania's 2020 primary election alone. [Id. at 4].
Institute, with 13 years of experience administering elections
as an Elections Director, Deputy Director, and Operations            Professor Robert M. Stein, a Professor of Political Science
Manager for the City and County of Denver, Colorado. [ECF            at Rice University and a fellow in urban politics at the
549-9]. Ms. McReynolds opines that “[b]allot drop-boxes can          Baker Institute. [ECF 549-11]. Professor Stein opines that
be an important component of implementing expanded mail-             “the Commonwealth's use of drop boxes provides a number
in voting” that are “generally more secure than putting a            of benefits without increasing the risk of mail-in or absentee
ballot in post office boxes.” [Id. at ¶ 16 (a) ]. She notes that     voter fraud that existed before drop boxes were implemented
“[d]rop boxes are managed by election officials ... delivered        because (manned or unmanned) they are at least as secure
to election officials more quickly than delivery through the         as U.S. Postal Service (‘USPS’) mailboxes, which have been
U.S. postal system, and are secure.” [Id.].                          successfully used to return mail-in ballots for decades in
                                                                     the Commonwealth and elsewhere around the U.S.” [Id. at
Ms. McReynolds also opines that Secretary Boockvar's                 p. 3]. According to Professor Stein, the use of drop boxes
guidance with respect to drop boxes is “consistent with              “has been shown to increase turnout,” which he suggests is



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particularly important “during a global pandemic and where          dilutive impact of drop boxes, Plaintiffs offer a combination
research has shown that natural and manmade disasters have          of anecdotal and expert evidence.
historically had a depressive effect on voter turnout.” [Id. at
p. 4]. Professor Stein notes that “[d]rop boxes are widely          Foremost among this evidence is the expert report of Greg
used across a majority of states as a means to return mail-in       Riddlemoser, the former Director of Elections and General
ballots” and he is “not aware of any studies or research that       Registrar for Stafford County, Virginia from 2011 until 2019.
suggest that drop boxes (manned or unmanned) are a source           [ECF 504-19]. According to Mr. Riddlemoser, “voter fraud
for voter fraud.” [Id.]. Nor is he aware “of any evidence that      exists.” [Id. at p. 2]. He defines the term “voter fraud” to
drop boxes have been tampered with or led to the destruction        mean any “casting and/or counting of ballots in violation of
of ballots.” [Id.].                                                 a state's election code.” [Id.]. Examples he gives include:
                                                                    “Voting twice yourself—even if in multiple jurisdictions,”
 *17 Professor Paul Gronke, a Professor of Political                “voting someone else's ballot,” and “[e]lection officials
Science at Reed College and Director of the Early                   giving ballots to or counting ballots from people who were
Voting Information Center. [ECF 545-7]. Professor Gronke            not entitled to vote for various reasons.” [Id. at pp. 2-3]. All
recommends that “drop boxes should be provided in                   of these things, he asserts, are “against the law and therefore
every jurisdiction that has significant (20% or more)               fraudulent.” [Id.].3
percentage[ ] of voters casting a ballot by mail, which includes
Pennsylvania” for the general election. [Id. at ¶ 6]. He            3        As noted above, Plaintiffs and Mr. Riddlemoser use the
avers that “[s]cientific research shows that drop boxes raise
                                                                             term “voter fraud” to mean “illegal voting”—i.e., voter
voter turnout and enhance voter confidence in the elections
                                                                             fraud is any practice that violates the Election Code.
process.” [Id. at ¶ 7]. Voters, he explains, “utilize drop boxes             For purposes of the Court's decision and analysis of
heavily—forty to seventy percent of voters in vote by mail                   Plaintiffs’ vote-dilution claims, the Court accepts this
states and twenty-five percent or more in no-excuse absentee                 definition.
states.” [Id.]. Professor Gronke further states that he is “not
                                                                    Mr. Riddlemoser argues that “ballot harvesting” (which is
aware of any reports that drop boxes are a source for voter
                                                                    the term Plaintiffs use to refer to situations in which an
fraud” despite having “been in use for years all over the
                                                                    individual returns the ballots of other people) “persists in
country.” [Id. at ¶ 8]. And he suggests that the use of drop
                                                                    Pennsylvania.” [Id. at p. 3]. He points to the following
boxes is “especially important” in an election “that will be
                                                                    evidence to support this opinion:
conducted under the cloud of the COVID-19 pandemic, and
for a state like Pennsylvania that is going to experience an            • Admissions by Pennsylvania's Deputy Secretary
enormous increase in the number of by-mail ballots cast by                for Elections and Commissions, Jonathan Marks,
the citizenry of the state.” [Id. at ¶ 9].                                that “several Pennsylvania counties permitted ballot
                                                                          harvesting by counting ballots that were delivered in
Based on this evidence, and the purported lack of any contrary            violation of Pennsylvania law” during the recent primary
evidence showing great risks of fraud associated with the                 election, [Id.];
use of drop boxes, Defendants and Intervenors argue that
Pennsylvania's authorization of drop boxes, and the counties’           • “[S]everal instances captured by the media where voters
specific implementation of them, furthers important state                  in the June 2020 Primary deposited multiple ballots into
interests at little cost to the integrity of the election system.          unstaffed ballot drop boxes,” [Id. at p. 4];

                                                                        • “Other photographs and video footage of at least one
                                                                           county's drop box (Elk County) on Primary Election
3. Plaintiffs’ evidence of the risks of fraud and vote                     day” which “revealed additional instances of third-party
dilution associated with drop boxes.                                       delivery,” [Id.]; and

Plaintiffs, on the other hand, argue that the drop boxes allow          • “Documents produced by Montgomery County” which
for an unacceptable risk of voter fraud and “illegal delivery              “reveal that despite signs warning that ballot harvesting
or ballot harvesting” that, when it occurs, will “dilute” the              is not permitted, people during the 2020 Primary
votes of all lawful voters who comply with the Election                    attempted to deposit into the five drop boxes used by that
Code. See, e.g., [ECF 461, ¶¶ 127-128]. As evidence of the                 county ballots that were not theirs,” [Id.].


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                                                                      given “recent footage of toppled statues and damage to
 *18 With respect to the use of “unstaffed” or “unmanned”             government buildings” in the news, Mr. Riddlemoser finds
ballot drop boxes, Mr. Riddlemoser expresses the opinion              the “forcible removal of ballot drop boxes” to be “a distinct
that “the use of unmanned drop boxes presents the easiest             possibility.” [Id.]. In addition to increasing the risk of ballot
opportunity for voter fraud” and “certain steps must be taken         destruction, Mr. Riddlemoser notes that reliance on video
to make drop boxes ‘secure’ and ‘monitored.’ ” [Id. at p. 16].        cameras would also “not prohibit someone from engaging in
                                                                      ballot harvesting by depositing more than one ballot in the
He states that, to be “secure,” drop boxes must be “attended”         drop box[.]” [Id.].
by “sworn election officials” at all times (i.e., “never left
unattended at any time they are open for ballot drop-off.”).          Beyond Mr. Riddlemoser's expert testimony, Plaintiffs proffer
[Id.]. He further suggests that officials stationed at drop boxes     several other pieces of evidence to support their claims
must be empowered, and required, to “verify the person                that drop boxes pose a dilutive threat to the ballots of
seeking to drop off a ballot is the one who voted it and is           lawful voters. Most notably, they present photographs and
not dropping off someone else's ballot.” [Id.]. Doing so, he          video stills of, by the Court's count, approximately seven
says, would, in addition to providing better security, also           individuals returning more than one ballot to drop boxes
“allow the election official to ask the voter if they followed        in Philadelphia and Elk County (the same photographs
the instructions they were provided ... and assist them in            referenced by Mr. Riddlemoser). [ECF 504-19, PDF pp.
doing so to remediate any errors, where possible, before ballot       49-71].
submission.” [Id.].
                                                                      *19 Those photographs depict the following:
In addition to being “manned,” Mr. Riddlemoser suggests
that certain procedures with respect to ballot collection are           • An unidentified woman holding what appear to be two
necessary to ensure the integrity of votes cast in drop boxes.             ballots at a Philadelphia drop box.
For example, he suggests that, at the end of each day, drop
boxes, which should themselves be “tamperproof,” should
“be verifiably completely emptied into fireproof/tamperproof
receptacles, which are then sealed and labeled by affidavit as
to whom, where, when, etc.” [Id.] Once sealed, the containers
“must then be transported by sworn officials in a county
owned vehicle (preferably marked law enforcement) back
to the county board where they are properly receipted and
safeguarded.” [Id.]. Emptied drop boxes should also be sealed
at the end of each day “such that they are not able to accept
any additional ballots until they are ‘open’ again[.]” [Id.]. And
boxes should be “examined to ensure no ballots are in the
box, that nothing else is inside the box, and that the structural
integrity and any security associated with the box remains
intact.” [Id.]. All of this, he suggests, should also be “available
for monitoring by poll watchers.” [Id.].

According to Mr. Riddlemoser, anything short of these robust            • Instagram user “thefoodiebarrister” posing for a selfie
procedures won't do. In particular, “video cameras would not               with two ballots in Philadelphia; captioned, in part,
prevent anyone from engaging in activity that could or is                  “dropping of [sic] my votes in a designated ballot
designed to spoil the ballots inside the box; such as dumping              drop box.”
liquids into the box, lighting the ballots on fire by using
gasoline and matches, or even removing the box itself.” [Id.
at p. 17]. Even if the “identity of the person responsible may
be determined ... the ballots themselves would be destroyed
—effectively disenfranchising numerous voters.” [Id.]. And



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  • A photograph posted to social media showing a hand
     placing two ballots in a drop box; captioned, in part,
     “Cory and I voted!”                                          • A photograph of an unidentified man wearing a
                                                                    “Philadelphia Water” sweater and hat, placing two
                                                                    ballots in a Philadelphia drop box.




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                                                                       ballots that lacked a completed certification on the
  • Several video stills that, according to Plaintiffs, show           outside of the envelope. [Id. (citation omitted) ].
     voters depositing more than one ballot in an Elk
     County drop box.                                               • The recent guilty plea of the former Judge of Elections
                                                                       in South Philadelphia, Domenick J. DeMuro, to adding
                                                                       fraudulent votes to voting machines on election day.
                                                                       [ECF 461, ¶ 61]; see United States v. DeMuro, No. 20-
                                                                       cr-112 (E.D. Pa. May 21, 2020).

                                                                    • The 2014 guilty plea of Harmar Township police chief
                                                                      Richard Allen Toney to illegally soliciting absentee
                                                                      ballots to benefit his wife and her running mate in the
                                                                      2009 Democratic primary for town council, [ECF 461,
                                                                      ¶ 69];

                                                                    • The 2015 guilty plea of Eugene Gallagher for unlawfully
                                                                       persuading residents and non-residents of Taylor, in
                                                                       Lackawanna County, Pennsylvania, to register for
                                                                       absentee ballots and cast them for him during his
                                                                       councilman candidacy in the November 2013 election,
                                                                       [Id.];

                                                                     *20 • The 1999 indictment of Representative Austin J.
                                                                      Murphy in Fayette County for forging absentee ballots
In addition to these photographs and video stills, Plaintiffs         for residents of a nursing home and adding his wife as a
also provide a May 24, 2020, email sent by an official                write-in candidate for township election judge, [Id.];
in Montgomery County (which placed security guards to
                                                                    • The 1994 Eastern District of Pennsylvania and Third
monitor its drop boxes) observing that security “have turned
                                                                      Circuit case Marks v. Stinson, which involved an alleged
people away yesterday and today without incident who had
                                                                      incident of extensive absentee ballot fraud by a candidate
ballots other than their own.” [ECF 504-28].
                                                                      for the Pennsylvania State Senate, see Marks v. Stinson,
                                                                      19 F.3d 873 (3d Cir. 1994); Marks v. Stinson, No.
Separate and apart from this evidence specific to the use of
                                                                      93-6157, 1994 WL 146113 (E.D. Pa. Apr. 26, 1994),
drop boxes, Plaintiffs and their expert also provide evidence
                                                                      [ECF 461, ¶ 78]; and
of instances of election fraud, voter fraud, and illegal voting
generally. These include, for example:                              • A report from the bipartisan Commission on Federal
                                                                      Election Reform, chaired by former President Jimmy
  • A case in which a New Jersey court ordered a
                                                                      Carter and former Secretary of State James A. Baker
    new municipal election after a city councilman and
                                                                      III, which observed that absentee voting is “the largest
    councilman-elect were charged with fraud involving
                                                                      source of potential voter fraud” and proposed that states
    mail-in ballots. [ECF 504-19, p. 3].
                                                                      “reduce the risks of fraud and abuse in absentee voting
  • A New York Post article written by an anonymous                   by prohibiting ‘third-party’ organizations, candidates,
    fraudster who claimed to be a “master at fixing mail-in           and political party activists from handling absentee
    ballots” and detailed his methods. [Id.].                         ballots.” [ECF 461, ¶¶ 66-67, 80].

  • Philadelphia officials’ admission that approximately 40
     people were permitted to vote twice during the 2020             C. Facts relevant to signature comparison.
     primary elections. [Id.].                                    Many of the facts relevant to Plaintiffs’ signature-comparison
                                                                  claim relate to the verification procedures for mail-in and
  • A YouTube video purporting to show Philadelphia               absentee ballots, on one hand, and those procedures for in-
    election officials approving the counting of mail-in          person voting, on the other. These are described below.



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                                                                            district, shall obtain such qualifications before the next
                                                                            ensuing election”).

1. Mail-in and absentee ballot verification.                         *21 After receiving the ballot, the mail-in voter must “mark
                                                                    the ballot” with his or her vote, insert the ballot into the
As noted above, Pennsylvania does not distribute unsolicited        “secrecy” envelope, and place the “secrecy” envelope into
mail-in and absentee ballots. Rather, a voter must apply for        a larger envelope. Id. at § 3150.16(a). Then, the voter must
the ballot (and any voter can). [ECF 549-2, ¶ 64]. As part of       “fill out, date and sign the declaration printed on [the larger]
the application for a mail-in ballot,4 an applicant must provide    envelope. [The larger] envelope shall then be securely sealed
certain identifying information, including name, date of birth,     and the elector shall send [it] by mail ... or deliver it in person
length of time as a resident of the voting district, voting         to said county board of election.” Id. The declaration on the
district if known, party choice in the primary, and address         larger envelope must be signed, unless the voter is physically
where the ballot should be sent. 25 P.S. § 3150.12(b). In           unable to do so. Id. at § 3150.16(a)-(a.1).
applying for a mail-in ballot, the applicant must also provide
“proof of identification,” which is defined by statute as that      Once the voter mails or delivers the completed mail-in ballot
person's driver's license number, last four digits of Social        to the appropriate county board of elections, the ballot is kept
Security number, or another specifically approved form of           “in sealed or locked containers until they are to be canvassed
identification. [ECF 549-2, ¶ 64; ECF 549-27]; 25 P.S. §            by the county board of elections.” Id. at § 3146.8(a). The
2602(z.5)(3). A signature is not mentioned in the definition        county boards of elections can begin pre-canvassing and
of “proof of identification.” 25 P.S. § 2602(z.5)(3). However,      canvassing the mail-in ballots no earlier than election day. Id.
if physically capable, the applicant must sign the application.     at § 3146.8(g)(1.1).
Id. at § 3150.12(c)-(d).
                                                                    When pre-canvassing and canvassing the mail-in ballots, the
4                                                                   county boards of elections must “examine the declaration on
       The procedure for absentee ballots and applications
                                                                    the [larger] envelope of each ballot ... and shall compare the
       largely resembles the procedure for mail-in ballots and
                                                                    information thereon with that contained in the ...Voters File.”
       applications.
                                                                    Id. at § 3146.8(g)(3). The board shall then verify the “proof
Upon receiving the mail-in ballot application, the county           of identification” and shall determine if “the declaration [on
board of elections determines if the applicant is qualified         the larger envelope] is sufficient.” Id. If the information in the
by “verifying the proof of identification and comparing the         “Voters File ... verifies [the elector's] right to vote,” the ballot
information provided on the application with the information        shall be counted. Id.
contained on the applicant's permanent registration card.”
25 P.S. § 3150.12b(a). The county board of elections then
either approves the application5 or “immediately” notifies
                                                                    2. In-person voting verification.
the applicant if the application is not approved. Id. at §
3150.12b(a), (c). Upon approval, the county mails the voter         When a voter decides to vote in-person on election day, rather
the mail-in ballot.                                                 than vote by mail, the procedures are different. There is no
                                                                    application to vote in person. Rather, on election day, the in-
5      If the application is approved, the approval is “final and   person voter arrives at the polling place and “present[s] to
       binding,” subject only to challenges “on the grounds         an election officer proof of identification,” which the election
       that the applicant was not a qualified elector.” 25 P.S.     officer “shall examine.” Id. at § 3050(a). The in-person voter
       § 3150.12b(a)(2). An unqualified elector would be, for       shall then sign a voter's certificate” and give it to “the election
       example, an individual who has not “been a citizen of        officer in charge of the district register.” Id. at § 3050(a.3)
       the United States at least one month.” Pa. Const. Art.
                                                                    (1). Next, the election officer shall “announce the elector's
       7, § 1; see also 25 P.S. § 2602(t) (defining “qualified
                                                                    name” and “shall compare the elector's signature on his voter's
       elector” as “any person who shall possess all of the
                                                                    certificate with his signature in the district register.” Id. at
       qualifications for voting now or hereafter prescribed by
       the Constitution of this Commonwealth, or who, being
                                                                    § 3050(a.3)(2). If the election officer believes the signature
       otherwise qualified by continued residence in his election   to be “genuine,” the in-person voter may vote. Id. But if the
                                                                    election officer does not deem the signature “authentic,” the




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in-person voter may still cast a provisional ballot and is given    involves “inherent subjectivity.” [ECF 549-9, p. 20, ¶ 64].
the opportunity to remedy the deficiency. Id.                       Ms. McReynolds further notes the “inherent variability of
                                                                    individuals’ signatures over time.” [Id.] And according to
                                                                    Secretary Boockvar, these are just some reasons Pennsylvania
                                                                    implements verification procedures other than signature
3. The September 11, 2020, and September 28, 2020, sets
                                                                    comparisons for mail-in voters, who, unlike in-person voters,
of guidance.
                                                                    are not present when their signature would be verified. [ECF
In September 2020, Secretary Boockvar issued two new                549-2, p. 20, ¶ 69].
sets of guidance related to signature comparisons of
mail-in and absentee ballots and applications. The first,           Plaintiffs’ expert, Greg Riddlemoser, on the other hand, states
issued on September 11, 2020, was titled “Guidance                  that signature comparison is “a crucial security aspect of vote-
Concerning Examination of Absentee and Mail-In Ballot               by-mail” and failing to verify signatures on mail-in ballots
Return Envelopes.” [ECF 504-24]. The guidance stated,               would “undermine voter confidence and would increase the
in relevant part, the “Pennsylvania Election Code does              possibility of voter fraud.” [ECF 504-19, pp. 10-11]. Mr.
not authorize the county board of elections to set aside            Riddlemoser asserts that Secretary Boockvar's September
returned absentee or mail-in ballots based solely on signature      11, 2020, and September 28, 2020, guidance “encourage,
analysis by the county board of elections.” [Id. at p. 3]. The      rather than prevent, voter fraud.” [Id. at p. 12]. As such, Mr.
second set of guidance, issued on September 28, 2020, was           Riddlemoser explains that mail-in voters should be subject
titled, “Guidance Concerning Civilian Absentee and Mail-            to the same signature-comparison requirement as in-person
In Ballot Procedures.” [ECF 504-25]. This September 28,             voters. [Id. at pp. 13-14].
2020, guidance stated, in relevant part, “The Election Code
does not permit county election officials to reject applications
or voted ballots based solely on signature analysis. ... No         4. Secretary Boockvar's King's Bench petition.
challenges may be made to mail-in and absentee ballots at
any time based on signature analysis.” [Id. at p. 9]. Thus, as      In light of this case and the parties’ disagreement over
evidenced by these two sets of guidance, Secretary Boockvar         whether the Election Code mandates signature comparison
advised the county boards of elections not to engage in a           for mail-in ballots, Secretary Boockvar filed a “King's Bench”
signature-comparison analysis of voters’ signatures on ballots      petition with the Pennsylvania Supreme Court on October 4,
and applications for ballots.                                       2020. In that petition, she asked the Pennsylvania Supreme
                                                                    Court to exercise its extraordinary jurisdiction, in light of
 *22 Most of the counties intend to follow the Secretary's          the impending election, to clarify whether the Election Code
guidance and will not compare signatures on mail-in ballots         mandates signature comparison of mail-in and absentee
and applications for the upcoming general election. E.g.,           ballots and applications. [ECF 556, p. 11; ECF 557].
[ECF 504-1]. A few counties, however, stated their intent to
not comply with the guidance, and instead would compare             On October 7, 2020, several groups, including Donald J.
and verify the authenticity of signatures. E.g., [id. (noting the   Trump for President, Inc. and the Republican National
counties of Cambria, Elk, Franklin, Juniata, Mifflin, Sullivan,     Committee—who are Plaintiffs in this case—moved to
Susquehanna, and Wyoming, as not intending to follow                intervene as Respondents in the Pennsylvania Supreme Court
Secretary Boockvar's guidance to not compare signatures) ].         case. [ECF 571-1]. The Pennsylvania Supreme Court has not
                                                                    yet decided the motion to intervene or whether to accept the
According to Defendants, there are valid reasons to not             case. The petition remains pending.
require signature comparisons for mail-in and absentee
ballots. For example, Secretary Boockvar notes that signature
verification is a technical practice, and election officers are       D. Facts relevant to poll-watcher claims.
not “handwriting experts.” [ECF 549-2, p. 19, ¶ 68]. Secretary      The position of “poll watcher” is a creation of state statute.
Boockvar also notes that voters’ signatures can change              See 25 P.S. § 2687. As such, the Election Code defines how a
over time, and various medical conditions (e.g., arthritis)         poll watcher may be appointed, what a poll watcher may do,
can impact a person's signature. [Id.] Defendants’ expert,          and where a poll watcher may serve.
Amber McReynolds, also finds that “signature verification”



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                                                                   efforts to repeal the poll-watcher residency requirement have
                                                                   been unsuccessful).
1. The county-residency requirement for poll watchers.

 *23 The Election Code permits candidates to appoint two           As part of its September 17, 2020, decision, the Pennsylvania
poll watchers for each election district. 25 P.S. § 2687(a). The   Supreme Court found that the county-residency requirement
Election Code permits political parties and bodies to appoint      does not violate the U.S. or Pennsylvania constitutions.
three poll watchers for each election district. Id.                Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *31.


For many years, the Pennsylvania Election Code required
that poll watchers serve only within their “election district,”    2. Where and when poll watchers can be present during
which the Code defines as “a district, division or precinct, ...   the election.
within which all qualified electors vote at one polling place.”
25 P.S. § 2687(b) (eff. to May 15, 2002) (watchers “shall          The Pennsylvania Election Code sets forth the rules for where
serve in only one district and must be qualified registered        and when poll watchers are permitted to be present.
electors of the municipality or township in which the district
where they are authorized to act is located”); 25 P.S. §           The Election Code provides that poll watchers may be
2602(g). Thus, originally, poll watching was confined to a         present “at any public session or sessions of the county
more limited geographic reach than one's county, as counties       board of elections, and at any computation and canvassing
are themselves made up of many election districts.                 of returns of any primary or election and recount of ballots
                                                                   or recanvass of voting machines under” the Code. 25 P.S.
Then, in 2004, the General Assembly amended the relevant           § 2650. Additionally, one poll watcher for each candidate,
poll-watcher statute to provide that a poll watcher “shall         political party, or political body may “be present in the polling
be authorized to serve in the election district for which the      place ... from the time that the election officers meet prior to
watcher was appointed and, when the watcher is not serving         the opening of the polls ... until the time that the counting of
in the election district for which the watcher was appointed, in   votes is complete and the district register and voting check list
any other election district in the county in which the watcher     is locked and sealed.” 25 P.S. § 2687(b).
is a qualified registered elector.” 25 P.S. § 2687(b) (eff. Oct.
8, 2004).                                                           *24 During this time, poll watchers may raise objections
                                                                   to “challenge any person making application to vote.” Id.
This county-residency requirement is in line with (or is, in       Poll watchers also may raise challenges regarding the voters’
some cases, more permissive than) the laws of at least eight       identity, continued residence in the election district, or
other states, which similarly require prospective poll watchers    registration status. 25 P.S. § 3050(d).
to reside in the county in which they wish to serve as a
watcher or (similar to the pre-2004 Pennsylvania statute) limit    Although Pennsylvania has historically allowed absentee
poll watchers to a sub-division of the county. See, e.g., Fla.     ballots to be returned by U.S. Postal Service or by in-person
Stat. Ann. § 101.131(1) (Florida); Ind. Code Ann. § 3-6-8-2.5      delivery to a county board of elections office, the Election
(Indiana); Ky. Rev. Stat. Ann. § 117.315(1) (Kentucky); N.Y.       Code does not provide (and has never provided for) any right
Elec. Law § 8-500(5) (New York); N.C. Gen. Stat. Ann. §            to have poll watchers in locations where absentee voters fill
163-45(a) (North Carolina); Tex. Elec. Code Ann. § 33.031(a)       out their ballots (which may include their home, office, or
(Texas); S.C. Code Ann. § 7-13-860 (South Carolina); Wyo.          myriad other locations), nor where those votes are mailed
Stat. Ann. § 22-15-109(b) (Wyoming). However, at least one         (which may include their own mailbox, an official U.S. Postal
state (West Virginia) does not provide for poll watchers at all.   Service collection box, a work mailroom, or other places
See W. Va. Code Ann. § 3-1-37; W. Va. Code Ann. § 3-1-41           U.S. Postal Service mail is collected), nor at county board of
                                                                   elections offices. [ECF 549-2, ¶¶ 86-90].
The General Assembly has not amended the poll-watcher
statute since 2004, even though some lawmakers have                Before Act 77, absentee ballots were held in election districts
advocated for the repeal of the residency requirement. See         rather than centralized at the county board of elections. See
Cortés, 218 F. Supp. 3d at 402 (observing that legislative         25 P.S. § 3146.8 (eff. Mar. 14, 2012 to Oct. 30, 2019) (“In
                                                                   all election districts in which electronic voting systems are



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used, absentee ballots shall be opened at the election district,
checked for write-in votes in accordance with section 1113-          On October 6, 2020, Secretary Boockvar issued guidance
A and then either hand-counted or counted by means of the            concerning poll watchers and authorized representatives.
automatic tabulation equipment, whatever the case may be.”).         [ECF 571-1]. The guidance states that poll watchers “have
                                                                     no legal right to observe or be present at ... ballot return
At such time (again, before Act 77), poll workers opened             sites,” such as drop-box locations. [ECF 571-1, Ex. E,
those absentee ballots at each polling place after the close of      p. 5]. The guidance also states that while a candidate's
the polls. Id. (“Except as provided in section 1302.1(a.2), the      authorized representative may be present when mail-in ballots
county board of elections shall then distribute the absentee         are opened (including during pre-canvass and canvass), the
ballots, unopened, to the absentee voter's respective election       representative cannot challenge those ballots. [Id. at Ex. E, p.
district concurrently with the distribution of the other election    4].
supplies. Absentee ballots shall be canvassed immediately
and continuously without interruption until completed after          On October 9, 2020, in a separate lawsuit brought by
the close of the polls on the day of the election in each election   the Trump Campaign in the Philadelphia County Court of
district. The results of the canvass of the absentee ballots shall   Common Pleas, the state court there confirmed Secretary
then be included in and returned to the county board with the        Boockvar's guidance. Specifically, the state court held
returns of that district.” (footnote omitted)).                      that satellite ballot-collection locations, such as drop-box
                                                                     locations, are not “polling places,” and therefore poll watchers
With the enactment of Act 77, processing and counting of             are not authorized to be present in those places. [ECF 573-1,
mail-in and absentee ballots is now centralized in each county       p. 12 (“It is clear from a reading of the above sections [of the
board of elections, with all mail-in and absentee ballots in         Election Code] that the satellite offices where these activities,
such county held and counted at the county board of elections        and only these activities, occur are true ‘offices of the Board
(or such other site as the county board may choose) without          of Elections’ and are not polling places, nor public sessions
regard to which election district those ballots originated from.     of the Board of Elections, at which watchers have a right to
25 P.S. § 3146.8(a) (eff. Mar. 27, 2020); [ECF 549-2, ¶ 81].         be present under the Election Code.”) ]. Immediately after
                                                                     issuance of this decision, the Trump Campaign filed a notice
Under Act 12, counties are permitted to “pre-canvass” mail-in        of appeal, indicating its intention to appeal the decision to
or absentee ballots received before Election Day beginning at        the Commonwealth Court of Pennsylvania. Having just been
7:00 a.m. on Election Day. 25 P.S. § 3146.8(g)(1.1). Counties        noticed, that appeal remains in its infancy as of the date of
are further permitted to “canvass” ballots received after that       this Opinion.
time beginning “no earlier than the close of the polls on the
day of the election and no later than the third day following
the election.” Id. § 3146.8(g)(2).
                                                                     3. Plaintiffs’ efforts to recruit poll watchers for the
                                                                     upcoming general election.
The Election Code permits “[o]ne authorized representative
of each candidate” and “one representative from each political       In order to become a certified poll watcher, a candidate must
party” to “remain in the room in which the absentee ballots          meet certain criteria. [ECF 504-20, ¶ 9]. That is, a poll watcher
and mail-in ballots are pre-canvassed.” 25 P.S. § 3146.8(g)          needs to be “willing to accept token remuneration, which is
(1.1). Similarly, during canvassing, the Election Code permits       capped at $120 under Pennsylvania state law” and must be
“[o]ne authorized representative of each candidate” and “one         able to take off work or otherwise make arrangements to be at
representative from each political party” to “remain in the          the polling place during its open hours on Election Day, which
room in which the absentee ballots and mail-in ballots are           can mean working more than 14 hours in a single day. [Id.].
canvassed.” 25 P.S. § 3146.8(g)(2).
                                                                     The Pennsylvania Director for Election Day Operations
 *25 The Election Code provisions pertaining to the “pre-            for the Trump Campaign, James J. Fitzpatrick, stated that
canvass” and “canvass” do not make any separate reference            the Trump Campaign wants to recruit poll watchers for
to poll watchers, instead referring only to the “authorized          every county in Pennsylvania. [ECF 504-2, ¶ 30]. To that
representatives” of parties and candidates. See 25 P.S. §            end, the RNC and the Trump Campaign have initiated
3146.8.                                                              poll-watcher recruitment efforts for the general election by



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using a website called DefendYourBallot.com. [ECF 528-14,            poll watchers who meet the residency requirement[ ].” [Id. at
265:2-15, 326:14-329-7]. That website permits qualified              ¶ 16].
electors to volunteer to be a poll watcher. [Id.]. In addition,
Plaintiffs have called qualified individuals to volunteer            Additionally, Professor Lockerbie finds the gap in registered
to be poll watchers, and worked with county chairs and               voters in various counties to be especially problematic for
conservative activists to identify potential poll watchers. [Id.].   minor political parties. [Id. at ¶ 16]. As just one example,
                                                                     according to Professor Lockerbie, even if one were to assume
Despite these efforts, the Trump Campaign claims it “is              that all third-party voters were members of the same minor
concerned that due to the residency restriction, it will not have    party, then in Philadelphia County it would require “every 7th
enough poll watchers in certain counties.” [ECF 504-2, ¶ 25].        registrant” to be a poll watcher in order for the third party to
Mr. Fitzpatrick, however, could not identify a specific county       have a poll watcher observing each precinct.” [Id.].
where the Trump Campaign has been unable to obtain full
coverage of poll watchers or any county where they have tried        Professor Lockerbie believes that disruptions to public
and failed to recruit poll watchers for the General Election.        life caused by the COVID-19 pandemic “magnified” the
[ECF 528-14, 261:21-262:3, 263:8-19, 265:2-266:3].                   difficulties in securing sufficient poll watchers. [Id. at ¶ 10].

 *26 In his declaration, Representative Reschenthaler shared         Nothing in the Election Code limits parties from recruiting
Mr. Fitzpatrick's concern, stating that he does not believe that     only registered voters from their own party. [ECF 528-14,
he will “be able to recruit enough volunteers from Greene            267:23-268:1]. For example, the Trump Campaign utilized at
County to watch the necessary polls in Greene County.” [ECF          least two Democrats among the poll watchers it registered in
504-6, ¶ 12]. But Representative Reschenthaler did not               the primary. [ECF 528-15, P001648].
provide any information regarding his efforts to recruit poll
watchers to date, or what he plans to do in the future to attempt
to address his concern. See generally [id.].
                                                                     4. Rationale for the county-residency requirement.

Representative Kelly stated in his declaration that he was           Defendants have advanced several reasons to explain the
“likely to have difficulty getting enough poll watchers from         rationale behind county-residency requirement for poll
within Erie County to watch all polls within that county on          watchers.
election day.” [ECF 504-5, ¶ 16]. Representative Kelly never
detailed his efforts (e.g., the outreach he tried, prospective       Secretary Boockvar has submitted a declaration, in which
candidates he unsuccessfully recruited, and the like), and he        she has set forth the reasons for and interests supporting
never explained why those efforts aren't likely to succeed in        the county-residency requirement. Secretary Boockvar states
the future. See generally [id.].                                     that the residency requirement “aligns with Pennsylvania's
                                                                     county-based election scheme[.]” [ECF 549-2, p. 22, ¶ 77].
In his declaration, Representative Thompson only stated that         “By restricting poll watchers’ service to the counties in which
based on his experience, “parties and campaigns cannot               they actually reside, the law ensures that poll watchers should
always find enough volunteers to serve as poll watchers in           have some degree of familiarity with the voters they are
each precinct.” [ECF 504-4, ¶ 20].                                   observing in a given election district.” [Id. at p. 22, ¶ 78].

According to statistics collected and disseminated by the             *27 In a similar vein, Intervenors’ expert, Dr. Barreto, in his
Pennsylvania Department of State, there is a gap between the         report, states that, voters are more likely to be comfortable
number of voters registered as Democrats and Republicans             with poll watchers that “they know” and are “familiar with ...
in some Pennsylvania counties. [ECF 504-34]. Plaintiffs’             from their community.” [ECF 524-1, p. 14, ¶ 40]. That's
expert, Professor Lockerbie, believes this puts the party with       because when poll watchers come from the community, “there
less than a majority of voters in that county at a disadvantage      is increased trust in government, faith in elections, and voter
in recruiting poll watchers. [ECF 504-20, ¶ 15]. However,            turnout[.]” [Id.].
despite this disadvantage, Professor Lockerbie states that “the
Democratic and Republican parties might be able to meet the          At his deposition, Representative Kelly agreed with this
relevant criteria and recruit a sufficient population of qualified   idea: “Yeah, I think – again, depending how the districts



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are established, I think people are probably even more             drop-box claim, (2) the signature-comparison claim, and (3)
comfortable with people that they – that they know and they        the poll-watching claim. The common constitutional theory
recognize from their area.” [ECF 524-23, 111:21-25].               behind each of these claims is vote dilution. Absent the
                                                                   security measures that Plaintiffs seek, they fear that others
                                                                   will commit voter fraud, which will, in turn, dilute their
                                                                   lawfully cast votes. They assert that this violates the federal
LEGAL STANDARD
                                                                   and Pennsylvania constitutions.
Summary judgment is appropriate “if the movant shows that
there is no genuine dispute as to any material fact and the        The Court will address only the federal-constitutional claims.
movant is entitled to judgment as a matter of law.” Fed. R. Civ.   For the reasons that follow, the Court finds that Plaintiffs lack
P. 56(a). At summary judgment, the Court must ask whether          standing to bring their federal-constitutional claims because
the evidence presents “a sufficient disagreement to require        Plaintiffs’ injury of vote dilution is not “concrete” for Article
submission to the jury or whether it is so one-sided that one      III purposes.
party must prevail as a matter of law.” Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 251-52, 106 S.Ct. 2505, 91 L.Ed.2d      But even assuming Plaintiffs had standing, the Court
202 (1986). In making that determination, the Court must           also concludes that Defendants’ regulations, conduct, and
“consider all evidence in the light most favorable to the party    election guidance here do not infringe on any right to
opposing the motion.” A.W. v. Jersey City Pub. Schs., 486 F.3d     vote, and if they do, the burden is slight and outweighed
791, 794 (3d Cir. 2007).                                           by the Commonwealth's interests—interests inherent in the
                                                                   Commonwealth's other various procedures to police fraud, as
The summary-judgment stage “is essentially ‘put up or shut         well as its overall election scheme.
up’ time for the non-moving party,” which “must rebut the
motion with facts in the record and cannot rest solely on           *28 Finally, because the Court will be dismissing all federal-
assertions made in the pleadings, legal memoranda, or oral         constitutional claims, it will decline to exercise supplemental
argument.” Berckeley Inv. Grp. Ltd. v. Colkitt, 455 F.3d 195,      jurisdiction over any of the state-constitutional claims and
201 (3d Cir. 2006). If the non-moving party “fails to make         will thus dismiss those claims without prejudice.
a showing sufficient to establish the existence of an element
essential to that party's case, and on which that party will
                                                                   I. Defendants’ procedural and jurisdictional challenges.
bear the burden at trial,” summary judgment is warranted.
                                                                   At the outset, Defendants and Intervenors raise a number of
Celotex Corp. v. Catrett, 477 U.S. 317, 324, 106 S.Ct. 2548,
                                                                   jurisdictional, justiciability, and procedural arguments, which
91 L.Ed.2d 265 (1986).
                                                                   they assert preclude review of the merits of Plaintiffs’ claims.
                                                                   Specifically, they assert (1) the claims are not ripe and are
“The rule is no different where there are cross-motions for
                                                                   moot, (2) there is a lack of evidence against certain county
summary judgment.” Lawrence v. City of Philadelphia, 527
                                                                   boards, and those boards are not otherwise necessary parties,
F.3d 299, 310 (3d Cir. 2008). The parties’ filing of cross-
                                                                   and (3) Plaintiffs lack standing. The Court addresses each
motions “does not constitute an agreement that if one is
                                                                   argument, in turn.
rejected the other is necessarily justified[.]” Id. But the
Court may “resolve cross-motions for summary judgment
concurrently.” Hawkins v. Switchback MX, LLC, 339 F. Supp.           A. Plaintiffs’ claims are ripe and not moot.
3d 543, 547 (W.D. Pa. 2018). When doing so, the Court views        Several Defendants have argued that Plaintiffs’ claims in the
the evidence “in the light most favorable to the non-moving        Second Amended Complaint are not ripe and are moot. The
party with respect to each motion.” Id.                            Court disagrees.



DISCUSSION & ANALYSIS                                              1. Plaintiffs’ claims are ripe.

Plaintiffs, Defendants, and Intervenors all cross-move for         The ripeness doctrine seeks to “prevent the courts, through
summary judgment on all three of Plaintiffs’ remaining             the avoidance of premature adjudication, from entangling
claims, which the Court refers to, in the short-hand, as (1) the   themselves in abstract disagreements.” Artway v. Attorney


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Gen. of N.J., 81 F.3d 1235, 1246-47 (3d Cir. 1996) (cleaned          primary election will apply to the upcoming general election.
up). The ripeness inquiry involves various considerations            This is sufficient to make this a properly ripe controversy.6
including whether there is a “sufficiently adversarial posture,”
the facts are “sufficiently developed,” and a party is               6       In her summary-judgment brief, Secretary Boockvar
“genuinely aggrieved.” Peachlum v. City of York, 333 F.3d
                                                                             argues that Plaintiffs’ as-applied challenge to
429, 433-34 (3d Cir. 2003). Ripeness requires the case to
                                                                             Pennsylvania's county-residency requirement is unripe.
“have taken on fixed and final shape so that a court can                     [ECF 547, pp. 60-63]. The Secretary reasons that
see what legal issues it is deciding, what effect its decision               Plaintiffs have not shown sufficient evidence that they
will have on the adversaries, and some useful purpose to                     are harmed by the county-residency requirement. This
be achieved in deciding them.” Wyatt, Virgin Islands, Inc. v.                argument is directed more towards a lack of standing and
Gov't of the Virgin Islands, 385 F.3d 801, 806 (3d Cir. 2004)                a lack of evidence to support the claim on the merits.
(quoting Pub. Serv. Comm'n of Utah v. Wycoff Co., 344 U.S.                   As the sufficiency of the evidence of harm is a separate
237, 244, 73 S.Ct. 236, 97 L.Ed. 291 (1952)). “A dispute is                  issue from ripeness (which is more concerned with
not ripe for judicial determination if it rests upon contingent              timing), the Court does not find Plaintiffs’ as-applied
future events that may not occur as anticipated, or indeed may               challenge to the county-residency requirement unripe.
                                                                             See Progressive Mountain Ins. Co. v. Middlebrooks, 805
not occur at all.” Id.
                                                                             F. App'x 731, 734 (11th Cir. 2020) (“The question of
                                                                             ripeness frequently boils down to the same question
Ultimately, “[r]ipeness involves weighing two factors: (1) the
                                                                             as questions of Article III standing, but the distinction
hardship to the parties of withholding court consideration; and              between the two is that standing focuses [on] whether the
(2) the fitness of the issues for judicial review.” Artway, 81               type of injury alleged is qualitatively sufficient to fulfill
F.3d at 1247. Unlike standing, ripeness is assessed at the time              the requirements of Article III and whether the plaintiff
of the court's decision (rather than the time the complaint was              has personally suffered that harm, whereas ripeness
filed). See Blanchette v. Connecticut General Ins. Corp., 419                centers on whether that injury has occurred yet.” (cleaned
U.S. 102, 139-40, 95 S.Ct. 335, 42 L.Ed.2d 320 (1974).                       up) (citations omitted)).
                                                                     The second factor the Court must consider in determining
The Court finds that Plaintiffs’ claims are ripe. Applying           ripeness is “the fitness of the issues for judicial review.”
the two-factor test here, the Court first concludes that the         Artway, 81 F.3d at 1247. “The principal consideration [for this
parties would face significant hardship if the Court were to         factor] is whether the record is factually adequate to enable the
hold that the case was unripe (assuming it was otherwise             court to make the necessary legal determinations. The more
justiciable). The general election is less than one month away,      that the question presented is purely one of law, and the less
and Plaintiffs assert claims that could significantly affect         that additional facts will aid the court in its inquiry, the more
the implementation of Pennsylvania's electoral procedures.           likely the issue is to be ripe, and vice-versa.” Id. at 1249.
Further, if the Court were to find that Plaintiffs’ claims
were not ripe, Plaintiffs would be burdened. This is because         Under this framework, the Court concludes that the issues
Plaintiffs would then have to either wait until after the election   are fit for review. The parties have engaged in extensive
occurred—and thus after the alleged harms occurred—or                discovery, creating a developed factual record for the Court
Plaintiffs would have to bring suit on the very eve of the           to review. Further, as shown below, the Court finds it can
election, and thus there would be insufficient time for the          assess Plaintiffs’ claims based on the current factual record
Court to address the issues. This hardship makes judicial            and can adequately address the remaining legal questions that
review at this time appropriate. The first factor is met.            predominate this lawsuit. As such, the Court finds Plaintiffs’
                                                                     claims fit for judicial review.
 *29 Some Defendants argue that because some of the
Secretary's guidance was issued after the 2020 primary               Thus, Plaintiffs’ claims are presently ripe.
election, Plaintiffs’ claims that rely on such guidance are not
ripe because the guidance has not been implemented in an
election yet. The Court disagrees. Both the allegations in the
Second Amended Complaint, and the evidence presented on              2. Plaintiffs’ claims are not moot.
summary judgment, reveal that the guidance issued after the
                                                                     Some Defendants also assert that Plaintiffs’ claims are moot
                                                                     because Plaintiffs reference allegations of harm that occurred


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during the primary election, and since then, Secretary                 Many of the county boards of elections that are Defendants
Boockvar has issued new guidance and the Pennsylvania                  in this case argue that the claims against them should be
Supreme Court has interpreted the Election Code to clarify             dismissed because Plaintiffs did not specifically allege or
several ambiguities. The Court, however, concludes that                prove sufficient violative facts against them. Plaintiffs argue
Plaintiffs’ remaining claims are not moot.                             in response that all county boards have been joined because
                                                                       they are necessary parties, and the Court cannot afford relief
Mootness stems from the same principle as ripeness, but                without their presence in this case. The Court agrees with
is stated in the inverse: courts “lack jurisdiction when ‘the          Plaintiffs, and declines to dismiss the county boards from the
issues presented are no longer ‘live’ or the parties lack              case. They are necessary parties.
a legally cognizable interest in the outcome.’ ” Merle v.
U.S., 351 F.3d 92, 94 (3d Cir. 2003) (quoting Powell v.                Federal Rule of Civil Procedure 19(a) states that a party is
McCormack, 395 U.S. 486, 496, 89 S.Ct. 1944, 23 L.Ed.2d                a necessary party that must be joined in the lawsuit if, “in
491 (1969)). Like ripeness and unlike standing, mootness is            that [party's] absence, the court cannot accord complete relief
determined at the time of the court's decision (rather than at         among existing parties.” Fed. R. Civ. P. 19(a)(1)(A).
the time the complaint is filed). See U.S. Parole Commission
v. Geraghty, 445 U.S. 388, 397, 100 S.Ct. 1202, 63 L.Ed.2d             Here, if the county boards were not named defendants in
479 (1980). When assessing mootness, the Court may assume              this case, the Court would not be able to provide Plaintiffs
(for purposes of the mootness analysis) that standing exists.          complete relief should Plaintiffs prove their case. That's
Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., 528 U.S.          because the Court could not enjoin the county boards if
167, 180, 120 S.Ct. 693, 145 L.Ed.2d 610 (2000) (citation              they were not parties. See Fed. R. Civ. P. 65(d)(2).8 This is
omitted).                                                              important because each individual county board of elections
                                                                       manages the electoral process within its county lines. As
 *30 Here, the Court finds that Plaintiffs’ claims are not             one court previously summarized, “Election procedures and
moot, as the claims Plaintiffs are proceeding with are “live.”         processes are managed by each of the Commonwealth's sixty-
First, Plaintiffs’ claims are based on guidance that issued            seven counties. Each county has a board of elections, which
after the primary election and are to be applied in the                oversees the conduct of all elections within the county.”
upcoming general election. As such, the harms alleged are              Cortés, 218 F. Supp. 3d at 403 (citing 25 P.S. § 2641(a)). “The
not solely dependent on the already-passed primary election.           county board of elections selects, fixes and at times alters the
Second, Defendants, by and large, have made clear that                 polling locations of new election districts. Individual counties
they intend to abide by guidance that Plaintiffs assert is             are also tasked with the preservation of all ballots cast in that
unlawful or unconstitutional. Third, Plaintiffs sufficiently           county, and have the authority to investigate fraud and report
show that certain Defendants intend to engage in the conduct           irregularities or any other issues to the district attorney[.]”
(e.g., use unmanned drop-boxes) that Plaintiffs say infringes          Id. (citing 25 P.S. §§ 2726, 2649, and 2642). The county
their constitutional rights. Thus, these issues are presently          boards of elections may also make rules and regulations “as
“live” and are not affected by the completion of the primary           they may deem necessary for the guidance of voting machine
election.7 Plaintiffs’ claims are not moot.                            custodians, elections officers and electors.” 25 P.S. § 2642(f).

7      In their briefing, the parties focused on the “capable of       8       While Rule 65(d)(2)(C) states that an injunction binds
       repetition yet evading review” exception to the mootness                “[non-parties] who are in active concert or participation”
       doctrine. The Court, however, does not find that it needs               with the parties or the parties’ agents, the Court does
       to rely on this exception. Nearing the eve of the election,             not find that Rule 65(d) helps the county boards. As
       it is clear that Defendants intend to engage in the conduct             discussed, the county boards manage the elections and
       that Plaintiffs assert is illegal and unconstitutional. Thus,           implement the electoral procedures. While the Court
       the claims are presently live, and are not “evading                     could enjoin Secretary Boockvar, for example, from
       review” in this circumstance.                                           using unmanned drop boxes, each individual county
                                                                               election board could still use unmanned drop boxes on
                                                                               their own. Doing so would not result in the counties
3. All named Defendants are necessary parties to this                          being in “active concert or participation” with Secretary
lawsuit.                                                                       Boockvar, as each county is independently managing
                                                                               the electoral process within their county lines. See



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       Marshak v. Treadwell, 595 F.3d 478, 486 (3d Cir. 2009)       the county boards’ good intent. The only way to ensure that
       (“[N]on-parties guilty of aiding or abetting or acting in    any illegal or unconstitutional conduct is uniformly remedied,
       concert with a named defendant or his privy in violating     permanently, is to include all county boards in this case.
       the injunction may be held in contempt.” (cleaned
       up) (citations omitted)). In other words, each county
                                                                    Thus, because the county boards are necessary parties, the
       elections board would not be “aiding or abetting”
                                                                    Court cannot dismiss them.
       Secretary Boockvar in violating the injunction (which
       would implicate Rule 65(d)(2)(C)); rather, the counties
       would be utilizing their independent statutory authority
       to manage elections within their county lines.               4. Plaintiffs lack Article III standing to raise their claims
 *31 Indeed, Defendants’ own arguments suggest that they            of vote dilution because they cannot establish a “concrete”
must be joined in this case. As just one example, a handful         injury-in-fact.
of counties assert in their summary-judgment brief that the
                                                                    While Plaintiffs can clear the foregoing procedural hurdles,
“[Election] Code permits Boards to exercise discretion in
                                                                    they cannot clear the final one—Article III standing.
certain areas when administering elections, to administer the
election in a manner that is both legally-compliant and meets
                                                                    Federal courts must determine that they have jurisdiction
the unique needs of each County's citizens.” [ECF 518, p.
                                                                    before proceeding to the merits of any claim. Steel Co.
6]. Thus, because of each county's discretionary authority, if
                                                                    v. Citizens for Better Env't, 523 U.S. 83, 94-95, 118
county boards engage in unconstitutional conduct, the Court
                                                                    S.Ct. 1003, 140 L.Ed.2d 210 (1998). Article III of the
would not be able to remedy the violation by enjoining only
                                                                    Constitution limits the jurisdiction of federal courts to
Secretary Boockvar.9                                                “Cases” and “Controversies.” One component of the case-
                                                                    or-controversy requirement is standing, which requires a
9      As evidence of the county boards’ indispensability,          plaintiff to demonstrate the now-familiar elements of (1)
       one court recently found that the failure to join local      injury in fact, (2) causation, and (3) redressability. See Lujan v.
       election officials in an election case can make the harm     Defenders of Wildlife, 504 U.S. 555, 560–61, 112 S.Ct. 2130,
       alleged not “redressable.” It would be a catch-22 to         119 L.Ed.2d 351 (1992).
       say that county boards cannot be joined to this case
       as necessary parties, but then dismiss the case for lack
                                                                    Standing is particularly important in the context of election-
       of standing due to the boards’ absence. Cf. Jacobson
                                                                    law cases, including a case like this one, that challenge
       v. Florida Secretary of States, 974 F.3d 1236, –––– –
       ––––, 2020 WL 5289377, at *11-12 (11th Cir. Sept. 3,
                                                                    the laws, regulations, and guidance issued by elected and
       2020) (“The problem for the [plaintiffs] is that Florida     appointed state officials through the democratic processes.
       law tasks the [county] Supervisors, independently of         As the Supreme Court has explained, the standing “doctrine
       the Secretary, with printing the names of candidates on      developed in our case law to ensure that federal courts do not
       ballots in the order prescribed by the ballot statute. ...   exceed their authority as it has been traditionally understood.”
       The Secretary is responsible only for certifying to the      Spokeo, Inc. v. Robins, ––– U.S. ––––, 136 S. Ct. 1540, 1547,
       supervisor of elections of each county the names of          194 L.Ed.2d 635 (2016) (cleaned up). The doctrine “limits
       persons nominated ... Because the Secretary didn't do        the category of litigants empowered to maintain a lawsuit
       (or fail to do) anything that contributed to [plaintiffs’]   in federal court to seek redress for a legal wrong.” Id. In
       harm, the voters and organizations cannot meet Article       this way, “Article III standing serves to prevent the judicial
       III's traceability requirement.” (cleaned up)).
                                                                    process from being used to usurp the powers of the political
To grant Plaintiffs relief, if warranted, the Court would need      branches.” Id. Nowhere is that concern more acute than in a
to enter an order affecting all county boards of elections—         case that challenges a state's exercise of its core constitutional
which the Court could not do if some county boards were             authority to regulate the most deeply political arena of all—
not joined in this case. Otherwise, the Court could only            elections.
enjoin violative conduct in some counties but not others.
As a result, inconsistent rules and procedures would be in           *32 Here, Defendants and Intervenors claim that Plaintiffs
effect throughout the Commonwealth. While some counties             lack standing, largely arguing that Plaintiffs’ injury is too
can pledge to follow orders issued by this Court, the judicial      speculative. [ECF 547, pp. 43-50]. The Court agrees and finds
system cannot rely on pledges and promises, regardless of           that Plaintiffs lack Article III standing for this reason.



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                                                                   each vote cast in contravention of the Election Code will, in
Initially, to frame the standing inquiry, understanding the        Plaintiffs’ view, dilute Plaintiffs’ lawfully cast votes, resulting
specific claims at issue is important. As discussed above,         in a constitutional violation.
there are essentially three claims remaining in this case: (1)
a challenge to Secretary Boockvar's guidance that does not         The problem with this theory of harm is that this fraud hasn't
require all drop boxes to have manned security personnel; (2)      yet occurred, and there is insufficient evidence that the harm
a challenge to Secretary Boockvar's guidance that counties         is “certainly impending.”
should not perform a signature comparison for mail-in ballots;
and (3) a challenge to Pennsylvania's county-residency             To be clear, Plaintiffs need not establish actual fraud at
restriction for poll-watchers. See [ECF 509, pp. 4-5]. The         this stage; but they must establish that fraud is “certainly
theory behind all of these claims and the asserted injury is       impending,” and not just a “possible future injury.” See
one of vote dilution due to the heightened risk of fraud; that     Clapper, 568 U.S. at 409, 133 S.Ct. 1138 (“Thus, we have
is, without the above measures in place, there is an imminent      repeatedly reiterated that threatened injury must be certainly
risk of voter fraud (primarily by mail-in voters); and if that     impending to constitute injury in fact, and that allegations of
fraud occurs, it will dilute the votes of many of Plaintiffs,      possible future injury are not sufficient.”) (cleaned up).
who intend to vote in person in the upcoming election. [ECF
551, p. 12 (“As qualified electors who will be voting in the        *33 This case is well past the pleading stage. Extensive fact
November election, Plaintiffs will suffer an injury through        and expert discovery are complete. [ECF 462]. Nearly 300
their non-equal treatment and/or the dilution or debasement        exhibits have been submitted on cross-motions for summary
of their legitimately case votes by absentee and mail-in votes     judgment (including 68 by Plaintiffs alone). Plaintiffs bear
that have not been properly verified by matching the voters’       the burden of proof on this issue, and unlike on a motion
signatures on their applications and ballots to the permanent      to dismiss, on summary judgment, they must come forward
voter registration record and/or that have been improperly         with proof of injury, taken as true, that will prove standing,
delivered by others to drop boxes or other mobile collection       including a concrete injury-in-fact. See Lujan, 504 U.S. at
sites in manners that are different[ ] from those offered or       561, 112 S.Ct. 2130 (1992) (“At the pleading stage, general
being used in their counties of residence.”) ].                    factual allegations of injury resulting from the defendant's
                                                                   conduct may suffice ... In response to a summary judgment
Turning to the familiar elements of Article III standing,          motion, however, the plaintiff can no longer rest on such mere
the first and, in the Supreme Court's estimation, “foremost”       allegations, but must set forth by affidavit or other evidence
element—injury-in-fact—is dispositive. See Gill v. Whitford,       specific facts ... which for purposes of the summary judgment
––– U.S. ––––, 138 S. Ct. 1916, 1929, 201 L.Ed.2d 313              motion will be taken to be true.”) (cleaned up).
(2018). Specifically, the Court finds that Plaintiffs’ theory of
vote dilution, based on the evidence presented, is insufficient    Based on the evidence presented by Plaintiffs, accepted as
to establish standing because Plaintiffs’ injury-in-fact is not    true, Plaintiffs have only proven the “possibility of future
sufficiently “concrete.”                                           injury” based on a series of speculative events—which falls
                                                                   short of the requirement to establish a concrete injury. For
With respect to injury-in-fact, the Supreme Court has made         example, Plaintiffs’ expert, Mr. Riddlemoser, opines that the
clear that an injury must be “concrete” and “particularized.”      use of “unstaffed or unmanned” drop boxes merely “increases
See Spokeo, 136 S. Ct. at 1548. Defendants argue that the          the possibility for voter fraud (and vote destruction)[.]” [ECF
claimed injury of vote dilution caused by possible voter fraud     504-19, p. 20 (emphasis added) ]. That's because, according
here is too speculative to be concrete. The Court agrees.          to him (and Plaintiffs’ other witnesses), theoretical bad
                                                                   actors might intentionally “target” a drop box as the “easiest
To establish a “concrete” injury, Plaintiffs rely on a chain       opportunity for voter fraud” or with the malicious “intent
of theoretical events. They first argue that Defendants’ lack      to destroy as many votes ... as possible.” [Id. at pp. 16-18;
of election safeguards (poll watchers, drop-box guards, and        see also ECF 504-2, ¶ 12 (declaring that drop boxes “may
signature-comparison procedures) creates a risk of voter fraud     serve as a target for bad actors that may wish to tamper
or illegal voting. See [ECF 461, ¶¶ 230-31, 240, 256]. That        with lawfully case ballots before such ballots are counted”)
risk, they say, will lead to potential fraudsters committing       (emphasis added) ]. But there's no way of knowing whether
voter fraud or ballot destruction. [Id.]. And if that happens,     these independent actors will ever surface, and if they do,



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whether they will act as Mr. Riddlemoser and Plaintiffs              the general election, third-party ballot delivery is prohibited.
predict.                                                             [ECF 504-25 (“Third-person delivery of absentee or mail-in
                                                                     ballots is not permitted, and any ballots delivered by someone
Similarly, Mr. Riddlemoser concludes that, at most, not              other than the voter are required to be set aside. The only
conducting signature analysis for mail-in and absentee ballots       exceptions are voters with a disability, who have designated
“open[s] the door to the potential for massive fraud through a       in writing an agent to deliver their ballot for them.”) ]. It may
mechanism already susceptible to voter fraud.” [ECF 504-19,          also be less likely to occur in light of the Secretary's other
p. 20].                                                              guidance, which recommends that county boards place signs
                                                                     near drop boxes, warning voters that third-party delivery is
This increased susceptibility to fraud and ballot destruction        prohibited.
is the impetus for Plaintiffs, in their various capacities, to
express their concerns that vote dilution might occur and            It is difficult—and ultimately speculative—to predict future
disrupt their right to a “free and fair election.” See, e.g.,        injury from evidence of past injury. This is why the Supreme
[504-3, ¶ 6; 504-4, ¶ 7; ECF 504-6, ¶¶ 6-8; ECF 504-7, ¶¶            Court has recognized that “[p]ast exposure to illegal conduct
5-9]. But these concerns, as outlined above, are based solely        does not in itself show a present case or controversy regarding
on a chain of unknown events that may never come to pass.            injunctive relief if unaccompanied by any continuing, present
                                                                     adverse effects.” Lujan, 504 U.S. at 564, 112 S.Ct. 2130
In addition to Plaintiffs’ expert report, Plaintiffs’ evidence       (cleaned up).
consists of instances of voter fraud in the past, including an
article in the N.Y. Post purporting to detail the strategies of an   In fact, based on Plaintiffs’ theory of harm in this case, it
anonymous fraudster, as well as pointing to certain prior cases      is almost impossible for them to present anything other than
of voter fraud and election irregularities (e.g., Philadelphia       speculative evidence of injury. That is, they would have to
inadvertently allowing 40 people to vote twice in the 2020           establish evidence of a certainly impending illegal practice
primary election; some counties counting ballots that did not        that is likely to be prevented by the precautions they seek.
have a completed declaration in the 2020 primary election).          All of this sounds in “possible future injury,” not “certainly
[ECF 461, ¶¶ 63-82; ECF 504-19, p. 3 & Ex. D]. Initially, with       impending” injury. In that way, this case is very much like the
one exception noted directly below, none of this evidence is         Supreme Court's decision in Clapper.
tied to individuals using drop boxes, submitting forged mail-
in ballots, or being unable to poll watch in another county          In Clapper, plaintiffs-respondents were attorneys, other
—and thus it is unclear how this can serve as evidence of            advocates, and media groups who communicated with clients
a concrete harm in the upcoming election as to the specific          overseas whom they feared would be subject to government
claims in this case.                                                 surveillance under a FISA statute. 568 U.S. at 406, 133 S.Ct.
                                                                     1138. The plaintiffs there alleged that the FISA statute at issue
 *34 Perhaps the best evidence Plaintiffs present are the            created a risk of possible government surveillance, which
several photographs and video stills, which are depicted             prevented them from communicating in confidence with their
above, and which are of individuals who appear to be                 clients and compelled them to travel overseas instead and
delivering more than one ballot to a drop box during the             incur additional costs. Id. at 406-07, 133 S.Ct. 1138. Based
primary election. It is undisputed that during the primary           on these asserted injures, the plaintiffs filed suit, seeking to
election, some county boards believed it be appropriate to           invalidate provisions of FISA. Id. at 407, 133 S.Ct. 1138.
allow voters to deliver ballots on behalf of third parties. [ECF
504-9, 92:4-10; ECF 504-10, 60:3-61:10; ECF 504-49].                 The Supreme Court held that plaintiffs there lacked standing
                                                                     because their risk of harm was not concrete—rather, it was
But this evidence of past injury is also speculative. Initially,     attenuated and based on a series of speculative events that
the evidence is scant. But even assuming the evidence were           may or may not ever occur. Id. at 410, 133 S.Ct. 1138
more substantial, it would still be speculative to find that         (finding that “respondents’ argument rests on their highly
third-party ballot delivery will also occur in the general           speculative fear that: (1) the Government will decide to
election. It may; it may not. Indeed, it may be less likely          target the communications of non-U.S. persons with whom
to occur now that the Secretary issued her September 28,             they communicate; (2) in doing so, the Government will
2020, guidance, which made clear to all county boards that for       choose to invoke its authority under § 1881a rather than



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utilizing another method of surveillance; (3) the Article III
judges who serve on the Foreign Intelligence Surveillance          First, Plaintiffs assert that since some of them are Republican
Court will conclude that the Government's proposed                 candidates and that Republicans are more likely to vote in
surveillance procedures satisfy § 1881a's many safeguards          person and Democrats more likely to vote by mail, that their
and are consistent with the Fourth Amendment; (4) the              injury here is a competitive disadvantage in the electoral
Government will succeed in intercepting the communications         process. [ECF 551, pp. 16-18 (“The challenged guidance will
of respondents’ contacts; and (5) respondents will be parties      further harm the RNC through the institutional prioritization
to the particular communications that the Government               of voting by mail and the potential disenfranchisement of
intercepts).                                                       Republican voters, who prefer to vote in person in the
                                                                   upcoming General Election.”) ]. This too is a speculative,
 *35 In the end, the Court found that it would not “endorse        non-concrete injury. There is nothing in the record to establish
standing theories that rest on speculation about the decisions     that potential voter fraud and dilution will impact Republicans
of independent actors.” Id. at 414, 133 S.Ct. 1138.                more than Democrats.

Like Clapper, here, Plaintiffs’ theory of harm rests on             *36 To be sure, the information that Plaintiffs present
speculation about the decisions of independent actors.             shows that more Democrats are likely to use mail-in
For drop boxes, that speculation includes that unknown             ballots. [ECF 551, p. 31 (“[I]n Pennsylvania, of the 1.9
individuals will utilize drop boxes to commit fraud or other       million absentee or mail-in ballots that have been requested
illegal activity; for signature comparison, that fraudsters will   for the November 3, 2020 General Election, ‘nearly 1.5
submit forged ballots by mail; for poll watchers, that illegal     million Democrats have requested a mail-in ballot—nearly
votes will not be sufficiently challenged; and for all these       three times the requests from Republicans.’ ”) (quoting L.
claims, that other security measures in place to monitor drop      Broadwater, “Both Parties Fret as More Democrats Request
boxes, to verify ballot information, and to challenge ballots      Mail Ballots in Key States,” New York Times (Sept. 30,
will not work.                                                     2020), available at https://www.nytimes.com/2020/09/30/
                                                                   us/mail-voting-democrats-republicans-turnout.html) ]. But it
All of this may occur and may result in some of Plaintiffs’        doesn't necessarily follow that more Democrats will commit
votes being diluted; but the question is whether these events      voter fraud, such as through the destruction of drop boxes
are “certainly impending.” The evidence outlined above and         or third-party ballot harvesting, and thus more Republicans’
presented by Plaintiffs simply fails to meet that standard.        votes will be diluted.

This is not to say that claims of vote dilution or voter           In fact, as Plaintiffs’ expert, Mr. Riddlemoser, explains,
fraud never give rise to a concrete injury. A plaintiff can        fraudsters from either party could target drop boxes in specific
have standing to bring a vote-dilution claim—typically, in a       areas in order to destroy ballots, depending on who may be
malapportionment case—by putting forth statistical evidence        the predominant party in the area. [ECF 504-19, at pp. 17-18
and computer simulations of dilution and establishing that         (“In short, nothing would prevent someone from intentionally
he or she is in a packed or cracked district. See Gill, 138 S.     targeting a drop box in a predominantly Republican or
Ct. at 1936 (Kagan, J., concurring). And a plaintiff can have      predominantly Democratic area with an intent to destroy as
standing to bring a voter-fraud claim, but the proof of injury     many votes for that political party or that party's candidate(s)
there is evidence of actual fraud in the election and thus the     as possible.”) ]. Indeed, the more important fact for this theory
suit will be brought after the election has occurred. See, e.g.,   of harm is not the party of the voter, but the party of the
Marks v. Stinson, 19 F.3d 873 (3d Cir. 1994). But, at least        fraudster—and, on this, Plaintiffs present no evidence that one
based on the evidence presented here, a claim of vote dilution     party over the other is likely to commit voter fraud.
brought in advance of an election on the theory of the risk of
potential fraud fails to establish the requisite concrete injury   Second, Plaintiffs also argue that the RNC, the Congressional
for purposes of Article III standing.                              Plaintiffs, and the Trump Campaign have organizational
                                                                   standing because they “have and will continue to devote
Plaintiffs advance three other theories of harm here, in order     their time and resources to ensure that their Pennsylvania
to establish standing—none of which establish a concrete           supporters, who might otherwise be discouraged by the
injury-in-fact.                                                    Secretary's guidance memos favoring mail-in and absentee



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voting and Defendants’ implementation thereof, get out to the        or collecting absentee or mail-in ballots, including without
polls and vote on Election Day.” [ECF 551, p. 19]. This is           limitation any satellite or early voting sites established by any
a similar argument raised by the plaintiffs in Clapper, and          county board of elections.”) ]. Standing is measured based on
rejected there by the Supreme Court. Because Plaintiffs’ harm        the theory of harm and the specific relief requested. See Gill,
is not “certainly impending,” as discussed above, spending           138 S. Ct. at 1934 (“We caution, however, that ‘standing is
money in response to that speculative harm cannot establish          not dispensed in gross’: A plaintiff's remedy must be tailored
a concrete injury. Clapper, 568 U.S. at 416, 133 S.Ct. 1138          to redress the plaintiff's particular injury.”). As with all of
(“Respondents’ contention that they have standing because            the claims, the poll-watching claim rests on evidence of vote
they incurred certain costs as a reasonable reaction to a risk       dilution that does not rise to the level of a concrete harm.
of harm is unavailing—because the harm respondents seek to
avoid is not certainly impending. In other words, respondents        In sum, Plaintiffs here, based on the evidence presented, lack
cannot manufacture standing merely by inflicting harm on             Article III standing to assert their claims. Because they lack
themselves based on their fears of hypothetical future harm          standing, the Court will enter judgment in Defendants’ favor
that is not certainly impending.”); see also Donald J. Trump         and dismiss all claims.10 However, because of the novelty
for President, Inc. v. Cegavske, ––– F. Supp. 3d ––––, ––––,         of Plaintiffs’ claims and theories, a potential appeal in this
2020 WL 5626974, at *5 (D. Nev. Sept. 18, 2020) (“Outside            case, and the short time before the general election, out of
of stating ‘confusion’ and ‘discouragement’ in a conclusory          an abundance of caution, the Court will, in the alternative,
manner, plaintiffs make no indication of how AB 4 will               proceed to examine the claims on the merits.
discourage their member voters from voting. If plaintiffs
did not expend any resources on educating their voters on            10      The organizational Plaintiffs also raise certain
AB4, their voters would proceed to vote in-person as they
                                                                             associational and organizational standing arguments,
overwhelmingly have in prior elections.”).
                                                                             asserting that they represent their members’ interests.
                                                                             The associational standing arguments are derivative of
Third, with respect to the poll-watching claim, Plaintiffs                   their members’ interests. That is, because the Court
argue that at least one of the Plaintiffs, Ms. Patterson, is a               has found no concrete injury suffered by the individual
prospective poll watcher who is being denied the right to                    voters, which would include the members of the
poll watch based on the county-residency restriction, and                    organizational Plaintiffs, there are no separate grounds
thus she meets the Article III requirements. [ECF 551, p. 34                 to establish standing for these organizations. See United
(citing ECF 551-3, ¶¶ 9-10) ]. However, Ms. Patterson cannot                 Food & Commercial Workers Union Local 751 v. Brown
establish standing because, by Plaintiffs’ own concession, the               Grp., Inc., 517 U.S. 544, 553, 116 S.Ct. 1529, 134
theory of harm in this case is not the denial of the right to poll           L.Ed.2d 758 (1997) (an organization only has standing
                                                                             to sue on behalf of its members when “its members
watch, but instead dilution of votes from fraud caused from
                                                                             would otherwise have standing to sue in their own right”)
the failure to have sufficient poll watchers. [ECF 509, p. 67
                                                                             (citation omitted).
(“But, the core of the as-applied challenge here is not that the
Plaintiffs cannot staff a particular polling place, it is that a
                                                                     II. Defendants and Intervenors are entitled to summary
candidate and his or her party is presented with the Hobson's
                                                                     judgment on Plaintiffs’ claim that drop boxes violate the
choice of selecting limited polling places to observe due to
                                                                     U.S. Constitution.
the residency requirement and accept that unobserved polling
                                                                     Plaintiffs’ drop-box claim has materially changed since
places must exist due to the inability to recruit a sufficient
                                                                     the Pennsylvania Supreme Court's decision authorizing the
force of poll watchers due to the necessity that candidates be
                                                                     use of drop boxes. Plaintiffs now allege that drop boxes
county residents.”) ].
                                                                     effectively allow third parties to return the ballots of voters
                                                                     other than themselves because, they say, no one is there
 *37 And the remedy sought here is much broader than
                                                                     to stop them. Absent an in-person guard or poll worker to
simply allowing Ms. Patterson to poll watch in a certain
                                                                     monitor the drop boxes and prevent the return of ballots cast
county, but is tied to the broader harm of vote dilution that
                                                                     in a manner contrary to what the Election Code permits,
Plaintiffs assert. [ECF 503-1, p. 3, ¶ 3 (“Plaintiffs shall be
                                                                     Plaintiffs assert that they face an unacceptable risk of vote
permitted to have watchers present at all locations where
                                                                     dilution, which burdens their right to vote. Plaintiffs also
voters are registering to vote, applying for absentee or mail-
                                                                     argue that the “uneven” use of drop boxes in Pennsylvania,
in ballots, voting absentee or mail-in ballots, and/or returning
                                                                     by some counties but not others, violates equal protection by


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subjecting voters in different counties to different amounts          S.Ct. 2326, 120 L.Ed.2d 1 (1992) (“Of course, most laws
of dilutive risk, and perhaps by diluting lawful votes cast by        differentiate in some fashion between classes of persons. The
individuals who failed to comply with the Election Code.              Equal Protection Clause does not forbid classifications.”).
                                                                      Instead, equal protection “simply keeps governmental
The evidence relevant to these claims is undisputed. See [ECF         decisionmakers from treating differently persons who are
509, p. 45 (“After the completion of extensive discovery,             in all relevant respects alike.” Id. (citation omitted). What's
including numerous depositions and responses to discovery             more, “unless a classification warrants some form of
requests, no genuine dispute of material fact exists regarding        heightened review because it jeopardizes exercise of a
Plaintiffs’ constitutional claims.”) ]. Viewed in the light most      fundamental right or categorizes on the basis of an inherently
favorable to Plaintiffs, the Court could conclude from this           suspect characteristic, the Equal Protection Clause requires
evidence, and will assume for purposes of this decision, that         only that the classification rationally further a legitimate state
(1) drop boxes allow for greater risk of third-party ballot           interest.” Id. (citations omitted).
delivery in violation of the Election Code than in-person
polling locations or manned drop boxes, and (2) that the use          Of course, the right of every citizen to vote is a fundamental
of drop boxes is “uneven” across Pennsylvania due to its              right. See Ill. State Bd. of Elections v. Socialist Workers Party,
county-based election system—i.e., some counties are using            440 U.S. 173, 184, 99 S.Ct. 983, 59 L.Ed.2d 230 (1979)
“unmanned” drop boxes with varying security measures,                 (“[F]or reasons too self-evident to warrant amplification here,
some are using “manned” drop boxes, some are using dozens             we have often reiterated that voting is of the most fundamental
of drop boxes in a variety of locations, some are using one           significance under our constitutional structure.”) (citations
drop box in a county office building, and some are not using          omitted). Indeed, it is a foundational right “that helps to
drop boxes at all. The question before the Court is whether           preserve all other rights.” Werme v. Merrill, 84 F.3d 479, 483
this state of affairs violates equal protection or due process.       (1st Cir. 1996); Wesberry v. Sanders, 376 U.S. 1, 17, 84 S.Ct.
                                                                      526, 11 L.Ed.2d 481 (1964) (“Other rights, even the most
 *38 The Court finds that it does not. The uneven use of              basic, are illusory if the right to vote is undermined.”). And
drop boxes across counties does not produce dilution as               its scope is broad enough to encompass not only the right of
between voters in different counties, or between “lawful” and         each voter to cast a ballot, but also the right to have those
“unlawful” voters, and therefore does not present an equal-           votes “counted without dilution as compared to the votes of
protection violation. But even if it did, the guidelines provided     others.” Minn. Voters Alliance v. Ritchie, 720 F.3d 1029, 1031
by Secretary Boockvar are rational, and weighing the relative         (8th Cir. 2013) (cleaned up).
burdens and benefits, the Commonwealth's interests here
outweigh any burden on Plaintiffs’ right to vote.                     As a result, Plaintiffs are quite correct when they suggest
                                                                      that a state election procedure that burdens the right to
                                                                      vote, including by diluting the value of votes compared to
   A. Pennsylvania's “uneven” use of drop boxes does not              others, must “comport with equal protection and all other
   violate federal equal-protection rights.                           constitutional requirements.” Cortés, 218 F. Supp. 3d at 407.
Plaintiffs’ primary claim concerns the uneven use of drop             That much, at least, is not in dispute.
boxes across the Commonwealth, which they contend violates
the Equal-Protection Clause of the 14th Amendment.                    At the same time, however, the Constitution “confers on the
                                                                      states broad authority to regulate the conduct of elections,
The 14th Amendment's Equal-Protection Clause commands                 including federal ones.” Griffin v. Roupas, 385 F.3d 1128,
that “no State shall ... deny to any person within its jurisdiction   1130 (7th Cir. 2004) (citing U.S. Const. Art. I, § 4, cl. 1). This
the equal protection of laws.” U.S. Const. amend. XIV, § 1.           authority includes “broad powers to determine the conditions
This broad and simple promise is “an essential part of the            under which the right of suffrage may be exercised.” Shelby
concept of a government of laws and not men.” Reynolds                Cnty., Ala. v. Holder, 570 U.S. 529, 543, 133 S.Ct. 2612,
v. Sims, 377 U.S. 533, 568, 84 S.Ct. 1362, 12 L.Ed.2d 506             186 L.Ed.2d 651 (2013) (cleaned up). Indeed, “[c]ommon
(1964).                                                               sense, as well as constitutional law, compels the conclusion”
                                                                      that states must be free to engage in “substantial regulation
But while the Constitution demands equal protection, that             of elections” if “some sort of order, rather than chaos, is to
does not mean all forms of differential treatment are                 accompany the democratic processes.” Burdick v. Takushi,
forbidden. See Nordlinger v. Hahn, 505 U.S. 1, 10, 112


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504 U.S. 428, 433, 112 S.Ct. 2059, 119 L.Ed.2d 245 (1992)           1364, 137 L.Ed.2d 589 (1997) (cleaned up). If the state
(cleaned up). And all “[e]lection laws will invariably impose       imposes a “severe” burden on the right to vote, strict scrutiny
some burden upon individual voters.” Id.                            applies—the rule may survive only if it is “narrowly tailored”
                                                                    and only if the state advances a “compelling interest.” Id.
 *39 If the courts were “to subject every voting regulation to      But if the state imposes only “reasonable, nondiscriminatory
strict scrutiny and to require that the regulation be narrowly      restrictions,” its “important regulatory interests will usually
tailored to advance a compelling state interest,” it “would         be enough” to justify it. Id. Indeed, where state regulations
tie the hands of States seeking to assure that elections are        are “minimally burdensome and nondiscriminatory” a level
operated equitably and efficiently.” Id. The “machinery of          of scrutiny “closer to rational basis applies[.]” Ohio Council
government would not work if it were not allowed a little           8 Am. Fed'n of State v. Husted, 814 F.3d 329, 335 (6th Cir.
play in its joints.” Bain Peanut Co. of Tex. v. Pinson,             2016). And where the state imposes no burden on the “right
282 U.S. 499, 501, 51 S.Ct. 228, 75 L.Ed. 482 (1931).               to vote” at all, true rational basis review applies. See Biener
Thus, when faced with a constitutional challenge to a state         v. Calio, 361 F.3d 206, 215 (3d Cir. 2004) (“Biener also
election law, or to the actions of state officials responsible      cannot establish an infringement on the fundamental right to
for regulating elections, a federal court must weigh these          vote ... As the [election] filing fee does not infringe upon
competing constitutional considerations and “make the ‘hard         a fundamental right, nor is Biener in a suspect class, we
judgment’ that our adversary system demands.” Crawford v.           consider the claims under a rational basis test.”) (citation
Marion Cnty. Election Bd., 553 U.S. 181, 190, 128 S.Ct. 1610,       omitted); Common Cause/New York v. Brehm, 432 F. Supp. 3d
170 L.Ed.2d 574 (2008).                                             285, 310 (S.D.N.Y. 2020) (“Under this framework, election
                                                                    laws that impose no burden on the right to vote are subject to
The Supreme Court has supplied lower courts guidance                rational-basis review.”).
as to how to make these hard judgments, by “forg[ing]”
the “flexible standard” for assessing the constitutionality          *40 This operates as a “sliding scale”—the “more severe
of election regulations into “something resembling an               the burden imposed, the more exacting our scrutiny; the less
administrable rule.” Id. at 205, 128 S.Ct. 1610 (Scalia, J.         severe, the more relaxed our scrutiny.” Arizona Libertarian
concurring) (citing Burdick, 504 U.S. at 434, 112 S.Ct. 2059).      Party v. Hobbs, 925 F.3d 1085, 1090 (9th Cir. 2019); see
                                                                    also Fish v. Schwab, 957 F.3d 1105, 1124 (10th Cir. 2020)
Under this standard, first articulated in Anderson v.               (“We, and our sister circuits and commentators, have referred
Celebrezze, 460 U.S. 780, 103 S.Ct. 1564, 75 L.Ed.2d 547            to this as a ‘sliding scale’ test.”); Libertarian Party of New
(1983) and then refined in Burdick, the fact “[t]hat a law or       Hampshire v. Gardner, 638 F.3d 6, 14 (1st Cir. 2011) (“We
state action imposes some burden on the right to vote does          review all of the First and Fourteenth Amendment claims
not make it subject to strict scrutiny.” Donatelli v. Mitchell,     under the sliding scale approach announced by the Supreme
2 F.3d 508, 513 (3d Cir. 1993); see also Libertarian Party          Court in Anderson ... and Burdick[.]”); Burdick, 504 U.S. at
of Ohio v. Blackwell, 462 F.3d 579, 585 (6th Cir. 2006)             434, 112 S.Ct. 2059 (“[T]he rigorousness of our inquiry into
(“[V]oting regulations are not automatically subjected to           the propriety of a state election law depends upon the extent
heightened scrutiny.”). Instead, any “law respecting the right      to which a challenged regulation burdens First and Fourteenth
to vote—whether it governs voter qualifications, candidate          Amendment rights.”).
selection, or the voting process,” is subjected to “a deferential
‘important regulatory interests’ standard for nonsevere,            Against that backdrop, the Court now turns to Plaintiffs’ claim
nondiscriminatory restrictions, reserving strict scrutiny for       that the use of unmanned drop boxes by some Pennsylvania
laws that severely restrict the right to vote.” Crawford, 553       counties, but not others, violates equal protection. As will
U.S. at 204, 128 S.Ct. 1610 (Scalia, J. concurring).                be discussed, Plaintiffs’ equal-protection claim fails at the
                                                                    threshold, without even reaching Anderson-Burdick, because
In practice, this means that courts must weigh the “character       Plaintiffs have not alleged or shown that Pennsylvania's
and magnitude of the burden the State's rule imposes” on            system will result in the dilution of votes in certain counties
the right to vote “against the interests the State contends         and not others. Furthermore, even if the Court applies
justify that burden, and consider the extent to which the           Anderson-Burdick, the attenuated “burden” Plaintiffs have
State's concerns make that burden necessary.” Timmons v.            identified—an increased risk of vote dilution created by
Twin Cities Area New Party, 520 U.S. 351, 358, 117 S.Ct.            the use of unmanned drop boxes—is more than justified



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by Defendants’ important and precise interests in regulating         protection of one-person, one-vote in Pennsylvania, because
elections.                                                           her policies ... allowing inconsistently located/used drop
                                                                     boxes will result in illegal ballots being cast and counted with
                                                                     legitimate votes[.]”) ].

1. Plaintiffs have not shown that Pennsylvania treats
                                                                     As discussed below, both of these species of equal protection
equivalent votes in different counties differently.
                                                                     fail because there is, in fact, no differential treatment here—
Plaintiffs’ equal-protection claim asserts differential              a necessary predicate for an equal-protection claim.
treatment on a theory of vote dilution. As far as the Court can
discern, this claim has two dimensions.                              Initially, Plaintiffs “have to identify a burden before we
                                                                     can weigh it.” Crawford, 553 U.S. at 205, 128 S.Ct. 1610
First, the main thrust concerns differential treatment as            (Scalia, J. concurring). In the equal-protection context, this
between counties. Plaintiffs assert that some counties will          means the plaintiff “must present evidence that s/he has been
use drop boxes in certain ways (specifically, without in-            treated differently from persons who are similarly situated.”
person guards or in varying number and locations), while             Renchenski v. Williams, 622 F.3d 315, 337 (3d Cir. 2010)
others will not—resulting in differential treatment. See,            (cleaned up). And not just any differential treatment will
e.g., [ECF 551, p. 44 (“Plaintiffs assert (and have proven)          do. As discussed above, differences in treatment raise equal-
that Defendants have adopted, and intend to implement                protection concerns, and necessitate heightened scrutiny of
in the General Election, an election regime that applies             governmental interests, only if they burden a fundamental
Pennsylvania's Election Code in a way that treats the citizens       right (such as the right to vote) or involve a suspect
of Pennsylvania unequally depending on ... the location              classification based on a protected class. See Obama for Am.
where they happen to live: in some counties, voters will             v. Husted, 697 F.3d 423, 429 (6th Cir. 2012) (“If a plaintiff
have around-the-clock access to ‘satellite election offices’         alleges only that a state treated him or her differently than
at which they can deposit their vote, but in other counties,         similarly situated voters, without a corresponding burden on
voters will have no access at all to such drop boxes; in some        the fundamental right to vote, a straightforward rational basis
counties those drop boxes will be staffed and secure, but in         standard of review should be used.”).
other counties drop boxes will be unmonitored and open to
tampering[.]”) ]; [Id. at p. 46 (“Defendants’ ongoing actions        Plaintiffs argue that equal protection is implicated because
and stated intentions ensure that votes will not be counted the      Pennsylvania has permitted counties to use drop boxes to
same as those voting in other counties, and in some instances,       varying extents, and with varying degrees of security. Some,
in the same Congressional district. For instance, the harm           like Delaware County, intend to use dozens of drop boxes.
flowing from those actions will fall disproportionately on           See generally [ECF 549-28]. Many others will not use drop
the Republican candidates that bring suit here because many          boxes at all. See generally [ECF 504-1]. And among the
Democrat-heavy counties have stated intentions to implement          counties that do use drop boxes, some will staff them with
the Secretary's unconstitutional ... ballot collection guidance,     county officials, while others will monitor them only with
and many Republican-heavy counties have stated intentions            video surveillance or not at all. See generally [ECF 549-28].
to follow the Election Code as it is written.”) ].
                                                                     In this respect, Plaintiffs argue that they suffer an equal-
 *41 Second, although less clear, Plaintiffs’ equal-protection       protection harm similar to that found by the Supreme Court
claim may also concern broader differential treatment                in Bush v. Gore, 531 U.S. 98, 121 S.Ct. 525, 148 L.Ed.2d
between law-abiders and scofflaws. In other words, Plaintiffs        388 (2000). There, the Supreme Court held that the Florida
appear to suggest that Pennsylvania discriminates against all        Supreme Court violated equal protection when it “ratified”
law-abiding voters by adopting policies which tolerate an            election recount procedures that allowed different counties to
unacceptable risk of a lawfully cast votes being diluted by          use “varying standards to determine what was a legal vote.”
each unlawfully cast vote anywhere in Pennsylvania. See,             Id. at 107, 121 S.Ct. 525. This meant that entirely equivalent
e.g., [ECF 509, p. 55 (“The use of unstaffed drop boxes ...          votes might be counted in one county but discounted
not only dilutes the weight of all qualified Pennsylvanian           in another. See, e.g., id. (“Broward County used a more
electors, it curtails a sense of security in the voting process.”)   forgiving standard than Palm Beach County, and uncovered
(emphasis in original) ]; [ECF 509 p. 68 (“There will be no          almost three times as many new votes, a result markedly



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disproportionate to the difference in population between            weight of a citizen's vote just as effectively as by wholly
the counties.”). Given the absence of uniform, statewide            prohibiting the free exercise of the franchise.”).
rules or standards to determine which votes counted, the
Court concluded that the patchwork recount scheme failed to         That is the sort of equal-protection claim Plaintiffs purport
“satisfy the minimum requirement for nonarbitrary treatment         to be asserting—a claim that voters in counties that use drop
of voters necessary to secure the fundamental right [to vote].”     boxes are subjected to a much higher risk of vote dilution than
Id.                                                                 those in other counties that do not. But that characterization
                                                                    falls apart under scrutiny. Indeed, despite their assertions,
 *42 While the Supreme Court expressly limited its holding          Plaintiffs have not actually alleged, let alone proven, that
in Bush “to the present circumstances” of a standardless            votes cast in some counties are diluted by a greater amount
“statewide recount under the authority of a single state judicial   relative to votes cast in others. Rather, they have, at best,
officer,” id. at 109, 121 S.Ct. 525, a few courts have found        shown only that events causing dilution are more likely to
its reasoning to be persuasive as a broader principle of equal      occur in counties that use drop boxes. But, importantly, the
protection. See Stewart v. Blackwell, 444 F.3d 843, 859 (6th        effect of those events will, by Plaintiffs’ own admission, be
Cir. 2006) (“Somewhat more recently decided is Bush v.              felt by every voter across all of Pennsylvania. [ECF 509, p.
Gore, ... which reiterated long established Equal Protection        55. (“The use of unstaffed drop boxes places the security of
principles.”); Ne. Ohio Coal. for Homeless v. Husted, 696 F.3d      unknown hundreds (if not thousands) of ballots in jeopardy
580, 598 (6th Cir. 2012) (“We agree with all of the parties         of theft, destruction, and manipulation. This not only dilutes
and the district court that the consent decree likely violates      the weight of all qualified Pennsylvanian electors, it curtails
the equal protection principle recognized in Bush v. Gore.”);       a sense of security in the voting process.”) (citations omitted)
Pierce v. Allegheny Cty. Bd. of Elections, 324 F. Supp. 2d 684,     (emphasis in original) ]. Such dilution impacts the entire
705 (W.D. Pa. 2003) (Conti, J.) (“As noted above, the court         electorate equally; not just voters in the county where it
finds that the facts presented raise a serious equal protection     occurs.
claim under a theory similar to that espoused by the United
States Supreme Court in Bush v. Gore, supra.”); Black v.            To illustrate this distinction, consider, for example, a
McGuffage, 209 F. Supp. 2d 889, 899 (N.D. Ill. 2002) (“The          presidential election. The Court agrees with Plaintiffs that
Court is certainly mindful of the limited holding of Bush.          the relevant electoral unit in such an election is “the entire
However, we believe that situation presented by this case is        Commonwealth of Pennsylvania.” [ECF 551, p. 55 (“The
sufficiently related to the situation presented in Bush that the    electoral unit in this election is the entire Commonwealth
holding should be the same.”).                                      of Pennsylvania.”) ]. Indeed, on election night, votes cast
                                                                    in each of Pennsylvania's 67 counties will be canvassed,
Indeed, Bush’s core proposition—that a state may not take           counted, and ultimately added to a statewide vote total that
the votes of two voters, similarly situated in all respects,        decides who wins Pennsylvania's 20 electoral votes. So, ask:
and, for no good reason, count the vote of one but not the          what is the dilutive impact of a hypothetical illegal vote cast
other—seems uncontroversial. It also seems reasonable (or at        in Philadelphia during that election? Does it cause, in any
least defensible) that this proposition should be extended to       sense, an “unequal evaluation of ballots” cast in different
situations where a state takes two equivalent votes and, for no     counties, Bush, 531 U.S. at 106, 121 S.Ct. 525, such that
good reason, adopts procedures that greatly increase the risk       lawful ballots cast in Philadelphia will be less likely to count,
that one of them will not be counted—or perhaps gives more          worth less if they do, or otherwise disfavored when compared
weight to one over the other. See, e.g., Black, 209 F. Supp.        to votes cast in other counties? The answer is evident—it does
2d at 899 (“Plaintiffs in this case allege that the resulting       not. Rather, the hypothetical illegal vote cast in Philadelphia
vote dilution, which was found to be unacceptable in Bush           dilutes all lawful votes cast in the election anywhere in the
without any evidence of a disproportionate impact on any            Commonwealth by the exact same amount.
group delineated by traditional suspect criteria, is impacting
African American and Hispanic groups disproportionately....          *43 The same reasoning holds in elections that occur within
Any voting system that arbitrarily and unnecessarily values         part of a state, rather than statewide. For example, consider
some votes over others cannot be constitutional.”); see also        a hypothetical legislative district covering two counties—one
Reynolds, 377 U.S. at 555, 84 S.Ct. 1362 (“[T]he right of           that uses drop boxes and one that does not. There may well be
suffrage can be denied by a debasement or dilution of the           a greater risk that illegal voting will occur in the county that



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uses drop boxes. But any dilutive impact of those votes will       Instead, as discussed, if Plaintiffs are correct that the use of
be felt equally by voters in both counties.                        drop boxes increases the risk of vote dilution, all votes in the
                                                                   relevant electoral unit—whether that is statewide, a subset
This is categorically different from the harm at issue in          of the state, or a single county—face the same degree of
Bush and cases like it. In Bush, Florida's arbitrary use of        increased risk and dilution, regardless of which county is most
different recount standards in different counties meant that the   at fault for elevating that risk.
state was counting equivalent ballots differently in different
counties, meaning that voters in some counties were more           What Plaintiffs have really identified, then, are not uneven
likely to have their votes counted than those in others.           risks of vote dilution—affecting voters in some counties
                                                                   more than equivalent voters in others—but merely different
In Black v. McGuffage, an Illinois district-court case on          voting procedures in different counties that may contribute
which Plaintiffs heavily rely, the plaintiffs alleged that the     different amounts of vote dilution distributed equally across
type of voting machines used in some Illinois counties were        the electorate as a whole. The Court finds that this is not an
statistically much more likely to result in equivalent votes       equal-protection issue.
being discounted at a much higher frequency in some counties
than others, and that the worst machines were those being           *44 To be clear, the reason that there is no differential
used in counties with high populations of minority groups.         treatment is solely based on Plaintiffs’ theory of harm in
209 F. Supp. 2d at 899. As a result, voters (and, specifically,    this case. In the more “routine” vote-dilution cases, the state
minority voters) were much more likely to have their votes         imposes some restriction or direct impact on the plaintiff's
discounted, based just on the county in which they lived.          right to vote—that results in his or her vote being weighed
See id. (“As a result, voters in some counties are statistically   less (i.e., diluted) compared to those in other counties or
less likely to have their votes counted than voters in other       election districts. See Gill, 138 S. Ct. at 1930, (explaining that
counties in the same state in the same election for the same       “the holdings in Baker and Reynolds were expressly premised
office. Similarly situated persons are treated differently in      on the understanding that the injuries giving rise to those
an arbitrary manner.... In addition, the Plaintiffs in this case   claims were individual and personal in nature, because the
allege that the resulting vote dilution ... is impacting African   claims were brought by voters who alleged facts showing
American and Hispanic groups disproportionately.”).                disadvantage to themselves as individuals”) (cleaned up). In
                                                                   this case, though, Plaintiffs complain that the state is not
Finally, Stewart v. Blackwell, another case cited by Plaintiffs,   imposing a restriction on someone else's right to vote, which,
was the same as Black—voters in counties that used punch-          they say, raises the risk of fraud, which, if it occurs, could
card voting were “approximately four times as likely not to        dilute the value of Plaintiffs’ vote. The consequence of this
have their votes counted” as a voter in a different county         inverted theory of vote dilution is that all other votes are
“using reliable electronic voting equipment.” 444 F.3d at 848.     diluted in the same way; all feel the same effect.

What ties these cases together is that each of them involves       Finally, the Court's ruling in this regard is consistent with
a state arbitrarily “valu[ing] one person's vote over that         the many courts that have recognized that counties may,
of another,” Bush, 531 U.S. at 104-05, 121 S.Ct. 525,              consistent with equal protection, employ entirely different
by permitting counties to either apply different standards         election procedures and voting systems within a single state.
to decide what votes count (Bush) or use different voting          See, e.g., Wexler v. Anderson, 452 F.3d 1226, 1231-33 (11th
technologies that create a great risk of votes being discounted    Cir. 2006) (“Plaintiffs do not contend that equal protection
in one county that does not exist in others (Black and Stewart).   requires a state to employ a single kind of voting system
It is this sort of “differential treatment ... burden[ing] a       throughout the state. Indeed, local variety in voting systems
fundamental right” that forms the bedrock of equal protection.     can be justified by concerns about cost, the potential value
Sullivan v. Benningfield, 920 F.3d 401, 409 (6th Cir. 2019).       of innovation, and so on.”) (cleaned up); Hendon v. N.C.
                                                                   State Bd. of Elections, 710 F.2d 177, 181 (4th Cir. 1983)
Plaintiffs, in contrast, have shown no constitutionally            (“A state may employ diverse methods of voting, and the
significant differential treatment at all.                         methods by which a voter casts his vote may vary throughout
                                                                   the state.”); Short v. Brown, 893 F.3d 671, 679 (9th Cir.
                                                                   2018) (“[T]he appellants’ reading of the Supreme Court's



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voting cases would essentially bar a state from implementing
any pilot program to increase voter turnout. Under their          The distinction—between differences in county election
theory, unless California foists a new system on all fifty-       procedures and differences in the treatment of votes or voters
eight counties at once, it creates ‘unconstitutional vote-        between counties—is reflected in Bush itself. There, the
dilution’ in counties that do not participate in the pilot        Supreme Court took pains to clarify that the question before
plan. Nothing in the Constitution, the Supreme Court's            it was “not whether local entities, in the exercise of their
controlling precedent, or our case law suggests that we can       expertise, may develop different systems for implementing
micromanage a state's election process to this degree.”); Fla.    elections.” Bush, 531 U.S. at 109, 121 S.Ct. 525; see also
State Conference of N.A.A.C.P. v. Browning, 569 F. Supp.          id. at 134, 121 S.Ct. 525 (Souter, J. dissenting) (“It is true
2d 1237, 1258 (N.D. Fla. 2008) (“[A]s with countless public       that the Equal Protection Clause does not forbid the use of
services delivered through Florida's political subdivisions—      a variety of voting mechanisms within a jurisdiction, even
such as law enforcement and education—resource disparities        though different mechanisms will have different levels of
are to some degree inevitable. They are not, however,             effectiveness in recording voters’ intentions; local variety can
unconstitutional.”); Green Party of State of New York v.          be justified by concerns about cost, the potential value of
Weiner, 216 F. Supp. 2d 176, 192 (S.D.N.Y. 2002) (“Even           innovation, and so on.”); Bullock, ––– F.3d at ––––, 2020 WL
in that situation, [Bush v. Gore] did not challenge, and          5810556, at *14 (“[T]he Supreme Court was clear in Bush v.
the Court did not question, the use of entirely different         Gore that the question was not whether local entities, in the
technologies of voting in different parts of the state, even      exercise of their expertise, may develop different systems for
in the same election.”); Paher v. Cegavske, No. 20-243,           implementing elections.”) (cleaned up).
2020 WL 2748301, at *9 (D. Nev. May 27, 2020) (“[I]t
cannot be contested that Clark County, which contains most        Thus, coming back to the theory of Plaintiffs’ case, Plaintiffs
of Nevada's population—and likewise voters (69% of all            contend that Secretary Boockvar's drop-box guidance will
registered voters [ ] )—is differently situated than other        result in differences between counties and differing risks of
counties. Acknowledging this as a matter of generally known       fraud. But the result of that uneven implementation will not
(or judicially noticeable) fact and commonsense makes it          be votes in certain counties being valued less than others.
more than rational for Clark County to provide additional         And the result won't be that voters who vote in person will
accommodations to assist eligible voters.”); Ron Barber for       have their votes valued less, either. Instead, if Plaintiffs are
Cong. v. Bennett, No. 14-2489, 2014 WL 6694451, at *5 (D.         right, any unlawful votes will dilute all other lawful votes in
Ariz. Nov. 27, 2014) (“[T]he [Bush v. Gore] Court did not         the same way. While certainly voter fraud and illegal voting
invalidate different county systems regarding implementation      are bad, as a matter of equal protection, there is no unequal
of election procedures.”); Tex. Democratic Party v. Williams,     treatment here, and thus no burden on Plaintiffs’ rights under
No. 07-115, 2007 WL 9710211, at n.4 (W.D. Tex. Aug. 16,           the Equal Protection Clause.
2007) (“In Bush v. Gore, the Supreme Court specifically
noted: ‘The question before the Court is not whether local        In addition to their equal-protection claim based on county
entities, in the exercise of their expertise, may develop         differences, Plaintiffs also appear to allude to a more
different systems for implementing elections.’ ”).                general type of equal-protection violation. They assert that
                                                                  Pennsylvania comprises a single election unit. [ECF 551,
 *45 Equal protection does not demand the imposition of           p. 55 (“The electoral unit in this election is the entire
“mechanical compartments of law all exactly alike.” Jackman       Commonwealth of Pennsylvania.”) ]. They assert that they
v. Rosenbaum Co., 260 U.S. 22, 31, 43 S.Ct. 9, 67 L.Ed. 107       intend to cast their ballots lawfully. See, e.g., [ECF 504-3,
(1922). Rather, “the Constitution is sufficiently flexible to     ¶ 4 (“As a Pennsylvania qualified registered elector, I have
permit its requirements to be considered in relation to the ...   always voted in-person at primary and general elections, and
contexts in which they are invoked.” Merchants Nat'l Bank of      I intend to vote in-person at the upcoming November 3, 2020
Mobile v. Dredge Gen. G. L. Gillespie, 663 F.2d 1338, 1343        General Election.”) ]. And they assert that unmanned drop
(5th Cir. 1981). And in this context, “few (if any) electoral     boxes across the Commonwealth (regardless of the county)
systems could survive constitutional scrutiny if the use of       will, on a statewide basis, dilute their votes. See, e.g., [id.
different voting mechanisms by counties offended the Equal        at ¶ 6 (“As a Pennsylvania qualified registered elector who
Protection Clause.” Trump v. Bullock, ––– F.3d ––––, ––––,        votes in-person, I do not want my in-person vote diluted
2020 WL 5810556, at *14 (D. Mont. Sept. 30, 2020).                or cancelled by votes that are cast in a manner contrary



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to the requirements enacted by the Pennsylvania General             See Obama, 697 F.3d at 429 (“If a plaintiff alleges only that
Assembly.”) ]. For example, if one “qualified elector” casts        a state treated him or her differently than similarly situated
a lawful ballot, but a fraudulent voter casts ten ballots, then     voters, without a corresponding burden on the fundamental
that elector's vote will, under Plaintiffs’ theory, be diluted by   right to vote, a straightforward rational basis standard of
a magnitude of ten—resulting in differential treatment.             review should be used.”); Brehm, 432 F. Supp. 3d at 310
                                                                    (“Under this framework, election laws that impose no burden
 *46 The problem with this theory is that there does not            on the right to vote are subject to rational-basis review.”).
appear to be any law to support it. Indeed, if this were a
true equal-protection problem, then it would transform every        On rational-basis review, the Secretary's guidance here
violation of state election law (and, actually, every violation     passes constitutional muster. Her guidance certainly provides
of every law) into a potential federal equal-protection claim       some flexibility in how counties may use drop boxes, but
requiring scrutiny of the government's “interest” in failing        the guidance overall is rationally related to a legitimate
to do more to stop illegal activity. This is not the law. To        governmental interest—namely, the implementation of drop
the contrary, it is well-established that even violations of        boxes in a secure manner, taking into account specific county
state election laws by state officials, let alone violations        differences. That Plaintiffs feel the decisions and actions of
by unidentified third parties, do not give rise to federal          the Pennsylvania General Assembly, Secretary Boockvar, and
constitutional claims except in unusual circumstances. See          the county Defendants are insufficient to prevent fraud or
Shipley v. Chicago Bd. of Election Commissioners, 947 F.3d          illegal voting is of no significance. “[R]ational-basis review
1056, 1062 (7th Cir. 2020) (“A violation of state law does not      in equal protection analysis is not a license for courts to judge
state a claim under § 1983, and, more specifically, a deliberate    the wisdom, fairness, or logic of legislative choices.” Heller v.
violation of state election laws by state election officials        Doe by Doe, 509 U.S. 312, 319, 113 S.Ct. 2637, 125 L.Ed.2d
does not transgress against the Constitution.”) (cleaned up);       257 (1993).
Martinez v. Colon, 54 F.3d 980, 989 (1st Cir. 1995) (“[T]he
Constitution is not an empty ledger awaiting the entry of an        As detailed above, Secretary Boockvar's guidance provides
aggrieved litigant's recitation of alleged state law violations—    lawful, comprehensive, and reasonable standards with respect
no matter how egregious those violations may appear within          to (1) selecting the location of drop boxes, (2) drop-box
the local legal framework.”).                                       design criteria, (3) signage, (4) drop-box security measures,
                                                                    and (5) drop-box ballot collection and chain of custody
Thus, this type of equal-protection claim fails as a matter of      procedures. Of particular note, with respect to ballot security,
law, as well.                                                       the Secretary's guidance calls for the use of reasonably robust
                                                                    measures like video surveillance, durable and tamperproof
                                                                    design features, regular ballot collection every 24 hours,
                                                                    chain-of-custody procedures to maintain ballot traceability,
2. If Pennsylvania's “uneven” use of drop boxes indirectly
                                                                    and signage advising voters that third-party delivery is
burdens the right to vote at all, that burden is slight, and
                                                                    prohibited, among other things.
justified by important state interests.

Even assuming that Plaintiffs could establish unequal               To be sure, the Secretary's guidance doesn't insist on the use
treatment to state an equal-protection claim, their claim           of security personnel—though some counties have decided to
nonetheless fails because the governmental interests here           post security guards outside of drop boxes on their own. But
outweigh any burden on the right to vote.                           the Court can't say that either the Secretary's failure to provide
                                                                    that requirement, or the decision of some counties to proceed
Initially, the Court finds that the appropriate level of            with drop boxes “unmanned,” is irrational. For example, the
scrutiny is rational basis. Defendants’ failure to implement a      evidence presented demonstrates that placing a security guard
mandatory requirement to “man” drop boxes doesn't directly          outside of a drop box at all times is costly, particularly for
infringe or burden Plaintiffs’ rights to vote at all. Indeed, as    cash-strapped counties—at least $13 per hour or about $104
discussed above in the context of standing, what Plaintiffs         (8 hours) to $312 (24 hours) per day, according to Defendants’
characterize as the burden or harm here is really just an           expert, Professor Robert McNair. [ECF 549-11, p. 11] In the
ancillary ‘increased risk’ of a theoretical harm, the degree of     context of a broader election system that detects and deters
which has not been established with any empirical precision.        fraud at many other stages of the voting process, and given



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that that there are also no equivalent security measures present             by the contraction to one polling place is modest, and
at U.S. postal mailboxes (which constitute an arguably more                  the identified groups are afforded various other means
tempting vehicle for the would-be ballot harvester), the Court               under the voting plans to easily and effectively avoid
finds that the lack of any statewide requirement that all drop               disenfranchisement. As already discussed, Defendants
                                                                             have offered evidence of the substantial government
boxes be manned or otherwise surveilled is reasonable, and
                                                                             interest in implementing voting plans that provide for a
certainly rational.
                                                                             free and fair election while attempting to minimize the
                                                                             spread of COVID-19.”); Paralyzed Veterans of Am. v.
 *47 But even assuming Plaintiffs are right that their right
                                                                             McPherson, No. 06-4670, 2008 WL 4183981, at *22
to vote here has been burdened (and thus a heightened                        (N.D. Cal. Sept. 9, 2008) (“Plaintiff Bohlke's listed
level of scrutiny must apply), that burden is slight and                     burdens rely on speculative risk or the ancillary effects of
cannot overcome Defendants’ important state interests under                  third party assistance, but not on evidence of any concrete
the Anderson-Burdick framework. Indeed, courts routinely                     harm. Such speculations or effects are insufficient
find attenuated or ancillary burdens on the right to vote to                 under Supreme Court and Ninth Circuit precedent to
be “slight” or insignificant, even burdens considerably less                 demonstrate a severe burden on the fundamental right to
attenuated or ancillary than any burden arguably shown here.                 vote.”).
See, e.g., Weber v. Shelley, 347 F.3d 1101, 1106 (9th Cir. 2003)     To begin with, application of the Anderson-Burdick
(“Under Burdick, the use of touchscreen voting systems is            framework here presents something of a “square peg,
not subject to strict scrutiny simply because this particular        round hole” dilemma. After all, that test assumes there is
balloting system may make the possibility of some kinds of           some constitutional injury to “weigh” against the state's
fraud more difficult to detect.”).11                                 “important” regulatory interests in the first place. And without
                                                                     differential treatment of votes or voters, there isn't any equal-
11     See, also, e.g., Dudum v. Arntz, 640 F.3d 1098, 1117
                                                                     protection injury for the Court to balance.
       (9th Cir. 2011) (“If the aspects of the City's restricted
       IRV scheme Dudum challenges impose any burdens on             The Anderson-Burdick test is also ill-fitted to Plaintiffs’
       voters’ constitutional rights to vote, they are minimal       claims for another reason. Typically, Anderson-Burdick is
       at best.”); Common Cause/Georgia v. Billups, 554              invoked where the government takes some direct action to
       F.3d 1340, 1354–55 (11th Cir. 2009) (“The district            burden or restrict a plaintiff's right to vote. Here, in contrast,
       court determined that the burden imposed on Georgia           Plaintiffs complain that Pennsylvania has indirectly burdened
       voters who lack photo identification was not undue or         the right to vote through inaction—i.e., by not imposing
       significant, and we agree.... The NAACP and voters            enough regulation to secure the voting process it has adopted,
       are unable to direct this Court to any admissible and         which, Plaintiffs say, will allow third parties to vote in an
       reliable evidence that quantifies the extent and scope of
                                                                     unlawful way, which, if it happens, will dilute (and thus
       the burden imposed by the Georgia statute.”); Soules v.
                                                                     burden) the right to vote.
       Kauaians for Nukolii Campaign Comm., 849 F.2d 1176,
       1183 (9th Cir. 1988) (“Appellants claim that Hawaii's
       absentee voting law fails to prohibit ‘the solicitation,
                                                                      *48 This unusual causal daisy-chain makes it difficult to
       examination and delivery of absentee ballots by persons       apply Anderson-Burdick’s balancing approach. After all, it
       other than the voters’ and that such activities occurred      is one thing to assess the government's interest in taking a
       during the special election ... We agree with the district    specific action that imposed burdens on the right to vote.
       court that the Hawaii absentee ballot statute and the         It is much less natural for a court to evaluate whether the
       regulations adopted under it adequately protect the           government had a good reason for not doing something
       secrecy and integrity of the ballot. Although Hawaii has      differently, or for failing to do more to prevent (or reduce the
       not adopted a regulation to prevent the delivery of ballots   risk of) misconduct by third parties that could burden the right
       by persons other than the voter, the Hawaii regulations       to vote.
       go into great detail in their elaboration of procedures to
       prevent tampering with the ballots.”); McLain v. Meier,
                                                                     To the extent Anderson-Burdick applies in such
       637 F.2d 1159, 1167 (8th Cir. 1980) (“[A]lthough ballot
                                                                     circumstances, the appropriate course would, in this
       format has an effect on the fundamental right to vote,
                                                                     Court's view, be to weigh any burden stemming from
       the effect is somewhat attenuated.”); Nemes v. Bensinger,
       ––– F. Supp. 3d ––––, ––––, 2020 WL 3402345, at               the government's alleged failures against the government's
       *13 (W.D. Ky. June 18, 2020) (“The burden imposed             interest in enacting the broader election scheme it has



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erected, of which the challenged piece is usually only one         aggrieved litigant's recitation of alleged state law violations.”
part. Focusing solely on the allegedly inadequate procedure        Fournier v. Reardon, 160 F.3d 754, 757 (1st Cir. 1998). Nor
being challenged, such as the state's authorization of “drop       is it “an election fraud statute.” Minnesota Voters, 720 F.3d
boxes” here, would ignore the fact that Election Code              at 1031.
provisions and regulations operate as part of a single,
complex organism balancing many competing interests, all of         *49 “Garden variety” election irregularities, let alone the
which are “important” for purposes of the Anderson-Burdick         “risk” of such irregularities, are simply not a matter of
analysis. See, e.g., Crawford, 553 U.S. at 184, 128 S.Ct.          federal constitutional concern “even if they control the
1610 (“deterring and detecting voter fraud”); Tedards v.           outcome of the vote or election.” Bennett v. Yoshina, 140
Ducey, 951 F.3d 1041, 1067 (9th Cir. 2020) (“voter turnout”);      F.3d 1218, 1226 (9th Cir. 1998). And as discussed above,
Lunde v. Schultz, 221 F. Supp. 3d 1095, 1106 (S.D. Iowa            most often, even “a deliberate violation of state election laws
2014) (“expanding ballot access to nonparty candidates”);          by state election officials does not transgress against the
Greenville Cnty. Republican Party Exec. Comm. v. South             Constitution.” Shipley, 947 F.3d at 1062. see, e.g., Lecky v.
Carolina, 824 F. Supp. 2d 655, 671 (D.S.C. 2011)                   Virginia State Bd. of Elections, 285 F. Supp. 3d 908, 919 (E.D.
(“promoting voter participation in the electoral process”);        Va. 2018) (“[E]ven assuming the Fredericksburg officials’
Mays v. LaRose, 951 F.3d 775, 787 (6th Cir. 2020) (“orderly        failure to provide provisional ballots amounted to a violation
administration of elections”); Dudum, 640 F.3d at 1115             of state law, it would not rise to the level of an equal protection
(“orderly administration of ... elections”); Paher v. Cegavske     violation.”).
, 457 F.Supp.3d 919, ––––, 2020 WL 2089813, at *7
(2020) (“protect[ing] the health and safety of ... voters” and     Compared, then, to Plaintiffs’ slight burden, the
“safeguard[ing] the voting franchise”); Nemes, ––– F. Supp.        Commonwealth has put forward reasonable, precise, and
3d at ––––, 2020 WL 3402345, at *13 (“implementing voting          sufficiently weighty interests that are undisputed and that can
plans that provide for a free and fair election while attempting   be distilled into three general categories: (1) the benefits of
to minimize the spread of COVID-19”).                              drop boxes, (2) the Commonwealth's interests in furthering its
                                                                   overall election-security plan concerning drop boxes, and (3)
Thus, on the “burden” side of the equation is Plaintiffs’ harm     the interests inherent in the Commonwealth's general mail-in
of vote dilution predicated on a risk of fraud. As discussed       ballot scheme.
above in the context of lack of standing, that burden is slight,
factually, because it is based on largely speculative evidence     The first category concerns the benefits of drop boxes
of voter fraud generally, anecdotal evidence of the mis-use of     generally. Secretary Boockvar has pointed out the
certain drop boxes during the primary election, and worries        Commonwealth's interests generally in using drop boxes—
that the counties will not implement a “best practice” of          including, (1) the increase of voter turnout, (2) the protection
having poll workers or guards man the drop boxes. See [ECF         of voters’ health in the midst of the ongoing pandemic, (3) the
461, ¶¶ 63-82; ECF 504-2, ¶ 12; 504-3, ¶ 6; 504-4, ¶7;; ECF        increase of voter satisfaction, in light of ongoing U.S. Postal
504-6, ¶¶ 6-8; ECF 504-7, ¶¶ 5-9; ECF 504-9, 92:4-10; ECF          Service issues, and (4) the reduction of costs for counties.
504-10, 60:3-61:10; 504-19, pp. 3, 16-18, 20 & Ex. D; ECF          [ECF No. 547, at pp. 22-25; ECF No. 549-2, ¶¶ 36-39, 42-44].
504-25; ECF 504-49; ECF 509, p. 67; ECF 551, p. 34].               Plaintiffs do not dispute any of these interests.

This somewhat scant evidence demonstrates, at most, an             The second category of interests concerns the
increased risk of some election irregularities—which, as           Commonwealth's interests in implementing drop boxes with
many courts have held, does not impose a meaningful                appropriate and effective safety measures and protocols in
burden under Anderson-Burdick. “Elections are, regrettably,        place. That is, Secretary Boockvar has, in her capacity as
not always free from error,” Hutchinson v. Miller, 797 F.2d        the chief state official charged with overseeing elections,
1279, 1286–87 (4th Cir. 1986), let alone the “risk” of error.      issued uniform guidance to all counties regarding the use of
In just about every election, votes are counted, or discounted,    drop boxes, which is noted above. That guidance includes
when the state election code says they should not be. But the      (1) advising counties that the Election Code permits the
Constitution “d[oes] not authorize federal courts to be state      use of drop boxes, and (2) setting forth best practices that
election monitors.” Gamza v. Aguirre, 619 F.2d 449, 454 (5th       the counties should “consider” with respect to their use.
Cir. 1980). It is “not an empty ledger awaiting the entry of an    Among other things, the Secretary advised that counties



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should maintain a traceable chain of custody for mail-in           of “no excuse” mail-in voting as part of the Commonwealth's
and absentee ballots retrieved from drop boxes; utilize drop       Election Code. As the Pennsylvania Supreme Court has now
boxes with various security features (e.g., anti-tampering         confirmed, that system left room for counties to authorize
features, locks, video surveillance, and removal when the site     drop boxes and other satellite locations for returning ballots
is closed or cannot be monitored); and designate sworn county      to the county boards of elections. See Boockvar, ––– A.3d
personnel to remove ballots from drop boxes. And evidence          at ––––, 2020 WL 5554644, at *9 (“[W]e need not belabor
suggests that the Secretary's deputies have emphasized these       our ultimate conclusion that the Election Code should be
best practices when queried by county officials. [ECF 549-32       interpreted to allow county boards of election to accept hand-
(“Per our conversation, the list of items are things the county    delivered mail-in ballots at locations other than their office
must keep in mind if you are going to provide a box for voters     addresses including drop-boxes.”).
to return their ballots in person.”) ].
                                                                   Inherent in any mail-in or absentee voting system is some
This guidance is lawful, reasonable, and non-discriminatory,       degree of increased risk of votes being cast in violation of
and so does not create any constitutional issue in its own         other provisions of the Election Code, regardless of whether
right. With this guidance, the Secretary has diminished the        those ballots are returned to drop boxes, mailboxes, or some
risks tolerated by the legislature in adopting mail-in voting      other location. For example, there is simply no practical
and authorizing drop-boxes, by encouraging the counties to         way to police third party delivery of ballots to any mailbox
adopt rather comprehensive security and chain-of-custody           anywhere in the Commonwealth, where Plaintiffs do not
procedures if they do elect to use drop boxes. Conversely,         dispute that such ballots can be lawfully returned. It is also
the legislature's decision to leave the counties with ultimate     likely that more (and perhaps many more) voters than usual
discretion when it comes to how, and to what extent,               will be disenfranchised by technicalities this year, for failing
to use drop boxes (as opposed to adopting a scheme in              to comply with the procedural requirements associated with
which the Secretary could enforce compliance with her              mail-in ballots, such as the requirement that such ballots be
guidance) is also reasonable, and justified by sufficiently        placed in “inner secrecy envelopes.”
weighty governmental interests, given the many variations
in population, geography, local political culture, crime rates,    But in enacting the “no excuse” mail-in voting system that
and resources. [ECF 549-9 (“There is no logical reason why         it did, the Pennsylvania legislature chose to tolerate the risks
ballot receptacles such as drop boxes must be uniform across       inherent in that approach. And the key point is that the
different counties; particularly because the verification of the   legislature made that judgment in the context of erecting a
voter is determined by election officials upon receipt of the      broader election scheme that authorizes other forms of voting
ballot. Counties vary in size and need. Across the country,        and has many other safeguards in place to catch or deter
best practices dictate that counties determine what type of        fraud and other illegal voting practices. These safeguards
box and size works for them. The needs of a large county           include voter registration; a mail-in ballot application and
are very different from the needs of a smaller county.”); ECF      identity verification process, 25 P.S. §§ 3146.2, 3150.12; a
549-11, p. 9 (“Such variation between counties even within a       system for tracking receipt of mail-in ballots, 25 P.S. §§
state makes sense, since the needs of different counties vary      3146.3(a), 3150.13(a); and, perhaps most important of all, a
and their use of drop boxes reflects those considerations (e.g.,   pre-canvassing and canvassing process during which mail-
the geographic size of a county, the population of the county,     in ballots are validated before being counted. In addition,
and the ease with which voters in the county can access other      Pennsylvania law also seeks to deter and punish fraud by
locations to return mail-in ballots).”].                           imposing criminal penalties for unlawful voting, 25 P.S §
                                                                   3533; voting twice in one election, 25 P.S § 3535; forging
 *50 The third category of interests is, more generally, the       or destroying ballots, 25 P.S § 3517; unlawful possession or
interests of the Commonwealth in administering its overall         counterfeiting of ballots 25 P.S § 3516; and much more of the
mail-in ballot regime, including the various security and          conduct Plaintiffs fear, see 25 P.S. § 3501, et seq.
accountability measures inherent in that legislative plan.
                                                                   In this larger context, the Court cannot say that the
Pennsylvania did not authorize drop boxes in a vacuum. Last        balance Pennsylvania struck across the Election Code was
year, the Pennsylvania legislature “weigh[ed] the pros and         unreasonable, illegitimate, or otherwise not “sufficiently
cons,” Weber, 347 F.3d at 1107, and adopted a broader system       weighty to justify,” Crawford, 553 U.S. at 191, 128 S.Ct.



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1610, whatever ancillary risks may be associated with the            See Nolles v. State Comm. for Reorganization of Sch.
use of drop boxes, or with allowing counties to exercise             Districts, 524 F.3d 892, 898 (8th Cir. 2008) (“A canvass
discretion in that regard. Pennsylvania may balance the many         of substantive due process cases related to voting rights
important and often contradictory interests at play in the           reveals that voters can challenge a state election procedure
democratic process however it wishes, and it must be free to         in federal court only in limited circumstances, such as
do so “without worrying that a rogue district judge might later      when the complained of conduct discriminates against a
accuse it of drawing lines unwisely.” Abbott, 961 F.3d at 407.       discrete group of voters, when election officials refuse to
                                                                     hold an election though required by state law, resulting in a
 *51 Thus, balancing the slight burden of Plaintiffs’ claim of       complete disenfranchisement, or when the willful and illegal
dilution against the categories of interests above, the Court        conduct of election officials results in fraudulently obtained or
finds that the Commonwealth and Defendants’ interests in             fundamentally unfair voting results.”) (cleaned up); Yoshina,
administering a comprehensive county-based mail-in ballot            140 F.3d at 1226 (“We have drawn a distinction between
plan, while both promoting voting and minimizing fraud,              ‘garden variety’ election irregularities and a pervasive error
are sufficiently “weighty,” reasonable, and justified. Notably,      that undermines the integrity of the vote. In general, garden
in weighing the burdens and interests at issue, the Court is         variety election irregularities do not violate the Due Process
mindful of its limited role, and careful to not intrude on what is   Clause, even if they control the outcome of the vote or
“quintessentially a legislative judgment.” Griffin, 385 F.3d at      election.”) (citation omitted); Bennett v. Mollis, 590 F. Supp.
1131. “[I]t is the job of democratically-elected representatives     2d 273, 278 (D.R.I. 2008) (“Before an election error becomes
to weigh the pros and cons of various balloting systems.”            a key that unlocks the restraints on the federal court's authority
Weber, 347 F.3d at 1106. “So long as their choice is reasonable      to act, the Plaintiffs must demonstrate either an intentional
and neutral, it is free from judicial second-guessing.” Id.; see     election fraud or an unintentional error resulting in broad-
also Abbott, 961 at 407, (“That the line might have been             gauge unfairness.”).
drawn differently ... is a matter for legislative, rather than
judicial, consideration.”) (cleaned up); Trinsey v. Com. of Pa.,     Indeed, “only the most egregious official conduct can be said
941 F.2d 224, 235 (3d Cir. 1991) (“We take no position on the        to be arbitrary in the constitutional sense”—the “executive
balancing of the respective interests in this situation. That is     action must be so ill-conceived or malicious that it ‘shocks
a function for which the legislature is uniquely fitted.”).          the conscience.’ ” Miller v. City of Phila., 174 F.3d 368, 375
                                                                     (3d Cir. 1999) (cleaned up).
Thus, even under the Anderson-Burdick framework, the Court
finds that Plaintiffs’ constitutional challenge fails as a matter    Based on the slight burden imposed here, and the
of law.                                                              Commonwealth's interests in their overall county specific
                                                                     voting regime, which includes a host of other fraud-
                                                                     prevention measures, the Court finds that the drop-box claim
   B. Pennsylvania's use of drop boxes does not violate              falls short of the standard of substantive due process.
   federal due process.
In addition to their equal-protection challenge to the use
of drop boxes, Plaintiffs also appear to argue that the use          III. Defendants and Intervenors are entitled to summary
of unmanned drop boxes violates substantive due process              judgment on Plaintiffs’ signature-comparison claims.
protected by the 14th Amendment. This argument is just a              *52 Plaintiffs’ next claim concerns whether the Secretary's
variation on their equal-protection argument—i.e., the uneven        recent guidance on signature comparison violates the federal
use of drop boxes will work a “patent and fundamental                Constitution. Plaintiffs frame their claims pertaining to
unfairness” in violation of substantive due process principles.      signature comparison in two ways—one based on due process
See Griffin v. Burns, 570 F.2d 1065, 1077 (1st Cir. 1978)            and the other based on equal protection.
(substantive due process rights are violated “[i]f the election
process itself reaches the point of patent and fundamental           Plaintiffs initially assert that the Election Code requires a
unfairness[.]”). The analysis for this claim is the same as that     signature comparison for mail-in and absentee applications
for equal protection, and thus it fails for the same reasons.        and ballots. Thus, according to Plaintiffs, Secretary
                                                                     Boockvar's guidance, which says the opposite, is creating
But beyond that, this claim demands even stricter proof. Such        unconstitutional vote dilution, in violation of due-process
a claim exists in only the most extraordinary circumstances.         principles—i.e., certain unlawful, unverified ballots will


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now be counted, thereby diluting the lawful ones cast by           which requires the legislature, not an executive, to issue
other voters (such as in-person voters, whose signatures are       election laws).12
verified). Plaintiffs also appear to argue more generally that
absent signature comparison, there is a heightened risk of         12     The parties do not specifically brief the elements of an
voter fraud, and therefore a heightened risk of vote dilution
                                                                          Elections-Clause claim. This is typically a claim brought
of lawful votes.
                                                                          by a state legislature, and the Court has doubts that
                                                                          this is a viable theory for Plaintiffs to assert. See Lance
In addition to due process, Plaintiffs argue that the                     v. Coffman, 549 U.S. 437, 442, 127 S.Ct. 1194, 167
guidance violates equal-protection principles—first, by                   L.Ed.2d 29 (2007). Regardless, if state law does not
counties engaging in a patchwork of procedures (where some                require signature comparison, then there is no difference
counties intend to do a signature comparison for mail-in                  between the Secretary's guidance and the Election Code,
ballots, while others do not); and second, by implementing                and the Elections-Clause claim necessarily fails.
different standards between mail-in ballots and in-person           *53 Thus, a necessary predicate for these constitutional
ones.                                                              claims is whether the Election Code mandates signature
                                                                   comparison for mail-in and absentee ballots. If it doesn't,
In contrast, Defendants and Intervenors take the position          as the Secretary's guidance advises, then there can be no
that state law does not require signature comparison, and for      vote dilution as between lawful and unlawful votes, nor a
good reason. According to them, requiring such comparisons         usurpation of the legislature's authority in violation of the
is fraught with trouble, as signatures change over time and        Elections Clause.
elections officials are not signature-analysis experts. This
leaves open the possibility for arbitrary and discriminatory       After carefully considering the parties’ arguments and
application that could result in the disenfranchisement of         the relevant law, the Court finds that the plain language
valid voters.                                                      of the Election Code imposes no requirement for
                                                                   signature comparison for mail-in and absentee ballots and
For the reasons that follow, the Court will dismiss the
                                                                   applications.13 In other words, the Secretary's guidance is
signature-comparison claims and enter judgment in favor
                                                                   consistent with the Election Code, and creates no vote-
of Defendants. A plain reading of the Election Code
demonstrates that it does not impose a signature-comparison        dilution problems.14
requirement for mail-in ballots and applications, and thus
Plaintiffs’ vote-dilution claim sounding in due process fails      13     Several Defendants and Intervenors have asked this
at the outset. Further, the heightened risk of fraud resulting            Court to abstain from deciding this issue on the basis
from a lack of signature comparison, alone, does not rise                 of Pullman. As this Court previously discussed, a court
to the level of a federal constitutional violation. Finally, the          can abstain under Pullman if three factors are met:
equal-protection claims fail because there are sound reasons              “(1) [the dispute] requires interpretation of “unsettled
                                                                          questions of state law,”; (2) permitting resolution of
for the different treatment of in-person ballots versus mail-
                                                                          the unsettled state-law questions by state courts would
in ballots; and any potential burdens on the right to vote are
                                                                          “obviate the need for, or substantially narrow the scope
outweighed by the state's interests in their various election
                                                                          of adjudication of the constitutional claims”; and (3) an
security measures.                                                        “erroneous construction of state law would be disruptive
                                                                          of important state policies[.]” ” [ECF 409, p. 3 (quoting
                                                                          Chez Sez, 945 F.2d at 631) ]. But if, on the other
   A. The Election Code does not require signature
                                                                          hand, the answer to the state law dispute is “clear and
   comparison for mail-in and absentee ballots or ballot                  unmistakable,” abstention is not warranted. [Id. at p.
   applications.                                                          15 (citing Chez Sez, 945 F.2d at 632) ]. Here, the
Plaintiffs’ federal-constitutional claims in Count I of their             Court concludes (as discussed below) that the Election
Second Amended Complaint are partially based on the                       Code is clear that signature comparison is not required
Secretary's guidance violating state law. That is, Plaintiffs’            and further, that Plaintiffs’ competing interpretation is
first theory is that by the Secretary violating state law,                not plausible. As such, the Court cannot abstain under
unlawful votes are counted and thus lawfully cast votes are               Pullman.
diluted. According to Plaintiffs, this violates the 1st and 14th          The Pullman analysis does not change simply because
Amendments, as well as the Elections Clause (the latter of                Secretary Boockvar has filed a “King's Bench” petition



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       with the Pennsylvania Supreme Court, requesting that         information on the declaration, is tantamount to signature
       court to clarify whether the Election Code mandates          comparison. The Court disagrees, for at least three reasons.
       signature comparison of mail-in and absentee ballots and
       applications. [ECF 556, p. 11; ECF 557]. The fact that       First, nowhere does the plain language of the statute require
       such a petition was filed does not change this Court's
                                                                    signature comparison as part of the verification analysis of the
       conclusion that the Election Code is clear. The Pullman
                                                                    ballots.
       factors remain the same. And they are not met here.
14     The Secretary's September 11, 2020, guidance, stated         When interpreting a statute enacted by the Pennsylvania
       that the “Pennsylvania Election Code does not authorize      General Assembly, courts apply Pennsylvania's Statutory
       the county board of elections to set aside returned          Construction Act, 1 Pa. C.S. §§ 1501-1991. And as the Act
       absentee or mail-in ballots based solely on signature        instructs, the “object of all interpretation and construction
       analysis by the county board of elections.” [ECF 504-24,     of statutes is to ascertain and effectuate the intention of the
       p. 3, § 3]. Similarly, the Secretary's September 28,         General Assembly.” 1 Pa C.S. § 1921(a). If the words of
       2020, guidance stated that “Election Code does not
                                                                    the statute are clear and unambiguous, the letter of the law
       permit county election officials to reject applications or
                                                                    applies. Id. at § 1921(b). Otherwise, courts may consider
       voted ballots based solely on signature analysis. ... No
                                                                    a variety of factors to determine the legislature's intent,
       challenges may be made to mail-in and absentee ballots
                                                                    including “other statutes upon the same or similar subjects”
       at any time based on signature analysis.” [ECF 504-25,
       p. 9, § 5.2].                                                and “[t]he consequences of a particular interpretation.” Id. at
                                                                    § 1921(c)(5)-(6).
Plaintiffs, in advancing their claim, rely on section 3146.8(g)
(3)-(7) of the Election Code to assert that the Code requires
                                                                    Section 3146.8(g)(3) does not expressly require any signature
counties to “verify” the signatures on mail-in and absentee
                                                                    verification or signature comparison. 25 P.S. § 3146.8(g)
ballots (i.e., examine the signatures to determine whether
                                                                    (3). It instead requires election officials to (1) “examine the
they are authentic). Plaintiffs specifically point to section
                                                                    declaration on the envelope of each ballot,” (2) “compare
3146.8(g)(3) as requiring this signature verification. [ECF
                                                                    the information thereon with that contained in the ... ‘Voters
509, pp. 17-18].
                                                                    file’ [or] the absentee voters’ list,” and (3) if “the county board
                                                                    has [a] verified the proof of identification as required under
Section 3146.8(g)(3) states:
                                                                    this act and [b] is satisfied that the declaration is sufficient and
 When the county board meets to pre-canvass or canvass              the information contained in the [Voter's file] ... verifies his
 absentee ballots and mail-in ballots ... the board shall           right to vote,” the election official shall include the ballot to
 examine the declaration on the envelope of each ballot ...         be counted. Id.
 and shall compare the information thereon with that
 contained in the “Registered Absentee and Mail-in Voters           Under the express terms of the statute, then, the information
 File,” the absentee voters’ list and/or the “Military Veterans     to be “verified” is the “proof of identification.” Id. The
 and Emergency Civilians Absentee Voters File,” whichever           Election Code defines “proof of identification” as the mail-
 is applicable. If the county board has verified the proof of       in/absentee voter's driver's license number, last four digits of
 identification as required under this act and is satisfied that    their Social Security number, or a specifically approved form
 the declaration is sufficient and the information contained        of identification. 25 P.S. § 2602(z.5)(3)(i)-(iv).15 The only
 in the “Registered Absentee and Mail-in Voters File,” the          other “verification” the election official must conduct is to
 absentee voters’ list and/or the “Military Veterans and            determine whether “the information contained in the [Voter's
 Emergency Civilians Absentee Voters File” verifies his             file] ... verifies his right to vote.”
 right to vote, the county board shall provide a list of the
 names of electors whose absentee ballots or mail-in ballots        15      The Election Code's definition of “proof of
 are to be pre-canvassed or canvassed.                                      identification” in full provides:
*54 25 P.S. § 3146.8(g)(3).                                                    The words “proof of identification” shall mean ... For
                                                                               a qualified absentee elector ... or a qualified mail-in
According to Plaintiffs, Section 3146.8(g)(3)’s requirement                    elector ...:
to verify the proof of identification, and compare the




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          i. in the case of an elector who has been issued a current    the statute for context. See 1 Pa. C.S. § 1921(c)(5) (“When
          and valid driver's license, the elector's driver's license    the words of the statute are not explicit, the intention of the
          number;                                                       General Assembly may be ascertained by considering ... other
          ii. in the case of an elector who has not been issued a       statutes upon the same or similar subjects.”); O'Rourke v.
          current and valid driver's license, the last four digits of
                                                                        Commonwealth, 566 Pa. 161, 778 A.2d 1194, 1201 (2001)
          the elector's Social Security number;
                                                                        (“The cardinal rule of all statutory construction is to ascertain
          iii. in the case of an elector who has a religious
                                                                        and effectuate the intent of the Legislature. To accomplish that
          objection to being photographed, a copy of a
          document that satisfies paragraph (1) [i.e., “a valid-
                                                                        goal, we should not interpret statutory words in isolation, but
          without-photo driver's license or a valid-without-            must read them with reference to the context in which they
          photo identification card issued by the Department of         appear.” (citation omitted)).
          Transportation”]; or
          iv. in the case of an elector who has not been issued         Context here is important because the General Assembly
          a current and valid driver's license or Social Security       mandated signature comparison for in-person voting
          number, a copy of a document that satisfies paragraph         elsewhere in the Election Code—thus evidencing its intention
          (2) [i.e., “a document that shows the name of the             not to require such comparison for mail-in ballots. See Fonner
          individual to whom the document was issued and                v. Shandon, Inc., 555 Pa. 370, 724 A.2d 903, 907 (1999)
          the name substantially conforms to the name of the            (“[W]here a section of a statute contains a given provision,
          individual as it appears in the district register; shows
                                                                        the omission of such a provision from a similar section is
          a photograph of the individual to whom the document
                                                                        significant to show a different legislative intent.”) (citation
          was issued; includes an expiration date and is not
                                                                        omitted).
          expired, except (A) ... or (B) ...; and was issued by”
          the federal, state, or municipal government, or an
          “accredited Pennsylvania public or private institution        In addressing in-person voting, the General Assembly
          of higher learning [or] “a Pennsylvania are facility.”].      explicitly instructs that the election official shall, after
        25 P.S. § 2602(z.5)(3).                                         receiving the in-person elector's voter certificate, immediately
                                                                        “compare the elector's signature on his voter's certificate
 *55 Nowhere does this provision require the election
                                                                        with his signature in the district register. If, upon such
official to compare and verify the authenticity of the elector's
                                                                        comparison, the signature upon the voter's certificate appears
signature. In fact, the word “signature” is absent from the
                                                                        to be genuine, the elector who has signed the certificate shall,
provision. It is true that the elector must fill out and sign
                                                                        if otherwise qualified, be permitted to vote: Provided, That
the declaration included on the ballot. 25 P.S. §§ 3146.6(a),
                                                                        if the signature on the voter's certificate, as compared with
3150.16(a). However, while section 3146.8(g)(3) instructs the
                                                                        the signature as recorded in the district register, shall not be
election official to “examine the declaration ... and compare
                                                                        deemed authentic by any of the election officers, such elector
the information thereon with that contained in the [Voter's
                                                                        shall not be denied the right to vote for that reason, but shall
file],” the provision clarifies that this is so the election official
                                                                        be considered challenged as to identity and required to [cure
can be “satisfied that the declaration is sufficient.” 25 P.S.
                                                                        the deficiency].” 25 P.S. § 3050(a.3)(2) (emphasis added).
§ 3146.8(g)(3). In other words, the election official must be
“satisfied” that the declaration is “fill[ed] out, date[d] and
                                                                        Elsewhere, the General Assembly also explicitly accounts
sign[ed],” as required by sections 3150.16(a) and 3146.6(a)
                                                                        for signature comparison of in-person voters: “[I]f it is
of the Election Code. Notably absent is any instruction to
                                                                        determined that the individual was registered and entitled
verify the signature and set aside the ballot if the election
                                                                        to vote at the election district where the ballot was cast,
official believes the signature to be non-genuine. There is an
                                                                        the county board of elections shall compare the signature
obvious difference between checking to see if a signature was
                                                                        on the provisional ballot envelope with the signature on
provided at all, and checking to see if the provided signature is
                                                                        the elector's registration form and, if the signatures are
sufficiently authentic. Only the former is referred to in section
                                                                        determined to be genuine, shall count the ballot if the
3146.8(g)(3).
                                                                        county board of elections confirms that the individual did
                                                                        not cast any other ballot, including an absentee ballot, in the
Second, beyond the plain language of the statute, other
                                                                        election. ... [But a] provisional ballot shall not be counted
canons of construction compel the Court's interpretation.
                                                                        if ... the signature[s] required ... are either not genuine
When interpreting statutes passed by the General Assembly,
                                                                        or are not executed by the same individual ...” 25 P.S. §
Pennsylvania law instructs courts to look at other aspects of


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3050(a.4)(5)(i)-(ii) (emphasis added); see also 25 P.S. § 2936       deemed choice to affect the rights of household members is
(“[When reviewing nomination papers], the Secretary of the           conspicuously missing from Section 1705(a)(5).”).
Commonwealth or the county board of elections, although
not hereby required so to do, may question the genuineness           Accordingly, the Court finds that the General Assembly's
of any signature or signatures appearing thereon, and if             decision not to expressly refer to signature comparisons for
he or it shall thereupon find that any such signature or             mail-in ballots, when it did so elsewhere, is significant.
signatures are not genuine, such signature or signatures shall
be disregarded[.]” (emphasis added)).                                Third, this Court is mindful that Pennsylvania's election
                                                                     statutes are to be construed in a manner that does not risk
 *56 Clearly then, the General Assembly, in enacting the             disenfranchising voters. See, e.g., 1 Pa. C.S. § 1922(3) (“In
Election Code, knew that it could impose a signature-                ascertaining the intention of the General Assembly in the
comparison requirement that requires an analysis to                  enactment of a statute the following presumptions, among
determine whether a signature is “genuine.” And when                 others, may be used: ... That the General Assembly does not
that was its intent, the General Assembly explicitly and             intend to violate the Constitution of the United States or of
unequivocally imposed that requirement. It is thus telling,          this Commonwealth.”); id. at § 1921(c)(6) (in interpreting
from a statutory construction standpoint, that no such explicit      a statute, the court may consider “[t]he consequences of a
requirement is imposed for returned mail-in or absentee              particular interpretation”).
ballots. Indeed, the General Assembly is aware—and in fact,
requires—that a voter must sign their application for an             As the Pennsylvania Supreme Court emphasized last month,
absentee or mail-in ballot, and must sign the declaration            “[I]t is well-settled that, although election laws must be
on their returned ballot. 25 P.S. §§ 3146.2(d) (absentee-            strictly construed to prevent fraud, they ordinarily will be
ballot application), 3150.12(c) (mail-in-ballot application),        construed liberally in favor of the right to vote. Indeed,
3146.6(a) (absentee-voter declaration), 3150.16(a) (mail-in          our goal must be to enfranchise and not to disenfranchise
voter declaration). Despite this, the General Assembly did           the electorate.” Boockvar, ––– A.3d at ––––, 2020 WL
not mention a signature-comparison requirement for returned          5554644, at *9 (cleaned up); see also id. (“[A]lthough both
absentee and mail-in ballots.                                        Respondent and the Caucus offer a reasonable interpretation
                                                                     of Section 3150.16(a) as it operates within the Election Code,
The Court concludes from this context that this is because the       their interpretation restricts voters’ rights, as opposed to
General Assembly did not intend for such a requirement. See,         the reasonable interpretation tendered by Petitioner and the
e.g., Mishoe v. Erie Ins. Co., 573 Pa. 267, 824 A.2d 1153,           Secretary. The law, therefore, militates in favor of this Court
1155 (2003) (“In arriving at our conclusion that the foregoing       construing the Election Code in a manner consistent with the
language does not provide for the right to a jury trial, we relied   view of Petitioner and the Secretary, as this construction of the
on three criteria. First, we put substantial emphasis on the         Code favors the fundamental right to vote and enfranchises,
fact that the PHRA was silent regarding the right to a jury trial.   rather than disenfranchises, the electorate.”).
As we explained, ‘the General Assembly is well aware of its
ability to grant a jury trial in its legislative pronouncements,’     *57 Here, imposing a signature-comparison requirement as
and therefore, ‘we can presume that the General Assembly's           to mail-in and absentee ballots runs the risk of restricting
express granting of trial by jury in some enactments means           voters’ rights. This is so because election officials, unstudied
that it did not intend to permit for a jury trial under the PHRA.’   and untested in signature verification, would have to
” (cleaned up) (emphasis added)); Holland v. Marcy, 584              subjectively analyze and compare signatures, which as
Pa. 195, 883 A.2d 449, 456, n.15 (2005) (“We additionally            discussed in greater detail below, is potentially problematic.16
note that the legislature, in fact, did specify clearly when         [ECF 549-2, p. 19, ¶ 68]; [ECF 549-9, p. 20, ¶ 64].
it intended the choice of one individual to bind others. In          And perhaps more importantly, even assuming an adequate,
every other category addressed by Section 1705(a) other              universal standard is implemented, mail-in and absentee
than (a)(5) which addressed uninsured owners, the General            voters whose signatures were “rejected” would, unlike in-
Assembly specifically referenced the fact that the decision          person voters, be unable to cure the purported error. See
of the named insured ... binds other household members....           25 P.S. § 3146.8(a) (stating that in-person and absentee
Similar reference to the ability of the uninsured owner's            ballots “shall [be safely kept] in sealed or locked containers
                                                                     until they are to be canvassed by the county board of



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elections,” which § 3146.8(g)(1.1)-(2) states is no earlier          “those absentee ballots or mail-in ballots for which proof
than election day); Boockvar, ––– A.3d at ––––, 2020 WL              of identification has not been received or could not be
5554644, at *20 (“[A]lthough the Election Code provides              verified.” 25 P.S. § 3146.8(h). As discussed above, “proof
the procedures for casting and counting a vote by mail, it           of identification” is a defined term, and includes the voter's
does not provide for the ‘notice and opportunity to cure’            driver's license number, last four digits of their Social Security
procedure sought by Petitioner. To the extent that a voter is at     number, or a specifically approved form of identification.
risk for having his or her ballot rejected due to minor errors       25 P.S. § 2602(z.5)(3)(i)-(iv). Not included is the voter's
made in contravention of those requirements, we agree that           signature.17
the decision to provide a ‘notice and opportunity to cure’
procedure to alleviate that risk is one best suited for the          17      Plaintiffs also argue that signature comparison for mail-
Legislature.”). As discussed in more detail below, unlike in-
                                                                             in and absentee ballots is supported by historical case
person voters, whose signatures are verified in their presence,
                                                                             law. [ECF 552, pp. 58-59]. Plaintiffs cite to two cases
mail-in and absentee voters’ signatures would be verified at a               from the 1960s that the Court of Common Pleas decided.
later date outside the presence of the voter. See generally 25               [Id.]. The first, Appeal of Fogleman, concluded that
P.S. § 3146.8(a), (g) (requiring mail-in and absentee ballots                under the then-applicable election law, an absentee voter
to be kept secured in a sealed container until Election Day).                had to sign a declaration to show that he was a proper
Unbeknownst to the voter, then, and without an opportunity                   resident who had not already voted in that election. 36 Pa.
to remedy the purported error, these mail-in and absentee                    D. & C.2d 426, 427 (Pa. Ct. Comm. Pl. 1964). Regarding
voters may not have their votes counted. Based on this risk                  the voter's signature, the court simply stated, “[i]f the
of disenfranchisement, which the Court must consider in                      elector fails or refuses to attach his or her signature,
interpreting the statute, the Court cannot conclude that this                then such elector has not completed the declaration as
                                                                             required by law of all voters.” Id. Thus, no signature
was the General Assembly's intention.
                                                                             comparison or verification was implicated there; rather,
                                                                             the court simply stated that the declaration must be
16      While election officials must engage in signature                    signed (i.e., completed). The second case Plaintiffs cite,
        comparison for in-person voters, that requirement is                 In re Canvass of Absentee Ballots of Gen. Election
        explicitly required by the Election Code, unlike for mail-           [ECF 552, pp. 58-59], arose from individual, post-
        in ballots. 25 P.S. § 3050(a.3)(2). And as discussed                 election challenges to 46 individual absentee ballots.
        below, in-person voters, unlike mail-in voters, are                  39 Pa. D. & C.2d 429, 430 (Pa. Ct. Comm. Pl. 1965).
        immediately notified if their signatures are deficient.              Thus, a universal and mandatory signature-comparison
The Court is not persuaded by Plaintiffs’ arguments to the                   requirement was not at issue there, unlike what Plaintiffs
contrary.                                                                    contest here. This Court finds neither case persuasive.
                                                                      *58 At bottom, Plaintiffs request this Court to impose
Plaintiffs argue that section 3146.8(g)(5)-(7) provides a            a requirement—signature comparison—that the General
voter, whose ballot-signature was rejected, notice and an            Assembly chose not to impose. Section 3146.8(g)(3) does not
opportunity to cure the signature deficiency. [ECF 509, pp.          mention or require signature comparison. The Court will not
13, 18, 50]. That section, however, refers to when a person          write it into the statute.
raises a specific challenge to a specific ballot or application on
the grounds that the elector is not a “qualified elector.” 25 P.S.   For the same reasons that the Election Code does not
§ 3146.8(g)(4) (stating that mail-in and absentee ballots shall      impose a signature-comparison requirement for mail-in and
be counted unless they were challenged under §§ 3146.2b              absentee ballots, the Election Code does not impose a
or 3150.12b, which allow challenges on the grounds that              signature-comparison requirement for mail-in and absentee
the elector applying for a mail-in or absentee ballot wasn't         ballot applications. While the General Assembly imposed
qualified). Thus, the “challenges” referenced in § 3146.8(g)         a requirement that the application be signed, there is no
(5)-(7) refer to a voter's qualifications to vote, not a signature   mention of a requirement that the signature be verified,
verification.                                                        much less that the application be rejected based solely
                                                                     on such verification. 25 P.S. §§ 3146.2(d) (absentee-ballot
Plaintiffs similarly argue that section 3146.8(h) provides           application), 3150.12(c) (mail-in-ballot application). Again,
mail-in voters notice and opportunity to cure signature              finding no explicit instructions for signature comparison here
deficiencies. [ECF 552, p. 60]. But that section relates to          (unlike elsewhere in the Code), the Court concludes that



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the General Assembly chose not to include a signature-                fundamental right to vote, resulting in a due-process violation,
comparison requirement for ballot applications.                       and thus strict scrutiny applies. The Court disagrees.

The Court again finds Plaintiffs’ arguments to the contrary            *59 As discussed above in the context of Plaintiffs’
unavailing. Plaintiffs argue that “there is no other proof            drop-box claim, Plaintiffs’ claim here simply does not rise
of identification required to be submitted with the ballot            to the high level for a substantive due process claim.
applications,” and thus, a signature comparison must be               To violate substantive due process in the voting-rights
required. [ECF 509, p. 16].                                           context, the infringements are much more severe. Only
                                                                      in extraordinary circumstances will there be “patent and
But the Election Code expressly requires the applicant to             fundamental unfairness” that causes a constitutional harm.
include several pieces of identifying information, including          See Bonas v. Town of North Smithfield, 265 F.3d 69, 74 (1st
their name, mailing address, and date of birth. 25 P.S. §§            Cir. 2001); Shannon v. Jacobowitz, 394 F.3d 90, 94 (2d Cir.
3146.2(b), 3150.12(b). And after receiving the applicant's            2005).
application, the election official must “verify[ ] the proof
of identification [a defined term as discussed above] and             Here, Plaintiffs’ signature-comparison claim does not meet
compar[e] the information provided on the application with            this high standard. This isn't a situation of malapportionment,
the information contained on the applicant's permanent                disenfranchisement, or intentional discrimination. And the
registration card.”18 Id. at §§ 3146.2b(c), 3150.12b(a). Thus,        risk of voter fraud generally without signature comparison
contrary to Plaintiffs’ argument, the General Assembly                —as a matter of fact and law—does not rise to “patent and
provided for certain methods of identification as to ballot           fundamental unfairness.”
applications. Signature verification isn't one of them.
                                                                      Indeed, as discussed above, Plaintiffs’ evidence of potential
18                                                                    voter fraud here is insufficient to establish “patent and
        This identifying information on a ballot application
                                                                      fundamental unfairness.” In their summary-judgment brief,
        includes much of the same information expressly listed
                                                                      Plaintiffs argue that “the Secretary's September 2020
        for what a voter must provide in initially registering
        to vote. 25 Pa. C.S.A. § 1327(a) (stating that the            guidance memos promote voter fraud.” [ECF 509, p.
        “official voter registration application” shall request the   48]. Plaintiffs then offer a hypothetical where a parent
        applicant's: full name, address of residence (and mailing     signs a ballot application on their child's behalf because
        address if different), and date of birth).                    the child is out-of-state. [ECF 509, p. 48]. Plaintiffs
                                                                      assert that without signature comparisons, such “fraud”
For these reasons, the Court concludes that the Election
                                                                      could proceed unchecked. [Id.]. Plaintiffs continue, arguing
Code does not impose a signature-comparison requirement
                                                                      that the “fraud” would “snowball,” so that “spouses,
for absentee and mail-in ballots and applications. As such,
                                                                      neighbors, acquaintances, strangers, and others” were signing
the Secretary's September 11, 2020, and September 28, 2020,
                                                                      applications and ballots on others’ behalf. [Id. at pp. 48-49].
guidance is consistent with the Election Code. Plaintiffs’
                                                                      To prevent such fraud, Plaintiffs’ expert, Mr. Riddlemoser,
claims of vote dilution based on this guidance will therefore
                                                                      asserts that signature comparison is needed. [ECF 504-19, p.
be dismissed.
                                                                      10 (“Not only does enforcing the Election Code's requirement
                                                                      of a completed and signed declaration ensure uniformity,
   B. The lack of a signature comparison does not violate             which increases voter confidence, it also functions to reduce
   substantive due process.                                           fraud possibilities by allowing signature verification.”) ].
In addition to alleging that the Secretary's guidance violates
the Election Code, Plaintiffs appear to also argue that their         Mr. Riddlemoser first highlights that in Philadelphia in the
right to vote is unconstitutionally burdened and diluted due to       primary, ballots were counted “that lacked a completed
a risk of fraud. That is, regardless of what the Election Code        declaration.” [Id. at p. 11]. Mr. Riddlemoser further opines
requires, Plaintiffs assert that absent signature comparison,         that the September 11, 2020, guidance and September 28,
mail-in and absentee ballots will be prone to fraud, thereby          2020, guidance, in instructing that signature comparison is
diluting other lawful ballots. [ECF 509, pp. 45-50; 504-19,           not required for mail-in and absentee ballots and applications,
pp. 10-15]. Plaintiffs argue that this significantly burdens their    “encourage[s], rather than prevent[s], voter fraud.” [Id. at pp.
                                                                      12-13]. Mr. Riddlemoser also notes that signature comparison



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is “the most common method” to verify ballots and that             procedures employed by the Commonwealth are sufficient
the Secretary's guidance “leave the absentee/mail-in ballots       to prevent that fraud. That is a decision left to the General
subject to the potential for unfettered fraud.” [Id. at p.         Assembly, not to the meddling of a federal judge. Crawford,
14]. He concludes that the guidance “invites the dilution of       553 U.S. at 208, 128 S.Ct. 1610 (Scalia, J. concurring) (“It
legitimately cast votes.” [Id.].                                   is for state legislatures to weigh the costs and benefits of
                                                                   possible changes to their election codes, and their judgment
Based on this evidentiary record, construed in Plaintiffs’         must prevail unless it imposes a severe and unjustified overall
favor, the Court cannot conclude that there exists “patent and     burden upon the right to vote, or is intended to disadvantage a
fundamental unfairness.” Rather, Plaintiffs present only the       particular class.”). Griffin, 385 F.3d at 1131-32 (“[S]triking of
possibility and potential for voter fraud. In their briefing,      the balance between discouraging fraud and other abuses and
Plaintiffs relied on hypotheticals, rather than actual events.     encouraging turnout is quintessentially a legislative judgment
[ECF 509, p. 48]. Mr. Riddlemoser admits that failing to           with which we judges should not interfere unless strongly
verify signatures only creates “the potential” for fraud and       convinced that the legislative judgment is grossly awry.”).
“invites” vote dilution. [ECF 504-19, pp. 14, 15]. Even
assuming an absence of signature comparison does indeed
invite the potential for fraud, the nondiscriminatory, uniform       C. Plaintiffs’ federal equal-protection claims based on
practice and guidance does not give rise to “patent and              signature comparison fail.
fundamental unfairness” simply because of a “potential” for        Plaintiffs present two federal equal-protection claims. The
fraud. Plaintiffs have not presented evidence to establish a       Court will address each in turn.
sufficient burden on their constitutional right to vote.

 *60 Indeed, even if the Court assumed some “forged”               1. County differences over signature comparison do not
applications or ballots were approved or counted, this is          violate federal equal-protection rights.
insufficient to establish substantial, widespread fraud that
undermines the electoral process. Rather, limited instances of     Plaintiffs’ first federal equal-protection claim is based on
“forged” ballots—which according to Plaintiffs’ definition,        some county boards of elections intending to verify the
includes an individual signing for their spouse or child—          signatures on mail-in and absentee ballots and applications,
amount to what the law refers to as “garden variety” disputes      while others do not intend to do so. To that end, Plaintiffs
of limited harm. As has long been understood, federal courts       have presented evidence that some, but not all, counties do
should not intervene in such “garden variety” disputes.            intend to verify signatures. E.g., [ECF 504-1].19 According
Hutchinson, 797 F.2d at 1283 (“[C]ourts have uniformly             to Plaintiffs, this arbitrary and differential treatment of
declined to endorse action under § 1983 with respect to            mail-in and absentee ballots among counties—purportedly
garden variety election irregularities.”) (cleaned up); Yoshina,   caused by the Secretary's September 11, 2020, and September
140 F.3d at 1226 (“In general, garden variety election             28, 2020, guidance—violates the Equal-Protection Clause
irregularities do not violate the Due Process Clause, even if      because voters will be treated differently simply because of
they control the outcome of the vote or election.” (collecting     the county in which they reside. The Court, however, finds no
cases)); Curry v. Baker, 802 F.2d 1302, 1314-15 (11th Cir.         equal-protection violation in this context.
1986) (“[I]f the election process itself reaches the point of
patent and fundamental unfairness, a violation of the due          19      The counties that intend to compare and verify signatures
process clause may be indicated and relief under § 1983                    in the upcoming election include at least the following
therefore in order. Such a situation must go well beyond                   counties: Cambria, Elk, Franklin, Juniata, Mifflin,
the ordinary dispute over the counting and marking of                      Sullivan, Susquehanna, and Wyoming. [ECF 504-1].
ballots.” (cleaned up)).
                                                                   The Secretary's guidance about which Plaintiffs complain
                                                                   is uniform and nondiscriminatory. It was issued to all
To be clear, the Court does not take Plaintiffs’ allegations
                                                                   counties and applies equally to all counties, and by extension,
and evidence lightly. Election fraud is serious and disruptive.
                                                                   voters. Because the uniform, nondiscriminatory guidance
And Plaintiffs could be right that the safer course would
                                                                   is rational, it is sound under the Equal-Protection Clause.
be to mandate signature comparison for all ballots. But
                                                                   See Gamza, 619 F.2d at 453 (5th Cir. 1980) (“We must,
what Plaintiffs essentially complain of here is whether the
                                                                   therefore, recognize a distinction between state laws and


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patterns of state action that systematically deny equality in     It is well-settled that states may employ in-person voting,
voting, and episodic events that, despite non-discriminatory      absentee voting, and mail-in voting and each method need not
laws, may result in the dilution of an individual's vote.         be implemented in exactly the same way. See Hendon, 710
Unlike systematically discriminatory laws, isolated events        F.2d at 181 (“A state may employ diverse methods of voting,
that adversely affect individuals are not presumed to be a        and the methods by which a voter casts his vote may vary
violation of the equal protection clause.”) (citation omitted).   throughout the state.”)
Indeed, the guidance merely instructs counties to abide by the
Election Code—an instruction to follow the law is certainly       “Absentee voting is a fundamentally different process from
rational and related to an obviously rational government          in-person voting, and is governed by procedures entirely
interest.                                                         distinct from in-person voting procedures.” ACLU of New
                                                                  Mexico v. Santillanes, 546 F.3d 1313, 1320 (10th Cir. 2008)
 *61 In fact, if there is any unequal application now, it is      (citations omitted). It is an “obvious fact that absentee
caused by those counties that are not following the guidance      voting is an inherently different procedure from in-person
and are going above and beyond the Election Code to impose        voting.” Indiana Democratic Party v. Rokita, 458 F. Supp.
a signature-comparison requirement. That claim, though, is        2d 775, 830-31 (S.D. Ind. 2006). Because in-person voting
not before the Court, as Plaintiffs here do not assert that       is “inherently different” from mail-in and absentee voting,
imposing a signature-comparison requirement violates the          the procedures for each need not be the same. See, e.g.,
Constitution (they allege the opposite).                          Santillanes, 546 F.3d at 1320-21 (“[B]ecause there are clear
                                                                  differences between the two types of voting procedures, the
In any event, to the extent there was uncertainty before,         law's distinction is proper.”); Rokita, 458 F. Supp. 2d at 831
this decision informs the counties of the current state of        (“[I]t is axiomatic that a state which allows for both in-
the law as it relates to signature comparison. If any county      person and absentee voting must therefore apply different
still imposes a signature-comparison requirement in order         requirements to these two groups of voters.”); Billups, 439
to disallow ballots, it does so without support from the          F. Supp. 2d at 1356-57 (“[A]bsentee voting and in-person
Secretary's guidance or the Election Code. Further, counties      voting are inherently different processes, and both processes
that impose this signature-comparison requirement to reject       use different standards, practices, and procedures.”).
ballots may be creating a different potential constitutional
claim for voters whose ballots are rejected. Boockvar, –––        Plaintiffs argue that while absentee and mail-in voting “is
A.3d at ––––, 2020 WL 5554644, at *34, n.16 (Wecht, J.            a fundamentally different process from in-person voting,”
concurring) (noting that courts around the country have found     Defendants have “no justification in this instance to create
due process issues with signature-comparison requirements;        such an arbitrary and disparate rule between absentee/mail-in
and collecting cases).                                            voters and in-person voters.” [ECF 509, p. 51]. Not so.

For these reasons, Plaintiffs’ equal-protection claim falls        *62 Because of the “inherent” differences between in-
short.                                                            person voting and mail-in and absentee voting, Pennsylvania's
                                                                  requirement for signature comparison for in-person ballots,
                                                                  but not mail-in and absentee ballots, is not arbitrary. By
                                                                  way of example, Secretary Boockvar articulated several valid
2. Different treatment between in-person ballots and mail-
                                                                  reasons why Pennsylvania implements different verification
in ballots also does not violate federal equal-protection
                                                                  procedures for mail-in and absentee voters versus in-person
rights.
                                                                  voters. [ECF 504-12; ECF 549-2].
Plaintiffs also assert a second federal equal-protection claim
on the grounds that the Election Code, by not requiring           In her deposition, Secretary Boockvar explained that for
signature comparison for mail-in and absentee ballots, treats     in-person voters, the only possible verification is signature
such ballots differently than in-person ballots (which require    comparison and verification. [ECF 504-12, 55:19-56:19].
signature comparisons). Plaintiffs argue that this is an          This is because, unlike mail-in and absentee voters who must
unconstitutionally arbitrary and unequal treatment. The Court     apply for a ballot, in-person voters may simply show up at
disagrees.                                                        the polls on Election Day and vote. In contrast, for mail-
                                                                  in and absentee voters, there are several verification steps



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implemented before the voter's mail-in/absentee ballot is            district as a witness, who shall make affidavit of his identity or
counted, such as checking their application and their drivers’       continued residence in the election district.” Id. at § 3050(d).
license number or social security number. [Id. at 56:8-19].          Thus, the in-person voter whose signature is not verified is
Thus, counties don't need to resort to a signature comparison        immediately notified, is still allowed to cast a ballot, and is
to identify and verify the mail-in or absentee voter.                given the opportunity to remedy the signature-deficiency.

This is important, as Defendants and Intervenors present              *63 In contrast, a voter who casts a mail-in or absentee
valid concerns about the uniformity and equality of signature        ballot cannot be afforded this opportunity. Absentee and mail-
comparisons, in part, due to the technical nature of signature       in ballots are kept in “sealed or locked containers” until they
analysis, the subjective underpinnings of signature analysis,        are “canvassed by the county board of elections.” 25 P.S. §
and the variety of reasons that signatures can naturally change      3146.8(a). The pre-canvassing and canvassing cannot begin
over time. [ECF 549-2, pp. 19-20, ¶ 68; ECF 549-9, p. 20,            until Election Day. Id. at § 3146.8(g)(1.1)-(2). As such, the
¶¶ 63-64]. Such factors can reasonably justify not requiring         absentee and mail-in ballots cannot be verified until Election
a signature comparison when the elector is not physically            Day, regardless of when the voter mails the ballot. Further,
present.                                                             even if there were sufficient time, a voter cannot cure these
                                                                     types of deficiencies on their mail-in or absentee ballot.
For example, Secretary Boockvar notes the concern with non-          Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *20
handwriting-expert election officials comparing signatures,          (“[A]lthough the Election Code provides the procedures for
without uniform standards. [ECF 549-2, pp. 19-20, ¶ 68].             casting and counting a vote by mail, it does not provide for
She also notes that people's signatures can change over time,        the “notice and opportunity to cure” procedure sought by
due to natural and unavoidable occurrences, like injuries,           Petitioner.”).
arthritis, or the simple passage of time. [Id.]. Such reasons
are valid and reasonable. See Boockvar, ––– A.3d at ––––,            Therefore, if mail-in and absentee ballots were subject to
2020 WL 5554644, at *34 (Wecht, J. concurring) (“Signature           signature comparison, an election official—who is unstudied
comparison is a process fraught with the risk of error and           in the technical aspects of signature comparison—could deem
inconsistent application, especially when conducted by lay           a voter's signature problematic and not count the ballot, which
people.”).                                                           would effectively disenfranchise that voter. Unlike the in-
                                                                     person voter, the mail-in or absentee voter may not know that
Secretary Boockvar further asserts that signature comparison         his or her signature was deemed inauthentic, and thus may be
is justified for in-person voting, but not mail-in or absentee       unable to promptly cure the deficiency even if he or she were
voting, because the in-person voter is notified of his or            aware.
her signature deficiency, and afforded an opportunity to
cure. [ECF 549-2, pp. 19-20, ¶¶ 66-68 (explaining that in-           Accordingly, the Court concludes that the inherent differences
person voters can be immediately notified of the signature           and opportunities afforded to in-person voters compared to
deficiency, but mail-in/absentee voters cannot) ]. Secretary         mail-in and absentee voters provides sufficient reason to treat
Boockvar's justifications are consistent with the Election           such voters differently regarding signature comparison. The
Code's framework.                                                    Court concludes that the lack of signature comparison for
                                                                     mail-in and absentee ballots is neither arbitrary, nor burdens
When a voter votes in person, he or she signs the voter's            Plaintiffs’ equal-protection rights.
certificate, and the election official immediately, in the voter's
presence, verifies the signature. 25 P.S. § 3050(a.3)(1)-(2). If     For these reasons, the Court will dismiss Plaintiffs’ federal
the election official finds the signature to be problematic, the     equal-protection claims related to signature comparison.
in-person voter is told as such. Id. at § 3050(a.3)(2). Notably,
however, the in-person voter may still cast a ballot. Id. (“[I]f
the signature on the voter's certificate ... shall not be deemed
                                                                     3. The Election Code provisions related to signature
authentic by any of the election officers, such elector shall not
                                                                     comparison satisfy Anderson-Burdick.
be denied the right to vote for that reason[.]”). The in-person
voter whose signature is questioned must, after casting the          Finally, even assuming the Election Code's absence of
ballot, “produce at least one qualified elector of the election      a signature-comparison requirement imposes some burden



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on Plaintiffs’ constitutional rights, Plaintiffs’ constitutional       extraordinary reasons to, the Court is not to second-guess the
claims still fail.                                                     legislature.

As discussed above with respect to Defendants’ drop-box
implementation, Anderson-Burdick does not apply neatly to              IV. Defendants and Intervenors are entitled to summary
this claim either. This is because Plaintiffs aren't challenging       judgment on Plaintiffs’ as-applied, federal constitutional
a specific regulation affecting their right to vote, but are           challenge to the county-residency requirement for poll
instead challenging the lack of a restriction on someone else's        watchers.
right to vote. This makes both the burden difficult to assess          Plaintiffs next take exception with the provision of the
and also the state's interests in not doing something more             Election Code that restricts a registered voter from serving as
abstract. As such, the Court finds that the proper application         a poll watcher outside the county of his or her residence. [ECF
of the Anderson-Burdick framework here includes weighing               461, ¶ 217].
the burden involving Plaintiffs’ risk of vote dilution against
the state's interests and overall plan in preventing against           Plaintiffs argue that “[a]s applied to the 2020 General
voter fraud, including with respect to forged mail-in ballots.         Election, during the midst of the COVID-19 pandemic,
                                                                       Pennsylvania's residency requirement for watchers violates
Weighing these considerations compels a conclusion that                equal protection.” [ECF 509, p. 58]. That's because, according
there is no constitutional violation here. With respect to any         to Plaintiffs, the “current pandemic severely challenges the
burden on Plaintiffs’ right to vote, that burden is slight, at best.   ability of parties to staff watchers[.]” [Id. at p. 60]. And
A failure to engage in a signature comparison may, crediting           not having enough poll watchers in place “puts into danger
Plaintiffs’ evidence, increase the risk of voter fraud. But even       the constitutionally-guaranteed right to a transparent and
then, this remains a largely speculative concern. This burden          undiluted vote,” [id. at p. 68], by “fostering an environment
too is lessened by the numerous other regulations imposed              that encourages ballot fraud or tampering,” [ECF 461, ¶
by the Election Code, including the detailed verification              256]. As such, Plaintiffs believe that the county residency
procedure as to the information on mail-in ballots (discussed          requirement “is not rationally connected or reasonably related
above), and the deterrence furthered by criminal sanctions for         to any interest presented by the Commonwealth.” [ECF 509,
those engaging in such voter fraud.                                    p. 63].


Against these burdens, the Commonwealth has precise and                Defendants and Intervenors have a markedly different view.
weighty interests in verifying ballot applications and ballots
in an appropriate manner to ensure that they are accurate.             As an initial matter, the Democratic Intervenors argue that
As discussed above, the Commonwealth determined that the               Plaintiffs “are precluded from relitigating their claim that the
risk of disenfranchising mail-in and absentee voters, did not          Commonwealth lacks a constitutionally recognized basis for
justify signature comparison for those voters. [ECF 549-2,             imposing a county-residence restriction for poll watchers”
pp. 19-20, ¶¶ 66-69]. Unlike for in-person voters, there               based on the doctrine articulated in England v. Louisiana
are other means of identifying and verifying mail-in and               State Bd. of Med. Examiners, 375 U.S. 411, 84 S.Ct. 461,
absentee voters, such as having to specifically apply for a            11 L.Ed.2d 440 (1964). [ECF 529, p. 16]. That doctrine
mail-in or absentee ballot and provide various categories              requires that after a federal court has abstained under
of identifying information. [ECF 504-12, 55:19-56:19]; 25              Pullman, the plaintiff must expressly reserve the right to
P.S. §§ 3146.2(b), 3150.12(b). And ultimately, due to the              litigate any federal claims in federal court while litigating
slight burden imposed on Plaintiffs, Pennsylvania's regulatory         state-law issues in state court. England, 375 U.S. at 419,
interests in a uniform election pursuant to established                421-22, 84 S.Ct. 461. Defendants and Intervenors contend
procedures is sufficient to withstand scrutiny. Timmons, 520           that Plaintiffs (specifically, the Trump Campaign, the RNC,
U.S. at 358, 117 S.Ct. 1364.                                           and the Republican Party) failed to do so in the proceedings
                                                                       before the Pennsylvania Supreme Court.
 *64 The General Assembly opted not to require
signature comparisons for mail-in and absentee ballots                 And if the England doctrine doesn't bar this claim, Defendants
and applications. And as previously discussed, absent                  and Intervenors argue that “Plaintiffs’ as-applied challenge
                                                                       simply fails to state a constitutional claim.” See, e.g.,
                                                                       [ECF 547, p. 65]. They believe that the county-residency


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requirement does not infringe on a fundamental right or
regulate a suspect classification (such as race, sex, or            Second, even if it were triggered, not all of the Plaintiffs here
national origin). [Id.]. As a result, the Commonwealth need         were parties in the Pennsylvania Supreme Court case, and
only provide a rational basis for the requirement, which            only one (the Republican Party) was even given intervenor
Defendants and Intervenors believe the Commonwealth has             status. But even the Republican Party, acting as an intervenor,
done. [Id.].                                                        did not have an opportunity to develop the record or present
                                                                    evidence relevant to its as-applied challenge. Thus, this claim
After carefully reviewing the record and considering the            wasn't “fully litigated” by any of the Plaintiffs, which is
parties’ arguments and evidence, the Court finds that the           a necessary condition for the claim to be barred under the
England doctrine does not bar Plaintiffs’ ability to bring this     England doctrine. Cf. Bradley v. Pittsburgh Bd. of Educ., 913
claim. Even so, after fully crediting Plaintiffs’ evidence, the     F.2d 1064, 1073 (3d Cir. 1990) (explaining that a litigant “may
Court agrees with Defendants and Intervenors that Plaintiffs’       not relitigate an issue s/he fully and unreservedly litigated in
as-applied challenge fails on the merits.                           state court”).

                                                                    Thus, Plaintiffs are not precluded by the England doctrine
   A. The England doctrine does not bar Plaintiffs’ federal         from bringing their remaining as applied poll-watcher claim.
   challenge to the county-residency requirement.                   The Court will now address the claim on the merits.
 *65 In England, the Supreme Court established that after a
federal court abstains under Pullman, “if a party freely and
without reservation submits his federal claims for decision by         B. The county-residency requirement, as applied to the
the state courts, litigates them there, and has them decided           facts presented and the upcoming general election, does
there, then ... he has elected to forgo his right to return to         not violate the U.S. Constitution.
the District Court.” 375 U.S. at 419, 84 S.Ct. 461. To reserve      Originally, Plaintiffs raised a facial challenge to the county-
those rights, a plaintiff forced into state court by way of         residency requirement under 25 P.S. § 2687. That is,
abstention must inform the state court that he is exposing the      Plaintiffs first took the position that there was no conceivable
federal claims there only to provide the proper context for         constitutional application of the requirement that an elector be
considering the state-law questions. Id. at 421, 84 S.Ct. 461.      a resident of the county in which he or she seeks to serve. But,
And that “he intends, should the state court[ ] hold against        as Plaintiffs’ concede, that facial challenge is no longer viable
him on the question of state law, to return to the District Court   in light of the Pennsylvania Supreme Court's recent decision.
for disposition of his federal contentions.” Id. Essentially, in    [ECF 448, p. 10]. As a result, Plaintiffs now focus solely
England, the Supreme Court created a special doctrine of res        on raising an as-applied challenge to the county-residency
judicata for Pullman abstention cases.                              requirement.

The Democratic Intervenors argue that because none of the           “[T]he distinction between facial and as-applied challenges is
three Plaintiffs who participated in the Pennsylvania Supreme       not so well defined that it has some automatic effect or that
Court case as either intervenors or amici “reserved the right       it must always control the pleadings and disposition in every
to relitigate [Plaintiffs’ poll-watcher claim] in federal court,”   case involving a constitutional challenge.” Citizens United v.
they are now “precluded” from doing so. [ECF 529, p. 17].           Fed. Election Comm'n, 558 U.S. 310, 331, 130 S.Ct. 876, 175
The Court is not convinced that this doctrine bars Plaintiffs’      L.Ed.2d 753 (2010).
claim for at least two reasons.
                                                                    At a fundamental level, a “facial attack tests a law's
First, in its original abstention decision, the Court noted that    constitutionality based on its text alone and does not consider
“[n]one of Plaintiffs’ poll-watching claims directly ask the        the facts or circumstances of a particular case. United States
Court to construe an ambiguous state statute.” [ECF 409, p.         v. Marcavage, 609 F.3d 264, 273 (3d Cir. 2010). By contrast,
24]. Instead, these claims resided in a Pullman gray area,          an “as-applied attack” on a statute “does not contend that a
because they were only indirectly affected by other unsettled       law is unconstitutional as written but that its application to a
state-law issues. In light of that, the Court finds that the        particular person under particular circumstances deprived that
England doctrine was not “triggered,” such that Plaintiffs          person of a constitutional right.” Id. The distinction between
needed to reserve their right to return to federal court to         facial and an as-applied attack, then, “goes to the breadth of
litigate the specific as-applied claim at issue here.               the remedy employed by the Court, not what must be pleaded


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in a complaint.” Citizens United, 558 U.S. at 331, 130 S.Ct.      conceivable state of facts that could provide a rational basis
876; see also Bruni v. City of Pittsburgh, 824 F.3d 353, 362      for the classification.” (cleaned up)).
(3d Cir. 2016) (“The distinction between facial and as-applied
constitutional challenges, then, is of critical importance in     But where the law imposes at least some burden on protected
determining the remedy to be provided).                           rights, the court “must gauge the character and magnitude of
                                                                  the burden on the plaintiff and weigh it against the importance
 *66 Because the distinction is focused on the available          of the interests that the state proffers to justify the burden.”
remedies, not the substantive pleading requirements, “[t]he       Patriot Party, 95 F.3d at 258 (citations omitted).
substantive rule of law is the same for both challenges.”
Edwards v. D.C., 755 F.3d 996, 1001 (D.C. Cir. 2014); see         Consistent with the Pennsylvania Supreme Court's recent
also Pursuing Am.’s Greatness v. Fed. Election Comm'n, 831        decision, but now based on a complete record, this Court
F.3d 500, 509, n.5 (D.C. Cir. 2016) (“Indeed, the substantive     finds that the county-residency requirement for poll watching
rule of law is the same for both as-applied and facial First      does not, as applied to the particular circumstances of this
Amendment challenges.”) (cleaned up); Legal Aid Servs. of         election, burden any of Plaintiffs’ fundamental constitutional
Or. v. Legal Servs. Corp., 608 F.3d 1084, 1096 (9th Cir.          rights, and so a deferential standard of review should apply.
2010) (“The underlying constitutional standard, however, is       See Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *30.
no different [in an as-applied challenge] th[a]n in a facial      Under a rational-basis review and considering all the relevant
challenge.”).                                                     evidence before the Court, the county-residency requirement
                                                                  is rational, and thus constitutional. But even if the requirement
“In other words, how one must demonstrate the statute's           burdened the right to vote, that burden is slight—and under
invalidity remains the same for both type of challenges,          the Anderson-Burdick test, the Commonwealth's interests in
namely, by showing that a specific rule of law, usually a         a county-specific voting system, viewed in the context of its
constitutional rule of law, invalidates the statute, whether in   overall polling-place security measures, outweigh any slight
a personal application or to all.” Brooklyn Legal Servs. Corp.    burden imposed by the county-residency restriction.
v. Legal Servs. Corp., 462 F.3d 219, 228 (2d Cir. 2006),
abrogated on other grounds by Bond v. United States, 564
U.S. 211, 131 S.Ct. 2355, 180 L.Ed.2d 269 (2011).
                                                                  1. The county-residency requirement neither burdens
                                                                  a fundamental right, including the right to vote, nor
In determining whether a state election law violates the
                                                                  discriminates based on a suspect classification.
U.S. Constitution, the Court must “first examine whether
the challenged law burdens rights protected by the First and       *67 At the outset, “there is no individual constitutional right
Fourteenth Amendments.” Patriot Party of Allegheny Cnty.          to serve as a poll watcher[.]” Boockvar, ––– A.3d at ––––,
v. Allegheny Cnty. Dep't of Elections, 95 F.3d 253, 258 (3d       2020 WL 5554644, at *30 (citing Cortés, 218 F. Supp. 3d
Cir. 1996). “Where the right to vote is not burdened by a         at 408); see also Dailey v. Hands, No. 14-423, 2015 WL
state's regulation on the election process, ... the state need    1293188, at *5 (S.D. Ala. Mar. 23, 2015) (“[P]oll watching is
only provide a rational basis for the statute.” Cortés, 218 F.    not a fundamental right protected by the First Amendment.”);
Supp. 3d at 408. The same is true under an equal protection       Turner v. Cooper, 583 F. Supp. 1160, 1162 (N.D. Ill. 1983)
analysis. “If a plaintiff alleges only that a state treated him   (“Plaintiffs have cited no authority ..., nor have we found any,
or her differently than similarly situated voters, without a      that supports the proposition that [the plaintiff] had a first
corresponding burden on the fundamental right to vote, a          amendment right to act as a poll watcher.”).
straightforward rational basis standard of review should be
used.” Obama, 697 F.3d at 428 (6th Cir. 2012); see also           “State law, not the Federal Constitution, grants individuals the
Biener, 361 F.3d at 214-15 (applying rational basis where         ability to serve as poll watchers and parties and candidates
there was no showing of an “infringement on the fundamental       the authority to select those individuals.” Cortés, 218 F. Supp.
right to vote.”); Donatelli, 2 F.3d at 515 (“A legislative        3d at 414; see also Boockvar, ––– A.3d at ––––, 2020 WL
classification that does not affect a suspect category or         5554644, at *30 (the right to serve as a poll watcher “is
infringe on a fundamental constitutional right must be upheld     conferred by statute”); Tiryak v. Jordan, 472 F. Supp. 822,
against equal protection challenge if there is any reasonably     824 (E.D. Pa. 1979) (“The number of poll-watchers allowed,
                                                                  the manner of their appointment, their location within the



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polling place, the activities permitted and the amount of          requirement burdens the right to vote is based on the same
compensation allowed are all dictated by [25 P.S. § 2687].”).      threat of vote dilution by fraud that they have advanced with
Given the nature of the right, “[i]t is at least arguable that     their other claims. In other words, Plaintiffs’ claim that the
the [Commonwealth of Pennsylvania] could eliminate the             county-residency requirement for poll watchers limits the
position of poll watcher” without offending the constitution.      ability to find poll watchers, which, in turn, limits the ability
Cotz v. Mastroeni, 476 F. Supp. 2d 332, 364 (S.D.N.Y.              for poll watchers to detect fraud and ballot tampering. [ECF
2007). In fact, one neighboring state—West Virginia—has            461, ¶¶ 256-57]. The resulting fraudulent or destroyed ballots
eliminated poll watchers. W. Va. Code Ann. § 3-1-37; W. Va.        cause the dilution of lawfully cast ballots. [ECF 509, pp.
Code Ann. § 3-1-41.                                                64-68].

Nor does the county-residency requirement hinder the                *68 Thus, based on this theory, to establish the burden
“exercise of the franchise.” Cortés, 218 F. Supp. 3d at 408. It    flowing from the county-residency restriction, Plaintiffs must
doesn't in any way limit voters’ “range of choices in the voting   show (1) the county-residency requirement prevents them
booth”—voters can still “cast ballots for whomever they            from recruiting enough registered Republican poll watchers
wish[.]” Id. And, as Plaintiffs admit, the county-residency        in every county, (2) the absence of these Republican poll
requirement doesn't make the actual act of casting a vote          watchers creates a material risk of increased fraud and ballot
any harder. See [ECF 524-24, 67:1-6]. Indeed, at least one of      tampering, and (3) this risk of fraud and ballot tampering will
the plaintiffs here, Representative Joyce, testified that he was   dilute the value of honestly cast votes.
unaware of anyone unable to cast his ballot because of the
county-residency requirement for poll watchers [Id.].              There are both factual and legal problems fatal to Plaintiffs’
                                                                   vote-dilution theory in this context. Factually, Plaintiffs’
Finally, Plaintiffs’ claim that Pennsylvania's “poll watching      evidence, accepted as true, fails to establish that they cannot
system” denies them “equal access” to the ability to observe       find enough poll watchers because of the county-residency
polling places in the upcoming election does not, on its own,      requirement. But even if they made that factual showing,
require the Court to apply anything other than rational-basis      the inability to find poll watchers still does not burden any
scrutiny. [ECF 551, p. 75]. To the extent Plaintiffs are denied    recognized constitutional right in a way that would necessitate
equal access (which discussed below, as a matter of evidence,      anything more than deferential review.
is very much in doubt), it isn't based on their membership in
any suspect classification.
                                                                   2. Plaintiffs’ evidence does not establish any factual
For a state law to be subject to strict scrutiny, it must not
                                                                   predicate for their theory.
only make a distinction among groups, but the distinction
must be based on inherently suspect classes such as race,          Even accepting as true Plaintiffs’ version of events, Plaintiffs
gender, alienage, or national origin. See City of Cleburne         have not established that the county-residency requirement is
v. Cleburne Living Ctr., 473 U.S. 432, 439-40, 105 S.Ct.           responsible for an inability to find enough poll watchers for
3249, 87 L.Ed.2d 313 (1985). Political parties are not such a      at least two reasons.
suspect class. Greenville Republican Party, 824 F. Supp. 2d
at 669 (“[T]his court is unfamiliar with, and Plaintiffs have      First, Plaintiffs’ evidence stops short of demonstrating any
not cited, any authority categorizing political parties as an      actual shortfall of desired poll watchers.
inherently suspect class.”) Likewise, “[c]ounty of residence is
not a suspect classification warranting heightened scrutiny[.]”    For example, in his declaration, James J. Fitzpatrick, the
Short, 893 F.3d at 679.                                            Pennsylvania Director for Election Day Operations for the
                                                                   Trump Campaign, stated only that the “Trump Campaign is
Plaintiffs don't dispute this. [ECF 509, p. 65 (“To be clear,      concerned that due to the residency restriction, it will not
the right at issue here is the right of candidates and political   have enough poll watchers in certain counties.” [ECF 504-2,
parties to participate in an election where the process is         ¶ 25 (emphasis added) ]. Notably, however, Mr. Fitzpatrick,
transparent and open to observation and the right of the voters    even when specifically asked during his deposition, never
to participate in such election.” (emphasis in original)) ].       identified a single county where the Trump Campaign has
Rather, Plaintiffs’ theory as to how the county-residency          actually tried and failed to recruit a poll watcher because



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of the county-residency requirement. See, e.g., [ECF 528-14,      which Plaintiffs warn that “Democratic registered voters out-
261:21-25] (“Q: Which counties does the Trump campaign or         number ... their Republican counterparts” (i.e., Philadelphia,
the RNC contend that they will not be able to obtain what you     Delaware, and Centre), there are still significant numbers
refer to as full coverage of poll watchers for the November       of registered Republicans. See [ECF 504-34 (Philadelphia –
2020 election? A: I'm not sure. I couldn't tell you a list.”).    118,003; Delaware – 156,867; and Centre – 42,903) ]. And
                                                                  only a very small percentage of the registered Republicans
Nor do any of Plaintiffs’ other witness declarations establish    would be needed to fill all the necessary poll watcher
an actual, inability to recruit poll watchers in any specific     positions in those allegedly problematic counties. See, e.g.,
county. Representative Reschenthaler stated only that he was      Cortés, 218 F. Supp. 3d at 410 (noting that, in 2016,
“concerned” that he “will not be able to recruit enough           the Republican Party “could staff the entirety of the poll
volunteers from Greene County to watch the necessary polls        watcher allotment in Philadelphia county with just 4.1% of
in Greene County.” [ECF 504-6, ¶ 12].                             the registered Republicans in the county.”). While Plaintiffs
                                                                  argue that these statistics don't show the number of registered
Representative Kelly stated that he was “likely to have           Republicans willing to serve as a poll watcher, the Court is
difficulty getting enough poll watchers from within Erie          hard pressed to see, nor do Plaintiffs show, how among the
County to watch all polls within that county on election          tens—or hundreds—of thousands of registered Republicans
day.” [ECF 504-5, ¶ 16]. “Likely difficulty” isn't the same       in these counties, Plaintiffs are unable to find enough poll
as an “actual inability.” That aside, the declaration doesn't     workers.20
provide any basis for Representative Kelly's assessment of
this “likely difficulty.” Nowhere does he detail the efforts he   20     Plus, these figures do not even tell the whole story
took (e.g., the outreach he tried, prospective candidates he
                                                                         because they do not take into account the hundreds of
unsuccessfully recruited, and the like), nor did he explain why
                                                                         thousands of voters who are registered to other parties
those efforts aren't likely to succeed in the future.                    who could also conceivably serve as poll watchers for the
                                                                         Trump Campaign and the candidate Plaintiffs. [504-34].
The same goes for Representative Thompson's declaration.                 While that may not be the ideal scenario for Plaintiffs,
Representative Thompson stated that during some                          they concede there's nothing in the Election Code that
unspecified prior elections, unidentified parties and                    limits them to recruiting only registered voters from the
campaigns did not “always find enough volunteers to serve as             Republican Party. [ECF 528-14, 267:23-268:1 (Q: And
poll watchers in each precinct.” [ECF 504-4, ¶ 20]. But this             you don't have to be a registered Republican to serve as a
undetailed statement doesn't help Plaintiffs’ cause, because it          poll watcher for the Trump campaign, do you? A: No.) ].
doesn't identify the elections during which this was a problem,          To that point, the Trump Campaign utilized at least two
                                                                         Democrats among the poll watchers it registered in the
the parties and campaigns affected by a lack of poll watchers,
                                                                         primary. [ECF 528-15, P001648].
or the precincts for which no poll watcher could be found.
                                                                  Plaintiffs have not presented any evidence that would
 *69 Representative Joyce's declaration doesn't even express      explain how, despite these numbers, they will have a hard
a “concern” about “likely difficulty” in recruiting poll          time finding enough poll watchers. In fact, Plaintiffs’ own
watchers. He simply stated his belief that “[p]oll watchers       expert, Professor Lockerbie, admits that “the Democratic and
play a very important role in terms of protecting the integrity   Republican parties might be able to meet the relevant criteria
of the election process[.]” [ECF 504-7, ¶ 11]. While he may be    and recruit a sufficient population of qualified poll watchers
right, it has no bearing on whether Plaintiffs can find enough    who meet the residency requirements[.]” [ECF 504-20, ¶ 16].
people to play that “very important role.”
                                                                  Professor Lockerbie's report makes clear, and Plaintiffs
Indeed, Plaintiffs’ prediction that they will “likely” have       appear to agree, that the county-residency requirement only
difficulty finding poll watchers is belied by the uncontested     potentially burdens other, “minor” political parties’ ability
Pennsylvania voter registration statistics for 2019 that they     to recruit enough poll watchers. [ECF 509, p. 61 (citing
included as an exhibit to their summary-judgment brief. [ECF      ECF 504-20, ¶¶ 16-17) ]. Regardless, any burden on these
504-34]. Those statistics suggest that there is no shortage of    third parties is not properly before the Court. They are not
registered Republican voters who are qualified to serve as        parties to this litigation, and so the Court doesn't know their
poll watchers. [Id.]. Even in the three specific counties in      precise identities, whether they have, in fact, experienced any



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difficulty in recruiting poll watchers, or, more fundamentally,
whether they even want to recruit poll watchers at all.21              Plaintiffs argue that the ongoing COVID-19 pandemic greatly
                                                                       reduces the number of people who would be willing to serve
21                                                                     as a poll watcher, which further exacerbates the alleged
       To the extent that Plaintiffs are attempting to bring their
                                                                       problem caused by the county-residency requirement. [ECF
       claim on behalf of these third parties (which is unclear),
                                                                       509, p. 60]. The primary problem with this argument, though,
       they would lack standing to do so. Ordinarily, “a litigant
       must assert his or her own legal rights and interests           is that Plaintiffs have not presented any evidence to support
       and cannot rest a claim of relief on the legal rights or        it. Plaintiffs have not put forward a statement from a single
       interests of third parties.” Powers v. Ohio, 499 U.S. 400,      registered voter who says they are unwilling to serve as a poll
       410, 111 S.Ct. 1364, 113 L.Ed.2d 411 (1991). The only           watcher due to concerns about contracting COVID-19.
       time a litigant can bring an action on behalf of a third
       party is when “three important criteria are satisfied.” Id.     Despite this shortcoming, the Court also acknowledges that
       “The litigant must have suffered an ‘injury in fact,’ thus      COVID-19 generally has made it more difficult to do anything
       giving him or her a ‘sufficiently concrete interest’ in the     in person, and it is entirely plausible that the current pandemic
       outcome of the issue in dispute; the litigant must have a       will limit Plaintiffs from recruiting poll watchers to man
       close relation to the third party; and there must exist some
                                                                       polling places on election day. But that is likely true for
       hindrance to the third party's ability to protect his or her
                                                                       just about every type of election rule and regulation. For
       own interest.” Id. at 410-11, 111 S.Ct. 1364 (cleaned up).
                                                                       example, the effects of the ongoing pandemic coupled with
       Plaintiffs cannot satisfy the second or third criteria.
       Plaintiffs claim that they “have a close relationship with
                                                                       the requirement that the poll watcher be a registered voter
       these minor parties such that it will act as an effective       (a requirement that unquestionably narrows the pool of
       advocate for the minor parties.” [ECF 551, p. 30]. It is        potential candidates) would also make it harder to recruit
       hard to see how Plaintiffs can be said to have a close          poll watchers. There is no basis to find that the current
       relationship with rival political parties who are their         public-health conditions, standing alone, render the county-
       direct adversaries in the upcoming election.                    residency requirement irrational or unconstitutional.
       Plaintiffs also argue that these “minor parties are
       hindered from protecting their own interests, particularly      To bolster their concerns over COVID-19, Plaintiffs point
       in this action when there are no minor party                    to Democratic Nat'l Committee v. Bostelmann, No. 20-249,
       intervenors.” [Id.]. But that doesn't hold water either. Just   ––– F.Supp.3d ––––, 2020 WL 5627186 (W.D. Wis. Sept. 21,
       because these other parties have not asked to intervene,
                                                                       2020), where the court there enjoined Wisconsin's statute that
       it does not mean they were incapable of intervening or
                                                                       requires that each election official (i.e., poll worker) be an
       seeking relief elsewhere. Indeed, these parties and their
                                                                       elector of the county in which the municipality is located. That
       candidates have demonstrated time and again that they
       can raise their own challenges to election laws when
                                                                       case is distinguishable in at least two important ways.
       they so desire, including by filing suit in federal district
       court. See, e.g., Stein v. Cortés, 223 F. Supp. 3d 423 (E.D.    First, Bostelmann concerned poll workers, not poll watchers.
       Pa. 2016) (Green Party Presidential candidate Jill Stein        Id. at ––––, 2020 WL 5627186, at *7. The difference
       seeking recount); Libertarian Party of Conn. v. Merrill,        between the two is significant. Poll workers are a more
       No. 20-467, 2020 WL 3526922 (D. Conn. June 27, 2020)            fundamental and essential aspect of the voting process.
       (seeking to enjoin Connecticut's ballot access rules that       Without poll workers, counties cannot even open polling
       required minor party candidates to petition their way           sites, which creates the possibility that voters will be
       onto the ballot); Green Party of Ark. v. Martin, 649 F.3d       completely disenfranchised. In fact, in Bostelmann, the
       675 (8th Cir. 2011) (challenging Arkansas’ ballot access        plaintiffs presented evidence that Milwaukee was only able
       laws).
                                                                       to open 5 of its normal 180 polling places. Id. A failure to
 *70 Additionally, Plaintiffs failed to present evidence that          provide voters a place to vote is a much more direct and
connects the county-residency requirement to their inability           established constitutional harm than the one Plaintiffs allege
to find enough poll watchers. To succeed on their theory               here.
Plaintiffs cannot just point to difficulty recruiting poll
watchers, they need to also show that “Section 2687(b) is              Second, the plaintiffs in Bostelmann actually presented
responsible for their purported staffing woes.” Cortés, 218 F.         evidence that they were unable to find the poll workers they
Supp. 3d at 410. Plaintiffs fail to show this, too.                    needed due to the confluence of the COVID-19 pandemic and



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the challenged restriction. Id. As discussed above, Plaintiffs         post-election ballot rescission procedures”); Common Cause
here have presented no such evidence.                                  Rhode Island v. Gorbea, 970 F.3d 11, 15 (1st Cir. 2020)
                                                                       (rejecting the claim that a ballot witness signature requirement
To succeed on summary judgment, Plaintiffs need to move                should not be enjoined during a pandemic because it would
beyond the speculative concerns they offer and into the realm          allegedly increase the risk of voter fraud and put Republican
of proven facts. But they haven't done so on two critical fronts       candidates at risk); Cook Cnty. Rep. Party v. Pritzker, No.
—they haven't shown an actual inability to find the necessary          20-4676, 2020 WL 5573059, at *4 (N.D. Ill. Sept. 17, 2020)
poll watchers, or that such an inability is caused by the county-      (denying a motion to enjoin a law expanding the deadline to
residency requirement. Because Plaintiffs have not pointed             cure votes because plaintiffs did not show how voter fraud
to any specific “polling place that Section 2687(b) prevents           would dilute the plaintiffs’ votes).
[them] from staffing with poll watchers,” Plaintiffs’ theory of
burden is doomed at launch. Cortés, 218 F. Supp. 3d at 409.            Without a recognized burden on the right to vote, Plaintiffs’
                                                                       “argument that the defendants did not present an adequate
                                                                       justification is immaterial.” Green Party of Tennessee v.
                                                                       Hargett, No. 16-6299, 2017 WL 4011854, at *4 (6th Cir.
3. Even if Plaintiffs could establish a factual predicate for
                                                                       May 11, 2017). That's because the Court need not apply the
their theory, it would fail as a matter of law.
                                                                       Anderson-Burdick framework, and its intermediate standards,
 *71 As the Pennsylvania Supreme Court concluded last                  in this situation. See Donatelli, 2 F.3d at 514 & n.10.
month, Plaintiffs’ “speculative claim that it is ‘difficult’ for       Instead, just as the Pennsylvania Supreme Court held, the
both parties to fill poll watcher positions in every precinct,         Commonwealth here need only show “that a rational basis
even if true, is insufficient to transform the Commonwealth's          exists [for the county-residency requirement] to be upheld.
uniform and reasonable regulation requiring that poll                  Boockvar, ––– A.3d at ––––, 2020 WL 5554644, at *30
watchers be residents of the counties they serve into a non-           (citing Cortes, 218 F. Supp. 3d at 408); see also Voting
rational policy choice.” Boockvar, ––– A.3d at ––––, 2020              for Am., Inc. v. Andrade, 488 F. App'x 890, 899 (5th Cir.
                                                                       2012) (applying rational basis review as opposed to the
WL 5554644, at *30 (emphasis added).22 The fundamental
                                                                       Anderson-Burdick balancing test because state election law
constitutional principles undergirding this finding are sound.
                                                                       did not implicate or burden specific constitutional rights);
                                                                       McLaughlin v. North Carolina Bd. of Elections, 65 F.3d 1215,
22      The Sierra Club Intervenors argue this should end the          1227 (4th Cir. 1995) (concluding that a ballot access law “fails
        analysis. [ECF 542, p. 14 (“Even ‘as applied,’ Plaintiffs’
                                                                       the Anderson balancing test only if it also does in fact burden
        claim has already been rejected”) ]. While the Court
                                                                       protected rights”).
        finds the Pennsylvania Supreme Court's apparent ruling
        on Plaintiffs’ as-applied challenge instructive, it is not
        outcome determinative. That is because the Pennsylvania         *72 “Under rational-basis review, the challenged
        Supreme Court did not have the benefit of the full             classification must be upheld ‘if there is any reasonably
        evidentiary record that the Court has here.                    conceivable state of facts that could provide a rational basis
                                                                       for the classification.’ ” Donatelli, 2 F.3d at 513 (quoting
Plaintiffs’ only alleged burden on the right to vote is
                                                                       FCC v. Beach Commc'ns, Inc., 508 U.S. 307, 313, 113 S.Ct.
that Defendants’ lawful imposition of a county-residency
                                                                       2096, 124 L.Ed.2d 211 (1993)). “This standard of review is
requirement on poll watching will result in an increased risk
                                                                       a paradigm of judicial restraint.” FCC, 508 U.S. at 314, 113
of voter irregularities (i.e., ballot fraud or tampering) that will,
                                                                       S.Ct. 2096. It “is not a license for courts to judge the wisdom,
in turn, potentially cause voter dilution. While vote dilution
                                                                       fairness, or logic of legislative choices.” Id. at 313, 113 S.Ct.
is a recognized burden on the right to vote in certain contexts,
                                                                       2096. Nor is it the Court's “place to determine whether the
such as when laws are crafted that structurally devalue one
                                                                       [General Assembly's decisions] were the best decisions or
community's or group of people's votes over another's, there
                                                                       even whether they were good ones.” Donatelli, 2 F.3d at 518.
is no authority to support a finding of burden based solely
on a speculative, future possibility that election irregularities
                                                                       Applying this deferential standard of review, the
might occur. See, e.g., Minnesota Voters, 720 F.3d at 1033
                                                                       Pennsylvania Supreme Court found that given Pennsylvania's
(affirming dismissal of claims “premised on potential harm in
                                                                       “county-based scheme for conducting elections, it is
the form of vote dilution caused by insufficient pre-election
                                                                       reasonable that the Legislature would require poll watchers,
verification of EDRs’ voting eligibility and the absence of


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who serve within the various counties of the state, to be           including, as noted above, local familiarity with rules,
residents of the counties in which they serve.” Boockvar, –––       regulations, procedures, and the voters. Beyond this, in
A.3d at ––––, 2020 WL 5554644, at *30 (citing Cortés, 218           assessing the Commonwealth's interest in imposing the
F. Supp. 3d at 409). The Court agrees.                              county-based restriction, that interest must be viewed in the
                                                                    overall context of the Commonwealth's security measures
There are multiple reasons for this. As Secretary Boockvar          involving polling places that are designed to prevent against
advises, “[b]y restricting poll watchers’ service to the counties   fraud and vote dilution.
in which they actually reside, the law ensures that poll
watchers should have some degree of familiarity with the            As the court in Cortés recognized, “while poll watchers may
voters they are observing in a given election district.” [ECF       help guard the integrity of the vote, they are not the Election
549-2, p. 22, ¶ 78]. In a similar vein, Intervenors’ expert,        Code's only, or even best, means of doing so.” 218 F. Supp.
Dr. Barreto, in his report, states that, voters are more likely     3d at 404.
to be comfortable with poll watchers that “they know and
they recognize from their area.” [ECF 524-1, ¶40 (“Research          *73 Each county has the authority to investigate fraud and
in political science suggests that voters are much more             report irregularities to the district attorney. 25 P.S. § 2642(i).
comfortable and trusting of the process when they know or are       Elections in each district are conducted by a multimember
familiar with poll workers who are from their community.”) ].       election board, which is comprised of an election judge, a
When poll watchers come from the community, “there is               majority inspector, and a minor inspector. 25 P.S. § 2671.
increased trust in government, faith in elections, and voter        Each voting district may also use two overseers of election,
turnout[.]” [Id.].                                                  who are appointed from different political parties by the
                                                                    Pennsylvania Courts of Common Pleas, and “carry greater
At his deposition, Representative Kelly agreed with this            authority than poll watchers.” Cortés, 218 F. Supp. 3d at 403
idea: “Yeah, I think – again, depending how the districts           (citing 25 P.S. § 2685). “Election overseers have the right
are established, I think people are probably even more              to be present with the officers of an election ‘within the
comfortable with people that they – that they know and they         enclosed space during the entire time the ... election is held.”
recognize from their area.” [ECF 524-23, 111:21-25].                Id. “Poll watchers have no such right,” they must “remain
                                                                    ‘outside the enclosed space’ where ballots are counted or
Whether requiring poll watchers to be residents of the county       voting machines canvassed.” Id. (citing 25 P.S. § 2687(b)).
in which they will serve is the best or wisest rule is not          Election overseers can also challenge any person offering to
the issue before the Court. The issue is whether that rule is       vote, while poll watchers have no such authority. 25 P.S. §
reasonable and rationally advances Pennsylvania's legitimate        2687. For these reasons, concerns “over potential voter fraud
interests. This Court, like multiple courts before it, finds that   —whether perpetrated by putative electors or poll workers
it does.                                                            themselves—appear more effectively addressed by election
                                                                    overseers than poll watchers[.]” Id. at 406.

                                                                    Plaintiffs complain that poll watchers may not be present
4. Plaintiffs’ poll-watcher claim fails under the
                                                                    during the pre-canvass and canvass meetings for absentee
Anderson-Burdick framework.
                                                                    and mail-in ballots. But the Election Code provides that
Even if rational-basis review did not apply and Plaintiffs          “authorized representatives” of each party and each candidate
had established a burden on their right to vote, their claim        can attend such canvassing. 25 P.S. § 3146.8(g)(1.1), (2).
nonetheless fails under the Anderson-Burdick framework.             That means if, for example, 15 Republican candidates appear
                                                                    on ballots within a particular county (between both the state
Viewing Plaintiffs’ evidence in the best possible light, at most,   and federal elections), there could be up to 16 “authorized
the county-residency requirement for poll watching places           representatives” related to the Republican Party (one for each
only an indirect, ancillary burden on the right to vote through     candidate and one for the party as a whole) present during
an elevated risk of vote dilution.                                  canvassing. Adding poll watchers to that mix would just be
                                                                    forcing unnecessary cooks into an already crowded kitchen.23
Against this slight burden, the Commonwealth has sound              See [ECF 549-2, p. 23, ¶ 83 (“If every certified poll watcher
interests in imposing a county-residency requirement,               within a county was permitted to attend the pre-canvass



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meeting, the elections staff could be overwhelmed by the vast          Plaintiffs also appear to challenge any attempts to limit
numbers of poll watchers, and the pre-canvassing process               poll watching to “monitoring only in-person voting at the
could become chaotic and compromised.”) ].                             polling place on Election Day.” [ECF 461, ¶ 254]. That
                                                                       is, in their proposed order accompanying their Motion for
23      After the briefing on the cross-motions for summary            Summary Judgement, Plaintiffs seek a declaration that they
        judgment had closed, on October 6, 2020, Secretary             are “permitted to have watchers present at all locations where
        Boockvar issued additional guidance, which Plaintiffs          voters are registering to vote, applying for absentee or mail-
        then raised with the Court the following day. [ECF             in ballots, voting absentee or mail-in ballots, and/or returning
        571]. This new guidance confirms that poll watchers            or collecting absentee or mail-in ballots, including without
        cannot be present during the pre-canvassing and                limitation any satellite or early voting sites established by any
        canvassing of mail-in ballots. It also makes clear that        county board of elections.” [ECF 503-1, ¶ 3].
        while the authorized representative can be present, the
        representative cannot make any challenges to the ballots.      Plaintiffs also argue that Secretary Boockvar's October 6,
        The Court finds that this new guidance has minimal
                                                                       2020, guidance expressly, and unlawfully, prohibits poll
        relevance to the current disputes at issue here. The scope
                                                                       watchers from being present at county election offices,
        of duties of a representative is not before the Court.
                                                                       satellite offices, and designated ballot-return sites. [ECF 571].
        Of sole relevance here is whether this new guidance
        changes how this Court weighs the burdens and benefits
        of the county-residency restriction for poll watchers. The     This challenge, however, is directly related to the unsettled
        Court finds that the representative's inability to challenge   state-law question of whether drop boxes and other satellite
        mail-in ballots does appear to provide less protection to      locations are “polling places” as envisioned under the
        Plaintiffs; but in the grand election scheme, particularly     Election Code. If they are, then Plaintiffs may be right in that
        in light of the role of the election overseers, the Court      poll watchers must be allowed to be present. However, the
        does not find the new guidance to materially upset             Court previously abstained under Pullman in addressing this
        the Commonwealth's interests in its overall election-          “location” claim due to the unsettled nature of the state-law
        monitoring plan.                                               issues; and it will continue to do so. [ECF 459, p. 5 (“The
 *74 Further, Secretary Boockvar testified that Pennsylvania           Court will continue to abstain under Pullman as to Plaintiffs’
has adopted new voting systems that will provide an                    claim pertaining to the notice of drop box locations and, more
additional layer of security. [ECF 524-27, 237:21-238:11].             generally, whether the ‘polling place’ requirements under the
That is, there will now be a paper trail in the form of verifiable     Election Code apply to drop-box locations. As discussed in
paper ballots that will allow voters to confirm their choice,          the Court's prior opinion, this claim involves unsettled issues
and the state recently piloted a new program that will help            of state law.”) ].
ensure that votes can be properly verified. [Id.].
                                                                       Moreover, Plaintiffs have filed a lawsuit in the Court of
On balance, then, it is clear that to the extent any burden            Common Pleas of Philadelphia to secure access to drop box
on the right to vote exists, it is minimal. On the other hand,         locations for poll watchers. The state court held that satellite
the Commonwealth's interest in a county-specific voting                ballot-collection locations, such as drop-box locations, are
system, including with county-resident poll watchers, is               not “polling places,” and therefore poll watchers are not
rational and weighty, particularly when viewed in the context          authorized to be present in those places. [ECF 573-1, at
of the measures that the Commonwealth has implemented                  p. 12]. The Trump Campaign immediately filed a notice
to prevent against election fraud at the polls. As such,               of appeal of that decision. Regardless of what happens on
under the flexible Anderson-Burdick standard, Plaintiffs have          appeal, Plaintiffs appear to be on track to obtain resolution
failed to establish that the county-residency requirement is           of that claim in state court. [ECF 549-22]. Although this isn't
unconstitutional.                                                      dispositive, it does give the Court comfort that Plaintiffs will
                                                                       be able to seek timely resolution of these issues, which appear
                                                                       to be largely matters of state law. See Barr v. Galvin, 626
                                                                       F.3d 99, 108 n.3 (1st Cir. 2010) (“Though the existence of a
5. The Court will continue to abstain from deciding where
                                                                       pending state court action is sometimes considered as a factor
the Election Code permits poll watching to occur.
                                                                       in favor of abstention, the lack of such pending proceedings
                                                                       does not necessarily prevent abstention by a federal court.”).



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                                                                     the federal-constitutional claims here. The Pennsylvania
                                                                     Supreme Court, however, has held that Pennsylvania's “Free
V. The Court will decline to exercise supplemental                   and Equal Elections” Clause is not necessarily coextensive
jurisdiction over Plaintiffs’ state-constitutional claims.           with the 14th Amendment. See League of Women Voters v.
 *75 In addition to the federal-constitutional claims                Commonwealth, 645 Pa. 1, 178 A.3d 737, 812-813 (2018)
addressed above, Plaintiffs assert violations of the                 (referring to the Pennsylvania Free and Equal Elections
Pennsylvania Constitution in Counts III, V, VII, and IX of           Clause as employing a “separate and distinct standard” than
the Second Amended Complaint. Because the Court will be              that under the 14th Amendment to the U.S. Constitution).
dismissing all federal-constitutional claims in this case, it will   Given the lack of briefing on this issue and out of deference
decline to exercise supplemental jurisdiction over these state-      to the state courts to interpret their own state constitution, the
law claims.                                                          Court declines to exercise supplemental jurisdiction.

Under 28 U.S.C. § 1367(c)(3), a court “may decline to                Second, several Defendants have asserted a defense of
exercise supplemental jurisdiction over state law claims             sovereign immunity in this case. That defense does not apply
if it has dismissed all claims over which it has original            to Plaintiffs’ federal-constitutional claims under the Ex parte
jurisdiction[.]” Stone v. Martin, 720 F. App'x 132, 136              Young doctrine. See Acosta v. Democratic City Comm., 288
(3d Cir. 2017) (cleaned up). “It ‘must decline’ to exercise          F. Supp. 3d 597, 627 (E.D. Pa. 2018) (“Here, the doctrine
supplemental jurisdiction in such circumstances ‘unless              of Ex parte Young applies to Plaintiffs’ constitutional claims
considerations of judicial economy, convenience, and fairness        for prospective injunctive and declaratory relief, and therefore
to the parties provide an affirmative justification for              the First and Fourteenth Amendment claims are not barred
[exercising supplemental jurisdiction].’ ” Id. (quoting Hedges       by the Eleventh Amendment. Secretary Cortés, as an officer
v. Musco, 204 F.3d 109, 123 (3d Cir. 2000) (emphasis in              of the Pennsylvania Department of State, may be sued in his
original)).                                                          individual and official capacities ‘for prospective injunctive
                                                                     and declaratory relief to end continuing or ongoing violations
Courts have specifically applied this principle in cases raising     of federal law.’ ”). But sovereign immunity may apply to the
federal and state constitutional challenges to provisions            state-law claims, at least those against Secretary Boockvar.
of the state's election code. See, e.g., Silberberg v. Bd.           The possibility of sovereign immunity potentially applying
of Elections of New York, 272 F. Supp. 3d 454, 480–                  here counsels in favor of declining supplemental jurisdiction
81 (S.D.N.Y. 2017) (“Having dismissed plaintiffs’ First              to decide the state-law claims.
and Fourteenth Amendment claims, the Court declines to
exercise supplemental jurisdiction over plaintiffs’ state law        *76 As such, all state-constitutional claims will be dismissed
claims.”); Bishop v. Bartlett, No. 06-462, 2007 WL 9718438,          without prejudice.
at *10 (E.D.N.C. Aug. 18, 2007) (declining “to exercise
supplemental jurisdiction over the state constitutional claim”
following dismissal of all federal claims and recognizing            CONCLUSION
“the limited role of the federal judiciary in matters of state
elections” and that North Carolina's administrative, judicial,       For the foregoing reasons, the Court will enter judgment
and political processes provide a better forum for plaintiffs to     in favor of Defendants and against Plaintiffs on all federal-
seek vindication of their state constitutional claim), aff'd, 575    constitutional claims, decline to exercise supplemental
F.3d 419 (4th Cir. 2009).                                            jurisdiction over the remaining state-law claims, and dismiss
                                                                     all claims in this case. Because there is no just reason for
Beyond these usual reasons to decline to exercise                    delay, the Court will also direct entry of final judgment under
supplemental jurisdiction over the state-constitutional claims,      Federal Rule of Civil Procedure 54(b). An appropriate order
there are two additional reasons to do so here.                      follows.

First, the parties do not meaningfully address the state-
constitutional claims in their cross-motions for summary             All Citations
judgment, effectively treating them as coextensive with
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                                                                   national and state Democratic party committees intervened
                                                                   as defendants. Plaintiffs' motions for preliminary injunctions
                  2020 WL 5810556
                                                                   were consolidated with a trial on the merits.
    Only the Westlaw citation is currently available.
      United States District Court, D. Montana,
                   Helena Division.
                                                                   Holdings: The District Court, Dana L. Christensen, J., held
    DONALD J. TRUMP FOR PRESIDENT,                                 that:
    INC., Republican National Committee;
                                                                   partisan political organizations established representational
        National Republican Senatorial                             and organizational standing;
       Committee; Montana Republican
      State Central Committee, Plaintiffs,                         Pullman abstention was not appropriate;

                       and
                                                                   Governor's directive was not unconstitutional;
       Greg Hertz, in his official capacity
     as Speaker of the Montana House of                            plaintiffs failed to sufficiently allege a claim for vote dilution
                                                                   or infringement of the right to vote;
  Representatives; Scott Sales, in his official
     capacity as President of the Montana                          plaintiffs failed to support their allegation that Governor's
   Senate, on behalf of the Majorities of the                      directive violated the Equal Protection Clause; and
    Montana House of Representatives and
                                                                   plaintiffs were not entitled to injunctive relief.
  the Montana Senate, Intervenor-Plaintiffs,
                        v.
                                                                   Motions denied.
       Stephen BULLOCK, in his official
   capacity as Governor of Montana; Corey                          See also 2020 WL 5517169.
      Stapleton, in his official capacity as
  Secretary of State of Montana, Defendants,                       Attorneys and Law Firms
                       and
                                                                   James Edward Brown, The James Brown Law Office, PLLC,
   DSCC, DCCC, and Montana Democratic                              Helena, MT, Bryan Weir, Pro Hac Vice, Cameron T. Norris,
         Party, Intervenor-Defendants.                             Pro Hac Vice, Thomas R. McCarthy, Pro Hac Vice, Tyler R.
                                                                   Green, Pro Hac Vice, Consovoy McCarthy PLLC, Arlington,
              CV 20-66-H-DLC (Consolidated                         VA, for Plaintiffs.
              with Case No. CV-20-67-H-DLC)
                             |                                     Anita Y. Milanovich, Milanovich Law, PLLC, Butte, MT,
                    Signed 09/30/2020                              Dennis W. Polio, Pro Hac Vice, Jason Torchinsky, Pro
                                                                   Hac Vice, Holtzman Vogel Josefiak Torchinsky PLLC,
Synopsis                                                           Washington, DC, for Intervenor-Plaintiffs.
Background: Presidential campaign organization and
national and state Republican party committees sued                Raphael Graybill, Christopher D. Abbott, Montana
Montana Governor and Secretary of State, challenging the           Department of Justice, Rylee K. Sommers-Flanagan, Office
constitutionality of Governor's directive permitting counties      of Governor Steve Bullock, Helena, MT, for Defendants.
to conduct general election, in part, by mail ballot to mitigate
                                                                   Austin M. James, Montana Secretary of State, Helena, MT,
effects of COVID-19 pandemic, and Secretary of State's
                                                                   for Defendants.
approval of proposals from counties seeking to do so.
The Speaker of the Montana House of Representatives and
President of the Montana Senate intervened as plaintiffs, and



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                                                                     over the dispute, the Plaintiffs’ claims are without merit.
Peter M. Meloy, Meloy Law Firm, Helena, MT, Abha                     Accordingly, the Plaintiffs’ prayers for relief will be denied
Khanna, Pro Hac Vice, Perkins Coie - Seattle, Seattle, WA,           and judgment in Defendants’ favor will be entered.
for Intervenor-Defendants.
                                                                     In many respects, this case requires the Court to separate
                                                                     fact from fiction. As referenced throughout this Order, the
ORDER                                                                parties have provided the Court with considerable evidence
                                                                     in the form of declarations and documents. Central to some
Dana L. Christensen, District Judge                                  of the Plaintiffs’ claims is the contention that the upcoming
                                                                     election, both nationally and in Montana, will fall prey to
 *1 “No right is more precious in a free country than that
                                                                     widespread voter fraud. The evidence suggests, however, that
of having a voice in the election of those who make the
                                                                     this allegation, specifically in Montana, is a fiction.
laws under which, as good citizens, we must live.” Burdick
v. Takushi, 504 U.S. 428, 441, 112 S.Ct. 2059, 119 L.Ed.2d
                                                                     When pressed during the hearing in this matter, the Plaintiffs
245 (1992). As this case illustrates, protecting this right
                                                                     were compelled to concede that they cannot point to a
during a global pandemic presents unique challenges. Indeed,
                                                                     single instance of voter fraud in Montana in any election
jurisdictions across the country have had to make difficult
                                                                     during the last 20 years. Importantly, Montana's use of mail
decisions about their electoral processes, often balancing the
                                                                     ballots during the recent primary election did not give rise
interests of public health against the interests of ensuring their
                                                                     to a single report of voter fraud. This is due, in large part,
citizens can adequately exercise their franchise. Montana is
                                                                     to the fact that Montana has a long history of absentee
no exception.
                                                                     voting by as many as 73% of its electorate, combined with
                                                                     the experience, dedication, and skill of Montana's seasoned
This litigation requires the Court to determine the
                                                                     election administrators. Thus, there is no record of election
constitutionality of Governor Bullock's August 6, 2020
                                                                     fraud in Montana's recent history, and it is highly unlikely
directive permitting counties to conduct the November
                                                                     that fraud will occur during the November 3, 2020 general
3, 2020 general election, in part, by mail ballot (“the
                                                                     election. This is fact, which should provide comfort to
Directive”). Plaintiffs in the lead case (CV 20–66–H–DLC)
                                                                     all Montanans, regardless of their political persuasion, that
(“Lead-Plaintiffs”), Intervenor-Plaintiffs, and Plaintiffs in the
                                                                     between now and November 3, 2020 they will be participating
member case (CV–20–67–H–DLC) (“Member-Plaintiffs”)
                                                                     in a free, fair, and efficient election.
(collectively “the Plaintiffs”) ask this Court to permanently
enjoin enforcement of the Directive. (Docs. 1 at 34; 1 at 39;1
38 at 21–22.) Additionally, Member-Plaintiffs seek to enjoin
Secretary Stapleton's approval of proposals from counties            Background
seeking to conduct the November 3, 2020 general election, in
                                                                        I. Factual Background
part, by mail ballot. (Doc. 1 at 39.)
                                                                      *2 The COVID-19 pandemic constitutes a serious global
                                                                     health risk that has paralyzed most of the world. As with
1       As discussed below, this Court has consolidated the lead     the rest of the United States, Montana has not been immune
        case (CV 20–66–H–DLC) and member case (CV–20–
                                                                     to the virus’ effect on society. In response to COVID-19's
        67–H–DLC) pursuant to Federal Rule of Civil Procedure
                                                                     worldwide outbreak, on March 12, 2020, Governor Bullock
        42(a)(2). (Doc. 45.) Citation to document “1 at 39” refers
                                                                     issued an executive order declaring a state of emergency
        to document 1 as it exists in the member case (CV–20–
        67–H–DLC) pre-consolidation. Throughout this Order
                                                                     within Montana. (Doc. 81-8.) Notably, on March 13, 2020,
        citations to certain documents reference documents filed     Governor Bullock amended his prior executive order “to run
        only in the member case (CV–20–67–H–DLC).                    concurrent to the emergency declaration of the President of
                                                                     the United States,” after President Donald J. Trump declared
In response, Defendant Stephen Bullock (“Governor
                                                                     a national state of emergency earlier that day. (Doc. 81-9.)
Bullock”) and Intervenor-Defendants (collectively referred to
                                                                     Currently, both the United States and Montana remain in
as “Defendants”) assert that not only do Plaintiffs’ claims fail,
                                                                     states of emergency because of the COVID-19 pandemic.
but jurisdictional hurdles preclude the issuance of the relief
they seek. (See generally Docs. 73–74; 81.) For the reasons
stated herein, the Court finds that while it has jurisdiction


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As Montana's 2020 primary election approached, Governor            Constitution by changing the manner in which Montana
Bullock issued a directive permitting counties to “conduct         appoints electors for the November 3, 2020 general election
the June 2 primary election under the mail ballot provisions       without legislative involvement; and (3) their rights under the
of Title 13, Chapter 19.” (Doc. 81-10 at 4.) Pertinent to          Fourteenth Amendment of the United States Constitution by
this case, Governor Bullock rooted this directive in the           facilitating fraud and other illegitimate voting practices. (Doc.
suspension power vested in him by Montana Code Annotated           1 at 31–33.)
§ 10-3-104(2)(a) by suspending Montana Code Annotated
§ 13-19-104(3)(a)’s prohibition on the use of mail ballots         Following the filing of this complaint, the DCCC, DSCC,
for a “regularly scheduled federal ... election.” (Id. at 2, 4.)   and the Montana Democratic party moved to intervene
Interestingly enough, one of the Intervenor-Plaintiffs in this     as defendants and Greg Hertz and Scott Sales, on behalf
case, the Speaker of the Montana House of Representatives,         of the Republican majorities of the Montana House of
Greg Hertz, expressed his “full support” for the directive         Representatives and the Montana Senate, moved to intervene
which, in his view, allowed “counties to choose what is            as plaintiffs. (Docs. 28; 33.) The Court permitted such
best for their voters and election staff during this state of      intervention and placed the Plaintiffs’ motion for preliminary
emergency.” (Doc. 81-20 at 3.)                                     injunctive relief on an expedited schedule. (Doc. 35.) The
                                                                   Intervenor-Plaintiffs have asserted claims identical to those
Following Montana's successful June 2, 2020 primary                advanced by the Lead-Plaintiffs. (Doc. 38.)
election, which resulted in a record 55% turnout rate,
the Montana Association of Counties and the Montana                 *3 A nearly identical lawsuit was filed by Member-Plaintiffs
Association of Clerk & Recorders wrote to Governor Bullock         on September 9, 2020. (Doc. 1.) In that case, the Plaintiffs’
applauding his prior directive, and urging him to issue a          complain that the Directive violates: (1) Article I, Section IV
similar directive for the November 3, 2020 general election.       of the United States Constitution by changing the time, place,
(See generally Doc. 81-2.) On August 6, 2020, Governor             and manner of the November 3, 2020 general election without
Bullock issued the Directive, which, as with Montana's             legislative involvement; (2) their right to vote by “vote-
primary election, permits, but does not require, counties to       dilution disenfranchisement” on account of the “cognizable
“conduct the November 3, 2020 election under the mail ballot       risk of ballot fraud from mail-ballot elections”; (3) their right
provisions of Title 13, Chapter 19, MCA.” (Doc. 81-15 at 4.)       to vote by “direct disenfranchisement” on account of “the
As with the prior directive, Governor Bullock relies on the        sudden surge in mail in ballots” resulting in “requested ballots
suspension power vested in him by Montana Code Annotated           never” arriving or arriving too late and “filled-out ballots”
§ 10-3-104(2)(a), to render Montana's prohibition on the use       getting lost or delayed in the return process; and (4) their right
of mail ballots for federal elections ineffective. (Id. at 2.)     to vote and the Equal Protection Clause of the Fourteenth
Pursuant to the Directive, 45 of Montana's 56 counties have        Amendment by providing greater voting power to voters in
opted to conduct the November 3, 2020 general election by          counties that elect to send mail ballots than voters in the 11
mail ballot.2                                                      counties that do not. (Doc. 1 at 33–38.)


2                                                                  Given the common questions of law and fact that exist in the
       These 45 counties are home to 680,315 of Montana's
                                                                   lead case (CV 20–66–H–DLC) and the member case (CV–
       720,355 registered voters, or 94% of the State's total
                                                                   20–67–H–DLC), this Court consolidated the actions. (Doc.
       electorate. Of note, the Directive does not abandon in-
       person voting, which will occur in all of Montana's 56      45.) The Court additionally consolidated determination of the
       counties.                                                   Plaintiffs’ motions for preliminary injunctions (Docs. 2; 8)
                                                                   with a trial on the merits. (Doc. 69.)3 A hearing on this matter
   II. Procedural Background                                       was held on September 22, 2020.
Lead-Plaintiffs filed suit on September 2, 2020 advancing
several constitutional challenges to the Directive. (Doc. 1.)      3       It also bears noting that the Intervenor-Defendants have
Specifically, Lead-Plaintiffs’ complain that the Directive                 moved to dismiss the Lead-Plaintiffs’ complaint (Doc. 1)
violates: (1) Article I, Section IV of the United States                   and for judgment on the pleadings. (Doc. 72.) Because
Constitution by changing the time, place, and manner of                    the legal issues raised in this motion (Doc. 72) share the
the November 3, 2020 general election without legislative                  Court's analysis with respect to the issuance of injunctive
involvement; (2) Article II, § I of the United States



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        relief, the Court finds separate analysis of this motion    groups. The first group, referred to as the “Organizational
        unnecessary.                                                Plaintiffs,” consists of the Lead-Plaintiffs and the Ravalli
                                                                    County Republican Central Committee, a party in the member
                                                                    case (CV–20–67–H–DLC). The Organizational Plaintiffs are
Legal Standard                                                      various committees involved in efforts designed to improve
                                                                    Republican electoral prospects in Montana. (Docs. 1 at 3–5;
An injunction “is an extraordinary remedy never awarded as
                                                                    1 at 6.)
of right.” Winter v. Natural Res. Def. Council, 555 U.S. 7,
24, 129 S.Ct. 365, 172 L.Ed.2d 249 (2008). In adjudicating
                                                                     *4 The second group, referred to as the “Legislative
requests for injunctive relief, this Court must “balance the
                                                                    Plaintiffs,” is composed of the Intervenor-Plaintiffs,
competing claims of injury and must consider the effect on
                                                                    including Greg Hertz, Speaker of the Montana House of
each party of the granting or withholding of the requested
                                                                    Representatives, and Scott Sales, President of the Montana
relief.” Id. In doing so, it is imperative that this Court “pay
                                                                    Senate. (Doc. 38 at 4–5.) Legislative Plaintiffs allege they
particular regard for the public consequences in employing
                                                                    were authorized by a majority of each chamber of the
the extraordinary remedy of injunction.” Id. As outlined
                                                                    Montana Legislature to bring this action. (Id.) Finally,
below, the injunctive relief Plaintiffs request would severely
                                                                    the third group, referred to as the “Candidate and Voter
impede Montana's administration of the November 3, 2020
                                                                    Plaintiffs,” constitute voters and candidates (who, critically,
general election.
                                                                    also intend to vote) for public office in Montana. (Doc. 1 at
                                                                    3–4.)
To obtain the injunctive relief they seek, the Plaintiffs
must demonstrate: (1) actual success on the merits; (2)
                                                                    Additionally, the Court finds that some of Plaintiffs’ claims
that they have suffered an irreparable injury; (3) there
                                                                    rest on sufficiently analogous legal grounds to warrant
exists no adequate remedy at law; (4) the balance of the
                                                                    simultaneous attention. First, there are the “Emergency
hardships justifies a remedy in equity; and (5) that the
                                                                    Powers Claims” which, in essence, allege that the Directive
public interest would not be disserved by a permanent
                                                                    violates the Elections and Electors Clauses of the United
injunction. Independent Training & Apprenticeship Program
                                                                    States Constitution, by permitting Governor Bullock to alter
v. California Dep't of Indus. Relations, 730 F.3d 1024, 1032
                                                                    the time, place, and manner of Montana's federal elections
(9th Cir. 2013) (citing eBay Inc. v. MerchExch., LLC, 547 U.S.
                                                                    and process for appointing Presidential electors without
388, 391, 126 S.Ct. 1837, 164 L.Ed.2d 641 (2006)). When the
                                                                    legislative involvement. (See Id. at 33–34; 1 at 31–32; 38 at
government is a party, the final two factors merge into one.
                                                                    18–19.)
Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th
Cir. 2014).
                                                                    Second, there are the “Right to Vote Claims” which
                                                                    are premised on the contention that the Directive will
In applying these elements, the Court is mindful that “[t]he
                                                                    disenfranchise voters by: (1) opening the door to voter fraud;
standard for a preliminary injunction is essentially the same
                                                                    and (2) creating such an influx of mail ballots in the postal
as for a permanent injunction” and that cases interpreting the
                                                                    system that “requested ballots never arrive or arrive too late
preliminary injunction standard apply “with equal force to ...
                                                                    and filled-out ballots get lost or are delayed in the return
permanent injunction cases.” Flexible Lifeline Sys., Inc. v.
                                                                    process.” (See Doc. 1 at 34–37; 1 at 33; 38 at 20–21.)
Precision Lift, Inc., 654 F.3d 989, 996 (9th Cir. 2011) (internal
                                                                    Third, there is the “Equal Protection Claim,” asserted by the
citations omitted). In considering these legal standards, the
                                                                    Member-Plaintiffs, which alleges that the Directive violates
Court finds that the Plaintiffs have failed to carry the burden
                                                                    the Fourteenth Amendment because voters in counties that
necessary to warrant the imposition of permanent injunctive
                                                                    opted to conduct the election by mail ballot have a greater
relief.
                                                                    chance of having their votes counted. (Doc. 1 at 37–38.)
                                                                    Pursuant to this analytical framework, the Court proceeds first
                                                                    to the issue of jurisdiction.
Analysis

Given the complexity of this action, the Court finds it               I. Jurisdictional Issues.
necessary to discuss how it categorizes the Plaintiffs and          Defendants have raised the following jurisdictional issues: (1)
their claims. Plaintiffs can be split into three distinct           whether the Eleventh Amendment bars Plaintiffs’ Emergency


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Powers Claims; (2) whether Plaintiffs lack standing to             While Ex Parte Young’s general rule has survived, its
prosecute this action; and (3) whether the Court should            underlying theory “has not been provided an expansive
abstain from adjudication. Each issue shall be discussed in        interpretation.” Pennhurst State School & Hosp. v.
turn.                                                              Halderman, 465 U.S. 89, 102, 104 S.Ct. 900, 79 L.Ed.2d
                                                                   67 (1984). In Pennhurst, the Supreme Court extended (in
                                                                   fact, contracted) its prior Eleventh Amendment jurisprudence
                                                                   by holding that the Eleventh Amendment prohibits federal
A. The Eleventh Amendment.
                                                                   courts from ordering state officials to comply with state law.
Defendants maintain that Plaintiffs’ Emergency Powers              465 U.S. at 103–17, 104 S.Ct. 900. Thus, under Pennhurst,
Claims are barred by the Eleventh Amendment. The Eleventh          suits brought against state officials in federal court that
Amendment provides that “[t]he Judicial power of the United        complain of violations of state law alone, remain barred by
States shall not be construed to extend to any suit in law or      the Eleventh Amendment. More precisely, under the Eleventh
equity, commenced or prosecuted against one of the United          Amendment, federal courts have no business compelling state
States by Citizens of another State or by Citizens or Subjects     officials to comply with state law.
of any Foreign State.” U.S. Const. amend XI. A literal reading
would, of course, compel only the conclusion that Montana is       Predictably, the parties disagree on Pennhurst’s application to
immune from suits in federal court brought by persons who          the present suit. Defendants contend that although Plaintiffs’
are not citizens of Montana. But this is not the law.              complain of violations of the federal constitution, the
                                                                   interpretation of state law necessary to resolve the merits of
Indeed, the Supreme Court has construed the Eleventh               those complaints renders the claims barred by the Eleventh
Amendment “to stand not so much for what it says, but for          Amendment. In other words, Defendants contend that the
the presupposition” it confirms, namely, that a state is not       Plaintiffs have brought claims based solely on state law under
“amenable to the suit of an individual without its consent.”       the guise of a federal constitutional claim. Plaintiffs respond
Seminole Tribe of Fla. v. Florida, 517 U.S. 44, 54, 116 S.Ct.      that while their federal claims certainly require this Court's
1114, 134 L.Ed.2d 252 (1996) (internal citations omitted).         interpretation of state law, their claims are firmly rooted in
That is, the Eleventh Amendment is not governed by its text,       the United States Constitution and are thus constitutionally
but rather by “a recognition that the States, although a union,    permissible under the Eleventh Amendment. The Court finds
maintain certain attributes of sovereignty, including sovereign    Plaintiffs’ position persuasive.
immunity.” Puerto Rico Aqueduct and Sewer Auth. v. Metcalf
& Eddy, Inc., 506 U.S. 139, 146, 113 S.Ct. 684, 121 L.Ed.2d        The Supreme Court in Pennhurst acknowledged that the
605 (1993). Sovereign immunity acts a shield, depriving the        doctrine of Ex Parte Young exists to, above all else, “promote
Court of jurisdiction over suits that are otherwise justiciable.   the vindication of federal rights.” 465 U.S. at 105, 104 S.Ct.
See Federal Mar. Comm'n v. South Carolina State Ports Auth.,       900. With that in mind, the Court finds that it would undercut
535 U.S. 743, 754, 122 S.Ct. 1864, 152 L.Ed.2d 962 (2002).         Ex Parte Young completely to conclude that simply because
                                                                   a federal constitutional claim requires the interpretation, or
 *5 But this shield is not impenetrable. Long ago, the             rests on the purported violation of, state law, it suddenly
Supreme Court carved out a “necessary exception” to                comes within Pennhurst’s grasp. Indeed, if the presence of
the general rule that the Eleventh Amendment prevents              underlying state law issues in a federal constitutional claim
individuals from suing states in federal court. Puerto Rico,       was sufficient to deprive this Court of jurisdiction under
506 U.S. at 146, 113 S.Ct. 684. In Ex Parte Young, the             Pennhurst, then Ex Parte Young would no longer perform the
Supreme Court held that the Eleventh Amendment does not            necessary function of protecting the supremacy of federal law.
preclude prospective enjoinment of a state official for ongoing
violations of federal law. 209 U.S. 123, 155–56, 28 S.Ct.          The Plaintiffs complain of violations of federal law and
441, 52 L.Ed. 714 (1908). This exception “gives life to the        seek an injunction rectifying the resulting injury. Specifically,
Supremacy Clause” by “vindicat[ing] the federal interest in        in their Emergency Powers Claims, Plaintiffs contend that
assuring the supremacy” of federal law. Green v. Mansour,          Governor Bullock, not the “Legislature,” has altered the
474 U.S. 64, 68, 106 S.Ct. 423, 88 L.Ed.2d 371 (1985).             time, place, and manner of Montana's federal elections in
                                                                   contravention of the United States Constitution. As addressed
                                                                   at length below, the state law issues underlying these claims



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guide but by no means dictate their resolution. Critical to           merely speculative, that the injury will be redressed by a
the outcome of these claims is a determination of what                favorable decision.” Friends of the Earth, Inc. v. Laidlaw
exactly the term “Legislature” in the Elections and Electors          Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180, 120 S.Ct. 693,
Clauses means—and depending on the answer—whether                     145 L.Ed.2d 610 (2000). Critically, the threshold question of
injunctive relief halting their violation should issue. This is       whether Plaintiffs possess standing “precedes, and does not
quintessentially a federal question. In short, the Court finds        require, analysis of the merits.” Maya v. Centex Corp., 658
Plaintiffs have asserted proper Ex Parte Young claims and no          F.3d 1060, 1068 (9th Cir. 2011).
Eleventh Amendment barrier blocks adjudication.
                                                                      Moreover, the “standing analysis which prevents a claim from
                                                                      being adjudicated for lack of jurisdiction, [cannot] be used to
                                                                      disguise merits analysis, which determines whether a claim
B. Standing.
                                                                      is one for which relief can be granted if factually true.”
 *6 Defendants maintain Plaintiffs lack standing to prosecute         Catholic League for Religious and Civil Rights v. City and
this action. “It is a fundamental precept that federal courts         Cty. of S.F., 624 F.3d 1043, 1049 (9th Cir. 2010) (en banc).
are courts of limited jurisdiction.” Owen Equip. & Erection           Finally, because Plaintiffs seek equitable relief, not damages,
Co. v. Kroger, 437 U.S. 365, 374, 98 S.Ct. 2396, 57 L.Ed.2d           the Court “need not address standing of each plaintiff if it
274 (1978). This notion is derived from the United States             concludes that one plaintiff has standing.” Townley v. Miller,
Constitution itself, which limits the Court's subject matter          722 F.3d 1128, 1133 (9th Cir. 2013). With this in mind,
jurisdiction to justiciable “cases” or “controversies.” U.S.          the Court therefore examines whether at least one Plaintiff
Const., Art. III, § 2. The federal courts’ limited jurisdiction “is   possesses standing.
founded in concern about the proper—and properly limited
—role of the courts in a democratic society.” Summers v.
Earth Island Inst., 555 U.S. 488, 492–93, 129 S.Ct. 1142, 173         1. Organizational Plaintiffs.
L.Ed.2d 1 (2009) (internal citations omitted).
                                                                      Defendants maintain the Organizational Plaintiffs have
As such, it is incumbent upon this Court to ascertain whether         neither representational or direct organizational standing.
subject matter jurisdiction exists before analyzing the merits        Each is discussed in turn.
of a litigant's claims. Arbaugh v. Y&H Corp., 546 U.S. 500,
514, 126 S.Ct. 1235, 163 L.Ed.2d 1097 (2006). Indeed,
this Court is to presume it is without jurisdiction to hear a
                                                                      i. Representational Standing
case until a contrary showing is made. Stock West, Inc. v.
Confederated Tribes of the Colville Reservation, 873 F.2d             Representational standing exists when an organization's
1221, 1225 (9th Cir. 1989). Subject matter jurisdiction is “the       “members would otherwise have standing to sue in their own
courts’ statutory or constitutional power to adjudicate the           right, the interests at stake are germane to the organization's
case.” Steel Co. v. Citizens for a Better Env't, 523 U.S. 83,         purpose, and neither the claim asserted nor the relief
89, 118 S.Ct. 1003, 140 L.Ed.2d 210 (1998). This includes             requested requires the participation of individual members
underlying concepts such as standing. In re Palmdale Hills            in the lawsuit.” Friends of the Earth, 528 U.S. at 181,
Prop., LLC, 654 F.3d 868, 873 (9th Cir. 2011). The doctrine of        120 S.Ct. 693. The Plaintiffs do not seem to contest, and
standing requires “federal courts to satisfy themselves that the      the Court finds, that the interest at stake—ensuring that
plaintiff[s have] alleged such a personal stake in the outcome        Republican voters can exercise their franchise—is germane to
of the controversy as to warrant [their] invocation of federal-       the Organizational Plaintiffs’ respective purposes. The Court
court jurisdiction.” Summers, 555 U.S. at 493, 129 S.Ct. 1142         can likewise dispose of the third requirement at the outset,
(internal citations and quotation marks omitted).                     because when injunctive relief is sought, participation of the
                                                                      individual members “is not normally necessary.” United Food
In order to establish standing, Plaintiffs must show “(1) [they       and Commercial Workers Union Local 751 v. Brown Group,
have] suffered an ‘injury in fact’ that is (a) concrete and           Inc., 517 U.S. 544, 546, 116 S.Ct. 1529, 134 L.Ed.2d 758
particularized and (b) actual or imminent, not conjectural or         (1996). Thus, the Court will focus its analysis on the first
hypothetical; (2) the injury is fairly traceable to the challenged    prong of the representational standing inquiry.
action of the defendant; and (3) it is likely, as opposed to



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 *7 Defendants assert that the Organizational Plaintiffs’            normally applied in the context of an individual plaintiff. La
members complain of nothing more than generalized                    Asociacion de Trabajadores de Lake Forest v. City of Lake
grievances insufficient to confer Article III standing. The          Forest, 624 F.3d 1083, 1088 (9th Cir. 2010). An organization
Court agrees, as it must, that generalized grievances do             establishes the requisite injury upon a showing of “both a
not normally constitute a particularized injury necessary to         diversion of its resources and a frustration of its mission.”
establish standing. Novak v. United States, 795 F.3d 1012,           Id. But, as Defendants correctly note, the Organizational
1018 (9th Cir. 2015). But the fact that “a harm is widely            Plaintiffs cannot simply “spend money fixing a problem”
shared does not necessarily render it a generalized grievance.”      for the purpose of manufacturing standing. Id. Instead, the
Id. (internal citations and quotation marks omitted). In fact,       Organizational Plaintiffs are required to demonstrate “it
the Supreme Court has been clear that “where large numbers           would have suffered some other injury if it had not diverted
of voters suffer interference with voting rights” the interests      resources to counteracting the problem.” Id. The Court is
related to that are sufficiently concrete to obtain the standing     persuaded the Organizational Plaintiffs have established a
necessary to seek redress in an Article III Court. F.E.C. v.         diversion of resources sufficient to confer standing.
Akins, 524 U.S. 11, 24, 118 S.Ct. 1777, 141 L.Ed.2d 10
(1998) (holding that claims implicating voting rights “the           Defendants contest this form of standing by asserting
most basic of political rights, is sufficiently concrete and         that Organizational Plaintiffs have nothing to educate their
specific” to establish standing); see also Baker v. Carr, 369        members about, since the Directive expands rather than
U.S. 186, 206–07, 82 S.Ct. 691, 7 L.Ed.2d 663 (1962) (noting         contracts the opportunity to vote. But this assertion cannot
that prior cases have “squarely held that voters who allege          withstand scrutiny. The Directive, while certainly expanding
facts showing disadvantage to themselves as individuals have         the remote voting opportunities of Montanans, necessarily
standing to sue”).                                                   contemplates a reduction in available in-person voting
                                                                     opportunities by counties that opt-in to the mail ballot
The Court finds that injuries related to voter rights are central    option. (Doc. 81-15 at 5.) As the supplemental declaration
to the Organizational Plaintiffs’ claims and stem directly from      provided by the Member-Plaintiffs establishes, there is a
issuance of the Directive. Because the alleged injuries to the       “73% drop in the number of in person polling places open
members’ voting rights at issue in this case could conceivably       to Montanans who want to vote in person on Election Day
be asserted by any Montanan does not eradicate the standing          across the state.” (Doc. 109-1 at 3.) This reduction requires
necessary to assert these claims. On the contrary, the Supreme       the Organizational Plaintiffs’ to expend resources in an effort
Court has repeatedly enumerated the principle that claims            to inform their members how individual counties intend
alleging a violation of the right to vote can constitute an injury   to administer the November 3, 2020 general election and
in fact despite the widespread reach of the conduct at issue.        where in-person voting opportunities are located. As such, the
In short, the harm complained of here is sufficiently concrete       Organizational Plaintiffs’ purpose of educating Republican
to pass the Organizational Plaintiffs through the standing           voters—especially those who wish to vote in person—on
gateway necessary to adjudicate their claims on the merits.4         available voting opportunities is necessarily impacted by the
                                                                     Directive.
4       The Court likewise finds that this legal conclusion
                                                                      *8 Organizational Plaintiffs have provided the Court with
        supports a finding of standing for the Voter and
                                                                     declarations to this effect. For example, the Declaration
        Candidate Plaintiffs, who similarly allege infringements
        on their right to vote. (Doc. 1 at 3–4.) Because the         of Sam Rubino explains how expenditure of resources is
        Candidate Plaintiffs allege they intend to vote, the         necessary to “inform voters about the directive's changes” to
        Court need not address whether they possess standing to      voting opportunities, including “when, and where to submit
        prosecute their claims as candidates.                        mail-in ballots if they have never submitted one before;
                                                                     and where to cast a traditional ballot at whatever in-person
                                                                     polling locations counties may provide.” (Doc. 94-1 at 3.) The
ii. Organizational Standing                                          remaining declarations submitted by Ryan Dollar and Spenser
                                                                     Merwin confirm the expenditure of resources necessary
Even if the Organizational Plaintiffs’ lacked representational
                                                                     to educate the Organizational Plaintiffs’ members on the
standing the Court finds they similarly enjoy organizational
                                                                     Directive's impact on voting in Montana for the November
standing. The test of whether an organizational plaintiff has
                                                                     3, 2020 general election. (Docs. 93-1 at 3; 93-2 at 3–4.)
standing is identical to the three-part test outlined above


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This is sufficient to confer the Organizational Plaintiffs with    not terminate the action. On the contrary, determination of
organizational standing. Having found that the Organizational      whether Governor Bullock has exceeded his authority under
Plaintiffs and Voter and Candidate Plaintiffs have standing,       state law is separate and distinct from the question of whether
the Court possesses the constitutional authority to adjudicate     the provisions providing such authority comport with the
all of the Plaintiffs’ claims on the merits. As such, the Court    Elections and Electors clauses. This second question is as
need not address the standing of Legislative Plaintiffs, who       essential to the resolution of the Emergency Powers Claims
assert claims identical to that of the Lead-Plaintiffs.            as the first.

                                                                   Finally, as discussed at length below, the Court finds that the
                                                                   state law issues underlying this case are far from uncertain
C. Abstention.
                                                                   and are readily determinable by the Court. In short, this is
Governor Bullock urges this Court to abstain from                  not the unique case in which abstention is justified. Governor
resolving Plaintiffs’ claims on the merits under the Railroad      Bullock urges this Court to follow the abstention path paved
Commission of Tex. v. Pullman Co., 312 U.S. 496, 61 S.Ct.          by the Western District of Pennsylvania in a similar case.
643, 85 L.Ed. 971 (1941) abstention doctrine. “The Pullman         See Trump for President, Inc. v. Boockvar, ––– F.Supp.3d
abstention doctrine is a narrow exception to the district          ––––, 2020 WL 4920952 (W.D. Pa. 2020). But the Court
court's duty to decide cases properly before it which allows       finds this case distinguishable. While not determinative, a
postponement of the exercise of federal jurisdiction when ‘a       compelling justification for abstention in Boockvar was the
federal constitutional issue ... might be mooted or presented in   actual existence of state law proceedings that would resolve
a different posture by a state court determination of pertinent    the state law issues present in that case. Id. at ––––, 2020 WL
state law.’ ” C-Y Development Co. v. City of Redlands, 703         4920952 at *18. No party to this action disputes that time is of
F.2d 375, 377 (9th Cir. 1983). Pullman abstention is only          the essence. Ballots are set to be mailed on October 9, 2020.
appropriate upon satisfaction of a three-prong test:               (Doc. 81-15 at 4.) The Court does not find it wise to force
                                                                   Plaintiffs to assert identical claims in state court at this late
  (1) The complaint “touches a sensitive area of social policy     hour with no promise of timely adjudication. Potrero Hills
     upon which the federal courts ought not to enter unless       Landfill v. County of Solano, 657 F.3d 876, 889–90 (9th Cir.
     no alternative to its adjudication is open;”                  2011) (“Federal courts are not required to send a case to the
                                                                   state court if doing so would simply impose expense and long
  (2) Such constitutional adjudication plainly can be avoided      delay upon the litigants without hope of its bearing fruit ...
     if a definitive ruling on the state issue would terminate     to the contrary, under such circumstances, it is the duty of a
     the controversy; and                                          federal court to decide the federal question when presented to
                                                                   it”) (internal quotation marks and citations omitted). In short,
   (3) The possibly determinative issue of state law is
                                                                   abstention is neither required nor appropriate in this case.
      doubtful.
Id. In applying these factors, the narrowness of this exception
cannot be understated, and this Court should only abstain             II. Injunctive Relief.
“in the exceptional circumstances where the order to the            *9 Having concluded that the Eleventh Amendment
parties to repair to the state court would clearly serve           does not bar consideration of the Plaintiffs’ Emergency
an important countervailing interest.” Id. The Court find          Powers Claims, that standing exists, and that abstention is
abstention inappropriate in this case.                             inappropriate, the Court will adjudicate the claims presented
                                                                   on the merits. As noted above, in order to obtain injunctive
Regarding the first prong, the Court agrees that Plaintiffs’       relief, Plaintiffs must demonstrate: (1) actual success on the
claims regarding Montana's electoral processes touches on a        merits; (2) that they have suffered an irreparable injury; (3)
sensitive area of social policy. But it cannot be said this is     there exists no adequate remedy at law; and (4) the balance
an area federal courts are hesitant to enter. On the contrary,     of the hardships justifies a remedy in equity and the public
federal courts are routinely tasked with resolving issues          interest would not be disserved by a permanent injunction.
related to the state administration of elections. See, e.g.,       Independent Training, 730 F.3d at 1032; Jewell, 747 F.3d at
Crawford v. Marion Cty Election Bd., 553 U.S. 181, 128 S.Ct.
                                                                   1092.5 Each element is discussed in turn.
1610, 170 L.Ed.2d 574 (2008). The Court also finds that
resolution of the state law issues underlying this dispute will


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5      The Court notes that Plaintiffs also request declaratory         by which elections can be conducted by mail. In passing such
       relief to the effect that the Declaration is unconstitutional.   laws, the Montana Legislature stated:
       However, because the issuance of this relief is dependent
       on Plaintiffs’ actual success on the merits, the Court finds
                                                                         The purpose of this chapter is to provide the option of
       separate analysis of these claims unnecessary.                    and procedures for conducting certain specified elections
                                                                         as mail ballot elections. The provisions of this chapter
                                                                         recognize that sound public policy concerning the conduct
A. Actual Success on the Merits.                                         of elections often requires the balancing of various
                                                                         elements of the public interest that are sometimes in
                                                                         conflict. Among these factors are the public's interest in
i. Emergency Powers Claims.
                                                                         fair and accurate elections, the election of those who will
The United States Constitution provides, in relevant part,               govern or represent, and cost-effective administration of
that the “Times, Places and Manner of holding Elections for              all functions of government, including the conduct of
Senators and Representatives, shall be prescribed in each                elections. The provisions of this chapter further recognize
State by the Legislature thereof.” U.S. Const., art. I, § 4, cl.         that when these and other factors are balanced, the conduct
1. Additionally, Article II mandates that “Each State shall              of elections by mail ballot is potentially the most desirable
appoint, in such Manner as the Legislature thereof may direct,           of the available options in certain circumstances.
a Number of Electors, equal to the whole Number of Senators             *10 Mont. Code Ann. § 13-19-101.
and Representatives to which the State may be entitled in the
Congress ....” Id., art. II, § 1, cl. 2.                                Notably, the provisions of Montana law permitting an
                                                                        election to be conducted by mail-ballot provide that “a
Plaintiffs contend that the Directive violates these clauses            regularly scheduled federal, state, or county election”
by altering the manner in which Montana conducts the                    cannot “be conducted by mail ballot.” Mont. Code Ann. §
November 2, 2020 general election through executive fiat                13-19-104(3)(a). Montana's statutory framework regarding
rather than legislative action. In support of their argument,           the administration of elections cannot be read in isolation,
Plaintiffs invoke a myriad of provisions of the Montana Code            however, and particular attention to the emergency powers
Annotated which they contend either fail to permit or outright          afforded to the Governor must be paid. Specifically, the
prohibit Governor Bullock from issuing the Directive. The               Montana Legislature has provided Governor Bullock with the
Defendants maintain that not only has Governor Bullock                  power to “suspend the provisions of any regulatory statute
acted well within the authority conferred on him by the                 prescribing the procedures for conduct of state business or
Montana Legislature, but that this delegation of power does             orders or rules of any state agency if the strict compliance with
not offend the Elections or Electors Clauses.                           the provisions of any statute, order, or rule would in any way
                                                                        prevent, hinder, or delay necessary action in coping with the
Resolution of these claims requires the Court to analyze the            emergency or disaster.” Mont. Code Ann. § 10-3-104(2)(a).
relevant statutory framework under which Montana conducts
its elections and by which Governor Bullock purports to                 Emergency is defined as “imminent threat of a disaster
act. In doing so, the critical question becomes whether the             causing immediate peril to life or property that timely action
Montana Legislature has, in its laws governing the manner in            can avert or minimize.” Id. § 10-3-103(8). Disaster is defined
which federal elections are administered, permitted Governor            as “the occurrence or imminent threat of widespread or severe
Bullock to authorize counties to conduct such elections, in             damage, injury, or loss of life or property resulting from
part, by mail ballot. The Court is convinced it has.                    any ... outbreak of disease.” Id. 10-3-103(4). The Court
                                                                        has no trouble concluding that the COVID-19 pandemic
As a starting point, the Court notes that the Montana                   constitutes a disaster and emergency within the meaning
Constitution provides that the “legislature shall provide by            of the aforementioned statutes. As such, the Court must
law the requirements for ... administration of elections.”              determine whether Governor Bullock has exceeded his
Mont. Const. art. IV, § 3. In exercise of this constitutional           authority under Montana Code Annotated § 10-3-104(a)(2).
command, the Montana Legislature has adopted a
comprehensive framework of laws governing the electoral                 The parties devote significant argument to whether the
process. Relevant here are the provisions outlining the process         statute in question, Montana Code Annotated § 13-19-104,
                                                                        is regulatory and therefore falls within Governor Bullock's


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suspension power conferred on him through Montana Code                and Representatives ... which power is matched by state
Annotated § 10-3-104(a)(2). Plaintiffs urge this Court to             control over the election process for state offices”) (internal
construe “regulatory” narrowly, limiting the term to licensing        citations and quotation marks omitted). As discussed below,
statutes or other public service laws enacted pursuant to             the Court has no trouble concluding that suspension of
Montana's inherent police powers. Defendants argue for a              Montana Code Annotated § 13-19-104(3)(a) is necessary
broader reading, characterizing regulatory statutes as those          to facilitate Montana's effective response to the COVID-19
which apply to the conduct of state actors.                           pandemic. The provisions on which Governor Bullock relies
                                                                      in issuing the Directive not only provide him with such
Statutes governing the electoral process are by their very            authority, but likewise constitute a fundamental part of the
nature regulatory. Anderson v. Celebrezze, 460 U.S. 780, 788,         legislative enactments governing the time, place, and manner
103 S.Ct. 1564, 75 L.Ed.2d 547 (1983) (construing Ohio's              of elections in Montana and how electors are appointed.
statutory deadline for candidacy statements as part of its
“regulation of elections” and exercise of the state's “important      But this does not end the matter, because there is the
regulatory interests”); Burdick, 504 U.S. at 433–34, 112 S.Ct.        additional question of whether such delegation by the
2059 (interpreting Hawaii's statutory framework regarding             Montana Legislature to Governor Bullock is constitutional.
write-in voting as a facet of “the State's important regulatory       Resolution of this question depends on the meaning of the
interests ....”); Crawford, 553 U.S. at 203, 128 S.Ct. 1610           term “Legislature” as used in the Elections and Electors
(referring to Indiana's voter identification statute as a “neutral,   Clauses. As an initial matter, the Court finds no need to
nondiscriminatory regulation of voting procedure”).                   distinguish between the term “Legislature” as it is used in
                                                                      the Elections Clause as opposed to the Electors Clause.
Indeed, the statute at issue does not permit the Governor             Not only were both these clauses adopted during the
to suspend any regulatory statute, but rather only those              1787 Constitutional Convention, but the clauses share a
regulatory statutes that prescribe “the procedures for conduct        “considerable similarity.” Arizona State Legis. v. Arizona
of state business.” Mont. Code Ann. § 10-3-104(2)(a). None            Indep. Redistricting Comm'n, 576 U.S. 787, 839, 135 S.Ct.
of the cases relied on by Plaintiffs interpret the reach of the       2652, 192 L.Ed.2d 704 (2015) (Roberts, J., dissenting).
Governor's suspension power. Instead, Plaintiffs point to a
series of Montana cases using the words “regulatory statute”          Additionally, “[w]herever the term ‘legislature’ is used in
completely divorced from the situation at hand and the powers         the Constitution, it is necessary to consider the nature of
at play. One case for example, characterizes the Montana              the particular action in view” before affording it a certain
Unfair Trade Practices Act as a “regulatory statute.” Mark            meaning. Smiley v. Holm, 285 U.S. 355, 366, 52 S.Ct. 397, 76
Ibsen, Inc. v. Caring for Montanans, Inc., 383 Mont. 346, 371         L.Ed. 795 (1932). With this in mind, the Court finds that the
P.3d 446, 455 (2016). But Mark Ibsen refers to the Montana            term “Legislature” is used in a sufficiently similar context in
Unfair Trade Practices Act which regulates “trade practices in        both clauses to properly afford the term an identical meaning
the business of insurance,” not the conduct of state business.        in both instances. Specifically, the term “Legislature” as
Id.; see also Mont. Code Ann. § 33-18-101. The failure to             used in both clauses refers to a state's legislative function as
connect the word regulatory to “conduct of state business”            opposed to the term's use in other places in reference to an
severely undermines Plaintiffs’ proposed interpretation.              electoral, ratifying, or consenting function. Id. at 365–66, 52
                                                                      S.Ct. 397. As such, the Court conducts a singular analysis in
 *11 The Court is convinced that the statute at issue here,           resolving both constitutional questions.
Montana Code Annotated § 13-19-104(3)(a), which forbids
local officials from conducting a “regularly scheduled federal,       A survey of the relevant case law makes clear that the term
state or county election” by mail ballot, is precisely the sort       “Legislature” as used in the Elections Clause is not confined
of regulatory statute that falls within Governor Bullock's            to a state's legislative body. On the contrary, nearly a century
statutory suspension power. After all, the administration of          ago the Supreme Court concluded that the term “Legislature
federal, state, and local elections is quintessentially state         did not mean the representative body alone” but also “a veto
business. See Clingman v. Beaver, 544 U.S. 581, 586,                  power lodged in the people” by way of the Ohio Constitution's
125 S.Ct. 2029, 161 L.Ed.2d 920 (2005) (noting that the               referendum process. Davis v. Hildebrant, 241 U.S. 565, 566–
Constitution “grants States broad power to prescribe the              70, 36 S.Ct. 708, 60 L.Ed. 1172 (1916). The Supreme Court
Times, Places and Manner of holding Elections for Senators            followed the trajectory established by Davis several years



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later in Smiley v. Holm, where it concluded that the term                     of government.” Id. at 232, 60 P.3d 357. Cooperative
“Legislature” in the Elections Clause did not “preclude[ ] a                  action in the administration of elections and response to
state from providing that legislative action in districting the               an emergency are exactly what has occurred here. As
state for congressional elections shall be subject to the veto                such, the Court has serious doubts about the merits of a
                                                                              state constitutional claim, assuming it had properly been
power of the Governor as in other cases of the exercise of the
                                                                              raised in this case.
lawmaking power.” 285 U.S. 355, 372–73, 52 S.Ct. 397, 76
L.Ed. 795 (1932). Thus, after Davis and Smiley it was clear
that the term “Legislature” in the Elections Clause included          ii. Right to Vote Claims.
not only a state's lawmaking body, but also the citizens’
referendum power and the Governor's veto.                             While not specifically enumerated, “[u]ndeniably the
                                                                      Constitution of the United States protects the right of all
The Supreme Court expanded, rather than abandoned, this               qualified citizens to vote, in state as well as in federal
interpretation of the term “Legislature” just five years              elections.” Reynolds v. Sims, 377 U.S. 533, 554, 84 S.Ct.
ago. There, the Supreme Court concluded that the term                 1362, 12 L.Ed.2d 506 (1964). This right is “individual and
“Legislature” in the Elections Clause also encompasses an             personal in nature.” Gill v. Whitford, ––– U.S. ––––, 138 S. Ct.
independent redistricting commission utilized by Arizona to           1916, 1930, 201 L.Ed.2d 313 (2018). Additionally, this right
draw congressional districts. Arizona State Legis., 576 U.S.          “can neither be denied outright ... nor destroyed by alteration
at 804–09, 135 S.Ct. 2652. In doing so, the Supreme Court             of ballots ... nor diluted by ballot-box stuffing.” Reynolds, 377
concluded the Elections Clause “respect[s] the State's choice         U.S. at 554, 84 S.Ct. 1362. The parties have focused their
to include” the people's referendum power, the Governor's             argument on whether a claim for vote dilution rooted in the
veto, and an independent restricting commission in decisions          United States Constitution is cognizable. The Court finds such
regarding the times, places, and manners of federal elections.        an analysis to be unnecessary because, even assuming such a
Id. at 807, 135 S.Ct. 2652.                                           claim exists, Plaintiffs have not even attempted to introduce
                                                                      the requisite evidence necessary to prevail.
 *12 Upon review of these cases, the Court finds no reason
to conclude that the Montana Legislature's decision to afford         The Plaintiffs maintain that because the Directive permits
the Governor's statutory suspension power a role in the time,         counties to conduct the November 3, 2020 general election
place, and manner of Montana's federal elections should               by mail ballot, this election will be ripe with fraud and thus
not be afforded the same respect. In other words, Governor            result in unconstitutional disenfranchisement of a both direct
Bullock's use of the legislatively created suspension power           and dilutive nature. Yet, Plaintiffs have not introduced even an
is not repugnant to the constitutional provisions invoked by          ounce of evidence supporting the assertion that Montana's use
Plaintiffs.6 As such, the Court finds that the Directive violates     of mail ballots will inundate the election with fraud. Indeed,
neither the Elections or Electors clause of the United States         as indicated at the beginning of this Order, at the September
Constitution and judgment in favor of the Defendants on this          22, 2020 hearing on the merits, counsel for both the Member-
claim is appropriate.                                                 Plaintiffs and Lead-Plaintiffs conceded they do not possess
                                                                      any evidence establishing prior incidents of voter fraud in
6                                                                     Montana, which has an established and well used absentee
        Plaintiffs reference in passing Article III, § 1 of the
                                                                      voting system. The Court is thoroughly unconvinced that will
        Montana Constitution which forbids “the exercise of
        power properly belonging to one branch” by another. But       change in counties electing into the Directive's mail ballot
        not only have Plaintiffs failed to assert a stand alone       option.
        claim under the Montana Constitution, jurisdictional
        issues attendant to such a claim aside, this constitutional   The record is replete with evidence that Montana's elections
        provision does not require “absolute independence”            and the use of mail ballots present no significant risk of
        which “cannot exist in our form of government.”               fraud. The Declaration of Dr. Michael Herron is particularly
        Powder River Cty. v. State, 312 Mont. 198, 231–32,            enlightening. There, Dr. Herron concludes that there is
        60 P.3d 357 (2002). On the contrary, this provision           absolutely no evidence that deliberate voter fraud has
        “has never been accepted as an absolute principle in          occurred in Montana from 2012 to 2020. (Doc. 75-2 at 21.)
        practice” and is designed to prevent “a single branch
                                                                      Particularly, Dr. Herron concludes that “[v]oter fraud of all
        from claiming or receiving inordinate power” rather
                                                                      types is rare in the United States and rare in Montana as
        than “bar[ring] cooperative action among the branches



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well.” (Id.) Upon systematic dissection of the Lead-Plaintiffs’    democratic experiment and bolster forces determined on
motion (Doc. 8), Dr. Herron concludes that they have failed to     thwarting popular government. In the final analysis, the Court
“establish a compelling likelihood that voter fraud will occur     finds that Plaintiffs have not established that the use of mail
in Montana if this state uses universal vote-by-mail in the        ballots by Montana counties will introduce any meaningful
November election.” (Doc. 75-2 at 22.)                             level of fraudulent behavior into the election that could
                                                                   possibly rise to the level of a constitutional violation.
 *13 The Court also agrees that “[t]he most appropriate
comparison election for the upcoming, statewide November           The Lead-Plaintiffs also allege that the Directive infringes on
2020 General Election in Montana is the statewide, June 2020       the right to vote because the “sudden surge in mail ballots”
Primary election in Montana” in which no evidence of voter         will result in requested ballots never arriving, arriving too
fraud has been uncovered. (Id. at 34, 37.) The declarations        late, or completed ballots getting lost or delayed in the return
provided by Governor Bullock from three election officials in      process. But this contention suffers from the same fatal flaw
Montana fortifies the conclusion that a county's use of mail       as that based on voter fraud, an utter lack of any supporting
ballots does not meaningfully increase the already nominal         evidence. The Plaintiffs have failed to provide any proof that
risk of voter fraud in this State. (Docs. 81-3 at 4; 81-4 at       Montana's mail system will be unable to process an influx in
5.) The Intervenor-Defendants have similarly provided the          ballots. It takes more than mere supposition to prevail on the
Court with deposition testimony from various state officials       merits. Plaintiffs’ claim regarding errors in the mail system
confirming the lack of prior voter fraud in Montana. (Doc.         suffers the same fate as those rooted in voter fraud.
75-5 at 4, 9–10; 75-6 at 4–6; 75-7 at 4–5; 75–8 at 3–5.)

Additionally, the Court finds no reason to believe that the
                                                                   iii. Equal Protection Claim.
electoral safeguards designed to protect the integrity of
Montana's elections and prevent fraud will not operate as          The Member-Plaintiffs’ Equal Protection Claim lacks clarity.
they have in the past. These include, but are not limited          In their complaint, the Member-Plaintiffs rely on the Court's
to, Montana's proscription on voting twice in one election,        holding in Bush v. Gore and allege that because “46 of 56
Montana's ban on fraudulent voter registration, and the            Montana counties have filed mail-ballot plans,” if such plans
required signature verification upon receipt of a mail ballot.     are approved “voters in the 46 counties will have greater
Mont. Code Ann. §§ 13-13-241, 13-19-309, 13-35-209,
                                                                   voting power than other-county voters.” (Doc. 1 at 38.)7
13-35-210(1). None of these statutory provisions have been
                                                                   The complaint further alleges that the Directive “enhances
suspended by Governor Bullock's Directive.
                                                                   the odds of voters in counties adopting” it of “being able
                                                                   to vote and have their voices counted” and “[a]s a result,
The Member-Plaintiffs point to the Supreme Court's dicta in
                                                                   proportionally more votes will be obtained from in-Plan
Crawford as conclusive evidence of voter fraud. (Doc. 3 at
                                                                   counties than from other counties—with the difference not
3.) But Crawford does not limit its discussion of possible
                                                                   being accounted for by population differences.” (Id.)
voter fraud to mail ballots. Instead, Crawford discusses prior
instances of voter fraud in the registration, in-person voting,
                                                                   7      As noted in this Order, the number of counties currently
and absentee voting contexts. 553 U.S. at 195, ns. 11–13,
                                                                          opting in under the Directive is 45 not 46.
128 S.Ct. 1610. Additionally, the Supreme Court in Crawford
did not deploy its discussion of voter fraud to invalidate an       *14 The briefing submitted by Member-Plaintiffs fails to
entire electoral scheme—as Plaintiffs seek to do here—but          further illuminate the argument, simply contending that the
rather to justify the imposition of the exact sort of safeguards   Directive is a “disparate-power Plan” that provides some
previously discussed. Id. at 196, 128 S.Ct. 1610.                  voters with greater voting power. (Doc. 91 at 12.) At oral
                                                                   argument, counsel for Member-Plaintiffs confused the issue
Furthermore, if reliance on Crawford alone without any             by characterizing their equal protection argument as being
supporting evidence were enough, it is unclear how our             rooted in the risk of voter fraud attached to the use of mail
republic could be expected to conduct elections at all.            ballots. To the extent voter fraud plays a role in the Equal
Litigants could simply attack any electoral structure as           Protection Claim, which is not clear from the face of the
inviting fraud and thus offensive of the constitutional rights     complaint, such a claim can be easily disregarded for the
Plaintiffs invoke here. Such a result would cripple our great      reasons discussed above, again the complete absence of any



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evidence establishing that voter fraud has occurred in the past      designed to ensure that all eligible Montanans can vote in
or is likely to occur by way of the Directive in Montana.            the upcoming election. In sum, the Member-Plaintiffs Equal
                                                                     Protection Claim is without merit.
In Bush v. Gore, the Supreme Court reiterated the
longstanding principle that “one group can be granted greater        As the foregoing illustrates, Plaintiffs do not enjoy actual
voting strength than another is hostile to the one man, one          success on the merits of any of their claims. This conclusion
vote basis of our representative government.” 531 U.S. 98,           alone precludes Plaintiffs’ request for injunctive relief.
107, 121 S.Ct. 525, 148 L.Ed.2d 388 (2000). Particularly,            See Confederated Tribes & Bands of Yakima Nation v.
the Supreme Court held that “[e]qual protection applies” to          Yakama Cty., 963 F.3d 982, 993 (9th Cir. 2020) (concluding
the right to vote and “[h]aving once granted the right to            that Yakama Nation was not entitled to a permanent
vote on equal terms, the State may not, by later arbitrary           injunctive after failing to show actual success on the merits).
and disparate treatment, value one person's vote over that           Nonetheless, the Court finds it prudent to address the
of another.” Id. at 104–05, 121 S.Ct. 525. Applying these            remaining factors.
principles, the Supreme Court found that the Florida Supreme
Court's ratification of disparate standards used by counties to
determine what is or is not a valid vote resulted in the arbitrary
                                                                     B. Irreparable Injury.
and disparate treatment forbidden by the Equal Protection
Clause. Id. at 104–09, 121 S.Ct. 525. The Court finds no such         *15 To establish this factor, Plaintiffs must demonstrate
equal protection issue here.                                         that they have suffered irreparable injury. It is not lost on
                                                                     this Court that constitutional violations are often sufficient
First, the Supreme Court was clear in Bush v. Gore                   in and of themselves to establish irreparable harm. Goldie's
that the question was not “whether local entities, in the            Bookstore, Inc. v. Superior Court of Cal., 739 F.2d 466,
exercise of their expertise, may develop different systems           472 (9th Cir. 1984); Associated Gen. Contractors of Cal.,
for implementing elections.” Id. at 109, 121 S.Ct. 525.              Inc. v. Coalition for Econ. Equity, 950 F.2d 1401, 1412
Yet this is precisely the conduct of which the Member-               (9th Cir. 1991). As noted above, the entirety of Plaintiffs’
Plaintiffs now complain. The crux of their argument,                 claims consist of purported constitutional violations. But, as
as pled in their complaint, is that the use of a mail                discussed at length, none of these claims are meritorious.
ballot system by some counties and not others results in             Thus, Plaintiffs have not suffered any irreparable injury.
unconstitutionally disparate treatment. The Court agrees with        Consequently, this factor weighs in Defendants’ favor.
Governor Bullock's argument that few (if any) electoral
systems could survive constitutional scrutiny if the use of
different voting mechanisms by counties offended the Equal
Protection Clause.                                                   C. Adequacy of Remedies at Law.

                                                                     In analyzing this factor, the Court notes that “unlike monetary
Second, in any event, the Court finds Member-Plaintiffs’
                                                                     injuries, constitutional violations cannot be adequately
complaints of disparate and unequal treatment unfounded.
                                                                     remedied through damages.” Stormans, Inc. v. Selecky, 586
The Directive makes clear that even in counties electing to
                                                                     F.3d 1109, 1138 (9th Cir. 2009) (internal citations and
opt into Montana's mail ballot procedure for the November
                                                                     alterations omitted). This notion, of course, depends on the
3, 2020 general election, in-person voting opportunities
                                                                     actual finding of a constitutional violation, which is not
will remain available. (Doc. 81-15 at 3.) Additionally, the
                                                                     present in this case. Having found no constitutional violation,
Member-Plaintiffs have not introduced any evidence that the
                                                                     the Court holds that Plaintiffs are not entitled to any relief,
11 Montana counties electing to conduct the election without
                                                                     equitable or otherwise.
the use of mail ballots are utilizing procedures that render
voters in those counties less likely to have their votes cast.
Likewise, nothing in the record supports the claim that the
counties who have opted to proceed under the Directive are           D. Balance of Hardships and Public Interest.
more likely to permit their citizens to successfully cast a
                                                                     In conducting the final injunctive inquiry, this Court heeds
ballot. As such, the Directive does not condone or facilitate
                                                                     the Supreme Court's warning against changing the rules of
any disparate treatment of Montana voters, and instead, is
                                                                     the game on the eve of an election. Republican Nat'l Comm.


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v. Democratic Nat'l Comm., ––– U.S. ––––, 140 S. Ct. 1205,
1207, 206 L.Ed.2d 452 (2020) (internal citations omitted).            *16 This Court finds that it would not only be unequitable,
This warning necessarily cautions against the issuance of            but also strongly against the public interest, to upset the
injunctive relief in this case, just days before ballots are to be   current election procedures of 45 Montana counties just days
mailed by counties who have elected to utilize the mail ballot       before mail ballots are to be sent to registered voters. Those
procedures authorized by the Directive.                              45 counties would be forced, likely in vain, to quickly develop
                                                                     the electoral infrastructure necessary to administer the general
Indeed, federal courts have time and time again been                 election under normal conditions. The result is the possible
cautioned against injecting themselves into the electoral            disenfranchisement of thousands of Montana voters who as
process. See, e.g., Southwest Voter Registration Educ. Project       of the date of this Order, are operating under the belief that
v. Shelley, 344 F.3d 914, 918 (9th Cir. 2003) (holding “[t]here      they will shortly receive a ballot in the mail. Issuance of an
is no doubt that the right to vote is fundamental, but a federal     injunction presumes counties could successfully notify these
court cannot lightly interfere with or enjoin a state election”).    voters of the need to apply for an absentee ballot (which may
In fact, “[t]he decision to enjoin an impending election is          not be successfully processed in time) in order to vote from
so serious that the Supreme Court has allowed elections to           the safety of their home or that these voters will be willing
go forward even in the face of an undisputed constitutional          to brave the pandemic and exercise their franchise in person.
violation.” Id. (collecting authority).                              Both are unlikely. As such, the injunction Plaintiffs’ seek
                                                                     would likely bring about significant disenfranchisement.
This restraint on the issuance of injunctive relief is
unsurprising, because ultimately an “injunction is a matter          Irrespective of these administrative issues, the Court also
of equitable discretion; it does not follow from success on          finds that enjoinment of the Directive would only accelerate
the merits as a matter of course.” Winter, 555 U.S. at 32,           the outbreak of COVID-19 which Montana now faces.
129 S.Ct. 365. Accordingly, even if Plaintiffs’ had actually         Contrary to Plaintiffs’ assertions that Montana is out of the
succeeded on the merits of their claims, which they have             woods and free from the virus that continues to cripple
not, it does render the issuance of an injunction preordained.       society across the globe, Montana continues to struggle with
On the contrary, the Court is compelled to carefully balance         outbreaks across the state. In fact, as of September 29, 2020,
the equities and the public interest before awarding the             and as the following graph indicates, Montana's COVID-19
extraordinary relief Plaintiffs’ seek. In doing so, the Court        cases continue to rise, with a commensurate increase in
finds that this factor weighs strongly in the Defendants’ favor.     deaths.

The evidence in the record demonstrates that issuance
of the injunctive relief sought by Plaintiffs would have
profound, and most likely catastrophic consequences on
the administration of Montana's general election. Election
officials have extensively outlined the nearly insurmountable
challenges which would arise should the Court enjoin
enforcement of the Directive. These include: (1) the
impossibility of procuring, training, and certifying the
competency of the election judges necessary to administer
an election in the absence of mail ballot procedures; (2) the
logistical nightmare posed by completely reversing course at
this late hour and moving from a mail ballot to traditional
election administration; and (3) the difficulty, harm to election
integrity, and resulting confusion that would occur if counties      Montana Covid Map and Case Count, N.Y. Times, https://
had to notify their citizens of the abrupt last minute change        nyti.ms/2R3F2S9 (last visited September 29, 2020). It is
to available voting opportunities. (Docs. 81-3 at 2–3; 81-4 at       not hard to imagine that enjoinment of the Directive would
2–4; 81-15 at 7–13.) These concerns are well founded and             vastly increase the number of Montanans exercising their
provide strong equitable and public interest considerations          franchise in person during the election. Given the contraction
against enjoinment of the Directive.                                 of available in-person voting opportunities, this influx of in



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                                                                    who either themselves or a loved one suffer from a medical
person voters would obviously hasten the already increasing
                                                                    condition for which COVID-19 exposure poses a grave risk.
spread of COVID-19 infections in Montana.
Indeed, these health concerns were the primary basis on which
                                                                    Ultimately, considerations of public health weigh strongly
Governor Bullock rooted the Directive. (Doc. 81-15 at 2–
                                                                    against the issuance of an injunction, even if Plaintiffs’ claims
3.) Evidence submitted in this case raises compelling public
                                                                    were meritorious. Having weighed the requisite factors, the
health concerns stemming from enjoinment of the Directive.
                                                                    Court concludes that Plaintiffs are not entitled to injunctive
(See, e.g., Doc. 81-1 at 6.) The Declaration of Dr. Gregory
                                                                    relief. Because they have not actually succeeded on the merits
Holzman, for example, outlines at length the safety measures
                                                                    of any of their claims, the Court additionally finds that they
necessary to safely conduct an election by predominately in-
                                                                    are not entitled to any of the relief they seek. As such,
person voting. (Doc. 81-5 at 5–6.) In the end, however, Dr.
                                                                    judgment in favor of the Defendants in both the lead and
Holzman concludes that “last minute changes that eliminate
                                                                    member cases is warranted.
mail voting would require substantial effort by election
administrators to provide for high-density, crowded polling
                                                                     *17 Accordingly, IT IS ORDERED that the Plaintiffs’
place election procedures that satisfy the” necessary safety
                                                                    requests for injunctive, declaratory, or any other form of relief
measures. (Id. at 7.)
                                                                    are DENIED.
Governor Bullock has provided the Court with a declaration
                                                                    IT IS FURTHER ORDERED that judgment in both the lead
from a resident of Cascade County, Montana who intends
                                                                    case (CV 20–66–H–DLC) and the member case (CV–20–67–
to vote in the upcoming election. (Doc. 81-6 at 2.) Because
                                                                    H–DLC) shall be entered in the Defendants’ favor.
of this voter's health conditions, voting in person is simply
not possible. (Id. at 2–3.) Enjoining the Directive would
                                                                    IT IS FURTHER ORDERED that all pending motions are
effectively disenfranchise this voter, who, based on the
                                                                    DENIED as moot.
administrative issues outlined above, would unlikely be able
to successfully register for and receive an absentee ballot prior
                                                                    The Clerk of Court is directed to enter judgments in the lead
to election day. This voter does not exist in isolation, and
                                                                    and member cases by separate documents and close the case
in-person voting by his family members and friends, which
                                                                    files.
would be increasingly likely if the Directive was enjoined,
would vastly increase his own risk of viral exposure with
possibly deadly consequences. (Id.) These concerns are likely       All Citations
not unique and apply with equal force to many Montanans,
                                                                    --- F.Supp.3d ----, 2020 WL 5810556

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                  2020 WL 5626974
    Only the Westlaw citation is currently available.          ORDER
       United States District Court, D. Nevada.
                                                               James C. Mahan, UNITED STATES DISTRICT JUDGE

         DONALD J. TRUMP FOR                                    *1 Presently before the court is defendant Barbara
     PRESIDENT, INC., et al., Plaintiff(s),                    Cegavske, Nevada Secretary of State's, motion to dismiss the
                                                               first amended complaint. (ECF No. 37). Plaintiffs Donald
                   v.
                                                               J. Trump for President, Inc. (“Trump campaign”), the
       Barbara CEGAVSKE, Defendant(s).                         Republican National Committee, and the Nevada Republican
                                                               Party responded. (ECF No. 42). Defendant replied. (ECF No.
            Case No. 2:20-CV-1445 JCM (VCF)                    45).
                            |
                   Signed 09/18/2020
                                                               I. Background
Synopsis                                                       On August 3, 2020, Nevada joined the growing ranks of states
Background: Presidential election campaign and political       that have expanded mail-in voting due to the COVID-19
party brought action challenging constitutionality of Nevada
                                                               pandemic.1 See Assembly Bill No. 4 of the 32nd Special
statute which expanded mail-in voting for Nevada voters
                                                               Session (2020) of the Nevada Legislature, Act of August
during COVID-19 pandemic. Nevada Secretary of State
                                                               3, 2020, ch. 3, 2020 Nev. Stat. 18, §§ 1–88 (“AB 4”).
moved to dismiss.
                                                               The Nevada State Legislature passed Assembly Bill 4 (“AB
                                                               4”), which codified procedures for elections impacted by
                                                               emergencies or disasters.2 Specifically, the law directs city
Holdings: The District Court, James C. Mahan, Senior           and county election officials to mail paper ballots to all active
District Judge, held that:                                     registered voters in Nevada. AB 4 at § 15.

presidential election campaign and political party lacked      1       Prior to the COVID-19 pandemic, Nevada voters
associational standing to bring suit on behalf of its member
                                                                       could request an absentee ballot without providing an
voters, and
                                                                       excuse or justification, and certain voters in rural areas
                                                                       could be grouped together in “mailing precincts” and
plaintiffs lacked direct organizational standing.                      “automatically mailed their paper ballots.” (See ECF No.
                                                                       37 at 7 (citing NRS §§ 293.3038-.340; 293.343-.355)).

Motion granted.                                                2       “[I]f a state of emergency or declaration of disaster is
                                                                       proclaimed by the Governor or by resolution of the
                                                                       Legislature pursuant to NRS 414.070 for the entire State
Attorneys and Law Firms                                                of Nevada, the following elections are deemed to be
                                                                       affected elections.” AB 4 at § 8. Governor Steve Sisolak
Donald J. Campbell, J Colby Williams, Campbell & Williams,             declared a state of emergency due to the COVID-19
Las Vegas, NV, Thomas McCarthy, Pro Hac Vice, Cameron                  pandemic on March 12, 2020. (ECF No. 29 at ¶ 103).
Thomas Norris, Pro Hac Vice, Tyler Green, Pro Hac
Vice, William Spencer Consovoy, Pro Hac Vice, Consovoy         The next day, plaintiffs filed this instant suit.3 (ECF No. 1).
McCarthy PLLC, Arlington, VA, for Plaintiff(s).                They challenge several key provisions of AB 4:

Aaron D. Ford-AG, Nearvada Attorney General, Craig A.          3       This suit is one of several that the Trump campaign
Newby, Gregory Louis Zunino, Nevada State Attorney                     has filed challenging expansions of mail-in voting
General's Office, Carson City, NV, for Defendant(s).                   during the COVID-19 pandemic. See Donald J. Trump
                                                                       for President, Inc. v. Bullock, No. CV 20-6-H-DLC
                                                                       (D. Mont. filed Sept. 2, 2020); Donald J. Trump for
                                                                       President, Inc. v. Murphy, No. 3:20-cv-10753, 2020 WL



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        4805762 (D.N.J. filed Aug. 18, 2020); Donald J. Trump         Section 22 of AB 4 requires election officials to establish
        for President, Inc. v. Boockvar, No. 2:20-cv-00966 (W.D.      “procedures for the processing and counting of mail ballots”
        Pa. filed Jun. 29, 2020). This court only takes notice of
                                                                      for any affected election.6 AB 4 at § 22. Section 25 provides
        the existence of these lawsuits, and not the disputed facts
                                                                      that “if two or more mail ballots are found folded together to
        therein. Fed. R. Evid. 201.
                                                                      present the appearance of a single ballot” and “a majority of
Section 20(2) of AB 4 establishes a presumption that a ballot         the inspectors are of the opinion that the mail ballots folded
was cast in time, as long as it is received by election officials     together were voted by one person, the mail ballots must be
before 5 p.m. on the third day after the election, even if it
                                                                      rejected.”7 AB 4 at § 25(2). Plaintiffs allege that sections
                    4
lacks a postmark. AB 4 at § 20(2). Plaintiffs allege that             22 and 25 violate the Equal Protection Clause, because they
section 20(2) is preempted by federal laws that set the date of       authorize “ ‘standardless’ procedures” across counties and
the general election,5 because the provision allegedly permits        cities for processing, inspecting, and counting mail ballots
election officials to count ballots cast after election day. (ECF     with no “specific rules designed to ensure uniform treatment”
No. 29 at ¶¶ 104–123). Plaintiffs theorize that, due to the           and no “ ‘minimal procedural safeguards.’ ” (ECF No. 29 at
speed of the United States Postal Service, a ballot mailed in         ¶¶ 145, 159) (quoting Bush v. Gore, 531 U.S. 98, 105–106,
Clark or Washoe county “in a state-provided, postage prepaid          121 S.Ct. 525, 148 L.Ed.2d 388 (2000) (per curiam)).
first-class envelope on the Wednesday or Thursday after
Election Day will likely be received [by election officials]          6      Section 22 is read together with other provisions in AB
before 5:00pm on the Friday after the election” and “almost                  4 that establish procedures for processing and counting
certainly will arrive without bearing a postmark.” (Id. at ¶ 96).            mail ballots. For example, section 17 requires election
                                                                             officials to secure proof of identification from certain
4       Section 20(2) of AB 4 duplicates NRS § 293.317, a                    first-time voters before counting their mail ballots. AB 4
        statute that has been in effect since January 1, 2020, but           at § 17. Section 23 requires election officials to verify the
        makes it applicable to affected elections. (ECF No. 37 at            signature on mail ballots. Id. at § 23. Section 26 requires
        8, 15).                                                              election officials to verify that the voter did not vote in
                                                                             person before counting the mail ballot. Id. at § 26. And
5       U.S. Const. art. I, § 4, cl. 1 (Elections Clause); U.S.              Section 22(b) forbids election officials from establishing
        Const. art. II, § 1, cl. 4 (Electors Clause); U.S. Const.            any procedures that conflict with sections 2 to 27 of AB
        art. VI, § 2 (Supremacy Clause); 3 U.S.C. § 1 (“Time of              4. Id. at § 22.
        appointing electors”); 2 U.S.C. § 7 (“Time of election”);
                                                                      7      Section 25 of AB 4 duplicates NRS § 293.363, a statute
        2 U.S.C. § 1 (“Time for election of senators”).
                                                                             that has been in effect since 1960, but makes it applicable
 *2 Sections 11 and 12 of AB 4 require election officials to                 to affected elections. (ECF No. 37 at 9, 21).
establish a minimum number of in-person voting locations for
                                                                      And finally, plaintiffs allege that all of the aforementioned
early voting and election-day voting, respectively. AB 4 at §§
11, 12. A county with a population of “700,000 or more” must          provisions of AB 4, along with section 21,8 “facilitate
establish at least 100 voting centers for election day. Id. at §      fraud and other illegitimate voting practices” and “dilute the
12. A county with a population of “100,000 or more but less           value of honest, lawful votes” in violation of the Fourteenth
than 700,000” must establish at least 25 voting centers. Id.          Amendment. (ECF No. 29 at ¶ 169).
And a county with a population of “less than 100,000” may
establish one or more voting center. Id. Plaintiffs allege that       8      Section 21 allows for “a person authorized by the voter
sections 11 and 12 authorize the disparate treatment of rural                may return the mail ballot on behalf of the voter by
voters in violation of the Equal Protection Clause, because                  mail or personal delivery to the county or city clerk,
there will be “more in-person voting places per capita for                   as applicable, or any ballot drop box established in the
voters in urban counties than in rural counties.” (ECF No. 29                county or city, as applicable.” AB 4 at § 21.
at ¶ 100). Plaintiffs speculate that rural Nevada counties will       On August 20, 2020, plaintiffs amended their complaint
have substantially higher numbers of registered voters per in-        without altering the parties or their claims. (ECF No. 29).
person voting location than urban counties such as Washoe.            Defendant now moves to dismiss the amended complaint
(Id. at ¶¶ 130–138).                                                  pursuant to Federal Rule of Civil Procedure 12(b)(1). (ECF
                                                                      No. 37).




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                                                                      the injury will be redressed by a favorable decision. Lujan,
II. Legal Standard                                                    504 U.S. at 560–61, 112 S.Ct. 2130. The party invoking
Federal courts are courts of limited jurisdiction. Owen Equip.        federal jurisdiction bears the burden of demonstrating that
& Erection Co. v. Kroger, 437 U.S. 365, 374, 98 S.Ct.                 it has standing to sue. Id. at 561, 112 S.Ct. 2130. “[A]t
2396, 57 L.Ed.2d 274 (1978). “A federal court is presumed             the pleading stage, the plaintiff must ‘clearly ... allege facts
to lack jurisdiction in a particular case unless the contrary         demonstrating’ each element” of standing. Spokeo, 136 S. Ct.
affirmatively appears.” Stock West, Inc. v. Confederated              at 1547 (quoting Warth v. Seldin, 422 U.S. 490, 518, 95 S.Ct.
Tribes of Colville Reservation, 873 F.2d 1221, 1225 (9th Cir.         2197, 45 L.Ed.2d 343 (1975)).
1989).
                                                                      “To establish injury in fact, a plaintiff must show that he or
                                                                      she suffered ‘an invasion of a legally protected interest’ that
   A. Federal Rule of Civil Procedure 12(b)(1)
                                                                      is ‘concrete and particularized’ and ‘actual or imminent[.]’
Federal Rule of Civil Procedure 12(b)(1) allows defendants to
                                                                      ” Spokeo, 136 S. Ct. at 1548. Moreover, a concrete injury
seek dismissal of a claim or action for a lack of subject matter
                                                                      must actually exist and affect the plaintiff in a personal and
jurisdiction. Dismissal under Rule 12(b)(1) is appropriate if
                                                                      individual way. Id. As the Supreme Court noted in Spokeo:
the complaint, considered in its entirety, fails to allege facts on
its face sufficient to establish subject matter jurisdiction. In re      Congress' role in identifying and elevating intangible
Dynamic Random Access Memory (DRAM) Antitrust Litig.,                    harms does not mean that a plaintiff automatically satisfies
546 F.3d 981, 984–85 (9th Cir. 2008).                                    the injury-in-fact requirement whenever a statute grants
                                                                         a person a statutory right and purports to authorize that
 *3 Plaintiffs bear the burden of proving that the case is               person to sue to vindicate that right. Article III standing
properly in federal court to survive a Rule 12(b)(1) motion.             requires a concrete injury even in the context of a statutory
McCauley v. Ford Motor Co., 264 F.3d 952, 957 (9th Cir.                  violation. For that reason, [plaintiff] could not, for example,
2001) (citing McNutt v. General Motors Acceptance Corp.,                 allege a bare procedural violation, divorced from any
298 U.S. 178, 189, 56 S.Ct. 780, 80 L.Ed. 1135 (1936)). They             concrete harm, and satisfy the injury-in-fact requirement of
must plead “the existence of whatever is essential to federal            Article III.
jurisdiction, and, if [plaintiffs] do[ ] not do so, the court, on     Id. at 1549 (citing Summers v. Earth Island Institute, 555
having the defect called to its attention or on discovering the       U.S. 488, 496, 129 S.Ct. 1142, 173 L.Ed.2d 1 (2009)
same, must dismiss the case, unless the defect be corrected           (“[D]eprivation of a procedural right without some concrete
by amendment.” Smith v. McCullough, 270 U.S. 456, 459, 46             interest that is affected by the deprivation ... is insufficient to
S.Ct. 338, 70 L.Ed. 682 (1926).                                       create Article III standing.”)).


   B. Article III Standing                                            III. Discussion
Standing to sue is a “doctrine rooted in the traditional              Defendant argues that plaintiffs do not have standing to bring
understanding of a case or controversy.” Spokeo, Inc. v.              their claims for relief. (ECF Nos. 37, 45). This court agrees.
Robins, ––– U.S. ––––, 136 S. Ct. 1540, 1547, 194 L.Ed.2d
635 (2016). The doctrine “limits the category of litigants            Plaintiffs attempt to establish standing in three ways: (1)
empowered to maintain a lawsuit in federal court to seek              associational standing to vindicate harms to their member
redress for a legal wrong.” Id. In this way, standing “serves         voters, (2) direct organizational standing due to their need to
to prevent the judicial process from being used to usurp the          divert resources, and (3) direct and associational standing to
powers of the political branches.” Id. (quoting Clapper v.            vindicate competitive injuries to their candidates. (ECF No.
Amnesty Int'l USA, 568 U.S. 398, 408, 133 S.Ct. 1138, 185             42).
L.Ed.2d 264 (2013)); see also Lujan v. Defenders of Wildlife,
504 U.S. 555, 576–77, 112 S.Ct. 2130, 119 L.Ed.2d 351                 This court will address each of plaintiffs' theories in turn.
(1992).

To establish standing, plaintiff must plead three elements:              A. Associational Standing for Voters
(1) an injury in fact; (2) a causal connection between the             *4 Plaintiffs argue that they have associational standing
injury and the alleged misconduct; and (3) a likelihood that          to vindicate the injuries caused to their member voters by



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AB 4. (ECF No. 42 at 10–13). These injuries are two-fold:
an individual “right under the Constitution to have [your]        To demonstrate the substantial risk of voter fraud, plaintiffs
vote fairly counted, without being distorted by fraudulently      cite studies and news articles on the subject. (ECF No. 29 at ¶¶
cast votes”—vote dilution—and an “arbitrary and disparate         63–81). The news articles describe a parade of administrative
treatment of the members of its electorate”—violations of the     problems in Wisconsin, New Jersey, Connecticut, and New
Equal Protection Clause. (ECF No. 29 at ¶¶ 33, 35).               York, states that “hurriedly” implemented mail-in voting for
                                                                  elections during the COVID-19 pandemic. (Id. at ¶¶ 63–75).
An entity may establish associational standing to bring suit      Plaintiffs also point to reported irregularities in Nevada's June
on behalf of its members when: (1) “its members would             2020 mail-in primary elections. (Id. at ¶¶ 57–62).
otherwise have standing to sue in their own right;” (2) “the
interests it seeks to protect are germane to the organization's   Even if accepted as true, plaintiffs' pleadings allude to
purpose;” and (3) “neither the claim asserted nor the relief      vote dilution that is impermissibly generalized. The alleged
requested requires the participation of individual members in     injuries are speculative as well, see Lujan, 504 U.S. at 560,
the lawsuit.” Hunt v. Wash. State Apple Adver. Comm'n, 432        112 S.Ct. 2130, but their key defect is generality. As a court
U.S. 333, 343, 97 S.Ct. 2434, 53 L.Ed.2d 383 (1977).              in this district has already recognized, plaintiffs' claims of a
                                                                  substantial risk of vote dilution “amount to general grievances
This court finds that the Trump campaign fails to satisfy         that cannot support a finding of particularized injury as to
the second prong of associational standing: the interests of      [p]laintiffs.” Paher v. Cegavske, No. 3:20-cv-00243-MMD-
the voters are not “germane to the organization's purpose.”       WGC, 2020 WL 2748301, at *4 (D. Nev. May 27, 2020).
Id. The Trump campaign does not represent Nevada voters.          Indeed, the key provisions of AB 4 apply to all Nevada
The Trump campaign represents only Donald J. Trump                voters. Plaintiffs never describe how their member voters
and his “electoral and political goals” of reelection. (ECF       will be harmed by vote dilution where other voters will not.
No. 29 at ¶ 11). By statutory definition, a federal election      As with other “[g]enerally available grievance[s] about the
candidate's “principal campaign committee” is simply a            government,” plaintiffs seek relief on behalf of their member
reserve of funds set aside for that campaign. See 52 U.S.C.       voters that “no more directly and tangibly benefits [them] than
§ 30102 (“Organization of political committees”). Although        it does the public at large.” Lujan, 504 U.S. at 573–74, 112
the Trump campaign may achieve its “organization's purpose”       S.Ct. 2130; see Valley Forge Christian College v. Americans
through Nevada voters, the individual constitutional interests    United for Separation of Church and State, 454 U.S. 464, 485,
of those voters are wholly distinct. (ECF No. 29 at ¶ 11).        102 S.Ct. 752, 70 L.Ed.2d 700 (1982) (“The proposition that
                                                                  all constitutional provisions are enforceable by any citizen
In contrast to the Trump campaign, the Republican National        simply because citizens are the ultimate beneficiaries of those
Committee and Nevada Republican Party satisfy the second          provisions has no boundaries.”). Plaintiffs' allegations are
prong; the interests of their member voters are germane to        “precisely the kind of undifferentiated, generalized grievance
their “organization's purpose.” See Hunt, 432 U.S. at 343, 97     about the conduct of government” that fail to confer Article
S.Ct. 2434. Still, however, plaintiffs' member voters would       III standing. Lance v. Coffman, 549 U.S. 437, 442, 127 S.Ct.
not “otherwise have standing to sue in their own right.” Id.      1194, 167 L.Ed.2d 29 (2007).
Plaintiffs' alleged injury of vote dilution is impermissibly
“generalized” and “speculative” at this juncture. Drake v.         *5 As to plaintiffs' equal protection claims, plaintiffs first
Obama, 664 F.3d 774, 783 (9th Cir. 2011). To establish these      argue that “[s]ections 11 and 12 of AB4 authorize disparate
future injuries, plaintiffs must plead facts that establish a “   treatment of voters in rural counties” due to the law's
‘substantial risk’ that the harm will occur.” Susan B. Anthony    differences in minimum number of in-person voting locations
List v. Driehaus, 573 U.S. 149, 158, 134 S.Ct. 2334, 189          across counties and lack of further guidance on how election
L.Ed.2d 246 (2014) (citing Clapper v. Amnesty Int'l USA,          officials should make their determinations. (ECF No. 29 at ¶
568 U.S. 398, 414 n.5, 133 S.Ct. 1138, 185 L.Ed.2d 264            126). However, plaintiffs fail to demonstrate how these harms
(2013)). Plaintiffs' allegations of equal protection violations   are redressed by their requested relief. “The proposition
are also generalized and speculative. However, plaintiffs'        that plaintiffs must seek relief that actually improves their
claim against sections 11 and 12 fail to satisfy redressability   position is a well-established principle.” Townley v. Miller,
as well—“a likelihood that the injury will be redressed by a      722 F.3d 1128, 1134 (9th Cir. 2013). AB 4 simply establishes
favorable decision.” Lujan, 504 U.S. at 560, 112 S.Ct. 2130.      a minimum number of in-person voting locations. AB 4 at



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§§ 11, 12. Removing this one safeguard does not alleviate          misconduct of the defendant causes “a drain on [plaintiffs']
plaintiffs' concerns. In fact, it “worsen[s] plaintiffs' injury    resources from both a diversion of its resources and
rather than redressing it.” Townley, 722 F.3d at 1135 (“[I]f       frustration of its mission.” Fair Hous. Council of San
plaintiffs were to prevail in this lawsuit, ... voters would no    Fernando Valley v. Roommate.com, LLC, 666 F.3d 1216, 1219
longer have the opportunity to affirmatively express their         (9th Cir. 2012) (quotation omitted); see Havens Realty Corp.
opposition at the ballot box at all. The relief plaintiffs seek    v. Coleman, 455 U.S. 363, 379, 102 S.Ct. 1114, 71 L.Ed.2d
will therefore decrease their (and other voters') expression of    214 (1982) (“Such concrete and demonstrable injury to the
political speech rather than increase it, worsening plaintiffs'    organization's activities—with the consequent drain on the
injury rather than redressing it.”). An injunction against the     organization's resources—constitutes far more than simply
enforcement of AB 4 would not address plaintiffs' issues with      a setback to the organization's abstract social interests.”).
the discretion that Nevada election officials have to establish    Plaintiffs allege that AB 4 forces them “to divert resources
in-person voting locations. It would instead eliminate the         and spend significant amounts of money educating Nevada
safeguard of a minimum number of in-person voting locations        voters ... and encouraging them to still vote.” (ECF No. 29 at
from all counties.9                                                ¶ 17). Plaintiffs also briefly allege a need to divert resources
                                                                   to counteract voter fraud. (ECF No. 42 at 5) (citing Am. Civil
9                                                                  Rights Union v. Martinez Rivera, 166 F. Supp. 3d 779, 800
       During the pendency of this motion, Nevada
                                                                   (W.D. Tex. 2015)).
       election officials established polling places and voting
       centers for the 2020 general election. 2020 General
       Election & Polling Locations, Nevada Secretary              This court is unpersuaded by plaintiffs' theory of
       of State (2020), https://www.nvsos.gov/sos/elections/       organizational standing. Plaintiffs argue that AB 4 would
       election-day-information (presenting this information by    “confuse” their voters and “create incentive to remain
       county). This does not impact this court's finding on       away from the polls.” (ECF No. 29 at ¶ 17). Outside of
       redressability.                                             stating “confus[ion]” and “discourage[ment]” in a conclusory
Plaintiffs also claim that “AB 4's three-day, post-election        manner, plaintiffs make no indication of how AB 4 will
receipt deadline for non-postmarked ballots—coupled with           discourage their member voters from voting. (ECF No. 29);
its deeming rule, the faster average mailing time in urban         see Crawford v. Marion Cty. Election Bd., 472 F.3d 949,
districts such as Clark County, and the postal service's           951 (7th Cir. 2007), aff'd, 553 U.S. 181, 128 S.Ct. 1610,
practice of not postmarking prepaid mail—will likely result        170 L.Ed.2d 574 (2008) (holding that a “new law injures”
in significantly more untimely ballots being counted from          a political party when it compels it “to devote resources
urban areas.” (ECF No. 42 at 12). These injuries are too           to getting to the polls those of its supporters who would
speculative to establish standing. Plaintiffs offer a patchwork    otherwise be discouraged by the new law from bothering to
theory of harm that does not rely on AB 4, but on the speed of     vote.”). If plaintiffs did not expend any resources on educating
the United States Postal Service, an entity out of defendant's     their voters on AB 4, their voters would proceed to vote
control. (ECF No. 29 at ¶¶ 73–81, 90–97). A “future injury         in-person as they overwhelmingly have in prior elections.
may suffice if the threatened injury is ‘certainly impending,’     (ECF No. 29 at ¶¶ 43–47). AB 4 does not abolish in-
or there is a ‘substantial risk’ that the harm will occur.”        person voting. An organization cannot “simply choos[e] to
Susan B. Anthony List, 573 U.S. at 158, 134 S.Ct. 2334. Even       spend money fixing a problem that otherwise would not
among the segment of voters who vote by mail, plaintiffs           affect the organization at all. It must instead show that it
offer no indication that the alleged future injury is “certainly   would have suffered some other injury if it had not diverted
impending” or “substantial[ly]” likely. Id.                        resources to counteracting the problem.” Valle del Sol, Inc.
                                                                   v. Whiting, 732 F.3d 1006, 1018 (9th Cir. 2013) (quoting La
This court finds that plaintiffs do not have associational         Asociacion de Trabajadores de Lake Forest v. Lake Forest,
standing to represent their member voters.                         624 F.3d 1083, 1088 (9th Cir. 2010)). Plaintiffs make no
                                                                   showing of their voters' confusion. Indeed, voters exercised
                                                                   their ability to vote by mail in Nevada's 2020 primary
   B. Direct Organizational Standing                               election. NRS §§ 293.343-.355; see Paher v. Cegavske, No.
Plaintiffs next allege that they have direct organizational        320CV00243MMDWGC, ––– F.Supp.3d ––––, ––––, 2020
standing to bring their claims. (ECF No. 42 at 3–8).               WL 2089813, at *2 (D. Nev. Apr. 30, 2020) (“[A]ll active
Organizational standing is recognized where the alleged



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registered voters will be mailed an absentee ballot (mail-in      to divert resources to combat voter fraud. (ECF No. 42 at 4–5).
ballot) for the primary election.”).                              Plaintiffs cannot divert resources to combat an impermissibly
                                                                  speculative injury. See Susan B. Anthony List, 573 U.S. at
 *6 In making this fact-intensive finding, this court also        158, 134 S.Ct. 2334. Not only have plaintiffs failed to allege a
notes the substantive differences between AB 4 and the laws       substantial risk of voter fraud, the State of Nevada has its own
challenged in plaintiffs' cited authority. Compare AB 4, with     mechanisms for deterring and prosecuting voter fraud. See
Pavek v. Simon, No. 19-CV3000 (SRN/DTS), ––– F.Supp.3d            NRS §§ 293.700-.840 (“unlawful acts and penalties” in the
––––, ––––, 2020 WL 3183249, at *14 (D. Minn. June 15,            context of an election). Here, plaintiffs do not allege that those
2020) (finding organizational standing to challenge a state law   mechanisms would fail and that they would need to divert
which “requires that in Minnesota general elections, major        resources accordingly. This court finds that plaintiffs have
political party candidates must be listed, on the ballot, in      again failed to show that they would “suffer[ ] some other
reverse order based on the average number of votes that their     injury if [they] had not diverted resources to counteracting the
party received in the last state general election”); Democratic   problem.” Valle del Sol, 732 F.3d at 1018.
Nat'l Comm. v. Reagan, 329 F. Supp. 3d 824, 841 (D. Ariz.
2018), rev'd on other grounds sub nom. Democratic Nat'l
Comm. v. Hobbs, 948 F.3d 989 (9th Cir. 2020) (en banc)               C. Direct and Associational Standing for Candidates
(finding organizational standing to challenge a state law that    Finally, plaintiffs argue that they have both direct and
prohibits third-party ballot collection); Georgia Coal. for       associational standing to challenge “competitive harms” to
People's Agenda, Inc. v. Kemp, 347 F. Supp. 3d 1251, 1258         their electoral candidates. (ECF No. 42 at 8). “Competitive
(N.D. Ga. 2018) (finding organizational standing to challenge     standing” can exist when a state action will lead to the
a state voter identification and registration law); Feldman       “potential loss of an election.” Drake, 664 F.3d at 783
v. Arizona Sec'y of State's Office, 208 F. Supp. 3d 1074,         (quoting Owen v. Mulligan, 640 F.2d 1130, 1132–33 (9th Cir.
1080–81 (D. Ariz. 2016) (finding organizational standing to       1981)).
challenge a state law that “limits who may possess another's
early ballot”); Crawford v. Marion Cty. Election Bd., 472 F.3d    Plaintiffs seek to vindicate the rights of their candidates,
949, 951 (7th Cir. 2007), aff'd, 553 U.S. 181, 128 S.Ct. 1610,    because AB 4 will undermine the ability of “Republican
170 L.Ed.2d 574 (2008) (finding organizational standing to        candidates to receive[ ] effective votes in Nevada”
challenge a state voter identification law). In these cases       by “confus[ing] voters, undermin[ing] confidence in the
with organizational standing, the challenged law has a direct     electoral process, and creat[ing] incentives to remain away
and specific impact on a voter's ability to vote. Indeed, a       from the polls.” (ECF No. 29 at ¶¶ 16–17). The pleadings
diversion of resources for education would be required in         make no showing of “an unfair advantage in the election
such situations. But here, the challenged law expands access      process.” Drake, 664 F.3d at 783. Plaintiffs rely on conclusory
to voting through mail without restricting prior access to in-    statements on confusion and disincentives that this court has
person voting. Thus, as detailed above, plaintiffs need not       already found unpersuasive. See supra III.B. Plaintiffs seek
divert resources to enable or encourage their voters to vote.     to muster “competitive standing,” yet their candidates face no
                                                                  harms that are unique from their electoral opponents. Owen,
Plaintiffs also briefly argue that they will need to divert       640 F.2d at 1132–33 (finding competitive standing where the
resources to fight voter fraud. (ECF No. 42 at 4–5). This court   postal service gave plaintiff's opponent a preferential mailing
repeats its prior finding on vote dilution: it is a speculative   rate).
and “generalized grievance” in this case. See Paher, 2020
WL 2748301, at *4 (finding no standing where plaintiffs            *7 As to AB 4's disparate treatment of rural voters, this court
failed to “state a particularized injury” and did no more than    repeats its prior findings: plaintiffs' requested relief fails to
“speculatively connect the specific conduct they challenge ...    satisfy redressability and the alleged harm is too speculative.
and the claimed injury [of] vote dilution”); Am. Civil Rights     See supra III.A. Enjoining Nevada election officials from
Union v. Martinez-Rivera, 166 F. Supp. 3d 779, 789 (W.D.          enforcing AB 4 would not apparently improve the odds for
Tex. 2015) (“[T]he risk of vote dilution[ is] speculative and,    plaintiffs' candidates. See Drake, 664 F.3d at 783 (quoting
as such, [is] more akin to a generalized grievance about the      Owen, 640 F.2d at 1132–33 (9th Cir. 1981)). Plaintiffs make
government than an injury in fact.”). Plaintiffs note in their    no such allegations. Election officials would operate without
response to defendant's motion to dismiss that they will need     the guidance of AB 4's minimum number of in-person voting
                                                                  locations. On plaintiffs' theory as to Sections 20 and 22 of AB


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                                                                      Accordingly,
4, plaintiffs have not established a “substantial risk” that their
alleged harm will occur. Susan B. Anthony List, 573 U.S. at
                                                                      IT IS HEREBY ORDERED, ADJUDGED, and DECREED
158, 134 S.Ct. 2334. Thus, neither plaintiffs nor their member
                                                                      that defendant's motion to dismiss the amended complaint
candidates “have standing to sue in their own right.” Hunt,
                                                                      (ECF No. 37) be, and the same hereby is, GRANTED.
432 U.S. at 343, 97 S.Ct. 2434.

                                                                      IT IS FURTHER ORDERED that defendant's motion to
Ultimately, as plaintiffs concede, they hold “policy
                                                                      dismiss the original complaint (ECF No. 10) be, and the same
disagreements” with proponents of AB 4. (ECF No. 42 at 2).
                                                                      hereby is, DENIED as moot.
Although they purport to allege constitutional harms that go
beyond these policy disagreements, at this juncture, plaintiffs'
                                                                      IT IS FURTHER ORDERED that intervenor-defendants
allegations remain just that. (Id.). Since initiating this matter
                                                                      DNC Services Corporation/Democratic National Committee,
on August 4, 2020, (ECF No. 1), plaintiffs have not requested
                                                                      Democratic Congressional Campaign Committee, and the
an injunction or expedited review. Plaintiffs ask for a remedy
                                                                      Nevada State Democratic Party's motion to dismiss the
to cure the “confusion” caused by AB 4, yet they have
                                                                      amended complaint (ECF No. 40) be, and the same hereby is,
positioned this case for last minute adjudication before the
                                                                      DENIED as moot.
general election.10
                                                                      IT IS FURTHER ORDERED that plaintiff's motion for partial
10      The Supreme Court “has repeatedly emphasized that             summary judgment (ECF No. 41) be, and the same hereby is,
        lower federal courts should ordinarily not alter the          DENIED as moot.
        election rules on the eve of an election.” Republican Nat'l
        Comm. v. Democratic Nat'l Comm., No. 19A1016, –––
                                                                      IT IS FURTHER ORDERED that non-parties Walker River
        U.S. ––––, 140 S.Ct. 1205, 1207, 206 L.Ed.2d 452 (2020)
                                                                      Paiute Tribe and Pyramid Lake Paiute Tribe's motion to
        (citing Purcell; Frank v. Walker, 574 U.S. 929, 135 S.Ct.
                                                                      intervene (ECF No. 43) be, and the same hereby is, DENIED
        7, 190 L.Ed.2d 245 (2014); and Veasey v. Perry, 574 U.S.
                                                                      as moot.
        ––––, 135 S. Ct. 9, 190 L.Ed.2d 283 (2014)).
This court grants defendant's motion to dismiss due to                The clerk is instructed to close the case.
plaintiffs' lack of standing. (ECF No. 37). Plaintiffs' amended
complaint is hereby dismissed. (ECF No. 29). The remaining
motions before the court are denied as moot. (ECF Nos. 10,            All Citations
40, 41, 43).
                                                                      --- F.Supp.3d ----, 2020 WL 5626974

IV. Conclusion

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                                                              Arnold Golden. A hearing was held on such motion on
                                                              February 23, 2005.
                  2005 WL 6106401
    Only the Westlaw citation is currently available.
        FOR PUBLICATION-PRECEDENTIAL                          I. Background
              District Court of the Virgin                    Carmen Golden sought to be re-elected to the St. Croix Board
             Islands, Division of St. Croix.                  of Elections in 2004. She enrolled as a Democrat, ran as a
                                                              candidate in the Democratic primary, and received the second
   Carmen GOLDEN and Arnold M. Golden                         highest number of votes. Because only four Democrats may
    individually and on behalf of the voters                  sit on the St. Croix Board of Elections,1 and three members
      of the District of St. Croix, Plaintiff,                were sitting as Democrats, only one seat was certified for the
                         v.                                   Democratic primary.2 Therefore, Golden was not listed on the
                                                              ballot as a Democrat in the general election held on November
       GOVERNMENT OF THE VIRGIN
                                                              2, 2004, in which four new members of the St. Croix Board
   ISLANDS, Virgin Islands Joint Board of                     of Elections were to be elected. See 18 V.I.C. § 357(a) (1998).
    Elections, St. Croix Board of Elections,
                                                              1
     Evelyn James, as Chairman of the St.                            Title 18 V.I.C. § 41(b) (Supp.2004) provides in relevant
                                                                     part:
  Croix Board of Elections, John Abramson,                                 Each board shall consist of seven (7) members No
   Jr., as Supervisor of Elections, Raymond                                more than four (4) members of the same political
                                                                           party including individuals who are not affiliated
       Williams, Hope Gibson, and Mary
                                                                           with any political party shall be members of each
    Louise Moorehead Evans, Defendants.                                    Board.
                                                              2      Title 18 V.I.C. § 343 (1998) requires that the Supervisor
     Nos. 1:05-CV-00005RLFGWC, CIV.2005/0005.
                          |                                          of Elections, prior to each primary, ascertain the public
                                                                     offices to be filled at the ensuing general election for
                    March 1, 2005.
                                                                     which candidates are to be nominated at the primary.
Attorneys and Law Firms                                       Although Golden was not listed on the general election ballot,
                                                              Golden received write-in votes. When the votes were tallied,
Pamela L. Colon, Esq., Christiansted, VI, for Plaintiffs.
                                                              Golden was the write-in candidate with the most votes, and
Michael McLaurin, Department of Justice, Christiansted, VI,   the candidate with the fourth highest number of votes overall.
for Government of the Virgin Islands, Virgin Islands Joint    Accordingly, the Chairman of the St. Croix Board of Elections
Board of Elections, St. Croix Board of Elections, Evelyn      notified Golden that she had been elected as a member of the
James, and John Abramson, Jr.                                 Board of Elections. See 18 V.I.C. § 4(b)(4) (1998). However,
                                                              shortly thereafter, the Chairman of the St. Croix Board of
Hope Gibson, Gallow Bay Station, VI, Pro se.                  Elections informed Golden that, based on an opinion of
                                                              the Attorney General which is not of record in this case,
Mary Louise Moorehead Evans, Frederiksted, VI, Pro se.        the St. Croix Board of Elections had voted to decertify her
                                                              as the winning write-in candidate. The Court infers from
Krim M. Ballentine, St. Thomas, VI, Amicus Curiae.
                                                              Golden's Complaint, that the reason for her decertification
                                                              was that the Democratic seats were full, and that since she
                                                              was enrolled and elected as a Democrat, she could not take a
MEMORANDUM OPINION                                            non-Democratic seat.
FINCH, J.
                                                              Carmen and Arnold Golden bring this action as voters who
 *1 THIS MATTER comes before the Court on the Motion          cast votes for Carmen Golden. They claim that since, from
for Preliminary Injunction filed by Plaintiffs Carmen and     their point of view, Carmen Golden is entitled to a seat
                                                              on the St. Croix Board of Elections as the winning write-



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in candidate, their votes have not been honored, effectively        U.S.C. § 1971 et seq., known as the Voting Rights Act of
disenfranchising them.                                              1965. Complaint, ¶ 1. The Government Defendants point out
                                                                    that the facts as alleged do not state a claim for violation of
They assert that Golden is entitled to be a member of               any provision of the Voting Rights Act. Thus, the Government
the St. Croix Board of Elections for three reasons: (1)             Defendants argue, Plaintiffs have not met the jurisdictional
Two Democratic seats should have been certified for the             pleading requirement of Rule 8(a)(1) of the Federal Rules of
Democratic primary because one of the continuing members            Civil Procedure.
of the St. Croix Board of Elections had run and was elected
as an Independent candidate in the 2002 general election            The Government Defendants, however, overlook Plaintiffs'
and, therefore, should not have been seated as a Democrat;          allegations in paragraph 33 of the Complaint:
(2) Since an Independent can occupy a seat reserved for
a Democrat with impunity, then a Democrat may take an                  33. Defendants have violated (1) the First Amendment
Independent seat; and (3) Because Carmen and Arnold                    rights of Plaintiffs by illegally discriminating in favor of
Golden cast their votes for a write-in candidate without               Independent Williams over write-in Golden; (2) the equal
specifying the candidate's party affiliation, then that write-         protection rights of Plaintiffs by illegally discriminating
in candidate, Carmen Golden, being the write-in candidate              in favor of Independent Williams over write-in Golden
with the most votes, must be seated on the St. Croix Board of          with no rational reason or purpose; (3) the substantive due
Elections, regardless of her party affiliation.                        process right of Plaintiffs to a free and fair election, and (4)
                                                                       the rights of Plaintiffs under the Voting Rights Act.
                                                                    In the first three clauses of paragraph 33, Plaintiffs claim
II. Subject Matter Jurisdiction                                     that the Government Defendants have violated their First and
Defendants, Government of the Virgin Islands, Evelyn James,         Fourteenth Amendment constitutional rights. Read liberally,
John Abramson, Jr. and Raymond Williams [hereinafter “the           “so as to do substantial justice” pursuant to Rule 8(f) of the
Government Defendants], pursuant to Rule 12(b)(1) of the            Federal Rules of Civil Procedure, Plaintiffs are attempting
Federal Rules of Civil Procedure, contend that this Court           to assert claims under 42 U.S.C. § 1983.3,4 See Randall v.
lacks subject matter jurisdiction                                   United States, 95 F.3d 339, 346 (4th Cir.1996) (interpreting
                                                                    Rule 8(a)(1) in light of Rule 8(f)); see also Gardner v. First
 *2 “Federal courts are courts of limited jurisdiction.”            American Title Ins. Co., 294 F.3d 991, 994 (8th Cir.2002)
Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S.             (recognizing that Rule 8(a)(1) is satisfied if the complaint
375, 377 (1994). The burden of establishing subject matter          “says enough about jurisdiction to create some reasonable
jurisdiction rests upon the party asserting jurisdiction. Id.       likelihood that the court is not about to hear a case that it is
When plaintiffs assert a non-frivolous federal claim, federal       not supposed to have the power to hear” (quotation omitted)).
jurisdiction is proper. Martin v. United Way of Erie County,        “Although a plaintiff must allege essential jurisdictional facts
829 F.2d 445, 447 (3d Cir.1987). On the other hand, if the right    in a complaint, federal jurisdiction may be sustained on the
claimed is “so insubstantial, implausible, foreclosed by prior      basis of a statute not relied on or alleged in the pleadings.”
decisions of [the Supreme Court], or otherwise completely           Randall, 95 F.3d at 346 (quoting Celli v. Shoell, 40 F.3d 324,
devoid of merit as not to involve a federal controversy,”           328 (10th Cir.1994)).
dismissal for lack of jurisdiction is appropriate. Kulick v.
Pocono Downs, Racing Ass'n, Inc., 816 F.2d 895, 899 (3d             3       Indeed, on the date of the hearing on the preliminary
Cir.1987) (quotation omitted).
                                                                            injunction motion, Plaintiffs moved for leave to amend
                                                                            their Complaint to specify that the case is also brought
The Government Defendant have made a facial attack to this                  pursuant to 42 U.S.C. § 1983.
Court's jurisdiction, in that they contest the sufficiency of the
                                                                    4       Title 42 U.S.C. § 1983 provides:
pleadings. When a facial challenge is made pursuant to Rule
12(b)(1), the Court accepts the complaint's allegations as true.                  Every person who, under color of any statute,
Turicentro, S.A. v. American Airlines Inc., 303 F.3d 293, 300                     ordinance, regulation, custom, or usage, of any State
                                                                                  or Territory ..., subjects, or causes to be subjected,
n. 4 (3d Cir.2002).
                                                                                  any citizen of the United States or other person
                                                                                  within the jurisdiction thereof to the deprivation of
In the jurisdictional clause of the Complaint, Plaintiffs allege
                                                                                  any rights, privileges, or immunities secured by the
that this Court has subject matter jurisdiction pursuant to 42


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             Constitution and laws, shall be liable to the party      of Elections has effectively disenfranchised Plaintiffs in that
             injured in an action at law, suit in equity, or other    their votes have not counted.
             proper proceeding for redress....
 *3 If Plaintiffs have presented a substantial claim under            Thus, the Court finds that Plaintiffs have stated a claim
section 1983, then the Court has subject matter jurisdiction          under section 1983 for infringement of their right to
pursuant to 28 U.S.C. § 1343(a)(4) which states that “[t]he           have their vote count in violation of the Fourteenth
district courts shall have original jurisdiction of any civil         Amendment's Equal Protection Clause.6 See Pierce v.
action authorized by law to be commenced by any person: ...           Allegheny County Board of Elections, 324 F.Supp.2d
(4)[t]o recover damages or to secure equitable or other relief        684, 694-95 (W.D.Pa.2003). Moreover, because Plaintiffs
under any Act of Congress providing for the protection                claim deprivation of a fundamental right protected by the
of civil rights, including the right to vote.” See Rossello-          Constitution, even if the Court ultimately were to determine
Gonzalez, 2004 WL 3143501, *9 (1st Cir., Dec. 15, 2005);              that Plaintiffs have failed to state a claim upon which relief
Bonas v. Town of North Smithfield, 265 F.3d 69, 73 (1st               may be granted under section 1983, the Court is not deprived
Cir.2001). “[F]ederal courts have jurisdiction over claims            of subject matter jurisdiction. See Kulick, 816 F.2d at 898.
arising out of a state or local electoral dispute if, and to the
extent that, the complaint limns a set of facts that bespeaks         6       Because Plaintiffs have presented a substantial claim
the violation of a constitutionally guaranteed right.” Bonas,                 for violation of their equal protection rights, the Court
265 F.3d at 73-74.                                                            does not address Plaintiffs' First Amendment or due
                                                                              process allegations in determining that it has subject
The right to vote is a “fundamental political right” Yick Wo v.               matter jurisdiction.
Hopkins, 118 U.S. 356, 370 (1886), constitutionally protected
in territorial, as well as federal elections, see Reynolds v. Sims,   III. Standing
377 U.S. 533, 554 (1964). Qualified electors have the right to         *4 Defendant Hope Gibson asserts that Plaintiffs lack
vote in territorial elections under the Equal Protection Clause       standing to pursue this matter in this Court. Standing is a core
of the Fourteenth Amendment.5 See Harper v. Virginia State            component of the case-or-controversy requirement of Article
Board of Elections, 383 U.S. 663, 665 (1966). The right to            III of the United States Constitution. Luian v. Defenders of
vote extends to all phases of the voting process, including           Wildlife, 504 U.S. 555.560 (1992). To have standing in federal
having that vote actually count. See United States v. Mosley,         court, a plaintiff must allege an injury in fact caused by
238 U.S. 383, 386 (1915). If a candidate were to be sworn             the defendant that can be redressed by a favorable decision
in as an elected representative who received fewer votes than         of the court. Id. at 560-61. Beyond Article IE standing, a
another candidate, then each of the votes cast for the other          plaintiff must assert his own legal rights and interests, the
candidate would be ignored. Marks v. Stinson, 19 F.3d 873,            plaintiff may not depend on generalized grievances, and “the
887 (3d Cir.1994). This would violate the constitutionally            plaintiffs complaint must fall within the zone of interests
protected right to vote of those voters who had voted for the         to be protected or regulated by the statute or constitutional
candidate who received the most votes, but was not seated. Id.        guarantee in questions.” Society Hill Towers Owners' Ass'n v.
                                                                      Rendell, 210 F.3d 168, 178 (3d Cir.2000).
5       The Equal Protection Clause of the Fourteenth
        Amendment has been extended to the United States              Here, Plaintiffs, who voted for Carmen Golden for a seat on
        Virgin Islands by section 3 of the Revised Organic Act        the St. Croix Board of Elections, have alleged that Carmen
        of 1954, 48 U.S.C. § 1561, entitled “Bill of Rights.”         Golden, notwithstanding having received the most votes, has
                                                                      been decertified as the winning candidate. They allege that
Plaintiffs both voted for Carmen Golden. Carmen Golden
                                                                      the St. Croix Board of Elections' decertification of Carmen
received the highest number of write-in votes for a seat on the
                                                                      Golden has injured them in that the votes that they, personally,
St. Croix Board of Elections. The St. Croix Board of Elections
                                                                      cast have not been honored. Plaintiffs request that this Court
has now decertified Carmen Golden as the winning candidate,
                                                                      take steps to preserve Carmen Golden's position on the St.
and presumably will be certifying another candidate who
                                                                      Croix Board of Elections by finding that the St. Croix Board
received fewer votes than she did. If Plaintiffs are correct and
                                                                      of Elections violated their constitutional rights as voters. Such
Carmen Golden should have a place on the St. Croix Board of
                                                                      relief would provide Plaintiffs with a remedy.
Elections, then by decertifying Golden, the St. Croix Board



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Thus, Plaintiffs have met the requirements for standing under       reserved for a member of the Democratic Party. Even if
Article HI, as well as the prudential considerations that           the Court were to find that find that Williams must occupy
standing implicates.                                                an Independent seat, Plaintiffs would not be afforded any
                                                                    relief. The St. Croix Board of Elections would be statutorily
                                                                    constrained from certifying Carmen Golden as an occupant
IV. Abstention                                                      of the Democratic seat released by Williams. Title 18 V.I.C.
None of the parties have suggested that the Court abstain           § 342 (1998) requires that all candidates of political parties
in exercising its jurisdiction in this matter. Indeed, Plaintiffs   running for public offices be nominated and elected at primary
argue that this Court lacks the authority to abstain.               elections. Section 342 provides in relevant part:

The Court has considered each of the various abstention                Except as provided in sections 307 and 359 and as
doctrines and finds none to be applicable in this matter.              otherwise provided by law, all candidates of political
In light of the Court's “virtually unflagging” obligation to           parties, as defined in section 301 of this title, for public
adjudicate claims within its jurisdiction, the Court concludes         offices shall be nominated, ... at primary elections held in
that it would be inappropriate to abstain in this case. See            accordance with the provisions of this title and in no other
Marks, 19 F.3d at 881 (quotation omitted).                             manner.
                                                                    (emphasis added). Carmen Golden was nominated, but lost
                                                                    the election at the Democratic primary. Since she lost the
V. Preliminary Injunction Analysis                                  Democratic primary, she was not placed on the ballot for
“[T]o obtain a preliminary injunction, plaintiffs must show         the general election, 18 V.I.C. § 357 (1998), and she was
both (1) that they are likely to experience irreparable harm        precluded from being seated as a Democrat, see 18 V.I.C. §
without an injunction and (2) that they are reasonably likely to    342.
succeed on the merits.” Adams v. Freedom Forge Corp., 204
F.3d 475, 484 (3d Cir.2000). The Court must also consider           Plaintiffs also theorize that if the Court finds that Williams
whether granting preliminary relief will result in even greater     had been improperly seated as a Democrat, two seats would
harm to the nonmoving party and whether granting the                have been open at the Democratic primary, and since Carmen
preliminary relief will be in the public interest. Council of       Golden received the second most votes at the Democratic
Alternative Political Parties v. Hooks, 121 F.3d 876, 879 (3d       primary, she would likely have had a spot on the ballot, and
Cir.1997).                                                          would likely have won the second-most votes in the general
                                                                    election.

   A. Irreparable Harm
                                                                    Not only does this chain of logic involve considerable
Violation of Plaintiffs' constitutional right will cause them
                                                                    speculation, what Plaintiffs seek is federal overturning of
irreparable injury. Council of Alternative Political Parties
                                                                    the territorial primary election because only one Democratic
v. Hooks, 121 F.3d 876, 883 (3d Cir.1997). If Plaintiffs'
                                                                    seat was certified instead of two. Yet, just as Plaintiffs have
exercise of their voting rights is burdened by the improper
                                                                    raised a challenge now, Plaintiffs could have challenged the
decertification of the winning candidate for whom Plaintiffs'
                                                                    availability of only one Democratic seat before the primary
cast their vote, Plaintiffs will be irreparably harmed. Thus, the
                                                                    election. Although the Court has the power to invalidate
first factor is satisfied.
                                                                    constitutionally infirm elections, Hadnott v. Amos, 394 U.S.
                                                                    358, 367 (1969), equitable considerations must be taken
   B. Likelihood of Success                                         into account. See Soules v. Kauaians Nukolii Campaign
 *5 The Court examines the merits of Plaintiffs' three              Committee, 849 F.2d 1176, 1180 (9th Cir.1988). Laches bars
principal arguments:                                                post-election relief when the party seeking such relief has
                                                                    lacked diligence, and when the party asserting the laches
                                                                    defense will be prejudiced. Costello v. United States, 365 U.S.
  1. Raymond Williams' Seat                                         265, 282 (1961). The Court must consider “the extremely
Plaintiffs maintain that the Court can provide them with relief     disruptive effect of election invalidation and the havoc it
on the merits by finding that Raymond Williams, who ran             wreaks upon local political continuity.” Soules, 849 F.2d at
as an Independent in the 2002 general election, has been            1180.
unlawfully given a seat on the St. Croix Board of Elections


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Plaintiff Carmen Golden, as a member of the St. Croix Board         Finally, the Court cannot fully resolve this matter without
of Elections, and Plaintiff Arnold Golden, her husband, were        reaching the constitutional question raised by Amicus Curiae
well aware that only one seat had been certified for the            Krim Ballentine, and apparently adopted by Plaintiffs. See
Democratic primary, when they believed that two seats should        Opp. to Mot. to Dismiss filed by Def. Gibson, at 13, 14;
have been certified. They lacked diligence by waiting to see        Opp. to Mot. to Dismiss filed by Gov. Defs. at 12. Ballentine
whether their candidate of choice won the one certified seat,       asks the Court to find that to require candidates who are
before bringing a legal action arguing that a second seat           affiliated with a party to be elected by their party before
should have been certified. The doctrine of laches bars such        they can be certified for an elected position, even if they
post-election “sandbagging on the part of wily plaintiffs.”         received the highest number of votes as a write-in candidate,
Id. “[T]he failure to require pre-election adjudication would       is unconstitutional. According to Ballentine, this denies the
permit, if not encourage, parties who could raise a claim to        electorate equal protection in that a voter may write-in a
lay by and gamble upon receiving a favorable decision of            candidate of choice without knowing the candidate's political
the electorate and then, upon losing, seek to undo the ballot       affiliation. The voter may intend to cast a vote for the
results in a court action.” Id. (quotations omitted). Because       candidate regardless of the candidate's party. Instead, if the
Plaintiffs, without adequate explanation, did not raise their       write-in candidate belongs to a political party, the vote will be
challenge in an appropriate forum before the election, they are     effectively ignored, disenfranchising the voter.
barred by the doctrine of laches from the equitable relief of
overturning the results of the election. See id.                    In deciding whether 18 V.I.C. § 342, the law requiring that
                                                                    candidates affiliated with a party be elected by the party at
                                                                    a primary election, violates the Equal Protection Clause, the
   2. Seating Carmen Golden as an “Independent.”                    Court must determine the appropriate standard of review. See
 *6 Second, Plaintiffs suggest that if an Independent               Donatelli v. Mitchell, 2 F.3d 508, 513 (3d Cir.1993). Because
candidate can be seated as a Democrat, then a Democrat can          the law does not affect any suspect classes or infringe any
be seated as an Independent. “Two wrongs do not make a              fundamental constitutional rights, the Court applies rational-
right.” Plaintiffs constitutional rights would not be vindicated    basis review. Id. That a law imposes a burden on the right
by further violation of the election statutes intended to protect   to vote does not make it subject to strict scrutiny. Id. “Under
their fundamental right to vote.                                    rational-basis review, the challenged classification must be
                                                                    upheld if there is any reasonably conceivable state of facts
Plaintiffs state that after the general election, Carmen Golden     that could provide a rational basis for the classification.” Id.
changed her status from a Democrat to an Independent, and           (quotation omitted). “[R]ational-basis review under the Equal
argue that now that Carmen Golden is no longer a Democrat,          Protection Clause is not a license for courts to judge the
she should be seated as an Independent. Although Carmen             wisdom, fairness, or logic of legislative choices.” Id. at 514
Golden's Voter Registration card indicates “No Party,” to           (quotation omitted).
be a nominated candidate for election at the Democratic
primary, she must have enrolled as a Democrat. 18 V.I.C.             *7 The Supreme Court recognized in Storer v. Brown, that
§§ 302, 344(a) (1998). Golden could have changed her party          “there must be a substantial regulation of elections if they
enrollment up until 30 days before the general election, which      are to be fair and honest and if some sort of order, rather
was held on November 2, 2004. See 18 V.I.C. § 91 (1998).            than chaos, is to accompany the democratic processes.” 415
Golden does not allege that she did so. Any change to her           U.S. 724, 730 (1974). The Storer decision addressed a claim
party enrollment after the general election would not alter the     from a candidate that had been recently affiliated with the
fact that she was registered as a Democrat at the time that she     Democratic Party, but desired to be placed on the ballot as
received the greatest number of write-in votes at the general       an Independent candidate, which was not permitted under
election. Again, because she did not win at the Democratic          California law without a year's lapse. The Court wrote:
primary, she could not be seated as a Democrat. See 18 V.I.C.
§ 342.                                                                After long experience, California came to the direct party
                                                                      primary as a desirable way of nominating candidates for
                                                                      public office A candidate in one party primary may not
  3. Validity of Statute Concerning Election of Party                 now run in that of another; if he loses in the primary, he
  Members                                                             may not run as an independent; and he must not have been
                                                                      associated with another political party for a year prior to


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   the primary. The direct party primary in California is not         the reasons expressed in Storer. Allowing a Democratic or
   merely an exercise or warm-up for the general election but         Republican candidate to lose in the primary, maintain his
   an integral part of the entire election process, the initial       or her party affiliation and compete against the Democratic
   stage in a two-stage process by which the people choose            or Republican primary winner as a write-in candidate will
   their public officers. If functions to winnow out and finally      result in intraparty feuding. Allowing the party candidates to
   reject all but the chosen candidates. The State's general          challenge each other a second time at the general election
   policy is to have contending forces within the party employ        would defeat the whole purpose of holding a primary election.
   the primary campaign and primary election to finally settle        The electorate would not winnow out and finally reject all
   their differences. The general election ballot is reserved for     but the chosen candidate at the primary election. Some of
   major struggles; it is not a forum for continuing intraparty       the same contenders of the same party affiliation would
   feuds. The provision against defeated primary candidates           be available to them as write-in candidates at the general
   running as independents effectuates this aim, the visible          election.
   result being to prevent the losers from continuing the
   struggle and to limit the names on the ballot to those who          *8 Section 342 tends to preserve the two-stage election
   have won the primaries and those independents who have             process and to reduce intraparty feuding. It would be
   properly qualified. The people, it is hoped, are presented         undermined if write-in candidates could be certified
   with understandable choices and the winner in the general          regardless of their party affiliation. Because section 342 has
   election with sufficient support to govern effectively.            a rational basis, as well as serves a compelling interest,
                                                                      Ballentine's equal protection constitutional challenge fails.
Id. at 734-35 (footnotes and statutory citations omitted).

Other points the Supreme Court enunciated as favoring                 VI. Conclusion
limiting a candidate affiliated with a party from running             After reviewing all of Plaintiffs' arguments in support of the
immediately as an Independent are:                                    certification of Carmen Golden as a member of the St. Croix
                                                                      Board of Elections, the Court finds no likelihood of success on
   It protects the direct primary process by refusing to
                                                                      the merits. Plaintiffs have failed to establish an adequate basis
   recognize independent candidates who do not make early
                                                                      for entering a preliminary injunction. Because the Court finds
   plans to leave a party and take the alternative course
                                                                      that preliminary injunctive relief is not warranted, it need
   to the ballot. It works against independent candidacies
                                                                      not consider the remaining two factors-whether granting such
   prompted by short-range political goals, pique, or personal
                                                                      relief would result in greater harm to Defendants or would be
   quarrel. It is also a substantial barrier to a party fielding an
                                                                      in the public interest.
   “independent” candidate to capture and bleed off votes in
   the general election that might well go to another party.
                                                                      For the foregoing reasons, Plaintiffs' Motion for a Preliminary
Id. at 735. The Supreme Court found California's interest in a
                                                                      Injunction is DENIED.
period of disaffiliation with a party before being elected as an
Independent to be “not only permissible, but compelling.” Id.
                                                                      All Citations
The Virgin Islands statute requiring candidates with a party
affiliation to be elected only through the primary process,           Not Reported in F.Supp.2d, 2005 WL 6106401
18 V.I.C. § 342, is rational and compelling for many of

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                                                                  Due to the time constraints given the issue involved, this
                                                                  Court cannot issue the formal opinion that this matter
                    2020 WL 6437668
                                                                  deserves. Consequently, given those confines, this Order
     Only the Westlaw citation is currently available.
                                                                  must suffice. The Court first notes that it appreciates the
               United States District Court,
                                                                  participation of all counsel involved and the attention each
              S.D. Texas, Houston Division.
                                                                  gave to this important topic on such short notice.
          Steven HOTZE, M.D., Wendell
                                                                  This Court's overall ruling is that the Plaintiffs do not have
           Champion, Hon. Steve Toth,                             standing (as explained below). While this ruling is supported
       and Sharon Hemphill, Plaintiffs,                           by general Equal Protection and Election Clause cases, it
                                                                  is somewhat without precedent with regard to the Plaintiffs
                      v.
                                                                  (or Intervenors) who are actual candidates for elected office.
     Chris HOLLINS, in his official capacity                      Therefore, the Court, in anticipation of an appeal or petition
      as Harris County Clerk, Defendant.                          for writ of mandamus and knowing that the appellate court
                                                                  could draw a distinction in that regard and hold that standing
              Civil Action No. 4:20-cv-03709                      exists, has gone further to indicate what its ruling would have
                              |                                   been in that case.
                     Signed 11/02/2020

Attorneys and Law Firms
                                                                  II.
Jared Ryker Woodfill, Woodfill Law Firm P.C., Houston, TX,
for Plaintiffs.                                                   The Court finds that Plaintiffs lack standing to sue. Federal
                                                                  courts must determine whether they have jurisdiction before
Richard Warren Mithoff, Jr., Mithoff Law Firm, Kenneth            proceeding to the merits. Steel Co. v. Citizens for Better
Royce Barrett, KBR Law, Houston, TX, Charles Stein Siegel,        Environment, 523 U.S. 83, 94–95 (1998). Article III of
Waters & Kraus, LLP, Dallas, TX, S. Nasim Ahmad, The              the Constitution limits federal jurisdiction to “Cases” and
Ahmad Law Firm, The Woodlands, TX, for Defendant.                 “Controversies.” One component of the case or controversy
                                                                  requirement is standing. Lujan v. Defenders of Wildlife,
                                                                  504 U.S. 555, 560–61 (1992). The Supreme Court has
ORDER                                                             repeatedly held that an individual plaintiff raising only a
                                                                  generalized grievance about government does not meet the
Andrew S. Hanen, United States District Judge                     Article III requirement of a case or controversy. Id. at 573–
                                                                  74. This Court finds that the Plaintiffs here allege only a
 *1 The Court has before it the Motion for Preliminary
                                                                  “generalized grievance about the conduct of government.”
Injunction (Doc. No. 3) filed by Plaintiffs Steven Hotze,
                                                                  Lance v. Coffman, 549 U.S. 437, 442 (2007).
M.D., Wendell Champion, Hon. Steve Toth, and Sharon
Hemphill (collectively, “Plaintiffs”), the Response in
                                                                  The Plaintiffs' lack of a particularized grievance is fatal to
Opposition (Doc. No. 22) filed by Defendant Chris Hollins
                                                                  their claim under the Equal Protection Clause. “The rule
in his official capacity as Harris County Clerk (hereinafter,
                                                                  against generalized grievances applies with as much force
“Defendant”), and various Motions to Intervene filed on
                                                                  in the equal protection context as in any other.” U.S. v.
behalf of forty-eight individuals and/or entities. The Court
                                                                  Hays, 515 U.S. 737, 743 (1995). Plaintiffs' general claim that
also has before it amicus curiae briefs filed by the Texas
                                                                  Harris County's election is being administered differently than
Coalition of Black Democrats, The Lincoln Project, the
                                                                  Texas's other counties does not rise to the level of the sort
Libertarian Party of Texas, Joseph R. Straus, III, and election
                                                                  of particularized injury that the Supreme Court has required
law professor, Benjamin L. Ginsberg.
                                                                  for constitutional standing in elections cases. See id.; Gill v.
                                                                  Whitford, 138 S. Ct. 1916, 1933 (2018) (no standing in equal
                                                                  protection case when alleged injury involved “group political
I.                                                                interests” and not “individual legal rights”).




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 *2 Further, it is unclear that individual plaintiffs have                   the fact they cannot individualize their damage beyond
standing to assert claims under the Elections Clause at all.                 their rightful feeling that an election should be conducted
The Supreme Court has held that individual plaintiffs, like                  lawfully. Neither this Court's research nor the briefing of
those here, whose only asserted injury was that the Elections                the parties have brought forth any precedent to support
                                                                             this concept under either of the two pleaded causes of
Clause had not been followed, did not have standing to assert
                                                                             action based upon claimed violations of Equal Protection
such a claim. See Lance, 549 U.S. at 442. Conversely, the
                                                                             or the “Elections Clause.” Given the timing of this case
Court has held that the Arizona Legislature did have standing
                                                                             and the impact that such a ruling might have, this Court
to allege a violation of the Elections Clause as it was “an
                                                                             finds it prudent to follow the existing precedent.
institutional plaintiff asserting an institutional injury.” Ariz.
State Legislature v. Ariz. Indep. Redistricting Comm'n, 576
U.S. 787, 802 (2015). In addition, the Supreme Court has             III.
also held plaintiffs had such standing when they were state
senators whose “votes had been completely nullified” by              If the Court had plaintiffs with standing, it would have
executive action. Id. at 803 (citing Raines v. Byrd, 521 U.S.        denied in part and granted in part the motion for preliminary
811, 822–23 (1997)). These cases appear to stand for the             injunction.2 A preliminary injunction is an “extraordinary
proposition that only the state legislature (or a majority of the    remedy” that should only be granted if the movant has
members thereof) have standing to assert a violation of the          “clearly carried the burden of persuasion” on all four factors.
Elections Clause.                                                    Lake Charles Diesel, Inc. v. Gen. Motors Corp., 328 F.3d
                                                                     192, 196 (5th Cir. 2003). The movant, however, “need not
The Court finds that the Plaintiffs here are akin to those           prove his case.” Lakedreams v. Taylor, 932 F.2d 1103, 1109
in Lance v. Coffman, in which the Supreme Court held                 (5th Cir. 1991) (citing H & W Indus. v. Formosa Plastics
that private citizens, whose primary alleged injury was that         Corp., 860 F.2d 172, 179 (5th Cir. 1988)). Before a court
the Elections Clause was not followed, lacked standing to            will grant a preliminary injunction, the movants must clearly
bring a claim under the Elections Clause. 549 U.S. at 442.           show “(1) a substantial likelihood that they will prevail on the
To summarize the Plaintiffs' primary argument, the alleged           merits, (2) a substantial threat that they will suffer irreparable
irreparable harm caused to Plaintiffs is that the Texas Election     injury if the injunction is not granted, (3) that their substantial
Code has been violated and that violation compromises the            injury outweighs the threatened harm to the party whom they
integrity of the voting process. This type of harm is a              seek to enjoin, and (4) granting the preliminary injunction
quintessential generalized grievance: the harm is to every           will not disserve the public interest.” City of El Cenizo v.
citizen's interest in proper application of the law. Lujan, 504      Texas, 890 F.3d 164, 176 (5th Cir. 2018) (quoting Tex. Med.
U.S. at 573–74; Fairchild v. Hughes, 258 U.S. 126, 129               Providers Performing Abortion Servs. v. Lakey, 667 F.3d 570,
(1922) (holding that the right, possessed by every citizen, to       574 (5th Cir. 2012)); see also Winter v. NRDC, 555 U.S. 7,
require that the Government be administered according to the         20 (2008) (“A plaintiff seeking a preliminary injunction must
law does not entitle a private citizen to institute a lawsuit        establish that he is likely to succeed on the merits, that he is
in federal court). Every citizen, including the Plaintiff who        likely to suffer irreparable harm in the absence of preliminary
is a candidate for federal office, has an interest in proper         relief, that the balance of equities tips in his favor, and that
execution of voting procedure. Plaintiffs have not argued that       an injunction is in the public interest.”). “The purpose of a
they have any specialized grievance beyond an interest in the        preliminary injunction is always to prevent irreparable injury
integrity of the election process, which is “common to all           so as to preserve the court's ability to render a meaningful
members of the public.” United States v. Richardson, 418 U.S.        decision on the merits.” Canal Auth. of Fla. v. Callaway, 489
166, 176–77.1                                                        F.2d 567, 576 (5th Cir. 1974).

1                                                                    2       The Defendant and Intervenors suggested both in oral
        This Court finds the answer to this question to be
        particularly thorny, given that some of the Plaintiffs are           argument and in their written presentations that the
        actual candidates who have put in time, effort, and money            Court should abstain under either Pullman, Colorado
        into campaigning, to say nothing of the blood, sweat, and            River, or Rooker-Feldman doctrine. Since standing is
        tears that a modern campaign for public office entails.              jurisdictional and since this Court is dismissing this
        This Court would readily understand if some appellate                action, it need not analyze these arguments. See Railroad
        court finds that these Plaintiffs have standing despite              Commission of Texas v. Pullman Co., 312 U.S. 496, 61




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       S. Ct. 643 (1941); Colorado River Water Conservation        County Commissioners Court approved a budget for drive-
       Dist. v. U.S., 424 U.S. 800 (1976); Rooker v. Fidelity      thru voting in late September. Finally, actual drive-thru voting
       Trust Co., 263 U.S. 413 (1923); and District of Columbia    began October 13, 2020. At virtually any point, but certainly
       Court of Appeals v. Feldman, 460 U.S. 462 (1983).           by October 12, 2020, Plaintiffs could have filed this action.
 *3 This Court finds that there is a difference between            Instead, they waited until October 28, 2020 at 9:08 p.m. to
the voting periods presented to it. The merits need to be          file their complaint and did not file their actual motion for
analyzed separately by early voting and election day voting.       temporary relief until mid-day on October 30, 2020—the last
With respect to the likelihood of success, the Court would         day of early voting. The Court finds this delay is critical. It is
find that the Plaintiffs do not prevail on the element of          especially important in this compact early voting timeframe,
likelihood of success with respect to early voting. First, §       in a particularly tense election, where each day's voting tally
85.062 of the Texas Election Code provides for “temporary          functionally equated to many days or even weeks of early
branch polling places” during early voting. Tex. Elec. Code. §     voting in different situations.
85.062. The statute authorizes county election officials to use
“movable structure[s]” as polling places. Id. § 85.062(b). The     Therefore, this Court finds the Plaintiffs do not prevail on the
Code does not define “structure,” but Black's Law Dictionary       first element.
defines the term as: “Any construction, production, or piece
of work artificially built up or composed of parts purposefully    With regard to the second element, “irreparable injury,” this
joined together.” Black's Law Dictionary (11th ed. 2019).          point is covered more thoroughly in the standing discussion,
The Court finds, after reviewing the record, the briefing, and     but suffice it to say, in response to the Court's question
considering the arguments of counsel, that the tents used          during oral argument, Plaintiff's counsel described their
for drive-thru voting qualify as “movable structures” for          injuries as the concern for the voting law to be accurately
purposes of the Election Code. The Court is unpersuaded            enforced and voting to be legal. In response to the Court's
by Plaintiffs' argument that the voters' vehicles, and not         questions, Plaintiffs' Counsel said their irreparable injury
the tents, are the polling places under the drive-thru voting      was that the election process was being compromised, and
scheme. Consequently, the Court finds that drive-thru voting       that it prevents there being uniformity in the manner of
was permissible during early voting. Moreover, the Plaintiffs      voting throughout Texas. While certainly valid concerns,
failed to demonstrate under the Texas Election Code that an        those are not the kind of injuries that separate Plaintiffs
otherwise legal vote, cast pursuant to the instructions of local   from other concerned citizens. Plaintiffs have no evidence of
voting officials, becomes uncountable if cast in a voting place    individualized irreparable injuries.
that is subsequently found to be non-compliant.
                                                                   The one element that the Court finds the Plaintiffs have
Additionally, the promptness with which one brings an              prevailed on is the harm to the party defendant. The Court
injunction action colors both the elements of likelihood of        finds that there would be no harm to Harris County. The only
success on the merits and irreparable harm. See Petrella v.        suggested harm is that the County has spent millions of dollars
Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 685 (2014) (“In           to implement drive-thru voting. While these funds may have
extraordinary circumstances, however, the consequences of          been better spent, their loss does not prevail over tens of
a delay in commencing suit may be of sufficient magnitude          thousands of potentially illegal votes. Further, if granted,
to warrant, at the very outset of the litigation, curtailment      the injunction would only require the Defendant to conduct
of the relief equitably awardable.”); Environmental Defense        elections as Harris County has conducted them in the past
Fund, Inc. v. Alexander, 614 F.2d 474, 478 (1980) (“equitable      without drive-thru voting.
remedies are not available if granting the remedy would be
inequitable to the defendant because of the plaintiff's long        *4 The last element must, like the first, take on extraordinary
delay.”). Here, the Court finds that the Plaintiffs did not        significance in this context. That element concerns the public
act with alacrity. There has been an increasing amount of          interest. Plaintiffs argue, correctly, that the public has an
conversation and action around the subject of implementing         interest in seeing that elections are carried out pursuant to
drive-thru voting since earlier this summer. The Defendant         the Election Code. This is no doubt true; however, this
has argued, and no one has refuted, that discussions were          generalized interest is offset by two somewhat stronger
held with leaders of both major political parties, and, using      factors. First, the drive-thru early voting as designed and
that input, a drive-thru voting plan was developed. The Harris     implemented is, to this Court's reading, legal as described



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                                                                     Plaintiffs' request for injunctive relief is timely. While it
above. Second, there have been over 120,000 citizens who
                                                                     could and should have been made earlier, it was made days
have legally voted utilizing this process. While Plaintiffs
                                                                     before the election. The Court would have found that the
have complained about anecdotal reports of irregularities,
                                                                     Plaintiffs had a likelihood of success. The analysis of the
the record reflects that the vast majority were legal voters,
                                                                     second element remains the same. With regard to the loss
voting as instructed by their local voting officials and voting
                                                                     that the Defendant might suffer, the Court finds this to be
in an otherwise legal manner. The only claimed widespread
                                                                     minimal. While it apparently spent millions in implementing
illegality is the place of voting—a tent outside the polling
                                                                     the drive-thru voting system, it had over 120,000 voters use
place instead of inside the actual building. To disenfranchise
                                                                     it—so it is money well-spent. The fact it would not be used
over 120,000 voters who voted as instructed the day before
                                                                     on Election Day does not diminish its benefit. The analysis
the scheduled election does not serve the public interest.
                                                                     of the last element, public interest, swings in favor of the
                                                                     Plaintiffs. No one should want votes to be cast illegally or at
Therefore, if the Court had found standing existed, it would
                                                                     an illegal polling place. No one has voted yet—so no one is
have denied an injunction as to the drive-thru early voting.
                                                                     being disenfranchised. Moreover, for those who are injured or
The Court finds the issue as to Election Day to cut the opposite     worried that their health would be compromised should they
                                                                     be compelled to enter the building to vote, curbside voting is
direction. On Election Day, as opposed to early voting, there is
no legislative authorization for movable structures as polling       available under § 64.009 of the Texas Election Code.3 Lastly,
places. The Election Code makes clear that, on Election Day,         there are very few citizens who would want their vote to be
“[e]ach polling place shall be located inside a building.”           in jeopardy, so it is incumbent on election officials to conduct
Tex. Elec. Code § 43.031(b). The term “building” is not              voting in a proper location—not one which the Attorney
defined in the Code. Nevertheless, Black's Law Dictionary            General has already said was inappropriate. Consequently,
defines “building” as: “A structure with walls and a roof,           this Court, had it found that standing existed, would have
esp. a permanent structure.” Black's Law Dictionary (11th            granted the injunction prospectively and enjoined drive-thru
ed. 2019). The Court finds, after reviewing the record and           voting on Election Day and denied all other relief.
arguments of counsel, that the tents used for drive-thru
voting are not “buildings” within the meaning of the Election        3       This Court is quite cognizant of the Texas Supreme
Code. Further, they are not inside, they are clearly outside.                Court ruling (in a slightly different context) that fear of
Accordingly, if the Plaintiffs had standing, the Court would                 contracting COVID-19 does not establish an exception.
have found that the continuation of drive-thru voting on                     In re State, 602 S.W.3d 549 (Tex. 2020).
Election Day violates the Texas Election Code.                        *5 Nevertheless, since it found standing does not exist, this
                                                                     action is hereby dismissed.
It also finds that, unlike in early voting, the Plaintiffs prevail
when one weighs the various elements that underlie the
issuance of an injunction. First, as stated above, the Court         All Citations
does not find a tent to be a building. Therefore, under the
Election Code it is not a legal voting location. Second, the         Slip Copy, 2020 WL 6437668


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                                                                   Plaintiffs' motion for leave to amend their complaint; (3)
                                                                   deny as moot both Defendants' motion to stay discovery and
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                                                                   Plaintiffs' motion for “contempt sanctions;” (4) lift the stay on
   Only the Westlaw citation is currently available.
                                                                   briefing with regard to Defendants' motions for sanctions; and
   United States District Court, M.D. Pennsylvania.
                                                                   (5) deny Defendants' and Plaintiffs' motions for sanctions.
       Jaromir KOVARIK, et al., Plaintiffs
                    v.                                             I. BACKGROUND1
             SOUTH ANNVILLE                                        1     The facts comprising the Background Section are taken
          TOWNSHIP, et al., Defendants                                     directly from Plaintiffs' complaint. (Doc. No. 1.) The
                                                                           Court limits its discussion to only to those factual
                                                                           allegations relevant for purposes of deciding the motions
                      No. 1:17-cv-00097
                                                                           presently before the Court.
                               |
                      Filed 03/22/2018
                                                                       A. Factual Background
Attorneys and Law Firms                                            Mr. Kovarik, a licensed attorney and serial pro se litigant, is
                                                                   no stranger to this Court. This action marks Mr. Kovarik's
Jaromir Kovarik, Kthl Law Offices, P.C., Lebanon, PA, for          latest challenge to the adoption, design, construction, and
Plaintiffs.                                                        enforcement of South Annville Township's sewer facilities
                                                                   plan and is brought against a tortured backdrop of continuing
Andrew J. Bellwoar, John J. Mahoney, Michael G. Crotty,
                                                                   litigation in both state and federal court spanning over a
Eric M. Brown, Siana, Bellwoar & McAndrew LLP, Chester
                                                                   decade.
Springs, PA, Jeffrey D. Grossman, Spencer R. Short,
Jonathan F. Bloom, Stradley, Ronon, Stevens & Young, LLP,
                                                                   In the most recent chapter of this protracted litigation
Philadelphia, PA, for Defendants.
                                                                   saga, Plaintiffs have lodged a six-count, 45-page complaint
                                                                   against: South Annville Township (the “Township”), several
                                                                   members of the Township's Board of Supervisors,2 the
MEMORANDUM
                                                                   Township's Municipal Authority3 (the “Authority”), and
Yvette Kane, District Judge                                        two of the Authority's board members4 (collectively
                                                                   referred to herein as the “Municipal Defendants”);
 *1 Before the Court are: Defendants' motions to dismiss
                                                                   the Pennsylvania Intergovernmental Risk Management
Plaintiffs Jaromir Kovarik (“Mr. Kovarik”), and Daria
Kovarikova's complaint (Doc. Nos. 11, 14, 15); Plaintiffs'         Association (“PIRMA”),5 and its chairperson6 (collectively
“Renewed Motion for Leave to Amend[,] or in the                    referred to herein as the “PIRMA Defendants”); and H.
Alternative[,] to Consider This Submission as a Brief in           A. Thomson Company7 and its executive vice president8
Opposition to Defendants' Motions to Dismiss” (Doc. No.            (collectively referred to herein as the “H. A. Thomson
51); Defendants' motion to stay discovery (Doc. No. 72);           Defendants”). (Doc. No. 1.) In the complaint, Plaintiffs
and Plaintiffs' “Cross Motion in Opposition to Defendants'         endeavor to weave “disparate events, committed by [several]
Motion to Stay Discovery and for Contempt Sanctions” (Doc.         actors, together into a seamless web of retaliation” dating
No. 73). Additionally pending before the Court are the parties'    back to 2005 by “ascribing some retaliatory motive to
cross-motions for sanctions filed pursuant to Federal Rule         virtually every action” relating to the Township's sewer
of Civil Procedure 11. (See Doc. Nos. 24, 25, 43, 53, 54,          facilities plan. (Id. ¶ 124(b)); see Chinniah v. E. Pennsboro
55.) For the reasons provided herein, the Court will: (1) grant    Twp., No. 1:15-CV-02240, 2016 WL 5799048, at *7 (M.D.
the motions to dismiss Counts I, II, IV, and V of Plaintiffs'      Pa. Aug. 10, 2016), report and recommendation adopted,
complaint asserting federal causes of action under 42 U.S.C. §     No. 1:15-CV-02240, 2016 WL 5719830 (M.D. Pa. Sept. 30,
1983 and the Racketeer Influenced and Corrupt Organizations        2016), reconsideration denied, No. 1:15-CV-02240, 2017 WL
Act, 18 U.S.C. § 1961 et seq. with prejudice, and decline          5517512 (M.D. Pa. Mar. 6, 2017). Indeed, the complaint
to exercise supplemental jurisdiction over Plaintiffs' ancillary   details an alleged conspiracy concocted by Defendants
state law claims pursuant to 28 U.S.C. § 1367(c)(3); (2) deny      to abridge Plaintiffs' “freedom of speech by ... adopting,



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implementing, and continuing a policy or custom to retaliate          8      The complaint names Thomas P. Giangiulio as a
against” them. The factual averments forming the basis of this               Defendant and asserts that this Defendant is believed to
complaint are as follows.                                                    be “the President or Executive Vice President of” H.A.
                                                                             Thomson. (Id. ¶ 18.)
2      Specifically, the members of the Township's Board of
       Supervisors named in the caption of the complaint
       include: Donald H. Umberger, a “member and the                 1. The Pennsylvania Sewage Facilities Act
       Secretary/Treasurer of the Board of Supervisors and/
                                                                       *2 According to the complaint's allegations, Pennsylvania
       or Township Manager” (id. ¶ 8); Dale L. Hoover, “a
                                                                      municipalities are required under the Pennsylvania Sewage
       member and the Chairman of the Board of Supervisors”
       since December 2000 (id. ¶ 9); and Chester G. Horst, “a        Facilities Act (“Act 537”), and the regulations adopted by
       member of the Board of Supervisors” since December             the Pennsylvania Department of Environmental Protection
       2001 (id. ¶ 10).                                               (“DEP”), to develop and implement an approved sewage
                                                                      facility plan and continuously update the plan as
3      While Plaintiffs identify “South Annville Township—            circumstances change. (Id. ¶ 21.) In approximately 2000,
       Lebanon County Authority,” as a Defendant in the
                                                                      the DEP directed the Township to submit a sewage facility
       caption of the complaint, it is apparent that Plaintiffs are
                                                                      plan update in light of their discovery that the Township was
       referring to the “South Annville Municipal Authority,”
                                                                      not in compliance with Act 537. (Id. ¶ 36.) In response to
       which is “responsible for financing, construction,
                                                                      this directive, the Defendants initially proposed an ordinance
       and maintenance of public sewage collection systems
       in the [T]ownship.” See South Annville Township,               authorizing the execution of an inter-municipal agreement
       Water & Sewer, South Annville Municipal Authority,             with a neighboring township to provide sewage services,
       available at http://www.southannville.com/water-and-           which, to Plaintiffs, was the more environmentally friendly
       sewer/south-annville-municipal-authority/ (last visited        and cost effective approach to bringing the Township into
       Mar. 14, 2018). The Township's website is a public             compliance with Act 537. (Id. ¶ 37.)
       record of which this Court may properly take judicial
       notice in considering dismissal of an action for failure to    However, due to increased pressure from certain real estate
       state a claim.                                                 developers, the Township began soliciting alternative sewage
4                                                                     facility plans, ultimately adopting a proposed sewage facility
       Specifically, Plaintiffs assert claims against the following
       individuals associated with the Authority: Roy A. Meyer        plan designed to account for the Township's projected
       who has, “at certain relevant times[,] acted as chair of       growth from future large-scale industrial and residential
       the Authority” (id. ¶ 11); and Patrick P. Brewer, who is a     developments (hereinafter referred to as the “Act 537 Plan
       “chairperson and an active member of the Authority” (id.       Update”). (Id. ¶¶ 39-40.) According to Plaintiffs, the Act
       ¶ 12).                                                         537 Plan Update was a cost-prohibitive alternative for
5                                                                     homeowners, as it was anticipated to serve five times the
       According to its website, PIRMA “is a group self-
                                                                      number of households that existed in the Township at
       insurance pool that offers comprehensive liability and
                                                                      that time and was projected to exceed $5.6 million for a
       property coverages to Pennsylvania public entities.”
                                                                      community with an annual tax base of less than $1.0 million.
       See PIRMA, Pennsylvania Intergovernmental Risk
       Association, Home, http://www.pirma.org/ (last visited         (Id. ¶¶ 49-52.) Concerned that the proposed design for the
       Mar. 14, 2018).                                                Township's sewer system benefited only certain developers at
                                                                      the expense of local residents, approximately 150 residents
6      The complaint names Nicholas F. Hiriak as a Defendant          formed an unincorporated group referred to as the Concerned
       and alleges that, “upon information and belief, [Nicholas      Citizens of South Annville (the “CCSA”), appointing Mr.
       F. Hiriak] is an individual who chairs the Board of
                                                                      Kovarik, a professional engineer and attorney, to represent
       Directors of PIRMA.” (Id. ¶ 16.)
                                                                      their interests before the Township. (Id. ¶ 46.)
7      H.A. Thomson Company markets itself as
       “Pennsylvania's largest provider of municipal
       insurance.” See H.A. Thomson Risk Management
                                                                      2. 2005 Litigation
       Services, Home, http://www.hathomson.com (last
       visited Mar. 14, 2018).                                        On July 8, 2005, the CCSA, represented by Mr. Kovarik, filed
                                                                      suit against the Municipal Defendants in the Lebanon County


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Court of Common Pleas (herein referred to as the “2005             laterals were installed at proper depths that allowed for
litigation”), opposing the design, implementation, funding,        gravity flow. (Id. ¶¶ 84-89.) According to Plaintiffs, neighbors
and cost of the state-approved Act 537 Plan Update. (Id. ¶         whose residences were located “below the road grade,” and
46.) The action, proceeding on a fifth amended complaint,          unable to connect to the sewer system by gravity, were
was ultimately dismissed on preliminary objections by the          offered free sewage grinder pumps to assist in connecting
Lebanon County Court of Common Pleas on April 3, 2007,             to the gravity main. (Id. ¶ 91.) However, Plaintiffs aver
and the dismissal was affirmed on appeal on June 20, 2008.         that because their house “is[,] in fact[,] on the highest
Strohl v. S. Annville Twp., No. 878 C.D. 2007, 2008 WL             grade in the neighborhood,” they were not furnished with
9406465, at *1 (Pa. Commw. Ct. June 20, 2008). Following           a free sewage grinder pump. (Id. ¶ 91 n.10.) Furthermore,
its dismissal of Plaintiffs' fifth amended complaint, the          Plaintiffs allege that “an abrupt turn in the sewer line was
Lebanon Court of Common Pleas, on the motion of the                placed against [their] ... house[,] causing vibration and noise
Municipal Defendants, imposed sanctions against Plaintiffs         during the operation of the sewer system pumps.” (Id.
in the amount of $25,000.00. (Id. ¶ 56.) The CCSA appealed         ¶ 92.) Plaintiffs insist that Defendants subjected them to
the order imposing sanctions, which was vacated in a decision      retaliation for their involvement in the 2005 litigation by
by the Commonwealth Court of Pennsylvania on April 13,             installing the sewer lines in a manner that would place undue
2011. Strohl v. S. Annville Twp., No. 2162 C.D. 2009,              financial burdens on Plaintiffs as compared to other residents.
2011 WL 10858400, at *5 (Pa. Commw. Ct. Apr. 13, 2011).            (Id. ¶ 84 (“Although the sewer system within the existing
Specifically, the appellate court found that the trial court was   South Annville residences designated for the connection
without jurisdiction to act on the request for sanctions, as       has been constructed, [Plaintiffs'] conditions for connection
the motion had been filed more than thirty days after the          were deliberately conditioned on injury to their interests and
trial court dismissed the fifth amended complaint on April         property.”)).
3, 2007.9 (Id.) According to Plaintiffs, Defendants retaliated
against them for exercising their right to access the courts       Plaintiffs allege that they attempted to resolve the issues
for redress by engaging in litigation misconduct, including        surrounding their connection to the sewer line during this time
belatedly requesting sanctions. (Doc. No. 1 ¶ 80.)                 period by requesting estimates for connection to the sewer
                                                                   system and through proposing several mitigating alternatives.
9                                                                  (Id. ¶¶ 96-97.) However, despite Plaintiffs' “good faith”
       Plaintiffs also complain that Defendants engaged in
                                                                   efforts, “Defendants refused to discuss the matter.” (Id. ¶ 97.)
       retaliation by “intimidat[ing] several CCSA residents
                                                                   Instead, on April 5, 2013, Defendants allegedly caused the
       who had been the subject of the court-ordered monetary
       sanctions into initiating a professional malpractice suit   Pennsylvania American Water Company to disconnect water
       against Mr. Kovarik “on false grounds” in February          service to Plaintiffs' property without first providing Plaintiffs
       of 2010. (Doc. No. 1 ¶¶ 74, 76.) Plaintiffs contend         with proper notice and damaged the access to the shut-off
       that the legal malpractice lawsuit was frivolous because    valve in the process.10 (Id. ¶ 98.) By Plaintiffs' account, they
       Mr. Kovarik was successful in his representation of the     were current on their water bill at all relevant times. (Id. ¶ 99.)
       CCSA, convincing the Township to “change ... the sewer      Plaintiffs claim that the disconnection of water service to their
       alternative and funding.” (Id. ¶ 77 n.7.) Notably, the
                                                                   property was improper and retaliatory in nature.
       CCSA residents later dismissed the legal malpractice suit
       voluntarily when the award of sanctions was reversed on
                                                                   10      Plaintiffs also contend that they reported the damage to
       April 13, 2011. (Id. ¶ 79.)
                                                                           their shut-off valve to the proper authorities, but that the
                                                                           Township police “refused to act.” (Id. ¶ 21.)
3. Sewer System Connection and Water Service
Disconnection
                                                                   4. June 2013 Municipal Claim Litigation
 *3 In the aftermath of the 2005 litigation, a dispute arose
concerning the connection of Plaintiffs' property to the           Thereafter, on June 14, 2013, the Authority filed a municipal
newly constructed sewer lines. (Id. ¶ 84.) As alleged in the       claim and lien against Plaintiffs' property in the Lebanon
complaint, the lateral line connecting Plaintiffs' property to     County Court of Common Pleas to collect unpaid sewer
the sewer system was deliberately set at a shallow depth           tapping and rental fees in the amount of $8,010.90 (herein
to prevent service to Plaintiffs' basement, while neighbors'       referred to as the “June 2013 municipal claim litigation”).



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(Id. ¶¶ 103, 104.) By Plaintiffs' assessment, the Authority        to Plaintiffs, the withdrawal of the municipal lien was yet
“caused an improper entry of judg[ ]ment and facially              another act of retaliation on the part of Defendants.
defective municipal lien to be entered in the Lebanon Court
of Common Pleas for sewer connection and processing at             In essence, the above-captioned action is founded on
[Plaintiffs'] property without any basis in law or fact.” (Id.     Plaintiffs' conviction that “the conduct of the Defendants ...
¶ 103.) Consequently, on July 18, 2013, Plaintiffs removed         is and has been motivated or substantially caused by
the case to the United States District Court for the Middle        [Plaintiffs'] exercise and intent to exercise in the future
District of Pennsylvania, later claiming, as a defense to          the rights secured to them under the First and Fourteenth
removal, that the municipal lien action was filed in retaliation   Amendments to the Constitution of the United States.” (Doc.
for Plaintiffs' exercise of their First Amendment rights. S.       No. 1 ¶ 126.) Indeed, Plaintiffs signal throughout their
Annville Twp., Lebanon Cty. Auth. v. Kovarik, Civ. No. 1:13-       complaint that “unlike any other property owners to be
cv-01780 (M.D. Pa. June 28, 2013). The Authority promptly          serviced by the sanitary system, [Plaintiffs] have been
filed a motion to remand the action to state court. On June        required to both pay extraordinary costs to exercise their
24, 2014, following several briefing extensions, and after         protected rights through unnecessary attorney's fees, legal
denying Plaintiffs' request to conduct jurisdictional discovery,   costs, loss of reputation, damage to credit, loss of local
the Court granted the Authority's motion and remanded              clients for Mr. Kovarik and other damages.” (Id. ¶ 117.) The
the matter to state court on the basis that Plaintiffs lacked      complaint demands “compensatory, equitable[,] liquidated,
an objectively reasonable basis for removal. In a separate         nominal, treble, punitive and other damages to the maximum
Order, the Court entered an award of attorneys' fees and           extent allowed by law,” as well as “injunctive relief,” and
costs in the amount of $17,310.66 pursuant to 28 U.S.C. §          “mandamus relief” for alleged violations of federal and state
1447(c). As it concerns this phase of the June 2013 municipal      law. (Id. at 42.)
claim litigation, Plaintiffs contend that Defendants deprived
them of their constitutionally-protected rights under the First
Amendment by “interfer[ing] with [their] request to” conduct          B. Procedural History
jurisdictional discovery, which would have revealed some           Plaintiffs commenced this lawsuit on January 17, 2017.
basis upon which this Court could exercise federal question        (Doc. No. 1.) On March 17, 2017, the parties entered into
jurisdiction over the municipal claim action and would have        and docketed a stipulation to allow Plaintiffs to file an
invalidated any request for attorneys' fees. (Id. ¶ 107.)          amended complaint within twenty-one days of the Court's
                                                                   Order approving the stipulation, and to permit Defendants
 *4 Plaintiffs ultimately appealed the Court's Order awarding      to respond to Plaintiffs' amended complaint within twenty-
attorneys' fees to the United States Court of Appeals for the      one days from their receipt of Plaintiffs' amended complaint.
Third Circuit. (Id. ¶ 110.) Plaintiffs allege that during the      (Doc. No. 8.) On March 20, 2017, while awaiting a ruling on
pendency of that appeal, the Authority withdrew its state court    their joint stipulation, Defendants filed the pending motions
claim against Plaintiffs on January 14, 2015, leaving intact       to dismiss Plaintiffs' complaint pursuant to Federal Rule of
the statutory municipal lien placed on Plaintiffs' property,       Civil Procedure 12(b)(6). (Doc. Nos. 11, 14 15.) The Court
which precipitated Plaintiffs' filing of a motion under Federal    approved the stipulation on March 22, 2017. (Doc. No. 16.)
Rule of Civil Procedure 60(b) for relief from judgment as
to the attorney fee award on March 13, 2015. (Id. ¶ 111.)          Plaintiffs elected not to file an amended complaint by
The Court denied Plaintiffs' motion for relief from judgment       April 12, 2017—twenty-one days from the date the Court
on August 4, 2015. See S. Annville Twp., Lebanon Cnty.             approved the joint stipulation on March 22, 2017. As a
Auth. v. Kovarik, Civ. No. 1:13-cv-01780 (M.D. Pa. June 28,        result, Defendants proceeded to file briefs in support of their
2013). Shortly thereafter, Plaintiffs filed a second appeal of     respective motions to dismiss (Doc. Nos. 37, 38, 41).11 In
the Court's Order denying their Rule 60(b) motion. Id. In an       the midst of briefing their motions to dismiss, Defendants
Opinion dated June 3, 2016, the Third Circuit consolidated         moved for the imposition of sanctions under Federal Rule of
both appeals and affirmed this Court's award of attorneys'         Civil Procedure 11 (Doc. Nos. 24, 25, 43). Specifically, the
fees. See S. Annville Twp. v. Kovarik, 651 Fed.Appx. 127,          Municipal Defendants and the PIRMA Defendants each filed
128 (3d Cir.), cert. denied sub nom. Kovarikova v. S. Annville     motions for sanctions on April 13, 2017 (Doc. Nos. 24, 25),
Twp., Lebanon Cty. Auth., 137 S. Ct. 580, (2016). According        submitting briefs in support of their motions on April 27, 2017
                                                                   (Doc. Nos. 30, 31). The H.A. Thomson Defendants filed a



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motion for sanctions on May 3, 2017 (Doc. No. 43), and a            Meanwhile, no sooner did the Court stay Defendants' motions
supporting brief on May 17, 2017 (Doc. No. 46). On May              for sanctions than Plaintiffs filed cross-motions for sanctions
15, 2017, Plaintiffs filed a motion captioned: “Plaintiffs[']       on June 12, 2017. (Doc. Nos. 53, 54, 55.) On June 26, 2018,
Amended Motion to Dismiss or in the Alternative Hold in             while the stay was still in effect, Plaintiffs filed “[B]rief[s] in
Abeyance Defendants' Fed.R.Civ.P. 11 Motions.” (Doc. No.            Opposition to ... Defendants' Motion[s] [for Sanctions] and in
44.) In their motion, Plaintiffs requested, inter alia, that the    Support of [their] Cross-Motion[s] for ... Sanctions Pursuant
Court deny Defendants' motions for Rule 11 sanctions as             to Fed.R.Civ.P. 11 Against the ... Defendants.” (Doc. Nos.
prematurely filed, or alternatively, stay further briefing and      60, 61, 62, 63.) Shortly thereafter, Defendants filed briefs
defer its ruling on the motions for sanctions pending the           in opposition to Plaintiffs' cross-motions for sanctions on
Court's disposition of Defendants' motions to dismiss. On           July 10, 2017. (Doc. Nos. 65, 66, 67.) On July 25, 2017,
May 16, 2017, Plaintiffs requested an extension of time to file     Plaintiffs filed reply briefs to Defendants' briefs in opposition
an amended complaint, or alternatively, for leave to file an        to Plaintiffs' cross-motions for sanctions. (Doc. Nos. 68, 69,
amended complaint. (Doc. No. 45.)                                   70.) To date, the stay remains in place.13

11      Document Number 40, containing the Municipal                13      Given that the parties proceeded to brief the motions
        Defendants' amended brief in support of the motion to               for sanctions while the stay was in place, the Court will
        dismiss, is identical to Document Number 38, but for the            lift the stay and rule on the motions presently before it
        inclusion of a certificate of word count.                           without directing any further briefing.
 *5 In an Order dated May 23, 2017, the Court denied                Having been fully briefed, the pending motions are now ripe
Plaintiffs' motion for an extension of time to file an amended      for disposition.
complaint or alternatively, for leave to file an amended
complaint, clarifying that Plaintiffs were foreclosed from
filing an amended complaint as a matter of course, and              I. LEGAL STANDARD
consequently, they were required under Local Rule 15.1(a)
to obtain leave of Court through filing a properly-supported           A. Motion to Dismiss Under Federal Rule of Civil
motion for leave to file an amended complaint together                 Procedure 12(b)(6)
with an attached proposed amended pleading. (Doc. No.               Rule 12(b)(6) of the Federal Rules of Civil Procedure
50.) Plaintiffs were directed to file briefs in opposition to       authorizes a defendant to move to dismiss a complaint for
Defendants' motions to dismiss no later than June 6, 2017, and      “failure to state a claim upon which relief can be granted.”
were cautioned that a failure to file oppositional briefs within    Fed. R. Civ. P. 12(b)(6). The legal standards governing
that timeframe would result in the Court deeming Defendants'        pleading practice in federal court have shifted to a “more
motions unopposed. (Id. at 5.) In addition, the Court stayed        heightened form of pleading, requiring a plaintiff to plead
briefing on Defendants' Rule 11 motions pending a decision          more than the possibility of relief to survive a motion to
on the motions to dismiss. (Id.)                                    dismiss.” See Fowler v. UPMC Shadyside, 578 F.3d 203, 210
                                                                    (3d Cir. 2009). To avoid dismissal, all civil complaints must
On June 6, 2017, Plaintiffs filed a “renewed motion for             set out “sufficient factual matter” to show that the claim is
leave to amend or[,] in the alternative[,] to consider this         facially plausible. Id. The plausibility standard requires more
submission as a brief in opposition to Defendants' motions to       than a mere possibility that the defendant is liable for the
dismiss” (Doc. No. 51), together with a supporting brief (Doc.      alleged misconduct. Indeed, “where the well-pleaded facts do
                                                                    not permit the court to infer more than the mere possibility
No. 52).12 On June 20, 2017, Defendants collectively filed a
                                                                    of misconduct, the complaint has alleged—but it has not
brief in opposition to Plaintiffs' alternatively-styled motion to
                                                                    ‘show[n]’—‘that the pleader is entitled to relief.’ ” Ashcroft v.
amend (Doc. No. 59), and on July 5, 2017, Plaintiffs filed a
                                                                    Iqbal, 556 U.S. 662, 679 (2009) (citing Fed. R. Civ. P. 8(a)(2)).
reply brief (Doc. No. 64).
                                                                    Factual allegations must be enough to raise a right to relief
                                                                    above the speculative level.” Bell Atlantic Corp. v. Twombly,
12      The Court construes Plaintiffs' brief in support of their   550 U.S. 544, 555 (2007).
        renewed motion to amend (Doc. No. 52), as a brief in
        opposition to Defendants' motions to dismiss.               The United States Court of Appeals for the Third Circuit
                                                                    has identified the following steps a district court must take



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when evaluating the sufficiency of a complaint's allegations               2011). These opinions are judicially noticeable “not for
as tested against a Rule 12(b)(6) motion: (1) identify the                 the truth of the facts recited therein, but for the[ir]
elements a plaintiff must plead to state a claim; (2) discard              existence ..., which [are] not subject to reasonable dispute
any conclusory allegations contained in the complaint “not                 over [their] ... authenticity.” S. Cross Overseas Agencies,
                                                                           Inc. v. Wah Kwong Shipping Grp. Ltd., 181 F.3d 410, 426
entitled” to the assumption of truth; and (3) determine
                                                                           (3d Cir. 1999) (citation omitted). Consideration of these
whether any “well-pleaded factual allegations” contained in
                                                                           materials does not require conversion of the motions filed
the complaint “plausibly give rise to an entitlement to relief.”
                                                                           pursuant to Federal Rule of Civil Procedure 12(b)(6) into
See Santiago v. Warminster Twp., 629 F.3d 121, 130 (3d Cir.
                                                                           motions for summary judgment under Federal Rule of
2010) (citation and quotation marks omitted).                              Civil Procedure 56. See Fed. R. Civ. P. 12(d).
                                                                     *7 As a final matter, the court must be mindful of its
 *6 In evaluating whether a complaint fails to state a claim
                                                                    obligations to liberally construe documents filed pro se.
upon which relief may be granted, the court must accept
                                                                    Estelle v. Gamble, 429 U.S. 97, 106 (1976). Indeed, a pro
as true all factual allegations in the complaint, and construe
                                                                    se complaint, “however inartfully pleaded,” is generally held
all reasonable inferences to be drawn therefrom in the light
                                                                    to “less stringent standards than formal pleadings drafted
most favorable to the plaintiff. See In re Ins. Brokerage
                                                                    by lawyers” and can be dismissed for failure to state a
Antitrust Litig., 618 F.3d 300, 314 (3d Cir. 2010). A court
                                                                    claim only if it appears beyond doubt that the plaintiff can
“need not credit a complaint's ‘bald assertions’ or ‘legal
                                                                    prove no set of facts in support of his claim which would
conclusions’ when deciding a motion to dismiss,” Morse v.
                                                                    entitle him to relief. Haines v. Kerner, 404 U.S. 519, 520–
Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir. 1997),
                                                                    21 (1972). Pro se attorney-litigants such as Mr. Kovarik,
and must disregard any “formulaic recitation of the elements
                                                                    however, “typically ‘cannot claim the special consideration
of a cause of action.” Twombly, 550 U.S. at 555. Additionally,
                                                                    which the courts customarily grant to pro se parties.’ ”
a court may not assume that a plaintiff can prove facts that the
                                                                    Allegrino v. Conway E & S, Inc., No. CIVA 09-1507, 2010
plaintiff has not alleged. Associated Gen. Contractors of Cal.
                                                                    WL 1687558, at *6 (W.D. Pa. Apr. 26, 2010) (quoting
v. Cal. State Council of Carpenters, 459 U.S. 519, 526 (1983).
                                                                    Holtz v. Rockefeller & Co., 258 F.3d 62, 82 n.4 (2d. Cir.
In deciding a Rule 12(b)(6) motion, the court may consider, in
                                                                    2001)); see Smith v. Plati, 258 F.3d 1167, 1174 (10th Cir.
addition to the facts alleged on the face of the complaint, any
                                                                    2001) (“While we are generally obliged to construe pro se
exhibits attached to the complaint, “any matters incorporated
                                                                    pleadings liberally, ... we decline to do so here because
by reference or integral to the claim, items subject to judicial
                                                                    [plaintiff] is a licensed attorney.”) (citation omitted); Holtz
notice, [and] matters of public record.” Buck v. Hampton
                                                                    v. Rockefeller & Co., 258 F.3d 62, 82 n.4 (2d Cir. 2001)
Twp. Sch. Dist., 452 F.3d 256, 260 (3d Cir. 2006) (citation
                                                                    (“[P]ro se attorneys such as [plaintiff] typically cannot claim
and quotation marks omitted).14                                     the special consideration which the courts customarily grant
                                                                    to pro se parties.”) (internal quotations omitted); Godlove
14     The Court has taken judicial notice of certain docket        v. Bamberger, Foreman, Oswald, and Hahn, 903 F.2d 1145,
       entries in the matter of South Annville Township,            1148 (7th Cir. 1990) (“Ordinarily, we treat the efforts of pro
       Lebanon County Authority v. Jaromir Kovarik, Civil           se applicants gently, but a pro se lawyer is entitled to no
       No. 1:13-cv-01780 (M.D. Pa. June 28, 2013). A court          special consideration.”). Thus, irrespective of Mr. Kovarik's
       may properly take judicial notice of, and give effect
                                                                    status as a pro se litigant, the Court declines to afford him
       to, its own records in another, interrelated proceeding.
                                                                    the substantial degree of latitude it would otherwise extend to
       See Fed. R. Evid. 201; Ernst v. Child & Youth Servs.
                                                                    non-licensed pro se litigants given his representation that he
       of Chester Cty., 108 F.3d 486, 498–99 (3d Cir. 1997);
       United States v. Wilson, 631 F.2d 118, 119 (9th Cir.
                                                                    is a licensed attorney admitted to practice in Pennsylvania.
       1980). Furthermore, the Court has taken judicial notice of
       the decisions in Strohl v. South Annville Township, No.
                                                                      B. Motion for Leave to File an Amended Complaint under
       2005-0911 (Lebanon Cty. C.C.P. Apr. 3, 2007); Strohl v.
       South Annville Township, No. 878 C.D. 2007, 2008 WL            Federal Rule of Civil Procedure 15(a)
       9406465, at *1 (Pa. Commw. Ct. June 20, 2008); Strohl        Federal Rule of Civil Procedure 15(a) embodies a liberal
       v. South Annville Township, No. 2005-00911, 2009 WL          approach to amendment of pleadings, instructing that a “court
       8399050, at *1 (Pa. Commw. Ct. Dec. 24, 2009), vacated,      should freely give leave [to amend a pleading] when justice
       Strohl v. South Annville Township, No. 2162 C.D. 2009,       so requires.” Fed. R. Civ. P. 15(a)(2); see Foman v. Davis,
       2011 WL 10858400, at *1 (Pa. Commw. Ct. Apr. 13,             371 U.S. 178, 182 (1962) (“[T]his mandate is to be heeded.”).



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Indeed, “[l]eave to amend must generally be granted unless                  categories identified by the Eleventh Circuit are: (1)
equitable considerations render it otherwise unjust.” Arthur v.             “a complaint containing multiple counts where each
Maersk, Inc., 434 F.3d 196, 204 (3d Cir. 2006). Among the                   count adopts the allegations of all preceding counts”;
grounds that may justify a court's denial of leave to amend are             (2) a complaint that is “replete with conclusory, vague,
                                                                            and immaterial facts not ... connected to any particular
“undue delay, bad faith or dilatory motive on the part of the
                                                                            cause of action”; and (3) a complaint that “assert[s]
movant, repeated failure to cure deficiencies by amendments
                                                                            multiple claims against multiple defendants without
previously allowed, undue prejudice to the opposing party by
                                                                            specifying which of the defendants are responsible for
virtue of allowance of the amendment, futility of amendment,
                                                                            which acts or omissions, or which of the defendants
etc.” Foman, 371 U.S. at 182. A pleading will be deemed                     the claim is brought against.” Weiland v. Palm Beach
futile if, as amended, it fails to state a claim upon which relief          Cty. Sheriff's Office, 792 F.3d 1313, 1320 (11th Cir.
may be granted. In re Burlington Coat Factory Sec. Litig., 114              2015). In reviewing Plaintiffs' complaint, the Court
F.3d 1410, 1434 (3d Cir. 1997); Jablonski v. Pan Am. World                  observes that each count of the complaint incorporates
Airways, Inc., 863 F.2d 289, 292 (3d Cir. 1988) (“Amendment                 by reference all allegations contained in the preceding
of the complaint is futile if the amendment will not cure                   numbered paragraphs. Moreover, the complaint adopts a
the deficiency in the original complaint or if the amended                  sort of “collective accusation” approach to pleading in
complaint cannot withstand a renewed motion to dismiss.”).                  that it does not ascribe particular conduct to a defendant,
In assessing “futility,” a court applies the standard of legal              but rather collectively asserts all claims against all
                                                                            defendants. Further, the complaint is peppered with
sufficiency set forth under Rule 12(b)(6) of the Federal Rules
                                                                            vague and conclusory factual allegations that are not
of Civil Procedure.
                                                                            clearly tied to any particular cause of action. While
                                                                            typically, the Court would dismiss the complaint with
                                                                            leave to amend for failure to comply with Federal Rule
II. DISCUSSION
                                                                            of Civil Procedure 8, here, the complaint suffers from
  A. Motions to Dismiss Plaintiffs' Complaint                               other incurable deficiencies that justify dismissal with
Plaintiffs advance six causes of action in their complaint.                 prejudice.

(Doc. No. 1.) Count I asserts a First Amendment retaliation
claim under 42 U.S.C. § 1983.15 Count II asserts a claim of          1. First Amendment Retaliation (Count I) & Abuse of
civil conspiracy, although it does not identify the statutory or     Process (Count V) under Section 1983
constitutional basis for such claim. Count III asserts violations
of the Pennsylvania Constitution. Count IV raises a claim            *8 Defendants move to dismiss Counts I and V of the
under the Racketeer Influenced and Corrupt Organizations             complaint as time-barred.16 (Doc. No. 38 at 15.) Count I
Act, 18 U.S.C. § 1961 et seq. (“RICO”). Count V asserts              of Plaintiffs' complaint sets forth a claim of “[r]etaliation
an abuse of process claim, although it is unclear whether            under [Section] 1983.” (Doc. No. 1 at 29.) Plaintiffs claim
this claim is brought under federal or state law. Lastly,            in Count I that they have endured a pattern of ongoing
Count VI alleges a state law claim of “wrongful use of civil         deprivations of their First Amendment rights, beginning with
proceedings.” Significantly, unlike Count I of the complaint,        the unsuccessful 2005 litigation that was brought by Mr.
which asserts a claim of “[r]etaliation under [Section] 1983,”       Kovarik in his capacity as legal counsel for the CCSA, and
and Count VI of the complaint, which clearly references              culminating in Defendants' discontinuation of their municipal
violations of 42 Pa. Cons. Stat. § 8351, Counts II and V of          claim action against Plaintiffs on January 14, 2015.
the complaint do not specify the source of law giving rise to
Plaintiffs' claims of civil conspiracy and abuse of process. In      16     While the Municipal Defendants move to dismiss all
light of this glaring ambiguity, and out of an abundance of
                                                                            but Count IV of the complaint as barred by the statute
caution, the Court analyzes Counts II and V under Section                   of limitations, the Court addresses Defendants' statute
1983.                                                                       of limitations defense only as it relates to those claims
                                                                            giving rise to federal jurisdiction.
15      It bears noting that Plaintiffs' complaint (and proposed     Similarly, Count V of Plaintiffs' complaint, asserting a claim
        amended complaint for that matter) straddles the             of abuse of process, alleges, in pertinent part, that:
        “shotgun pleading” line. The United States Court of
        Appeals for the Eleventh Circuit recently categorized
        shotgun pleadings into distinct types. Among the


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                                                                      As the Defendants persuasively argue, Plaintiffs predicate
  162. Defendants started proceedings against Mr. Kovarik             Section 1983 liability on allegations of actionable conduct
    for the legal fees and sanctions more than a month after          occurring beyond the controlling two-year statute of
    [the 2005 litigation] was concluded on false grounds,             limitations period. Because this action was instituted on
    using false affidavits and statements, when they knew             January 17, 2017, the relevant two-year statute of limitations
    or should have known that the court had no authority to           forecloses any federal civil rights claim grounded on
    adjudicate [their request for sanctions].                         allegations of discrete retaliatory acts occurring before

  ...                                                                 January 14, 2015.17 Indeed, January 14, 2015 is the latest
                                                                      possible date that a timely Section 1983 claim could arise for a
  165. Defendants continued their abuse of process when               complaint filed on January 17, 2017, because January 14 and
    they started new proceedings in the [June 2013                    15, 2017 fell on a weekend, and Monday, January 16, 2017
    municipal claim litigation] ... [,] procur[ing] improper          was a federal holiday. Excluding from the calculation the date
    judgment against [Plaintiffs] and their property based on         the Authority withdrew its municipal claim on January 14,
    [a] false affidavit without proper basis in fact or law.          2015, all remaining allegations of constitutional misconduct
                                                                      chronicled by Plaintiffs in relation to their First Amendment
  166. Defendants continued the proceedings in the United             claim—namely, the 2005 litigation, the installation of the
    States District Court for the Middle District of                  lateral line for connection of Plaintiffs' home to the newly-
    Pennsylvania ... to amass legal fees and costs exceeding          constructed sewer system, the April 2013 disconnection
    more than two times the amount in controversy to                  of Plaintiffs' water service, and the June 2013 municipal
    intimidate [Plaintiffs] rather than resolve the dispute.          claim litigation—are time-barred, as they clearly did not
                                                                      transpire within two years of the date Plaintiffs filed suit on
  167. When given the opportunity to resolve the dispute
                                                                      January 17, 2017. Likewise, Plaintiffs' abuse of process claim
    in the Lebanon County Court of Common Pleas after
                                                                      challenging the 2005 litigation and the June 2013 municipal
    remand, Defendants withdrew their claim.
                                                                      claim litigation, particularly the attorneys' fees sought by
  ...                                                                 Defendants in connection with their motion to remand to
                                                                      state court on July 26, 2013, which was awarded by this
   169. Defendants['] actions constitute a continuous scheme          Court on September 25, 2014, is also time-barred because
      and modus operandi undertaken with intent to harm               Plaintiffs “would have had reason to know on those dates
      [Plaintiffs] or with reckless disregard as to their rights to   the injuries which the tort encompasses.” Rose v. Bartle, 871
      participate in their local government and petition [the]        F.2d 331, 351 (3d Cir. 1989); see U.S. Bank, Nat. Ass'n v.
      government for their grievances.                                Rosenberg, No. CIV.A. 12-723, 2013 WL 6712231, at *6
(Id. at 38-39.)                                                       (E.D. Pa. Dec. 20, 2013) (“[A]buse-of-process claims accrue
                                                                      only after initiation of civil proceedings when some process
Accepting the factual averments in the complaint as true, and         is abused.”).
viewing all reasonable inferences drawn therefrom in the light
most favorable to the Plaintiffs, the Court finds that Plaintiffs     17     See Fed. R. Civ. P. 6(a)(1)(c) (“[I]n computing any time
can prove no set of facts under which they would be entitled                 period specified in these rules ... or in any statute that
to relief. It is well established that actions brought under                 does not specify a method of computing time ... include
Section 1983 are “governed by the personal injury statute of                 the last day of the period, but if the last day is a Saturday,
limitations of the state in which the cause of action accrued.”              Sunday, or legal holiday, the period continues to run until
O'Connor v. City of Newark, 440 F.3d 125, 126 (3d Cir.                       the end of the next day that is not a Saturday, Sunday, or
2006); see Wilson v. Garcia, 471 U.S. 261, 266-67 (1985).                    legal holiday.”).
Under Pennsylvania law—the law of the forum in which the               *9 Disregarding all time-barred allegations, what remains
alleged violations of Plaintiffs' constitutional rights occurred      is Plaintiffs' lone averment that the Authority withdrew its
—the statute of limitations for personal injury actions is two        municipal lien claim on January 14, 2015 in the midst
years. 42 Pa. Con. Stat. § 5524. Accordingly, Counts I and V          of Plaintiffs' consolidated appeal of this Court's previous
of Plaintiffs' complaint are subject to the two-year limitations      Orders, which granted Defendants' motion to remand the
period applicable to personal injury actions.                         municipal claim action to the Lebanon County Court of
                                                                      Common Pleas and imposed an award of attorney's fees. The


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Authority's withdrawal of its municipal claim, however, is
not an adverse action sufficient to state a cognizable claim        To summarize, all but one of the allegations forming the
of retaliation under the First Amendment. “[T]o plead a             basis of Plaintiffs' First Amendment and abuse of process
retaliation claim under the First Amendment, a plaintiff must       claims predate the two-year limitations period applied to
allege: (1) constitutionally protected conduct, (2) retaliatory     federal civil rights claims brought under Section 1983. Thus,
action sufficient to deter a person of ordinary firmness            Plaintiffs' claims based on those untimely factual averments
from exercising his constitutional rights, and (3) a causal         must be dismissed as time-barred. Moreover, as it relates to
link between the constitutionally protected conduct and the         the averment that the Authority withdrew its municipal lien
retaliatory action.” Thomas v. Indep. Twp., 463 F.3d 285, 296       claim on January 14, 2015, such action does not support
(3d Cir. 2006) (addressing retaliation for filing a lawsuit);       Plaintiffs' First Amendment retaliation or abuse of process
see also Koren v. Noonan, 586 Fed.Appx. 885, 887–88 (3d             claims. Accordingly, the Court will grant Defendants' motions
Cir. 2014) (per curiam). With regard to the second element,         to dismiss Counts I and V of the complaint with prejudice.
it is beyond cavil that the Authority's withdrawal of the
municipal claim—the sole allegation falling within the statute
of limitations—cannot support a plausible First Amendment
                                                                    2. Civil Conspiracy under Section 1983 (Count II)
retaliation claim as a matter of law, as it would not deter a
person of ordinary fitness from exercising his constitutional       Plaintiffs caption Count II of the complaint “Civil
rights.                                                             Conspiracy.” (Doc. No. 1 at 33.) While not explicitly stated
                                                                    in the complaint, it appears that Plaintiffs' civil conspiracy
To the extent that Plaintiffs contend that the act of               claim is brought under Section 1983. See Berrios v. City
withdrawing the municipal claim itself amounts to an abuse          of Phila., 96 F. Supp. 3d 523, 534 (E.D. Pa. 2015) (“A
of process, Plaintiffs' theory of liability is without merit.       cause of action for conspiracy to violate constitutional rights
Malicious abuse of process lies only “where ‘prosecution            exists under [S]ection 1983.”). To maintain an action for civil
is initiated legitimately and thereafter is used for a purpose      conspiracy under Section 1983, a plaintiff must show “both
other than that intended by the law.’ ” Rose v. Bartle, 871         the deprivation of a constitutional right and the existence of
F.2d 331, 350 (3d Cir. 1989) (citing Jennings v. Shuman,            a conspiracy to violate that right.” Wodarski v. Erie Office
567 F.2d 1213, 1217 (3d Cir. 1977)). “To sustain a claim for        of Children & Youth Servs., No. CIV.A. 10-292, 2012 WL
abuse of process, a plaintiff must show that the defendant          602933, at *4 (W.D. Pa. Feb. 23, 2012) (citing Ridgewood Bd.
used a legal process to accomplish a purpose for which the          of Educ. v. N.E. ex rel. M.E., 172 F.3d 238, 254 (3d Cir. 1999))
process was not designed.” Evans v. Durham Life Ins. Co.,           (“In order to prevail on a conspiracy claim under [Section]
No. CIV. A. 00-281, 2001 WL 770803, at *2 (E.D. Pa. July            1983, a plaintiff must prove that persons acting under color
9, 2001) (citation and quotation marks omitted). “[T]here           of state law conspired to deprive him of a federally protected
is no cause of action for abuse of process if the claimant,         right.”); see PBA Local No. 38 v. Woodbridge Police Dep't,
even with bad intentions, merely carries out the process            832 F. Supp. 808, 832 n.23 (D.N.J. 1993) (“[C]ivil conspiracy
to its authorized conclusion.” Douris v. Schweiker, 229 F.          is [merely] a vehicle by which [Section] 1983 liability may
Supp. 2d 391, 404 (E.D. Pa. 2002), aff'd sub nom. Douris v.         be imputed to those who have not actually performed the act
Rendell, 100 Fed.Appx. 126 (3d Cir. 2004) (citation omitted).       denying constitutional rights.”).
Here, the allegation that Defendants subsequently withdrew
their municipal lien claim on remand following an improper           *10 As addressed in detail above, Plaintiffs' First
initiation of a June 2013 municipal lien action in state court      Amendment retaliation claim (Count I), and abuse of process
does not give rise to an actionable abuse of process claim, as it   claim (Count V), are subject to dismissal. It follows then, that
is not suggestive of misuse of legal process for some unlawful      in the absence of an actual violation of a constitutional right
object. See Williams v. Fedor, 69 F. Supp. 2d 649, 673 (M.D.        under Section 1983, Plaintiffs' conspiracy claim necessarily
Pa. 1999) (“Examples of actions that are recoverable under          fails. See Perano v. Twp. of Tilden, 423 Fed.Appx. 234,
the abuse of process tort are extortion by means of attachment,     239 (3d Cir. 2011) (“As a threshold matter, ... a [Section]
execution or garnishment, and blackmail by means of arrest          1983 conspiracy claim only arises when there has been
or criminal prosecution.”). The only reasonable inference that      an actual deprivation of a right.”); Gibbs v. Hartsky, No.
can be drawn from this allegation is that process was carried       CIV.A.98-787 JJF, 2004 WL 1328278, at *3 (D. Del. Mar. 31,
out to its authorized conclusion.                                   2004), aff'd, 122 Fed.Appx. 597 (3d Cir. 2005) (“[W]ithout



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an underlying constitutional injury, a plaintiff cannot succeed                as well. Loftus, 843 F. Supp. at 987; see Eichelman v.
on a civil conspiracy claim pursuant to Section 1983.”);                       Lancaster Cty., 510 F. Supp. 2d 377, 393 (E.D. Pa. 2007)
Morley v. Phila. Police Dep't, No. CIV.A.03-880, 2004 WL                       (“To prevail on a conspiracy claim, the plaintiff must
1527829, at *7 (E.D. Pa. July 7, 2004), aff'd, 125 Fed.Appx.                   present evidence of an agreement—‘the sin qua non of
                                                                               a conspiracy.’ ”).
457 (3d Cir. 2005) (granting summary judgment in favor of
defendant on plaintiff's Section 1983 civil conspiracy claim
due to plaintiff's failure “to demonstrate the deprivation of a
                                                                       3. RICO violation (Count IV)
constitutional right,” and reasoning that “Section 1983 does
not create a cause of action per se for conspiracy to deprive          The Defendants also urge the Court to dismiss Count IV of
one of a constitutional right. Without an actual deprivation,          the complaint for failure to state a RICO claim. The civil
there can be no liability under Section 1983”) (citation and           RICO statute, 18 U.S.C. § 1962(c), makes it “unlawful for
quotation marks omitted); see also Holt Cargo Sys., Inc. v.            any person employed by or associated with any enterprise
Del. River Port Auth., 20 F. Supp. 2d 803, 843 (E.D. Pa.               engaged in, or the activities of which affect, interstate or
1998) (finding that there can be no liability for a conspiracy         foreign commerce, to conduct or participate, directly or
to violate Section 1983 without an actual violation of Section         indirectly, in the conduct of such enterprise's affairs through
1983), aff'd, 165 F.3d 242 (3d Cir. 1999).18 Accordingly, the          a pattern of racketeering activity or collection of unlawful
Court will grant Defendants' motions to dismiss Count II of            debt.”19 18 U.S.C. § 1962(c). To state a civil RICO claim,
the complaint with prejudice insofar as it asserts a federal           a plaintiff must allege each of the following four elements
cause of action under Section 1983.                                    required by the statute: “(1) conduct (2) of an enterprise
                                                                       (3) through a pattern (4) of racketeering activity.” Sedima,
18     While it need not consider alternative grounds for              S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985). The RICO
       dismissal, the Court notes that Plaintiffs also fail to         statute catalogs an exhaustive laundry list of predicate acts
       provide a “factual basis to support the existence of the        constituting “racketeering activity,” which includes federal
       elements of a [Section 1983] conspiracy: agreement and          mail fraud under 18 U.S.C. § 1341 and federal wire fraud
       concerted action.” Capogrosso v. Sup. Ct. of N.J., 588          under 18 U.S.C. § 1343. See 18 U.S.C. § 1961(1). The RICO
       F.3d 180, 185 (3d Cir. 2009). Specifically, a “plaintiff        statute further defines a “pattern” of racketeering activity as
       must make specific factual allegations of combination,          two or more predicate acts that are “related and ... amount to
       agreement, or understanding among all or between any
                                                                       or pose a threat of continued criminal activity.” H.J. Inc. v.
       of the defendants to plot, plan or conspire to carry out
                                                                       Nw. Bell Tel. Co., 492 U.S. 229, 239 (1989).
       the alleged chain of events.” Marchese v. Umstead, 110
       F. Supp. 2d 361, 371 (E.D. Pa. 2000); see Grigsby
       v. Kane, 250 F. Supp. 2d 453, 458 (M.D. Pa. 2003)
                                                                       19      Plaintiffs do not specify which subsections of the RICO
       (holding that plaintiff must allege the period, object,                 statute Defendants allegedly violated. However, in an
       and acts taken in furtherance of a conspiracy to defeat                 effort to afford Plaintiffs a fair review of their complaint,
       a motion to dismiss); Loftus v. Se. Pa. Transp. Auth.,                  the Court analyzes Plaintiffs' RICO claim under 18
       843 F. Supp. 981, 986 n.8 (E.D. Pa. 1994) (citing                       U.S.C. § 1962(c).
       Black & Yates, Inc. v. Mahogany Ass'n, Inc., 129                 *11 Turning to the allegations set forth in Count IV of the
       F.2d 227, 231 (3d Cir. 1941) (“A general allegation
                                                                       complaint, Plaintiffs aver, in relevant part, that:
       of conspiracy without a statement of the facts is an
       allegation of a legal conclusion and insufficient of itself       146. Defendants functioned as a continuing unit since about
       to constitute a cause of action.”)). “[O]nly allegations
                                                                           2002.
       which are particularized, such as those addressing the
       period of the conspiracy, the object of the conspiracy,           147. Each Defendant was at a certain time a member of the
       and actions taken in furtherance of the conspiracy, will            enterprise.
       be deemed sufficient.” Grigsby, 250 F. Supp. 2d at 458.
       Here, aside from the “mere incantation of the words               ...
       ‘conspiracy’ [and] ‘acted in concert,’ ” the complaint
       is entirely devoid of factual allegations supporting the          149. Individual Defendants misused their official positions
       existence of an agreement between Defendants to violate             and mandates to operate, manage and carry out the
       Plaintiffs' constitutionally-protected civil rights, and thus       enterprise affairs and used Township Defendants as
       must be dismissed for failure to state a claim on this basis        some of the operating structures for the enterprise.


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                                                                    Co. v. Pepper Hamilton LLP, 479 F. Supp. 2d 419, 428 (D.
  ...                                                               Del. 2007) (citation omitted). The Third Circuit has described
                                                                    “scheme” or “artifice to defraud” in the following manner:
  150. As an example, the Authority, [Roy A.] Meyer, and
    [Patrick P.] Brewer engaged in [a] legal scheme by                Under the mail fraud statute, a scheme or artifice to
    sending regular invoices for payment of non-provided              defraud “need not be fraudulent on its face, but must
    services (sewage and waste processing) and continuing             involve some sort of fraudulent misrepresentations or
    threats to disconnect water supply to [Plaintiffs].               omissions reasonably calculated to deceive persons of
                                                                      ordinary prudence and comprehension.” United States
  151. No sewerage waste, however, could have been
                                                                      v. Pearlstein, 576 F.2d 531, 535 (3d Cir. 1978). The
    processed by the Authority because Kovariks are not
                                                                      scheme need not involve affirmative misrepresentation, see
    connected to the sewer system.
                                                                      United States v. Frankel, 721 F.2d 917 (3d Cir. 1983),
  152. The water delivery was discontinued and Defendants             but the statutory term “defraud” usually signifies “ ‘the
    refused to give permission to re-connect[ ] ... to                deprivation of something of value by trick, deceit, chicane
    [Plaintiffs'] property allegedly for non-payment of non-          or overreaching.’ ” McNally v. United States, 483 U.S. 350,
    provided services.                                                358 (1987) (quoting Hammerschmidt v. United States, 265
                                                                      U.S. 182, 188 (1924)). Accord Carpenter v. United States,
  153. The invoices ... purposefully and willfully misstate           484 U.S. 19, 27 (1987).
    that the money is owed for processing of [Plaintiffs']           *12 Kehr Packages, Inc. v. Fidelcor, Inc., 926 F.2d 1406,
    waste and contain false facts under color of official right.    1415 (3d Cir. 1991).

  154. Defendants have been informed in writing ... about           To satisfy the second requirement—use of the mail to
    their wrongful conduct to no avail.                             execute the scheme—“the use of the mails need not be
                                                                    an essential element of the scheme. It is sufficient for the
  155. The scheme and fraudulent mailings resulted in entry
                                                                    mailing to be ‘incident to an essential part of the scheme,’
    of erroneous lien and judgment against [Plaintiffs] and
                                                                    or ‘a step in [the] plot.’ ” Schmuck v. United States, 489
    their property and are likely to result in further losses and
                                                                    U.S. 705, 710–11 (1989) (citations omitted). Moreover, the
    injury.
                                                                    mailing of communications themselves “need not contain
  156. The above[-]named Defendants have been using the             any misrepresentations.” Kehr Packages, Inc., 926 F.2d at
    mail and color of official right to further their schemes       1413 (quoting Schmuck, 489 U.S. at 715). Rather, “innocent
    and are likely to continue to do so.                            mailings” or “ones that contain no false information” may
                                                                    satisfy the mailing element. Id. at 1413-14 (quoting Schmuck,
  157. Upon information and belief, the Individual                  489 U.S. at 715).
    Defendants conspired in using their governmental power
    to gain personal and illegitimate rewards under color of        In asserting a RICO claim with mail fraud as the predicate
    official right.                                                 act, the plaintiff must adhere to “the heightened pleading
(Doc. No. 1 at 37.)                                                 requirement of Federal Rule of Civil Procedure 9(b).”
                                                                    Bonavitacola Elec. Contractor, Inc. v. Boro Developers,
By the Court's reading of the complaint, the only “predicate        Inc., 87 Fed.Appx. 227, 231 (3d Cir. 2003). To satisfy
act” arguably alleged is the “regular” mailing of purportedly       this standard, the plaintiff must plead or allege “the date,
fraudulent “invoices for payment of non-provided services           time[,] and place of the alleged fraud or otherwise inject
(sewerage and waste processing).” (Id. ¶¶ 150-51.) Indeed,          precision or some measure of substantiation into a fraud
it appears that Plaintiffs have attempted to assert a RICO          allegation.” Frederico v. Home Depot, 507 F.3d 188, 200
action with a mail fraud predicate. The mail fraud statute          (3d Cir. 2007). Indeed, a plaintiff must “identify the purpose
prohibits, inter alia, use of the mails “for the purpose of         of the mailing within the defendant's fraudulent scheme and
executing” any “scheme or artifice to defraud.” 18 U.S.C.           specify the fraudulent statement, the time, place, and speaker
§ 1341. Properly pleading the predicate act of mail fraud           and content of the alleged misrepresentations.” Bonavitacola
requires that a plaintiff establish “two essential elements: ‘1)    Elec. Contractor, Inc., 87 Fed.Appx. at 231 (citation omitted).
a scheme to defraud; and 2) the use of the mails or wires           Stated differently, the plaintiff's pleading must contain the
for the purpose of executing the scheme.’ ” Royal Indem.            “who, what, when and where details of the alleged fraud.” Id.


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(quoting Allen Neurosurgical Assocs., Inc. v. Lehigh Valley          require, within sixty (60) days after notice to such owner
Health Network, No. CIV. A. 99-4653, 2001 WL 41143, at *3            from this Township to make such connection, for the
(E.D. Pa. Jan. 18, 2001)).                                           purpose of discharge of all sanitary sewage and industrial
                                                                     wastes from such improved property; subject, however,
Tested against the foregoing pleading standard, the Court            to such limitations and restrictions as shall be established
finds that Plaintiffs have failed to plead conduct that              herein or otherwise shall be established by this Township,
could reasonably be viewed as racketeering activity.                 from time to time.
Notwithstanding Plaintiffs' failure to plead with particularity
the “circumstances” of the alleged mail fraud as required            ...
by Rule 9(b), the allegations pertaining to Defendants'
                                                                     § 304. Building Sewers and Connections.
interference with Plaintiffs' access to the Township's sewer
system while charging them for nonuse of that sewer                   5. All costs and expenses of construction of a building
system simply do not qualify as an actionable scheme to               sewer and all costs and expenses of connection of a
defraud within the meaning of the mail fraud statute.20               building sewer to a sewer shall be borne by the owner of
Indeed, even viewing these allegations in the light most              the improved property to be connected; and such owner
favorable to Plaintiffs, it is apparent that Plaintiffs have          shall indemnify and save harmless this Township and the
adduced no plausible facts from which the Court could                 Authority from all loss or damage that may be occasioned,
infer that Defendants participated in a “scheme to defraud            directly or indirectly, as a result of construction of a
involving some sort of fraudulent misrepresentation or                building sewer to a sewer.
omissions reasonably calculated to deceive persons of              Pursuant to the Township's Ordinances, Plaintiffs are required
ordinary prudence and comprehension.” Kehr, 926 F.2d at            to connect to the sewer system, and all costs attendant to
1415.                                                              connecting with the sewer line are “borne by the owner of the
                                                                   improved property to be connected.”
20     In addition, the Court finds that Plaintiffs' RICO claim
       against the Township, the Authority, and the individual     21      The Township's Ordinances are available at:http://
       Municipal Defendants in their official capacities fails             library.amlegal.com/nxt/gateway.dll/Pennsylvania/
       as a matter of law because such entities are municipal              southannvilletwp_pa/
       corporations and thus unequivocally immune from                     codeofordinancesofthetownshipofsouthannv?
       liability under RICO. See Genty v. Resolution Trust                 f=templates$fn=default.htm
       Corp., 937 F.2d 899, 914 (3d Cir. 1991) (holding that “a            $3.0$vid=amlegal:southannvilletwp_pa(last visited on
       civil claim brought under [Section] 1964(c) of the RICO             Mar. 14, 2018). These Ordinances are public records of
       Act, with its mandatory award of treble damages which               which this Court may properly take judicial notice in
       are punitive in character, cannot be maintained against a           considering dismissal of an action for failure to state a
       municipal corporation”).                                            claim.
 *13 In assessing whether the complaint's allegations support      22      “Improved Property” is defined in Section 203
a “scheme to defraud,” as is required to satisfy the                       of the Township's Ordinances as “any property
“racketeering activity” element of a RICO claim predicated                 within the Township upon which there is erected a
on mail fraud, the Court is informed by the Township's                     structure intended for continuous or periodic habitation,
local Ordinances and prevailing case law. The Township's                   occupancy or use by human beings or animals and from
Code of Ordinances21 reveals the following with regard to                  which structure sewage shall or may be discharged.”

connections to the public sewer system:                            The fact that the Township requires connection to the
                                                                   sewer system is significant. Indeed, in Perano v. ORD
  § 303. Use of Public Sewer Required.                             Sewer Authority, 47 A.3d 210 (Pa. Commw. Ct. 2012),
                                                                   the Pennsylvania Commonwealth Court addressed whether
  1. The owner of any improved property22 adjoining or             a municipal authority “may impose sewer fees upon [an] ...
  adjacent to or whose principal building is within one            owner of property who is required by [o]rdinance to connect
  hundred fifty (150) feet from the sewer system shall             to the sewer system if, in violation of the [o]rdinance, the
  connect such improved property with and shall use such           property owner fails to connect.” Id. at 216. In Perano, the
  sewer system, in such manner as this Township may                court held that a sewer authority could properly assess sewer



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fees on a property owner even though he had not connected             Court will grant Defendants' motions to dismiss Count IV of
to the sewer system because the property owner was required           Plaintiff's complaint with prejudice.
by ordinance to connect to the sewer system. Id. The court
reasoned that, had the property owner in Perano “connected
to the sewer system as he was required to do, there is no
                                                                      4. Pendent State Law Claims
question that he would be required to pay the very same
sewer fees he now disputes,” and further remarked that “              The remaining Counts asserted in Plaintiffs' complaint
‘[t]he rental charges are utilized to meet many fixed costs           contain state law claims. Where a district court has dismissed
incurred by the township; costs such as operation expenses,           all claims over which it has original jurisdiction, as is the
maintenance, repair, inspection and depreciation which are            case here, the Court may decline to exercise supplemental
incurred whether or not a particular individual is tapped into        jurisdiction over the pendent state law claims. 28 U.S.C. §
the sewer system.’ ” Id. at 217 (quoting Coudriet v. Benzinger        1367(c)(3). The decision regarding whether the Court may
Twp., 411 A.2d 846, 848 (Pa. Commw. Ct. 1980)).                       exercise supplemental jurisdiction is one that should be based
                                                                      on “the values of judicial economy, convenience, fairness,
 *14 Like the property owner in Perano, Plaintiffs are                and comity.” Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343,
required by ordinance to connect to the sewer system. Thus,           350 (1988). Ordinarily, when all federal law claims have been
Plaintiffs' contention that Defendants somehow engaged in a           dismissed and only state-law claims remain, the balance of
scheme to defraud them through the use of mailed invoices             these factors indicates that these remaining claims properly
reflecting charges assessed for sewer services from which             belong in state court. Id. In the absence of a viable federal
Plaintiffs never directly benefited is wholly unavailing, given       claim, and finding nothing in the record to distinguish this
that the rates charged to Plaintiffs are contemplated by the          case from the ordinary one, the Court finds that the balance
Township's mandatory connection Ordinance. See Coudriet,              of factors “point[s] toward declining to exercise jurisdiction
411 A.2d at 848 (“We agree with the township that to                  over the remaining state law claims.” See id. at 350 n.7.
allow individual property owners to elect not to tap into a           Therefore, the Court will dismiss the state law claims without
sewer system accessible to it would circumvent the statutory          prejudice pursuant to 28 U.S.C. § 1367(c)(3).
purpose behind the imposition of sewer rental and undermine
the financial soundness of a municipality's sewer system.”).
Accordingly, the invoices for sewer services, alone, do not              B. Motion for Leave to Amend Plaintiffs' Complaint
qualify as racketeering activity on the part of Defendants.           Plaintiff has filed a “renewed motion for leave to amend or
                                                                      in the alternative to consider this submission as a brief in
Likewise, no scheme to defraud can be inferred from the               opposition to Defendants' motions to dismiss.” (Doc. No. 51.)
disconnection of Plaintiffs' water supply and the filing of           While styled in the alternative as a brief in opposition to
the municipal lien for failure to satisfy the sewer service           Defendants' motions to dismiss, the motion itself appears to be
arrearages, as the Authority is empowered by statute to charge        a renewed request for leave to amend Plaintiffs' complaint “on
the fees that are the subject of the lien and are the result of the   the grounds that new evidence [has] bec[o]me available.”23
water service termination. See 53 Pa. Stat. § 3102.502 (“If the       (Id. at 1.)
owner ... served by a water utility neglects or fails to pay ...
a rental, rate[,] or charge for sewer, sewerage[,] or sewage          23     To reiterate, Plaintiffs' brief in support of their motion for
treatment service imposed by a municipality or municipal                     leave to amend contains their arguments in opposition
authority, the water utility shall, at the request and direction             to Defendants' motions to dismiss, and thus has been
of the municipality [or] the authority ... shut off the supply of            construed as a brief in opposition to Defendants' motion
water to the premises until all overdue rentals, rates, charges              to dismiss. By contrast, Plaintiffs' motion for leave to
and associated penalties and interest are paid.”); 53 Pa. Stat.              amend contains Plaintiffs' arguments in support of their
§ 7106 (“[M]unicipal claims and municipal liens shall arise                  motion for leave to file an amended complaint. (Doc. No.
when lawfully imposed and assessed.”). As Plaintiffs cannot                  52.)
plead sufficient facts to permit the Court to draw a reasonable        *15 Plaintiffs represent in the motion that they participated
inference that Defendants engaged in racketeering activity            in mediation proceedings on May 30, 2017, after filing a claim
through the commission of predicate acts of mail fraud, the           with the Pennsylvania Public Utility Commission against
                                                                      the Pennsylvania American Water Company regarding the



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disconnection of their water services in April of 2013. (Id.    by this standard governing the amendment of pleadings,
at 1-2.) Plaintiffs assert that the delay in mediating this     the Court finds that it would be futile to allow Plaintiffs
matter was the result of the Pennsylvania American Water        to file the proposed amended complaint. Indeed, as this
Company's “refusal to release ... data and information about    Court has extensively detailed above, a liberal reading of
their discussions with ... the Authority.” (Id. at 2.) While    the original, operative complaint reveals no set of facts
unsuccessful, the mediation has purportedly “yielded certain    that could plausibly give rise to a viable federal cause of
material facts” that Plaintiffs have since incorporated into    action under Section 1983 or the civil RICO statute. Neither
a proposed, redlined amended complaint totaling 115 pages       the addition of Kristen S. Yeagley as a Defendant, nor the
in length, which Plaintiffs have attached to their motion for   inclusion of factual allegations pertaining to Defendants'
leave to amend. (Doc. No. 51-3.) A review of the proposed       alleged ongoing misconduct, including their coordinated
amended complaint reveals that Plaintiffs name Kristen S.       filing of motions for Rule 11 sanctions, saves Plaintiffs'
Yeagley as an additional Defendant and assert four new          untimely and unmeritorious federal claims. Additionally,
causes of action grounded in state law: namely, “breach of      because this Court has declined to retain supplemental
fiduciary duty,” “intentional and tortious interference with    jurisdiction over Plaintiff's ancillary state law claims asserted
contractual relations,” “aiding and abetting the commission     in the original complaint due to the lack of an anchoring
of [a] tort,” and “deceit and fraud.” (Id. at 4-5.) Moreover,   federal claim to which supplemental jurisdiction could attach,
Plaintiffs include several additional allegations, summarized   it will likewise decline to exercise supplemental jurisdiction
as follows:                                                     over the proposed state law claims. Accordingly, the Court
                                                                will deny Plaintiffs' motion for leave to file an amended
  1) The PIRMA and Thomson Defendants together with             complaint (Doc. No. 51), as any such amendment would be
    Bellwoar & McAndrew, LLP, counsel for the Municipal         futile.
    and PIRMA Defendants, are “members or participants of
    a common enterprise ... involved in wrongful acts against
    the [Plaintiffs] through ... financing and facilitating       C. Cross-Motions for Sanctions Under Federal Rule of
    a lawsuit for improper purposes and enabling, aiding          Civil Procedure 11
    and abetting the retaliatory conduct of the Municipal       Lastly, the parties have filed cross-motions for sanctions
    Defendants” (id. ¶ 28);                                     under Federal Rule of Civil Procedure 11.24 (Doc. Nos. 24,
                                                                25, 43, 53, 54, 55.)
  2) Defendants conspired together to intimidate Plaintiffs
    through filing concerted motions seeking the imposition
                                                                24      At the outset, the Court will deny Plaintiffs' cross-
    of Rule 11 sanctions against Plaintiffs (id. ¶¶ 156-59);
    and                                                                 motions for sanctions that are based on Defendants'
                                                                        filing of their motions for sanctions as plainly meritless.
  3)   Defendants have “facilitate[ed], maintain[ed],                   See Moeck v. Pleasant Valley Sch. Dist., 844 F.3d 387,
    or support[ed] wrongful legal proceedings or                        391 (3d Cir. 2016) (“Rule 11(c)(6) requires only that a
    municipal actions [against Plaintiffs], caus[ed] ...                district court explain the basis of its order when the court
                                                                        imposes a sanction, not when it denies sanctions.”); Fed.
    disconnect[ion] of water and sewer services to
                                                                        R. Civ. P. 11(c)(6) (“An order imposing a sanction must
    [Plaintiffs'] property, misinform[ed] authorities and/or
                                                                        describe the sanctioned conduct and explain the basis for
    forward[ed] intimidating or wrongful communications
                                                                        the sanction.”).
    to [Plaintiffs]” (id. ¶ 185).
The Defendants jointly oppose Plaintiffs' motion to amend.       *16 Rule 11 of the Federal Rules of Civil Procedure requires
(Doc. No. 59.)                                                  that “[e]very pleading, written motion, and other paper must
                                                                be signed by at least one attorney of record in the attorney's
In civil rights cases, district courts must generally           name—or by a party personally if the party is unrepresented.”
extend plaintiffs an opportunity to amend the complaint         Fed. R. Civ. P. 11(a). By signing, filing, submitting, or later
before dismissal. Fletcher-Harlee Corp. v. Pote Concrete        advocating a pleading, written motion, or other paper to the
Contractors, 482 F.3d 247, 253 (3d Cir. 2007). However,         court, the:
a district court can refuse to permit a curative amendment
                                                                  attorney or unrepresented party certifies that to the best of
on grounds of bad faith, undue delay, prejudice, or futility.
                                                                  the person's knowledge, information, and belief, formed
Alston v. Parker, 363 F.3d 229, 235 (3d Cir. 2004). Informed
                                                                  after an inquiry reasonable under the circumstances:


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     (1) [the filing] is not being presented for any improper     Defendants' motions for sanctions challenge the sufficiency of
        purpose, such as to harass, cause unnecessary delay,      Plaintiffs' pre-filing investigation. In their respective motions
        or needlessly increase the cost of litigation;            for sanctions, Defendants urge the Court to impose sanctions
                                                                  against Plaintiffs in the form of attorneys' fees and costs
     (2) the claims, defenses, and other legal contentions
                                                                  to penalize Plaintiffs for filing a complaint that is “not
        are warranted by existing law or by a nonfrivolous
                                                                  warranted by existing law or [supported by] a colorable
        argument for extending, modifying, or reversing
                                                                  legal argument, and is based on incorrect factual assertions
        existing law or for establishing new law;
                                                                  which will never have evidentiary support, regardless of any
     (3) the factual contentions have evidentiary support,        further investigation or discovery.” (Doc. No. 31 at 14.) The
        or, if specifically so identified, will likely have       Defendants largely rely on the previously identified pleading
        evidentiary support after a reasonable opportunity for    defects raised in connection with their motions to dismiss
        further investigation or discovery; and                   and an exhaustive account of Plaintiffs' conduct in previous
                                                                  civil proceedings before the state court as support for their
     (4) the denials of factual contentions are warranted         position that a reasonable inquiry into the facts and law would
        on the evidence or, if specifically so identified, are    have revealed to Plaintiffs the lack of a legally or factually
        reasonably based on belief or a lack of information.      supportable cause of action. As Defendants persuasively
Fed. R. Civ. P. 11(b).                                            argue:

To comply with the mandates of the Rule, a litigant is required      *17 Plaintiffs have burdened the ... Defendants with the
to conduct a “reasonable inquiry into both the facts and law        significant and unavoidable cost of defending themselves
supporting a particular pleading.” In re Prudential Ins. Co.        without first conducting a reasonable investigation into the
Am. Sales Practice Litig. Actions, 278 F.3d 175, 187 n.7 (3d        facts, performing necessary legal analysis, or identifying
Cir. 2002); see Lieb v. Topstone Indus., Inc., 788 F.2d 151,        any factual or legal basis or theory to support liability. This
157 (3d Cir. 1986) (“The rule imposes on counsel a duty to          burden includes significant time and resources devoted to
look before leaping and may be seen as a litigation version of      communicating with co-defendants and opposing counsel
the familiar railroad crossing admonition to ‘stop, look, and       as well as strategy, research, and the drafting of letters,
listen.’ ”). By imposing an affirmative duty on a litigant to       motions, and briefs. Plaintiffs' willingness to impose
conduct a reasonable inquiry into the facts and relevant law        litigation costs without any concern for the validity of their
before filing submissions with the court, Rule 11 serves to         allegations constitutes sanctionable conduct.
deter baseless filings, streamline litigation, and curb abuses    (Doc. No. 46 at 9.)
of the judicial system. See Bradgate Assoc., Inc. v. Fellows,
Read & Assoc., Inc., 999 F.2d 745, 751 (3d Cir. 1993); Cooter     The Court, in large part, agrees. It is apparent to this Court
& Gell v. Hartmarx Corp., 496 U.S. 384, 393–94 (1990).            that Mr. Kovarik, an “attorney duly licensed to practice law
                                                                  and in good standing in the Commonwealth of Pennsylvania
Under controlling Third Circuit precedent, an attorney's          and several other jurisdictions,” who is in the unique position
conduct is tested against the standard of objective               of representing himself and his wife in this action, plainly
reasonableness. The objective standard espoused by Rule 11        failed to conduct a reasonable inquiry into the law governing
is one of reasonableness under the circumstances, which is        the federal causes of action advanced in the complaint prior
defined as an “objective knowledge or belief at the time of       to initiating this action, despite his assertions to the contrary.
the filing that the claim was well-grounded in law and fact.”     (Doc. No. 53-3.) A rudimentary pre-complaint investigation
See Ford Motor Co. v. Summit Motor Products, Inc. 930 F.2d        into the law would have informed him that Plaintiffs' First
277, 289 (3d Cir. 1991) (citation omitted). In scrutinizing       Amendment and abuse-of-process claims under Section 1983
a submission against these requirements, “the wisdom of           are clearly barred by the two-year statute of limitations and
hindsight should be avoided; the attorney's conduct must          that the sewer fees assessed against Plaintiffs cannot form the
be judged by what was reasonable to believe at the time           basis of a viable RICO action, as addressed in detail, supra.
the pleading, motion, or other paper was submitted.” Mary         See Segarra v. Messina, 153 F.R.D. 22, 30 (N.D.N.Y.), on
Ann Pensiero, Inc. v. Lingle, 847 F.2d 90, 94 (3d Cir. 1988)      reconsideration, 158 F.R.D. 230 (N.D.N.Y. 1994) (“[E]ven
(internal citations and quotation marks omitted).                 when plaintiff based his RICO claim on legitimate predicate
                                                                  acts in 18 U.S.C. § 1961(1)—obstruction of justice and


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                                                                    sanctions if they withdraw or correct contentions after a
extortion—plaintiff failed to realize that these predicate acts
                                                                    potential violation is called to their attention”); see also Eaton
require the showing of certain elements which the plaintiff
                                                                    v. Tosti, No. CIV.09-5248 (WJM), 2010 WL 2483318, at *11
cannot in good faith allege is present in the instant case ... [,
                                                                    (D.N.J. June 4, 2010) (“[T]he Court notes, for the benefit
leading to the] conclusion that plaintiff failed to investigate
                                                                    of [p]laintiff's attorney, that it seriously considered Rule 11
the laws as required under Rule 11.”).
                                                                    sanctions due to the lack of legal basis for many of the claims
                                                                    asserted ... The Court declines to begin the sanction process
However, recognizing the Third Circuit's preference for
                                                                    sua sponte or otherwise against [p]laintiff's lawyer at this
imposing sanctions in only the most egregious cases, and
                                                                    time; however, [p]laintiff's lawyer is placed on NOTICE that
mindful that Rule 11 should not be utilized as a fee shifting
                                                                    the Court will entertain sanctions should he submit another
device, the Court will decline to impose monetary sanctions
                                                                    pleading with claims clearly unwarranted by fact or law.”).
on this record. See Fed. R. Civ. P. 11(c) (amending former
Rule which made imposition of sanctions mandatory upon
finding of Rule 11 violation by providing that the court retains    III. CONCLUSION
discretion to impose a sanction on a litigant who is found to        *18 Based upon the foregoing, the Court will: (1) grant
have violated Rule 11); Doering, 857 F.2d at 194 (“[R]ule           Defendants' motions to dismiss Counts I, II, IV, and V of
11 is violated only when it is patently clear that a claim          Plaintiffs' complaint with prejudice inasmuch as they assert
has absolutely no chance of success.”); see also Liggon-            federal causes of action under Section 1983 and RICO,
Redding v. Estate of Sugarman, 659 F.3d 258, 263 (3d Cir.           and decline to exercise supplemental jurisdiction over any
2011) (“Rule 11, however, is a sanction of last resort.”);          remaining state law claims (Doc. Nos. 11, 14, 15); (2) deny
Keister v. PPL Corp., 318 F.R.D. 247, 256 (M.D. Pa. 2015)           Plaintiffs' renewed motion for leave to file an amended
(“Rule 11 sanctions should never be viewed as a general fee         complaint (Doc. No. 51); and (3) deny as moot Defendants'
shifting device. By and large federal courts are bound by the       motion to stay discovery (Doc. No. 72), and Plaintiffs'
“American Rule,” requiring parties shoulder their own legal         “motion for contempt and in opposition to Defendants' motion
expenses.”) (quoting Gaiardo v. Ethyl Corp., 835 F.2d 479,          to stay” (Doc. No. 73). Further, the Court will lift the stay on
483 (3d Cir. 1987)).                                                briefing with regard to Defendants' motions for sanctions, and
                                                                    deny the parties' motions for sanctions (Doc. Nos. 24, 25, 43,
Nevertheless, Mr. Kovarik is advised that the Court will            53, 54, 55).
entertain Rule 11 sanctions against him in the future should
he choose to ignore the admonitions of Rule 11 and file             An appropriate Order follows.
further pleadings in this Court that advance frivolous, legally
unreasonable, or factually foundationless claims pertaining
to this ongoing municipal dispute. See Fed. R. Civ. P. 11,          All Citations
adv. cmte. notes (noting that Rule 11 “subject [s] litigants
to potential sanctions for insisting upon a position after          Not Reported in Fed. Supp., 2018 WL 1428293
it is no longer tenable” and “provid[es] protection against

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                               I
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    Only the Westlaw citation is currently available.               ORDER ON MOTION FOR PRELIMINARY
      United States District Court, D. Vermont.                     INJUNCTION AND ON MOTION TO DISMISS

                                                                    Geoffrey W. Crawford, Chief Judge
        Tracey MARTEL, Robert Frenier,
          Brian Smith, Raoul Beaulieu,                               *1 In the spring of 2020, faced with the crisis resulting from
                                                                    the spread of COVID-19 infection, the Vermont legislature
         and Mary Beausoleil, Plaintiffs,
                                                                    passed two bills that changed Vermont election law for
                         v.                                         the 2020 primary and general elections. See 2020 Vt.
         James C. CONDOS, in his official                           Acts & Resolves Nos. 92 and 135 (Act 92 and Act 135,
            capacity as the Secretary of                            respectively). These became law in July 2020 after the
                                                                    governor declined to sign or veto the measures. See Letter
           State of Vermont, Defendant.                             from Philip B. Scott, Governor, to the Vt. Gen. Assembly
                                                                    (July 2, 2020), https://governor.vermont.gov/sites/scott/files/
                     Case No. 5:20-cv-131                           documents/Vermont% 20General% 20Assembly% 20Letter
                               |                                    % 20re% 20S.348.pdf. Vermont Secretary of State James
                     Signed 09/16/2020                              C. Condos issued a Directive on July 20, 2020 exercising
Synopsis                                                            the authority conferred upon him by the two Acts. (Doc.
Background: Five registered voters brought action to                1-1.) The Directive includes, among other things, a provision
challenge Secretary of State directive that an election ballot be   stating that, for the November general election, “[a] ballot
mailed to every active voter on the statewide voter checklist,      will be mailed to every active voter on the statewide voter
alleging that the directive was unconstitutional, ultra vires,      checklist.” (Doc. 1-1 at 4.)
and contrary to law and seeking an injunction rescinding the
directive and preventing Secretary of State from issuing mail-      The above-captioned plaintiffs have filed a complaint against
in ballots. Voter filed motion for preliminary injunction, and      Secretary Condos seeking a declaration that the Directive is
Secretary of State filed motion to dismiss.                         unconstitutional, ultra vires, and contrary to law. (Doc. 1 at
                                                                    25.) They also seek an injunction rescinding the Directive and
                                                                    preventing Secretary Condos from distributing mail-in ballots
                                                                    as contemplated by the Directive. (Id.) Currently pending is
The District Court, Geoffrey W. Crawford, Chief Judge, held         Plaintiffs’ Motion for a Preliminary Injunction (Doc. 2) and
that voters lacked concrete and particularized injury in fact       Defendant's Motion to Dismiss (Doc. 10). The court held a
necessary for standing.                                             hearing on the motions on September 15, 2020.


Motion for injunction denied, case dismissed.
                                                                    Background

Attorneys and Law Firms                                             The provisions in Acts 92 and 135 principally at issue in
                                                                    this case concern the legislature's decision to authorize the
David A. Warrington, Esq., Pro Hac Vice, Kutak Rock LLP,            Secretary of State to require local election officials to send
Richmond, VA, Deborah T. Bucknam, Esq., Bucknam Law                 ballots by mail to all registered voters. Act 92 states, in
PC, Walden, VT, Harmeet K. Dhillon, Esq., Pro Hac Vice,             pertinent part:
Dhillon Law Group Inc., San Francisco, CA, Mark P. Meuser,
Esq., Pro Hac Vice, Dhillon Law Group Inc., San Franciso,             In the year 2020, the Secretary of State is authorized, in
CA, for Plaintiffs.                                                   consultation and agreement with the Governor, to order or
                                                                      permit, as applicable appropriate elections procedures for
David R. Groff, Esq., Philip A. Back, Esq., Office of the             the purpose of protecting the health, safety and welfare of
Vermont Attorney General, Montpelier, VT, for Defendant.              voters, elections workers, and candidates in carrying out
                                                                      elections including:


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                                                                          ballot handling, overseas voters, changes of polling places,
   (1) requiring mail balloting by requiring town clerks to               qualifications of election officials, home delivery of ballots,
   send ballots by mail to all registered voters ....                     mask requirements, and voting in person after receiving a
Act 92, § 3(a). Act 135 amended Act No. 92. It removed the                ballot by mail. (See id. at 1–4.) Regarding ballot returns,
requirement of “agreement” with the Governor. Act 135, § 1.               the Directive states that, with four enumerated exceptions,
It also added a new subsection (c):                                       “[b]allots may not be returned to the Clerk by any candidate
                                                                          whose name appears on the ballot for that election, or any
    If the Secretary of State orders or permits the mailing
                                                                          campaign staff member of any such candidate.” (Id. at 1.)
    of 2020 General Election ballots to all registered voters
                                                                          Regarding changes to polling places, the Directive states that
    pursuant to subsection (a) of this section, the Secretary
                                                                          “[t]he location of a polling place may be changed no less than
    shall:
                                                                          15 days prior to the election.” (Id. at 3.)
    (1) inform the Governor as soon as reasonably practicable
       following the Secretary's decision to do so; and                   The Directive contains the following provision for “mailed
                                                                          ballots” in the November general election:
    (2) require the return of those ballots to be in the manner
       prescribed by 17 V.S.A. § 2543 (return of ballots) as set            A ballot will be mailed to every active voter on the
       forth in Sec. la of this act, the provisions of which shall          statewide voter checklist. “Active” voters are any voters
       apply to that return.                                                that have not been sent a challenge letter by the BCA asking
                                                                            the voter to affirm their residence, or who have responded
Id.1 Other changes in election practices authorized by the Acts
                                                                            to any such letter and have affirmed their residence.
include provisions for collecting and counting mail-in ballots
early, permitting drive-up, car window collection of ballots,                  • Ballots will be mailed to all active registered voters
and extending both voting hours and the time to process and                      starting Friday, September 18.
count ballots. Act 92, § 3(a)(1–6); Act 135 § 1 (a)(1–6).
                                                                               • Ballots will be mailed or otherwise delivered to
1        Paragraph (2) of subsection (c) contains a mistake.                     all military and overseas voters no later than the
         Section 2543 of Title 17 sets out procedures for returning              September 19 deadline mandated by federal law.
         early ballots to local election officials. Sec. 1a appeared
         in prior versions of Act No. 135. It contained procedures             • All ballots will be mailed from a central location by the
         restricting so-called “ballot harvesting” by third party                 Secretary of State's Office.
         organizations. Section la was dropped from the final
         version of Act 135 and never enacted. The reference to
                                                                               • For mailing purposes, the Secretary of State will use
         it is a legislative drafting mistake which was noted in the              the mailing address contained in any pending request
         Governor's July 2, 2020 letter as a technical error. It refers           for a General Election ballot first, and if none will use
         to a proposed change in the law which was not ultimately                 the mailing address in the voter's record second, and
         passed. Such mistakes are unhelpful in understanding                     if none the legal address in the voter's record.
         statutory language, but this one does not have any effect
         on the other provisions of Acts 92 and 135. The court                 • The issue date for all ballots will be recorded in
         will apply the other provisions of the Acts despite the                 the statewide election management system by the
         mistaken reference to the (non-existent) Section 1a.                    Secretary of State on a batch basis as they are sent.
 *2 In response to the legislative initiative, the Secretary                     Clerks will only by required to record the date that
of State issued a Directive on July 20, 2020 exercising the                      ballots are returned. Clerks will be required to enter
authority conferred upon him by the two Acts. (Doc. 1-1.)                        the request, issue, and return date for any ballots
The Directive states that it is issued “[n]otwithstanding any                    requested by voters after the statewide mailing is sent,
provisions of law contained in Title 17 of the Vermont Statutes                  including for those voters who may register after that
Annotated to the contrary” and “pursuant to the authority                        date.
granted to the Secretary of State by Act 92 (2020) and Act
                                                                               • Postage for the mailing of ballots and the return of
135 (2020).” (Id. at 1.) The Directive describes a variety
                                                                                 ballots to the Clerks by voters will be paid by the
of measures for both the August primary and November
                                                                                 Secretary of State's office. All envelopes will be pre-
general elections, including new procedures for ballot returns,
                                                                                 paid.
processing, outdoor and drive-through polling places, outdoor


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(Id. at 4–5.)                                                      (Doc. 1 ¶ 25.) Plaintiffs fear that ballots will be mailed to
                                                                   voters who have moved away, died, or otherwise become
After issuing the Directive and in preparation for the August      ineligible and that these ballots will be used to vote illegally
primary election, the Secretary caused absentee primary            by the ineligible voter or others who acquire the ballots and
ballot request forms printed on postcards to be sent to            return them to polling places. (See id. ¶ 62.)
every person listed on the statewide voter checklist. (Doc.
1 ¶ 42.) According to the Complaint, the issuance of the
postcards “was intended to be a test of the process by                B. Other Challenges
which Condos intended to mail ballots to all voters on the         In addition to their challenge based on alleged dilution of
statewide voter checklist pursuant to the Directive.” (Id.         their votes, Plaintiffs assert in Count II that the Directive is
¶ 43.) Plaintiffs allege that the postcard mailing revealed        unconstitutional and an ultra vires use of legislative power.
“numerous problems,” such as postcards being sent to voters        They assert that the Directive contains provisions that are
at addresses they no longer used, postcards sent to people who     inconsistent with Vermont law. (See id. ¶ 71.) Finally, in
are no longer eligible to vote in Vermont, and some longtime       Count III, Plaintiffs assert that the Directive is ultra vires
registered voters who received no postcard. (Id. ¶¶ 45–48.)        because, in Plaintiffs’ view, it does nothing beyond existing
                                                                   Vermont law to “protect[ ] the health, safety, and welfare
The Secretary of State is prepared to follow the Directive and     of voters, elections workers, and candidates in carrying out
Acts 92 and 135 by mailing out ballots to all active registered    elections”—the stated purpose of Acts 92 and 135. See Act
voters on Friday, September 18, 2020.                              92, § 3(a); Act 135 § 1(a).


                                                                   II. Standing
Analysis                                                           Plaintiffs’ case begins and ends with the issue of standing.
                                                                   This is a constitutional requirement which operates as a check
I. Plaintiffs’ Challenges                                          on the ability of litigants to file claims for injuries which are
Plaintiffs are five registered Vermont voters. In addition to      insufficiently specific and direct in their effect on the plaintiff.
their status as registered voters, several have played a role      See Allen v. Wright, 468 U.S. 737, 754, 104 S.Ct. 3315, 82
in local and state government. Plaintiff Tracey Martel is the      L.Ed.2d 556 (1984) (“This Court has repeatedly held that an
town clerk of Victory, Vermont, where she is responsible for       asserted right to have the Government act in accordance with
the administration of Victory's elections. Robert Frenier is       law is not sufficient, standing alone, to confer jurisdiction on
a former member of the Vermont House of Representatives.           a federal court.”), abrogated on other grounds by Lexmark
Brian Smith is a current member of the Vermont House. Mary         Int'l, Inc. v. Static Control Components, Inc., 572 U.S. 118,
Beausoleil is a resident of Lyndon and previously a Justice of
                                                                   126–27, 134 S.Ct. 1377, 188 L.Ed.2d 392 (2014).2 Cases in
the Peace.
                                                                   which plaintiffs assert “generalized grievances” of unlawful
                                                                   governmental action are commonly dismissed on standing
   A. Challenge to Statewide Mail-In Ballots                       grounds. See United States v. Richardson, 418 U.S. 166, 94
 *3 Plaintiffs complain that their individual votes will be        S.Ct. 2940, 41 L.Ed.2d 678 (1974) (impact of government
diluted if the distribution of mail-in ballots leads—as they       action plainly undifferentiated and common to all members of
fear—to mistaken votes or widespread voter fraud. The              the public). The constitutional minimum of standing consists
Complaint alleges that:                                            of three elements: “The plaintiff must have (1) suffered an
                                                                   injury in fact, (2) that is fairly traceable to the challenged
  if General Election mail-in ballots are automatically            conduct of the defendant, and (3) that is likely to be redressed
  distributed to every eligible voter (any voter on a voter        by a favorable judicial decision.” Liberian Cmty. Ass'n of
  check-list), without any request for such a ballot from that     Conn. v. Lamont, 970 F.3d 174, 184 (2d Cir. 2020) (quoting
  voter, many castable ballots will inevitably fall in the hands   Lujan v. Defenders of Wildlife, 504 U.S. 555, 560, 112 S.Ct.
  of persons other than the voter to whom the mail-in ballot       2130, 119 L.Ed.2d 351 (1992)).
  was directed, including some mail-in ballots that will be
  sent to persons to have moved, died or otherwise become          2       Standing has both a constitutional and a prudential
  ineligible.”                                                             aspect. In this case, the court is only concerned with




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        constitutional standing. Because it is absent, there is no   Standing in such cases, however, does not extend to parties
        need to consider the further issue of whether standing is    who have not themselves suffered discrimination or other
        not present for prudential reasons.                          individualized injury. See United States v. Hays, 515 U.S.
The requirement of “injury in fact” serves multiple purposes.        737, 745, 115 S.Ct. 2431, 132 L.Ed.2d 635 (1995) (without
It limits justiciable cases to those controversies which are         evidence that “plaintiff has personally been subjected to
sufficiently well-defined by injury to the plaintiff that the        a racial classification ... [he] would be asserting only a
parties will develop the facts and seek remedies which are           generalized grievance against governmental conduct of which
responsive to the harm. See Valley Forge Christian Coll.             he or she does not approve.”); Sinkfield v. Kelley, 531 U.S. 28,
v. Americans United for Separation of Church and State,              121 S.Ct. 446, 148 L.Ed.2d 329 (2000) (majority white voters
Inc., 454 U.S. 464, 472, 102 S.Ct. 752, 70 L.Ed.2d 700               lacked standing to complain of unlawful racial practices to
(1982) (“The requirement of ‘actual injury redressable by the        which they had not been subjected). The Second Circuit
court’ ... tends to assure that the legal questions presented to     recognized the same principles in League of Women Voters
the court will be resolved, not in the rarified atmosphere of a      of Nassau County v. Nassau County Bd. of Supervisors, 737
debating society, but in a concrete factual context conducive        F.2d 155, 162 (2d Cir. 1984) (“[parties] who are not persons
to a realistic appreciation of the consequences of judicial          domiciled in underrepresented voting districts lack standing
action.” (internal citations omitted)). In a manner directly         to prosecute this appeal.”) See Roxbury Taxpayers Alliance v.
relevant to this case, the requirement supports principles of        Delaware Cty Bd. of Supervisors, 80 F.3d 42 (2d Cir. 1996)
separation of power and caution in second-guessing decisions         (only underrepresented voters have standing to bring claims
made by the other branches. See Laird v. Tatum, 408 U.S.             of disproportional representation).
1, 15, 92 S.Ct. 2318, 33 L.Ed.2d 154 (1972) (“Carried to its
logical end, [litigation without direct injury] would have the       It would over-simplify the standing analysis to conclude that
federal courts as virtually continuing monitors of the wisdom        no state-wide election law is subject to challenge simply
and soundness of Executive action; such a role is appropriate        because it affects all voters. State legislation which unfairly
for the Congress acting through its committees and the ‘power        restricts a voter's right to vote is subject to review by the
of the purse,’ it is not the role of the judiciary, absent           courts. “We have long recognized that a person's right to
actual present or immediately threatened injury resulting from       vote is ‘individual and personal in nature.’ ” Gill v. Whitford,
unlawful governmental action.”). The “injury in fact” must           ––– U.S. ––––, 138 S. Ct. 1916, 1929, 201 L.Ed.2d 313
have been “concrete and particularized” and also “actual or          (2018) (citing Reynolds v. Sims, 377 U.S. 533, 84 S.Ct.
imminent, not conjectural or hypothetical.” Liberian Cmty.           1362, 12 L.Ed.2d 506 (1964)). But as the Gill decision
Ass'n of Conn., 970 F.3d at 184 (quoting Lujan, 504 U.S. at          illustrates, the Supreme Court continues to decline to extend
560, 112 S.Ct. 2130).                                                standing to plaintiffs asserting generalized objections to state
                                                                     election laws. In this case, the alleged injury is similar to the
 *4 Standing doctrine has an extensive history in the context        impact alleged by the majority voters who lacked standing
of challenges to election practices. In United States v. Classic,    in the reapportionment cases. The gerrymandered districts
313 U.S. 299, 61 S.Ct. 1031, 85 L.Ed. 1368 (1941), the               altered the proportional impact of every vote, but only those
Supreme Court recognized the constitutional right to vote and        specifically disadvantaged by the unconstitutional scheme
have one's vote counted. “Obviously included within the right        have standing. A vote cast by fraud or mailed in by the wrong
to choose [representatives], secured by the Constitution, is         person through mistake has a mathematical impact on the
the right of qualified voters within a state to cast their ballots   final tally and thus on the proportional effect of every vote,
and have them counted at Congressional elections.” Id. at            but no single voter is specifically disadvantaged.
315, 61 S.Ct. 1031. See The Ku Klux Cases, 110 U.S. 651, 4
S.Ct. 152, 28 L.Ed. 274 (1884). In reapportionment cases, the        These cases lead the court to be cautious in this case about
Court has long recognized the standing of the disadvantaged          extending standing to any registered voter – such as the five
voter. See Baker v. Carr, 369 U.S. 186, 208, 82 S.Ct. 691,           who have sued here – who alleges an injury common to
7 L.Ed.2d 663 (1962) (“[Plaintiffs] are asserting a plain,           all other registered voters. If every voter suffers the same
direct and adequate interest in maintaining the effectiveness        incremental dilution of the franchise caused by some third-
of their votes, not merely a claim of the right possessed by         party's fraudulent vote, then these voters have experienced a
every citizen to require that the government be administered         generalized injury. As the affidavit submitted by plaintiffs’
according to law.”) (citations and internal quotations omitted).     expert makes clear, plaintiffs believe that the new processes



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                                                                    Apr. 30, 2020) (Nevada voters lacked standing to challenge
in place for the 2020 general election in Vermont have
                                                                    all-mail election plan based on concerns of an increase in
an excessive error rate. They propose a different system
                                                                    illegal votes; their “purported injury of having their votes
with heightened security, principally through a system to
                                                                    diluted due to ostensible election fraud may be conceivable
compare the signature accompanying the mail-in ballot with
                                                                    raised by any Nevada voter. Such claimed injury therefore
the signature on file. It is unnecessary to decide whether their
                                                                    does not satisfy the requirement that Plaintiffs must state a
proposed change is a good idea or not since the standing
                                                                    concrete and particularized injury”).
doctrine does not permit everyone and anyone to bring a
lawsuit to challenge the merits of legislation.
                                                                    At oral argument, counsel for the plaintiff drew attention
                                                                    to a problem different from dilution by fraudulent votes
The Vermont Superior Court in Paige v. State of Vermont
                                                                    which formed the focus of the complaint. Instead, plaintiffs
recently rejected a similar challenge to the Directive on
                                                                    seek to argue that the universal mail-in system may deprive
standing grounds. In that case, a Vermont voter and candidate
                                                                    them of an individualized right to vote if they (1) do not
for elected office in the upcoming election, H. Brooke Paige,
                                                                    receive their ballot in the mail and (2) fail to take other
challenged the Directive's statewide mail-in ballot procedure
                                                                    measures to obtain a ballot such as contacting the town clerk
in the context of what he described as an interlocutory appeal
                                                                    directly or appearing at the polling place on election day in
of an administrative election complaint that he had filed. The
                                                                    person. As this is not a class action, the court considers the
Superior Court declined to hear the case because Mr. Paige
                                                                    experience of the individual plaintiffs themselves. These are
had not exhausted his administrative remedies. Paige v. State
                                                                    sophisticated voters who have gone to considerable lengths to
of Vermont, No. 20-CV-00307 (Vt. Super. Ct. Sept. 8, 2020)
                                                                    obtain counsel skilled in election law and to file a lawsuit in
(Zonay, J.). But the court also held that Mr. Paige lacked
                                                                    federal court. Of all people likely to be confused about how to
standing to challenge the statewide mail-in ballot procedure
                                                                    vote, these five plaintiffs must be last on the list. The court will
based on concerns of fraud because his claim consisted of
                                                                    not enjoin a state-wide mailing because one or more of these
“theoretical harms to the election process rather than threats
                                                                    plaintiffs may be confused by the non-receipt of a separate
of actual injury being caused to a protected legal interest.” Id.
                                                                    mailing last month in connection with the primary election.
 *5 Plaintiffs seek to distinguish Paige. They note that
Mr. Paige filed his suit prematurely. That is one of the
bases for the Superior Court's decision, but the court also         Conclusion
separately found that Mr. Paige lacked standing. On the issue
of standing, Plaintiffs argue that Mr. Paige had standing           Plaintiffs’ Motion for Preliminary Inunction (Doc. 2) is
because a Vermont statute allowed him to file an election           DENIED.
complaint with the Secretary of State. Plaintiffs here do not
rely on that Vermont statute, but instead assert that they          Defendant's Motion to Dismiss (Doc. 10) is GRANTED.
have alleged an individualized and particular harm flowing
from the Directive. For the reasons stated above, the court         This case is DISMISSED WITHOUT PREJUDICE.
disagrees; Plaintiffs have failed to show the “injury in fact”
necessary to have standing. The Paige court's conclusion
                                                                    All Citations
on the standing issue applies with equal force in this case.
Accord, Paher v. Cegavske, No. 3:20-cv-00243-MMD-WGC,               --- F.Supp.3d ----, 2020 WL 5755289
––– F.Supp.3d ––––, ––––, 2020 WL 2089813, at *5 (D. Nev.

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                                                                  plaintiffs lacked Article III standing to bring vote-dilution
                                                                  claim;
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Editor's Note: Additions are indicated by Text and deletions      individual plaintiffs who had already cast their absentee
by Text .                                                         ballots by mail had standing to raise equal protection claims;
    Only the Westlaw citation is currently available.
  United States District Court, M.D. North Carolina.              plaintiffs demonstrated a likelihood of success on the merits
                                                                  of their equal protection claims against the mail-in ballot
      Timothy K. MOORE, et al., Plaintiffs,                       witness-requirement cure procedure and extension of mail-in
                                                                  ballot receipt deadline;
                        v.
    Damon CIRCOSTA, et al., Defendants,                           plaintiffs demonstrated a likelihood of irreparable injury on
                       and                                        their equal protection claims against witness-requirement
                                                                  cure procedure and extension of mail-in ballot receipt
     North Carolina Alliance for Retired
                                                                  deadline;
   Americans, et al., Defendant-Intervenors.
       Patsy J. Wise, et al., Plaintiffs,                         balance of equities weighed heavily against preliminary
                        v.                                        injunction, and thus district court would deny injunctive
                                                                  relief; and
      The North Carolina State Board
       of Elections, et al., Defendants,                          SBE exceeded its statutory authority and emergency powers
                       and                                        when it entered into consent agreement and eliminated
                                                                  witness requirements for mail-in ballots.
     North Carolina Alliance for Retired
   Americans, et al., Defendant-Intervenors.
                                                                  Motion denied.
                         1:20CV911
                              |
                                                                  Attorneys and Law Firms
                         1:20CV912
                              |                                   David H. Thompson, Peter A. Patterson, Nicole Jo Moss,
                     Signed 10/14/2020                            Cooper & Kirk, PLLC, Washington, DC, Nathan Andrew
                                                                  Huff, Phelps Dunbar LLP, Raleigh, NC, for Plaintiffs.
Synopsis
Background: State legislative leaders and individual              Alexander McClure Peters, Sarah G. Boyce, Terence Steed,
registered voters sued the executive director and members         North Carolina Department of Justice, Raleigh, NC, for
of the North Carolina State Board of Elections (SBE),             Defendants.
seeking an injunction against enforcement and distribution
of memoranda issued by SBE pertaining to absentee voting.         Burton Craige, Patterson Harkavy LLP, Raleigh, NC, Marc
In a second case, individual voters, a campaign committee,        E. Elias, Lalitha D. Madduri, Perkins Coie, LLP, Uzoma N.
national political parties, and two Members of the U.S. House     Nkwonta, Kirkland & Ellis, LLP, Washington, DC, Narendra
of Representatives also sought an injunction against the          K. Ghosh, Patterson Harkavy, LLP, Chapel Hill, NC, for
same memoranda. Advocacy group for retirees and individual        Defendant-Intervenors.
registered voters who were plaintiffs in a related state court
action that resulted in a consent judgment intervened in both
cases. Plaintiffs moved for preliminary injunction.               MEMORANDUM OPINION AND ORDER

                                                                  OSTEEN, JR., District Judge

Holdings: The District Court, William L. Osteen, J., held that:    *1 Presently before this court are two motions for a
                                                                  preliminary injunction in two related cases.



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                                                                    of Representatives and the President Pro Tempore of the
In the first case, Moore v. Circosta, No. 1:20CV911                 North Carolina Senate, respectively. (Moore v. Circosta, No.
(“Moore”), Plaintiffs Timothy K. Moore and Philip E.                1:20CV911, Compl. for Declaratory and Injunctive Relief
Berger (together, “State Legislative Plaintiffs”), Bobby            (“Moore Compl.”) (Doc. 1) ¶¶ 7-8.) Individual Plaintiffs
Heath, Maxine Whitley, and Alan Swain (together,                    Bobby Heath and Maxine Whitley are registered North
“Moore Individual Plaintiffs”) seek an injunction against           Carolina voters who voted absentee by mail and whose
the enforcement and distribution of several Numbered                ballots have been accepted by the State Board of Elections on
Memoranda issued by the North Carolina State Board of               September 21, 2020, and September 17, 2020, respectively.
Elections pertaining to absentee voting. (Moore v. Circosta,        (Id. ¶¶ 9-10.) Plaintiff Alan Swain is a resident of Wake
No. 1:20CV911, Mot. for Prelim. Inj. and Mem. in Supp.              County, North Carolina, who is running as a Republican
(“Moore Pls.’ Mot.”) (Doc. 60).)                                    candidate to represent the State's Second Congressional
                                                                    District. (Id. ¶ 11.)
In the second case, Wise v. North Carolina State Board
of Elections, No. 1:20CV912 (“Wise”), Plaintiffs Patsy              Executive Defendants include Damon Circosta, Stella
J. Wise, Regis Clifford, Samuel Grayson Baum, and                   Anderson, Jeff Carmon, III, and Karen Brinson Bell are
Camille Annette Bambini (together, “Wise Individual                 members of the State Board of Elections (“SBE”). (Id.
Plaintiffs”), Donald J. Trump for President, Inc. (“Trump           ¶¶ 12-15.) Executive Defendant Karen Brinson Bell is the
Campaign”), U.S. Congressman Gregory F. Murphy and                  Executive Director of SBE. (Id. ¶ 15.)
U.S. Congressman Daniel Bishop (together, “Candidate
Plaintiffs”), Republican National Committee (“RNC”),                 *2 Intervenor-Defendants North Carolina Alliance for
National Republican Senatorial Committee (“NRSC”),                  Retired Americans, Barker Fowler, Becky Johnson, Jade
National Republican Congressional Committee (“NRCC”),               Jurek, Rosalyn Kociemba, Tom Kociemba, Sandra Malone,
and North Carolina Republican Party (“NCRP”) seek an                and Caren Rabinowitz (“Alliance Intervenors”) are plaintiffs
injunction against the enforcement and distribution of the          in the related state court action in Wake County Superior
same Numbered Memoranda issued by the North Carolina                Court. (Moore v. Circosta, No. 1:20CV911 (Doc. 28) at
State Board of Elections at issue in Moore. (Wise Pls.’ Mem.        15.)1 Barker Fowler, Becky Johnson, Jade Jurek, Rosalyn
in Supp. of Mot. to Convert the Temp. Restraining Order into        Kociemba, Tom Kociemba, Sandra Malone, and Caren
a Prelim. Inj. (“Wise Pls.’ Mot.”) (Doc. 43).)                      Rabinowitz are individual voters who are concerned they will
                                                                    be disenfranchised by Defendant SBE's election rules, (id.),
By this order, this court finds Plaintiffs have established a       and North Carolina Alliance for Retired Americans (“NC
likelihood of success on their Equal Protection challenges          Alliance”) is an organization “dedicated to promoting the
with respect to the State Board of Elections’ procedures for        franchise and ensuring the full constitutional rights of its
curing ballots without a witness signature and for the deadline     members ....” (Id.)
extension for receipt of ballots. This court believes the
unequal treatment of voters and the resulting Equal Protection      1      All citations in this Memorandum Opinion and Order to
violations as found herein should be enjoined. Nevertheless,
                                                                           documents filed with the court refer to the page numbers
under Purcell and recent Supreme Court orders relating to
                                                                           located at the bottom right-hand corner of the documents
Purcell, this court is of the opinion that it is required to find          as they appear on CM/ECF.
that injunctive relief should be denied at this late date, even
in the face of what appear to be clear violations.
                                                                    2. Wise v. N.C. State Bd. of Elections (1:20CV912)

I. BACKGROUND                                                       Individual Plaintiffs Patsy J. Wise, Regis Clifford, Camille
                                                                    Annette Bambini, and Samuel Grayson Baum are registered
  A. Parties                                                        voters in North Carolina. (Wise v. N.C. State Bd. of Elections,
                                                                    No. 1:20CV912, Compl. for Declaratory and Injunctive
1. Moore v. Circosta (1:20CV911)                                    Relief (“Wise Compl.”) (Doc. 1) ¶¶ 25-28.) Wise has already
                                                                    cast her absentee ballot for the November 3, 2020 election
State Legislative Plaintiffs Timothy K. Moore and Philip            by mail, “in accordance with statutes, including the Witness
E. Berger are the Speaker of the North Carolina House


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Requirement, enacted by the General Assembly.” (Id. ¶ 25.)         2020 WL 4484063 (M.D.N.C. Aug. 4, 2020) (“the August
Plaintiffs Clifford, Bambini, and Baum intend to vote in the       Democracy Order”), that “left the One-Witness Requirement
November 3, 2020 election and are “concern[ed] that [their]        in place, enjoined several rules related to nursing homes that
vote[s] will be negated by improperly cast or fraudulent           would disenfranchise Plaintiff Hutchins, and enjoined the
ballots.” (Id. ¶¶ 26-28.)                                          rejection of absentee ballots unless the voter is provided due
                                                                   process.” (Id. at ––––, 2020 WL 4484063, at *1.) As none of
Plaintiff Trump Campaign represents the interests of               the parties appealed that order, the injunctive relief is still in
President Donald J. Trump, who is running for re-                  effect.
election. (Id. ¶¶ 29-30.) Together, Candidate Plaintiffs Trump
Campaign, U.S. Congressman Daniel Bishop, and U.S.
Congressman Gregory F. Murphy are candidates who will
                                                                   2. Release of the Original Memo 2020-19
appear on the ballot for re-election in the November 3, 2020
general election. (Id. ¶¶ 29-32.)                                   *3 In response to the August Democracy Order, on August
                                                                   21, 2020, SBE officials released guidance for “the procedure
Plaintiff RNC is a national political party, (id. ¶¶ 33-36),       county boards must use to address deficiencies in absentee
that seeks to protect “the ability of Republican voters to         ballots.” (Numbered Memo 2020-19 (“Memo 2020-19” or
cast, and Republican candidates to receive, effective votes        “the original Memo”) (Moore v. Circosta, No. 1:20CV911,
in North Carolina elections and elsewhere,” (id. ¶ 37), and        Moore Compl. (Doc. 1) Ex. 3 – NC State Bd. of Elections
avoid diverting resources and spending significant amounts         Mem. (“Original Memo 2020-19”) (Doc. 1-4) at 2.) This
of resources educating voters regarding confusing changes in       guidance instructed county boards regarding multiple topics.
election rules, (id. ¶ 38).                                        First, it instructed county election boards to “accept [a] voter's
                                                                   signature on the container-return envelope if it appears to be
Plaintiff NRSC is a national political party committee that        made by the voter ... [a]bsent clear evidence to the contrary,”
is exclusively devoted to electing Republican candidates to        even if the signature is illegible. (Id.) The guidance clarified
the U.S. Senate. (Id. ¶ 40.) Plaintiff NRCC is the national        that “[t]he law does not require that the voter's signature on
organization of the Republican Party dedicated to electing         the envelope be compared with the voter's signature in their
Republicans to the U.S. House of Representatives. (Id. ¶           registration record,” as “[v]erification of the voter's identity
41.) Plaintiff NRCP is a North Carolina state political party      is completed through the witness requirement.” (Id.)
organization that supports Republican candidates running in
North Carolina elections. (Id. ¶¶ 44-45.)                          Second, the guidance sorted ballot deficiencies into two
                                                                   categories: curable and uncurable deficiencies. (Id. at 3.)
Executive Defendant North Carolina SBE is the agency               Under this version of Memo 2020-19, a ballot could be
responsible for the administration of the elections laws of the    cured via voter affidavit alone if the voter failed to sign
State of North Carolina. (Id. ¶ 46.) As in Moore, included as      the certification or signed in the wrong place. (Id.) A ballot
Executive Defendants are Damon Circosta, Stella Anderson,          error could not be cured, and instead, was required to be
Jeff Carmon, III, and Karen Brinson Bell of the North              spoiled, in the case of all other listed deficiencies, including
Carolina SBE. (Id. ¶¶ 47-50.)                                      a missing signature, printed name, or address of the witness;
                                                                   an incorrectly placed witness or assistant signature; or an
Alliance Intervenors from Moore are also Intervenor-               unsealed or re-sealed envelope. (Id.) Counties were required
Defendants in Wise. (1:20CV912 (Doc. 22).)                         to notify voters in writing regarding any ballot deficiency –
                                                                   curable or incurable - within one day of the county identifying
                                                                   the defect and to enclose either a cure affidavit or a new ballot,
  B. Factual Background
                                                                   based on the type of deficiency at issue. (Id. at 4.)

1. This Court's Decision in Democracy                              In the case of an incurable deficiency, a new ballot could
                                                                   be issued only “if there [was] time to mail the voter a new
On August 4, 2020, this court issued an order in a third related   ballot ... [to be] receive[d] by Election Day.” (Id. at. 3) If a
case, Democracy North Carolina v. North Carolina State             voter who submitted an uncurable ballot was unable to receive
Board of Elections, No. 1:20CV457, ––– F.Supp.3d ––––,



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a new absentee ballot in time, he or she would have the option     this court in the Democracy action. (Democracy N.C. v. N.C.
to vote in person on Election Day. (Id. at 4.)                     State Bd. of Elections, No. 1:20CV457 (Doc. 143-1).)

If the deficiency was curable by a cure affidavit, the guidance     *4 The revised guidance modified which ballot deficiencies
stated that the voter must return the cure affidavit by no later   fell into the curable and uncurable categories. Unlike the
than 5 p.m. on Thursday, November 12, 2020. (Id.)                  original Memo 2020-19, the Revised Memo advised that
                                                                   ballots missing a witness or assistant name or address, as well
                                                                   as ballots with a missing or misplaced witness or assistant
                                                                   signature, could be cured via voter certification. (Moore v.
3. Rescission of Numbered Memo 2020-19
                                                                   Circosta, No. 1:20CV911, Revised Memo 2020-19 (Doc.
The State began issuing ballots on September 4, 2020,              36-3) at 3.) According to the revised guidance, the only
marking the beginning of the election process. (Wise, No.          deficiencies that could not be cured by certification, and thus
1:20CV912, Wise Pls.’ Mot. (Doc. 43).) On September                required spoliation, were where the envelope was unsealed
11, 2020, SBE directed counties to stop notifying voters           or where the envelope indicated the voter was requesting a
of deficiencies in their ballot, as advised in Memo                replacement ballot. (Id. at 4.)
2020-19, pending further guidance from SBE. (Moore, No.
1:20CV911, Moore Pls.’ Mot. (Doc. 60) Ex. 3, Democracy             The cure certification in Revised 2020-19 required voters to
Email Chain (Doc. 60-4) at 6.)                                     sign and affirm the following:

                                                                     I am submitting this affidavit to correct a problem with
                                                                     missing information on the ballot envelope. I am an eligible
4. Revision of Numbered Memo 2020-19                                 voter in this election and registered to vote in [name]
                                                                     County, North Carolina. I solemnly swear or affirm that I
On September 22, over two weeks after the State began                voted and returned my absentee ballot for the November 3,
issuing ballots, SBE issued a revised Numbered Memo                  2020 general election and that I have not voted and will not
2020-19, which set forth a variety of new policies not               vote more than one ballot in this election. I understand that
implemented in the original Memo 2020-19. (Numbered                  fraudulently or falsely completing this affidavit is a Class
Memo 2020-19 (“the Revised Memo” or “Revised Memo                    I felony under Chapter 163 of the North Carolina General
2020-19”) (Moore v. Circosta, No. 1:20CV911 (Doc. 36)                Statutes.
Ex. 3, Revised Numbered Memo 2020-19 (“Revised Memo                (Moore v. Circosta, No. 1:20CV911 (Doc. 45-1) at 34.)
2020-19”) (Doc. 36-3).) In subsequent litigation in Wake
County Superior Court, SBE advised the court that both             The revised guidance also extended the deadline for civilian
the original Memo 2020-19 and the Revised Memo were                absentee ballots to be received to align with that for military
issued “to ensure full compliance with the injunction entered
                                                                   and overseas voters. (Moore v. Circosta, No. 1:20CV911,
by Judge Osteen.” (Moore v. Circosta, No. 1:20CV911,               Revised Memo 2020-19 (Doc. 36-3) at 5.) Under the original
Exec. Defs.’ Br. in Supp. of Joint Mot. for Entry of               Memo 2020-19, in order to be counted, civilian absentee
Consent Judgment (“SBE State Court Br.”) (Doc. 68-1)               ballots must have been received by the county board office by
at 15.) Moreover, on September 28, 2020, during a status           5 p.m. on Election Day, November 3, 2020, or if postmarked,
conference with a district court in the Eastern District of        by Election Day, by 5:00 p.m. on November 6, 2020. (Moore
North Carolina prior to transfer to this court, counsel for        v. Circosta, No. 1:20CV911, Original Memo 2020-19 (Doc.
Defendant SBE stated that Defendant SBE issued the revised         1-4) at 5 (citing N.C. Gen. Stat. § 163-231(b)).) Under the
Memo 2020-19 “in order to comply with Judge Osteen's               Revised Memo 2020-19, however, a late civilian ballot would
preliminary injunction in the Democracy N.C. action in the         be counted if postmarked on or before Election Day and
Middle District.” (Moore v. Circosta, No. 1:20CV911, Order         received by 5:00 p.m. on November 12, 2020. (Moore v.
Granting Mot. for Temp. Restraining Order (“TRO”) (Doc.            Circosta, No. 1:20CV911, Revised Memo 2020-19 (Doc.
47) at 9.) At that time, counsel for SBE indicated that they       36-3) at 5.) This is the same as the deadline for military and
had not yet submitted the Revised Memo 2020-19 to this             overseas voters, as indicated in the Original Memo 2020-19.
court, “but that it was on counsel's list to get [it] done
                                                                   (Id.)2
today.” (Id.) (internal quotations omitted.) On September 28,
2020, Defendant SBE filed the Revised Memo 2020-19 with



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2      In Democracy N. Carolina v. N.C. State Board                returning the ballot, their relationship to the voter, the ballot
       of Elections, No. 1:20CV457, an order is entered            number, and the date it was received. (Id. at 3.) If the
       contemporaneously with this Memorandum Opinion and          individual who drops off the ballot is not the voter, their
       Order enjoining certain aspects of the Revised Memo         near relative, or legal guardian, the log must also record their
       2020-19.                                                    address and phone number. (Id.)

                                                                   3       The Memoranda incorrectly cites this statute as N.C.
5. Numbered Memoranda 2020-22 and 2020-23
                                                                           Gen. Stat. § 163-223.6(a)(5).
SBE issued two other Numbered Memoranda on September               At the same time, the guidance advises county boards that
22, 2020, in addition to Revised Numbered Memo 2020-19.            “[f]ailure to comply with the logging requirement, or delivery
                                                                   or an absentee ballot by a person other than the voter, the
First, SBE issued Numbered Memo 2020-22, the purpose               voter's near relative, or the voter's legal guardian, is not
of which was to further define the term postmark used in           sufficient evidence in and of itself to establish that the voter
Numbered Memo 2020-19. (Wise, No. 1:20CV912, Wise                  did not lawfully vote their ballot.” (Id. at 3.) Instead, the
Compl. (Doc. 1), Ex. 3, N.C. State Bd. of Elections Mem.           guidance advises the county board that they “may ... consider
(“Memo 2020-22”) (Doc. 1-3) at 2.) Numbered Memo                   the delivery of a ballot ... in conjunction with other evidence
2020-22 advised that although “[t]he postmark requirement          in determining whether the ballot is valid and should be
for ballots received after Election Day is in place to prohibit    counted.” (Id. at 4.)
a voter from learning the outcome of an election and then
casting their ballot.... [T]he USPS does not always affix a
postmark to a ballot return envelope.” (Id.) Recognizing that
                                                                   6. Consent Judgment in North Carolina Alliance for
SBE now offers “BallotTrax,” a system in which voters and
                                                                   Retired Americans v. North Carolina State Bd. of
county boards can track the status of a voter's absentee ballot,
                                                                   Elections
SBE said “it is possible for county boards to determine when
a ballot was mailed even if does not have a postmark.” (Id.)       On August 10, 2020, NC Alliance, the Defendant-Intervenors
Moreover, SBE recognized that commercial carriers offer            in the two cases presently before this court, filed an action
tracking services that document when a ballot was deposited        against SBE in North Carolina's Wake County Superior
with the commercial carrier. (Id.) For these reasons, the new      Court challenging, among other voting rules, the witness
guidance stated that a ballot would be considered postmarked       requirement for mail-in absentee ballots and rejection of mail-
by Election Day if it had a postmark, there is information in      in absentee ballots that are postmarked by Election Day but
BallotTrax, or “another tracking service offered by the USPS       delivered to county boards more than three days after the
or a commercial carrier, indicat[es] that the ballot was in        election. (Moore v Circosta, No. 1:20CV911, SBE State Court
the custody of USPS or the commercial carrier on or before         Br. (Doc. 68-1) at 15.)
Election Day.” (Id. at 3.)
                                                                   On August 12, 2020, Philip Berger and Timothy Moore,
 *5 Second, SBE issued Numbered Memo 2020-23, which                Plaintiffs in Moore, filed a notice of intervention as of right
provides “guidance and recommendations for the safe, secure,       in the state court action and became parties to that action
and controlled in-person return of absentee ballots.” (Wise,       as intervenor-defendants on behalf of the North Carolina
No. 1:20CV912, Wise Compl. (Doc. 1), Ex. 4, N.C. State             General Assembly. (Id. at 16.)
Bd. of Elections Mem. (“Memo 2020-23”) (Doc. 1-4) at
2.) Referring to N.C. Gen. Stat. § 163-226.3(a)(5),3 which         On September 22, 2020, SBE and NC Alliance filed a Joint
prohibits any person other than the voter's near relative or       Motion for Entry of a Consent Judgment with the superior
legal guardian to take possession of an absentee ballot of         court. (Id.) Philip Berger and Timothy Moore were not aware
another voter for delivery or for return to a county board         of this “secretly-negotiated” Consent Judgment, (Wise Pls.’
of elections, (id.), Numbered Memo 2020-23 confirms that           Mot. (Doc. 43) at 6), until the parties did not attend a
“an absentee ballot may not be left in an unmanned drop            previously scheduled deposition, (Democracy v. N.C. Bd. of
box.” (Id.) The guidance reminds county boards that they           Elections, No. 1:20CV457 (Doc. 168) at 73.)
must keep a written log when any person returns an absentee
ballot in person, which includes the name of the individual


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Among the terms of the Consent Judgment, SBE agreed to                 the State Board from “the “disallowance or rejection ...
extend the deadline for receipt of mail-in absentee ballots            of absentee ballots without due process as to those ballots
mailed on or before Election Day to nine days after Election           with a material error that is subject to remediation.”
Day, to implement the cure process established in Revised              Democracy N.C. v. N.C. State Bd. of Elections, No.
Memo 2020-19, and to establish separate mail in absentee               1:20-cv-00457-WO-JLW [––– F.Supp.3d ––––, 2020 WL
ballot “drop off stations” at each early voting site and county        4484063] (M.D.N.C. Aug. 4, 2020) (Osteen, J.). ECF 124
board of elections office which were to be staffed by county           at 187. The injunction is to remain in force until the State
board officials. (Moore v. Circosta, No. 1:20CV911, SBE                Board implements a cure process that provides a voter
State Court Br. (Doc. 68-1) at 16.)                                    with “notice and an opportunity to be heard before an
                                                                       absentee ballot with a material error subject to remediation
In its filings with the state court, SBE frequently cited this         is disallowed or rejected.” Id.
court's decision in Democracy as a reason for why the Wake         (State Court Consent Judgment (Doc. 45-1) at 6.)4
County Superior Court Judge should accept the Consent
Judgment. SBE argued that a cure procedure for deficiencies        4        An additional discussion of the facts related to SBE's
related to the witness requirement were necessary because
                                                                            use of this court's order in obtaining a Consent Judgment
“[w]itness requirements for absentee ballots have been shown
                                                                            is set out in this court's order in Democracy v. North
to be, broadly speaking, disfavored by the courts,” (id. at                 Carolina State Board of Elections, No. 1:20CV457,
26), and that “[e]ven in North Carolina, a federal court held               2020 WL 6058048 (M.D.N.C. Oct. 14, 2020) (enjoining
that the witness requirement could not be implemented as                    witness cure procedure).
statutorily authorized without a mechanism for voters to have
adequate notice of and [an opportunity to] cure materials [sic]
defects that might keep their votes from being counted,” (id. at   7. Numbered Memoranda 2020-27, 2020-28, and 2020-29
27). SBE argued that, “to comply with the State Defendants’
understanding of the injunction entered by Judge Osteen,           In addition to the Numbered Memoranda issued on September
the State Board directed county boards of elections not to         22, 2020, as part of the consent judgment in the state court
disapprove any ballots until a new cure procedure that would       case, SBE has issued three additional numbered memoranda.
comply with the injunction could be implemented,” (id. at 30),
and that ultimately, the cure procedure introduced in Revised      First, on October 1, 2020, SBE issued Numbered Memo
Memo 2020-19 as part of the consent judgment would comply          2020-27, which was issued in response to this court's order
with this injunction. (Id.) SBE indicated that it had notified     in Democracy regarding the need for parties to attend a status
the federal court of the cure mechanism process on September       conference to discuss Numbered Memo 2020-19. (Moore v.
22, 2020, (id.), although this court was not made aware of         Circosta, No. 1:20CV911 (Doc. 40-2) at 2.) The guidance
the cure procedure until September 28, 2020, (Democracy            advises county boards that this court did not find Numbered
N.C. v. N.C. State Bd. of Elections, No. 1:20CV457 (Doc.           Memo 2020-19:
143-1)), the day before the processing of absentee ballots
                                                                      “consistent with the Order entered by this Court on August
was scheduled to begin on September 29, 2020, (Moore v.
                                                                      4, 2020,” and indicates that its preliminary injunction order
Circosta, No. 20CV911 Transcript of Oral Argument (“Oral
                                                                      should “not be construed as finding that the failure of a
Argument Tr.”)(Doc. 70) at 109.)
                                                                      witness to sign the application and certificate as a witness
                                                                      is a deficiency which may be cured with a certification after
 *6 On October 2, 2020, the Wake County Superior Court
                                                                      the ballot has been returned.”
entered the Stipulation and Consent Judgment. (Moore v.
                                                                   (Id.) “In order to avoid confusion while related matters are
Circosta, No. 1:20CV911, State Court Consent Judgment
                                                                   pending in a number of courts,” the guidance advises that
(Doc. 45-1).) Among its recitals, which Defendant SBE
                                                                   “[c]ounty boards that receive an executed absentee container-
drafted and submitted to the judge as is customary in state
                                                                   return envelope with a missing witness signature shall take
court, (Oral Argument Tr. (Doc. 70) at 91), the Wake County
                                                                   no action as to that envelope.” (Id.) In all other respects,
Superior Court noted this court's preliminary injunction in
                                                                   SBE stated that Revised Numbered Memo 2020-19 remains
Democracy, finding,
                                                                   in effect. (Id.)
  WHEREAS, on August 4, 2020, the United States District
  Court for the Middle District of North Carolina enjoined


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Second, on October 4, 2020, SBE issued Numbered Memo                Alliance Intervenors’ Motion to Intervene on October 8,
2020-28, which states that both versions of Numbered                2020. (Moore v. Circosta, No. 1:20CV911 (Doc. 67); Wise,
Memo 2020-19, as well as Numbered Memoranda 2020-22,                No. 1:20CV912 (Doc. 49).)
2020-23, and 2020-27 “are on hold until further notice”
following the temporary restraining order entered in the            The district court in the Eastern District of North Carolina
instant cases on October 3, 2020. (Moore v. Circosta,               issued a temporary restraining order in both cases on October
No. 1:20CV911 (Doc. 60-5) at 2.) Moreover, the guidance             3, 2020, and transferred the actions to this court for this
reiterated that “[c]ounty boards that receive an executed           court's “consideration of additional or alternative injunctive
absentee container-return envelope with a deficiency shall          relief along with any such relief in Democracy North Carolina
take no action as to that envelope,” including sending a            v. North Carolina State Board of Elections ....” (Moore
cure notification or reissuing the ballot. (Id. at 2-3.) Instead,   v. Circosta, 1:20CV911, TRO (Doc. 47) at 2; Wise, No.
the guidance directs county boards to store envelopes with          1:20CV912 (Doc. 25) at 2.)
deficiencies in a secure location until further notice. (Id. at
3.) If, however, a county board had previously issued a ballot      On October 5, 2020, this court held a Telephone
and the second envelope is returned without any deficiencies,       Conference, (Moore v. Circosta, No. 1:20CV911, Minute
the guidance permits the county board to approve the second         Entry 10/05/2020; Wise, No. 1:20CV912, Minute Entry
ballot. (Id.)                                                       10/05/2020), and issued an order directing the parties to
                                                                    prepare for a hearing on the temporary restraining order and/
 *7 Finally, on October 4, 2020, SBE issued Numbered                or a preliminary injunction and to submit additional briefing,
Memo 2020-29, which states that it provides “uniform                (Moore v. Circosta, No. 1:20CV911 (Doc. 51); Wise, No.
guidance and further clarification on how to determine if           1:20CV912 (Doc. 30)). On October 6, 2020, Plaintiffs in
the correct address can be identified if the witness's or           Wise filed a Memorandum in Support of Plaintiffs’ Motion to
assistant's address on an absentee container-return envelope        Convert the Temporary Restraining Order into a Preliminary
is incomplete. (Wise, No. 1:20CV912 (Doc. 43-5).) First, the        Injunction, (Wise Pls.’ Mot. (Doc. 43)), and Plaintiffs in
guidance clarifies that if a witness or assistant does not print    Moore filed a Motion for a Preliminary Injunction and
their address, the envelope is deficient. (Id. at 2.) Second, the   Memorandum in Support of Same, (Moore Pls.’ Mot. (Doc.
guidance states that failure to list a witness's ZIP code does      60)). Defendant SBE filed a response to Plaintiffs’ motions
not require a cure; a witness or assistant's address may be a       in both cases on October 7, 2020. (Moore v. Circosta, No.
post office box or other mailing address; and if the address        1:20CV911, State Defs.’ Resp. to Pls.’ Mot. for Prelim.
is missing a city or state, but the county board can determine      Inj. (“SBE Resp.”) (Doc. 65); Wise, No. 1:20CV912 (Doc.
the correct address, the failure to include this information        45).) Alliance Intervenors also filed a response to Plaintiffs’
does not invalidate the container-return envelope. (Id.) Third,     motions in both cases on October 7, 2020. (Moore v. Circosta,
if both the city and ZIP code are missing, the guidance             No. 1:20CV911, Proposed Intervenors’ Mem. in Opp'n to
directs staff to determine whether the correct address can be       Pls.’ Mot. for a Prelim. Inj. (“Alliance Resp.”) (Doc. 64);
identified. (Id.) If they cannot be identified, then the envelope   Wise, No. 1:20CV912 (Doc. 47).)5
is deficient. (Id.)
                                                                    5      Defendant SBE and Alliance Intervenors’ memoranda
   C. Procedural History                                                   filed in opposition to Plaintiffs’ motions for a preliminary
                                                                           injunction in Moore are identical to those that each
On September 26, 2020, Plaintiffs in Moore filed their action
                                                                           party filed in Wise. (Compare SBE Resp. (Doc. 65) and
in the United States District Court for the Eastern District of
                                                                           Alliance Resp. (Doc. 64) with Wise, No. 1:20CV912
North Carolina. (Moore Compl. (Doc. 1).) Plaintiffs in Wise
                                                                           (Doc. 45) and Wise, No. 1:20CV912 (Doc. 47).) For
also filed their action in the United States District Court for            clarity and ease, this court will cite only to the briefs
the Eastern District of North Carolina on September 26, 2020.              Defendant SBE and Alliance Intervenors filed in Moore
(Wise Compl. (Doc. 1).)                                                    in subsequent citations.
                                                                    This court held oral arguments on October 8, 2020, in which
Alliance Intervenors filed a Motion to Intervene as
                                                                    all of the parties in these two cases presented arguments
Defendants in Moore on September 30, 2020, (Moore v.
                                                                    with respect to Plaintiffs’ motions for a preliminary
Circosta, No. 1:20CV911 (Doc. 27)), and in Wise on October
                                                                    injunction. (Moore v. Circosta, No. 1:20CV911, Minute
2, 2020, (Wise, No. 1:20CV912 (Doc. 21)). This court granted


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Entry 10/08/2020; Wise, No. 1:20CV912, Minute Entry                do not preclude this court's exercise of jurisdiction. This
10/08/2020.)                                                       court's August Democracy Order was issued prior to the filing
                                                                   of these state court actions, and that Order was the basis of
 *8 This court has federal question jurisdiction over these        the subsequent grant of affirmative relief by the state court.
cases under 28 U.S.C. § 1331. This matter is ripe for              This court declines to find that any abstention doctrine would
adjudication.                                                      preclude it from issuing orders in aid of its jurisdiction, or as
                                                                   to parties appearing in a pending case in this court.

   D. Preliminary Injunction Standard of Review
“A plaintiff seeking a preliminary injunction must establish          A. Rooker-Feldman Doctrine
that he is likely to succeed on the merits, that he is likely to   Rooker-Feldman doctrine is a jurisdictional doctrine that
suffer irreparable harm in the absence of preliminary relief,      prohibits federal district courts from “ ‘exercising appellate
that the balance of equities tips in his favor, and that an        jurisdiction over final state-court judgments.’ ” See Thana
injunction is in the public interest.” Winter v. Nat. Res. Def.    v. Bd. of License Comm'rs for Charles Cnty., 827 F.3d
Council, Inc., 555 U.S. 7, 20, 129 S.Ct. 365, 172 L.Ed.2d          314, 319 (4th Cir. 2016) (quoting Lance v. Dennis, 546
249 (2008). Such an injunction “is an extraordinary remedy         U.S. 459, 463, 126 S.Ct. 1198, 163 L.Ed.2d 1059 (2006)
intended to protect the status quo and prevent irreparable         (per curiam)). The presence or absence of subject matter
harm during the pendency of a lawsuit.” Di Biase v. SPX            jurisdiction under Rooker-Feldman is a threshold issue that
Corp., 872 F.3d 224, 230 (4th Cir. 2017).                          this court must determine before considering the merits of the
                                                                   case. Friedman's, Inc. v. Dunlap, 290 F.3d 191, 196 (4th Cir.
                                                                   2002).
II. ANALYSIS
Executive Defendants and Alliance Intervenors challenge             *9 Although Rooker-Feldman originally limited only
Plaintiffs’ standing to seek a preliminary injunction regarding    federal-question jurisdiction, the Supreme Court has
their Equal Protection, Elections Clause, and Electors Clause      recognized the applicability of the doctrine to cases brought
claims. (Alliance Resp. (Doc. 64) at 14-18; SBE Resp.              under diversity jurisdiction:
(Doc. 65) at 11-13.) Executive Defendants and Alliance
Intervenors also challenge this court's ability to hear this          Rooker and Feldman exhibit the limited circumstances in
action under abstention, (Alliance Resp. (Doc. 64) at 10-14;          which this Court's appellate jurisdiction over state-court
SBE Resp. (Doc. 65) at 10-11), Rooker-Feldman (Alliance               judgments, 28 U.S.C. § 1257, precludes a United States
Resp. (Doc. 64) at 13), and preclusion doctrines, (SBE                district court from exercising subject-matter jurisdiction in
Resp. (Doc. 65) at 7-10). Finally, Executive Defendants               an action it would otherwise be empowered to adjudicate
and Alliance Intervenors attack Plaintiffs’ motions for               under a congressional grant of authority, e.g., § 1330 (suits
preliminary injunction on the merits. (Alliance Resp. (Doc.           against foreign states), § 1331 (federal question), and §
64) at 19-26; SBE Resp. (Doc. 65) at 13-18.)                          1332 (diversity).
                                                                   See Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S.
Because Rooker-Feldman, abstention, and preclusion are             280, 291-92, 125 S.Ct. 1517, 161 L.Ed.2d 454 (2005). Under
dispositive issues, this court addresses them first, then          the Rooker-Feldman doctrine, courts lack subject matter
addresses Plaintiffs’ motions on standing and the likelihood       jurisdiction to hear “cases brought by [1] state-court losers
of success on the merits.                                          complaining of [2] injuries caused by state-court judgments
                                                                   [3] rendered before the district court proceedings commenced
As to each of these abstention doctrines, as will be explained     and [4] inviting district court review and rejection of those
further, this court's preliminary injunction order, (Doc. 124),    judgments.” Id. at 284, 125 S.Ct. 1517. The doctrine is
in Democracy North Carolina v. North Carolina State Board          “narrow and focused.” Thana, 827 F.3d at 319. “[I]f a plaintiff
of Elections, No. 1:20CV457, played a substantial role as          in federal court does not seek review of the state court
relevant authority supporting SBE's request for approval, in       judgment itself but instead ‘presents an independent claim, it
North Carolina state court, of Revised Memo 2020-19 and            is not an impediment to the exercise of federal jurisdiction that
the related Consent Judgment. (See discussion infra Part           the same or a related question was earlier aired between the
II.D.3.b.i.) As Berger, Moore, and SBE are all parties in          parties in state court.’ ” Id. at 320 (quoting Skinner v. Switzer,
Democracy, this court initially finds that abstention doctrines    562 U.S. 521, 532, 131 S.Ct. 1289, 179 L.Ed.2d 233 (2011)).


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Rather, “any tensions between the two proceedings should                v. Mercury Constr. Corp., 460 U.S. 1, 25-26, 103 S.Ct. 927,
be managed through the doctrines of preclusion, comity, and             74 L.Ed.2d 765 (1983).
abstention.” Id. (citing Exxon, 544 U.S. at 292–93, 125 S.Ct.
1517).                                                                  First, and crucially for this case, the court must determine
                                                                        whether there are ongoing state and federal proceedings that
Moreover, “the Rooker–Feldman doctrine applies only when                are parallel. Al-Abood ex rel. Al-Abood v. El-Shamari, 217
the loser in state court files suit in federal district court seeking   F.3d 225, 232 (4th Cir. 2000) (“The threshold question in
redress for an injury allegedly caused by the state court's             deciding whether Colorado River abstention is appropriate is
decision itself.” Davani v. Va. Dep't of Transp., 434 F.3d 712,         whether there are parallel suits.”); Ackerman v. ExxonMobil
713 (4th Cir. 2006); see also Hulsey v. Cisa, 947 F.3d 246,             Corp., 734 F.3d 237, 248 (4th Cir. 2013) (finding that
250 (4th Cir. 2020) (“A plaintiff's injury at the hands of a third      abstention is exercised only “in favor of ongoing, parallel
party may be ‘ratified, acquiesced in, or left unpunished by’           state proceedings” (emphasis added)). In this instance, the
a state-court decision without being ‘produced by’ the state-           parties have failed to allege any ongoing state proceeding that
court judgment.”) (internal citations omitted).                         this federal suit might interfere with. In fact, Plaintiffs in this
                                                                        case were excluded as parties in the Consent Judgment and
Here, Plaintiffs are challenging SBE's election procedures and          are bringing independent claims in this federal court alleging
seeking injunction of those electoral rules, not attempting to          violations, inter alia, of the Equal Protection Clause. This
directly appeal results of a state court order. More importantly,       court does not find that Colorado River abstention prevents
however, the Fourth Circuit has previously found that a party           it from adjudicating Equal Protection claims raised by parties
is not a state court loser for purposes of Rooker-Feldman               who were not parties to the Consent Judgment.
if “[t]he [state court] rulings thus were not ‘final state-court
judgments’ ” against the party bringing up the same issues
before a federal court. Hulsey, 947 F.3d at 251 (quoting
                                                                        2. Pennzoil Abstention
Lance, 546 U.S. at 463, 126 S.Ct. 1198). In the Alliance state
court case, Alliance brought suit against SBE. The Plaintiffs           As alleged by Defendants, Pennzoil does dictate that federal
from this case were intervenors. They were not parties to               courts should not “interfere with the execution of state
the Settlement Agreement and were in no way properly                    judgments.” Pennzoil Co. v. Texaco, Inc., 481 U.S. 1, 14,
adjudicated “state court losers.” Given the Supreme Court's             107 S.Ct. 1519, 95 L.Ed.2d 1 (1987). However, in the very
intended narrowness of the Rooker-Feldman doctrine, see                 next sentence, the Pennzoil court caveats that this doctrine
Lance, 546 U.S. at 464, 126 S.Ct. 1198, and Plaintiffs’ failure         applies “[s]o long as those challenges relate to pending state
to fit within the Fourth Circuit's definition of “state-court           proceedings.” Id. In fact, in Pennzoil itself, the Court clarified
losers,” this court will decline to abstain under the Rooker-           that abstention was proper because “[t]here is at least one
Feldman doctrine.                                                       pending judicial proceeding in the state courts; the lawsuit out
                                                                        of which Texaco's constitutional claims arose is now pending
                                                                        before a Texas Court of Appeals in Houston, Texas.” Id. at
  B. Abstention
                                                                        14, 107 S.Ct. 1519 n.13.

1. Colorado River Abstention                                            Abstention was also justified in Pennzoil because the Texas
                                                                        state court was not presented with the contested federal
 *10 Abstention “is the exception, not the rule.” Colo.                 constitutional questions, and thus, “when [the subsequent]
River Water Conservation Dist. v. United States, 424 U.S.               case was filed in federal court, it was entirely possible that
800, 813, 96 S.Ct. 1236, 47 L.Ed.2d 483 (1976); see also                the Texas courts would have resolved this case ... without
id. at 817, 96 S.Ct. 1236 (noting the “virtually unflagging             reaching the federal constitutional questions.” Id. at 12,
obligation of the federal courts to exercise the jurisdiction           107 S.Ct. 1519. In the present case, Plaintiffs raised their
given them”). Thus, this court's task “is not to find some              constitutional claims in the state court prior to the entry of
substantial reason for the exercise of federal jurisdiction,”           the Consent Judgment. The state court, through the Consent
but rather “to ascertain whether there exist ‘exceptional’              Judgment and without taking evidence, adjudicated those
circumstances, the ‘clearest of justifications,’ ... to justify the     claims as to the settling parties. The Consent Judgment is
surrender of that jurisdiction.” Moses H. Cone Mem'l Hosp.              effective through the 2020 Election and specifies no further



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basis upon which Plaintiffs here may seek relief. As a result,       or not the issue arises on the same or a different claim.” New
there does not appear to be any relief available to Plaintiffs       Hampshire v. Maine, 532 U.S. 742, 748-49, 121 S.Ct. 1808,
for the federal questions raised here. For these reasons, this       149 L.Ed.2d 968 (2001). The purpose of this doctrine is to
court will also decline to abstain under Pennzoil.                   “protect the integrity of the judicial process ....” Id. at 749,
                                                                     121 S.Ct. 1808 (internal quotations omitted).

                                                                     Plaintiffs argue that issue preclusion does not bar their Equal
3. Pullman Abstention
                                                                     Protection claims. Citing Arizona v. California, 530 U.S.
Pullman abstention can be exercised where: (1) there is “an          392, 120 S.Ct. 2304, 147 L.Ed.2d 374 (2000), Plaintiffs
unclear issue of state law presented for decision”; and (2)          in Wise argue that a negotiated settlement between parties,
resolution of that unclear state law issue “may moot or present      like the consent judgment between the Alliance Intervenors
in a different posture the federal constitutional issue such         and Defendant SBE in Wake County Superior Court, does
that the state law issue is potentially dispositive.” Educ.          not constitute a final judgment for issue preclusion. (Wise
Servs., Inc. v. Md. State Bd. for Higher Educ., 710 F.2d             Pls.’ Mot. (Doc. 43) at 23.) Plaintiffs in Moore, citing In re
170, 174 (4th Cir. 1983); see also N.C. State Conference of          Microsoft Corp. Antitrust Litig., 355 F.3d 322 (4th Cir. 2004),
NAACP v. Cooper, 397 F. Supp. 3d 786, 794 (M.D.N.C.                  argue that issue preclusion cannot be asserted because the
2019). Pullman does not apply here because any issues of             Individual Plaintiffs in Moore were not parties to the state
state law are not, in this court's opinion, unclear or ambiguous.    court litigation that resulted in the consent judgment. (Moore
Alliance's brief in Moore posits that “whether NCSBE has             Pls.’ Mot. (Doc. 60) at 4.)
the authority to enter the Consent Judgment and promulgate
the Numbered Memos” are at the center of this case, thereby          In response, Defendant SBE argues that, under North Carolina
urging Pullman abstention. (Alliance Resp. (Doc. 64 at 12).)         law, issue preclusion applies where (1) the issue is identical to
SBE has undisputed authority to issue guidance consistent            the issue actually litigated and necessary to a prior judgment,
with state law and may issue guidance contrary to state law          (2) the prior action resulted in a final judgment on the merits,
only in response to natural disasters – the court finds this,        and (3) the plaintiffs in the latter action are the same as, or
though ultimately unnecessary to the relief issued in this           in privity with, the parties in the earlier action, (SBE Resp.
case, fairly clear. (See discussion supra at Part II.E.2.b.ii.)      (Doc. 65) at 7), and the parties in these federal actions and
Moreover, this court has already expressly assessed and              those in the state actions are in privity under the third element
upheld the North Carolina state witness requirement, which           of the test, (id. at 8).
is the primary state law at issue in this case. Democracy N.
Carolina, ––– F.Supp.3d at ––––, 2020 WL 4484063, at *48.            This court finds that issue preclusion does not bar Plaintiffs’
                                                                     claims. In Arizona v. California, the Supreme Court held
 *11 Furthermore, Defendants and Intervenors would                   that “[i]n most circumstances, it is recognized that consent
additionally need to show how “resolution of ... state               agreements ordinarily are intended to preclude any further
law issues pending in state court” would “eliminate or               litigation on the claim presented but are not intended to
substantially modify the federal constitutional issues raised        preclude further litigation on any of the issues presented.”
in Plaintiffs’ Complaint.” N.C. State Conference of NAACP,           530 U.S. at 414, 120 S.Ct. 2304 (internal quotations
397 F. Supp. 3d at 796. As Alliance notes, the Plaintiffs did        omitted). Moreover, “settlements ordinarily occasion no issue
not appeal the state court's conclusions, but sought relief in       preclusion ... unless it is clear ... that the parties intend their
federal court – there is no state law issue pending in state court   agreement to have such an effect.” Id.
here. For all of these reasons, this court declines to abstain
under Pullman.                                                       The Consent Judgment SBE and Alliance entered into does
                                                                     not clearly demonstrate that they intended their agreement
                                                                     to have an issue preclusive effect with regard to claims
   C. Issue Preclusion                                               brought now by Plaintiffs in Moore and Wise. The language
Collateral estoppel, or issue preclusion “refers to the effect       of the Consent Judgment demonstrates that it “constitutes
of a prior judgment in foreclosing successive litigation of an       a settlement and resolution of Plaintiffs’ claims against
issue of fact or law actually litigated and resolved in a valid      Executive Defendants pending in this Lawsuit” and that
court determination essential to the prior judgment, whether         “by signing this Stipulation and Consent Judgment, they are



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releasing any claims ... that they might have against Executive    Ass'n v. Wake Cnty. Bd. of Elections, 827 F.3d 333, 340 (4th
Defendants.” (State Court Consent Judgment (Doc. 45-1) at          Cir. 2016); see also Gill v. Whitford, 585 U.S. ––––, ––––,
14 (emphasis added).) Although Timothy Moore and Philip            138 S. Ct. 1916, 1930-31, 201 L.Ed.2d 313 (2018) (finding
Berger, State Legislative Plaintiffs in Moore, were Defendant-     that the “harm” of vote dilution “arises from the particular
Intervenors in the NC Alliance action, they were not parties to    composition of the voter's own district, which causes his vote
the consent judgment. (Id.) Thus, because the plain language       – having been packed or cracked – to carry less weight than
of the agreement did not expressly indicate an intention           it would carry in another, hypothetical district”); Wesberry v.
to preclude Plaintiffs Moore and Berger from litigating the        Sanders, 376 U.S. 1, 18, 84 S.Ct. 526, 11 L.Ed.2d 481 (1964)
issue in subsequent litigation, neither these State Legislative    (finding that vote dilution occurred where congressional
Plaintiffs, nor any other parties with whom they may or may        districts did not guarantee “equal representation for equal
not be in privity, are estopped from raising these claims now      numbers of people”); Wright v. North Carolina, 787 F.3d 256,
before this court.                                                 268 (4th Cir. 2015) (invalidating a voter redistricting plan).

                                                                   Second, the Court has found that the Equal Protection Clause
   D. Plaintiffs’ Equal Protection Claims                          is violated where the state, “[h]aving once granted the right
 *12 Plaintiffs raise “two separate theories of an equal           to vote on equal terms,” through “later arbitrary and disparate
protection violation,” – a “vote dilution claim, and an            treatment, value[s] one person's vote over that of another.”
arbitrariness claim.” (Oral Argument Tr. (Doc. 70) at 52; see      Bush, 531 U.S. at 104-05, 121 S.Ct. 525 (2000); see also
also Wise Pls.’ Mot. (Doc. 43) at 12-15.)                          Baker v. Carr, 369 U.S. 186, 208, 82 S.Ct. 691, 7 L.Ed.2d
                                                                   663 (1962) (“A citizen's right to a vote free of arbitrary
                                                                   impairment by state action has been judicially recognized as
1. Voting Harms Prohibited by the Equal Protection                 a right secured by the Constitution, when such impairment
Clause                                                             resulted from dilution by a false tally, or by a refusal to
                                                                   count votes from arbitrarily selected precincts, or by a stuffing
Under the Fourteenth Amendment of the U.S. Constitution,           of the ballot box.”) (internal citations omitted). This second
a state may not “deny to any person within its jurisdiction        theory of voting harms requires courts to balance competing
the equal protection of the laws.” U.S. Const. amend. XIV.         concerns around access to the ballot. On the one hand, a state
The Fourteenth Amendment is one of several constitutional          should not engage in practices which prevent qualified voters
provisions that “protects the right of all qualified citizens to   from exercising their right to vote. A state must ensure that
vote, in state as well as federal elections.” Reynolds v. Sims,    there is “no preferred class of voters but equality among those
377 U.S. 533, 554, 84 S.Ct. 1362, 12 L.Ed.2d 506 (1964).           who meet the basic qualifications.” Gray v. Sanders, 372 U.S.
Because the Fourteenth Amendment protects not only the             368, 379-80, 83 S.Ct. 801, 9 L.Ed.2d 821 (1963). On the other
“initial allocation of the franchise,” as well as “to the manner   hand, the state must protect against “the diluting effect of
of its exercise,” Bush v. Gore, 531 U.S. 98, 104, 121 S.Ct.        illegal ballots.” Id. at 380, 83 S.Ct. 801. Because “the right to
525, 148 L.Ed.2d 388 (2000), “lines may not be drawn which         have one's vote counted has the same dignity as the right to put
are inconsistent with the Equal Protection Clause ....” Id. at     a ballot in a box,” id., the vote dilution occurs only where there
105, 121 S.Ct. 525 (citing Harper v. Va. State Bd. of Elections,   is both “arbitrary and disparate treatment.” Bush, 531 U.S. at
383 U.S. 663, 665, 86 S.Ct. 1079, 16 L.Ed.2d 169 (1966)).          105, 121 S.Ct. 525. To this end, states must have “specific
                                                                   rules designed to ensure uniform treatment” of a voter's ballot.
The Supreme Court has identified two theories of voting            Id. at 106, 121 S.Ct. 525.
harms prohibited by the Fourteenth Amendment. First, the
Court has identified a harm caused by “debasement or
dilution of the weight of a citizen's vote,” also referred to
                                                                   2. Standing to Bring Equal Protection Claims
“vote dilution.” Reynolds, 377 U.S. at 555, 84 S.Ct. 1362.
Courts find this harm arises where gerrymandering under             *13 In light of the harms prohibited by the Equal Protection
a redistricting plan has diluted the “requirement that all         Clause, this court must first consider whether Plaintiffs have
citizens’ votes be weighted equally, known as the one person,      standing to bring these claims.
one vote principle,” and resulted in one group or community's
vote counting more than another's. Raleigh Wake Citizens



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For a case or controversy to be justiciable in federal court, a       injury is too generalized because the Numbered Memoranda
plaintiff must allege “such a personal stake in the outcome of        apply equally to all voters across the state and that Plaintiffs
the controversy as to warrant his invocation of federal court         “cannot claim an injury for not having to go through a
jurisdiction and to justify exercise of the court's remedial          remedial process put in place for other voters.” (SBE Resp.
powers on his behalf.” White Tail Park, Inc. v. Stroube, 413          (Doc. 65) at 12.)
F.3d 451, 458 (4th Cir. 2005) (quoting Planned Parenthood of
S.C. Inc. v. Rose, 361 F.3d 786, 789 (4th Cir. 2004)).                Plaintiffs in Moore and Wise do not address standing for
                                                                      their Equal Protection claims in their memoranda in support
The party seeking to invoke the federal courts’ jurisdiction          of their motions for a preliminary injunction. (See Wise
has the burden of satisfying Article III's standing requirement.      Pls.’ Mot. (Doc. 43); Moore Pls.’ Mot. (Doc. 60).) At oral
Miller v. Brown, 462 F.3d 312, 316 (4th Cir. 2006). To meet           argument held on October 8, 2020, however, counsel for the
that burden, a plaintiff must demonstrate three elements: (1)         Moore Plaintiffs responded to Defendant SBE and Alliance
that the plaintiff has suffered an injury in fact that is “concrete   Intervenor's standing arguments. (Oral Argument Tr. (Doc.
and particularized” and “actual or imminent”; (2) that the            70) at 52-59.)
injury is fairly traceable to the challenged conduct of the
defendant; and (3) that a favorable decision is likely to redress      *14 First, under a vote dilution theory, counsel argued that
the injury. Lujan v. Defenders of Wildlife, 504 U.S. 555,             “the Defendants confuse a widespread injury with not having
560-61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992).                       a personal injury,” (id. at 53), and that the Supreme Court's
                                                                      decision in Reynolds demonstrates that “impermissible vote
In multi-plaintiff cases, “[a]t least one plaintiff must have         dilution occurs when there's ballot box stuffing,” (id.),
standing to seek each form of relief requested in the                 suggesting that each voter would have standing to sue under
complaint.” Town of Chester v. Laroe Estates, Inc., 581 U.S.          the Supreme Court's precedent in Reynolds because their vote
––––, ––––, 137 S. Ct. 1645, 1651, 198 L.Ed.2d 64 (2017).             has less value. (Id.) Second, under an arbitrary and disparate
Further, if there is one plaintiff “who has demonstrated              treatment theory, counsel argued that Plaintiffs were subjected
standing to assert these rights as his own,” the court “need not      to the witness requirement and that “[t]here are burdens
consider whether the other individual and corporate plaintiffs        associated with that” which support a finding of an injury in
have standing to maintain the suit.” Vill. of Arlington Heights       fact. (Id. at 56.) Counsel argued the harm that is occurring
v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264 & n.9, 97 S.Ct.         is not speculative because, for example, voters have and
555, 50 L.Ed.2d 450 (1977).                                           will continue to fail to comply with the witness requirement,
                                                                      (id. at 55-56), and ballots will arrive between the third and
In the voting context, “voters who allege facts showing               ninth day following the election pursuant to the Postmark
disadvantage to themselves as individuals have standing to            Requirement, (id. at 58). Moreover, counsel argued that the
sue,” Baker, 369 U.S. at 206, 82 S.Ct. 691, so long as their          “regime” imposed by the state is arbitrary, citing limitations
claimed injuries are “distinct from a ‘generally available            on assistance allowed to complete a ballot, compared to the
grievance about the government,’ ” Gill, 138 S. Ct. at 1923           lessened restrictions associated with the witness requirement
(quoting Lance v. Coffman, 549 U.S. 437, 439, 127 S.Ct.               under Numbered Memo 2020-19. (Id. at 59.)
1194, 167 L.Ed.2d 29 (2007) (per curiam)).
                                                                      This court finds that Individual Plaintiffs in Moore and Wise
Defendant SBE and Alliance Intervenors argue that                     have not articulated a cognizable injury in fact for their vote
Individual Plaintiffs in Wise and Moore have not alleged a            dilution claims. However, all of the Individual Plaintiffs in
concrete and particularized injury under either of the two            Moore, and one Individual Plaintiff in Wise have articulated
Equal Protection theories. (Alliance Resp. (Doc. 64) at 14-15;        an injury in fact for an arbitrary and disparate treatment claim.
SBE Resp. (Doc. 65) at 12-13.)

First, under a vote dilution theory, they argue that courts
                                                                      a. Vote Dilution
have “repeatedly rejected this theory as a basis for standing,
both because it is unduly speculative and impermissibly               Although the Supreme Court has “long recognized that a
generalized.” (Alliance Resp. (Doc. 64) at 17.) Second, under         person's right to vote is ‘individual and personal in nature.’ ”
an arbitrary and disparate treatment theory, they argue that the      Gill, 138 S. Ct. at 1930 (citing Reynolds, 377 U.S. at 561, 84



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S.Ct. 1362), the Court has expressly held that “vote dilution”       Plaintiffs allege. This court finds this injury too generalized to
refers specifically to “invidiously minimizing or canceling          give rise to a claim of vote dilution, and thus, neither Plaintiffs
out the voting potential of racial or ethnic minorities,” Abbott     in Moore nor in Wise have standing to bring their vote dilution
v. Perez, 585 U.S. ––––, ––––, 138 S. Ct. 2305, 2314, 201            claims under the Equal Protection Clause.
L.Ed.2d 714 (2018) (internal quotations and modifications
omitted) (emphasis added), a harm which occurs where “the
particular composition of the voter's own district ... causes his
                                                                     b. Arbitrary and Disparate Treatment
vote – having been packed or cracked – to carry less weight
than it would carry in another, hypothetical district.” Gill, 138     *15 In Bush, the Supreme Court held that, “[h]aving once
S. Ct. at 1931.                                                      granted the right to vote on equal terms, the State may not,
                                                                     by later arbitrary and disparate treatment, value one person's
Indeed, lower courts which have addressed standing in vote           vote over that of another.” 531 U.S. at 104-05, 121 S.Ct.
dilution cases arising out of the possibility of unlawful            525. Plaintiffs argue that they have been subjected to arbitrary
or invalid ballots being counted, as Plaintiffs have argued          and disparate treatment because they voted under one set of
here, have said that this harm is unduly speculative and             rules, and other voters, through the guidance in the Numbered
impermissibly generalized because all voters in a state              Memoranda, will be permitted to vote invalidly under a
are affected, rather than a small group of voters. See,              different and unequal set of rules, and that this is a concrete
e.g., Donald J. Trump for President, Inc. v. Cegavske,               and particularized injury. (Oral Argument Tr. (Doc. 70) at
Case No. 2:20-CV-1445 JCM (VCF), ––– F.Supp.3d ––––,                 70-71.)
––––, 2020 WL 5626974, at *4 (D. Nev. Sept. 18, 2020)
(“As with other generally available grievances about the             For the purposes of determining whether Plaintiffs have
government, plaintiffs seek relief on behalf of their member         standing, is it not “necessary to decide whether [Plaintiffs’]
voters that no more directly and tangibly benefits them              allegations of impairment of their votes” by Defendant SBE's
than it does the public at large.”) (internal quotations and         actions “will, ultimately, entitle them to any relief,” Baker,
modifications omitted); Martel v. Condos, Case No. 5:20-             369 U.S. at 208, 82 S.Ct. 691; whether a harm has occurred
cv-131, ––– F.Supp.3d ––––, ––––, 2020 WL 5755289, at                is best left to this court's analysis of the merits of Plaintiffs’
*4 (D. Vt. Sept. 16, 2020) (“If every voter suffers the same         claims, (see discussion infra Section II.D.3). Instead, the
incremental dilution of the franchise caused by some third-          appropriate inquiry is, “[i]f such impairment does produce
party's fraudulent vote, then these voters have experienced          a legally cognizable injury,” whether Plaintiffs “are among
a generalized injury.”); Paher v. Cegavske, 457 F.Supp.3d            those who have sustained it.” Baker, 369 U.S. at 208, 82 S.Ct.
919, 926–27 (D. Nev. 2020) (“Plaintiffs’ purported injury of         691.
having their votes diluted due to ostensible election fraud
may be conceivably raised by any Nevada voter.”); Am. Civil          This court finds that Individual Plaintiffs in Moore and one
Rights Union v. Martinez-Rivera, 166 F. Supp. 3d. 779, 789           Individual Plaintiff in Wise have standing to raise an arbitrary
(W.D. Tex. 2015) (“[T]he risk of vote dilution [is] speculative      and disparate treatment claim because their injury is concrete,
and, as such, [is] more akin to a generalized grievance about        particularized, and not speculative. Bobby Heath and Maxine
the government than an injury in fact.”).                            Whitley, the Individual Plaintiffs in Moore, are registered
                                                                     North Carolina voters who voted absentee by mail and whose
Although “[i]t would over-simplify the standing analysis             ballots have been accepted by SBE. (Moore Compl. (Doc.
to conclude that no state-wide election law is subject to            1) ¶¶ 9-10.) In Wise, Individual Plaintiff Patsy Wise is a
challenge simply because it affects all voters,” Martel, –––         registered voter who cast her absentee ballot by mail. (Wise
F.Supp.3d at ––––, 2020 WL 5755289, at *4, the notion that           Compl. (Doc. 1) ¶ 25.)
a single person's vote will be less valuable as a result of
unlawful or invalid ballots being cast is not a concrete and         If Plaintiffs Heath, Whitley, and Wise were voters who
particularized injury in fact necessary for Article III standing.    intended to vote by mail but who had not yet submitted their
Compared to a claim of gerrymandering, in which the injury           ballots, as is the case with the other Individual Plaintiffs in
is specific to a group of voters based on their racial identity or   Wise, (Wise Compl. (Doc. 1) ¶¶ 26-28), or voters who had
the district where they live, all voters in North Carolina, not      intended to vote in-person either during the Early Voting
just Individual Plaintiffs, would suffer the injury Individual       period or on Election Day, then they would not in fact have



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been impacted by the laws and procedures for submission
of absentee ballots by mail and the complained-of injury
                                                                  a. Parties’ Arguments
would be merely “an injury common to all other registered
voters,” Martel, ––– F.Supp.3d at ––––, 2020 WL 5755289,          Plaintiffs argue that four policies indicated in the Numbered
at *4. See also Donald J. Trump for President, Inc., –––          Memoranda are invalid under the Equal Protection Clause:
F.Supp.3d at ––––, 2020 WL 5626974, at *4 (“Plaintiffs never      (1) the procedure which allows ballots without a witness
describe how their member voters will be harmed by vote           signature to be retroactively validated through the cure
dilution where other voters will not.”). Indeed, this court       procedure indicated in Revised Numbered Memo 2020-19
finds that Individual Plaintiffs Clifford, Bambini, and Baum      (“Witness Requirement Cure Procedure”); (2) the procedure
in Wise do not have standing to challenge the Numbered            which allows absentee ballots to be received up to nine
Memoranda, because any “shock[ ]” and “serious concern[s]”        days after Election Day if they are postmarked on Election
they have that their vote “will be negated by improperly cast     Day, as indicated in Numbered Memo 2020-19 (“Receipt
or fraudulent ballots,” (Wise Compl. (Doc. 1) ¶¶ 26-28), is       Deadline Extension”); and (3) the procedure which allows
merely speculative until such point that they have actually       for anonymous delivery of ballots to unmanned drop boxes,
voted by mail and had their ballots accepted, which Plaintiffs’   as indicated in Numbered Memo 2020-23 (“Drop Box Cure
Complaint in Wise does not allege has occurred. (Id.)             Procedure”); (4) the procedure which allows ballots to be
                                                                  counted without a United States Postal Service postmark,
Yet, because Plaintiffs Heath, Whitley, and Wise have, in fact,   as indicated in Numbered Memo 2020-22 (“Postmark
already voted by mail, (Moore Compl. (Doc. 1) ¶¶ 9-10; Wise       Requirement Changes”). (Moore Compl. (Doc. 1) ¶ 93; Wise
Compl. (Doc. 1) ¶ 25), their injury is not speculative. Under     Compl. (Doc. 1) ¶ 124; Wise Pls.’ Mot. (Doc. 43) at 13-14.)
the Numbered Memoranda 2020-19, 2020-22, and 2020-23,
other voters who vote by mail will be subjected to a different    Plaintiffs in Wise argue that the changes in these Memoranda
standard than that to which Plaintiffs Heath, Whitley, and        “guarantee that voters will be treated arbitrarily under the
Wise were subjected when they cast their ballots by mail.         ever-changing voting regimes.” (Wise Pls.’ Mot. (Doc. 43)
Assuming this is an injury that violates the Equal Protection     at 11.) Similarly, Plaintiffs in Moore argue that the three
Clause, Baker, 369 U.S. at 208, 82 S.Ct. 691, the harm alleged    Memoranda were issued “after tens of thousands of North
by Plaintiffs is particular to voters in Heath, Whitley, and      Carolinians cast their votes following the requirements set
Wise's position, rather than a generalized injury that any        by the General Assembly,” which deprives Plaintiffs “of
North Carolina voter could claim. For this reason, this court     the Equal Protection Clause's guarantee because it allows
finds that Individual Plaintiffs Heath, Whitley, and Wise have    for ‘varying standards to determine what [i]s a legal vote.’
standing to raise Equal Protection claims under an arbitrary      ” (Moore Compl. (Doc. 1) ¶ 90 (citing Bush, 531 U.S. at 107,
and disparate treatment theory. Because at least one plaintiff    121 S.Ct. 525).)
in each of these multi-plaintiff cases has standing to seek
the relief requested, the court “need not consider whether        In response, Defendants argue that the Numbered Memoranda
the other individual and corporate plaintiffs have standing to    will not lead to the arbitrary and disparate treatment of
maintain the suit.” Vill. of Arlington Heights, 429 U.S. at 264   ballots prohibited by the Supreme Court's decision in Bush
& n.9, 97 S.Ct. 555.                                              v. Gore, 531 U.S. 98, 121 S.Ct. 525, 148 L.Ed.2d 388
                                                                  (2000). Defendant SBE argues that the consent judgment and
                                                                  Numbered Memos do “precisely what Bush contemplated: It
3. Likelihood of Success on the Merits                            establishes uniform and adequate standards for determining
                                                                  what is a legal vote, all of which apply statewide, well in
 *16 Having determined that Individual Plaintiffs have            advance of Election Day. Indeed, the only thing stopping
standing to bring their arbitrary and disparate treatment         uniform statewide standards from going into effect is the
claims, this court now considers whether Plaintiffs’ claims are   TRO entered in these cases.” (SBE Resp. (Doc. 65) at 17.)
likely to succeed on the merits. To demonstrate a likelihood      Moreover, Defendant SBE argues that the consent judgment
of success on the merits, “[a] plaintiff need not establish a     “simply establishes uniform standards that help county boards
certainty of success, but must make a clear showing that he is    ascertain which votes are lawful,” and “in no way lets votes
likely to succeed at trial.” Di Biase, 872 F.3d at 230.           be cast unlawfully.” (Id. at 18.)




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Alliance Intervenors argue that the Numbered Memos “apply          voting periods. Martin v. Kemp, 341 F. Supp. 3d 1326 (N.D.
equally to all voters,” (Alliance Resp. (Doc. 64) at 18),          Ga. 2018), appeal dismiss sub nom. Martin v. Sec'y of State
and “Plaintiffs have not articulated, let alone demonstrated,      of Ga., No. 18-14503-GG, 2018 WL 7139247 (11th Cir. Dec.
how their right to vote – or anyone else's – is burdened or        11, 2018).
valued unequally,” (id. at 19). Moreover, Alliance Intervenors
argue that the release of the Numbered Memoranda after the         A change in election rules that results in disparate treatment
election began does not raise equal protection issues because,     shifts from constitutional to unconstitutional when these
“[e]lection procedures often change after voting has started       rules are also arbitrary. The ordinary definition of the word
to ensure that the fundamental right to vote is protected.” (Id.   “arbitrary” refers to matters “[d]epending on individual
at 20.)                                                            discretion” or “involving a determination made without
                                                                   consideration of or regard for facts, circumstances, fixed
Both Defendant SBE and Alliance Intervenors argue that the         rules, or procedures.” Arbitrary, Black's Law Dictionary (11th
release of the Numbered Memoranda after the election began         ed. 2019). This definition aligns with the Supreme Court's
does not raise equal protection issues, as election procedures     holding in Reynolds and Bush, that the State must ensure
often change after voting has started. (SBE Resp. (Doc.            equal treatment of voters both at the time it grants citizens
65) at 18; Alliance Resp. (Doc. 64) at 20.) For example,           the right to vote and throughout the election. Bush, 531 U.S.
Defendant SBE argues that “[i]f it is unconstitutional to          at 104-05, 121 S.Ct. 525 (“Having once granted the right
extend the receipt deadline for absentee ballots to address mail   to vote on equal terms, the State may not, by later arbitrary
disruptions, then it would also be unconstitutional to extend      and disparate treatment, value one person's vote over that of
hours at polling places on Election Day to address power           another.”); Reynolds, 377 U.S. at 555, 84 S.Ct. 1362 (“[T]he
outages or voting-machine malfunctions.” (SBE Resp. (Doc.          right of suffrage can be denied by a debasement or dilution of
65) at 18 (citing N.C. Gen. Stat. § 163-166.01).) “Likewise,       the weight of a citizen's vote just as effectively as by wholly
the steps that the Board has repeatedly taken to ensure that       prohibiting the free exercise of the franchise.”).
people can vote in the wake of natural disasters like hurricanes
would be invalid if those steps are implemented after voting       The requirement that a state “grant[ ] the right to vote on
begins.” (Id.)                                                     equal terms,” Bush, 531 U.S. at 104, 121 S.Ct. 525, includes
                                                                   protecting the public “from the diluting effect of illegal
                                                                   ballots,” Gray, 372 U.S. at 380, 83 S.Ct. 801. To fulfill this
                                                                   requirement, a state legislature must define the manner in
b. Analysis
                                                                   which voting should occur and the minimum requirements
 *17 This court agrees with the parties that an Equal              for a valid, qualifying ballot. In North Carolina, the General
Protection violation occurs where there is both arbitrary          Assembly has passed laws defining the requirements for
and disparate treatment. Bush, 531 U.S. at 105, 121 S.Ct.          permissible absentee voting, N.C. Gen. Stat. § 163-226 et
525. This court also agrees with Defendants that not all           seq., including as recently as this summer, when it modified
disparate treatment rises to the level of an Equal Protection      the one-witness requirement, 2020 N.C. Sess. Laws 2020-17
violation. As Defendant SBE argues, the General Assembly           (H.B. 1169) § 1.(a). As this court found in its order issuing
has empowered SBE to make changes to voting policies               a preliminary injunction in Democracy, these requirements
and procedures throughout the election, including extending        reflect a desire by the General Assembly to prevent voter
hours at polling places or adjusting voting in response to         fraud resulting from illegal voting practices. Democracy N.
natural disasters. (SBE Resp. (Doc. 65) at 18.) Other federal      Carolina, ––– F.Supp.3d at ––––, 2020 WL 4484063, at *35.
courts have upheld changes to election procedures even after
voting has commenced. For example, in 2018, a federal court        A state cannot uphold its obligation to ensure equal treatment
enjoined Florida's signature matching procedures and ordered       of all voters at every stage of the election if another body,
a cure process after the election. Democratic Exec. Comm. of       including SBE, is permitted to contravene the duly enacted
Fla. v. Detzner, 347 F. Supp. 3d 1017, 1031 (N.D. Fla. 2018),      laws of the General Assembly and to permit ballots to be
appeal dismissed as moot sub nom. Democratic Exec. Comm.           counted that do not satisfy the fixed rules or procedures
of Fla. v. Nat'l Republican Senatorial Comm., 950 F.3d 790         the state legislature has deemed necessary to prevent illegal
(11th Cir. 2020). Similarly, a Georgia federal court in 2018       voting. Any guidance SBE adopts must be consistent with the
ordered a cure process in the middle of the absentee and early



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guarantees of equal treatment contemplated by the General           I felony under Chapter 163 of the North Carolina General
Assembly and Equal Protection.                                      Statutes.
                                                                  (Moore v. Circosta, No. 1:20CV911 (Doc. 45-1) at 34.)
Thus, following this precedent, and the ordinary definition
of the word “arbitrary,” this court finds that SBE engages in     This “cure” affidavit language makes no mention of whether
arbitrary behavior when it acts in ways that contravene the       a witness was in the presence of the voter at the time that the
fixed rules or procedures the state legislature has established   voter cast their ballot, which is the essence of the Legislature's
for voting and that fundamentally alter the definition of a       Witness Requirement. 2020 N.C. Sess. Laws 2020-17 (H.B.
validly voted ballot, creating “preferred class[es] of voters.”   1169) § 1.(a). In fact, a voter could truthfully sign and affirm
Gray, 372 U.S. at 380, 83 S.Ct. 801.                              this statement and have their ballot counted by their county
                                                                  board of elections without any witness becoming involved in
 *18 This definition of arbitrariness does not require this       the process.6 Because the effect of this affidavit is to eliminate
court to consider whether the laws enacted by the General         the statutorily required witness requirement, this court finds
Assembly violate other provisions in the North Carolina or        that Plaintiffs have demonstrated a likelihood of success on
U.S. Constitution or whether there are better public policy       the merits in proving that the Witness Requirement Cure
alternatives to the laws the General Assembly has enacted.        Procedure indicated in Revised Memo 2020-19 is arbitrary.
These are separate inquiries. This court's review is limited
to whether the challenged Numbered Memos are consistent           6       Plaintiffs do not challenge the use of the cure affidavit
with state law and do not create a preferred class or classes
                                                                          for ballot deficiencies generally, aside from arguing
of voters.
                                                                          that the cure affidavit circumvents the statutory Witness
                                                                          Requirement. (See Moore Compl. (Doc. 1) ¶ 93; Wise
                                                                          Compl. (Doc. 1) ¶ 124.) Although not raised by Plaintiffs,
i. Witness Requirement Cure Procedure                                     this courts finds the indefiniteness of the cure affidavit
                                                                          language troubling as a means of correcting even curable
This court finds Plaintiffs have demonstrated a likelihood of             ballot deficiencies.
success on the merits with respect to their Equal Protection              During oral arguments, Defendants did not and could
challenge to the Witness Requirement Cure Procedure in                    not clearly define what it means to “vote,” (see, e.g.,
                                                                          Oral Argument Tr. (Doc. 70) at 130-32), which is all
Revised Memo 2020-19.
                                                                          that the affidavit requires voters to attest that they
                                                                          have done. (Moore v. Circosta, No. 1:20CV911, State
Under the 2020 N.C. Sess. Laws 2020-17 (H.B. 1169) § 1.
                                                                          Court Consent Judgment (Doc. 45-1) at 34.) Under the
(a), a witnessed absentee ballot must be “marked ... in the               vague “I voted” language used in the affidavit, a voter
presence of at least one [qualified] person ....” This clear              who completed their ballot with assistance from an
language dictates that the witness must be (1) physically                 unauthorized individual; a voter who does not qualify
present with the voter, and (2) present at the time the ballot            for voting assistance; or a voter who simply delegated
is marked by the voter.                                                   the responsibility for completing their ballot to another
                                                                          person could truthfully sign this affidavit, although all
Revised Memo 2020-19 counsels that ballots missing a                      three acts are prohibited under state law. See N.C. Gen.
witness signature may be cured where voters sign and affirm               Stat. § 163-226.3(a)(1). Because the cure affidavit does
the following statement:                                                  not define what it means to vote, voters are permitted to
                                                                          decide what that means for themselves.
  I am submitting this affidavit to correct a problem with                This presents additional Equal Protection concerns. A
  missing information on the ballot envelope. I am an eligible            state must ensure that there is “no preferred class
  voter in this election and registered to vote in [name]                 of voters but equality among those who meet the
                                                                          basic qualifications.” Gray, 372 U.S. at 380, 83 S.Ct.
  County, North Carolina. I solemnly swear or affirm that I
                                                                          801. Because the affidavit does not serve as an
  voted and returned my absentee ballot for the November 3,
                                                                          adequate means to ensure that voters did not engage in
  2020 general election and that I have not voted and will not
                                                                          unauthorized ballot casting procedures, inevitably, not
  vote more than one ballot in this election. I understand that           all voters will be held to the same standards for casting
  fraudulently or falsely completing this affidavit is a Class            their ballot. This is, by definition, arbitrary and disparate
                                                                          treatment inconsistent with existing state law.



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       This court's concerns notwithstanding, however,                court finds that Plaintiffs have demonstrated a likelihood of
       Plaintiffs do not challenge the use of a cure affidavit in     success on the merits in proving that the Witness Requirement
       other contexts, so this court will decline to enjoin the use   Cure Procedure indicated in Memo 2020-19 creates disparate
       of a cure affidavit beyond its application as an alternative   treatment.
       for compliance with the Witness Requirement.
 *19 Based on counsel's statements at oral arguments,                 Thus, because Plaintiffs have demonstrated a likelihood of
Defendant SBE may contend that the guidance in Revised                success on the merits with respect to arbitrary and disparate
Memo 2020-19 is not arbitrary because it was necessary to             treatment that may result from under Witness Requirement
resolve the Alliance state court action. (Oral Argument Tr.           Cure Procedure in Revised Memo 2020-19, this court finds
(Doc. 70) at 105 (“Our reading then of state law is that the          Plaintiffs have established a likelihood of success on their
Board has the authority to make adjustments in emergencies            Equal Protection claim.
or as a means of settling protracted litigation until the
General Assembly reconvenes.”).) However, Defendant
SBE's arguments to the state court judge and the court in the
                                                                      ii. Receipt Deadline Extension
Eastern District of North Carolina belie that assertion, as they
advised the state court that both the original Memo 2020-19           This court finds that Plaintiffs are likely to succeed on their
and the Revised Memo were issued “to ensure full compliance           Equal Protection challenge to the Receipt Deadline Extension
with the injunction entered by Judge Osteen,” (SBE State              in Revised Memo 2020-19.
Court Br. (Doc. 68-1) at 15), and they advised the court in
the Eastern District of North Carolina that they had issued           Under N.C. Gen. Stat. § 163-231(b), in order to be counted,
the revised Memo 2020-19 “in order to comply with Judge               civilian absentee ballots must have been received by the
Osteen's preliminary injunction in the Democracy N.C. action          county board office by 5 p.m. on Election Day, November
in the Middle District.” (TRO (Doc. 47) at 9.) As this                3, 2020, or if postmarked by Election Day, by 5:00 p.m. on
court more fully explains in its order issued in Democracy,           November 6, 2020. The guidance in Revised Memo 2020-19
this court finds that Defendant SBE improperly used this              extends the time in which absentee ballots must be returned,
court's August Democracy Order to modify the witness                  allowing a late civilian ballot to be counted if postmarked
requirement. Democracy v. N. Carolina, No. 1:20CV457,                 on or before Election Day and received by 5:00 p.m. on
2020 WL 6058048 (M.D.N.C. Oct. 14, 2020) (enjoining                   November 12, 2020 (Revised Memo 2020-19 (Doc. 36-3) at
witness cure procedure). Because Defendant SBE acted                  5.)
improperly in that fashion, this court declines to accept an
argument now that elimination of the witness requirement was          Alliance Intervenors argue that, “[t]o the extent Numbered
a rational and justifiable basis upon which to settle the state       Memo 2020-22 introduces a new deadline, it affects only the
lawsuit. Furthermore, it is difficult to conceive that SBE was        counting of ballots for election officials after Election Day
authorized to resolve a pending lawsuit that could create a           has passed – not when voters themselves must submit their
preferred class of voters: those who may submit an absentee           ballots. All North Carolina absentee voters still must mail
ballot without a witness under an affidavit with no definition        their ballots by Election Day.” (Alliance Resp. (Doc. 64) at
of the meaning of “vote.”                                             21.)

This court also finds Plaintiffs have demonstrated a likelihood       This court disagrees, finding Plaintiffs have demonstrated
of success on the merits in proving disparate treatment               a likelihood of success on the merits in proving that this
may result as a result of the elimination of the Witness              change contravenes the express deadline established by the
Requirement. Individual Plaintiffs Wise, Heath, and Whitley           General Assembly, by extending the deadline from three
assert that they voted absentee by mail, including complying          days after Election Day, to nine days after Election Day.
with the Witness Requirement. (Wise Compl. (Doc. 1) ¶ 25;             Moreover, it results in disparate treatment, as voters like
Moore Compl. (Doc. 1) ¶¶ 9-10.) Whether because a voter               Individual Plaintiffs returned their ballots within the time-
inadvertently cast a ballot without a witness or because a            frame permitted under state law, (Wise Compl. (Doc. 1) ¶
voter was aware of the “cure” procedure and thus, willfully           25; Moore Compl. (Doc. 1) ¶¶ 9-10), but other voters whose
did not cast a ballot with a witness, there will be voters            ballots would otherwise not be counted if received three days
whose ballots are cast without a witness. Accordingly, this



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after Election Day, will now have an additional six days to         Plaintiffs argue that this guidance “undermines the General
return their ballot.                                                Assembly's criminal prohibition of the unlawful delivery of
                                                                    ballots,” (Moore Compl. (Doc. 1) ¶ 68), and “effectively
Because Plaintiffs have demonstrated a likelihood of success        allow[s] voters to use drop boxes for absentee ballots,” (Wise
on the merits in proving arbitrary and disparate treatment          Pls.’ Mot. (Doc. 43) at 13), and thus, violates the Equal
may result under the Receipt Deadline Extension, this court         Protection Clause, (Moore Compl. (Doc. 1) ¶ 93). This court
finds Plaintiffs have established a likelihood of success on the    disagrees.
merits of their Equal Protection claim.
                                                                    Although Numbered Memo 2020-23 was released on
                                                                    September 22, 2020, (Wise, No. 1:20CV912, Memo 2020-23
                                                                    (Doc. 1-4) at 2), the guidance it contains is not new.
iii. Drop Box Cure Procedure
                                                                    Consistent with the guidance in Numbered Memo 2020-23,
 *20 Plaintiffs have failed to establish a likelihood of success,   SBE administrative rules adopted on December 1, 2018,
however, on their Equal Protection challenge to the Drop            require that any person delivering a ballot to a county board
Box Cure Procedure indicated in Numbered Memo 2020-23.              of elections office provide:
(Wise, No. 1:20CV912, Memo 2020-23 (Doc. 1-4).)
                                                                      (1) Name of voter;

N.C. Gen. Stat. § 163-226.3(a)(5) makes it a felony for any           (2) Name of person delivering ballot;
person other than the voter's near relative or legal guardian
to take possession of an absentee ballot of another voter for         (3) Relationship to voter;
delivery or for return to a county board of elections.
                                                                      (4) Phone Number (if available) and current address of
“Because of this provision in the law,” and the need to ensure        person delivering ballot;
compliance with it, SBE recognized in Memo 2020-23 that,
                                                                      (5) Date and time of delivery of ballot; and
“an absentee ballot may not be left in an unmanned drop
box,” (Wise, No. 1:20CV912, Memo 2020-23 (Doc. 1-4) at                 (6) Signature or mark of person delivering ballot certifying
2), and directed county boards which have a “drop box, slot,           that the information provided is true and correct and that
or similar container at their office” for other business purposes      the person is the voter or the voter's near relative as defined
to place a “sign indicating that absentee ballots may not be           in [N.C. Gen. Stat § 163-226(f)] or verifiable legal guardian
deposited in it.” (Id.)                                                as defined in [N.C. Gen. Stat. § 163-226(e)].
                                                                    8 N.C. Admin. Code 18.0102 (2018). Moreover, the
Moreover, the guidance reminds county boards that they must         administrative rule states that “the county board of elections
keep a written log when any person returns an absentee ballot       may consider the delivery of a ballot in accordance with
in person, which includes the name of the individual returning      this Rule in conjunction with other evidence in determining
the ballot, their relationship to the voter, the ballot number,     whether the container-return envelope has been properly
and the date it was received. (Id. at 3.) If the individual who     executed according to the requirements of [N.C. Gen. Stat.
drops off the ballot is not the voter, their near relative, or      § 163-231],” (id.), and that “[f]ailure to comply with this
legal guardian, the log must also record their address and          Rule shall not constitute evidence sufficient in and of itself
phone number. (Id.) The guidance also advises county boards         to establish that the voter did not lawfully vote his or her
that “[f]ailure to comply with the logging requirement, or          ballot.” (Id.)
delivery or an absentee ballot by a person other than the
voter, the voter's near relative, or the voter's legal guardian,     *21 Because the guidance contained in Numbered Memo
is not sufficient evidence in and of itself to establish that the   2020-23 was already in effect at the start of this election as
voter did not lawfully vote their ballot.” (Id. at 3.) Instead,     a result of SBE's administrative rules, Individual Plaintiffs
the guidance advises the county board that they “may ...            were already subject to it at the time that they cast their
consider the delivery of a ballot ... in conjunction with other     votes. Accordingly, because all voters were subject to the
evidence in determining whether the ballot is valid and should      same guidance, Plaintiffs have not demonstrated a likelihood
be counted.” (Id. at 4.)                                            of success on the merits in proving disparate treatment.




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It is a closer issue with respect to whether Plaintiffs have       the ballot was in the custody of USPS or the commercial
demonstrated a likelihood of success on the merits in proving      carrier on or before Election Day.” (Id. at 3.) This court
that the rules promulgated by Defendant SBE are inconsistent       finds that these changes are consistent with N.C. Gen. Stat.
with N.C. Gen. Stat. § 163-226.3(a)(5).                            § 163-231(b)(2)b, which does not define what constitutes a
                                                                   “postmark,” and instead, merely states that ballots received
This statute makes it a felony for any person other than the       after 5:00 p.m. on Election Day may not be accepted unless
voter's near relative or legal guardian to take possession of      the ballot is “postmarked and that postmark is dated on or
an absentee ballot of another voter for delivery or for return     before the day of the ... general election ... and are received
to a county board of elections. Id. It would seem logically        by the county board of elections not later than three days after
inconsistent that the General Assembly would criminalize this      the election by 5:00 p.m.”
behavior, while at the same time, permit ballots returned by
unauthorized third parties to be considered valid. Yet, upon       In the absence of a statutory definition for postmark, this
review of the legislative history, this court finds the felony     court finds Plaintiffs have not demonstrated a likelihood
statute has been in force since 1979, 1979 N.C. Sess. Laws Ch.     of success on the merits in proving that Numbered Memo
799 (S.B. 519) § 4, https://www.ncleg.gov/enactedlegislation/      2020-22 is inconsistent with N.C. Gen. Stat. § 163-231(b)
sessionlaws/pdf/1979-1980/sl1979-799.pdf (last visited Oct.        (2)b, and thus, arbitrary. If the General Assembly believes
13, 2020), and in its current form since 2013. 2013 N.C. Sess.     that the Postmark Requirement Changes indicated in Memo
Laws 381 (H.B. 589) § 4.6.(a).                                     2020-22 are inconsistent with its public policy goals, they
                                                                   are empowered to pass legislation which further specifies the
That the General Assembly, by not taking legislative action,       definition of a “postmark.” In the absence of such legislation,
and instead, permitted SBE's administrative rule and the           however, this court finds that Plaintiffs have failed to establish
General Assembly's statute to coexist for nearly two years         a likelihood of success on the merits of their Equal Protection
and through several other elections undermines Plaintiffs’         challenge.
argument that Defendant SBE has acted arbitrarily. For this
reason, this court finds that Plaintiffs have not demonstrated a
likelihood of success on the merits in proving the arbitrariness
                                                                   4. Irreparable Harm
of the guidance in Numbered Memo 2020-23 and accordingly,
Plaintiffs have failed to establish a likelihood of success         *22 In addition to a likelihood of success on the merits,
on their Equal Protection challenge to Numbered Memo               a plaintiff must also make a “clear showing that it is likely
2020-23.                                                           to be irreparably harmed absent preliminary relief” in order
                                                                   to obtain a preliminary injunction. UBS Fin. Servs. Inc. v.
If the General Assembly believes that SBE's administrative         Carilion Clinic, 880 F. Supp. 2d 724, 733 (E.D. Va. 2012)
rules are inconsistent with its public policy goals, they are      (quoting Real Truth About Obama, Inc. v. Fed. Election
empowered to pass legislation which overturns the practice         Comm'n, 575 F.3d 342, 347 (4th Cir. 2009)). Further, an
permitted under the administrative rule.                           injury is typically deemed irreparable if monetary damages
                                                                   are inadequate or difficult to ascertain. See Multi-Channel TV
                                                                   Cable Co. v. Charlottesville Quality Cable Operating Co., 22
iv. Postmark Requirement Changes                                   F.3d 546, 551 (4th Cir. 1994), abrogated on other grounds by
                                                                   Winter, 555 U.S. at 22, 129 S.Ct. 365. “Courts routinely deem
Similarly, this court finds that Plaintiffs have failed to         restrictions on fundamental voting rights irreparable injury.”
establish likelihood of success on the merits with respect to      League of Women Voters of N.C. v. North Carolina, 769 F.3d
their Equal Protection challenge to the Postmark Requirement       224, 247 (4th Cir. 2014). “[O]nce the election occurs, there
Changes in Numbered Memo 2020-22. (Wise, 1:20CV912,                can be no do-over and no redress. The injury to these voters
Memo 2020-22 (Doc. 1-3).)                                          is real and completely irreparable if nothing is done to enjoin
                                                                   th[ese] law[s].” Id.
Under Numbered Memo 2020-22, a ballot will be considered
postmarked by Election Day if it has a USPS postmark, there        The court therefore finds Plaintiffs have demonstrated a
is information in BallotTrax, or “another tracking service         likelihood of irreparable injury regarding the Equal Protection
offered by the USPS or a commercial carrier, indicat[es] that



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challenges to the Witness Requirement and the Receipt              In this case, there are two SBE revisions where this court has
Deadline Extension.                                                found that Plaintiffs are likely to succeed on the merits. First,
                                                                   the Witness Requirement Cure Procedure, which determines
                                                                   whether SBE will send the voter a cure certification or
                                                                   spoil the ballot and issue a new one. This court has, on
5. Balance of Equities
                                                                   separate grounds, already enjoined the Witness Requirement
The third factor in determining whether preliminary relief         Cure Procedure in Democracy North Carolina v. North
is appropriate is whether the plaintiff demonstrates “that the     Carolina State Board of Elections, No. 1:20CV457, 2020
balance of equities tips in his favors.” Winter, 555 U.S. at 20,   WL 6058048 (M.D.N.C. Oct. 14, 2020) (enjoining witness
129 S.Ct. 365.                                                     cure procedure). Thus, the issue of injunctive relief on the
                                                                   Witness Requirement Cure Procedure is moot at this time.
The Supreme Court's decision in Purcell v. Gonzalez, 549           Nevertheless, in the absence of relief in Democracy, it seems
U.S. 1, 127 S.Ct. 5, 166 L.Ed.2d 1 (2006), urges that this         likely that SBE's creation of “preferred class[es] of voters”,
court should issue injunctive relief as narrowly as possible.      Gray, 372 U.S. at 380, 83 S.Ct. 801, with elimination of the
The Supreme Court has made clear that “lower federal courts        witness requirement and the cure procedure could merit relief
should ordinarily not alter the election rules on the eve of       in this case.
an election,” Republican Nat'l Comm. v. Democratic Nat'l
Comm., 589 U.S. ––––, ––––, 140 S. Ct. 1205, 1207, 206              *23 Ripe for this court's consideration is the Receipt
L.Ed.2d 452 (2020) (per curiam), as a court order affecting        Deadline Extension, which contradicts state statutes
election rules will progressively increase the risk of “voter      regarding when a ballot may be counted. Ultimately, this
confusion” as “an election draws closer.” Purcell, 549 U.S. at     court will decline to enjoin the Receipt Deadline Extension,
4-5, 127 S.Ct. 5; see also Texas All. for Retired Americans        in spite of its likely unconstitutionality and the potential for
v. Hughs, ––– F.3d ––––, ––––, 2020 WL 5816887, at *2              irreparable injury. The Purcell doctrine dictates that this court
(5th Cir. Sept. 30, 2020) (“The principle ... is clear: court      must “ordinarily” refrain from interfering with election rules.
changes of election laws close in time to the election are         Republican Nat'l Comm., 140 S. Ct. at 1207. These issues may
strongly disfavored.”). This year alone, the Purcell doctrine of   be taken up by federal courts after the election, or at any time
noninterference has been invoked by federal courts in cases        in state courts and the legislature. However, in the middle of
involving witness requirements and cure provisions during          an election, less than a month before Election Day itself, this
COVID-19, Clark v. Edwards, Civil Action No. 20-283-SDD-           court cannot cause “judicially created confusion” by changing
RLB, ––– F.Supp.3d ––––, –––– – ––––, 2020 WL 3415376,             election rules. Id. Accordingly, this court declines to impose a
at *1-2 (M.D. La. June 22, 2020); the implementation of an         preliminary injunction because the balance of equities weighs
all-mail election plan developed by county election officials,     heavily against such an injunction.
Paher v. Cegavske, 2020 WL 2748301, at *1, *6 (D. Nev.
2020); and the use of college IDs for voting, Common Cause
                                                                      E. Plaintiffs’ Electors Clause and Elections Clause
v. Thomsen, No. 19-cv-323-JDP, 2020 WL 5665475, at *1
                                                                      Claims
(W.D. Wis. Sept. 23, 2020) – just to name a few.
                                                                   As an initial matter, this court will address the substantive
                                                                   issues of the Electors Clause and the Elections Clause
Purcell is not a per se rejection of any injunctive relief close
                                                                   together. The Electors Clause of the U.S. Constitution
to an election. However, as the Supreme Court's restoration of
                                                                   requires “[e]ach State shall appoint, in such Manner as the
the South Carolina witness requirement last week illustrates,
                                                                   Legislature thereof may direct, a Number of Electors” for
a heavy thumb on the scale weighs against changes to voting
                                                                   President. U.S. Const. art. II, § 1, cl. 2. Plaintiffs in Wise
regulations. Andino v. Middleton, ––– U.S. ––––, ––– S.Ct.
                                                                   argue that, in order to “effectuate” this Electors requirement,
––––, ––– L.Ed.2d ––––, 2020 WL 5887393, at *1 (Oct.
                                                                   “the State must complete its canvas of all votes cast by three
5, 2020) (Kavanaugh, J., concurring) (“By enjoining South
                                                                   weeks after the general election” under N.C. Gen. Stat. §
Carolina's witness requirement shortly before the election, the
                                                                   163-182.5(c). (Wise Pls.’ Mot. (Doc. 43) at 15.) Plaintiffs
District Court defied [the Purcell] principle and this Court's
                                                                   argue that (1) the extension of the ballot receipt deadline
precedents.”).
                                                                   and (2) the changing of the postmark requirement “threaten
                                                                   to extend the process and threaten disenfranchisement,” as



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North Carolina “must certify its electors by December 14 or       suffered “immediate and irreparable harm”, (Wise Compl.
else lose its voice in the Electoral College. (Id.)               (Doc. 1) ¶¶ 100, 109), this does not establish standing for their
                                                                  Elections Clause claim or Electors Clause claim. See Corman
The meaning of “Legislature” within the Electors Clause can       v. Torres, 287 F. Supp. 3d 558, 573 (M.D. Pa. 2018) (“[T]he
be analyzed in the same way as “Legislature” within the           Elections Clause claims asserted in the verified complaint
Elections Clause. For example,                                    belong, if they belong to anyone, only to the ... General
                                                                  Assembly.”). The Supreme Court has already held that a
  As an initial matter, the Court finds no need to distinguish    private citizen does not have standing to bring an Elections
  between the term ‘Legislature’ as it is used in the             Clause challenge without further, more particularized harms.
  Elections Clause as opposed to the Electors Clause.             See Lance, 549 U.S. at 441-42, 127 S.Ct. 1194 (“The only
  Not only were both these clauses adopted during the             injury [private citizen] plaintiffs allege is that ... the Elections
  1787 Constitutional Convention, but the clauses share a         Clause ... has not been followed. This injury is precisely
  “considerable similarity.                                       the kind of undifferentiated, generalized grievance about the
                                                                  conduct of government that we have refused to countenance
     ....
                                                                  in the past.”). Plaintiffs allege no such extra harms, and in
   ... [T]he Court finds that the term “Legislature” is used in   fact, do not speak to standing in their brief at all.
   a sufficiently similar context in both clauses to properly
   afford the term an identical meaning in both instances.
Donald J. Trump for President, Inc. v. Bullock, No. CV 20-66-     ii. Standing in Moore
H-DLC, ––– F.Supp.3d ––––, ––––, 2020 WL 5810556, at
*11 (D. Mont. Sept. 30, 2020). Nor do Plaintiffs assert any        *24 In Moore, both Plaintiff Moore and Plaintiff Berger
difference in the meaning they assign to “Legislature” and its    are leaders of chambers in the General Assembly. The
authority between the two Clauses.                                Plaintiffs allege harm stemming from SBE flouting the
                                                                  General Assembly's institutional authority. (Wise Pls.’ Mot.
This court finds that all Plaintiffs lack standing under either   (Doc. 43) at 16.) However, as Proposed Intervenors NC
Clause. The discussion infra of the Elections Clause applies      Alliance argue, “a subset of legislators has no standing to
equally to the Electors Clause.                                   bring a case based on purported harm to the Legislature as
                                                                  a whole.” (Alliance Resp. (Doc. 64) at 15.) The Supreme
                                                                  Court has held that legislative plaintiffs can bring Elections
                                                                  Clause claims on behalf of the legislature itself only if they
1. Elections Clause
                                                                  allege some extra, particularized harm to themselves – or
                                                                  some direct authority from the whole legislative body to bring
a. Standing                                                       the legal claim. Specifically, the Supreme Court found a lack
                                                                  of standing where “[legislative plaintiffs] have alleged no
The Elections Clause standing analysis differs in Moore           injury to themselves as individuals”; where “the institutional
and Wise, though this court ultimately arrives at the same        injury they allege is wholly abstract and widely disperse”; and
conclusion in both cases.                                         where the plaintiffs “have not been authorized to represent
                                                                  their respective Houses of Congress in this action.” Raines v.
                                                                  Byrd, 521 U.S. 811, 829, 117 S.Ct. 2312, 138 L.Ed.2d 849
i. Standing in Wise                                               (1997).

In Wise, Plaintiffs are private parties clearly established by    An opinion in a very similar case in the Middle District of
Supreme Court precedent to have no standing to contest            Pennsylvania is instructive:
the Elections Clause in this manner. Plaintiffs are individual
voters, a campaign committee, national political parties, and       [T]he claims in the complaint rest solely on the purported
two Members of the U.S. House of Representatives. Even              usurpation of the Pennsylvania General Assembly's
though Plaintiffs are part of the General Assembly, they bring      exclusive rights under the Elections Clause of the United
their Elections Clause claim alleging an institutional harm to      States Constitution. We do not gainsay that these [two]
the General Assembly. Though the Plaintiffs claim to have           Senate leaders are in some sense aggrieved by the



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   Pennsylvania Supreme Court's actions. But that grievance
   alone does not carry them over the standing bar. United           *25 Thus, even Plaintiff Moore and Plaintiff Berger
   States Supreme Court precedent is clear — a legislator           lack standing to proceed with the Elections Clause claim.
   suffers no Article III injury when alleged harm is borne         Nonetheless, this court will briefly address the merits as well.
   equally by all members of the legislature.
Corman, 287 F. Supp. 3d at 567. In the instant case, the two
members of the legislature do not allege individual injury. The
                                                                    2. Merits of Elections Clause Claim
institutional injury they allege is dispersed across the entire
General Assembly. The crucial element, then, is whether
Moore and Berger are authorized by the General Assembly to          a. The ‘Legislature’ May Delegate to SBE
represent its interests. The General Assembly has not directly
                                                                    The Elections Clause of the U.S. Constitution states that the
authorized Plaintiffs to represent its interests in this specific
                                                                    “Times, Places, and Manner of holding Elections for Senators
case. See Ariz. State Legislature v. Ariz. Indep. Redistricting
                                                                    and Representatives, shall be prescribed in each State by the
Comm'n, 576 U.S. 787, 802, 135 S.Ct. 2652, 192 L.Ed.2d
                                                                    Legislature thereof.” U.S. Const. art. I, § 4, cl. 1. Plaintiffs
704 (2015) (finding plaintiff “[t]he Arizona Legislature” had
                                                                    assert that the General Assembly instituted one such time/
standing in an Elections Clause case only because it was
                                                                    place/manner rule regarding the election by passing H.B.
“an institutional plaintiff asserting an institutional injury”
                                                                    1169. Therefore, Plaintiffs argue, SBE “usurped the General
which “commenced this action after authorizing votes in
                                                                    Assembly's authority” when it “plainly modif[ied]” what the
both of its chambers”). Moore and Berger argued the general
                                                                    General Assembly had implemented. (Wise Pls.’ Mot. (Doc.
authorization in N.C. Gen. Stat. Section 120-32.6(b), which
                                                                    43) at 14.)
explicitly authorizes them to represent the General Assembly
“[w]henever the validity or constitutionality of an act of the
                                                                    The Elections Clause certainly prevents entities other than the
General Assembly or a provision of the Constitution of North
                                                                    legislature from unilaterally tinkering with election logistics
Carolina is the subject of an action in any State or federal
                                                                    and procedures. However, Plaintiffs fail to establish that the
court.” N.C. Gen. Stat. § 120-32.6(b). The text of § 120-32.6
                                                                    Elections Clause forbids the legislature itself from voluntarily
references N.C. Gen. Stat. § 1-72.2, which further specifies
                                                                    delegating this authority. The “Legislature” of a state may
that Plaintiffs will “jointly have standing to intervene on
                                                                    constitutionally delegate the power to implement election
behalf of the General Assembly as a party in any judicial
                                                                    rules – even rules that may contradict previously enacted
proceeding challenging a North Carolina statute or provision
                                                                    statutes.
of the North Carolina Constitution.” (emphasis added).

                                                                    State legislatures historically have the power and ability
Neither statute, however, authorizes them to represent the
                                                                    to delegate their legislative authority over elections and
General Assembly as a whole when acting as plaintiffs
                                                                    remain in compliance with the Elections Clause. Ariz.
in a case such as this one. See N.C. State Conference
                                                                    State Legislature, 576 U.S. at 816, 135 S.Ct. 2652
of NAACP v. Berger, 970 F.3d 489, 501 (4th Cir. 2020)
                                                                    (noting that, despite the Elections Clause, “States retain
(granting standing to Moore and Berger in case where
                                                                    autonomy to establish their own governmental processes”).
North Carolina law was directly challenged, distinguishing
                                                                    Here, the North Carolina General Assembly has delegated
“execution of the law” from “defense of a challenged act”).
                                                                    some authority to SBE to contravene previously enacted
The facts of this case do not match up with this court's
                                                                    statutes, particularly in the event of certain “unexpected
prior application of N.C. Gen. Stat. § 1-72.2, which has
                                                                    circumstances.” (SBE Resp. (Doc. 65) at 15.)
been invoked where legislators defend the constitutionality
of legislation passed by the legislature when the executive
                                                                    The General Assembly anticipated that SBE may need to
declines to do so. See Fisher-Borne v. Smith, 14 F. Supp.
                                                                    implement rules that would contradict previously enacted
3d 699, 703 (M.D.N.C. 2014). Furthermore, to the extent
                                                                    statutes. See N.C. Gen. Stat. § 163-27.1(a) (“In exercising
Plaintiffs Moore and Berger disagree with the challenged
                                                                    those emergency powers, the Executive Director shall
provisions of the Consent Judgment, they have not alleged
                                                                    avoid unnecessary conflict with the provisions of this
they lack the authority to bring the legislature back into
                                                                    Chapter.” (emphasis added)). Plaintiffs claim that “[t]he
session to negate SBE's exercise of settlement authority. See
                                                                    General Assembly could not, consistent with the Constitution
N.C. Gen. Stat. § 163-22.2.
                                                                    of the United States, delegate to the Board of Elections the


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power to suspend or re-write the state's election laws.” (Wise        the Voting Rights Act of 1965 and such ruling adversely
Compl. (Doc. 1) ¶ 97.) This would mean that the General               affects the conduct and holding of any pending primary or
Assembly could not delegate any emergency powers to SBE.              election, the State Board of Elections shall have authority to
For example, if a hurricane wiped out all the polling places in       make reasonable interim rules and regulations with respect
North Carolina, Plaintiffs’ reading of the Constitution would         to the pending primary or election as it deems advisable
prohibit the legislature from delegating to SBE any power             so long as they do not conflict with any provisions of
to contradict earlier state law regarding election procedures.        this Chapter 163 of the General Statutes and such rules
(See SBE Resp. (Doc. 65) at 15).                                      and regulations shall become null and void 60 days
                                                                      after the convening of the next regular session of the
As courts have adopted a broad understanding of                       General Assembly. The State Board of Elections shall
“Legislature” as written in the Elections Clause, see Corman,         also be authorized, upon recommendation of the Attorney
287 F. Supp. 3d at 573, it follows that a valid delegation            General, to enter into agreement with the courts in lieu
from the General Assembly allowing SBE to override the                of protracted litigation until such time as the General
General Assembly in certain circumstances would not be                Assembly convenes.
unconstitutional. See Donald J. Trump for President, –––           N.C. Gen. Stat. § 163-22.2. While the authority delegated
F.Supp.3d at ––––, 2020 WL 5810556, at *12 (finding that           under this statute is broad, it limits SBE's powers to
the legislature's “decision to afford” the Governor certain        implementing rules that “do not conflict with any provisions
statutory powers to alter the time/place/manner of elections       of this Chapter.” Moreover, this power appears to exist only
was legitimate under the Elections Clause).                        “until such time as the General Assembly convenes.” Id. By
                                                                   eliminating the witness requirement, SBE implemented a rule
                                                                   that conflicted directly with the statutes enacted by the North
                                                                   Carolina legislature.
b. Whether SBE Exceeded Legitimate Delegated Powers

 *26 The true question becomes, then, whether SBE was              Moreover, SBE's power to “enter into agreement with
truly acting within the power legitimately delegated to            the courts in lieu of protracted litigation” is limited by
it by the General Assembly. Even Proposed Intervenors              the language “until such time as the General Assembly
NC Alliance note that SBE's actions “could ... constitute          convenes.” Id. Plaintiffs appear to have a remedy to what they
plausible violations of the Elections Clause if they               contend is an overreach of SBE authority by convening.
exceeded the authority granted to [SBE] by the General
Assembly.” (Alliance Resp. (Doc. 64) at 19.)
                                                                   ii. SBE's Power to Override the Legislature in an
SBE used two sources of authority to enter into the Consent        Emergency
Agreement changing the laws and rules of the election process
after it had begun: N.C. Gen. Stat. § 163-22.2 and § 163-27.1.     Second, Defendants rely upon N.C. Gen. Stat. § 163-27.1.
                                                                   That statute provides:

                                                                     (a) The Executive Director, as chief State elections official,
i. SBE's Authority to Avoid Protracted Litigation                    may exercise emergency powers to conduct an election
                                                                     in a district where the normal schedule for the election is
First, this court finds that, while N.C. Gen. Stat. § 163-22.2
                                                                     disrupted by any of the following:
authorizes agreements in lieu of protracted litigation, it does
not authorize the extensive measures taken in the Consent               (1) A natural disaster.
Agreement:
                                                                        (2) Extremely inclement weather.
  In the event any portion of Chapter 163 of the General
  Statutes or any State election law or form of election of any         (3) An armed conflict involving Armed Forces of the
  county board of commissioners, local board of education,              United States, or mobilization of those forces, including
  or city officer is held unconstitutional or invalid by a State        North Carolina National Guard and reserve components
  or federal court or is unenforceable because of objection             of the Armed Forces of the United States.
  interposed by the United States Justice Department under



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N.C. Gen. Stat. § 163-27.1(a)(1-3). As neither (a)(2) or (3)
apply, the parties agree that only (a)(1), a natural disaster, is at           (C) Storm or snowstorm;
issue in this case. On March 10, 2020, the Governor of North
                                                                               (D) Flood;
Carolina declared a state of emergency as a result of the spread
of COVID-19. N.C. Exec. Order No. 116 (March 10, 2020).                        (E) Tidal wave or tsunami;
Notably, the Governor did not declare a disaster pursuant to
N.C. Gen. Stat. § 166A-19.21. Instead, on March 25, 2020, it                   (F) Earthquake or volcanic eruption;
was the President of the United States who declared a state of
                                                                               (G) Landslide or mudslide; or
disaster existed in North Carolina:
                                                                                (H) Catastrophe arising from natural causes resulted
    *27 I have determined that the emergency conditions in
                                                                                and resulting in a disaster declaration by the President
   the State of North Carolina resulting from the Coronavirus
                                                                                of the United States or the Governor. Governor, a
   Disease 2019 (COVID-19) pandemic beginning on January
                                                                                national emergency declaration by the President of
   20, 2020, and continuing, are of sufficient severity and
                                                                                the United States, or a state of emergency declaration
   magnitude to warrant a major disaster declaration under
                                                                                issued under G.S. 166A-19.3(19). “Catastrophe
   the Robert T. Stafford Disaster Relief and Emergency
                                                                                arising from natural causes” includes a disease
   Assistance Act, 42 U.S.C. 5121 et seq. (the “Stafford Act”).
                                                                                epidemic or other public health incident. The disease
   Therefore, I declare that such a major disaster exists in the
                                                                                epidemic or other public health incident must make
   State of North Carolina.
                                                                                [that makes ] it impossible or extremely hazardous
Notice, North Carolina; Major Disaster and Related
                                                                                for elections officials or voters to reach or otherwise
Determinations, 85 Fed. Reg. 20701 (Mar. 25, 2020)
                                                                                access the voting [place or that creates ] place, create
(emphasis added). The President cited the Stafford Act as
                                                                                a significant risk of physical harm to persons in the
justification for declaring a major disaster. See 42 U.S.C.
                                                                                voting place, or [that ] would otherwise convince a
§ 5122(2). Notably, neither the Governor's Emergency
                                                                                reasonable person to avoid traveling to or being in a
Proclamation nor the Presidential Proclamation identified
                                                                                voting place.
COVID-19 as a natural disaster.
                                                                       https://files.nc.gov/ncoah/documents/Rules/RRC/06182020-
                                                                       Follow-up-Tab-B-Board-of-Elections.pdf at 5 (proposed
On March 12, 2020, the Executive Director of SBE, Karen
                                                                       changes in strikethroughs, or underline.) Shortly after
Brinson Bell (“Bell”), crafted an amendment to SBE's
                                                                       submitting the rule change, effective March 20, 2020, SBE
Emergency Powers rule. Bell's proposed rule change provided
                                                                       declared COVID-19 a natural disaster, attempting to invoke
as follows:
                                                                       its authority under the Emergency Powers Statute, § 163-27.1.
  (a) In exercising his or her emergency powers and                    However, the Rules Review Commission subsequently
  determining whether the “normal schedule” for the election           unanimously rejected Bell's proposed rule change, finding in
  has been disrupted in accordance with G.S. 163A-750 ,                part that there was a “lack of statutory authority as set forth
  163-27.1, the Executive Director shall consider whether              in G.S. 150B-21.9(a)(1),” and more specifically, that “the
  one or more components of election administration has                [SBE] does not have the authority to expand the definition
  been impaired. The Executive Director shall consult                  of ‘natural disaster’ as proposed.” North Carolina Office
  with State Board members when exercising his or her                  of Administrative Hearings, Rules Review Commission
  emergency powers if feasible given the circumstances set             Meeting Minutes (May 21, 2020), at 4 https://files.nc.gov/
  forth in this Rule.                                                  ncoah/Minutes-May-2020.pdf.

  (b) For the purposes of G.S. 163A-750 , 163-27.1, the                In a June 12, 2020 letter, the Rules Review Commission
  following shall apply:                                               Counsel indicated that Bell had responded to the
                                                                       committee's findings by stating “that the agency will not
  (1) A natural disaster or extremely inclement weather
                                                                       be submitting a new statement or additional findings,”
  include a: any of the following:
                                                                       and, as a result, “the Rule [was] returned” to the agency.
        (A) Hurricane;                                                 Letter re: Return of Rule 08 NCAC 01.0106 (June
                                                                       12, 2020) at 1 https://files.nc.gov/ncoah/documents/Rules/
        (B) Tornado;                                                   RRC/06182020-Follow-up-Tab-B-Board-of-Elections.pdf.



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Despite the Rules Review Commission's rejection of Bell's           unnecessary conflict with the provisions of this chapter, this
proposed changes, on July 17, 2020, Bell issued an                  chapter being Chapter 163 of the election laws.
Emergency Order with the following findings:                     (Democracy N. Carolina, No. 1:20CV457, Evidentiary Hr'g
                                                                 Tr. vol. 3 (Doc. 114) at 109.) This court agrees with
   *28 18. N.C. Gen. Stat. § 163-27.1 and 08 NCAC                the Rules Review Commission: re-writing the definition of
  01. 0106 authorize me to exercise emergency powers to          “natural disaster” is outside SBE's rulemaking authority. N.C.
  conduct an election where the normal schedule is disrupted     Gen. Stat. § 163-27.1(a)(1) limits the Executive Director's
  by a catastrophe arising from natural causes that has          emergency powers to those circumstances where “the normal
  resulted in a disaster declaration by the President of the     schedule for the election is disrupted by any of the following:
  United States or the Governor, while avoiding unnecessary
                                                                 (1) A natural disaster.”7
  conflict with the laws of North Carolina. The emergency
  remedial measures set forth here are calculated to offset
                                                                 7        Notably, Bell makes no finding as to whether this is a
  the nature and scope of the disruption from the COVID-19
  disaster.                                                               Type I, II, or III Declaration of Disaster, which would in
                                                                          turn limit the term of the Disaster Declaration. See, e.g.,
   19. Pursuant to N.C. Gen. Stat. § 163-27.1 and 08                      N.C. Gen. Stat. § 166A-19.21.
   NCAC 01. 0106(a) and (b), and after consultation with         Nor does the President's major disaster proclamation define
   the State Board, I have determined that the COVID-19          COVID-19 as a “natural disaster” – at least not as
   health emergency is a catastrophe arising from natural        contemplated by the state legislature when § 163-27.1 (or its
   causes — i.e., a naturally occurring virus — resulting        predecessor, § 163A-750) was passed. To the contrary, the
   in a disaster declaration by the President of the United      Emergency Powers are limited to an election “in a district
   States and a declaration of a state of emergency by the       where the normal schedule for the election is disrupted.” N.C.
   Governor, and that the disaster has already disrupted and     Gen. Stat. § 163-27.1(a). Nothing about COVID-19 disrupts
   continues to disrupt the schedule and has already impacted    the normal schedule for the election as might be associated
   and continues to impact multiple components of election       with hurricanes, tornadoes, or other natural disasters.
   administration.
(Democracy N. Carolina, No. 1:20CV457 (Doc. 101-1) ¶¶
18-19.) This directly contradicted the Rules Commission's
                                                                 (a) Elimination of the Witness Requirement
finding that such a change was outside SBE's authority.
In keeping with Bell's actions, the State failed to note in      Finally, even if, as SBE argues, it had the authority to enter
argument before this court that Bell's proposal had been         into a Consent Agreement under its emergency powers, it
rejected explicitly because SBE lacked statutory authority       did not have the power to contradict statutory authority by
to exercise its emergency powers. In fact, at the close of       eliminating the witness requirement. See N.C. Gen. Stat.
a hearing before this court, the State made the following        § 163-27.1(a) (“In exercising those emergency powers, the
arguments:                                                       Executive Director shall avoid unnecessary conflict with
                                                                 the provisions of this Chapter.”) (emphasis added). The
  but the Rules Review Commission declined to let it go
                                                                 legislature implemented a witness requirement and SBE
  forward as a temporary rule, I think I'm remembering this
                                                                 removed that requirement. This is certainly an unnecessary
  right, without stating why. But it did not go through.
                                                                 conflict with the legislature's choices.
  In the meantime, the president had declared a state of
  national -- natural disaster declaration. The president had     *29 By the State's own admission, any ballots not subject to
  declared a disaster declaration, so under the existing rule,   witnessing would be unverified. The State of North Carolina
  the powers kicked into place.                                  argued as much in urging this court to uphold the one-witness
                                                                 requirement:
     ....
                                                                     As Director Bell testified, it is a basic bedrock principle
  And the statute that does allow       her to make      those       of elections that you have some form of verifying that the
  emergency decisions says in it,       in exercising    those       voter is who they say they are; voter verification. As she
  emergency decisions says in it,       in exercising    those       said, when a voter comes into the poll, whether that is on
  emergency powers, the Executive       Director shall   avoid       election day proper or whether it is by –


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     ....                                                          SBE argues that this court does not have authority to address
                                                                   how this switch contradicted state law and went outside its
  Obviously, you can't do that when it is an absentee ballot.
                                                                   validly delegated emergency powers. This is a state law issue,
  Because you don't see the voter, you can't ask the questions.
                                                                   as the dispute is over the extent of the Executive Director's
  So the witness requirement, the purpose of it is to have
                                                                   authority as granted to her by the North Carolina Legislature.
  some means that the person who sent me this is the person
                                                                   The State claims that, since a North Carolina Superior Court
  -- the person who has sent this absentee ballot is who they
                                                                   Judge has approved this exercise of authority, this court is
  say they are. That's the purpose of the witness requirement.
                                                                   obligated to follow that state court judgment. (SBE Resp.
  The witness is witnessing that they saw this person, and
                                                                   (Doc. 65) at 16.)
  they know who they are, that they saw this person fill out
  the ballot and prepare the ballot to mail in. And that is the
                                                                    *30 However, when the Supreme Court of a state has not
  point of it.
                                                                   spoken, federal courts must predict how that highest court
  And, as Director Bell testified, I mean, we've heard a lot       would rule, rather than automatically following any state
  from the Plaintiffs about how many states do not have            court that might have considered the question first. See Doe v.
  witness requirements. And that is true, that the majority        Marymount Univ., 297 F. Supp. 3d 573, 590 (E.D. Va. 2018)
  of states, I think at this point, do not have a witness          (“[F]ederal courts are not bound to follow state trial court
  requirement.                                                     decisions in exercising their supplemental jurisdiction.”). The
                                                                   Fourth Circuit has addressed this issue directly in diversity
  But as Director Bell testified, they're going to have one        jurisdiction contexts as well:
  of two things. They're going to either have the witness
  requirement, or they're going to have a means of verifying          a federal court sitting in diversity is not bound by a state
  the signature ....                                                  trial court's decision on matters of state law. In King
                                                                      v. Order of United Commercial Travelers of America,
  One thing -- and I think that is unquestionably an important        333 U.S. 153, 68 S. Ct. 488, 92 L. Ed. 608 (1948),
  State interest. Some means of knowing that this ballot that         the Supreme Court upheld the Fourth Circuit's refusal to
  says it came from Alec Peters actually is from Alec Peters,         follow an opinion issued by a state trial court in a South
  because somebody else put their name down and said, yes,            Carolina insurance case. The Court concluded, “a Court of
  I saw Alec Peters do this. I saw him fill out this ballot.          Common Pleas does not appear to have such importance
                                                                      and competence within South Carolina's own judicial
  Otherwise, we have no way of knowing who the ballot --              system that its decisions should be taken as authoritative
  whether the ballot really came from the person who voted.           expositions of that State's ‘law.’ ” Id. at 161, 68 S. Ct. 488.
  It is there to protect the integrity of the elections process,   Twin City Fire Ins. Co. v. Ben Arnold-Sunbelt Beverage Co.
  but it is also there to protect the voter, to make sure that
                                                                   of S.C., 433 F.3d 365, 370 (4th Cir. 2005). In other words,
  the voter knows -- everybody knows that the voter is who         this court's job is to predict how the Supreme Court of North
  they say they are, and so that somebody else is not voting       Carolina would rule on the disputed state law question. Id. at
  in their place.                                                  369 (“If the Supreme Court of [North Carolina] has spoken
                                                                   neither directly nor indirectly on the particular issue before
   Additionally, it is a tool for dealing with voter fraud.
                                                                   us, [this court is] called upon to predict how that court would
(Democracy N. Carolina, No. 1:20CV457, Evidentiary Hr'g
                                                                   rule if presented with the issue.”)(quotation omitted); Carter
Tr. vol. 3 (Doc. 114) at 111-12.) In this hearing, the State
                                                                   v. Fid. Life Ass'n, 339 F. Supp. 3d 551, 554 (E.D.N.C.), aff'd,
continued on to note that “there needs to be some form of
                                                                   740 F. App'x 41 (4th Cir. 2018) (“Accordingly, the court
verification of who the voter is,” which can “either be through
                                                                   applies North Carolina law, and the court must determine
a witness requirement or ... through signature verification,”
                                                                   how the Supreme Court of North Carolina would rule.”).
but “it needs to be one or the other.” (Id. at 115-16.)
                                                                   In predicting how the North Carolina Supreme Court might
Losing the witness requirement, according to the State, would
                                                                   decide, this court “consider[s] lower court opinions in [North
mean having “no verification.” (Id. at 116.) Contravening a
                                                                   Carolina], the teachings of treatises, and the practices of other
legislatively implemented witness requirement and switching
                                                                   states.” Twin City Fire Ins. Co., 433 F.3d at 369. This court
to a system of “no verification,” (id.), was certainly not a
                                                                   “follow[s] the decision of an intermediate state appellate court
necessary conflict under § 163-27.1(a).
                                                                   unless there is persuasive data that the highest court would


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                                                                  be enjoined. Nevertheless, under Purcell and recent Supreme
decide differently.” Town of Nags Head v. Toloczko, 728 F.3d
                                                                  Court orders relating to Purcell, this court is of the opinion
391, 397-98 (4th Cir. 2013).
                                                                  that it is required to find that injunctive relief should be
                                                                  denied at this late date, even in the face of what appear to
In all candor, this court cannot conceive of a more problematic
                                                                  be clear violations. For the foregoing reasons, this court finds
conflict with the provisions of Chapter 163 of the North
                                                                  that in Moore v. Circosta, No. 1:20CV911, Plaintiffs’ Motion
Carolina General Statutes than the procedures implemented
                                                                  for Preliminary Injunction should be denied. This court also
by the Revised 2020-19 memo and the Consent Order.
                                                                  finds that in Wise v. N. Carolina State Bd. of Elections, No.
Through this abandonment of the witness requirement, some
                                                                  1:20CV912, the Plaintiffs’ Motion to Convert the Temporary
class of voters will be permitted to submit ballots with
                                                                  Restraining Order into a Preliminary Injunction should be
no verification. Though SBE suggests that its “cure” is
                                                                  denied.
sufficient to protect against voter fraud, the cure provided
has few safeguards: it asks only if the voter “voted” with no
                                                                   *31 IT IS THEREFORE ORDERED that Plaintiffs’
explanation of the manner in which that vote was exercised.
                                                                  Motion for Preliminary Injunction in Moore v. Circosta, No.
(Moore v. Circosta, No. 1:20CV911, State Court Consent
Judgment (Doc. 45-1) at 34.) This court believes this is in       1:20CV911, (Doc. 60), is DENIED.
clear violation of SBE's powers, even its emergency powers
                                                                  IT IS FURTHER ORDERED that Plaintiffs’ Motion to
under N.C. Gen. Stat. § 163-27.1(a). However, none of this
                                                                  Convert the Temporary Restraining Order into a Preliminary
changes the fact that Plaintiffs in both Wise and Moore lack
                                                                  Injunction in Wise v. N. Carolina State Bd. of Elections, No.
standing to challenge the legitimacy of SBE's election rule-
                                                                  1:20CV912, (Doc. 43), is DENIED.
setting power under either the Elections Clause or the Electors
Clause.
                                                                  All Citations
III. CONCLUSION                                                   --- F.Supp.3d ----, 2020 WL 6063332
This court believes the unequal treatment of voters and the
resulting Equal Protection violations as found herein should

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                                                              injunction (“Second PI Motion”) (ECF No. 65). The AC
                                                              consists of four claims and materially rehashes the original
                 2020 WL 2748301
                                                              complaint except for the addition of more Plaintiffs and a
   Only the Westlaw citation is currently available.
                                                              new claim against a new Defendant—Joseph P. Gloria in
      United States District Court, D. Nevada.
                                                              his official capacity as the Registrar of Voters for Clark
                                                              County (“Clark Registrar”). (Compare ECF No. 1 with
   Stanley William PAHER, et al., Plaintiffs,
                                                              ECF No. 64.) The Second PI Motion is in gist largely a
                     v.                                       motion for reconsideration; albeit, it glaringly repackages
      Barbara CEGAVSKE, in her official                       old arguments to achieve a different disposition without
                                                              necessary justification. Plaintiffs' decision to bring the AC
          capacity as Nevada Secretary
                                                              at this late hour, as opposed to seeking expedited appellate
           of State, et al., Defendants.                      review of the Court's order (“PI Order”) regarding their
                                                              original motion for preliminary injunction (“First PI Motion”)
          Case No. 3:20-cv-00243-MMD-WGC                      (ECF No. 57), is confounding and contrary to their position
                           |                                  that a quick disposition of this matter is needed due to the
                  Signed 05/27/2020                           impending June 9, 2020 Nevada primary election (“June
                                                              Primary”) (see ECF Nos. 1, 2, 3, 4). Ultimately, Plaintiffs'
Attorneys and Law Firms
                                                              second proverbial bite at the apple is no more fruitful
James Bopp, Jr., Pro Hac Vice, Richard E. Coleson, Pro        than the first. And the new fourth claim challenging Clark
Hac Vice, Amanda Narog, Pro Hac Vice, Corrine Youngs,         County essentially making mail-in ballots more accessible
Pro Hac Vice, The Bopp Law Firm PC, Terre Haute, IN,          to registered voters is legally tenuous because Defendants
David C. O’Mara, The O’Mara Law Firm, P.C., Reno, NV, for     are not constitutionally prohibited from making voting easier.
Plaintiffs Stanley William Paher, Terresa Monroe-Hamilton,    The Court will deny the Second PI Motion for the reasons
Garry Hamilton.                                               below.1

Amanda Narog, Terre Haute, IN, David C. O’Mara, The
                                                              1      In addition to the Second PI Motion, the Court has
O’Mara Law Firm, P.C., Reno, NV, for Plaintiffs Daryl Bryon
                                                                     considered the various responses (ECF Nos. 72, 74, 75,
DeShaw, Mark Ecker, Gary Gladwill, Linda Barnett, Nevada
                                                                     78) and Plaintiffs' reply (ECF No. 80). Plaintiff filed
Right to Life.
                                                                     “Supplemental Authority” without seeking leave of court
                                                                     as required by LR 7-2(g). (ECF No. 243.) The document
Gregory Louis Zunino, Nevada State Attorney General's
                                                                     provides two references—a recent Sixth Circuit decision
Office, Craig A. Newby, Office of the Attorney General,
                                                                     and a 1969 Supreme Court decision. While Plaintiffs'
Carson City, NV, for Defendant Barbara Cegavske.
                                                                     failure to cite to the former is apparent since the decision
                                                                     was issued on May 26, 2020, Plaintiffs' reference to the
Herbert B. Kaplan, Reno, NV, for Defendant Deanna Spikula.
                                                                     latter is clearly an attempt to improperly augment their
Mary-Anne M. Miller, Clark County District Attorney, Las             arguments after briefing has completed. Regardless, the
Vegas, NV, for Defendant Clark County Registrar of Voters.           Court will strike the improper supplement.


                                                              II. BACKGROUND
                                                              The facts of this case have been largely recited in the Court's
ORDER
                                                              PI Order (ECF No. 57). The Court will not repeat the facts as
MIRANDA M. DU, CHIEF UNITED STATES DISTRICT                   previously stated here. Additional facts are taken from the AC
JUDGE                                                         (ECF No. 64) and exhibits attached thereto as well as other
                                                              evidence submitted concerning the Second PI Motion.
I. SUMMARY
 *1 The Court has already ruled in this case. See Paher.
et al. v. Cegavske, et al., No. 3:20-cv-00243-MMD-WGC,          A. The Parties
––– F. Supp. 3d ––––, 2020 WL 2089813 (D. Nev. Apr. 30,       As relevant to the Second PI Motion, the field of Plaintiffs
2020). But Plaintiffs then amended their complaint (“AC”)     and Defendants have expanded. As a reminder, the original
(ECF No. 64) and brought a new motion for preliminary         Plaintiffs are William Paher, Gary Hamilton, and Terresa


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Monroe-Hamilton. They previously sued only Nevada's                the Anderson-Burdick balancing test2; and (2) the Plan is
Secretary of State Barbara Cegavske (the “Secretary”) and          consistent with Nevada law because the Secretary has been
Deanna Spikula—Registrar of Voters for Washoe County               vested with the authority to implement it. (Id. at 10–22.) The
(“Washoe Registrar”).                                              Court also concluded that a balancing of the equities and the
                                                                   public interest weigh against the granting of an injunction. (Id.
The new individual plaintiffs are Daryl Byron DeShaw, Jeff         at 22–24.)
Ecker, Gary Gladwill, and Linda Barnett. All are eligible-
registered voters. DeShaw and Ecker intend to vote in person       2       Anderson v. Celebrezze, 460 U.S. 780, 788–89 (1983) &
while Gladwill and Barnet have already voted by mail.
                                                                           Burdick v. Takushi, 504 U.S. 428, 434 (1992).
Gladwill, who is a resident of Lyon County, is also a candidate
for county commissioner in that county. In addition to the         In the AC, Plaintiffs assert the following four claims: (1)
new individual plaintiffs, the entity Nevada Right to Life         the Plan violates the fundamental right to vote by direct
(“NVRTL”) is also included as a plaintiff. NVRTL advocates         disenfranchisement in violation of the First and Fourteenth
“for life in all of its stages and all ages” and have members,     Amendments of the United States Constitution; (2) the
who are eligible-registered voters “who intend to vote in the      Plan violates the fundamental right to vote by vote-dilution
coming primary but fear disenfranchisement.” (ECF No. 64           disenfranchisement in violation of the same; (3) the Plan
at 4.)                                                             violates Article I, Section 4, Clause 1 of the Constitution;
                                                                   and (4) Clark County's plan to send mail-in ballots to all
 *2 These Plaintiffs collectively sue the Secretary, the           registered voters and to allow for the collection of ballots
Washoe Registrar and the Clark Registrar (collectively,            (“Clark County's Plan” or “CC Plan”) violates the Fourteenth
“Defendants”). (Id. at 4–5.) Like the Washoe Registrar             Amendment's Equal Protection Clause.3 (ECF No. 64 at 20–
in Washoe County, the Clark Registrar is responsible for           25.) As to the CC Plan, Plaintiffs particularly highlight Clark
implementing the state's election laws in Clark County. (Id.)      County's plan to: (i) send absent ballots to inactive registered
                                                                   voters and, as reported, “allow a bipartisan group of deputized
                                                                   ‘field registrars’ to collect sealed ballots from voters”; and (ii)
   B. Relevant Facts                                               create more vote centers than other Nevada counties. (ECF
As provided in the PI Order, the impetus for Plaintiffs'           No. 64 at 2.)
lawsuit is to enjoin the implementation of the all-mail election
for the June Primary (“the Plan”). The Secretary developed         3       The header of the fourth claim broadly asserts that
the Plan in partnership with Nevada's 17 county election
                                                                           the Plan violates the Equal Protection Clause, but the
officials to diminish the spread of the novel coronavirus
                                                                           substance of the allegation is specifically concerned with
disease 2019 (“COVID-19”) pandemic. In the PI Order, the                   Clark County and the CC Plan. (See ECF No. 64 at 24–
Court summed up the original Plaintiffs' claims as largely                 25.)
contending that the Plan was inconsistent with Nevada
                                                                   The AC and the Second PI Motion, particularly as to the
law and violated the United States Constitution because it
                                                                   first three claims, are brought under the theory that the
is not “chosen” by Nevada's Legislature, and that an all-
                                                                   threats surrounding the spread of COVID-19 have diminished
mail election strips voter-fraud-prevention safeguards and
                                                                   and that current social distancing measures are adequate to
unconstitutionally violates Plaintiffs' right to vote due to
                                                                   respond to concerns about public health such that enjoining
purported vote dilution resulting in disenfranchisement. (See
                                                                   the Plan is now merited. (See id. at 14–17; ECF No. 65
ECF Nos. 1, 57.)
                                                                   at 2–3.) In so contending, Plaintiffs rely heavily on articles
                                                                   and/or information concerning other states—not Nevada—
In the PI Order, the Court concluded as a threshold matter that
                                                                   reopening, deciding not to allow vote by mail, and about
Plaintiffs lacked standing because they had not established
                                                                   COVID-19 cases allegedly having not spiked two weeks after
an injury particularized to them. (ECF No. 57 at 2, 8–10.)
The Court additionally found that Plaintiffs were unlikely to      the infamous Wisconsin primary.4 (Id.)
succeed on the merits of any of their claims chiefly because:
(1) Nevada's interests in protecting the health and safety of      4       See, e.g., D. Chen & J. Diedrich, Two weeks after
Nevada's voters and to safeguard the voting franchise are                  election, COVID-19 cases have not spiked in Wisconsin
compelling and longstanding interests that outweighed what                 but experts urge caution about conclusions, Milwaukee
amounts to Plaintiffs' preference for in-person voting under               J. Sentinel, Apr. 22, 2020, https://www.jsonline.com/



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       story/news/2020/04/22/covid-19-hasnt-spiked-after-               Emergency_Orders/2020/2020-05-07_-
       wisconsinelection-experts-urge-caution/2997394001/               _COVID-19_Declaration_of_Emergency_Directive_018_-
                                                                        _Phase_One_Reopening_(Attachments)/ (last visited
 *3 But not much has changed in Nevada since the Court
                                                                        May 26, 2020).
issued the PI Order. COVID-19 continues to present a threat
to public health. It is undisputed that the state continues      9      Id.
to grapple with protecting the public from COVID-19 and
                                                                 10     Id.; DeHaven supra.
remains under a declaration of state emergency.5 Nevada
is still in the initial stage of reopening—phase one—with
                                                                 III. LEGAL STANDARD
a recent announcement for phase two to start on May
                                                                 Federal Rule of Civil Procedure 65 governs preliminary
29, 2020.6 See id. Under Nevada's phase one guidelines,          injunctions. “ ‘An injunction is a matter of equitable
most business and entities remain closed and/or subject to       discretion’ and is ‘an extraordinary remedy that may only be
significant restrictions and local government and businesses     awarded upon a clear showing that the plaintiff is entitled to
are empowered to take even stricter social distancing            such relief.’ ” Earth Island Inst. v. Carlton, 626 F.3d 462,
guidelines than the statewide standards.7 Moreover, Nevada's     469 (9th Cir. 2010) (quoting Winter v. Natural Res. Def.
Governor, Steve Sisolak, continues to direct and “strongly       Council, 555 U.S. 7, 22, 32 (2008)). This relief is “never
encourage[ ]” Nevadans to stay home “[r]ecognizing that          awarded as of right.” Alliance for the Wild Rockies v. Cottrell
COVID-19 is still present in Nevada and highly contagious.”8     (“Alliance”), 623 F.3d 1127, 1131 (9th Cir. 2011). To qualify
“Nevadans are advised that they are safer at home and should     for a preliminary injunction, a plaintiff must satisfy four
avoid interpersonal contact with persons not residing in their   requirements: (1) a likelihood of success on the merits; (2)
                                                                 a likelihood of irreparable harm; (3) that the balance of
households to the extent practicable.”9 Public gatherings of
                                                                 equities favors the plaintiff; and (4) that the injunction is in
individuals not of the same household are limited to no more
                                                                 the public interest. See Winter, 555 U.S. at 20. A plaintiff
than ten, though the limit will be increased to 50 in phase
                                                                 may also satisfy the first and third prongs by showing serious
two.10 And Governor Sisolak has repeatedly cautioned that        questions going to the merits of the case and that a balancing
phased lifting of restrictions depends on Nevada achieving       of hardships tips sharply in plaintiff's favor. Alliance, 632
established virus containment benchmarks, the failure of         F.3d at 1135 (holding that the Ninth Circuit's “sliding scale”
which may lead to restrictions being imposed again as needed.    approach continues to be valid following the Winter decision).

5      See the Official State of Nevada Website, Emergency       On the merits-success prong, “the burdens at the preliminary
       Orders and Regulations, http://gov.nv.gov/News/           injunction stage track the burdens at trial.” Gonzales v. O
       Emergency_Orders/Emergency_Orders/ (last visited          Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418,
       May 25, 2020).                                            429 (2006); see also id. at 428 (citing Ashcroft v. ACLU, 542
6      See id.; James DeHaven, May 29 marks start
                                                                 U.S. 656, 666 (2004)).
       of Phase 2 in Nevada. Sisolak says ‘we'll
       remain cautious.’, Reno Gazette Journal, May
                                                                 IV. DISCUSSION
       26, 2020, https://www.rgj.com/story/news/2020/05/26/
       sisolak-nevadas-phase-2-reopening-begin-friday-bars-      Beyond the merits of the AC, the Court will deny the Second
       gyms-more/5264546002/.                                    PI Motion for three reasons: (1) lack of standing; (2) based on

7                                                                laches; and (3) under the Purcell11 principle.
       Steve   Sisolak,    Roadmap      to    Recovery    for
       Nevada, Guidelines and Protocols for Individuals
                                                                 11     Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam).
       and    Businesses,    http://gov.nv.gov/uploadedFiles/
       govnewnvgov/Content/News/
       Emergency_Orders/2020/0 18-Roadmap-to-Recovery-              A. Standing
       Phase-One-Initial-Guidance.pdf (last visited May 26,      The Court finds that Plaintiffs have not remedied their lack
       2020).                                                    of standing, which based on the PI Order and the Court's
8                                                                conclusions infra most directly concerns the instant first
       See the Official State of Nevada Website,
       Emergency Orders and Regulations, Declaration of
                                                                 three claims. “[T]he irreducible constitutional minimum of
       Emergency Directive 018, http://gov.nv.gov/News/          standing contains three elements.” Lujan v. Defs. of Wildlife,



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504 U.S. 555, 560 (1992). “The plaintiff must have (1)              that mail-in ballots are sent to Nevada voters without request
suffered an injury in fact, (2) that is fairly traceable to the     for an absentee ballot—and the claimed injury—direct
challenged conduct of the defendant, and (3) that is likely to      voter disenfranchisement or disenfranchisement through vote
be redressed by a favorable judicial decision.” Spokeo, Inc.        dilution (in sum, disenfranchisement).12
v. Robins, 136 S. Ct. 1540, 1547 (2016). The party invoking
federal jurisdiction must show that it has standing for each        12     Plaintiffs rely on numerous articles and studies to support
type of relief sought. Summers v. Earth Island Inst., 555 U.S.
                                                                           their contentions that voting by mail leads to voter
488, 493 (2009).
                                                                           fraud. (See ECF No. 65 at 6–8.) The articles and studies
                                                                           are simply insufficient to establish that sending mail-
 *4 A party may cure a standing defect by adding parties,                  in ballots to Nevada voters will result in voter fraud
removing parties, or supplementing the facts of a complaint                that particularly disenfranchises Plaintiffs as voters. Said
under Fed. R. Civ. P. 15. See, e.g., Northstar Fin. Advisors Inc.          differently, they do not meaningfully improve Plaintiffs'
v. Schwab Invs., 779 F.3d 1036, 1044–48 (9th Cir. 2015), as                burden to concretely establish voter fraud that harms
amended on denial of reh'g and reh'g en banc (Apr. 28, 2015),              them. Plaintiffs' contention that issues with mail delivery
In re Schugg, 688 F. App'x 477, 479–80 (9th Cir. 2017); cf.                to and from voters will lead to disenfranchisement based
Schreiber Foods, Inc. v. Beatrice Cheese, Inc., 402 F.3d 1198,             on what allegedly happened in Ohio and Wisconsin (id.
1202 n.3 (Fed. Cir. 2005) (“The initial standing of the original           at 8–9) is equally unpersuasive as to Nevada. As the
                                                                           Washoe Registrar notes, for example, the situation with
plaintiff is assessed at the time of the original complaint,
                                                                           respect to “timing and preparation” of the June Primary
even if the complaint is later amended.”) (citations omitted).
                                                                           is quite different in Nevada than it was for Wisconsin,
However, Plaintiffs' AC suffers from the same failure to
                                                                           (See ECF No. 74-2 at 5.) Moreover, as the Court noted in
establish standing as the original complaint—Plaintiffs have               the PI Order, the material safeguards against voter fraud
again failed to allege a particularized injury.                            are maintained under the Plan. (ECF No. 57 at 14; see
                                                                           also ECF No. 74-2 at 9 (“The all mail primary election
As with the original complaint, the claims in the AC are                   provides all of the voter fraud safeguards that exist in
materially grounded on ostensible election fraud that may                  statute.”).)
be conceivably raised by any Nevada voter. Thus, Plaintiffs'
                                                                     *5 Accordingly, Plaintiffs have failed to overcome the
claims amount to general grievances that cannot support a
                                                                    Court's original finding that they lack standing, thereby
finding of particularized injury as to Plaintiffs. See, e.g.,
                                                                    precluding them from seeking to enjoin the Plan—at least via
Lujan, 504 U.S. at 573–74 (explaining that U.S. Supreme             the first three claims.
Court's case law has “consistently held that a plaintiff raising
only a generally available grievance about government—
claiming only harm to his and every citizen's interest in proper      B. Laches
application of the Constitution and laws, and seeking relief        The Secretary argues that the doctrine of laches further bars
that no more directly and tangibly benefits him than it does        Plaintiffs from obtaining equitable relief after unreasonable
the public at large—does not state an Article III case or           delay in filing the AC and the Second PI Motion. (ECF No.
controversy”).                                                      78 at 8–9.) The Court agrees.

Plaintiffs essentially seek to have the Court reconsider its        “Laches is an equitable defense.” Danjaq LLC v. Sony Corp.,
finding as to standing, arguing that they do not merely             263 F.3d 942, 950 (9th Cir. 2001). It precludes a plaintiff who,
assert “citizen” standing and that harm is specific to them         “with full knowledge of the facts, acquiesces in a transaction
as registered, eligible voters, who actually vote. (See ECF         and sleeps upon his rights.” Id. at 950–51 (quotations and
No. 65 at 19–21.) But even if the Court were to find                citations omitted). A defendant is entitled to relief under the
that Plaintiffs state a particularized injury, and even if          doctrine where the defendant proves “both an unreasonable
they had argued the reconsideration standard, Plaintiffs            delay by the plaintiff and prejudice to itself.” Couveau v. Am.
face an additional obstacle. As the Court concluded in              Airlines, Inc., 218 F.3d 1078, 1083 (9th Cir. 2000). The Court
the PI Order, Plaintiffs fail to show a nexus between the           finds, as the Secretary argues, that both factors are satisfied
alleged violations and their claimed injury. (See ECF No.           here.
57 at 10 n.7.) Here, Plaintiffs again fail to more than
speculatively connect the specific conduct they challenge—



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With the following considerations, the Court agrees Plaintiffs        Nevada voters of how to exercise their right to vote via mail
have unreasonably delayed seeking preliminary injunctive              (ECF No. 74-1 at 4–6, ECF No. 74-3).
relief. Plaintiffs brought this case in its initial form on April
21, 2020 (ECF No. 1). They requested and were granted                  *6 The Court finds that Plaintiffs' second request for
expedited briefing and an expedited hearing (ECF Nos. 3, 14).         preliminary injunctive relief is therefore unreasonable and
Recognizing the urgency with which Plaintiffs indicated they          inequitable in seeking to undo the votes already casted
brought this case and the finality that was needed, the Court         by Nevadans and would result in squandering the state's
issued its decision on the First PI Motion—the PI Order—              investment for the sake of an unestablished specter of voter
two days after extensive briefing closed, on April 30, 2020.          fraud. This conclusion is particularly merited where the AC
(Compare ECF No. 43 with ECF No. 57.) Plaintiffs waited 14            and Second PI Motion are largely repetitive of the original
days after the PI Order was issued and only 26 days before the        complaint and motion. Even if the additional claim—the
June Primary to file the AC and bring the Second PI Motion.           fourth claim based on the CC Plan—was meritorious, it would
(See ECF Nos. 64, 65.) In doing so, Plaintiffs again sought           not entitle Plaintiffs to the wholesale relief of voiding the
expedited relief. (ECF No. 66.)                                       Plan, which is ultimately what Plaintiffs seek here. Even
                                                                      if Plaintiffs' preliminary injunction request was on firmer
Except the specific claim based on the CC Plan, the AC                grounds, the Court cannot foresee any viable manner of
materially asserts no claim that could not have been raised           undoing the Plan or stopping its further implementation
—or that was not raised—the first time around. To be sure,            without increasing the risks to the health and safety of
Plaintiffs did not seek reconsideration of the Court's PI Order.      Nevadans and putting the integrity of the election at risk—
Nor did Plaintiffs file an appeal. Moreover, the AC also              particularly without sufficient time to prepare an adequate
indicates that Plaintiffs had notice of the CC Plan, upon which       alternative. (See, e.g., ECF No. 74-2 at 7–9) (discussing the
the fourth claim is grounded, by at least May 4, 2020. (ECF           adverse consequences for Nevada in changing the method and
No. 64 at 8.) Therefore, it is inexplicable that Plaintiffs would     processes of voting in the June Primary at this juncture). For
delay bringing the AC and Second PI Motion for another                all these reasons, the Court finds that the doctrine of laches
nine days in light of their claimed urgency. Plaintiffs surely        bars Plaintiffs' second request for preliminary injunctive relief
have not acted with the alacrity that they claim this case            and the Court will likewise deny the request on this additional
necessitates.                                                         basis.

Plaintiffs' failure to seek legal relief and finality has certainly
prejudiced Defendants. As noted, the June Primary was only               C. Purcell
26 days away when Plaintiffs brought the AC and Second                The Purcell principle is yet another barrier to the grant of
PI Motion. Even with expedited briefing, Plaintiffs could             preliminary injunctive relief here. Of course Plaintiffs are no
have anticipated that any foreseeable briefing schedule would         stranger to Purcell. They argued in the First PI Motion that
result in a decision being issued, at minimum, several days           Purcell bars the implementation of the Plan so close to the
closer to the election. Notably, since this Court issued the PI       June Primary. (ECF No. 2 at 16–17.) The irony of Plaintiffs'
Order, mail-in ballots have been sent to Nevada voters and            argument was not lost on the Court. The Court disagreed
a substantial number of eligible voters, including Plaintiffs         with Plaintiffs' contention as to the state and noted that
Gladwill and Barnett, have already sent in their mail-in              Purcell counseled against considering the First PI Motion.
ballots. (See, e.g., ECF No. 74-2 at 5–6 (“By the end of April,       The Secretary, Washoe Registrar and Intervenor-Defendants
the actual mail ballots were mailed to all active registered          here argue that Purcell is ever more relevant now where
voters in Washoe County. Upon information and belief, all             Plaintiffs seek to change the state's Plan governing the June
ballots for all Nevada voters have been mailed ....”); see            Primary because the election is days away and Nevadans are
also id. at 7 (“The mail-in primary election plan is in full          already exercising their right to vote. (See ECF No. 72 at 15–
swing ... Many voters have already completed their ballots            16; ECF No. 74 at 4, 30–33; ECF No. 78 at 2, 9.) The Court
and returned the same via mail or by dropping them off at my          agrees.
office.”); ECF No. 64 at 9 (“Mail ballots to active, registered
voters went out on May 6, 2020.”).) The state has also made           The Purcell principle provides that near an impending
significant monetary investments and efforts to implement             election court orders themselves risk debasement and dilution
the Plan and on media and marketing campaigns to inform               of the right to vote because “[c]ourt orders affecting elections,
                                                                      especially conflicting orders, can themselves result in voter


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confusion and consequent incentive to remain away from the          Rule 60 arguments).)13 The Court therefore adopts its rulings
polls. As an election draws closer, that risk will increase.” 549   from the PI Order and likewise find that Plaintiffs are unlikely
U.S. at 4–5. The Supreme Court “has repeatedly emphasized
                                                                    to succeed on the merits of these claims.14
that lower federal courts should ordinarily not alter the
election rules on the eve of an election.” Republican Nat'l
                                                                    13      A motion to reconsider must set forth “some valid reason
Comm. v. Democratic Nat'l Comm. (“RNC”), 140 S. Ct. 1205,
1207 (2020) (citing Purcell; Frank v. Walker, 574 U.S. 929                  why the court should reconsider its prior decision” and
                                                                            set “forth facts or law of a strongly convincing nature to
(2014); and Veasey v. Perry, 574 U. S. ––––, 135 S. Ct. 9
                                                                            persuade the court to reverse its prior decision.” Frasure
(2014)); see also Republican Party of Pa. v. Cortés, 218 F.
                                                                            v. United States, 256 F. Supp. 2d 1180, 1183 (D. Nev.
Supp. 3d 396, 405 (E.D. Pa. 2016) (“Federal intervention at
                                                                            2003). “A motion for reconsideration is not an avenue
this late hour risks ‘a disruption in the state electoral process           to re-litigate the same issues and arguments upon which
[which] is not to be taken lightly.’ ‘This important equitable              the court already has ruled.” Brown v. Kinross Gold,
consideration goes to the heart of our notions of federalism.’              U.S.A., 378 F. Supp. 2d 1280, 1288 (D. Nev. 2005). A
”) (alteration in original) (citation and quotation omitted).               district court may decline to consider claims and issues
This principle is particularly pertinent where plaintiffs ask               that were not raised until a motion for reconsideration.
courts to “impose large-scale changes to the election process.”             Hopkins v. Andaya, 958 F.2d 881, 889 n.5 (9th Cir. 1992),
Bryan v. Fawkes, 61 V.I. 416, 469 (2014) (collecting cases).                impliedly overruled on other grounds in Federman v.
                                                                            County of Kern, 61 F. App'x 438, 440 (9th Cir. 2003). It
The Court will follow the Purcell principle and declines                    is not an abuse of discretion to refuse to consider new
                                                                            arguments in a reconsideration motion even though “dire
to take any action to alter the Plan at this late hour. The
                                                                            consequences” might result. Schanen v. United States
Court is reassured that such is the right course in light of
                                                                            Dept. of Justice, 762 F.2d 805, 807–08 (9th Cir. 1985).
the exceptional relief that Plaintiffs request in the AC, which
would completely upend the June Primary. Among other                14      To the extent Plaintiffs challenge the Court's finding
things, Plaintiffs seek injunctive relief ordering Defendants               that the Washoe Register complied with the notice
to disregard the mail ballots that have already been sent                   requirements (ECF No. 57 at 19–20; see ECF. No 65 at
to voters and to notify voters that their mailed in ballots                 4–6), Plaintiffs fail to meaningfully contest the Court's
will not be counted; to undertake a counter media public                    conclusion that the notice issue does not arise to the level
information campaign to notify “every registered voter” of                  of a constitutional violation—necessary to void the Plan
                                                                            —even if technically inconsistent with Nevada law.
the changes Plaintiffs seek; and to undo the CC Plan. (See
ECF No. 64 at 25–26.) Going along with Plaintiffs' request          Plaintiffs' first claim, despite discretely alleging direct
would surely cause great disruption and confusion for Nevada        disenfranchisement, in many ways echoes Plaintiffs' second
voters. Plaintiffs' request is therefore in many ways more          and third claims. The crux of this claim is Plaintiffs' assertion
injurious to Nevada voters at this juncture than the very           that “[d]ue to ... widespread disenfranchisement caused by
grounds underlying the AC, particularly given the speculative       not abiding by the legislature's law, the Plan violates the right
claimed of voter disenfranchisement. The Court therefore            to vote by direct disenfranchisement.” (ECF No. 64 at 22.)
also denies a grant of preliminary injunctive relief based on       The first claim therefore also seeks to avoid the Court's ruling
Purcell.                                                            in the PI Order, where the Court concluded that the Plan is
                                                                    consistent with Nevada law and within the authority conferred
                                                                    upon the Secretary. (See ECF No. 57 at 16–20.) Moreover, as
   D. Touching Upon the Merits                                      already discussed here and in the PI Order, Plaintiffs' claims of
 *7 Touching upon the merits, it is also clear that Plaintiffs'     voter disenfranchisement are speculative at best. Accordingly,
claims should be plainly rejected.                                  Plaintiffs are also unlikely to succeed on the merits of this
                                                                    claim.
Plaintiffs' second and third claims are foreclosed by the PI
Order because they are materially the same as the second            While Plaintiffs' fourth and last claim is entirely new, it is of
and third claims alleged in the original complaint. (Compare        no greater avail for Plaintiffs even assuming Plaintiffs have
ECF No. 1 with ECF No. 64.) Plaintiffs effectively seek
                                                                    standing.15 This claim is in gist that Clark County's plan to
reconsideration of these claims without establishing the
                                                                    mail ballots to all registered voters, including inactive voters,
requirements of Fed. R. Civ. P. 60, which governs a motion
                                                                    and to allow for assistance in returning ballots will result in
for reconsideration. (See generally ECF No. 65 (providing no


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more votes coming out of Clark County because the CC Plan                    differ as among the counties. Moreover, in the context
makes it easier to vote in Clark County than any other county,               of the Equal Protection Clause, the one person, one
resulting in an Equal Protection violation. (ECF No. 64 at                   vote principle ordinarily concerns requiring states to
24–25.) The Washoe and Clark Registrars and Intervenor                       design both congressional and state legislative districts
                                                                             with equal populations and must regularly reapportion
Defendants point out that this claim is undermined by the
                                                                             districts to prevent malapportionment. See, e.g., Evenwel
Ninth Circuit's decision in Short v. Brown, 893 F.3d 671 (9th
                                                                             v. Abbott, 136 S. Ct. 1120, 1123–24 (2016).
Cir. 2018). (ECF No. 72 at 11–12; ECF No. 74 at 24–25; ECF
No. 75 at 4.) Plaintiffs reply that Short does not apply because       *8 Plaintiffs essentially speculate that beyond the size of
Plaintiffs allege that the violation is that Clark County will        Clark County's voter base relative to other counties, the CC
have greater voter strength in the June Primary in violation of       Plan will ensure that Clark County voters' vote carry greater
                                                                      weight solely because ballots are also mailed to inactive
the one person, one vote principle16 (ECF No. 80 at 8–9; see
                                                                      registered voters and county deputized election workers are
also ECF No. 65 at 21–23; ECF No. 64 at 24–25). The Court
                                                                      allowed to collect ballots. (See id.; cf. ECF No. 75 at 3, 12.)
disagrees with Plaintiffs.
                                                                      To be sure, Plaintiffs expressly disavow any challenge to the
                                                                      provisions of the CC Plan allowing for more polling places in
15     The Secretary notes that she gave deference to the             Clark County. (ECF No. 80 at 8–9.)
       Clark Registrar regarding his decision to send ballots
       to inactive registered voters under the CC Plan because
                                                                      Further, Plaintiffs do not address the Clark Registrar's
       “NRS § 293.345(1) is silent on whether ballots may be
                                                                      contention that it is anticipated that “most” of the ballots
       mailed to inactive voters as well as active voters” (ECF
       No. 78 at 7). See NRS § 293.345(1) (providing that “the
                                                                      sent to inactive voters “will come back undeliverable
       county clerk shall cause to be mailed to each registered       because we had previously sent election notifications to
       voter in each mailing precinct and in each absent              those addresses and the notifications were returned as
       ballot mailing precinct an official mailing ballot, and        undeliverable or we received notification by the USPS that
       accompanying supplies, as specified in NRS 293.350”)           the voter had moved out of town.” (ECF No. 75 at 12.)
       (emphasis added). Plaintiffs do not directly challenge         The Clark Registrar's unchallenged contention accepted as
       the Secretary's statement. Instead, Plaintiffs for the first   true significantly diminishes Plaintiffs' contention that also
       time in their reply argue NAC § 293.412(4) is a relevant       sending ballots to Clark County inactive voters will result in
       regulation barring sending ballots to inactive voters          greater voting strength for voters in that county. Plaintiffs'
       (ECF No. 80 at 9–10). Even if the Court agreed, the            argument necessarily presupposes that inactive voters in
       Court does not consider the newly raised argument/legal
                                                                      Clark County would not alternatively go to the polling sites to
       provision asserted for the first time in Plaintiffs' reply.
                                                                      vote in the June Primary. (See id. (noting the inactive voters
       See, e.g., Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir.
       2007) (“The district court need not consider arguments         are eligible to vote in the June Primary at a polling site).)17
       raised for the first time in a reply brief.”). Moreover,
       to the extent the Secretary deferred to Clark County in        17     See NAC § 293.412(5) (“An inactive voter may vote in
       implementing the CC Plan, the discretion of the Secretary             person at a polling place in the same manner as an active
       to do so would also likely fall under the provisions cited            voter.”).
       in the PI Order as being the basis of the Secretary's
       authority in the electoral process. See NRS §§ 293.124,        Additionally, the Court is convinced that deputized staff
       293.213(4) and 293.247.                                        members of the Clark Registrar picking up ballots does not
                                                                      add to Plaintiffs' contention of Clark County voters having
16     Plaintiffs rely on Bush v. Gore, 531 U.S. 98 (2000)            a greater voter strength than other counties. Plaintiffs do
       as their basis for applying the doctrine to this case.         not challenge the Clark Registrar's representation that this
       (E.g., ECF No. 64 at 24.) However, Bush v. Gore, is
                                                                      service is based upon request, that the county has not received
       not directly on point where the concern there was that
                                                                      much requests for this service, and that it is provided as an
       the various Florida counties used different standards
                                                                      alternative particularly for those with disabilities who would
       in a recount to assess what votes should be counted
       in a presidential election. See id. at 107. The facts of
                                                                      rather not send their ballots by mail or deliver to a drop-
       Plaintiffs' Equal Protection claim here are completely         off site (see ECF No. 75 at 12). Notably, these individuals
       different because Plaintiffs cannot support a claim that       would have already voted. (Id.) Therefore, it is unlikely that
       under the Plan or the CC Plan votes will be counted            the mere act of the alternative of picking up an already voted
       differently, or what constitutes a valid vote would            ballot, for which there is also an option to drop off or mail-in


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                                                                    See Id. at 677–79. However, “[c]ounty of residence is not
with postage provided (see id.), would result in greater voting
strength. For these reasons, the Court concludes that Plaintiffs    a suspect classification warranting heightened scrutiny.” Id.
have not supported the contention that the CC Plan leads to         at 679. Applying a lesser level of scrutiny, it cannot be
greater voter strength for Clark County voters.                     contested that Clark County, which contains most of Nevada's
                                                                    population—and likewise voters (69% of all registered voters
It also appears to the Court that Plaintiffs' chief concern (if     (see ECF No. 75 at 12))—is differently situated than other
not purported harm) is that the CC Plan will result “in the         counties. Acknowledging this as a matter of generally known
most populous county of a certain persuasion ... garner[ing]        (or judicially noticeable) fact and commonsense makes it
many more votes of the dominant political persuasion in that        more than rational for Clark County to provide additional
county.” (E.g., ECF No. 80 at 10.) It is not clear to the Court     accommodations to assist eligible voters. Moreover, there
why this concern is even relevant to the June Primary. As the       is no contention that under the Plan, other counties could
Washoe Registrar notes, Nevada is a closed primary, therefore       not have similarly adopted further accommodations for their
only members of a party can vote for candidates for that party      residents. Thus, like their other claims, Plaintiffs' fourth claim
                                                                    of an Equal Protection violation falls flat.
(see ECF No. 74 at 6). See NRS § 293.257(3) (“A registered
voter may cast a primary ballot for a major political party at
a primary election only if the registered voter designated on       18      The Court explains the relevant balancing under this test
his or her application to register to vote an affiliation with              in the PI Order (ECF No. 57 at 12–13) and will not recite
that major political party.”). Thus, Plaintiffs' concern of more            it here.
votes for a certain political persuasion appears reaching at best   In sum, the Court finds that Plaintiffs are not likely to succeed
and materially does not support their Equal Protection claim,       on the merits of any claim asserted in the AC. The Court also
if at all, particularly in the primary context.                     adopts its conclusion from the PI Order that a balancing of
                                                                    the equities and the public interest weigh against granting an
 *9 The Court further concludes that the Equal Protection           injunction to Plaintiffs.
claim fails under Short, which the Court finds applicable to
the claim. In Short, the appellants challenged California's
Voter's Choice Act (“VCA”), claiming it violated the Equal          V. CONCLUSION
Protection Clause because it permitted voters in some               The Court notes that the parties made several arguments and
counties to receive a mail ballot automatically while voters in     cited to several cases not discussed above. The Court has
other counties had to apply for a mail ballot. Id. at 677–79.       reviewed these arguments and cases and determines that they
The Ninth Circuit Court of Appeals concluded that there was         do not warrant discussion as they do not affect the outcome
no constitutional violation because there was no evidence that      of the issues before the Court.
“the VCA [would] prevent anyone from voting.” Id. at 677.
The appellate court specifically noted that the appellants had      It is therefore ordered that Plaintiffs' second motion for
failed to cite “any authority explaining how a law that makes       preliminary injunction (ECF No. 65) is denied for the reasons
it easier to vote would violate the Constitution.” Id. at 677–78.   provided herein.


As in Short, Clark County's Plan may make it easier or more         It is further ordered that Plaintiffs' motion to consolidate
convenient to vote in Clark County, but does not have any           hearing on the second motion for preliminary injunction with
adverse effects on the ability of voters in other counties to       a hearing on the merits (ECF No. 67) is denied as moot.
vote. Plaintiffs are unlikely to succeed on their claim of an
Equal Protection violation where they provide no evidence—          It is further ordered that Plaintiffs' supplemental brief (ECF
and cannot provide any—that the CC Plan makes it harder for         No. 82) is stricken as improperly submitted without leave of
voters in other counties to vote. Nor is there any allegation       court.
that under the CC Plan representation is differently allocated
between Clark County and other counties or that the CC Plan
                                                                    All Citations
operates to discriminate based on a suspect classification. If
it did, it would be subject to heightened scrutiny requiring        Slip Copy, 2020 WL 2748301
compelling justification under the Anderson-Burdick test.18




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                                                                 relief impracticable, and likely precluded appellate review
                                                                 of this Memorandum and Order before tomorrow's election.
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                                                                 Moreover, Plaintiff has produced no evidence of any planned
    Only the Westlaw citation is currently available.
                                                                 voter intimidation in this District. Finally, insofar as Plaintiff
    United States District Court, E.D. Pennsylvania.
                                                                 asks me to enjoin conduct that is already prohibited by
                                                                 criminal statutes, such an injunction is impermissible.
             PENNSYLVANIA
        DEMOCRATIC PARTY, Plaintiff,                             After considering all the Parties' submissions and their
                   v.                                            presentations at today's hearing, I conclude that because
                                                                 Plaintiff has not made the required “clear showing” of
           REPUBLICAN PARTY OF
                                                                 entitlement to the relief it seeks, I will deny its Motion.
      PENNSYLVANIA; Donald J. Trump
     for President, Inc.; Roger J. Stone, Jr.;
                                                                    I. Procedural History
      and Stop the Steal Inc., Defendants.                       Beginning on October 30, 2016, state Democratic parties
                                                                 have filed six identical lawsuits and claims for emergency
                      Civ. No. 16-5664
                                                                 injunctive relief against different state Republican parties,
                              |
                                                                 Donald J. Trump for President, Inc., Roger J. Stone, Jr., and
                     Signed 11/07/2016
                                                                 Stop the Steal Inc., alleging imminent voter intimidation in
Attorneys and Law Firms                                          violation of the Voting Rights Act of 1965 and the Civil Rights
                                                                 Act of 1871. (Doc. No. 1; see also No. 16-3752, Doc. No.
Dawn L. Smalls, Boies Schiller & Flexner LLP, New York,          1 (D. Ariz. Oct. 31, 2016); No. 16-13924, Doc. No. 1 (E.D.
NY, Marc E. Elias, Perkins Coie LLP, Michael Julian Gottlieb,    Mich. Nov. 4, 2016); No. 16-2514, Doc. No. 1 (D. Nev. Oct.
Boies Schiller & Flexner LLP, Washington, DC, Mark A.            30, 2016); No. 16-1288, Doc. No. 1 (M.D.N.C. Nov. 4, 2016);
Aronchick, Hangley Aronchick Segal & Pudlin, Philadelphia,       No. 16-2645, Doc. No. 1 (N.D. Ohio Oct. 30, 2016)); 52
PA, for Plaintiff.                                               U.S.C. § 10307(b); 42 U.S.C. § 1985(3).

Rebecca L. Warren, Lawrence J. Tabas, Obermayer Rebmann          On October 30, Plaintiff filed its Complaint here, seeking
Maxwell & Hippel LLP, Thomas C. Sullivan, Bruce S. Marks,        emergency declaratory and injunctive relief. (Doc. No. 1
Marks & Sokolov LLC, Philadelphia, PA, Matthew Bingham           ¶¶ 6, 16, 74, 80.) Oddly, it filed no motion for emergency
Banks, Banks Law Group, Wyomissing, PA, Chad A. Readler,         relief, nor did it seek expedited discovery. On Wednesday,
Jones Day, Columbus, OH, Paul Rolf Jensen, Jensen &              November 2, when Plaintiff still had filed no motion, I ordered
Associates, APC, Costa Mesa, CA, for Defendants.                 Plaintiff to do so by November 3. (Doc. No. 10.) The next day,
                                                                 Plaintiff filed its Motion for a Temporary Restraining Order
                                                                 and/or Preliminary Injunction, but still did not seek expedited
MEMORANDUM                                                       discovery. (Doc. No. 14.)

Diamond, District Judge                                          I gave Defendants only 24 hours to respond to Plaintiff's
                                                                 Motion. Accordingly, I received the RPP's Response, and the
 *1 On October 30, 2016, the Pennsylvania Democratic Party
                                                                 RPP and Trump Campaign's Joint Response, late on Friday,
filed suit, asking me to enjoin the Pennsylvania Republican
                                                                 November 4. (Doc. Nos. 26, 41.) Over the weekend, Plaintiff
Party, Donald J. Trump for President, Inc., and others from
                                                                 filed a Reply, the Trump Campaign filed a sur-reply, and
illegally conspiring to suppress minority voting during the
                                                                 Plaintiff filed a sur-sur-reply. (Doc. Nos. 29, 30, 35.) The
November 8 national election. Plaintiff relies upon newspaper
                                                                 RPP has also moved to dismiss for failure to state a claim.
and Internet stories, YouTube videos, unattributed reports,
                                                                 (Doc. No. 31.) Plaintiff has filed proofs of service as to Mr.
and judicial decisions—some decades old; others years,
                                                                 Stone and STS. (Doc. Nos. 15, 16, 33.) Counsel for Mr. Stone
months, or weeks old. Remarkably, Plaintiff did not actually
                                                                 and STS appeared at today's hearing and argued that neither
move for injunctive relief until Thursday, November 3, after
                                                                 Defendant had been properly served. Counsel also filed a
I ordered it to do so. Plaintiff has not explained this delay,
                                                                 legal memorandum in which Mr. Stone and STS ask me to
which has crippled Defendants' ability to respond, made
                                                                 deny injunctive relief. (Doc. No. 42.)


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 *2 At the hearing I conducted earlier today, Plaintiff called       f. Recruiting, training, organizing, or deputizing any
two witnesses who, as I describe below, testified to little more        persons to question, voters at Pennsylvania polling
than their dismay at Mr. Trump's statements and a concern               locations under the guise of the purported “exit
that those statements might discourage minority voters.                 polling” or “citizen journalist” operations organized and
                                                                        encouraged by Defendants Stone and Stop the Steal;
The relief Plaintiff now seeks is a broad “obey-the-law”
                                                                     g. Otherwise organizing efforts to engage in voter
injunction. Plaintiff initially asked me to restrain and enjoin
                                                                       intimidation.
the RPP, the Trump Campaign, Mr. Stone, STS, “and those
                                                                   (Doc. No. 14-1.)
persons who are in active concert or participation with them”
from:
                                                                   At 1:59 a.m. this morning, Plaintiff filed an Amended
  a. Funding, encouraging, organizing or otherwise                 Proposed Order, asking me to restrain and enjoin Defendants
    supporting, individuals who are not officially appointed       from:
    poll watchers under Pennsylvania law to be present at
                                                                     a. Blocking the entrance to the polling place;
    or around polling places or voter lines to challenge,
    investigate, interfere, or otherwise act to prevent              b. Asking voters for documentation when none is required;
    any person from voting, including but not limited
    to confronting potential voters and verifying their              c. Disrupting voting lines inside and outside of the polling
    eligibility at the polls, distributing literature (and/or           place;
    stating to) individuals that voter fraud is a crime, or
                                                                     d. Disseminating false or misleading election information;
    describing the penalties under any State or Federal
    statute for impermissibly casting a ballot.                      e. Ostentatious showing of weapons at a polling place;
  b. Monitoring polling places, or permitting, encouraging,          f. Photographing or videotaping voters to intimate [sic]
     or assisting individuals to monitor polling places,                them;
     including but not limited to confronting potential voters
     and verifying their eligibility at the polls, distributing      g. Frivolous challenges to voters that are made without a
     literature (and/or stating to) individuals that voter fraud        stated good faith basis;
     is a crime, or describing the penalties under any State
     or Federal Statute for impermissibly casting a ballot,          h. Verbal or physical confrontation of voters by persons
     if the proposed monitor does not meet the statutory                dressed in official-looking uniforms;
     requirements for service as a poll watcher;
                                                                      *3 i. Violence or using the threat of violence to interfere
  c. Gathering or loitering within ten (10) feet of a polling           with a person's right to vote.
     place, or permitting, encouraging, or assisting any           (Doc. No. 34.) Plaintiff also asks me to order Stone and STS
     individuals to gather or loiter within ten (10) feet of a     to abide by and distribute guidelines that those Defendants
     polling place, unless such person is one of the identified    have purportedly proposed. (See id. at 2.)
     poll watchers for each candidate or party who may be
     present in a polling place at any time;                       On November 4, the Ohio District Court granted what
                                                                   appeared to be a nationwide injunction prohibiting
  d. Interrogating, interfering with, or verbally harassing        Defendants Trump Campaign, Mr. Stone, STS, as well as
     voters or prospective voters, or training, organizing, or     other non-party “individuals or groups, including groups
     directing others to do the same, with the sole exception of   associated with the Clinton for Presidency [sic] campaign,”
     questioning that is explicitly authorized by Pennsylvania     from violating the law. (Doc. No. 30-4.) But see Perez v. Ohio
     law;                                                          Bell Tel. Co., No. 15-3303, 2016 WL 3755795, at *6 (6th
                                                                   Cir. July 14, 2016) (“The Supreme Court has warned against
  e. Following, taking photos of, or otherwise recording           ‘sweeping injunction[s] to obey the law’ and has cautioned
     voters or prospective voters, those assisting voters          courts about their ‘duty to avoid’ such orders.” (quoting Swift
     or prospective voters, or their vehicles, or training,        & Co. v. United States, 196 U.S. 375, 401 (1905))). Yesterday,
     organizing, or directing others to do the same;


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the Sixth Circuit stayed the injunction, finding that the District    is an extraordinary and drastic remedy, one that should not
Court had abused its discretion because the plaintiff (the            be granted unless the movant, by a clear showing, carries
Ohio Democratic Party) had not demonstrated it was likely to          the burden of persuasion.” Mazurek v. Armstrong, 520 U.S.
succeed on the merits of its suit. (Doc. No. 30-5.)                   968, 972 (1997) (quoting 11A Wright & Miller, Fed. Prac.
                                                                      & Proc. § 2948 (3d ed. Apr. 2016)). “A plaintiff seeking
On the same day the Ohio Court issued its injunction, the             a preliminary injunction must establish that he is likely to
Arizona District Court denied all relief. (Doc. No. 30-3.) The        succeed on the merits, that he is likely to suffer irreparable
Nevada District Court denied relief against Trump and the             harm in the absence of preliminary relief, that the balance
state Republicans, deferring a ruling on Mr. Stone and STS            of equities tips in his favor, and that an injunction is in the
pending a hearing to be held this afternoon. (Doc. No. 30-2.)         public interest.” Winter v. Natural Res. Def. Council, Inc., 555
                                                                      U.S. 7, 20 (2008) (citations omitted). The moving party bears
Today, the Middle District of North Carolina held oral                the “heavy burden” of showing that these elements weigh in
argument in the suit there. (See No. 16-1288, Doc. No. 7              favor of a preliminary injunction. Republican Party of Pa. v.
(M.D.N.C. Nov. 5, 2016).) As of this writing, there has               Cortés, No. 16-5524, 2016 WL 6525409, at *4 (E.D. Pa. Nov.
been no substantive activity in the Michigan case. (See No.           3, 2016) (citing Ferring Pharms., Inc. v. Watson Pharms., Inc.,
16-13924 (E.D. Mich.).)                                               765 F.3d 205, 210 (3d Cir. 2014), and Punnett v. Carter, 621
                                                                      F.2d 578, 588 (3d Cir. 1980)).
Finally, sometime yesterday, Plaintiff subpoenaed RPP
Chairman Rob Gleason—who resides some 240 miles away
in Johnstown—to appear at the hearing this morning (the
                                                                      B. Voting Rights Act of 1965
day before Election Day) and bring with him, inter alia,
all Republican Party documents relating to its poll watching           *4 Section 11(b) of this Act, as amended and codified,
activities. Because the subpoena is vexatious and abusive, I          provides that “[n]o person, whether acting under color of law
granted the RPP's Motion to Quash earlier this morning. (See          or otherwise, shall intimidate, threaten, or coerce, or attempt
Doc. Nos. 32, 38.)                                                    to intimidate, threaten, or coerce any person for voting or
                                                                      attempting to vote.” 52 U.S.C. § 10307(b); see also 28 U.S.C.
                                                                      § 1343(a)(4) (providing private cause of action “under any
   II. Standing
                                                                      Act of Congress providing for the protection of civil rights,
Plaintiff alleges that it is “a state party organization affiliated
                                                                      including the right to vote”).
with the [National] Democratic Party,” and that it “works
‘to elect Democrats from the top of the ticket on down’ in
local, county, state, and federal elections.” (Doc. No. 1 ¶ 7
(citation omitted).) Defendants do not dispute that Plaintiff         C. Civil Rights Act of 1871
has standing to bring the instant suit, which is intended to
                                                                      This Act, as amended and codified, provides that
protect the interests of both Democratic candidates running
for office and Democratic voters. (Id. ¶ 14.) I agree that              if two or more persons conspire to prevent by force,
Plaintiff has standing to proceed. See Lujan v. Defenders               intimidation, or threat, any citizen who is lawfully entitled
of Wildlife, 504 U.S. 555, 560-61 (1992); Friends of the                to vote, from giving his support or advocacy in a legal
Earth, Inc. v. Laidlaw Envt'l Servs. (TOC), Inc., 528 U.S.              manner, toward or in favor of the election of any lawfully
167, 180 (2000); Warth v. Seldin, 422 U.S. 490, 511 (1975);             qualified person as an elector for President or Vice
Constitution Party of Pa. v. Aichele, 757 F.3d 347, 368 (3d             President, or as a Member of Congress of the United
Cir. 2014).                                                             States...the party so injured or deprived may have an action
                                                                        for the recovery of damages occasioned by such injury or
                                                                        deprivation, against any one or more of the conspirators.
  III. Legal Standards
                                                                      42 U.S.C. § 1985(3).

A. Preliminary Injunction
                                                                        IV. Discussion
Rule 65 authorizes me to issue the injunctive relief Plaintiff
seeks. See Fed. R. Civ. P. 65(a). “[A] preliminary injunction


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As Judge Pappert recently stated in rejecting the RPP's
belated request for Election Day injunctive relief: “There was     *5 Plaintiff's failure to take discovery has compelled
no need for this judicial fire drill and Plaintiff[ ] offer[s]    it to rely almost entirely on media reports. Because the
no reasonable explanation or justification for the harried        Federal Rules of Evidence do not strictly apply during
process [it] created.” Cortés, 2016 WL 6525409, at *4. The        preliminary injunction proceedings, I must exercise discretion
same situation obtains here. Plaintiff has not explained what     in “weighing all the attendant factors, including the need for
it learned in the last month or even the last week that           expedition, to assess whether, and to what extent, affidavits
created emergent conditions. On the contrary, Plaintiff has       or other hearsay materials are appropriate given the character
long known of the acts and statements on which it bases           and objectives of the injunctive proceeding.” Kos Pharms.,
its claims. For instance, Plaintiff emphasizes an inapposite      Inc. v. Andrx Corp., 369 F.3d 700, 719 (3d Cir. 2004) (internal
2004 Complaint and TRO filed against Senator John Thune,          quotation marks and citation omitted).
seeking to enforce the District of New Jersey's 1982 and
1987 Consent Orders. (Doc. Nos. 14-21, 14-23.) Plaintiff          The plaintiff seeking an injunction will typically support her
also points to purported voter intimidation by the Republican     request with an affidavit, verifying that the facts alleged
mayoral candidate during Philadelphia's 2003 election. (Doc.      are true and correct according to her best information,
No. 14-19 at 7-8.) Plaintiff also offers comments ostensibly      knowledge, and belief. See Fed. R. Civ. P. 65(b)(1)(A)
made by Mr. Trump going back to early August. (See, e.g.,         (requiring “specific facts in an affidavit or a verified
Doc. Nos. 14-9, 14-12).                                           complaint [that] clearly show that immediate and irreparable
                                                                  injury, loss, or damage will result to the movant” for TRO);
During today's hearing, I repeatedly asked Plaintiff to explain   11A Wright & Miller, Fed. Prac. & Proc. § 2949 (3d ed.
its dilatory conduct and to identify any recent occurrence that   Apr. 2016) (“Affidavits are appropriate on a preliminary-
compelled it to seek emergency relief so close to Election        injunction motion and typically will be offered by both
Day. Plaintiff was unable to do so. Significantly, Plaintiff      parties....All affidavits should state the facts supporting
has not alleged that Defendants have intimidated voters in        the litigant's position clearly and specifically.” (footnote
the four states that allow early voting—Arizona, Nevada,          omitted)).
North Carolina, and Ohio—where suits identical to the instant
suit have been filed. Plaintiff has not explained why it filed    Plaintiff has produced its evidence in an Appendix comprising
its Emergency Motion only two business days before the            online newspaper articles and other reports and statements
election—again, only after I ordered it to do so. (See Doc.       —almost all having nothing to do with this District. (See
No. 10.) Nor has Plaintiff explained why it failed to seek        Doc. Nos. 14-6, 14-7, 14-9, 14-11, 14-12, 14-13, 14-14,
expedited discovery, opting yesterday instead to subpoena         14-15, 14-16, 14-17, 14-18, 14-19, 14-20, 14-22, 14-24,
Mr. Gleason and a cache of documents. Remarkably, during          14-25, 14-27.) The Appendix is “verified” by one of Plaintiff's
today's hearing, Plaintiff stated that it had not sought          lawyers, who avers only that the exhibits are accurate copies.
expedited discovery because it believed that Defendants           (See Doc. No. 14-3.) He says nothing about the truth of their
would voluntarily produce all discoverable materials without      content. (See id.)
being formally asked to do so.
                                                                  I am thus compelled to base a ruling that could restrict
Plaintiff's dilatory conduct “weighs decidedly against            Defendants' Election Day speech and conduct on media
granting the extraordinary relief [it] seek[s]”—especially        reports because Plaintiff has contrived to transform this
“where, as here, an election is looming.” Cortés, 2016 WL         litigation into a mad scramble. Although I could deny relief
6525409, at *3 (citing United States v. City of Phila., No.       on this ground alone, given the importance of the voting
06-4592, 2006 WL 3922115, at *2 (E.D. Pa. Nov. 7, 2006)           rights Plaintiff alleges are threatened, I will consider all the
(citing in turn Purcell v. Gonzalez, 549 U.S. 1 (2006))); see     Winter factors. See Cortés, 2016 WL 6525409, at *1 (citing
also Crookston v. Johnson, No. 16-2490, 2016 WL 6311623,          unreasonable delay as a basis for denying injunctive relief);
at *2 (6th Cir. Oct. 28, 2016) (“Call it what you will—laches,    Smart Vent Prods., Inc. v. Crawl Space Door Sys., Inc., No.
the Purcell principle, or common sense—the idea is that           13-5691, 2016 WL 4408818, at *12 (D.N.J. Aug. 16, 2016)
courts will not disrupt imminent elections absent a powerful      (delay “knocks the bottom out of any claim of immediate and
reason for doing so.”). The election will be underway in a        irreparable harm”).
matter of hours.



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                                                                  targeted at intimidating minority voters. In context, however,
                                                                  it is clear that the “unnamed official” is plainly describing
A. Likelihood of Success on the Merits
                                                                  protected political activity:
To make out this factor, “the plaintiff need only prove a
                                                                     “We have three major voter suppression operations under
prima facie case, not a certainty that he or she will win.”
                                                                     way,” says a senior official. They're aimed at three groups
Highmark, Inc. v. UPMC Health Plan, Inc., 276 F.3d 160, 173
                                                                     Clinton needs to win overwhelmingly: idealistic white
(3d Cir. 2001). The Third Circuit has held that “a sufficient
                                                                     liberals, young women, and African Americans. Trump's
degree of success for a strong showing exists if there is
                                                                     invocation at the debate of Clinton's WikiLeaks e-mails
a ‘reasonable chance, or probability, of winning.’ ” In re
                                                                     and support for the Trans-Pacific Partnership was designed
Revel AC, Inc., 802 F.3d 558, 568-69 (3d Cir. 2015) (quoting
                                                                     to turn off Sanders supporters. The parade of women
Singer Mgmt. Consultants, Inc. v. Milgram, 650 F.3d 223,
                                                                     who say they were sexually assaulted by Bill Clinton or
229 (3d Cir. 2011) (en banc)). Plaintiff alleges that the Trump
                                                                     harassed or threatened by Hillary is meant to undermine
Campaign, Mr. Stone, STS, and the RPP “are conspiring to
                                                                     her appeal to young women. And her 1996 suggestion that
threaten, intimidate, and thereby prevent minority voters in
                                                                     some African American males are “super predators” is the
urban neighborhoods from voting in the 2016 election.” (Doc.
                                                                     basis of a below-the-radar effort to discourage infrequent
No. 14-2 at 2.) Like the Arizona and Ohio Democratic Parties,
                                                                     black voters from showing up at the polls—particularly in
Plaintiff here has not made the requisite “clear showing” that
                                                                     Florida.
it will prevail on the merits of its claims.
                                                                  (Doc. No. 14-11 at 6-7.) In context, these are not
                                                                  “suppression” efforts at all, and they do not appear designed
To succeed on its Voting Rights Act claim, Plaintiff must show
                                                                  to threaten or intimidate voters. Rather, they are coarse efforts
that Defendants acted or attempted “to intimidate, threaten,
                                                                  to convince Secretary Clinton's likely supporters not to vote
or coerce any person for voting or attempting to vote.” 52
                                                                  for her.
U.S.C. § 10307(b). To succeed on its Civil Rights Act claim,
Plaintiff must show that Defendants conspired to do so. 42
                                                                  Plaintiff also points to the Trump Campaign's “signup form
U.S.C. § 1985(3). Plaintiff has not demonstrated a likelihood
                                                                  on its website for supporters to sign up to be ‘Trump Election
of succeeding on either claim.
                                                                  Observers’ in order to stop ‘Crooked Hillary From Rigging
                                                                  this Election.’ ” (Doc. No. 14-2 at 4 (quoting Doc. No. 14-5).)
 *6 Plaintiff relies heavily on Defendants' alleged statements
                                                                  Plaintiff thus alleges that Mr. Trump is “further encouraging
as reported in online newspaper articles. These statements
                                                                  his supporters to join in a common plan to ‘watch’ voters
were made in connection with the upcoming election.
                                                                  in ‘certain areas’ of states like Pennsylvania for voter
See Citizens United v. Fed. Election Comm'n, 558 U.S.
                                                                  fraud.” (Id.) Yet, Pennsylvania law allows poll watching,
310, 339 (2010) (“Speech is an essential mechanism of
                                                                  and Plaintiff has not shown that the poll watching proposed
democracy....The First Amendment has its fullest and most
                                                                  here will include any impermissible activity. See Cortés,
urgent application to speech uttered during a campaign
                                                                  2016 WL 6525409, at *1-2 (describing the Pennsylvania
for political office.” (internal quotation marks and citations
                                                                  Election Code's poll-watching provisions (citing 25 P.S.
omitted)). Once again, virtually none of the statements was
                                                                  § 2687)). Indeed, Defendants point out that the Clinton
made in this District or suggested that any illegal activity
                                                                  campaign is engaged in the same exercise. (Doc. No. 41 at
would occur in this District. Moreover, as the Arizona District
                                                                  11); see Join Victory Counsel, HillaryClinton.com, https://
Court found, some of these statements are taken grossly out
                                                                  www.hillaryclinton.com/forms/protect-the-vote (“Volunteer
of context. (Doc. No. 30-3 at 16.) The same is true here. For
                                                                  to protect the vote as a poll observer this election cycle.”) (last
example, Plaintiff opens its brief with the following claim:
                                                                  visited Nov. 7, 2016).
  The stated goal of the Trump Campaign, as explained by an
  unnamed official to Bloomberg News on October 27, 2016,         To show the “conspiracy” between Defendants RPP and
  is to depress voter turnout, and particularly minority voter    Trump Campaign, Plaintiff offers an August 3, 2016
  turnout—in the official's words: “We have three major           statement purportedly made by Governor Pence at a town
  voter suppression operations under way.”                        hall event: “[T]he Trump campaign and the Republican
(Doc. No. 14-2 at 2 (quoting Doc. No. 14-11).) Plaintiff thus     National Committee are working very, very closely with state
suggests that these “major voter suppression operations” are      governments and secretaries of states all over the country
                                                                  to ensure ballot integrity.” (Doc. No. 14-2 at 10 (quoting


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8-3 Replay: Pence Denver Rally Town Hall at 16:22-17:27,             at length the activities of “white nationalist, alt-right, and
TrumpTube.tv,          http://trumptube.tv/donald-trump-rally-       militia movement groups” that have been “[e]nergized by
speech-video/video/pence-live-stream-town-hall-8-3-16).)             Trump's candidacy.” (See Doc. No. 14-2 at 11-12 (citing Doc.
Similarly, Plaintiff offers RPP Chairman Gleason's early-            No. 14-25).) Unless it is psychic, Plaintiff has no idea who
August statement to the Washington Post that he was “glad to         might have been “energized by” Mr. Trump. Plaintiff's heated
hear” that Mr. Trump was becoming focused on voter fraud             suggestion does not even rise to the level of speculation.
and “taking additional measures to recruit poll watchers in
Philadelphia,” as well as the RPP's now-unsuccessful effort to       In sum, Plaintiff has not shown that any Defendant has
invalidate restrictions on Pennsylvania poll watchers. (Doc.         engaged or will engage in voter intimidation in this District,
No. 14-2 at 10-11 (citing Doc No. 14-9 and Complaint,                an essential element of both of Plaintiff's claims. Plaintiff has
Cortés, No. 16-5524, Doc. No. 1 (E.D. Pa. Oct. 21, 2016).)           thus failed to demonstrate that it is likely to succeed on the
Assuming these purported statements accurately reflect               merits of either claim.
actions that have actually been taken, no voter intimidation is
even suggested. Once again, the Pennsylvania Election Code
explicitly allows candidates and political parties to appoint
                                                                     B. Likelihood of Irreparable Harm
poll watchers who “help ‘guard the integrity of the vote.’ ” See
Cortés, 2016 WL 6525409, at *1-2 (quoting Tiryak v. Jordan,          I agree with Plaintiff that a violation of voting rights would
472 F. Supp. 822, 824 (E.D. Pa. 1979)); 25 P.S. § 2687.              work an irreparable harm for which there is no adequate
                                                                     remedy at law. See Council of Alt. Political Parties v.
 *7 As to Mr. Stone and STS, Plaintiff alleges that they             Hooks, 121 F.3d 876, 883 (3d Cir. 1997) (infringement on
“are actively recruiting Trump supporters for ‘exit polling,’        voting rights “cannot be alleviated after the election”). I
specifically targeting nine Democratic-leaning cities with           also agree with Plaintiff that given this nation's troubled
large minority populations, including Philadelphia.” (Doc.           history, the federal courts must take special care to protect the
No. 14-2 at 6 (citing Doc. No. 14-6).) Mr. Stone and STS             voting rights of minority communities. As I have discussed,
have purportedly signed up 2822 volunteers to engage in              however, Plaintiff has not made out even the possibility—
“exit polling,” including 150 volunteers in Pennsylvania. (Id.)      much less the likelihood—that Defendants will intimidate any
Yet, it is not clear that STS is even operational. See Robert        voters in this District.
Kuniegel, Where Is the Training for Exit Polls[?], Stop the
Steal (Oct. 29, 2016), https://stopthesteal.org/where-is-the-        During today's hearing, Plaintiff called Reverend Mark
training-for-exit-polls (“I have no idea where this post is          Kelly Tyler of Mother Bethel A.M.E. Church and former
going or if anyone will see it. I suspect that no one will.          Philadelphia Councilman Angel L. Ortiz. Neither witness
I have 10 people that wish to do exit polling in Philly and          knew of any actual voter intimidation efforts or of any
have tried for one month to find a way to get assigned and or        voters who had actually been intimidated. Rather, both were
trained.”). In any event, “the act of exit polling...constitute[s]   concerned that Mr. Trump's statements “might” or “could”
protected expressive speech” under the First Amendment.              intimidate African-American or Latino voters. This is not
See PG Pub. Co. v. Aichele, 705 F.3d 91, 100-01 (3d Cir.             proof of the likelihood of harm. See ECRI v. McGraw-Hill,
2013) (citing Daily Herald Co. v. Munro, 838 F.2d 380, 382           Inc., 809 F.2d 223, 226 (3d Cir. 1987) (“Establishing a risk
(9th Cir. 1988)); see also Daily Herald Co., 838 F.2d at             of irreparable harm is not enough. A plaintiff has the burden
384 (“[E]xit polling constitutes speech protected by the First       of proving a ‘clear showing of immediate irreparable injury.’
Amendment, not only in that the information disseminated             ” (citation omitted)).
based on the polls is speech, but also in that the process
of obtaining the information requires a discussion between
pollster and voter.”). As the Arizona District Court concluded,
exit polling is permissible even if it is not “scientific” and       C. Balance of Equities and the Public Interest
those conducting it are not professional pollsters. (See Doc.
                                                                     Because these factors are intertwined, I consider them
No. 30-3 at 19.)
                                                                     together. To prevent unproven voter intimidation, Plaintiff
                                                                     asks me to curtail Defendants' right to free expression and
Finally, Plaintiff alleges that the conspiracy to intimidate
                                                                     speech. U.S. Const., amend. I; Citizens United, 558 U.S. at
minority voters “reaches beyond the defendants,” discussing
                                                                     326-27 (“Courts, too, are bound by the First Amendment...



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                                                                 Plaintiff seeks would itself curtail the constitutional
[and] must give the benefit of any doubt to protecting
                                                                 rights of Defendants. For instance, Plaintiff asks me to
rather than stifling speech.” (internal quotation marks and
                                                                 enjoin Defendants from “disseminating false or misleading
citation omitted)); id. at 340 (“[P]olitical speech must
                                                                 election information.” (Doc. No. 34.) Virtually all “election
prevail against laws that would suppress it, whether by
                                                                 information” could be deemed “false” or “misleading,”
design or inadvertence.”). Yet, virtually all the minatory
                                                                 depending on the beholder. The broad prohibition Plaintiff
acts Plaintiff asks me to enjoin are already proscribed by
                                                                 seeks could thus effectively silence Defendants' political
criminal statutes, subject to severe punishment. See, e.g.,
                                                                 speech on Election Day.
18 U.S.C. § 594 (actual or attempted intimidation, threats,
or coercion in federal elections punishable by up to one
                                                                 In these circumstances, the balance of equities and public
year's imprisonment and a fine); 25 P.S. §§ 3527 (interference
                                                                 interest factors weigh against the issuance of a preliminary
with election officials, blocking the entrance of a polling
                                                                 injunction.
place, voter intimidation, various acts of voter fraud, and
conspiracy punishable by up to seven years' imprisonment
and a $15,000 fine), 3528 (voter intimidation at a polling          V. Conclusion
place at which one is not entitled to vote punishable by         Our Republic is premised on the right of its citizens to
up to seven years' imprisonment and a $15,000 fine), 3547        select their leaders. Had Plaintiff made any credible showing
(use or threat of force or duress punishable by up to two        —much less the required clear showing—that Defendants
years' imprisonment and a $5000 fine), 3552 (punishing           intended to jeopardize that right, I would not hesitate
any person convicted of willfully violating the Election         to take immediate action. Plaintiff has made no such
Code with four years' disenfranchisement). Moreover, any         showing, however. Its belated, inflammatory allegations
coordinated efforts (much less a “conspiracy”) between the       appear intended to generate only heat, not light. Presumably,
Trump Campaign and STS would violate federal election law.       that is why identical efforts have so far been rejected by the
See, e.g., 52 U.S.C. § 30116(a)(7); 26 U.S.C. § 527.             Arizona and Nevada District Courts and the Sixth Circuit. I
                                                                 will also deny Plaintiff's eleventh-hour request for emergency
 *8 The Supreme Court has long cautioned courts about            injunctive relief.
their “duty to avoid” issuing “sweeping injunction[s] to
obey the law.” Swift & Co., 196 U.S. at 401; see also            An appropriate Order follows.
Belitskus v. Pizzingrilli, 343 F.3d 632, 650 (3d Cir. 2003)
(injunction impermissibly “require[d] defendants ‘to obey
the law’ in the future...a requirement with which they           All Citations
must comply regardless of the injunction” (quoting SEC v.
Warren, 583 F.2d 115, 121 (3d Cir. 1978))). That admonition      Not Reported in Fed. Supp., 2016 WL 6582659
is especially apposite here, where the broad injunction

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                                                                 from the Center of Tech and Civic Life (“CTCL”).1 Plaintiffs
                 2020 WL 6158309                                 argue that these grants violate the Election and Equal
   Only the Westlaw citation is currently available.             Protection Clauses of the United States Constitution,2 and that
   United States District Court, M.D. Pennsylvania.              they are preempted by both the Constitution and federal law.3

           PENNSYLVANIA VOTERS                                   1       Doc. 1. Plaintiffs have since amended their complaint
           ALLIANCE, et al., Plaintiffs,                                 and added Kathy Boockvar, in her capacity as Secretary
                      v.                                                 of the Commonwealth of Pennsylvania, as a Defendant.
                                                                         Doc. 38 at ¶ 196.
     CENTRE COUNTY, et al., Defendants.
                                                                 2       Id. at ¶¶ 102-76.
                     No. 4:20-CV-01761                           3       Id. at ¶¶ 177-216. Specifically, Plaintiffs argue that
                             |
                                                                         these grants are preempted by the Elections Clause, the
                     Filed 10/21/2020
                                                                         Supremacy Clause, the Help America Vote Act, and the
                                                                         National Voters Registration Act. Id.
Attorneys and Law Firms

Jordan P. Shuber, Ronald T. Elliott, Thomas Eric Breth,            A. Plaintiffs
Dillon McCandless King Coulter & Graham, LLP, Butler,            Plaintiffs consist of the Pennsylvania Voters Alliance
PA, Erick G. Kaardal, Pro Hac Vice, Mohrman, Kaardal             organization (“PVA”) and fourteen individual registered
& Erickson, P.A., Minneapolis, MN, Thomas W. King, III,          voters who reside in Pennsylvania.4 These fourteen
Dillon McCandless King Coulter & Graham LLP, Buter, PA,          individuals are residents of Centre County, Delaware County,
for Plaintiffs.
                                                                 and the City of Philadelphia.5 They all generally oppose the
Elizabeth A. Dupuis, Babst Calland, State College, PA, Molly     election of “progressive” candidates in local, state, and federal
E. Meacham, Babst, Calland, Clements and Zomnir, P.C.,           elections.6
Pittsburgh, PA, for Defendant Centre County.
                                                                 4       Id. at ¶¶ 4-18.
Edward D. Rogers, Pro Hac Vice, Elizabeth Wingfield, Pro
Hac Vice, Terence M. Grugan, Pro Hac Vice, Timothy D.            5       Id. at ¶¶ 5-18.
Katsiff, Ballard Spahr LLP, Philadelphia, PA, for Defendant
                                                                 6       Id. Several Plaintiffs are members of the Pennsylvania
Delaware County.
                                                                         House of Representatives and several are Republican
Claire Ann Blewitt, Jerry R. Desiderato, Timothy James Ford,             candidates in the upcoming election. Id. at ¶¶ 5, 9-18.
Dilworth Paxson LLP, Philadelphia, PA, for Defendant the                 But because neither group asserts claims based on these
                                                                         statuses, they will be treated the same as the other
City of Philadelphia.
                                                                         individual Plaintiffs.
Michele D. Hangley, Robert A. Wiygul, Hangley Aronchick
Segal Pudlin& Schiller, Philadelphia, PA, Stephen Moniak,           B. CTCL and the CTCL Grants
Pa Office of Attorney General, Harrisburg, PA, for Defendant     CTCL, a non-party to this action, is a nonpartisan,
Kathy Boockvar.                                                  nonprofit organization formed in 2012 by a “team of civic
                                                                 technologists, trainers, researchers, election administration
                                                                 and data experts” to “foster a more informed and engaged
MEMORANDUM OPINION                                               democracy” and to help “modernize elections.”7 CTCL has
                                                                 designated $250,000,000 in grant money to be paid to election
Matthew W. Brann, United States District Judge                   offices across the country “to help ensure that [these offices]
                                                                 have the staffing, training, and equipment necessary so this
I. BACKGROUND
                                                                 November every eligible voter can participate in a safe and
 *1 Plaintiffs filed this civil rights action to enjoin Centre
County, Delaware County, and the City of Philadelphia            timely way and have their vote counted.”8
(collectively “Defendants”) from receiving election grants



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7        Id. at ¶ 44; Doc. 37 at 5.                                   The genesis of this action stems from Defendants’ decision
                                                                      to accept funding from CTCL, allegedly without the consent
8        Doc. 38 at ¶ 55.                                             of the United States Congress or the Commonwealth of
These funds may be used for election-related expenses,                Pennsylvania.15 Each Defendant has accepted grant money
including to: maintain in-person polling on election day;             from CTCL to varying degrees.16 This money has been
obtain personal protective equipment for election officials           used to fund various election-related initiatives and to defray
and voters; support drive-thru voting; publish reminders to           certain election-related expenses. For example, Defendants
voters to update their voter registration information; educate        have used CTCL moneys to: purchase processing equipment
voters on election policies and procedure; recruit and hire           for mail-in and absentee voting; create satellite election
poll workers; provide increased cleaning and sanitation at poll       offices; install secure drop-boxes; pay for in-person voting
sites; train poll workers; expand in-person early voting sites;
                                                                      expenses; and cover the cost of printing and postage.17
and deploy additional staff or technology to improve mail
                                                                      All three counties have also received election grants under
ballot processing.9                                                   the Help America Vote Act (“HAVA”) and the Coronavirus
                                                                      Aid, Relief, and Economic Securities Act, both of which
9        Id. at ¶ 59.                                                 are distributed by the Secretary of the Commonwealth of
CTCL provides grant funds to any local election office that           Pennsylvania.18
applies, and the final grant is calculated using nonpartisan
criteria.10 CTCL reports that over 1,100 local election               15      Id. at ¶¶ 79-83.
administrators across the country have applied for CTCL               16      Philadelphia received $10,012,000, Delaware County
grants, including eighteen counties within Pennsylvania, as
                                                                              received $2,200,000, and Centre County received
well as the Pennsylvania Department of State.11 Of these                      $863,838. Id.; see Doc. 37 at 15-16.
eighteen counties, eleven voted for Donald Trump over
                                                                      17      Doc. 38-3.
Hillary Clinton in the 2016 election, “and five did so by more
than a two-to-one margin.”12                                          18      Doc. 38 at ¶¶ 87-97.
                                                                      Plaintiffs allege that Defendants’ acceptance of the CTCL
10       Doc. 37 at 6.                                                grants is unlawful for two reasons. First, they argue that any
11                                                                    authority granted to the Defendants to receive these CTCL
         Id.
                                                                      grants is preempted by the Elections Clause, the Supremacy
12       Id.                                                          Clause, HAVA, and the National Voters Registration Act.19
 *2 Nevertheless, Plaintiffs claim that CTCL provides                 And second, Plaintiffs claim that the grants directly violate
funds only to regions that contain “demographics with                 the Pennsylvania Election Code, the Election Clause of the
overwhelmingly progressive voters.”13 Plaintiffs count                United States Constitution, and the Equal Protection Clause
Defendants among such regions, and note that for the 2016             of the Fourteenth Amendment.20 Specifically, Plaintiffs argue
presidential election, Hillary Clinton received 84.3% of the          that the CTCL grants violate the Equal Protection Clause
votes in Philadelphia, 61.58% of the votes in Delaware                because only some counties chose to apply for them; thus
County, and 50.93% of the votes in Centre County.14                   resulting in those counties with CTCL funding having more
                                                                      money to spend on elections than those who chose to forgo
13       Id. at 17. Specifically, Plaintiffs contend that CTCL is
                                                                      applying.21 It is this resultant inequity that Plaintiffs argue is
         “a progressive organization [that] targets urban counties    unconstitutional.22
         and cities for its private federal election grants to turn
         out the progressive vote so [that] progressive candidates    19      Id. at ¶¶ 102-76.
         win.” Doc. 38 at ¶ 53.
                                                                      20      Id. at ¶¶ 176-217.
14       Id. at ¶¶ 72-74.
                                                                      21      Id. at ¶¶ 211, 213.
     C. Procedural Posture




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22      Id. Plaintiffs’ claims against Defendant Boockvar are         27      Id.
        premised on the alleged illegality of the CTCL grants.
                                                                      28      Wayne Land & Mineral Grp., LLC v. Delaware River
        Plaintiffs argue that Boockvar is culpable because she
        permitted Defendants to accept the grants.                            Basin Comm'n, 959 F.3d 569, 573-74 (3d Cir. 2020)
                                                                              (quoting Va. House of Delegates v. Bethune-Hill, –––
Plaintiffs have filed a motion for a temporary restraining order              U.S. ––––, 139 S. Ct. 1945, 1951, 204 L.Ed.2d 305
and preliminary injunction.23 They contend that: they are                     (2019)).
likely to succeed on the merits of their claims; they will be         29      Id. at 574 (quoting Lujan v. Defenders of Wildlife, 504
irreparably harmed absent an injunction; there will be little
                                                                              U.S. 555, 560, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992)).
to no harm to Defendants should an injunction issue; and the
                                                                      30
public interest weighs in favor of an injunction.24                           Id. (quoting DaimlerChrysler Corp. v. Cuno, 547 U.S.
                                                                              332, 340, 126 S.Ct. 1854, 164 L.Ed.2d 589 (2006)
                                                                              (brackets omitted)).
23      Doc. 4.
                                                                      31      Id. (brackets and ellipsis omitted).
24      Doc. 5.
                                                                      “The plaintiff, ‘as the party invoking federal jurisdiction,’
Plaintiffs make sweeping constitutional claims. But there
                                                                      bears the burden of establishing the minimal requirements
is less to this case than meets the eye. That is because,
                                                                      of Article III standing: ‘(1) an injury in fact, (2) that is
despite their assertions, Plaintiffs cannot satisfy the threshold
                                                                      fairly traceable to the challenged conduct of the defendant,
standing requirement of Article III. The Court thus concludes
                                                                      and (3) that is likely to be redressed by a favorable judicial
that it cannot reach the merits of Plaintiffs’ motion because
                                                                      decision.’ ”32 “In assessing whether a plaintiff has carried
they lack standing. Accordingly, the complaint will be
                                                                      this burden, [courts must] separate [the] standing inquiry
dismissed without prejudice.25
                                                                      from any assessment of the merits of the plaintiff's claim.”33
                                                                      “To maintain this fundamental separation between standing
25      See Cottrell v. Alcon Labs., 874 F.3d 154, 164 n.7 (3d Cir.
                                                                      and merits at the dismissal stage, [courts] assume for the
        2017) (“Because the absence of standing leaves the court
                                                                      purposes of [the] standing inquiry that a plaintiff has stated
        without subject matter jurisdiction to reach a decision
        on the merits, dismissals ‘with prejudice’ for lack of        valid legal claims.”34 “While [the Court's] standing inquiry
        standing are generally improper”).                            may necessarily reference the nature and source of the claims
                                                                      asserted, [the Court's] focus remains on whether the plaintiff
II. DISCUSSION                                                        is the proper party to bring those claims.”35
 *3 “Article III of the United States Constitution limits the
power of the federal judiciary to ‘cases’ and ‘controversies.’        32      Cottrell, 874 F.3d at 162 (quoting Spokeo, Inc. v. Robins,
 26
” “For a federal court to exercise jurisdiction under Article                 ––– U.S. ––––, 136 S. Ct. 1540, 1547, 194 L.Ed.2d 635
III, plaintiffs must allege—and eventually prove—that they                    (2016) (ellipsis omitted)).
hav[e] ‘standing’ to pursue their claims.”27 “The [United             33      Id.
States] Supreme Court has repeatedly described the question
                                                                      34      Id.
of Article III standing as a ‘threshold’ issue.”28 “It is an
‘irreducible constitutional minimum,’ without which a court           35      Id. (brackets, citation, and internal quotation marks
would not have jurisdiction to pass on the merits of the                      omitted).
action.”29 “As a result, federal courts ‘have an obligation to
                                                                      Plaintiffs assert three theories of standing.36 First, they argue
assure themselves of litigants’ standing under Article III.’
                                                                      that the CTCL grants disadvantage the Plaintiffs because they
”30 As the United States Court of Appeals for the Third               provide an advantage to progressive and Democrat candidates
Circuit has explained, the “continuing obligation to assure
                                                                      in the counties where Plaintiffs live and vote.37 Second, they
that [courts] have jurisdiction requires that [they] raise the
                                                                      argue that, without injunctive relief, the CTCL grants will
issue of standing sua sponte.”31                                      delegitimize and thus invalidate the elections, consequently
                                                                      resulting in Plaintiffs lacking political representation until
26      Id. at 161-62 (quoting U.S. Const. art. III).                 the election can be re-done.38 Third, Plaintiffs offer the



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novel theory that they have suffered an injury as a third-         rejected challenges to government action premised solely on
party beneficiary to the “social contract” between the federal     an individual's general interest in ensuring that the law is
government and the individual States.39                            followed.44

36     Plaintiff PVA premises its associational standing on the    41     Lance v. Coffman, 549 U.S. 437, 441, 127 S.Ct. 1194,
       standing of its members, the individual named Plaintiffs           167 L.Ed.2d 29 (2007).
       in this case. Doc. 39 at 4. Accordingly, the Court will
                                                                   42     Gill v. Whitford, ––– U.S. ––––, 183 S. Ct. 1916, 1929,
       analyze Plaintiffs’ standing together. Similarly, because
       Plaintiffs base their theories of standing against all             201 L.Ed.2d 313 (2018).
       Defendants on the same injuries, the Court will analyze     43     Lance, 549 U.S. at 441, 127 S.Ct. 1194.
       Plaintiffs’ standing against the Defendants as a whole.
                                                                   44     E.g., id. at 442; United States v. Richardson, 418 U.S.
37     Id. at 5-7.
                                                                          166, 176-77, 94 S.Ct. 2940, 41 L.Ed.2d 678 (1974);
38     Id. at 7.                                                          Schlesinger v. Reservists Comm. to Stop the War, 418
                                                                          U.S. 208, 220-21, 94 S.Ct. 2925, 41 L.Ed.2d 706 (1974).
39     Id. at 9-10.
                                                                   In the voting rights context, the Supreme Court has “long
None of these theories are persuasive. Plaintiffs have not         recognized that a person's right to vote is individual and
shown that they can satisfy any of the three elements of           personal in nature.”45 But this right does not give plaintiffs
standing. That is, Plaintiffs have not shown that they will        carte blanche to challenge any action that conceivably
suffer an injury in fact, that any injury is fairly traceable      infringes upon that right. For example, a mere violation
to Defendants, or that any purported injury is likely to be        of the Elections Clause, on its own, will not support
redressable. Consequently, their complaint is dismissed.
                                                                   standing because it constitutes a generalized grievance.46
                                                                   Nor will “statewide harm” to a voter's interest in “collective
  A. Injury in Fact                                                representation in the legislature” or in “influencing the
 *4 Plaintiffs have not alleged an injury in fact sufficient to    legislature's overall ‘composition and policymaking.’ ”47
support standing. “To establish Article III standing, an injury    To the extent that the latter interest is recognized, it is
must be ‘concrete, particularized, and actual or imminent.’ ”40    “embodied in [an individual's] right to vote for [his or her]
Plaintiffs’ injuries lack particularity and imminence, and the     representative.”48
Court accordingly dismisses this action for lack of standing.
                                                                   45     Lance, 549 U.S. at 442, 127 S.Ct. 1194.
40     Clapper v. Amnesty Intern. USA, 568 U.S. 398, 409, 133
                                                                   46     Id.
       S.Ct. 1138, 185 L.Ed.2d 264 (2013) (quoting Monsanto
       Co. v. Geertson Seed Farms, 561 U.S. 139, 149, 130 S.Ct.    47     Gill, ––– U.S. at ––––, 138 S. Ct. at 1931.
       2743, 177 L.Ed.2d 461 (2010)).
                                                                   48     Id.
                                                                   In asserting their first theory of standing, Plaintiffs argue
1. Particularity
                                                                   that Defendants, by accepting and using CTCL funding, have
All three of Plaintiffs’ alleged injuries constitute generalized   disadvantaged and wasted Plaintiffs’ votes in the upcoming
grievances and are thus insufficiently particularized to           state and federal elections.49 They claim that Defendants
support standing. Limiting jurisdiction to those cases which       accepted CTCL funding “for the specific purpose to maintain,
are “personal and individual” to the party “ensures that           promote, or favor a historic specific demographic group that
courts exercise power that is judicial in nature.”41 Thus, the     can influence the outcome of federal elections within the
Supreme Court has made clear that “[a] federal court is not        boundaries of those counties and city.”50 The general crux
‘a forum for generalized grievances.’ ”42 The Supreme Court        of this argument seems to be that Defendants’ use of CTCL
defines generalized grievances as those “predicated upon an        funding will improve voter turnout which in turn will make
interest ... which is held in common by all members of the         it more likely that progressive candidates will succeed in the
                                                                   upcoming election.
public.”43 As a result, the Supreme Court has repeatedly


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49     Doc. 39 at 6.                                                53     Schlesinger, 418 U.S. at 220, 94 S.Ct. 2925.
50     Id.                                                          Finally, Plaintiffs’ third theory of injury also constitutes
                                                                    a generalized grievance. They claim that there is a
Importantly, however, Plaintiffs try to dodge the burden
                                                                    social contract between the federal government and the
of articulating precisely which of their interests have been
                                                                    individual States, and that Plaintiffs, as citizens, are third-
purportedly infringed. Despite citing their “right to vote,”
                                                                    party beneficiaries to this contract. The general thrust
Plaintiffs do not allege that CTCL funding has actually been
                                                                    of this argument is that Plaintiffs’ interest as third-party
used to restrict that right. They do not argue that Defendants
                                                                    beneficiaries are harmed whenever the government violates
have used the CTCL funding to impede Plaintiffs’ ability
                                                                    the Constitution, and that this injury is particularized enough
to vote or deny them the ability to effectively participate
                                                                    to predicate standing.
in the upcoming election. Moreover, Plaintiffs remain free
to advocate on behalf of their preferred candidates and
                                                                    The Court cannot accept this argument. To adopt Plaintiffs’
encourage others to vote.51 Thus, Plaintiffs’ appear to allege      conception of standing would be to reject the entirety of
only that their right to vote has been infringed because it         standing doctrine as it exists today. Under Plaintiffs’ theory,
now might be more difficult for them to elect their preferred       any citizen of the United States would have standing to
candidate.                                                          challenge any constitutional violation for any reason. This
                                                                    is simply not supported by precedent or doctrine.54 And the
51     Their efforts may even be more easily rewarded now that      Court declines to take such an expansive approach in this case.
       Defendants have taken additional steps to facilitate early
       and in-person voting.                                        54     Lance, 549 U.S. at 441, 127 S.Ct. 1194 (asserting only
 *5 Plaintiffs’ argument is unavailing because, at core, their             that the law has not been followed is insufficient to
claim is merely a generalized grievance. Though Plaintiffs                 establish standing); Richardson, 418 U.S. at 176-77, 94
have done a valiant job of disguising it, the only interest                S.Ct. 2940 (holding that a federal taxpayer does not
they have identified is of a general nature: that Plaintiffs               have standing to challenge certain CIA expenditures as a
ability to influence state and federal elections will be diluted           violation of the Constitution's Accounts Clause absent a
if Defendants take steps that might result in increased                    showing that he suffered a particular injury); Schlesinger,
voter turnout. This is not a legally cognizable injury under               418 U.S. at 220, 94 S.Ct. 2925 (“[S]tanding to sue may
Article III. And it is “precisely the kind of undifferentiated,            not be predicated upon an interest of the kind alleged here
                                                                           which is held in common by all members of the public,
generalized grievance about the conduct of government that
                                                                           because of the necessarily abstract nature of the injury all
[the Supreme Court has] refused to countenance in the
                                                                           citizens share.”).
past.”52 The Court therefore finds Plaintiffs’ first theory
insufficient to support standing.
                                                                    2. Imminence
52     Lance, 549 U.S. at 442, 127 S.Ct. 1194.
                                                                    Even if Plaintiffs could establish that their first two theories
Plaintiffs’ second theory of standing also fails because            state a particularized and concrete injury, the alleged injuries
it constitutes a generalized grievance. Plaintiffs argue
                                                                    are far too speculative to support standing.55 To show
that maintaining CTCL's grants to Defendants would
                                                                    standing for an alleged future injury, a party must show that
result in Plaintiffs losing representation in their individual
                                                                    the injury is imminent.56 “Although imminence is concededly
districts (because the election results would be subsequently
                                                                    a somewhat elastic concept, it cannot be stretched beyond
invalidated). But the Court is not aware of any cases holding
                                                                    its purpose, which is to ensure the alleged injury is not
that the right to be politically represented is a legally
                                                                    too speculative for Article III purposes—that the injury is
cognizable interest under Article III. And the Court declines
to expand standing doctrine in such a manner, especially given      certainly impending.”57 Standing thus cannot be predicated
that any right to political representation would be one “held in    on a “highly attenuated chain of possibilities.”58 And
common by all members” of the county.53 This injury is not          courts should exercise caution when determining whether to
sufficiently particularized, and thus does not satisfy standing.



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“endorse standing theories that rest on speculation about the          that increased voter turnout is inherently beneficial to
                                      59
decisions of independent actors.”                                      progressive candidates is dubious at best.61 And the Court
                                                                       finds this assumption far too dependent on the actions of tens,
55      It is clear that Plaintiffs’ “social contract” theory is too   if not hundreds, of thousands of voters to premise standing.
        generalized to establish standing.                             As a result, the Court finds that Plaintiffs’ injuries are too
                                                                       speculative and not sufficiently imminent to support standing.
56      Clapper, 568 U.S. at 409, 133 S.Ct. 1138.
57                                                                     61      As the adage goes, “a rising tide lifts all boats.” Missouri
        Id. (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555,
        565, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992)) (emphasis                 v. Jenkins, 515 U.S. 70, 102, 115 S.Ct. 2038, 132 L.Ed.2d
        in original).                                                          63 (1995).

58      Id. at 410, 133 S.Ct. 1138.
                                                                         B. Causation
59      Id. at 414, 133 S.Ct. 1138.                                    Plaintiffs also fail to establish that any alleged injury “is fairly

 *6 Plaintiffs’ theories of standing fail to show that any             traceable to the challenged conduct of the defendant.”62 In
alleged injury is certainly impending because they rely on a           Allen v. Wright, the Supreme Court concluded that standing
highly attenuated causal chain of events. For example, both            was absent where “[t]he links in the chain of causation
theories require the Court to assume that: (1) CTCL funding            between the challenged Government conduct and the asserted
will result in higher voter turnout; (2) any higher voter turnout      injury [we]re far too weak for the chain as a whole to sustain
will be in support of progressive candidates; (3) the higher           respondents’ standing.”63 There, the plaintiffs challenged
voter turnout will be significant enough to impact the outcome         the Internal Revenue Service's grant of tax-exempt status to
of the election; (4) this turnout will impact the election in          certain racially discriminatory schools, arguing that such tax-
favor of progressive candidates; and (5) regarding Plaintiffs’         exempt status aided the schools in maintaining segregation
second theory, that a party will challenge the election if this        and, accordingly, in harming their children by forcing them to
Court does not grant Plaintiffs’ motion and that challenge will        attend segregated schools.64
result in the invalidation of the election results.
                                                                       62      Cottrell, 874 F.3d at 162.
None of these assumptions are supported by the record.
Defendants have used CTCL funding in a nonpartisan way to              63      Allen v. Wright, 468 U.S. 737, 759, 104 S.Ct. 3315,
facilitate the upcoming election; they have spent the CTCL                     82 L.Ed.2d 556 (1984), abrogated on other grounds by
money to set up satellite election offices, offer dropboxes, and               Lexmark Int'l, Inc. v. Static Control Components, Inc.,
pay for various election-related expenses. Defendants have                     572 U.S. 118, 134 S.Ct. 1377, 188 L.Ed.2d 392 (2014).
notably not attempted to use the CTCL funds to increase                64      Id. at 743-45, 104 S.Ct. 3315
voter turnout by, for example, implementing get-out-the-vote
efforts. There simply is no indication in the record that CTCL         Such alleged harm was “not fairly traceable to the
funds will increase voter turnout at all, which Plaintiffs allege      Government conduct respondents challenge as unlawful”
                                                                       because there was no evidence that “there were enough
is the root cause of their purported harm.60
                                                                       racially discriminatory private schools receiving tax
                                                                       exemptions in respondents’ communities for withdrawal
60      It could be argued that safer, more efficient funding          of those exemptions to make an appreciable difference in
        will increase voter turnout in these areas. However, it
                                                                       public school integration.”65 The Supreme Court noted that
        is equally likely that even without safe and efficient
        funding, voters in a presidential election—especially one
                                                                       it was unclear “how many racially discriminatory private
        that is viewed as highly consequential to both Republican      schools [we]re in fact receiving tax exemptions,” whether
        and Democratic voters—will still be motivated to turn          the withdrawal of tax-exempt status “from any particular
        out in the same numbers regardless of any risks                school would lead the school to change its policies,” “whether
        associated with voting during a pandemic.                      any given parent of a child attending such a private school
Further, nothing in the record suggests that, if Defendants’           would decide to transfer the child to public school as a
use of the CTCL funding does increase voter turnout, it will           result of any changes in educational or financial policy made
necessarily benefit progressive candidates. The implication            by the private school once it was threatened with loss of



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                                                                           to support standing where injury turned on the action of
tax-exempt status,” or “whether, in a particular community,
                                                                           non-party actor).
a large enough number of the numerous relevant school
officials and parents would reach decisions that collectively
                                                                     C. Redressability
would have a significant impact on the racial composition of
                                                                   Lastly, the Court finds that standing is absent because
the public schools.”66                                             Plaintiffs have not demonstrated that any purported harm is
                                                                   likely to be redressed by a favorable decision.71 At bottom,
65     Id. at 757-58, 104 S.Ct. 3315.                              Plaintiffs claim rests on supposition—their conclusion that
66     Id. at 758, 104 S.Ct. 3315.                                 safer and more efficient voting as a result of CTCL
                                                                   funds will necessarily lead to increased progressive voter
 *7 Ultimately, any alleged harm “involve[d] numerous third
                                                                   turnout, thereby harming Plaintiffs’ preferred conservative
parties (officials of racially discriminatory schools receiving
                                                                   candidates.
tax exemptions and the parents of children attending such
schools) who may not even exist in respondents’ communities
                                                                   71      Cottrell, 874 F.3d at 162.
and whose independent decisions may not collectively have
a significant effect on the ability of public school students      However, as discussed above, there is no evidence that CTCL
                                         67
to receive a desegregated education.” Given that the harm          funds will result in an increase in voter participation. Indeed,
was not directly traceable to the IRS, the Supreme Court           a majority of the funding appears to be dedicated to assisting
concluded that plaintiffs did not have standing to pursue their    with the processing of mail-in voting and, thus, would appear
                                                                   likely to have no discernable effect on voter turnout. It appears
claims.68
                                                                   then that the harm alleged by Plaintiffs would instead be
                                                                   caused by the number of progressive voters who may turn
67     Id. at 759, 104 S.Ct. 3315.                                 out to vote, not by additional funding that increases the safety
68                                                                 and efficiency of the election in the Defendant counties.
       Id. at 759-60, 104 S.Ct. 3315.
                                                                   Consequently, simply forcing Defendants to return all CTCL
Here too, Plaintiffs’ alleged harms result from a third-           funding is not likely to stem the harm of which Plaintiffs
party and, thus, their alleged injuries are not fairly traceable   complain, as those voters may still turn out regardless of
to Defendants. The purported injuries here arise not from          whether or not Defendants keep or return the CTCL grant.
Defendants’ acceptance of CTCL funds, but from CTCL's
decision to allegedly direct those funds to counties with          It is therefore “entirely conjectural whether the ... activity that
higher rates of progressive voters. Indeed, Plaintiffs make        affects respondents will be altered or affected by” the Court
clear in their amended complaint that they are not harmed by
                                                                   blocking Defendants from using CTCL funding.72 Because
the use of funds to secure a safer and more efficient election,
                                                                   Plaintiffs’ alleged injuries stem from the actions of voters,
but instead “are injured by CTCL's private federal election
                                                                   not Defendants, their claims are not redressable and the Court
grants because they are targeted to counties and cities with
                                                                   finds that they lack standing.
progressive voter patterns.”69 Because Plaintiffs’ injuries are
not fairly traceable to Defendants’ actions but, instead, to the   72      Lujan, 504 U.S. at 571, 112 S.Ct. 2130.
actions of a non-defendant (CTCL), Plaintiffs do not have
standing to pursue their claims in this action.70
                                                                   III. CONCLUSION
                                                                   In accordance with the above discussion, Plaintiffs’ complaint
69     Doc. 38 at 2.                                               will be dismissed without prejudice for lack of standing.
70     See Leeke v. Timmerman, 454 U.S. 83, 86-87, 102 S.Ct.
                                                                   *8 An appropriate Order follows.
       69, 70 L.Ed.2d 65 (1981) (injury indirect insufficient to
       support standing because injury turned on the action of
       a prosecutor who was not a party not before the court);
                                                                   All Citations
       Linda R.S. v. Richard D., 410 U.S. 614, 617-18, 93
       S.Ct. 1146, 35 L.Ed.2d 536 (1973) (injury too indirect
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                                                                   defendants received such income; therefore, plaintiff has not
                                                                   pled a violation of the RICO statute.
                   1990 WL 39831
    Only the Westlaw citation is currently available.
                                                                   Under 18 U.S.C. § 1962(b), plaintiff must allege that the
    United States District Court, E.D. Pennsylvania.
                                                                   defendants engaged in “a pattern of racketeering activity
                                                                   in order to acquire or maintain, directly or indirectly, any
                Edward PETERSON
                                                                   enterprise or control of any enterprise which is engaged in, or
                         v.                                        the activities of which affect, interstate or foreign commerce.”
                George IVINS, Norris                               Plaintiff has not alleged that the defendants are attempting to
                                                                   acquire an interest in or control of any enterprise; accordingly,
                Gelman, Elaine Fields.
                                                                   this section of the RICO statute does not apply in plaintiff's
                                                                   case.
                    CIV. A. No. 90–8062.
                              |
                                                                   It appears that plaintiff is attempting to allege that the
                       April 2, 1990.
                                                                   defendants are “employed by or associated with an enterprise
Attorneys and Law Firms                                            engaged in, or the activities of which affect, interstate or
                                                                   foreign commerce, to conduct or participate, directly or
Edward Peterson, pro se.                                           indirectly, in the conduct of such enterprise's affairs through
                                                                   a pattern of racketeering activity....” 18 U.S.C. § 1962(c).
                                                                   However, plaintiff has not described the enterprise. The
MEMORANDUM AND ORDER                                               defendants cannot be the same entity as the enterprise.
                                                                   Hirsch v. Enright Refining Co., 751 F.2d 628, 633–34 (3d
DITTER, Senior District Judge.                                     Cir.1984). Plaintiff must also allege that the defendants
                                                                   participated in the conduct of the enterprise's affairs through
 *1 Plaintiff has filed a pro se complaint under 42 U.S.C. §§
                                                                   a pattern of racketeering activity. Rose v. Bartle, 871 F.2d
1983, 1985, and 1988, and under the Racketeer Influenced
                                                                   331, 358 (3d Cir.1989). Even assuming arguendo that the
and Corrupt Organizations Act (RICO), 18 U.S.C. § 1961 et
                                                                   plaintiff had properly alleged that defendants engaged in some
seq. Plaintiff is suing a judge of the Philadelphia Court of
                                                                   racketeering activity, his allegations lack the “continuity”
Common Pleas, a private attorney, and the Clerk of Quarter
                                                                   sufficient to establish a “pattern of racketeering activity.”
Sessions of the Philadelphia Court of Common Pleas.
                                                                   Marshall–Silver Construction Co. v. Mendel, No. 87–118, slip
                                                                   op. at 7–9 (3d Cir. Jan. 18, 1990). Finally, in order to recover
With his complaint, plaintiff filed a request for leave to
                                                                   civil remedies under 18 U.S.C. § 1964(c), plaintiff must allege
proceed in forma pauperis. As it appears he is unable to pay
                                                                   that he was injured in his business or property by reason of a
the cost of commencing this action, I will grant his motion to
                                                                   violation of § 1962. Personal injuries are not included within
proceed in forma pauperis.
                                                                   the ambit of § 1964(c). Moore v. Eli Lilly and Co., Inc., 626
                                                                   F.Supp. 365 (D.Mass.1986).
For the reasons set forth below, I will dismiss plaintiff's RICO
claims against all of the defendants. I will also dismiss his
                                                                    *2 Plaintiff also refers to 18 U.S.C. § 1962(d) in his
claims under 42 U.S.C. §§ 1983, 1985, and 1988, with leave
                                                                   complaint. This section requires a finding that the defendants
to amend his claims under § 1983 against Gelman and Fields
                                                                   conspired to violate §§ 1962(a), (b) or (c). Because plaintiff
only.
                                                                   has not alleged a conspiracy to violate either subsection (a),
                                                                   (b), or (c), there can be no violation of (d).
In order to bring an action under the RICO statute, plaintiff
must allege that the defendants engaged in one of the
                                                                   Plaintiff's claim for relief under 42 U.S.C. §§ 1983, 1985,
prohibited activities described in 18 U.S.C. § 1962. Plaintiff
                                                                   and 1988 against Judge Ivins will be dismissed as frivolous
does not allege that the defendants have violated any of
                                                                   pursuant to 28 U.S.C. § 1915(d). Judge Ivins is entitled to
these sections. To satisfy the requirements of section 1962(a),
                                                                   absolute immunity from liability for damages for actions he
plaintiff must show that he was injured as a result of
                                                                   performed in his judicial capacity. Dennis v. Sparks, 449 U.S.
defendants' investment or receipt of money from a pattern
                                                                   24, 27 (1980); Stump v. Sparkman, 435 U.S. 349 (1978);
of racketeering. Plaintiff has not alleged that any of the


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                                                                    Although plaintiff may be able to state a cause of action
Pierson v. Ray, 386 U.S. 547 (1967). Although plaintiff is
                                                                    against Gelman and Fields under 42 U.S.C. § 1983, he has
also requesting declaratory and injunctive relief in his claims
                                                                    failed to do so in an intelligible fashion in this complaint.
against Judge Ivins, his request, in essence, is to have Judge
                                                                    The civil rights allegations that implicate Gelman and Fields
Ivins removed from his case. The issues concerning plaintiff's
                                                                    are intertwined with those allegations that refer to Judge
criminal case which were pending before Judge Ivins have
                                                                    Ivins. The RICO allegations overlap and are incorporated
been resolved. Any issues raised on appeal will be decided
                                                                    into the civil rights allegations, and vice versa. The
by appellate court judges and not by Judge Ivins; hence,
                                                                    complaint does not contain separate counts for each violation
plaintiff's request for declaratory and injunctive relief will be
                                                                    charged against each individual defendant. Additionally, the
denied as moot.
                                                                    complaint contains numerous extraneous allegations which
                                                                    are irrelevant to the underlying claims. Because it is the
Plaintiff's civil rights claims against defendants Gelman
                                                                    plaintiff's duty to set forth his cause of action in a logical and
and Fields are also flawed. In order to pursue a claim
                                                                    intelligible format, I will dismiss the complaint in its entirety,
under 42 U.S.C. § 1985, plaintiff must allege that the
                                                                    without prejudice to plaintiff's right to amend so that he may
defendants' actions were motivated by racially discriminatory
                                                                    state his civil rights claims pursuant to 42 U.S.C. § 1983
animus or that there has been some interference with
                                                                    against defendants Gelman and Fields only. An order follows.
federal officials and federal court proceedings. Griffin v.
Breckenridge, 403 U.S. 88, 102 (1971); Brawer v. Horowitz,
535 F.2d 830, 840 (3d Cir.1976). The plaintiff does not
state, nor do the facts suggest, that Gelman and Field acted        ORDER
intentionally to discriminate against him on the basis of race.
In addition, plaintiff is making allegations regarding state         *3 AND NOW, this 2nd day of April, 1990, it is hereby
court proceedings, not federal court proceedings; hence, he         ordered that plaintiff's motion to proceed in forma pauperis
fails to state a claim under 42 U.S.C. § 1985. Section 1988 is      is granted. It is further ordered that plaintiff's complaint
merely a procedural provision and creates no causes of action.      is dismissed for the reasons set forth in the accompanying
Bartee v. Yanoff, 514 F.Supp. 96, 97, n. 2 (E.D.Pa.1981), aff'd,    memorandum. It is further ordered that plaintiff is granted
Black v. Bayer, 672 F.2d 309 (3d Cir.), cert. denied, 459 U.S.      leave to amend his complaint within fifteen days as to
916 (1982). Accordingly, plaintiff's claims under 42 U.S.C. §§      defendants Gelman and Fields to allege a cause of action
1985 and 1988 against Gelman and Fields will be dismissed           pursuant to 42 U.S.C. § 1983.
as frivolous pursuant to 28 U.S.C. § 1915(d). See United
States, ex rel. Walker v. Fayette County, 599 F.2d 573, 575 (3d
                                                                    All Citations
Cir.1979).
                                                                    Not Reported in F.Supp., 1990 WL 39831

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                    2013 WL 842946
               District Court of the Virgin                  MEMORANDUM OPINION
              Islands, Division of St. Croix
                                                             Finch, Senior Judge

  Norma Pickard SAMUEL, Individually and                      *1 THIS MATTER comes before the Court on Defendants'
   as a St. Thomas Candidate for Delegate                    Motion to Dismiss, filed on January 18, 2013. (Dkt. No. 84).
                                                             In their motion, Defendants argue that this case should be
   to Congress, Wilma Marsh–Monsanto,
                                                             dismissed on numerous grounds, including lack of standing,
 individually and as a St. Thomas candidate                  failure to state a claim, and laches. Plaintiffs, proceeding
    for Senate–at–Large, Lawrence Olive,                     pro se, have opposed the motion. (Dkt. No. 86). For the
 individually and as a St. Thomas Candidate                  reasons that follow, the Court grants Defendants' motion and
                                                             dismisses the Amended Complaint.
   for the 30th Legislature, Diane Magras,
 Individually and as a St. Thomas candidate
      for Board of Elections, and Harriet                    BACKGROUND
  Mercer, individually and as a St. Thomas
                                                             On December 11, 2012, Plaintiffs Norma Pickard–Samuel,
 Candidate for Board of Elections, Plaintiffs,               Wilma Marsh–Monsanto, Lawrence Olive, Diane Magras,
                       v.                                    and Harriet Mercer filed a Complaint pursuant to 42 U.S.C.
    VIRGIN ISLANDS JOINT BOARD OF                            § 1983 and other statutes in which they sought, inter alia, to
                                                             decertify the November 6, 2012 general election in the Virgin
  ELECTIONS, St. Croix Board of Elections,                   Islands. (Dkt. No. 1). They filed an Amended Complaint on
   St. Thomas–St. John Board of Elections,                   December 21, 2012, which also contained an “Application for
     John Abramson, Jr., as supervisor of                    a Temporary Restraining Order, Injunctive Relief, Mandamus
                                                             Relief, Declaratory Judgment and Costs.” (Dkt. No. 33).
   Elections, Rupert Ross, Jr., as chairman
  of the St. Croix Board of Elections, Alecia                As set forth in the Amended Complaint, Plaintiff Norma
  Wells, as chairwoman of the St. Thomas–                    Pickard–Samuel was a federal candidate for the territory-
                                                             wide position of Delegate to Congress in the November 2012
   St. John Board of Elections, Defendants.
                                                             elections; Plaintiff Wilma Marsh–Monsanto was a candidate
                                                             for the territory-wide position of Senator–at–Large; Plaintiff
                    Civil No.2012–0094
                                                             Lawrence Olive was a candidate for the St. Thomas District
                              |
                                                             position as Senator for the 30th Legislature; and Plaintiffs
                       March 7, 2013
                                                             Diane Magras and Harriet Mercer were candidates for the
Attorneys and Law Firms                                      St. Thomas/St. John District Board of Elections. (Dkt. No.
                                                             33, ¶¶ 7–11). Plaintiffs were not elected in the November
Norma Pickard Samuel, Pro Se, St. Thomas, U.S.V.I.           2012 election. Plaintiffs claimed that Defendants—the Virgin
                                                             Islands Joint Board of Elections; the St. Croix Board of
Wilma Marsh–Monsanto, Pro Se, St. Thomas, U.S.V.I.           Elections; the St. Thomas–St. John Board of Elections; John
                                                             Abramson, Jr., Supervisor of Elections; Rupert Ross, Jr.,
Lawrence Olive, Pro Se, St. Thomas, U.S.V.I.
                                                             Chairman of the St. Croix Board of Elections; and Alecia
Diane Magras, Pro Se, St. Thomas, U.S.V.I.                   Wells, Chairwoman of the St. Thomas–St. John Board of
                                                             Elections—have not addressed their election-related concerns
Harriet Mercer, Pro Se, St. Thomas, U.S.V.I.                 and complaints, and had violated various federal and local
                                                             laws which cast the results of the election in doubt. Plaintiffs
Tamika M. Archer, Esq. Ariel Smith–Francois, Esq., St.
                                                             also sought a temporary restraining order and a preliminary
Thomas, U.S.V.I., For the Defendants




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injunction to enjoin the January 2013 swearing in of the Virgin     that his office would conduct an investigation into the
Islands' officials elected in November 2012.                        2012 general election, documenting a conflict of interest.
                                                                    According to Plaintiffs, all of this correspondence was
The procedural background in this case was set forth in the         ignored. Id. ¶¶ 33–44; and (8) Plaintiffs hand-delivered
Court's January 6, 2013 Memorandum Opinion denying a                petitions for recount concerning the general election to
preliminary injunction:                                             the St. Thomas/St. John Elections Office “alleging a
                                                                    wide variety of substantiated election-related complaints,”
  Plaintiffs' twenty-one page Amended Complaint contains a          including fraud, resulting in “the public's diminished trust
  number of general factual allegations that can be roughly         and confidence in the Election System,” and they believe
  divided into eight categories: (1) Defendants have ignored        they are entitled to a new election because Defendants
  admonishments by the District Court and the Superior              failed to establish a quorum at the meeting where they
  Court of the Virgin Islands contained in Bryan v. Todman,         decided the recount issue, as required by 18 V.I.C. §§
  1993 U.S Dist. LEXIS 21461 (D.V.I. Oct. 29, 1993) and             629(b) and (c). Id. ¶¶ 45, 46.
  St. Thomas–St. John Bd. of Elections v. Daniel, 2007
  WL 4901116 (V.I. Sept. 17, 2007), [Dkt. No. 33] ¶ 25;              *2 Based on these allegations, Plaintiffs contend that
  (2) Defendants have failed to enforce the Uniformed and           Defendants have infringed on “voters' fundamental right to
  Overseas Citizens Absentee Voting Act, amended by the             vote, fair and transparent elections and to equal protection”;
  Military & Overseas Voter Empowerment Act, id. ¶ 26;              they will be “severely burdened in exercising their due
  (3) On occasions in 2001, 2003, and 2006, Defendant               process right” to have their election challenges decided;
  Abramson acted in a manner that has exposed or could              and the legitimacy of the general election results, in
  expose the election system to compromise, id. ¶ 27;               terms of vote tabulation and certification are in doubt,
  (4) Defendants have misrepresented the “true status of            as the tabulation is “independently unverifiable and
  electronic voting machine certification” between 2010 and         indeterminable.” Id. ¶¶ 48–50. They do not specifically
  2012 when, inter alia, Defendant Abramson stated that             explain how their constitutional rights have been violated.
  the Virgin Island voting machines were federally certified
  by the Election Assistance Commission (“EAC”) when                Plaintiffs assert that Defendants, acting under color of law,
  they were not, id. ¶ 28; (5) various individuals, including       have administered the election in a manner inconsistent
  Plaintiff Marsh–Monsanto, made written requests for               with federal and local election law, violating 42 U.S.C. §
  “election intervention and audit pertaining to the integrity      1983, and seek decertification of the general election and a
  and security of the Election System and Boards of                 new election. Id. ¶¶ 52–53. They request that Defendants be
  Elections” from 2009 to 2012, id. ¶ 30; (6) Plaintiffs            enjoined from conducting the January 8, 2013 swearing-in
  submitted correspondence to the Virgin Islands Attorney           ceremony of all candidates. They also request that the Court
  General and United States Attorney challenging the 2012           declare that: (1) Defendants' denial of petitions for recount
  primary election process, which were neither officially           by lack of quorum violates their due process rights; (2)
  acknowledged, acted upon “fully and impartially, nor              Defendants have violated 18 V.I.C. §§ 629(b) and (c); (3)
  resolved to the satisfaction of the plaintiffs,” id. ¶¶ 31,       the 2012 general election is null and void, order the Boards
  32; (7) between August and November 2012, “a number               of Elections to decertify the election, and issue an order to
  of candidates” and others submitted correspondence and            conduct the new election on a one-page paper ballot. Id.
  inquiries to the Boards of Elections expressing serious           pp. 19–20.
  concerns about the primary election; a person filed a           Samuel v. Virgin Islands Joint Bd. of Elections, 2013 WL
  complaint for a recount, which was granted but did              106686, at *2 (Jan. 6, 2013) (footnote omitted).
  not strictly conform to the statute; an unnamed person
  challenged the certification of the primary election;           The Court issued an Amended Order denying Plaintiffs'
  Plaintiff Pickard–Samuel submitted a letter to the Attorney     petition for a temporary restraining order on January 2,
  General and U.S. Attorney concerning the use of non–            2013 (Dkt. No. 69), and later denied Plaintiff's motion for
  EAC certified voting machines in the general election,          reconsideration of that Order. (Dkt. No. 83). On January
  in contravention of the Help America Vote Act of 2002           4, 2013, the Court held a hearing on Plaintiffs' motion
  (“HAVA”), 116 Stat. 1666, 42 U.S.C. § 15301 et seq.,            for a preliminary injunction, and denied the motion in a
  which she felt would negatively impact her election bid;        Memorandum Opinion issued on January 6, 2013. (Dkt.
  a person challenged the Attorney General's announcement         No. 76). Plaintiffs filed a “Motion to Reconsider and Alter


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Judgment” on January 11, 2013, in which they asked the              Id. at 210–211. In adjudicating a motion to dismiss, the Court
Court to reconsider its denial of their request for a preliminary   may consider certain narrowly-defined types of materials
injunction. (Dkt. No. 81). The Court denied that motion on          without converting the motion to a summary judgment
February 1, 2013. (Dkt. No. 87). On February 4, 2013, the           motion, including items that are integral to or explicitly relied
Court denied Plaintiffs' motion to stay proceedings in this case    on in the complaint.” Rockefeller Ctr. Properties, Inc. Sec.
while the motion to reconsider the denial of the preliminary        Litig., 184 F.3d 280, 287 (3d Cir.1999).
injunction was pending. (Dkt. No. 88).

On January 18, 2013, Defendants filed the instant Motion               B. Standing: The § 1983 Causes of Action
to Dismiss. (Dkt. No. 84, 85). Plaintiffs opposed the motion        Defendants contend that Plaintiffs lack standing to bring this
(Dkt. No. 86), and Defendants filed a reply brief. (Dkt. No.        case because Plaintiffs have not alleged any facts that would
89). The matter is now ripe for disposition.                        tend to establish that they suffered a concrete or actual injury
                                                                    caused by Defendants' actions that can be redressed in this
                                                                    action. According to Defendants, because Plaintiffs' injuries
                                                                    are at best conjectural, and they claim no particularized harm
DISCUSSION                                                          to themselves, they do not have standing that would allow this
                                                                    Court to exercise jurisdiction over Plaintiffs' claims. (Dkt. No.
   A. Standard of Review
                                                                    85 at 7–8). Plaintiffs have not addressed the standing issue
In deciding a motion to dismiss pursuant to Fed.R.Civ.P. 12(b)
                                                                    regarding their § 1983 cause of action in their opposition to
(6), courts “accept all factual allegations as true, construe
                                                                    the motion to dismiss. Because standing implicates the Court's
the complaint in the light most favorable to the plaintiff,
                                                                    subject matter jurisdiction over a case, the Court will address
and determine whether, under any reasonable reading of the
                                                                    this issue first. See Adams v. Ford Motor Co., 653 F.3d 299,
complaint, the plaintiff may be entitled to relief.” Phillips
                                                                    304 (3d Cir.2011) ( “As in all cases, we must first address
v. County of Allegheny, 515 F.3d 224, 231 (3d Cir.2008)
                                                                    the issue of standing because ‘[i]f plaintiffs do not possess
(quoting Pinker v. Roche Holdings Ltd., 292 F.3d 361, 374
                                                                    Article III standing, ... the District Court ... lack [s] subject
n.7 (3d Cir.2002)). To withstand a Rule 12(b)(6) motion, “a
                                                                    matter jurisdiction to address the merits of plaintiff's case.’
complaint must contain sufficient factual matter, accepted as
                                                                    ”) (quoting ACLU–NJ v. Twp. of Wall, 246 F.3d 258, 261 (3d
true, to ‘state a claim to relief that is plausible on its face.’
” Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009) (quoting           Cir.2001)).1
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “After
Iqbal, it is clear that conclusory or ‘bare-bones' allegations      1       “A motion to dismiss for want of standing is ... properly
will no longer survive a motion to dismiss: ‘threadbare                     brought pursuant to Rule 12(b)(1), because standing is
recitals of the elements of a cause of action, supported by mere            a jurisdictional matter.” Ballentine v. United States, 486
conclusory statements, do not suffice.’ ” Fowler v. UPMC                    F.3d 806, 810 (3d Cir.2007).
Shadyside, 578 F.3d 203, 210 (3d Cir.2009) (quoting Iqbal,          Article III of the Constitution limits federal courts'
129 S.Ct. at 1949)). Therefore,                                     jurisdiction to “Cases” and “Controversies.” As the Supreme
                                                                    Court has explained, “[n]o principle is more fundamental
   *3 after Iqbal, when presented with a motion to dismiss
                                                                    to the judiciary's proper role in our system of government
  for failure to state a claim, district courts should conduct a
                                                                    than the constitutional limitation of federal-court jurisdiction
  two-part analysis. First, the factual and legal elements of a
                                                                    to actual cases or controversies.” DaimlerChrysler Corp.
  claim should be separated. The District Court must accept
                                                                    v. Cuno, 547 U.S. 332, 341 (2006) (internal quotation
  all of the complaint's well-pleaded facts as true, but may
                                                                    marks omitted). “One element of the case-or-controversy
  disregard any legal conclusions. [Iqbal, 129 S.Ct. at 1949].
                                                                    requirement” is that plaintiffs “must establish that they
  Second, a District Court must then determine whether the
                                                                    have standing to sue.” Raines v. Byrd, 521 U.S. 811, 818
  facts alleged in the complaint are sufficient to show that
                                                                    (1997). “The ‘irreducible constitutional minimum’ of Article
  the plaintiff has a “plausible claim for relief.” Id. at 1950.
                                                                    III standing consists of three elements.” Toll Bros., Inc.
  In other words, a complaint must do more than allege the
                                                                    v. Twp. of Readington, 555 F.3d 131, 137 (3d Cir.2009)
  plaintiff's entitlement to relief. A complaint has to “show”
                                                                    (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560
  such an entitlement with its facts. See Phillips [v. Cnty. of
                                                                    (1992)). “First, the plaintiff must have suffered a ‘concrete,’
  Allegheny], 515 F.3d 224, 234–35 [3d Cir.2008].
                                                                    ‘particularized’ injury-in-fact, which must be ‘actual or



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imminent, not conjectural or hypothetical.’ Second, that               that reflects the will of the voter. The overall process
injury must be ‘fairly traceable to the challenged action              suggests the Plaintiffs were denied, and continue to
of the defendant.’ Third, the plaintiff must establish that a          be denied, due process, and the election process may
favorable decision likely would redress the injury.” Id. at 137–       have been deliberately left open to compromise and
38 (citations omitted). While “all three of these elements are         vulnerabilities exploited, thus yielding disbelievable vote
constitutionally mandated, the injury-in-fact element is often         outcomes and irreparably harming plaintiffs, voters and
determinative. Under it, the plaintiff must suffer a palpable          future candidates of the U.S. Virgin Islands through
and distinct harm. That harm must affect the plaintiff in a            coercion and disenfranchisement.
personal and individual way.” Id. at 138 (citations and internal    (Id., ¶¶ 48–50).
quotation marks omitted). In addition, even though the “injury
can be widely shared,” it must “nonetheless be concrete             In its Memorandum Opinion denying Plaintiffs' request
enough to distinguish the interest of the plaintiff from the        for a preliminary injunction, the Court considered whether
generalized and undifferentiated interest every citizen has in      Plaintiffs suffered irreparable harm (i.e., injury). The Court
good government.” Id.                                               wrote that Plaintiffs'

 *4 The Court has parsed Plaintiffs' Amended Complaint                 allegation of irreparable harm is based on systemic
for allegations of injury they alleged they have suffered. In          allegations of a compromised voting system, but Plaintiffs
addition to allegations that Defendants have “consistently             do not elucidate how they were irreparably harmed, or
misrepresented and misle[ ]d the true status of electronic             how such harm is imminent. See Chester ex rel. NLRB
voting machine certification” (Dkt. No. 33, ¶ 28), and that            v. Grane Healthcare Co., 666 F.3d 87, 89 (3d Cir.2011)
Defendants did not respond to, or did not fully act upon,              (observing that the threat of irreparable harm must be
Plaintiffs' concerns about the validity of vote tabulation and         “imminent.”). They do not allege, for example, that but for
election certification (id., ¶¶ 31–40), the focus of Plaintiffs'       the operation of the voting machines or some miscounting
allegations of injury (stated in the context of irreparable harm)      of the votes, or but for the various responses or non-
is that                                                                responses of Defendants to their concerns, they would have
                                                                       been elected, or they were otherwise injured, and why
  Plaintiffs believe defendants have infringed on voters'              whatever their injury is would be addressed by decertifying
  fundamental right to vote, fair and transparent elections            the election results. See Golden, 2005 WL 6106401 at *3.
  and to equal protection. It is anticipated that voters or         Samuel, 2013 WL 106686, at *8. This reasoning applies to
  other candidates will be similarly aggrieved by defendants'       the issue of standing as well, as Plaintiffs must show that
  actions in the future absent injunctive relief. The aggrieved     they have suffered injury-in-fact. They have not done so
  plaintiffs have standing in their individual capacity, but        with regard to their 42 U.S.C. § 1983 due process and equal
  neither the claims asserted nor the relief requested herein       protection claims.
  requires the participation of the Plaintiffs to vindicate
  their individual rights. The actual and threatened injuries       As indicated above, an injury for standing purposes may be
  suffered by the plaintiffs have been and will continue to         widely shared; however, it must “nonetheless be concrete
  be suffered by thousands of Virgin Island citizens absent         enough to distinguish the interest of the plaintiff from the
  injunctive relief.                                                generalized and undifferentiated interest every citizen has in
                                                                    good government.” Toll Bros., Inc., 555 F.3d at 138. Plaintiffs'
  Plaintiffs believe[ ] that, absent injunctive relief, they        allegations do not distinguish their concerns—about the use
  and other candidates and voters will continue to be               of certain voting machines in the election or the election
  disenfranchised or severely burdened in exercising their          results in general—from concerns of other voters or even
  due process right to have their election concerns,                other candidates. In fact, they make a point that their injuries
  complaints and challenges lawfully acknowledged, vetted,          are completely aligned with local voters when they allege that
  and fully and impartially decided due to the collusionary         “[t]he actual and threatened injuries suffered by the plaintiffs
  practices, derelict and negligent misconduct of oath-sworn        have been and will continue to be suffered by thousands
  government and elected officials.                                 of Virgin Island citizens absent injunctive relief.” (Dkt. No.
                                                                    33 at ¶ 50); see also id. (the election results will “harm[ ]
  The outcome of the vote tabulation is independently
                                                                    plaintiffs, voters and future candidates of the U.S. Virgin
  unverifiable and indeterminable as an accurate metric
                                                                    Islands through coercion and disenfranchisement.”); (id., ¶


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48) (“[N]either the claims asserted nor the relief requested          Congregation Kol Ami v. Abington Twp., 309 F.3d 120,
herein requires the participation of the Plaintiffs to vindicate      136–37 (3d Cir.2002). The Amended Complaint is bereft
their individual rights.”). At best, Plaintiffs allege “a type        of any reference that Plaintiffs may have been treated
of institutional injury”—use of improper voting machines              differently than people who were similarly-situated. For
                                                                      example, Plaintiffs did not articulate how their right to
—“which necessarily damages” all Virgin Islands voters
                                                                      vote was interfered with or impinged to such an extent
“equally.” Raines, 521 U.S. at 821; see also Lujan, 504 U.S. at
                                                                      that it amounted to a constitutional violation by not
573–74 (explaining that the Supreme Court has “consistently
                                                                      participating on an equal basis with other—unnamed—
held that a plaintiff ... seeking relief that no more directly and
                                                                      citizens, or how election officials treated them differently
tangibly benefits him than it does the public at large—does           from other people.
not state an Article III case or controversy.”).                         In terms of Plaintiffs' due process allegations, “[i]t is
                                                                         well established that the Due Process Clause contains
 *5 Moreover, Plaintiffs “do not claim that they have                    both a procedural and substantive component.” Am.
been deprived of something to which they personally are                  Express Travel Related Servs., Inc. v. Sidamon–
entitled”—such as election to the various positions they                 Eristoff, 669 F.3d 359, 366 (3d Cir.2012). To establish
sought. They do not claim a loss of “any private right,                  a procedural due process claim, “a plaintiff must
which would make the injury more concrete.” Id. The injuries             demonstrate that ‘(1) he was deprived of an individual
about which Plaintiffs complain are phrased conjecturally:               interest that is encompassed within the Fourteenth
                                                                         Amendment's protection of life, liberty, or property,
Plaintiffs “believe” they and Virgin Islands voters have
                                                                         and (2) the procedures available to him did not provide
suffered injury or that the election process “may have been”
                                                                         due process of law.’ ” Iles v. de Jongh, 638 F.3d
left open to compromise (Dkt. No. 33, ¶¶ 48–50); they are
                                                                         169, 173 (3d Cir.2011) (quoting Biliski v. Red Clay
phrased generally, as amorphous due process claims, without              Consol. Sch. Dist. Bd. of Educ., 574 F.3d 214, 219
requisite concreteness; and they are phrased as ongoing                  (3d Cir.2009)). To establish a substantive due process
claims that will harm voters in the future, without the requisite        claim, a plaintiff must establish that an election was
imminence. Although Plaintiffs “believe” Defendants have                 “conducted in a manner that is fundamentally unfair.”
infringed on “voters' fundamental right to vote, fair and                Montgomery Cnty. v. Microvote Corp., 2000 WL
transparent elections and to equal protection,” (Dkt. No. 33 at          134708, at *4 n.3 (E.D.Pa. Feb. 3, 2000). Plaintiffs
17), these are conclusory allegations without factual support.           allege, in general, that the November 2012 election
For example, Plaintiffs do not explain what actually occurred            suffered from certain irregularities—in particular, the
during the November 2012 election that would show that the               fact that the voting machines were not EAC–certified,
results did not reflect the will of the voters, how those vague          that the election was subverted by “fraud, corruption,
                                                                         and mistake,” and that the public has “diminished trust
injuries took place, or how a failure to use EAC–certified
                                                                         and confidence in the Election System, its processes,
machines may have caused such injuries.
                                                                         instruments, officials, and vote outcomes.” (Dkt. No.
                                                                         33 at 16). None of these allegations rise to the
In short, Plaintiffs have not alleged how their due process or           level of widespread fraud—fundamental unfairness
equal protection rights were violated by Defendants' actions.            —establishing a substantive due process claim and
As a result, they have “not alleged a sufficiently personal              requiring the invalidation of the election. Plaintiffs
injury to establish standing [.]” Lavergne v. Bryson, 2012 WL            have not alleged, for example, that the voting machine
4127268, at *2 (3d Cir. Sept. 20, 2012) (citing Schaffer v.              irregularities were so pervasive that they affected the
Clinton, 240 F.3d 878, 885 (10th Cir.2001)). Accordingly,                outcome of the election. As far as procedural due
Plaintiffs' 42 U.S.C. § 1983 claims must be dismissed on                 process, while “[t]he right to vote—to the extent it
                                                                         exists and an individual has been deprived of it—is
standing grounds for failure to allege an injury-in-fact.2
                                                                         certainly a protected liberty interest,” Plaintiffs have
                                                                         not alleged that they were personally deprived of
2       Even if Plaintiffs had established standing under § 1983         that right, or make any other representation that they
        for their equal protection and due process claims, the           suffered a constitutional deprivation of life, liberty
        Court would dismiss that cause of action for failure to          or property. Barefoot v. City of Wilmington, N.C.,
        state a claim. In order to state an equal protection claim,      37 F. App'x 626, 635 n.5 (4th Cir.2002). The only
        Plaintiffs must establish that they are similarly situated       deprivation they assert is a general lack of confidence
        to other persons, and that there was no rational reason for      in the election system, which simply does not rise to
        the differential treatment of similarly situated persons.        the level of a life, liberty, or property interest protected



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          by the Fourteenth Amendment. They also have no             in use. (Amended Complaint ¶ 20). The HAVA provision
          constitutional right to have their election concerns       that refers to certification of voting machines, 42 U.S.C. §
          and complaints, conveyed in various writings over the      15371(a)(2), provides that, “[a]t the option of a State, the State
          years, fully and impartially decided. In sum, Plaintiffs   may provide for the testing, certification, decertification, or
          have not stated a claim under § 1983.
                                                                     recertification of its voting system hardware and software
                                                                     by the laboratories accredited by the Commission under this
   C. Whether Plaintiffs Have Stated a Claim Under the               section.” (emphasis added).
   Help America Vote Act (HAVA)
 *6 Plaintiffs' claims fail on other grounds as well. It is well-    In Gonzaga Univ. v. Doe, 536 U.S. 273 (2002), the Supreme
established that “ ‘a plaintiff must demonstrate standing for        Court held that there is no private right to enforce a statute
each claim he seeks to press' and ‘for each form of relief           unless Congress, in a clear voice, unambiguously confers that
that is sought.’ ” Davis v. Fed. Election Comm'n, 554 U.S.           right. Id. at 280. Nowhere in Section 15371 or Section 15481
724, 734 (2008) (quoting DaimlerChrysler Corp., 547 U.S.             has Congress indicated an intention that these provisions may
at 352)). Defendants contest whether Plaintiffs have stated a        be enforced by private individuals. This result is consistent
cognizable claim under the Help America Vote Act of 2002             with other circuit and district courts that have found no
(“HAVA”), Pub.L. 107–252, 116 Stat. 1666, 42 U.S.C. §§               private right of action under particular sections of HAVA. See
15301–15545, because HAVA does not permit Plaintiffs to              Sandusky Cnty. Democratic Party v. Blackwell, 387 F.3d 565,
file a private cause of action. A failure to allege statutory        572 (6th Cir.2004) (“HAVA does not itself create a private
standing is analyzed in the context of failure to state a claim      right of action.”); Crowley v. Nev. ex rel. Nev. Sec'y of State,
rather than lack of subject matter jurisdiction. See In re           678 F.3d 730, 731 (9th Cir.2012) (“Because HAVA § 301
Century Aluminum Co. Sec. Litig., __ F.3d __, 2013 WL                was not intended to benefit voters and candidates in local
11887, at *4 (9th Cir. Jan. 2, 2013) (“Failure to allege statutory   elections ... such individuals do not have a private right of
standing results in failure to state a claim on which relief can     action under § 1983.”); Taylor v. Onorato, 428 F.Supp.2d
be granted, not the absence of subject matter jurisdiction.”)        384, 387 (W.D.Pa.2006) (finding that HAVA did not provide
(citing cases).                                                      a private right of action to enforce § 301, nor did it create
                                                                     a federal right enforceable against state officials under 42
Plaintiffs' HAVA–related allegations are found in paragraphs
                                                                     U.S.C. § 1983).3
18, 20, 21, and 41 of the Amended Complaint. Plaintiffs allege
that Defendants are required to act in accordance with HAVA
                                                                     3       In Plaintiffs' Brief in Opposition to the Motion to
concerning the conduct of “elections containing a federal
candidate on the ballot”; that HAVA requires jurisdictions that              Dismiss, they refer to United States v. New York State Bd.
use paper ballot voting systems, punch card voting systems,                  of Elections, a case filed in the Northern District of New
                                                                             York in 2006 which set forth “a variety of allegations
or a central count voting system to provide, inter alia, voter
                                                                             identical in many respects to Plaintiffs' present cause of
education on how to use the systems and a record that can
                                                                             action, thereby invoking subject matter jurisdiction of
be audited; Virgin Islands law mandates only EAC–certified
                                                                             the Court, and ultimately obtaining an Order from the
voting machines, as required by HAVA, to be used in general                  Court compelling the Defendants to ‘take all necessary
and special elections; and Plaintiff Samuel expressed her                    actions to come into compliance with the requirements of
concerns in a November 2011 letter to the Virgin Islands                     Section 301 and 303(a) of HAVA as soon as practicable
Attorney General and United States Attorney that non–EAC                     [.]’ ” (Dkt. No. 86 at 5). Plaintiffs apparently argue that
voting machines would be used in the 2012 general election,                  the New York case demonstrates that a court has subject
in contravention of HAVA. (Dkt. No. 33, ¶¶ 18, 20, 21, 41).                  matter jurisdiction over a HAVA cause of action and,
                                                                             by implication, that this Court has jurisdiction over their
Defendants are correct that Plaintiffs, to the extent that they              HAVA cause of action. However, there is a dispositive
are seeking to state a claim against Defendants under HAVA,                  distinction between the two cases. The New York case
                                                                             was brought by the United States Attorney General,
either directly or under § 1983, may not do so because the
                                                                             pursuant to 42 U.S.C. § 15511, which permits the
HAVA provisions that they cite do not permit individual
                                                                             Attorney General—not private citizens—to bring a civil
plaintiffs to enforce those provisions by bringing a private
                                                                             action against any state to carry out the requirements of
cause of action. Plaintiffs refer to two different sections of
                                                                             HAVA §§ 301, 302, and 303. Here, Plaintiffs, as private
HAVA. Section 301, 42 U.S.C. § 15481, provides for, inter                    citizens, have attempted to enforce certain provisions
alia, voter education and ability to audit the voting system


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        of HAVA, including § 303. The statute does not permit       Burton v. Georgia, 953 F.2d 1266, 1268 (11th Cir.1992));
        that. Accordingly, the New York case does not support       Griffin v. Burns, 570 F.2d 1065, 1076 (1st Cir.1987) (opining
        Plaintiffs' effort to state a claim under HAVA.             that while the Constitution affords federal courts the power
 *7 Even if Plaintiffs could bring an action under HAVA             to intervene and invalidate local elections, only exceptional
directly or pursuant to § 1983, HAVA's provision concerning         circumstances warrant the exercise of that power). Cases
EAC–certified voting machines, 42 U.S.C. § 15371(a)(2)              draw “[a] distinction ... between ‘garden variety’ election
is permissive, not mandatory. Section 15371 imposes no              irregularities and pervasive errors that undermine the integrity
requirement on Defendants to use EAC–certified machines.            of the vote.” Bennett v. Yoshina, 140 F.3d 1218, 1226
Although Plaintiffs assert that Defendants administered the         (9th Cir.1998). “Garden variety election irregularities do
election in a manner inconsistent with HAVA, id. ¶ 53,              not generally violate the Due Process Clause, even if they
this allegation has no traction because HAVA does not               control the outcome of the vote or election.” Id. Only when
require Defendants to use EAC–certified voting machines and         election irregularities transcend garden variety problems is
thus there would be nothing to enforce. As a consequence,           the election invalid. Id. See also Hennings v. Grafton, 523 F.2d
Defendants cannot be found to have administered the election        861, 864 (7th Cir.1975) (finding “no constitutional violation
in violation of HAVA.                                               where irregularities were caused by mechanical or human
                                                                    error and were not due to invidious or fraudulent intent,” and
Accordingly, to the extent Plaintiffs have alleged a cause of       ruling “[i]t is not every election irregularity, however, which
action under HAVA, either directly or under § 1983, they have       will give rise to a constitutional claim and an action under
failed to state a claim and such a cause of action must be          section 1983. Mere violation of a state statute by an election
dismissed.                                                          official, for example, will not. See Snowden v. Hughes, 321
                                                                    U.S. 1, 11 (1944)).”).

   D. Constitutional Claims Under Local Election Laws                *8 Plaintiffs' allegation that the electronic voting machines
Plaintiffs' fundamental concern in their Amended Complaint          were not EAC–certified, violating the provisions of Act 7334,
and in their Opposition to the Motion to Dismiss is that            which may have affected the entire election process, including
Defendants violated local election laws—particularly Act            the validity of vote tabulation, does not rise to the level of
7334. Act 7334 (Bill No. 29–0047) was enacted by the                widespread fraud—fundamental unfairness—to state a claim
Twenty–Ninth Legislature of the Virgin Islands during its           for a constitutional violation, requiring decertification of the
2011 Regular Session on December 28, 2011. Section 3a of            election. See Bryan v. Todman, 28 V.I. 42, 45, 1992 V.I. Lexis
Act 7334 provides that “only voting machines and equipment          19 (Terr.Ct. Dec. 17, 1992), aff'd 1993 U.S. Dist. Lexis 21461
that are EAC–certified pursuant to The Help America Vote            (D.V.I. Oct. 29, 1993) (opining that an election should be
Act of 2002 ... shall be utilized as the official voting systems    invalidated where “there is a finding of fraud or deprivation of
or equipment” in the Virgin Islands (amending Act No. 5281,         rights which would implicate the Constitution of the United
Bill No. 17–0100). In their Amended Complaint, Plaintiffs           States ... Where irregularities are alleged, the burden of proof
contend that the use of non–EAC certified voting machines           is on the plaintiff to show that the irregularities affect or
in the primary and general elections, and other irregularities,     change the result of the election by the questioned votes.”).
violated the provisions of numerous local statutes. (Dkt. No.       Plaintiffs have not alleged facts demonstrating that the alleged
33, ¶¶ 24, 32, 39, 46).                                             irregularities rose to a constitutional level that affected the
                                                                    outcome of the election. Compare St. Thomas–St. John Bd.
In order to bring a claim in federal court for violation of a       of Elections v. Daniel, 2007 WL 4901116, at *21 (V.I. Sept.
local election statute, Plaintiffs must allege a constitutional     17, 2007) (Swan, J., dissenting) (opining that where pervasive
violation that interferes with their right to vote. Violations of   violations of Virgin Island election laws deprived voters of
local election laws are properly litigated in state court unless    their ability to choose candidates of their choice, resulting
a constitutional violation has been alleged. See Shannon v.         in reasonable doubt that the election reflected the will of the
Jacobowitz, 394 F.3d 90, 94, (2d Cir.2005) (“Because the            voters, invalidation of the election would be a proper result);
states traditionally have authority over their own elections        see also analysis in January 6, 2013 Memorandum Opinion
and because the Constitution contemplates that authority,           denying Motion for Preliminary Injunction, Dkt. No. 76 at
courts ‘have long recognized that not every state election          16 (discussing how allegations that Defendants violated other
dispute implicates federal constitutional rights.’ ”) (quoting



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                                                                    in spite of multiple opportunities to comply since November
local laws did not reach constitutional dimensions); supra,
                                                                    of 2009, resulted in an action by the United States to force
n.2.
                                                                    compliance. See United States of America v. The Territory
Plaintiffs' Amended Complaint does not contain sufficient           of the Virgin Islands, et al. Case No. 3:12–cv–0069.” (Dkt.
factual matter, accepted as true, that states a claim to relief     No. 33, ¶ 26). These “conclusory or ‘bare-bones' allegations,”
under local election law that is plausible on its face. Iqbal,      which recite the statutory provisions of the Voting Rights Act
129 S.Ct. at 1949. Accordingly, Plaintiffs have failed to state a   and the UOCAVA, do not set forth any factual allegations to
claim for a violation of a constitutional right that would permit   support the causes of action. Fowler, 578 F.3d at 210 (quoting
their allegations that Defendants violated local election laws      Iqbal, 129 S.Ct. at 1949). The Court therefore dismisses these
to be decided in federal court.                                     causes of action.



   E. The Voting Rights Act and the Military & Overseas
                                                                    CONCLUSION
   Voter Empowerment Act
In their Amended Complaint, Plaintiffs make a passing               For the foregoing reasons, Defendant's Motion to Dismiss
reference to the Voting Rights Act of 1965, as amended, 42          (Dkt. No. 84) is granted. An appropriate Order accompanies
U.S.C. § 1973j, which prohibits “any discrimination based           this Memorandum Opinion.
on a potential voter's race, or on ethnic factors or minority
language that diminishes an individual's voting rights.” (Dkt.
No. 33, ¶ 23). Plaintiffs also refer to “Defendants' deliberate     All Citations
and chronic failure to enforce the Uniformed and Overseas
                                                                    Slip Copy, 2013 WL 842946
Citizens Absentee Voting Act (UOCAVA), as amended by
the Military & Overseas Voter Empowerment (MOVE) Act,

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                     978 F.3d 136                                   Holdings: The Court of Appeals, Duncan, Circuit Judge, held
      United States Court of Appeals, Fifth Circuit.                that:

    TEXAS LEAGUE OF UNITED LATIN                                    Secretary was likely to prevail on appeal with respect to
   AMERICAN CITIZENS; National League                               district court's ruling on voting rights claim;

      of United Latin American Citizens;                            Secretary was likely to prevail on appeal with respect to
   League of Women Voters of Texas; Ralph                           district court's ruling on equal protection claim; and
    Edelbach; Barbara Mason; Mexican
                                                                    Secretary was entitled to grant of stay pending appeal.
  American Legislative Caucus, Texas House
    of Representatives; Texas Legislative
                                                                    Stay granted.
    Black Caucus, Plaintiffs—Appellees,
                      v.                                            Ho, Circuit Judge, concurred and filed opinion.
         Ruth HUGHS, in her official
        capacity as Texas Secretary of                              *139 Appeals from the United States District Court for the
        State, Defendant—Appellant.                                 Western District of Texas, USDC No. 1:20-CV-1006, USDC
       Laurie-Jo Straty; Texas Alliance                             No. 1:20-CV-1015, Robert L. Pitman, U.S. District Judge

       for Retired Americans; BigTent                               Attorneys and Law Firms
       Creative, Plaintiffs—Appellees,
                                                                    Chad Wilson Dunn, Esq., Brazil & Dunn, Austin, TX,
                      v.                                            Danielle Marie Lang, Campaign Legal Center, Washington,
          Ruth Hughs, in her official                               DC, Luis Roberto Vera, Jr., Esq., Law Offices of Luis Roberto
        capacity as Texas Secretary of                              Vera, Jr. & Associates, San Antonio, TX, for Plaintiff—
                                                                    Appellee Texas League of United Latin American Citizens.
        State, Defendant—Appellant.
                                                                    Chad Wilson Dunn, Esq., Brazil & Dunn, Austin, TX,
                       No. 20-50867                                 Danielle Marie Lang, Campaign Legal Center, Washington,
                             |                                      DC, for Plaintiffs—Appellees National League of United
                   FILED October 12, 2020                           Latin American Citizens, League of Women Voters of
                                                                    Texas, Ralph Edelbach, Barbara Mason, Mexican American
Synopsis
                                                                    Legislative Caucus, Texas House of Representatives, and
Background: Following Governor's proclamation, in
                                                                    Texas Legislative Black Caucus.
response to COVID-19 pandemic, to expand the options
for voters to vote in-person early or to vote by absentee           Skyler Howton, Perkins Coie, L.L.P., Dallas, TX, for
ballot in upcoming general election, various individuals            Plaintiffs—Appellees Laurie-Jo Straty, Texas Alliance for
and interest groups filed action challenging Governor's             Retired Americans, and BigTent Creative.
subsequent proclamation specifying that mail-in ballots could
be delivered only to one designated location per county.            Kyle Douglas Hawkins, Lanora Christine Pettit, Office of the
The United States District Court for the Western District of        Attorney General, Office of the Solicitor General, Patrick K.
Texas, Robert L. Pitman, J., 2020 WL 5995969, enjoined the          Sweeten, Office of the Attorney General of Texas, Special
later proclamation on grounds that it constituted an improper       Counsel Unit, Austin, TX, for Defendant—Appellant Ruth
restriction on the right to vote. Secretary of State appealed and   Hughs.
sought emergency stay.
                                                                    Elizabeth Bonnie Wydra, Chief Counsel, Constitutional
                                                                    Accountability Center, Washington, DC, for Amicus Curiae
                                                                    Members of Congress.



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                                                                   **1 In response to the coronavirus pandemic, Texas
Justin Carl Pfeiffer, County Attorney's Office for the County
                                                                  Governor Greg Abbott has issued various proclamations
of Fort Bend, Richmond, TX, for Amici Curiae John W.
                                                                  about the upcoming November election. Among other things,
Oldham, and Chris Hollins.
                                                                  these measures have expanded the options for Texans to vote
Angela Cai, Wilkinson Walsh, L.L.P., New York, NY, for            in-person early or to *140 vote by absentee ballot. Take,
Election Law Scholars, Rebecca Green, Justin Levittt, and         for instance, early in-person voting. Normally, early voting
Nicholas Stephanopoulos.                                          would have started October 19. Now it will start October
                                                                  13, six days earlier. Or take absentee (“mail-in”) ballots.
Caroline Van Zile, Esq., Office of the Attorney General           Normally, if a voter wanted to hand-deliver her mail-in ballot,
for the District of Columbia, Washington, DC, for Amicus          she would have had only one day to do it—Election Day.
Curiae District of Columbia, and the States of California,        Now, under the Governor's expanded policy, she can deliver
Connecticut, Delaware, et al.                                     the ballot anytime until Election Day. That effectively gives
                                                                  voters forty extra days to hand-deliver a marked mail-in ballot
Robert Stephen Notzon, Law Office of Robert S. Notzon,
                                                                  to an early voting clerk. And the voter still has the traditional
Austin, TX, for Amicus Curiae Texas State Conference of
                                                                  option she has always had for casting a mail-in ballot: mailing
NAACP Branches.
                                                                  it.
Before Willett, Ho, and Duncan, Circuit Judges.
                                                                  To make the situation clear, this chart compares what we will
Opinion                                                           call “pre-COVID” early-voting and absentee-ballot rules and
                                                                  “COVID” rules:
Stuart Kyle Duncan, Circuit Judge:

 Pre-COVID                                                        COVID

 Early voting starts October 19.                                  Early voting starts October 13 (six extra
                                                                  days).

 Absentee ballots may be mailed.                                  Absentee ballots may be mailed.

 Absentee ballots may be hand-delivered only                      Absentee ballots may be hand-delivered
 on Election Day.                                                 before and up to Election Day (forty extra
                                                                  days).

                                                                  ballots could be delivered only to one designated location per
                                                                  county. But it left in place the previous forty-day expansion
                                                                  for delivering mail-in ballots and the always-available option
                                                                  of the U.S. mail.

                                                                  A coalition of Plaintiffs sued, claiming the October 1
                                                                  proclamation violated their right to vote by restricting
                                                                  absentee voting options. The district court agreed and
                                                                  enjoined the October 1 proclamation. The Texas Secretary
The controversy we now face involves the rules for hand-          of State appealed and now seeks an emergency stay. Among
delivering absentee ballots. As noted, the Governor's prior       other things, the Secretary argues that the district court
proclamation expanded the timeframe for doing that by forty       fundamentally misunderstood the context of the October 1
days. But it happened that a few large Texas counties wanted      proclamation. She explains that the proclamation is part of
to set up multiple delivery locations for these ballots. The      the forty-day expansion of Texans’ opportunities to hand-
Governor disagreed with this policy which, in his view,           deliver absentee ballots beyond what state election rules
threatened election uniformity and security. Consequently, on     normally permit. The proclamation refines that expanded
October 1, the Governor issued a new proclamation. This           voting period by specifying where ballots are to be delivered.
proclamation, refining the previous one, specified that mail-in   But it leaves the enlarged period in place, and also does



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nothing to prevent Texans from mailing in their absentee             deliver a marked mail ballot to the early voting clerk's office
ballots, as they have done in the past in election after election.   prior to and including on election day” (emphasis added).
Properly understood, the Secretary tells us, the October 1           This had the effect of extending the amount of time for a
proclamation is part of an expansion of absentee voting in           voter to hand-deliver a mail ballot: as the Texas Director
Texas, not a restriction of it.                                      of Elections explained in this case, “because counties began
                                                                     sending mail ballots on or before September 19, 2020, the
**2 We agree with the Secretary and grant the stay.                  proclamation increased the opportunities for voters to hand-
                                                                     deliver their marked mail ballots from only one day—election
                                                                     day—to over forty days.” Additionally, of course, voters
                                                                     retained the ability to send in their mail ballots the traditional
*141 I.
                                                                     way—through the mail. See id. § 86.006(a)(1), (2).

A.                                                                   2       The proclamation did this by suspending Texas Election
                                                                             Code § 85.001(a), which provides in relevant part that
Texas law allows eligible voters to vote early, either by
                                                                             “[t]he period for early voting by personal appearance
mailing in a ballot or by personally appearing at an early
                                                                             begins on the 17th day before election day and continues
voting place. Tex. Elec. Code §§ 81.001(a), 82.001–82.005.                   through the fourth day before election day.” Tex. Elec.
In response to the coronavirus pandemic, on July 27,                         Code § 85.001(a).
2020, Governor Abbott issued a proclamation (the “July 27
                                                                     3       Section 86.006(a-1) provides as follows:
Proclamation”) expanding early voting opportunities for the
upcoming November 3 election beyond those provided in the                      The voter may deliver a marked ballot in person to
Texas Election Code. Allegedly issued pursuant to authority                    the early voting clerk's office only while the polls
                                                                               are open on election day. A voter who delivers a
granted the Governor by the Texas Disaster Act of 1975,
                                                                               marked ballot in person must present an acceptable
see Tex. Gov't Code §§ 418.001–418.261, this measure was
                                                                               form of identification described by [Texas Election
one of a series of pandemic-driven changes to Texas election
                                                                               Code] Section 63.0101.
effected taken since the Governor's March 13 coronavirus
disaster declaration. See In re Steven Hotze, et al., ––– S.W.3d      **3 Following the July 27 Proclamation, at least four
––––, –––– – ––––, 2020 WL 5919726, at *1–2 (Tex. Oct. 7,            Texas counties—Harris, Travis, Fort Bend, and Galveston
2020) (explaining “[t]he Governor has repeatedly asserted his        —announced their intention to have multiple mail ballot
authority under the [Texas Disaster] Act to modify election          delivery locations in their counties for the November
procedures beginning shortly after his March 13 disaster             election. In response to this development, Governor Abbott
proclamation,” and listing measures including the July 27            issued a second proclamation on October 1 (the “October
                                                                     1 Proclamation”) amending the previous one. This new
Proclamation).1
                                                                     proclamation first reiterated that early in-person voting would
                                                                     begin on October 13. It then clarified that the prior suspension
1       See also Tex. Gov't Code § 418.002(4) (purpose of Texas      of *142 section 86.006(a-1), concerning hand-delivery of
        Disaster Act is, inter alia, to “clarify and strengthen      mail ballots, applied only under certain conditions. First, a
        the roles of the governor, state agencies, the judicial
                                                                     voter must deliver the ballot “at a single early voting clerk's
        branch of state government, and local governments in
                                                                     office location that is publicly designated by the early voting
        prevention of, preparation for, response to, and recovery
                                                                     clerk for the return of marked mail ballots under Section
        from disasters”).
                                                                     86.006(a-1) and this suspension.” Second, the early voting
Among other things, the July 27 Proclamation authorized              clerk must “allow[ ] poll watchers the opportunity to observe”
early in-person voting to begin on October 13, instead of            the ballot delivery. Finally, the proclamation specified that
October 19, thus allowing six extra days to vote in person.2         “[a]ny marked mail ballot delivered in person to the early
The proclamation also expanded opportunities for delivering          voting clerk's office prior to October 2, 2020, shall remain
marked mail ballots in person to an early voting clerk's office.     subject to the July 27, 2020 proclamation.”
Previously, voters wishing to hand-deliver their mail ballots
could do so “only while the polls are open on election day.”
Tex. Elec. Code § 86.006(a-1).3 The July 27 Proclamation,            B.
however, suspended this requirement by “allow[ing] a voter to


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On October 2, 2020, three individuals and several
organizations (collectively, “Plaintiffs”)4 challenged the         On the merits, the district court evaluated the Plaintiffs’
October 1 Proclamation by filing two separate actions              voting claims under the Anderson-Burdick balancing
in federal district court against Governor Abbott, Texas           framework. See Burdick v. Takushi, 504 U.S. 428, 434, 112
Secretary of State Ruth Hughs, and four local election             S.Ct. 2059, 119 L.Ed.2d 245 (1992); Anderson v. Celebrezze,
officials. They requested a preliminary injunction against the     460 U.S. 780, 789, 103 S.Ct. 1564, 75 L.Ed.2d 547 (1983).
October 1 Proclamation on the grounds that it (1) places           It *143 found that the proclamation's burden on Plaintiffs’
an undue burden on their right to vote under the First and         voting rights was “somewhere between ‘slight’ and ‘severe,”
Fourteenth Amendments and (2) violates the Equal Protection        because it forced absentee voters to “choose between risking
Clause of the Fourteenth Amendment. Consolidating the two          exposure to coronavirus to deliver their ballots in-person or
cases for purposes of the preliminary injunction motion, on        disenfranchisement if the [United States Postal Service] is
October 9, 2020, the district court granted the motion in          unable to deliver their ballots on time.” The court found this
part, enjoining Secretary Hughs and the local officials from       burden outweighed the State's professed interests in ballot
enforcing the Proclamation's restriction on hand-delivering        security, election integrity, and voter safety. Consequently,
mail ballots to a single designated early voting clerk's office.   the court found Plaintiffs were likely to succeed on
                                                                   their voting claims. The court also found likelihood of
4                                                                  success on Plaintiffs’ equal protection claims because the
       The individuals are Ralph Edelbach, Barbara Mason,
                                                                   proclamation disproportionately burdened absentee voters in
       and Laurie-Jo Straty. The organizations are the Texas
                                                                   larger counties by subjecting them to “increased distance,
       League of United Latin American Citizens; the National
       League of United Latin American Citizens; the League        increased wait time, and increased potential for exposure to
       of Women Voters of Texas; the Mexican American              the coronavirus,” without any countervailing justification.
       Legislative Caucus, Texas House of Representatives; the
       Texas Legislative Black Caucus; the Texas Alliance for       **4 On October 9, Secretary Hughs timely appealed and,
       Retired Americans; and BigTent Creative.                    the next day, sought an emergency stay and a temporary
Initially, the court ruled that various threshold issues did       administrative stay. On October 10, we granted a temporary
not prevent it from deciding Plaintiffs’ claims. First, the        stay and requested a response to her emergency stay motion,
court found that both the individual and organizational            which was timely filed earlier today on October 12.
plaintiffs had standing. Second, the court rejected Secretary
Hughs’ Eleventh Amendment argument, concluding she
had sufficient connection to enforcing the proclamation            II.
for purposes of Ex parte Young, 209 U.S. 123, 28 S.Ct.
441, 52 L.Ed. 714 (1908). The court did, however, dismiss          In deciding whether to grant a stay pending appeal, “[w]e
Governor Abbott on Eleventh Amendment grounds based on             evaluate ‘(1) whether the stay applicant has made a strong
our decision in In re Abbott, 954 F.3d 772 (5th Cir. 2020).        showing that he is likely to succeed on the merits; (2) whether
Additionally, the court declined to abstain under the Pullman      the applicant will be irreparably injured absent a stay; (3)
doctrine, despite the fact that the October 1 Proclamation         whether issuance of the stay will substantially injure the other
is currently being challenged in state litigation. See R.R.        parties interested in the proceeding; and (4) where the public
Comm'n of Tex. v. Pullman Co., 312 U.S. 496, 501, 61               interest lies.’ ” Texas Democratic Party v. Abbott, 961 F.3d
S.Ct. 643, 85 L.Ed. 971 (1941); Moore v. Hosemann, 591             389, 397 (5th Cir. 2020) (TDP I) (quoting Nken v. Holder,
F.3d 741, 745 (5th Cir. 2009). Finally, the court declined         556 U.S. 418, 426, 129 S.Ct. 1749, 173 L.Ed.2d 550 (2009)).
to stay its hand under the so-called Purcell principle that a      The first two factors carry the most weight. Barber v. Bryant,
federal court should avoid altering state election rules close     833 F.3d 510, 511 (5th Cir. 2016). The party seeking the stay
to an election. See Purcell v. Gonzalez, 549 U.S. 1, 6, 127        bears the burden of showing its need. Clinton v. Jones, 520
S.Ct. 5, 166 L.Ed.2d 1 (2006); see also Republican Nat'l           U.S. 681, 708, 117 S.Ct. 1636, 137 L.Ed.2d 945 (1997).
Comm. v. Democratic Nat'l Comm., ––– U.S. ––––, 140 S. Ct.
1205, 1207, 206 L.Ed.2d 452 (2020) (per curiam). The court
reasoned that it was the October 1 Proclamation, and not its       III.
injunction, that caused voter confusion and that therefore its
“injunction supports the Purcell principle.”



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We first consider whether Secretary Hughs has made a                 fraud or shown that the security measures at additional drop-
strong showing she will likely succeed on the merits. We             off locations were subpar. Therefore, the State, “by merely
conclude she has done so on at least one ground: that the            asserting an interest in promoting ballot security,” could not
district court erred in analyzing the Plaintiffs’ voting-rights      “establish that the interest outweighs a significant burden on
and equal protection claims. We therefore need not address,          voters.” Finally, the court added that the Governor's authority
and so express no opinion about, the Secretary's arguments           to issue the orders was rooted in his emergency powers, which
concerning standing, Ex parte Young, Purcell, or Pullman             enable him to act to protect public health and safety, but the
abstention.5                                                         “justifications for the October 1 Order's limitation on ballot
                                                                     return centers bear no relationship to protecting public health
5                                                                    and safety.”
       Cf., e.g., Texas All. for Retired Am. v. Hughs, No.
       20-40643, 976 F.3d 564, 567 (5th Cir. Sept. 30,
       2020) (observing that “[t]he Secretary's arguments as to       **5 Assuming Anderson-Burdick applies,6 for at least two
       standing ... [and] sovereign immunity ... are harder to       reasons we conclude the Secretary will likely show the district
       decide on our necessarily expedited review, but we need       court erred in applying it.
       not reach them because the Secretary has made a strong
       showing that she is likely to succeed on” one of her merits   6      The Secretary persuasively argues that, under McDonald
       arguments).
                                                                            v. Board of Election Commissioners of Chicago, 394 U.S.
                                                                            802, 89 S.Ct. 1404, 22 L.Ed.2d 739 (1969), the October
                                                                            1 Proclamation does not implicate the right to vote at
A.
                                                                            all. See id. at 807, 89 S.Ct. 1404 (distinguishing “the
                                                                            right to vote” from “a claimed right to receive absentee
As to the Plaintiffs’ voting-rights claims, the district court
                                                                            ballots”); see also TDP I, 961 F.3d at 403–06 (discussing
applied Anderson-Burdick balancing. Under this framework,
                                                                            McDonald’s continuing viability); Tully v. Okeson, 977
a court “must weigh the character and magnitude of the
                                                                            F.3d 608, 611 (7th Cir. Oct. 6, 2020) (observing that
asserted injury” to voting rights “against the precise interests
                                                                            “[i]n McDonald ..., the Supreme Court told us that the
put forward by the State as justifications for the burden                   fundamental right to vote does not extend to a claimed
imposed by its rule.” Voting for Am., Inc. v. Steen, 732                    right to cast an absentee ballot by mail”). Because
F.3d 382, 387–88 (5th Cir. 2013) (quoting Burdick, 504                      the Secretary is likely to prevail under the relatively
U.S. at 434, 112 S.Ct. 2059; Anderson, 460 U.S. at 789,                     more stringent Anderson-Burdick framework, we need
103 S.Ct. 1564) (cleaned up). A “severe burden” on voting                   not assess McDonald’s impact. That said, we recognize
can be justified only by state rules “narrowly drawn to                     there is force to the argument that McDonald applies
advance a state interest of compelling importance.” Id. at 388              with equal rigor to early voting as it does to absentee
(quoting *144 Burdick, 504 U.S. at 434, 112 S.Ct. 2059).                    voting—after all, both forms of voting are affirmative
“Lesser burdens, however, trigger less exacting review, and a               accommodations offered by the state and “designed to
                                                                            make voting more available,” TDP I, 961 F.3d at 403
State's ‘important regulatory interest’ will usually be enough
                                                                            (quoting McDonald, 394 U.S. at 807–08, 89 S.Ct. 1404),
to justify ‘reasonable, nondiscriminatory restrictions.’ ” Id.
                                                                            and are not laws that “themselves deny [voters] the
(quoting Timmons v. Twin Cities Area New Party, 520 U.S.
                                                                            exercise of the franchise.” Id. at 415 (Ho, J., concurring)
351, 358, 117 S.Ct. 1364, 137 L.Ed.2d 589 (1997)).                          (quoting McDonald, 394 U.S. at 807–08, 89 S.Ct. 1404).
                                                                            For courts to intervene, a voter must show that the state
The district court classified the burden on Plaintiffs’ right               “has in fact precluded [voters] from voting”—that the
to vote as “somewhere between ‘slight’ and ‘severe’ ”                       voter has been “prohibited from voting by the State.” Id.
because due to the order, “absentee voters must choose                      (Ho, J., concurring) (quoting McDonald, 394 U.S. at 808
between risking exposure to coronavirus to deliver their                    & n.7, 89 S.Ct. 1404) (emphasis added).
ballots in-person or disenfranchisement if the USPS is unable        First, the district court vastly overstated the “character and
to deliver their ballots on time.” This burden, the court            magnitude” of the burden allegedly placed on voting rights by
reasoned, outweighed the State's asserted interests in ballot        the October 1 Proclamation. Steen, 732 F.3d at 387 (quoting
security, uniformity, and lessening voter confusion. The court       Burdick, 504 U.S. at 434, 112 S.Ct. 2059). Indeed, one strains
asserted the Governor's proclamation was “the true source            to see how it burdens voting at all. After all, the proclamation
of confusion and disparate treatment among voters.” Further,         is part of the Governor's expansion of opportunities to cast
it found the State had not introduced evidence of voter


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an absentee ballot in Texas well beyond the stricter confines         **6 But even if we focused myopically on the voting options
of the Election Code. Previously, as we have explained, mail         restricted by the October 1 Proclamation, as the district court
ballots could be hand-delivered to the early voting clerk            did, we would still find no more than a de minimis burden
only on Election Day. See Tex. Elec. Code § 86.006(a-1).             on the right to vote. The district court emphasized that some
The Governor's July 27 Proclamation effectively extended             absentee voters would have to travel farther to drop off
that hand-delivery *145 option by forty days, and the                mail ballots at a centralized location and that, as a result,
impact of the October 1 Proclamation can be measured only            would confront a higher risk of exposure to coronavirus. The
against that baseline. To be sure, the proclamation requires         court also warned that voters unwilling or unable to do so
a single designated drop-off location per county during the          would “risk[ ] ... disenfranchisement if the USPS is unable
expanded forty-day period. But that represents merely a              to deliver their ballots on time.” This drastic picture painted
partial refinement of the bounds of a still-existing expansion       by the district court fails to account for the numerous ways
of absentee voting opportunities. In a related context, we have      Texans can vote early or absentee in the November 3 election.
recently explained that to “abridg[e]” the right to vote means       As we have recounted, under the Governor's expansion of
to “place a barrier or prerequisite to voting, or otherwise make     voting opportunities, Texans can (1) vote early in-person
it more difficult to vote.” Texas Democratic Party v. Abbott,        for an expanded period starting on October 13 (as opposed
––– F.3d ––––, ––––, 2020 WL 5422917, at *15 (5th Cir. Sept.         to the previous early-voting period starting on October 19);
10, 2020) (TDP II). By contrast, “a law that makes it easier         (2) hand-deliver a marked mail ballot during a forty-day
for others to vote does not abridge any person's right to vote.”     period starting on September 19 (as opposed to the previous
Id. The July 27 and October 1 Proclamations—which must be            one day—Election Day—on which this was permitted); or
read together to make sense—are beyond any doubt measures            (3) drop an absentee ballot in the mail. In light of those
that “make[ ] it easier” for eligible Texans to vote absentee. Id.   options, the October 1 Proclamation's partial refinement of
How this expansion of voting opportunities burdens anyone's          one avenue for absentee voting does not amount to a “severe
right to vote is a mystery.7                                         restriction” on the right to vote. Burdick, 504 U.S. at 434,
                                                                     112 S.Ct. 2059; see also A. Philip Randolph Inst. of Ohio
7                                                                    v. LaRose, ––– F. App'x ––––, 2020 WL 6013117 (6th Cir.
        As noted, Governor Abbott has taken unprecedented
                                                                     Oct. 9, 2020) (unpublished) (concluding a similar drop-box
        steps in the wake of COVID-19 to expand voting
                                                                     restriction on absentee ballots “surely does not impose a
        opportunities generally, and mail-in voting options
        specifically. In taking these (and other) pandemic-driven    ‘severe restriction[ ] on the right to vote’ ”) (quoting Mays v.
        actions, the Governor has invoked his broad emergency        LaRose, 951 F.3d 775, 779 (6th Cir. 2020)).
        powers under the Texas Disaster Act. No party questions
        the constitutional limits of that Act—unsurprisingly,         *146 We are especially unpersuaded by the district court's
        as this case is about loosening restrictions during a        view that voters must have multiple drop-off locations in
        public-health emergency, not imposing them. But a            order to “avoid the delays involved with mailing their ballots
        different case may require courts to confront head-on the    through the U.S. Postal Service.” The USPS recommends
        constitutional extent of gubernatorial power under the       voters request absentee ballots at least fifteen days before
        Texas Disaster Act. Neither the United States nor Texas      election day to ensure timely arrival. Texas law, however,
        Constitution includes a pandemic exception. See TDP I,
                                                                     allows voters to request ballots up to eleven days before
        961 F.3d at 413 (Ho, J., concurring) (“We do not suspend
                                                                     election day. Therefore, the district court concluded, a voter
        the Constitution during a pandemic.”); In re Salon a
                                                                     may legally request an absentee ballot that is not guaranteed
        La Mode, ––– S.W.3d ––––, ––––, 2020 WL 2125844,
        at *1 (Tex. May 5, 2020) (Blacklock, J., concurring)
                                                                     to arrive on time. The court thus concluded that absentee
        (“When properly called upon, the judicial branch must        voters face an insoluble choice between “risk[ing] infection
        not shrink from its duty to require the government's anti-   with a deadly disease to return their ballots in person or
        virus orders to comply with the Constitution and the law,    disenfranchisement if the USPS is unable to deliver their
        no matter the circumstances.”). All public servants, no      ballots in time.” This kind of speculation about late-arriving
        matter how well-intentioned, must heed federal and state     ballots comes nowhere close to rendering Texas's absentee
        constitutional constraints. While desperate times permit     ballot system constitutionally inadequate. Neither Plaintiffs
        desperate measures, we must resist defining desperation      nor the district court have cited any authority suggesting that a
        down.                                                        State must afford every voter multiple infallible ways to vote.
                                                                     As we explained in TDP I, mail-in ballot rules that merely



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make casting a ballot more inconvenient for some voters are            far more vulnerable to fraud, particularly among the elderly”);
not constitutionally suspect. 961 F.3d at 405. The principle           id. (criticizing challenged law because it “does nothing to
holds true even if “circumstances beyond the state's control,          address the far more prevalent issue of fraudulent absentee
such as the presence of the [coronavirus,]” or, here, possible         ballots”); see also Crawford, 553 U.S. at 195–96 & n.12,
postal delays, make voting difficult. Id.; see also McDonald,          128 S.Ct. 1610 (discussing examples “in recent years” of
394 U.S. at 810 & n.8, 89 S.Ct. 1404 (explaining that a State is       “fraudulent voting ... perpetrated using absentee ballots and
not required to extend absentee voting privileges to all classes       not in-person fraud ... demonstrat[ing] that not only is the risk
of citizens, even those for whom “voting may be extremely              of voter fraud real but that it could affect the outcome of a
difficult, if not practically impossible,” such as persons caring      close election”); TDP I, 961 F.3d at 414 (Ho, J., concurring)
for sick relatives or businessmen called away on business).            (observing that “courts have repeatedly found that mail-in
We cannot conclude that speculating about postal delays                ballots are particularly susceptible to fraud”) (and collecting
for hypothetical absentee voters somehow renders Texas's               authorities). In sum, “[w]hile the most effective method of
absentee ballot system constitutionally flawed.                        preventing election fraud may well be debatable, the propriety
                                                                       of doing so is perfectly clear.” Crawford, 553 U.S. at 196, 128
Second, the district court undervalued the state interests             S.Ct. 1610.
furthered by the October 1 Proclamation.8 Even assuming
the proclamation poses any burden on voting rights, that               It is therefore evident that Texas has an “important regulatory
burden is minimal and would “trigger less exacting review,”            interest” in policing how its citizens’ votes are collected and
meaning that “a State's important regulatory interests will            counted. Steen, 732 F.3d at 388. This interest is acute when
usually be enough to justify reasonable, nondiscriminatory             it comes to mail-in ballots. Crawford, 553 U.S. at 195–96
restrictions.” Steen, 732 F.3d at 388 (internal quotations             & n.12, 128 S.Ct. 1610; see also Veasey, 830 F.3d at 239
and citation omitted). The district court found that Texas's           (concluding “mail-in ballot fraud is a significant threat”).
“vague interests” in ballot security, election uniformity, and         It is likely, then, that the Secretary will prevail on appeal
avoiding voter confusion were insufficiently substantiated to          in showing that the October 1 Proclamation was justified
outweigh the proclamation's “significant burden on voters.”            by the State's important interests in election integrity. As
The Secretary is likely to show on appeal that the district court      explained, that proclamation is part-and-parcel of a sizable
erred.                                                                 expansion of absentee voting options occasioned by the
                                                                       Governor's pandemic-related orders. See In re Steven Hotze,
8                                                                      ––– S.W.3d at –––– – ––––, 2020 WL 5919726, at *1–
        This analysis again assumes arguendo that Plaintiffs’
                                                                       2. Opportunities for absentee voters to hand-deliver ballots
        claims are not subject to the Supreme Court's McDonald
                                                                       ballooned from a pre-COVID one day (Election Day itself) to
        decision. See TDP I, 961 F.3d at 404 (observing that,
        “under McDonald, a state's refusal to provide a mail-          an in-COVID forty days. The evidence showed this expansion
        in ballot does not violate equal protection unless ... the     of absentee voting provoked an increase in drop-off locations
        state has ‘in fact absolutely prohibited’ the plaintiff from   in certain counties. While this reaction is understandable, also
        voting”) (quoting McDonald, 394 U.S. at 808 n.7, 89            understandable is the Governor's goal of centralizing delivery
        S.Ct. 1404).                                                   locations, and deploying poll watchers there, in order to
 **7 States have critically important interests in the                 maximize ballot security. The Secretary is thus likely to show
orderly administration of elections and in vigilantly reducing         on appeal that the October 1 Proclamation was a “reasonable,
opportunities for voting fraud. See Crawford v. Marion                 nondiscriminatory” measure justified by Texas's important
Cty. Election Bd., 553 U.S. 181, 195–96, 128 S.Ct. 1610,               interests in election integrity. Steen, 732 F.3d at 388.
170 L.Ed.2d 574 (2008) (“There is no question about
the legitimacy or importance of the State's interest in                The Secretary is also likely to show that the district court
counting only the votes of eligible voters” and “in orderly            erred in scrutinizing whether the proclamation furthered those
administration and accurate recordkeeping[.]”). Indeed, both           interests. Cf. id. (requiring “less exacting review” for laws
the Supreme Court and our court have recognized that “mail-            placing “[l]esser burdens” on voting rights). For example,
in voting” is “far more vulnerable to fraud” than other forms          the district court demanded evidence of “actual examples
of voting. Veasey v. Abbott, 830 F.3d 216, 263 (5th Cir.               of voter fraud” justifying the centralization of mail ballot
2016) (en banc) (observing that, in contrast to in-person              delivery locations. Such evidence has never been required to
voting, record evidence showed “mail-in voting *147 ... is             justify a state's prophylactic measures to decrease occasions



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for vote fraud or to increase the uniformity and predictability    and populous counties to travel farther, wait longer, and risk
of election administration. For instance, in Crawford, the         increased exposure to the coronavirus. Meanwhile, voters
Supreme Court upheld Indiana's voter identification law,           in smaller and less populous counties would not face the
despite the fact that “[t]he record contain[ed] no evidence of     same difficulties. Because the district court concluded that
[in-person voter] fraud actually occurring in Indiana at any       the proclamation resulted in disparate treatment of voters
time in its history.” 553 U.S. at 181, 128 S.Ct. 1610. “Here, as   based on county of residence, it applied the Anderson-Burdick
in Crawford, Texas need not show specific local evidence of        framework. It reasoned that absent evidence that drop-
fraud in order to justify preventive measures.” Steen, 732 F.3d    off locations have posed or will pose a threat of voter
at 394; see also Munro v. Socialist Workers Party, 479 U.S.        fraud, Texas's proffered interest in election integrity was not
189, 194–95, 107 S.Ct. 533, 93 L.Ed.2d 499 (1986) (“We have        “sufficiently weighty” to justify the differential burdens on
never required a State to make a particularized showing of         voters.
the existence of voter confusion, ballot overcrowding, or the
presence of frivolous candidacies prior to the imposition of       9      Once again we assume, for the sake of argument only,
reasonable [voting regulations].”). Furthermore, the Secretary            that the Supreme Court's McDonald decision does not
articulated other interests beyond fraud, such as uniformity              apply here. Cf. TDP I, 961 F.3d at 403–05.
across counties. The district court too quickly discounted
                                                                   The Secretary is likely to show this analysis was mistaken. As
the state's interest in promoting uniformity in how mail
                                                                   with the voting-rights claim, the district court misconstrued
ballots *148 are delivered. In doing so, the court appears
                                                                   the nature of the alleged burden imposed by the October
to have overlooked evidence showing the unusual nature of
                                                                   1 Proclamation. It is true that the Equal Protection Clause
the developing absentee ballot process. As the Director of
                                                                   guarantees that “every voter is equal to every other voter
Elections stated, following the July 27 Proclamation, only
                                                                   in his State,” regardless of race, sex, occupation, wealth, or
four of Texas's 254 counties announced their intention “to
                                                                   residence. Gray, 372 U.S. at 380, 83 S.Ct. 801. But the district
utilize more than one location for in-person delivery of mail
                                                                   court accepted Plaintiffs’ contention that the proclamation
ballots,” and there were concerns about whether the additional
                                                                   “dol[es] out electoral opportunity based on county lines.”
locations complied with Texas election law.
                                                                   That is incorrect. The proclamation establishes a uniform
                                                                   rule for the entire State: each county may designate one
 **8 In sum, Secretary Hughs has shown she is likely to
                                                                   early voting clerk's office at which voters may drop off
prevail on the merits of the Plaintiffs’ voting-rights claims.
                                                                   mail ballots during the forty days leading up to the election.
                                                                   That voters who live further away from a drop-off location
                                                                   may find it inconvenient to take advantage of this particular,
B.                                                                 additional method to cast their ballots does not “limit[ ]
                                                                   electoral opportunity,” as the district court thought. As we
We turn to Plaintiffs’ equal protection claims.9 Because the       have explained, the October 1 Proclamation was part of an
right to vote is fundamental, Burdick, 504 U.S. at 433, 112        expansion of absentee voting opportunities beyond what the
S.Ct. 2059, “once the franchise is granted to the electorate,      Texas Election Code provided. The fact that this expansion is
lines may not be drawn which are inconsistent with the Equal       not as broad as Plaintiffs would wish does not mean that it has
Protection Clause of the Fourteenth Amendment.” Harper v.          illegally limited their voting rights.
Virginia State Bd. of Elec., 383 U.S. 663, 665, 86 S.Ct. 1079,
16 L.Ed.2d 169 (1966); Gray v. Sanders, 372 U.S. 368, 379,          *149 Moreover, the cases relied on by the district court
83 S.Ct. 801, 9 L.Ed.2d 821 (1963) (“[A]ll who participate         are easily distinguishable. The court cited Moore v. Ogilvie,
in the election are to have an equal vote—whatever their           394 U.S. 814, 89 S.Ct. 1493, 23 L.Ed.2d 1 (1969), and
race, whatever their sex, whatever their occupation, whatever      Gray v. Sanders, 372 U.S. 368, 83 S.Ct. 801, 9 L.Ed.2d 821,
their income, and wherever their home may be in [the]              to support its conclusion that the October 1 Proclamation
geographical unit. This is required by the Equal Protection        necessarily treats voters differently on the basis of county
Clause.”). The district court held the Plaintiffs were likely      residence. But both Moore and Gray confronted state election
to show that the October 1 Proclamation violated these             laws that effectively gave more weight to the votes cast
principles by imposing disproportionate burdens on voters          by voters in certain counties. The Illinois statute in Moore
based on where they live. Plaintiffs argued that the elimination   required independent candidates for the offices of electors
of additional drop-off locations would force voters in large       to obtain a set number of voters’ signatures from each of at


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least fifty counties. The Court invalidated the law because it     “Texas to institute [an absentee ballot] policy against its will
gave voters in some counties “greater voting strength” than        presents significant, irreparable harm”).
others, an idea “hostile to the one man, one vote basis of
our representative government.” Moore, 394 U.S. at 819, 89         The remaining two factors are also met. Issuing a stay will not
S.Ct. 1493. Similarly, Gray examined Georgia's county unit         substantially injure Plaintiffs, who retain numerous avenues
system of counting votes, under which the candidate who            for casting their absentee ballots under the expanded voting
won each county was considered to have “carried the county”        opportunities afforded by the Governor's proclamations.
and received votes corresponding to that county's number of        What we said recently in TDP I applies equally here: “Given
representatives. As a result of widely varying populations         the great likelihood that the state officials will ultimately
per county, one “unit vote” in one county represented less         succeed on the merits, combined with the undeniable,
than 1,000 residents, while a unit vote in another county          irreparable harm *150 that the injunction would inflict
represented over 90,000 residents. Such a system “weights the      on them—factors that we consider ‘the most critical,’—we
rural vote more heavily than the urban vote and weights some       hold that the balance of harms weighs in favor of the state
small rural counties heavier than other larger rural counties.”    officials.” 961 F.3d at 412 (citation omitted). Finally, we
Gray, 372 U.S. at 379, 83 S.Ct. 801.                               conclude that public interest favors the Secretary. When a
                                                                   State is the party appealing an injunction, “its interest and
 **9 The effects of the October 1 Proclamation are nothing         harm merge with that of the public.” Veasey v. Abbott, 870
like the effects of the laws in Moore and Gray. As we              F.3d 387, 391 (5th Cir. 2017) (per curiam).
have explained, supra III(A), the burden imposed by the
proclamation is at most de minimis. More to the point, it          Because the Secretary has met her burden, we exercise our
applies a uniform rule to every Texas county and does not          discretion to grant a stay pending appeal.
weight the votes of those in some counties more heavily than
others.                                                            ***

Consequently, Secretary Hughs is likely to show that the           Leaving the Governor's October 1 Proclamation in place still
October 1 Proclamation does not impermissibly classify             gives Texas absentee voters many ways to cast their ballots
voters based on county of residence. Moreover, a “state's          in the November 3 election. These methods for remote voting
important regulatory interests are generally sufficient to         outstrip what Texas law previously permitted in a pre-COVID
justify reasonable, nondiscriminatory” voting regulations.         world. The October 1 Proclamation abridges no one's right to
Anderson, 460 U.S. at 788, 103 S.Ct. 1564. As we                   vote.
have explained, supra III(A), the Secretary has articulated
important state interests in ensuring election uniformity and      The Secretary's emergency motion for stay pending appeal is
integrity that the October 1 Proclamation furthers.                GRANTED.


                                                                   James C. Ho, Circuit Judge, concurring:
IV.                                                                I concur fully in Judge Duncan's typically thoughtful opinion.
                                                                   But I also do so grudgingly. I firmly agree that the federal
Having concluded the Secretary will likely succeed on the
                                                                   district court usurped the authority that our Constitution
merits, we address the remaining Nken factors: “whether [the
                                                                   vests in state legislatures to set the rules governing federal
Secretary] will be irreparably injured absent a stay,” “whether
                                                                   elections. But so did the Governor of Texas—as Judge
issuance of the stay will substantially injure” other interested
                                                                   Duncan also cautions. See supra at 145 n.7.
parties, and “where the public interest lies.” Nken, 556 U.S.
at 426, 129 S.Ct. 1749.
                                                                   The district court was wrong to rewrite Texas law. But the
                                                                   distinguished judge who did so was simply following in the
The Secretary has shown irreparable harm absent a stay.
                                                                   Governor's footsteps. It is surely just as offensive to the
When a district court's injunction prevents a State from
                                                                   Constitution to rewrite Texas election law by executive fiat
effectuating its own election procedures, put in place by
                                                                   as it is to do so by judicial fiat. Yet that is what occurred
elected officials, it suffers irreparable harm. See TDP I, 961
                                                                   here. Respected legislators and public leaders called on the
F.3d at 411 (holding an injunction that effectively required
                                                                   Governor to call a special session so that legislators in both


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parties could consider and debate amendments to the state's
election rules to accommodate voter concerns arising out of        If officials were following Texas law, “[t]he period for early
the pandemic. But the Governor rejected those calls, and           voting by personal appearance” would “begin[ ] on the 17th
instead issued a series of executive proclamations purporting      day before election day”—or Monday, October 19, 2020.
to unilaterally “suspend” various Texas election laws.             Tex. Elec. Code § 85.001(a). See also Tex. Elec. Code
                                                                   § 85.001(c) (“If the date prescribed ... for beginning the
 **10 Those actions have generated significant controversy.        period is a Saturday, Sunday, or legal state holiday, the early
Members of the Texas Supreme Court described the                   voting period begins on the next regular business day.”).
Governor's actions as “a clear abuse of discretion of a public     But not this year. On July 27, 2020, the Governor of Texas
official,” In re Hotze, ––– S.W.3d ––––, ––––, 2020 WL             proclaimed that, due to the COVID-19 pandemic, he will
5919726, at *7 (Tex. Oct. 7, 2020) (Devine, J., dissenting)        “suspend Section 85.001(a)” so that “early voting by personal
(emphasis in original) (quotations omitted), that “raise[s]        appearance shall begin on Tuesday, October 13, 2020”—six
important questions about the constitutionality of government      days earlier than the date provided by the Texas Legislature.
action during the coronavirus crisis,” id. at ––––, 2020 WL
5919726, at *3 (Blacklock, J., concurring).                        Furthermore, Texas law ordinarily provides that, if qualified
                                                                   individuals elect to receive their ballots by mail but ultimately
Only the district court's rewriting of Texas law is before us      choose to deliver their marked ballots in person, they may do
today, however. And that leads us to an unfortunate irony:         so “only while the polls are open on election day.” Tex. Elec.
by setting aside only the district court's rewriting of Texas      Code § 86.006(a-1). But once again, not this year. In that same
law, we must restore the Governor's rewriting of Texas law. It     July 27 proclamation, the Governor of Texas announced that
recalls the adage that sometimes it's only the guy who throws      he would also “suspend Section 86.006(a-1)” and “allow a
the second punch that gets caught. The Dictionary of Modern        voter to deliver a marked mail ballot in person ... prior to ...
Proverbs 209 (2012). I grudgingly concur.                          election day”—again in direct conflict with the framework set
                                                                   forth by the Texas Legislature. And on October 1, 2020, the
                                                                   Governor amended his July 27 proclamation to make clear
                                                                   that he would suspend section 86.006(a-1) unless a county
I.
                                                                   designates more than one location for qualified voters to
Under the Constitution, it is the state legislature—not the        deliver marked mail ballots, or offers a location that is not
governor or federal judges—that is authorized to establish         monitored by poll watchers—again without support in the
the rules that govern the election of each state's Presidential    Texas Election Code.
electors, U.S. Senators, and U.S. Representatives. See U.S.
Const. art. I, § 4, cl. 1 (“The Times, Places and Manner            **11 It did not have to be this way. The Texas Constitution
of holding Elections for Senators and Representatives, shall       imposes strict limits on the number of days the Legislature can
be prescribed in each State by the Legislature thereof ....”);     meet in regular session to consider legislation—once every
U.S. Const. art. II, § 1, cl. 2 (“Each State shall appoint, in     two years for 140 days. See Tex. Const. art. 3, §§ 5, 24. But it
such Manner as the *151 Legislature thereof may direct, a          also empowers the Governor to call the Legislature back for
                                                                   a special session to focus on any topic of his choosing. See
Number of Electors [for President and Vice President].”).1
                                                                   Tex. Const. art. 3, § 40. So the Governor did not have to act
                                                                   unilaterally to amend Texas election law in the wake of the
1      See also Smiley v. Holm, 285 U.S. 355, 367, 52 S.Ct. 397,   pandemic. He could have called a special session. Indeed, a
       76 L.Ed. 795 (1932) (“[T]he exercise of the authority [to
                                                                   number of respected legislators and public leaders urged him
       regulate Congressional elections] must be in accordance
                                                                   to do just that—to quote one particularly emphatic plea, “if
       with the method which the state has prescribed for
       legislative enactments.”); McPherson v. Blacker, 146        ever a special session was justified, now is the time.”2
       U.S. 1, 27, 13 S.Ct. 3, 36 L.Ed. 869 (1892) (“The
       constitution ... leaves it to the legislature exclusively   2       Patrick Svitek, Texas Republicans sue to stop
       to define the method of” appointment of Presidential                Gov. Greg Abbott's extension of early voting
       electors).                                                          period during the pandemic, Texas Tribune (Sep.
But apparently that is not how federal elections will be                   23, 2020), https://www.texastribune.org/2020/09/23/
administered in Texas this year.                                           texas-republicans-greg-abbott-early-voting/. See also



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        Editorial: Abbott must provide cure to voting                 3       The Governor's proclamation was recently challenged
        in a pandemic, San Antonio Express-News                               in state court as invalid under Texas law. The Texas
        (Apr. 14, 2020), https://www.expressnews.com/opinion/                 Supreme Court ultimately rejected the challenge on
        editorials/article/Editorial-Abbott-must-provide-cure-                procedural grounds. In re Hotze, ––– S.W.3d ––––,
        to-voting-in-15198980.php (“Gov. Greg Abbott would                    2020 WL 5919726. But various members acknowledged
        be remiss if he fails to call a special legislative                   the weight of the relator's objections. See id. at ––––,
        session to address myriad concerns threatening the                    2020 WL 5919726, at *7 (Devine, J., dissenting)
        primary runoffs and November general election.”);                     (describing “the Governor's actions in contravention of
        Patrick Svitek, Ector County GOP censures Abbott over                 [the Secretary of State's] duties to carry out the Election
        executive power amid coronavirus, state Sen. Charles                  Code's clear provisions on the timing and manner of
        Perry calls for special session, Texas Tribune (July 4,               early voting” as “potentially unconstitutional” under
        2020), https://www.texastribune.org/2020/07/04/ector-                 Texas law, and concluding that mandamus relief should
        county-coronavirus-texas-censure-greg-abbott/ (noting                 be granted “to correct a clear abuse of discretion of
        calls for special session by various state senators and               a public official”) (quotations omitted); id. at ––––,
        representatives).                                                     2020 WL 5919726, at *3 (Blacklock, J., concurring)
 *152 But instead, the Governor concluded that a special                      (acknowledging that “[t]he petitioners raise important
session was unnecessary because the Texas Disaster Act of                     questions about the constitutionality of government
1975 gives him the authority to legislate all by himself.                     action during the coronavirus crisis”). No member of the
That act, however, only gives the governor limited power to                   court defended the Governor, by contrast—and certainly
                                                                              not in response to the separate federal constitutional
“suspend the provisions of any regulatory statute prescribing
                                                                              concerns identified here.
the procedures for conduct of state business ... if strict
compliance with [such requirements] would in any way                   **12 But now that the Governor has paved the way
prevent, hinder, or delay necessary action in coping with a           for rewriting Texas election law based on personal policy
disaster.” Tex. Gov't Code § 418.016(a) (emphases added).             disagreements over how elections should be run during the
Moreover, the Act, like any other Texas law, must be                  pandemic, it should surprise no one that a federal district
construed in light of the Texas Constitution. That includes the       court has seen fit to jump in as well, in response to the
constitutional provision that “[n]o power of suspending laws          “executive-caused voter confusion” resulting from “Governor
in this State shall be exercised except by the Legislature.” Tex.     Abbott's unilateral decision to reverse his July 27 Order.” Tex.
Const. art. I, § 28. See also In re Hotze, ––– S.W.3d ––––,           League of United Latin American Citizens v. Abbott, No. 1:20-
––––, 2020 WL 4046034, at *2 (Tex. July 17, 2020) (Devine,            cv-01006-RP, at 33, 2020 WL 5995969 (W.D. Tex. Oct. 9,
J., concurring) (“I find it difficult to square [the Texas Disaster   2020) (emphasis in original).
Act of 1975], and the orders made under it, with the Texas
Constitution.”). It also includes the Governor's constitutional       On October 9, a federal district court entered a preliminary
authority to call special sessions of the Legislature. Tex.           injunction that effectively set aside a portion of the Governor's
Const. art. 3, § 40.                                                  October 1 proclamation in favor of his July 27 proclamation.
                                                                      Under the preliminary injunction, state officials are enjoined
It is difficult to see how it is “necessary ... in coping with        from *153 forbidding counties to establish more than a
a disaster” for the governor to suspend provisions of the             single location where qualified voters can deliver marked mail
Texas Election Code over three months before the November             ballots.
election. “[W]hen a crisis stops being temporary, and as days
and weeks turn to months and years, the slack in the leash            In response, the Secretary of State seeks a stay of the
eventually runs out.” Capitol Hill Baptist Church v. Bowser,          preliminary injunction pending appeal. Tellingly, however,
No. 20-cv-02710 (TNM), slip op. at 15, 2020 WL 5995126                nowhere in her stay papers does the Secretary suggest that the
(D.D.C. Oct. 9, 2020). And that is especially so considering          preliminary injunction conflicts with Articles I and II of the
that the Constitution expressly forbids anyone other than the         U.S. Constitution—perhaps because she recognizes that the
Legislature from suspending Texas laws—and considering                Governor's proclamations suffer from the same defect.
that members of the Legislature are not only willing and
able but demanding to convene a special session to consider           That said, no one is asking us to set aside the Governor's
legislation in response to the pandemic.   3                          July 27 proclamation. To the contrary, the plaintiffs want that
                                                                      proclamation enforced as is—while the State of Texas wants



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the July 27 proclamation enforced, but only as amended by                  politics/as-more-vote-by-mail-faulty-ballots-could-
the Governor's October 1 proclamation. So we must take the                 impact-elections.html (“[F]raud in voting by mail ... is
July 27 proclamation as a given. The only question before us               vastly more prevalent than ... in-person voting fraud ...,
is whether the district court was correct to set aside a portion           election administrators say.”) (collecting examples); id.
                                                                           (noting the “bipartisan consensus” that “voting by mail ...
of the Governor's October 1 proclamation. I agree with my
                                                                           is more easily abused than other forms” of voting and
colleagues that the district court was wrong to do so, and that
                                                                           that “ ‘[a]bsentee ballots remain the largest source of
a stay should therefore be granted.
                                                                           potential voter fraud,’ ” which is “ ‘why all the evidence
                                                                           of stolen elections involves absentee ballots and the like’
                                                                           ”) (quoting a 2005 report signed by President Jimmy
II.                                                                        Carter and James A. Baker III, and Yale Law School
                                                                           Dean Heather Gerken, respectively).
None of this is to say, of course, that there are not valid          **13 *154 But if changes to Texas election rules are
policy reasons to support the conflicting judgments reached         warranted in response to the pandemic, they must be made
by the Governor and the federal district court. The ongoing         consistent with the Constitution. And under our Constitution,
global pandemic has already roiled the lives and livelihoods        it is for the Texas Legislature through the legislative process
of millions of Texans. It is understandable that citizens have      —and not for the Governor or the judiciary by executive
strong views on the myriad ways that election rules and             or judicial fiat—to determine how best to maximize voter
procedures might be reformed to maximize voter access in            access as well as ballot security. See, e.g., Griffin, 385 F.3d
these difficult and challenging times. After all, “[t]o lose the    at 1131 (noting that “the striking of the balance between
ability to vote in an upcoming election due to fear of the          discouraging fraud and other abuses and encouraging turnout
pandemic would be beyond heartbreaking for citizens who             is quintessentially a legislative judgment”).
are already hurting, for it is a right they will never be able to
recover.” Tex. Democratic Party v. Abbott, 961 F.3d 389, 413        What's more, there may be special cause for concern when
(5th Cir. 2020) (Ho, J., concurring) (quotations omitted).          unilateral changes to election laws are made by a single
                                                                    elected official. As the Chief Justice once wrote, “those who
So the Governor may well believe sincerely that expanding           govern should be the last people to help decide who should
the early voting period furthers the goal of maximizing voter       govern.” McCutcheon v. FEC, 572 U.S. 185, 192, 134 S.Ct.
access, and that limiting where mail ballots may be delivered       1434, 188 L.Ed.2d 468 (2014) (plurality opinion). He made
in person will help maximize ballot integrity. On the other         that observation in the context of a case involving campaign
hand, the plaintiffs counter that the Governor's approach to        finance regulation. But the same principle readily applies to
mail ballots gets it backward—and that in fact there is a           any area of election law. Indeed, skepticism about politicians
greater risk of fraud when ballots are returned by mail than        regulating politics is “deeply engrained in our nation's DNA.”
when they are delivered in-person. To quote the plaintiffs:         Stringer v. Whitley, 942 F.3d 715, 725 (5th Cir. 2019) (Ho, J.,
“the unrebutted evidence demonstrates that allowing voters          concurring). “As Americans, we have never trusted the fox to
to return their absentee ballots at the annexes is ‘more            guard the henhouse.” Id.
secure than returning [ballots] by mail.’ ” Numerous courts
agree. As a distinguished panel of the Seventh Circuit once         So the Governor's actions in this case should trouble you
observed: “Voting fraud is a serious problem in U.S. elections      regardless of whether you agree or disagree with any of his
generally ... and it is facilitated by absentee voting ....         actions as a policy matter. For there is a more fundamental
[A]bsentee voting is to voting in person as a take-home exam        principle at stake: If a governor can unilaterally suspend early
is to a proctored one.” Griffin v. Roupas, 385 F.3d 1128,           voting laws to reach policy outcomes that you prefer, it stands
1130–31 (7th Cir. 2004) (collecting authorities). See also          to reason that a governor can also unilaterally suspend other
Tex. Democratic Party, 961 F.3d at 414 (Ho, J., concurring)         election laws to achieve policies that you oppose. Want to
(“[C]ourts have repeatedly found that mail-in ballots are           expand voting by mail? Too bad—the governor can suspend
particularly susceptible to fraud.”) (collecting cases).4           mail-in ballots all by himself, for the same reason restaurants
                                                                    have replaced paper menus with online ones in response
4       See also Adam Liptak, Error and Fraud at Issue              to consumer concerns about the pandemic. Want to restrict
        as Absentee Voting Rises, N.Y. Times (Oct. 6,               voting by mail? Sorry—the governor can expand mail-in
        2012),      https://www.nytimes.com/2012/10/07/us/



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                                                                 5       See, e.g., Editorial: Abbott must provide cure to voting in
voting on his own, because some people fear going to the polls
during the pandemic.                                                     a pandemic, San Antonio Express-News (Apr. 14, 2020)
                                                                         (“If more mail balloting is going to be encouraged ...
But that of course is not how our Constitution works. The                there needs to be a legislative directive .... If the state is
                                                                         going to expand access to mail ballots ... it needs to do
Constitution vests control over federal election laws in state
                                                                         it right.”).
legislatures, and for good reason—that's where we expect
the voice of the people to ring most loudly and effectively.     I concur.
Moreover, change by other means doesn't just undermine
respect for legal process. It threatens to undermine the very
                                                                 All Citations
legitimacy of the election results—the last thing we need in
these divisive and uncertain times.5                             978 F.3d 136, 2020 WL 6023310



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